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                                           YOGI SECURITIES HOLDINGS, LLC
                                         8

                                         9                            UNITED STATES BANKRUPTCY COURT

                                        10              CENTRAL DISTRICT OF CALIFORNIA -- LOS ANGELES DIVISION

                                        11
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                        12 In re,                                            Case No. 2:21-bk-18205-DS
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                                        13 CRESTLLOYD, LLC,                                  Chapter 11
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                                                                               Debtor.
                                        14                                                   Adversary Proceeding No. 2:22-ap-01125-DS

                                        15 INFERNO INVESTMENT, INC., a Quebec                FIRST AMENDED COUNTERCLAIM AND
                                           corporation,                                      CROSSCLAIM OF YOGI SECURITIES
                                        16                             Plaintiff,            HOLDINGS, LLC, FOR DECLARATORY
                                                          v.                                 RELIEF, AN ACCOUNTING, EQUITABLE
                                        17                                                   SUBORDINATION, DISALLOWANCE OF
                                           CRESTLLOYD, LLC, California limited               CLAIMS AND RECHARACTERIZATION
                                        18 liability company; et al.                         OF CLAIMS
                                                                     Defendants.
                                        19

                                        20 YOGI SECURITIES HOLDINGS, LLC, a
                                           Nevada limited liability company,
                                        21
                                                         Counter/Cross-Complainant,
                                        22
                                                          v.
                                        23
                                           CRESTLLOYD, LLC, a California Limited
                                        24 Liability Company; HANKEY CAPITAL, LLC,
                                           a California limited liability company;
                                        25 INFERNO INVESTMENT, INC., a Quebec
                                           corporation; and HILLDUN CORPORATION,
                                        26 a New York corporation,

                                        27                   Counter/Cross-Defendants.
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                                         1           Plaintiff Yogi Securities Holdings, LLC (“Yogi Securities”) states for its Counterclaim and

                                         2 Crossclaim in this adversary proceeding as follows.

                                         3                                    JURISDICTION AND VENUE

                                         4           1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 151, 157, and

                                         5 1334. Jurisdiction to grant declaratory relief is conferred by 28 U.S.C. § 2201 and Rule 7001 of the

                                         6 Federal Rules of Bankruptcy Procedure.

                                         7           2.      This adversary proceeding is brought pursuant to Rule 7001, et seq. of the Federal

                                         8 Rules of Bankruptcy Procedure.

                                         9           3.      Venue is proper pursuant to 28 U.S.C. § 1409 as this adversary proceeding arises in

                                        10 and relates to a case under Title 11 of the Federal Bankruptcy Code that is now pending in this

                                        11 District.
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                                        12           4.      This adversary proceeding is a “core” proceeding as defined in 28 U.S.C.
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                                        13 § 157(b)(2)(A), (B), (K) and (O).
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                                        14                                              THE PARTIES

                                        15           5.      Plaintiff Yogi Securities is a limited liability company duly organized and existing

                                        16 under the laws of the State of Nevada.

                                        17           6.      Defendant Crestlloyd, LLC (“Crestlloyd” or “Debtor”) is the debtor in this

                                        18 Chapter 11 bankruptcy case, which case remains pending. Yogi Securities is informed and believes

                                        19 and thereon alleges that Crestlloyd is a limited liability company duly organized and existing under

                                        20 the laws of the State of California.

                                        21           7.      Yogi Securities is informed and believes and thereon alleges that defendant Hankey

                                        22 Capital, LLC (“Hankey”) is a California limited liability company duly organized and existing

                                        23 under the laws of the State of California.

                                        24           8.      Yogi Securities is informed and believes and thereon alleges that defendant Inferno

                                        25 Investment, Inc. (“Inferno”) is a corporation organized and existing under the laws of Quebec,

                                        26 Canada.

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                                         1           9.      Yogi Securities is informed and believes and thereon alleges that defendant Hilldun

                                         2 Corporation (“Hilldun”) is a corporation duly organized and existing under the laws of the State of

                                         3 New York.

                                         4                                     FACTUAL BACKGROUND

                                         5           10.     The subject matter of this Counterclaim is real property referred to as “The One,” a

                                         6 105,000-square-foot, single family, luxury home located at 944 Airole Way, Los Angeles,

                                         7 California 90079 (the “Property”). Inferno, Hankey and Hilldun have each asserted that they loaned

                                         8 money or extended credit to Crestlloyd, allegedly secured by the Property, as set forth below. Yogi

                                         9 Securities lent money or extended credit to Crestlloyd, secured by the Property, as set forth below.

                                        10 A.        The Alleged Inferno Funding

                                        11           11.     On March 13, 2013, Crestlloyd executed two promissory notes. The first was a
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                                        12 Promissory Note Secured By Deed Of Trust in favor of Inferno Investments, Inc., in the amount of
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                                        13 $3,925,545 (the “First Inferno Note”), a true and correct copy of which is attached hereto as
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                                        14 Exhibit “A.” The loan evidenced by the First Inferno Note was understood by the parties to be a

                                        15 “high risk loan,” such that Crestlloyd agreed to pay the lender “additional consideration and not as

                                        16 additional interest” fifty percent of the net profits derived from the sale of two properties (271 South

                                        17 Mapleton Drive, Los Angeles, California, and 1175 Hillcrest Road, Beverly Hills, California) and

                                        18 fifteen percent of the net profits derived from the sale of the Property. Despite being dated

                                        19 March 13, 2013, the First Inferno Note includes a footnote with the date “10/14/15.”

                                        20           12.     The second promissory note signed by Crestlloyd on March 13, 2013, was a

                                        21 Promissory Note Secured By Deed Of Trust in favor of Inferno Realty, LP, as to an undivided

                                        22 $7,040,000 and Maybach Holdings Corporation, Inc., as to an undivided $7,000,000, totaling

                                        23 $14,040,000 (the “Second Inferno Note”). The Second Inferno Note was secured by the Property,

                                        24 as evidenced by a Deed Of Trust With Assignment Of Rents in favor of Inferno Realty, LP, as to

                                        25 an undivided $7,040,000 interest and Maybach Corporation Holdings, Inc., as to an undivided

                                        26 $7,000,000 interest, which deed of trust (the “Inferno Deed Of Trust”) was recorded in the real

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                                         1 property records of the Los Angeles County Recorder’s Office1 on March 13, 2013, as instrument

                                         2 number 2013-0384037, a true and correct copy of which is attached hereto as Exhibit “B.”

                                         3           13.     Thereafter, Maybach Corporation assigned its right, title and interest in the Inferno

                                         4 Deed Of Trust to Inferno Realty, LP, by Assignment Of Note And Deed Of Trust/Mortgage dated

                                         5 June 2, 2014, and recorded November 10, 2015, as instrument number 2015-1375606 (the “First

                                         6 Inferno Assignment”), a true and correct copy of which is attached hereto as part of Exhibit “C.”

                                         7           14.     By subsequent Assignment Of Note And Deed Of Trust/Mortgage dated

                                         8 October 21, 2015, and recorded on November 10, 2015, as instrument number 2015-1375607 (the

                                         9 “Second Inferno Assignment”), Inferno Realty, LP, assigned its right, title and interest in the

                                        10 Inferno Deed Of Trust to Inferno Investment, Inc. A true and correct copy of the Second Inferno

                                        11 Assignment is attached hereto as Exhibit “C.”
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                                        12           15.     In October 2015, the Second Inferno Note was reduced “to provide that the face
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                                        13 amount of the Note is $7,000,000.00 which is the principal balance due and owing as of this date”
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                                        14 (the “Modified Inferno Note”), a true and correct copy of which is attached hereto as Exhibit “D.”

                                        15 The creation of the Modified Inferno Note was not done by separate instrument. Upon information

                                        16 and belief, the terms of the Second Inferno Note were modified by language that was typed into the

                                        17 Second Inferno Note after Crestlloyd’s signature block, the date “October ____, 2015” was typed

                                        18 above the lender’s signature block, and “Modified” was added to the title of the instrument. The

                                        19 modification language was typed on the second page below the word “MODIFICATION” and

                                        20 agreed to and signed by Julien Remillard, Director of Inferno Investments Inc, a Canadian

                                        21 Corporation, which indicates that modification was executed after the Second Inferno Assignment.

                                        22           16.     The Inferno Deed Of Trust was amended by that certain Modification And

                                        23 Supplement To Deed Of Trust dated October 21, 2015, and recorded November 10, 2015, as

                                        24 instrument number 2015-1375608, executed by Crestlloyd and Inferno Investment Inc. (the

                                        25 “Modified Inferno Deed Of Trust”), a true and correct copy of which is attached hereto as

                                        26 Exhibit “E.” The Modified Inferno Deed Of Trust secures the First Inferno Note and the Modified

                                        27
                                           1
                                             All recordings referenced within this document were recorded in the real property records of the
                                        28 Los Angeles County Recorder, and all referenced recordings encumber the Property.
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                                         1 Inferno Note, the total amount secured by the Modified Inferno Deed of Trust being $10,295,545.

                                         2 The Modified Inferno Deed Of Trust is the first time a recorded instrument proffered by Inferno

                                         3 purports to secure repayment of the First Inferno Note with a lien on the Property.

                                         4           17.     On January 1, 2016, Crestlloyd and Inferno entered into a “Memorandum Of

                                         5 Agreement” (the “Memorandum”), whereby they agreed that proceeds from the sale of the Property

                                         6 would be distributed in the following manner:

                                         7                   First to repay the loan(s) obtained from a bank or third-party parties
                                                             (excluding Crestlloyd and Inferno) and all other unpaid costs of construction
                                         8                   of the [Property].
                                         9                   Second to Crestlloyd and Inferno, pro rata, in repayment of any loans owing
                                                             them, together with simple interest thereon at the rate of eight percent (8%)
                                        10                   per annum.
                                        11
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                                                             Third, to Crestlloyd, the sum of ONE HUNDRED FORTY-FIVE
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                                                             THOUSAND DOLLARS ($145,000) as compensation for general office
                                        12                   overhead and services rendered by it in connection with the construction of
                                                             the Residence.
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                                                             Thereafter, to Crestlloyd and Inferno in accordance with their share of the
                                        14                   profits and losses determined in the manner set forth in paragraph 2 above.
                                        15 A copy of the Memorandum is attached hereto and incorporated herein as Exhibit “F.”

                                        16           18.     The Memorandum was amended by Amendment No. 1 To Memorandum Of

                                        17 Agreement (undated); Amendment No. 2 To Memorandum Of Agreement, entered into as of

                                        18 September 27, 2016; Revised Amendment No. 2 To Memorandum Of Agreement, entered into as

                                        19 of September 28, 2016; Amendment No. 3 To Memorandum Of Agreement, entered into as of

                                        20 March 29, 2018; and Revised Amendment No. 3 To Memorandum Of Agreement, entered into as

                                        21 of May 16, 2018, copies of which are attached hereto and incorporated herein as Exhibit “G.”

                                        22           19.     Thereafter, Yogi Securities loaned money to Crestlloyd. Hankey and Hilldun also

                                        23 allege that they loaned money to Crestlloyd.

                                        24 B.        The Yogi Securities Loans

                                        25           20.     In October 2018, Crestlloyd obtained a $30,188,235 loan from Yogi Securities,

                                        26 which was secured by the Property. More specifically, on October 16, 2018, Crestlloyd executed

                                        27 and delivered a Secured Promissory Note (the “$30,188,235 Secured Promissory Note”) in favor

                                        28 of Yogi Securities, a true and correct copy of which is attached hereto and incorporated herein as
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                                         1 Exhibit “H.” In connection with the $30,188,235 Secured Promissory Note, Crestlloyd and Yogi

                                         2 Securities executed and delivered a Deed Of Trust And Assignment Of Rents, recorded on

                                         3 November 7, 2018 as instrument number 2108-1126580, a true and correct copy of which is

                                         4 attached hereto and incorporated herein as Exhibit “I.”

                                         5           21.     As further security for the repayment of the $30,188,235 Secured Promissory Note,

                                         6 Crestlloyd also executed and delivered a Deed Of Trust And Assignment Of Rents (the “Hillcrest

                                         7 Deed Of Trust”) dated October 16, 2008, further securing the obligation with real property located

                                         8 at 1175 North Hillcrest Road, Beverly Hills, CA 90210 (the “Hillcrest Property”). In addition, and

                                         9 as further security, 10701 Bellagio Road, LLC (“Bellagio”) executed and delivered a Deed Of Trust

                                        10 And Assignment Of Rents (the “Bellagio Deed Of Trust”) dated October 16, 2018, further securing

                                        11 the obligation with real property located at 10701 Bellagio Road, Los Angeles, CA 90077 (the
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                                        12 “Bellagio Property”); Carcassonne Fine Homes, LLC (“Carcassonne”) executed and delivered a
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                                        13 Deed Of Trust And Assignment Of Rents (the “Carcassonne Deed Of Trust”) dated October 16,
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                                        14 2018, further securing the obligation with real property located at 627 North Carcassonne Road,

                                        15 Los Angeles, CA 90077 (the “Carcassonne Property”); Marbella Construction, Inc. (“Marbella”)

                                        16 executed and delivered a Deed Of Trust And Assignment Of Rents (the “Marbella Deed Of Trust”)

                                        17 dated October 16, 2018, further securing the obligation with real property located at 3381 Stone

                                        18 Ridge Road, Los Angeles, CA 90077 (the “Stone Ridge Property”); and 1369 Londonderry Estate,

                                        19 LLC (“Londonderry”) executed and delivered a Deed Of Trust And Assignment Of Rents (the

                                        20 “Londonderry Deed Of Trust”) dated October 16 2018, further securing the obligation with real

                                        21 property located at 1369 Londonderry Place, Los Angeles, CA 90069 (the “Londonderry

                                        22 Property”). These documents were recorded as follows: the Hillcrest Deed Of Trust was recorded

                                        23 on October 19, 2018 as instrument number 2018-1065783; the Bellagio Deed Of Trust was

                                        24 recorded on October 19, 2018 as instrument number 2018-1065788; the Carcassonne Deed Of Trust

                                        25 was recorded on October 19, 2018 as instrument number 2018-1065789; the Marbella Deed Of

                                        26 Trust was recorded on October 19, 2018 as instrument number 2018-1065790; and the Londonderry

                                        27 Deed Of Trust was recorded on October 19, 2018 as instrument number 2018-1065787. True and

                                        28 correct copies of these recorded documents are attached collectively hereto and incorporated herein
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                                         1 as Exhibit “J.” (When referred to collectively, the Property and the five additional properties

                                         2 securing the $30,188,235 Secured Promissory Note shall be referred to as the “Properties.”)

                                         3           22.     On or about June 18, 2019, Crestlloyd, Bellagio, Carcassonne, Marbella,

                                         4 Londonderry and Yogi Securities entered into an Amendment Of Note And Deeds Of Trust,

                                         5 extending the maturity date of the $30,188,235 Secured Promissory Note and increasing the loan

                                         6 to $30,588,235, repayment of which continued to be secured by the Properties, and which was

                                         7 recorded on August 30, 2019 as instrument number 2019-0889046, a true and correct copy of which

                                         8 is attached hereto and incorporated herein as Exhibit “K.”

                                         9           23.     On or about August 17, 2019, Crestlloyd, Bellagio, Carcassonne, Marbella,

                                        10 Londonderry and Yogi Securities entered into a Second Amendment Of Note And Deed Of Trust,

                                        11 again extending the maturity date of the $30,188,235 Secured Promissory Note and increasing the
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                                        12 loan to $31,528,363.12, repayment of which continued to be secured by the Properties, and was
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                                        13 recorded on September 5, 2019 as instrument number 2019-0907091, a true and correct copy of
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                                        14 which is attached hereto and incorporated herein as Exhibit “L.”

                                        15           24.     Prior to Crestlloyd’s execution and delivery of the $30,188,235 Secured Promissory

                                        16 Note, on April 20, 2018, Marbella and Londonderry executed and delivered a $5,200,000 Secured

                                        17 Promissory Note in favor of Yogi Securities (the “$5,200,000 Secured Promissory Note”), a true

                                        18 and correct copy of which is attached hereto and incorporated herein as Exhibit “M.” In connection

                                        19 with the $5,200,000 Secured Promissory Note, Londonderry and Marbella each executed and

                                        20 delivered a Deed of Trust and Assignment of Rents, recorded on April 23, 2018 as instrument

                                        21 numbers 2018-08389829 and 2018-0389830, true and correct copies of which are attached

                                        22 collectively hereto and incorporated herein as Exhibit “N,” securing the obligation to repay the

                                        23 $5,200,000 Secured Promissory Note with the Stone Ridge and Londonderry Property.

                                        24           25.     On September 18, 2019, Crestlloyd, Marbella, Londonderry and Yogi Securities

                                        25 entered into a Fourth Amendment Of Note And Deed Of Trust (the “Fourth Amendment”) relating

                                        26 to the $5,200,000 Secured Promissory Note, which Fourth Amendment was recorded on

                                        27 September 23, 2019 as instrument number 2019-0989745, a true and correct copy of which attached

                                        28 hereto and incorporated herein as Exhibit “O.” Concurrently with the execution of the Fourth
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                                         1 Amendment, Crestlloyd executed and delivered a Deed Of Trust And Assignment Of Rents

                                         2 recorded on September 23, 2019 as instrument number 2019-0989746, a true and correct copy of

                                         3 which is attached hereto and incorporated herein as Exhibit “P.” The Fourth Amendment and the

                                         4 Deed Of Trust And Assignment Of Rents added the Property as further security for repayment of

                                         5 the $5,200,000 Secured Promissory Note.

                                         6           26.     On October 22, 2019, Marbella, Londonderry, Crestlloyd, Carcassonne, Bellagio

                                         7 and Yogi Securities entered into a Fifth Amendment Of Note And Deed of Trust (“Fifth

                                         8 Amendment”) relating to the $5,200,000 Secured Promissory Note, as amended, which Fifth

                                         9 Amendment was recorded on October 28, 2019 as instrument number 2019-1154393, a true and

                                        10 correct copy of which is attached hereto and incorporated herein as Exhibit “Q.” Concurrently with

                                        11 the execution of the Fifth Amendment, Carcassonne and Bellagio each executed and delivered a
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                                        12 Deed Of Trust And Assignment Of Rents, recorded on October 28, 2019 as instrument numbers
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                                        13 2019-1154392 and 2019-1154391, respectively, true and correct copies of which are attached
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                                        14 collectively hereto and incorporated herein as Exhibit “R.” The Fifth Amendment and the two

                                        15 Deeds Of Trust And Assignments Of Rents added the Carcassonne Property and Bellagio Property

                                        16 as further security for repayment of the $5,200,000 Secured Promissory Note.

                                        17           27.     As of October 22, 2019, the obligation to repay Yogi Securities under the

                                        18 $5,200,000 Secured Promissory Note was secured by the Property, the Londonderry Property, the

                                        19 Stone Ridge Property, the Bellagio Property and the Carcassonne Property, and the obligation to

                                        20 repay Yogi Securities under the $30,133,235 Secured Promissory Note was secured by the

                                        21 Properties.

                                        22 C.        The Alleged Hankey Funding

                                        23           28.     As of October 25, 2018, Hankey and Crestlloyd entered into a written instrument

                                        24 entitled the Construction Loan Agreement, a true and correct copy of which is attached hereto and

                                        25 incorporated herein as Exhibit “S,” the purpose of which was to fund the construction of

                                        26 improvements to the Property. In connection with the Construction Loan Agreement, Crestlloyd

                                        27 executed and delivered to Hankey an $82,500,000 Promissory Note, a true and correct copy of

                                        28 which is attached hereto and incorporated herein as Exhibit “T.” Hankey and Crestlloyd also
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                                         1 executed and delivered a Security Agreement (Personal Property), a true and correct copy of which

                                         2 is attached hereto and incorporated herein as Exhibit “U,” and as Exhibit A to that agreement, a

                                         3 Profit Participation Agreement (the “October 2018-PP Agreement”), a true and correct copy of

                                         4 which is attached hereto and incorporated herein as Exhibit “V.” A Memorandum Of Agreement

                                         5 (the “2018 Memorandum of Agreement”) reflecting the October 2018-PP Agreement was recorded

                                         6 on November 6, 2018 as instrument number 2018-1122919, a true and correct copy of which is

                                         7 attached hereto and incorporated herein as Exhibit “W.” The October 2018-PP Agreement provided

                                         8 that Hankey would receive $3,500,000 if the Property sold for more than $200,000,000. Finally,

                                         9 Crestlloyd executed and delivered in favor of Hankey a Construction Deed Of Trust, Security

                                        10 Agreement And Fixture Filing With Assignment Of Rents (the “Hankey Deed Of Trust”),

                                        11 purportedly secured by the Property, recorded on November 6, 2018 as instrument number 2018-
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                                        12 1122917, a true and correct copy of which is attached hereto and incorporated herein as
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                                        13 Exhibit “X.”
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                                        14           29.     Yogi Securities’ $30,188,235 Promissory Note (Exhibit “H” hereto) was executed

                                        15 on October 16, 2018, before Hankey’s Construction Loan Agreement (Exhibit “S” hereto) was

                                        16 executed on October 25, 2018, and Yogi Securities’ Deed Of Trust And Assignment Of Rents was

                                        17 recorded on November 7, 2018 (Exhibit “I” hereto), one day after the Hankey Deed Of Trust was

                                        18 recorded on November 6, 2018 (Exhibit “X” hereto).

                                        19           30.     In connection with the alleged $82,500,000 construction funding by Hankey,

                                        20 Hankey and Inferno entered into a Subordination Agreement, pursuant to which Hankey and

                                        21 Inferno agreed that the Inferno Deed Of Trust (Exhibit “B,” hereto) is subordinate to the Hankey

                                        22 Deed Of Trust (Exhibit “X,” hereto). A true and correct copy of the Subordination Agreement,

                                        23 recorded on November 6, 2018 as instrument number 2018-1122920, is attached hereto and

                                        24 incorporated herein as Exhibit “Y.” On or about May 26, 2022, more than three years after the

                                        25 Subordination Agreement was recorded, Inferno asserted that the Subordination Agreement was

                                        26 forged.

                                        27           31.     Subsequently, Hankey twice increased the funds that it made available to Crestlloyd,

                                        28 intentionally failing to notify Yogi Securities and/or obtain Yogi Securities’ consent.
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                                         1           32.     On or about December 10, 2019, Hankey agreed to advance additional funds to

                                         2 Crestlloyd, which Hankey asserts increased the principal balance of Hankey’s funding to Crestlloyd

                                         3 from $82,500,000 to $91,000,000.

                                         4           33.     More specifically, on December 10, 2019, Crestlloyd purportedly executed and

                                         5 delivered to Hankey a written instrument entitled Amended And Restated Promissory Note (the

                                         6 “December 2019 Note”) for the increased sum of $91,000,000, a copy of which is attached hereto

                                         7 and incorporated herein as Exhibit “Z.” In connection with the December 2019 Note, Hankey and

                                         8 Crestlloyd purportedly entered into a written First Modification Of Construction Loan Agreement

                                         9 and a Modification Of Deed Of Trust to secure repayment of the increased funding amount, copies

                                        10 of which are attached hereto and incorporated herein as Exhibits “AA” and “BB.”

                                        11           34.     Also as of December 10, 2019, in connection with the December 2019 Note
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                                        12 transaction, Hankey and Crestlloyd entered into a second Profit Participation Agreement (the
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                                        13 “December 2019-PP Agreement”), whereby in connection with the then purportedly increased
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                                        14 amount of the loan from Hankey to Crestlloyd (from $82,500,000 to $91,000,000), Hankey’s profit

                                        15 participation from the sale of the Property increased to include an additional $3,500,000 if the

                                        16 Property sold for more than $100,000,000. A copy of the December 2019-PP Agreement is attached

                                        17 hereto and incorporated herein as Exhibit “CC.”

                                        18           35.     No documents were recorded in connection with the December 2019 Note or the

                                        19 December 2019-PP Agreement. No memorandum of agreement or any other document was

                                        20 recorded to provide notice of the December 2019-PP Agreement, and no document was recorded

                                        21 to provide notice of the increased $91,000,000 amount allegedly secured by the unrecorded

                                        22 Modification Of Deed Of Trust (Exhibit “BB,” attached hereto).

                                        23           36.     At no time did Yogi Securities agree to subordinate its secured position to the

                                        24 December 2019 Note transaction, the December 2019-PP Agreement or any other additional

                                        25 advances made by Hankey.

                                        26           37.     On or about August 20, 2020, Hankey agreed to advance yet additional funds to

                                        27 Crestlloyd, which Hankey asserts increased the purported principal balance of Hankey’s advances

                                        28 to Crestlloyd from $91,000,000 to $106,000,000.
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                                         1           38.     More specifically, on August 20, 2020, Crestlloyd executed and delivered to

                                         2 Hankey an instrument known as the Amended And Restated Promissory Note (the “August 2020

                                         3 Note”) for the principal sum of $106,000,000, a copy of which is attached hereto and incorporated

                                         4 herein as Exhibit “DD.” In connection with the August 2020 Note, Hankey and Crestlloyd entered

                                         5 into a written instrument known as the Second Modification Of Construction Loan Agreement, a

                                         6 copy of which is attached hereto and incorporated herein as Exhibit “EE.” Crestlloyd also executed

                                         7 a Modification Of Deed Of Trust, recorded on August 31, 2020 as instrument number 2020-

                                         8 1030024, a true and correct copy of which is attached hereto and incorporated herein as

                                         9 Exhibit “FF.” The Modification Of Deed Of Trust recorded August 31, 2020 provided the first

                                        10 notice of a funding increase beyond the original $82,500,000 provided by Hankey to Crestlloyd.

                                        11           39.     As of August 20, 2020, in connection with the August 2020 Note, Hankey and
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                                        12 Crestlloyd entered into a third Profit Participation Agreement (the “August 2020-PP Agreement”).
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                                        13 A Memorandum Of Agreement (the “2020 Memorandum of Agreement”) reflecting the August
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                                        14 2020-PP Agreement was recorded on August 31, 2020 as instrument number 2020-01030294. A

                                        15 copy of the August 2020-PP Agreement and a true and correct copy of the 2020 Memorandum Of

                                        16 Agreement are attached hereto and incorporated herein as Exhibits “GG” and “HH,” respectively.

                                        17           40.     At no time did Yogi Securities agree to subordinate its secured position to the

                                        18 August 2020 Note transaction, the August 2020 PP-Agreement or any other additional advances

                                        19 made by Hankey to Crestlloyd.

                                        20           41.     Neither a consent agreement nor a subordination agreement or any other document

                                        21 was executed by Yogi Securities permitting, authorizing and/or acknowledging the Hankey/

                                        22 Crestlloyd December 2019 Note transaction, the August 2020 Note transaction, the December

                                        23 2019-PP Agreement or the August 2020 PP-Agreement. Yogi Securities was not informed of the

                                        24 transactions before they occurred and never consented to them.

                                        25 D.        The Hilldun Loan

                                        26           42.     Yogi Securities is informed and believes that on or about April 13, 2017,

                                        27 N. Philanthropy and Crestlloyd, as guarantor, entered into a factoring agreement in favor of

                                        28 Hilldun, pursuant to which Crestlloyd executed and delivered a $5,000,000 guaranty in favor of
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                                         1 Hilldun. The guaranty was purportedly secured by the Property pursuant to a Deed Of Trust,

                                         2 Assignment Of Rents, Security Agreement And Fixture Filing, recorded on September 4, 2020 as

                                         3 instrument number 2020-1058770, a true and correct copy of which is attached hereto as

                                         4 Exhibit “II.”

                                         5                                 THE SALE OF THE PROPERTIES

                                         6           43.     Between February 7, 2020 and July 9, 2021, the Hillcrest Property, Stone Ridge

                                         7 Property, Londonderry Property, Bellagio Property and Carcassonne Property were sold. From the

                                         8 proceeds of the sales of the Hillcrest Property, Bellagio Property, Carcassonne Property and

                                         9 Londonderry Property, $15,240,346.44 was applied to reduce the obligation on Yogi Securities’

                                        10 $30,188,235 Secured Promissory Note, as amended.

                                        11           44.     In addition, from the sale of the Hillcrest Property, Yogi Securities received
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                                        12 $6,436,536.37 which, at the direction of Crestlloyd, was used to pay off in full the $5,200,000
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                                        13 Secured Promissory Note, resulting in Yogi Securities’ execution and recording of a Substitution
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                                        14 Of Trustee and Deed Of Full Reconveyance for each Deed Of Trust And Assignment Of Rents that

                                        15 secured repayment of the $5,200,000 Secured Promissory Note. The Substitutions Of Trustee And

                                        16 Deeds Of Full Reconveyance eliminating the lien against the Property and eliminating the lien

                                        17 against the Carcassonne Property, the Londonderry Property, the Stone Ridge Property and the

                                        18 Bellagio Property were recorded on January 14, 2021 with the Los Angeles County Recorder’s

                                        19 Office as instrument numbers 2021-0076458, 2021-0076455, 2021-0076456, 2021-0076457, and

                                        20 2021-0076459, respectively, true and correct copies of which are attached collectively hereto and

                                        21 incorporated herein as Exhibit “JJ.”

                                        22                                         THE BANKRUPTCY

                                        23           45.     On October 26, 2021, the Debtor filed in this Court its voluntary petition under

                                        24 Chapter 11 of the Bankruptcy Code.

                                        25           46.     Yogi Securities and Hankey, Inferno and Hilldun have filed the following Proofs Of

                                        26 Claims in the Bankruptcy Case:

                                        27                   a.     As it pertains to the Property, Inferno filed secured Proof of Claim No. 11 in

                                        28 the amount of $20,902,106.12 based on various recorded instruments, including the Inferno Deed
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                                         1 of Trust, the Assignment To Inferno, and the Supplemental Inferno Deed Of Trust, as set forth in

                                         2 the Proof of Claim.

                                         3                   b.     As it pertains to the Property, Hankey filed three secured claims: (1) Proof

                                         4 of Claim 17 in the amount of $3,500,000, based on the October 2018-PP Agreement and the 2018

                                         5 Memorandum of Agreement as set forth in the Proof of Claim; (2) Proof of Claim 18 in the amount

                                         6 of $5,000,000, based on the August 2020-PP Agreement and the 2020 Memorandum of Agreement

                                         7 as set forth in the Proof of Claim; and (3) Proof of Claim 20, in the amount of $122,638,623.41,

                                         8 based on a Construction Deed Of Trust, Security Agreement And Future Filing With Assignment

                                         9 Of Rents and a Modification Of Deed Of Trust as set forth in Proof of Claim 20 (“Hankey’s Proof

                                        10 of Claim”). At least Claims 17 and 18 are not actually secured claims because neither the 2018

                                        11 Memorandum of Agreement nor the 2020 Memorandum of Agreement, or the underlying October
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                                        12 2018-PP Agreement and August 2020-PP Agreement, created a lien or perfected a security interest
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                                        13 against the Property or otherwise.
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                                        14                   c.     As it pertains to the Property, Yogi Securities filed a secured Amended Proof

                                        15 of Claim 27, asserting a secured claim in the amount of $24,385,366.77 based on the Deed Of Trust

                                        16 And Assignment Of Rents, the Amendment Of Note And Deeds Of Trust and the Second

                                        17 Amendment Of Note And Deeds Of Trust as set forth in Yogi Securities’ Proof of Claim 27 (the

                                        18 “Yogi Securities’ Proof of Claim”).

                                        19                   d.     As it pertains to the Property, Hilldun filed Proof of Claim 9, asserting a

                                        20 secured claim in the amount of $5,000,000 based on a deed of trust recorded in favor of Hilldun,

                                        21 as set forth in Hilldun’s Proof of Claim.

                                        22                                  THE SALE OF THE PROPERTY

                                        23           47.     By order entered on March 28, 2022, the Court overruled objections to the sale of

                                        24 the Property and approved the sale of the Property for $126,000,000, plus $11,970,000 attributable

                                        25 to a rebate of the buyer’s premium by Concierge Auctions (the “Rebate”).

                                        26           48.     From the proceeds of sale, the debtor-in-possession loan of Hankey to the Debtor

                                        27 (the “DIP Loan”) was paid and certain Mechanic’s Liens were paid, among other obligations.

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                                         1            49.     On March 3, 2022, Debtor filed a Motion For Authority To Disburse Funds To

                                         2 Hankey Capital, LLC, A Senior Secured Creditor [Docket No. 326], requesting authority to pay to

                                         3 Hankey the amount of $103,837,545.86. Yogi Securities and Inferno consented to the payment of

                                         4 $82,500,000, subject to a reservation of rights, in order to mitigate a potential claim for interest. By

                                         5 order entered on May 27, 2022, the Court authorized Debtor to pay Hankey $82,500,000 “without

                                         6 prejudice to any and all parties’ rights to assert claims and defenses as may be appropriate, including

                                         7 but not limited to the right to claw back any portion of the monies paid.”

                                         8                                      FIRST CLAIM FOR RELIEF

                                         9                  COUNTERCLAIM AGAINST INFERNO FOR DECLARATORY RELIEF
                                                             TO THE EFFECT THAT INFERNO’S PURPORTED LIEN SHOULD
                                        10                     BE SUBORDINATED TO THE LIEN OF YOGI SECURITIES
                                        11            50.     Yogi Securities repeats and realleges the allegations contained in Paragraphs 1-49
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                                        12 of this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.
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                                        13            51.     This claim for relief in this Adversary Proceeding seeks to obtain a Declaratory
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                                        14 Judgment in accordance with Rule 7001(9),2 seeking a determination as to the validity, priority and/

                                        15 or extent of liens and/or the extent of secured interests in property in accordance with Rule 7001(2).

                                        16            52.     As set forth in paragraph 12, above, on January 1, 2016, Crestlloyd and Inferno

                                        17 entered into the Memorandum whereby Crestlloyd and Inferno agreed that the proceeds from the

                                        18 sale of Property would be distributed:

                                        19                    First to repay the loan(s) obtained from a bank or third-parties (excluding
                                                              Crestlloyd and Inferno) and all other unpaid costs of construction of the
                                        20                    [Property].
                                        21            53.     Following execution of the Memorandum, Yogi Securities entered into loans with

                                        22 Crestlloyd as set forth above.

                                        23            54.     Neither the Memorandum nor any of the Amendments contain any requirement that

                                        24 Crestlloyd must obtain Inferno’s agreement for Crestlloyd to obtain loans secured by the Property.

                                        25            55.     Under California Code of Civil Procedure § 106.0, et seq., 28 U.S.C. 2201 and

                                        26 Rule 7001(2) and (9), a Court can and should determine the validity, priority and/or extent of the

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                                                 All references to a “Rule” are those of the Federal Rules of Bankruptcy Procedure.
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                                         1 liens and/or the extent of the parties’ secured interests on the Property involved in this First Claim

                                         2 For Relief.

                                         3           56.     An actual controversy has arisen and now exists between Yogi Securities and

                                         4 Inferno, in that, among other things, Yogi Securities asserts that Inferno’s purported secured lien

                                         5 has been subordinated to Yogi Securities’ secured lien by reason of the Memorandum. Inferno

                                         6 disputes these contentions and contends to the contrary, asserting that Inferno’s purported secured

                                         7 lien retains a priority higher than the secured lien of Yogi Securities. A declaration from the Court

                                         8 is necessary to determine the rights and responsibilities of the parties as to the existence and priority

                                         9 of liens between Yogi Securities and Inferno.

                                        10           57.     Yogi Securities seeks a declaration from the Court to the effect that the entirety of

                                        11 Inferno’s secured lien (if any) is subordinated to the entirety of the secured lien of Yogi Securities
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                                        12 on the grounds that, among other reasons, the Memorandum places the payment of Yogi Securities’
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                                        13 secured lien ahead of the payment of Inferno’s purported secured lien.
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                                        14                                   SECOND CLAIM FOR RELIEF

                                        15         CLAIM FOR AN ACCOUNTING FROM CRESTLLOYD AND INFERNO ON ALL
                                                      DISBURSEMENTS FROM INFERNO TO CRESTLLOYD AND ON THE
                                        16                   AMOUNT DUE FROM CRESTLLOYD TO INFERNO
                                        17           58.     Yogi Securities repeats and realleges the allegations contained in Paragraphs 1-49

                                        18 of this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                        19           59.     Crestlloyd and Inferno entered into the transactions set forth in Paragraphs 11

                                        20 through 18 herein.

                                        21           60.     Crestlloyd and Inferno should be required to provide an accounting of the

                                        22 disbursements made by Inferno to Crestlloyd, the repayments by Crestlloyd to Inferno, any

                                        23 reductions of the amount due from Crestlloyd to Inferno, and an accounting as to the calculation of

                                        24 the amount due from Crestlloyd to Inferno, all with supporting documentation.

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                                         1                                    THIRD CLAIM FOR RELIEF

                                         2            CROSSCLAIM AGAINST HANKEY FOR DECLARATORY RELIEF TO THE
                                                       EFFECT THAT HANKEY’S PURPORTED LIEN IS SUBORDINATED TO
                                         3                                THE LIEN OF YOGI SECURITIES
                                                     [By Reason Of Hankey Extending Additional Funds And Increasing The Purported
                                         4                Lien On The Property Without Yogi Securities’ Knowledge or Consent]
                                         5           61.     Yogi Securities repeats and realleges the allegations contained in Paragraphs 1-49

                                         6 of this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                         7           62.     This Claim for relief seeks to obtain a Declaratory Judgment in accordance with

                                         8 Rule 7001(9), in connection with this adversary proceeding to determine the validity, priority and/

                                         9 or extent of liens and/or the extent of a secured interests in property in accordance with

                                        10 Rule 7001(2).

                                        11           63.     Crestlloyd and Hankey entered into the modifications set forth in Paragraphs 31-41
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                                        12 above, never informing Yogi Securities of the modifications before they were completed, including
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                                        13 the December 2019 Note transaction, the December 2019-PP Agreement, the August 2020 Note
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                                        14 transaction and the August 2020-PP Agreement, and Yogi Securities had no knowledge of the

                                        15 transactions before they were completed.

                                        16           64.     The effect of the modifications was to increase substantially the amount of the

                                        17 alleged secured obligations due Hankey, placing repayment of Crestlloyd’s obligation to Yogi

                                        18 Securities at greater risk.

                                        19           65.     As set forth in Paragraphs 31, 36, 40 and 41 above, neither a consent agreement, a

                                        20 subordination agreement nor any other document was executed by Yogi Securities, permitting,

                                        21 authorizing and/or acknowledging the Hankey/Crestlloyd December 2019 Note Transaction, the

                                        22 August 2020 Note Transaction, the December 2019-PP Agreement, and/or the October 2020-PP

                                        23 Agreement. Yogi Securities was not informed of and was unaware of the transactions before they

                                        24 occurred and never consented to them.

                                        25           66.     Hankey’s material modifications of its advances to Crestlloyd, without the

                                        26 knowledge or consent of Yogi Securities, materially impaired repayment of Crestlloyd’s obligation

                                        27 to Yogi Securities.

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                                         1           67.     When Hankey noticed a foreclosure sale on the Property, it was noticed for the

                                         2 amount of $106,000,000, plus interest, despite the fact that Yogi Securities neither knew nor had

                                         3 consented to Hankey increasing Hankey’s purported loan first to $91,000,000, then to

                                         4 $106,000,000, placing repayment of Yogi Securities’ loan in serious jeopardy.

                                         5           68.     Hankey’s unilateral, substantial and material modifications of its purported loan to

                                         6 Crestlloyd were done with utter disregard of Yogi Securities’ rights, placing Crestlloyd in an over-

                                         7 leveraged position, enhancing the likelihood of Crestlloyd’s default, resulting in a default, a noticed

                                         8 foreclosure, a receivership, this bankruptcy, and the sale of the Property at a depressed value in this

                                         9 bankruptcy case.

                                        10           69.     Yogi Securities’ lien was so impaired as to warrant judicially elevating Yogi

                                        11 Securities’ lien to a position senior to Hankey’s lien.
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                                        12           70.     Under California Code Civil Procedure § 106-0, et seq., 28 U.S.C. § 2201 and
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                                        13 Rule 7001(2) and (9), the Court can and should determine the validity, priority and extent of the
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                                        14 liens and.or the extent of the parties’ secured interests in the Property involved in this Third Claim

                                        15 For Relief.

                                        16           71.     An actual controversy has arisen and now exists between Yogi Securities and

                                        17 Hankey, in that, among other things, Yogi Securities asserts that Hankey’s purported loan should

                                        18 be subordinated to Yogi Securities’ loan because of Hankey’s actions. Hankey disputes these

                                        19 contentions and contends to the contrary, that Hankey holds secured debt which should retain a

                                        20 priority higher than the secured debt of Yogi Securities. A declaration from the Court is necessary

                                        21 to determine the rights and responsibilities of the parties, as to the existence and priority of liens

                                        22 between Yogi Securities and Hankey.

                                        23           72.     Yogi Securities seeks a declaration from the Court to the effect that the entirety of

                                        24 Hankey’s debt (if any) is subordinated to the debt of Yogi Securities.

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                                         1                                   FOURTH CLAIM FOR RELIEF

                                         2             CROSSCLAIM AGAINST HANKEY FOR EQUITABLE SUBORDINATION
                                                                OF HANKEY’S CLAIM TO YOGI SECURITIES’ CLAIM
                                         3              [By Reason Of Sections 510(c)(1), 502(a) And 105 Of The Bankruptcy Code]
                                         4           73.     Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 and

                                         5 62-69 of this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                         6           74.     On January 14, 2022, Hankey’s Proof of Claim was filed in the amount of

                                         7 $122,638,623.41. On April 29, 2022, Yogi Securities filed as an amended claim Yogi Securities’

                                         8 Proof of Claim in the amount of $24,385,366.77.

                                         9           75.     Hankey asserts that Hankey’s Proof of Claim has priority over Yogi Securities’

                                        10 Proof of Claim.

                                        11           76.     Section 510(c)(1) of the Bankruptcy Code provides that after notice and a hearing,
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                                        12 the bankruptcy court may under the principles of equitable subordination, “[s]ubordinate for
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                                        13 purposes of distribution all or part of an allowed claim or interest to all or part of another allowed
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                                        14 claim or interest…”

                                        15           77.     Hankey engaged in the inequitable conduct alleged herein, which resulted in injury

                                        16 to Yogi Securities and/or conferred an unfair advantage on Hankey as a creditor in this Chapter 11

                                        17 case.

                                        18           78.     The request for equitable subordination of Hankey’s Proof of Claim to Yogi

                                        19 Securities’ Proof of Claim is consistent with the Bankruptcy Code.

                                        20           79.     The entirety of Hankey’s Proof of Claim should be equitably subordinated to the

                                        21 entirety of Yogi Securities’ Proof of Claim, in accordance with sections 510(c)(1), 502(a) and 105

                                        22 of the Bankruptcy Code.

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                                         1                                     FIFTH CLAIM FOR RELIEF

                                         2           CROSSCLAIM AGAINST HANKEY FOR DECLARATORY RELIEF TO THE
                                                     EFFECT THAT PRINCIPAL AND INTEREST, FEES AND COSTS INCLUDED
                                         3                  IN HANKEY’S PURPORTED LIEN, RELATED TO HANKEY’S
                                                      MODIFICATIONS OF DECEMBER 10, 2019 AND AUGUST 20, 2020, ARE
                                         4                     SUBORDINATED TO THE LIEN OF YOGI SECURITIES
                                                     [By Reason Of Hankey Extending Additional Purported Loans And Increasing Its
                                         5           Purported Lien On The Property Without Yogi Securities’ Knowledge or Consent]
                                         6           80.     Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 and

                                         7 62-69 of this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                         8           81.     This claim for relief in this adversary proceeding seeks to obtain a Declaratory

                                         9 Judgment in accordance with Rule 7001(9), seeking a determination as to the validity, priority and/

                                        10 or extent of liens and/or the extent of secured interests in property in accordance with Rule 7001(2).

                                        11           82.     Yogi Securities’ lien was so impaired as to warrant judicially elevating Yogi
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                                        12 Securities’ lien to a position senior to Hankey’s lien, to the extent of the increase in principal and
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                                        13 interest, fees and costs that accrued as a result of Hankey’s modifications of December 10, 2019
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                                        14 and August 20, 2020.

                                        15           83.     Under California Code of Civil Procedure § 106, et seq., 28 U.S.C. 2201 and

                                        16 Rule 7001(2) and (9) of the Federal Rules of Bankruptcy Procedure, the Court can and should

                                        17 determine the validity, priority and extent of the liens and/or the extent of the parties’ secured

                                        18 interests in the Property involved in this Fifth Claim For Relief.

                                        19           84.     As an alternative to the relief sought in the Fourth Claim For Relief, an actual

                                        20 controversy now exists between Yogi Securities and Hankey, in that the amount of principal and

                                        21 interest, fees and costs due in connection with Hankey’s modifications to its purported loan in 2019

                                        22 and 2020 should be subordinated to Yogi Securities’ loan. Hankey disputes these contentions and

                                        23 contends to the contrary, that the entirety of Hankey’s alleged secured debt retains a priority higher

                                        24 than the secured debt of Yogi Securities. A declaration from the Court is necessary to determine

                                        25 the rights and responsibilities of the parties, as to the existence and priority of liens between Yogi

                                        26 Securities and Hankey.

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                                         1           85.      Yogi Securities seeks a declaration from the Court to the effect that principal and

                                         2 interest, fees and costs allegedly due Hankey related to the two modifications of Hankey’s

                                         3 purported lien are subordinated to Yogi Securities’ lien.

                                         4                                      SIXTH CLAIM FOR RELIEF

                                         5             CROSSCLAIM AGAINST HANKEY FOR EQUITABLE SUBORDINATION
                                                       OF HANKEY’S CLAIM TO YOGI SECURITIES’ CLAIM IN REGARD TO
                                         6                THE AMOUNT OF PRINCIPAL AND INTEREST, FEES AND COSTS
                                                         RELATED TO HANKEY’S PURPORTED LOAN MODIFICATIONS OF
                                         7                          DECEMBER 10, 2019 AND AUGUST 20, 2020
                                                        [By Reason Of Sections 510(c)(1), 502(a) and 105 Of The Bankruptcy Code]
                                         8

                                         9           86.      Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49,

                                        10 62-69, 74-78 and 83 of this Counterclaim and Crossclaim and incorporates them as though set forth

                                        11 in full herein.
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                                        12           87.      That portion of Hankey’s Proof of Claim consisting of principal and interest, fees
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                                        13 and costs related to Hankey’s modifications of its purported loan on December 20, 2019, and
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                                        14 December 20, 2020, should be equitably subordinated to the entirety of Yogi Securities’ Proof of

                                        15 Claim in accordance with sections 510(c)(1), 502(a) and 105 of the Bankruptcy Code.

                                        16                                   SEVENTH CLAIM FOR RELIEF

                                        17           CLAIM FOR AN ACCOUNTING BY CRESTLLOYD AND HANKEY ON ALL
                                                           DISBURSEMENTS FROM HANKEY TO CRESTLLOYD FOR
                                        18           CONSTRUCTION OF IMPROVEMENTS TO THE PROPERTY, AND ON THE
                                                               AMOUNT DUE FROM CRESTLLOYD TO HANKEY
                                        19               [In Regard To Hankey And Crestlloyd Abiding By The Terms Of The
                                                                          Construction Loan Agreement]
                                        20

                                        21           88.      Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 of

                                        22 this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                        23           89.      The purpose of the Construction Loan Agreement was to fund improvements to the

                                        24 Property, as set forth in the Recitals in that Agreement (Exhibit Q hereto):

                                        25                     A. Borrower owns or will own certain real property described in EXHIBIT A
                                                           hereto (“Property”).
                                        26
                                                               B. Borrower proposes to construct new improvements or renovate existing
                                        27                 improvements on the Property consisting of a single family residence, together
                                                           with all appurtenances, fixtures, and tenant improvements now or hereafter
                                        28                 located on the Property (“Improvements”). The Improvements shall be
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                                                           constructed in accordance with plans and specifications which Borrower has
                                         1                 heretofore, or will hereafter deliver to Lender, as amended in order to comply
                                                           with the terms and conditions of this Agreement (“Plans and Specifications”),
                                         2                 Borrower has requested from Lender a loan for the purpose of such construction.
                                         3           90.      The Construction Loan Agreement gave Hankey preapproval of design and

                                         4 construction budgets for the improvements:

                                         5                    “Disbursement Budget” - means the design and construction budget for the
                                                           Improvements, as approved by Lender from time to time.
                                         6

                                         7           91.      Hankey’s obligation to make any disbursement in connection with the Construction

                                         8 Loan Agreement was subject to conditions precedent:

                                         9                                       ARTICLE 3. DISBURSEMENT

                                        10                     3.1. Conditions Precedent. Lender’s obligation to make any disbursements
                                                           or take any other action under the Loan Documents shall be subject at all times
                                        11
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                                                           to satisfaction of each of the following conditions precedent:
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                                        12                                              *       *       *
                                                               (b) Any undisbursed Loan funds together with all sums, if any, to be
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                                        13                 provided by Borrower, shall be at all times equal to or greater than the amount
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                                                           which Lender from time to time reasonably determines necessary to: (i) pay,
                                        14                 through completion, all costs of renovation, development, construction,
                                                           operation, marketing and sale or leasing of the Property and Improvements in
                                        15                 accordance with the Loan Documents,
                                        16                                                 *       *       *
                                                                (d) Lender acknowledges that it has received and approved in form and
                                        17                 substance satisfactory to Lender: (i) a soils report for the Property and
                                                           Improvements; (ii) an environmental questionnaire and environmental site
                                        18                 assessment with respect to the presence, if any, of Hazardous Materials on the
                                                           Property and Improvements; (iii) two set of the Plans and Specifications (or if
                                        19                 the Plans and Specifications for the entirety of the Improvements are not then
                                                           complete or some portion of the Improvements are to be constructed using a
                                        20                 design/build process, in either such case pursuant to partial Plans and Specifica-
                                                           tions approved by Lender under the provisions of Section 4.6 of this Agreement
                                        21                 and for which a valid building permit has been issued, then such portion of the
                                                           Plans and Specifications to the extent that payment for such portion of the
                                        22                 Improvements is to be covered by a current disbursement request), together with
                                                           evidence of all necessary or appropriate approvals of governmental agencies;
                                        23                 (iv) copies of all agreements which are material to completion of the Improve-
                                                           ments; (v) copies of all building permits and similar permits, licenses, approvals,
                                        24                 development agreements and other authorizations of governmental agencies
                                                           required in connection with the development of the Property and Improvements,
                                        25                 or, if such approvals are to be issued on a staged basis, then for the current and
                                                           all prior stages of development, provided that such staged development has been
                                        26                 approved by Lender, as contemplated in Section 4.6; and (vi) copies of any
                                                           initial study, negative declaration, mitigated negative declaration, environmental
                                        27                 impact report, notice of determination or notice of exemption prepared, adopted,
                                                           certified or filed by any governmental agency in connection with the Property;
                                        28                 and
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                                         1                    (e) Lender shall have received and approved the Disbursement Budget.
                                         2           92.      The actual process of fund disbursements was under the control of Hankey, as set

                                         3 forth in the Construction Loan Agreement:

                                         4                 3.4. Loan Disbursements. Subject to the conditions set forth in Section 3.1(b),
                                                           the proceeds of the Loan and Borrower’s Funds shall be disbursed in accordance
                                         5                 with the terms and conditions of EXHIBIT D.
                                         6 The disbursement plan, which is contained in Exhibit D attached to the Construction Loan

                                         7 Agreement, states:

                                         8                 A. Timing Of Disbursement: …Borrower shall submit to: Hankey Capital… a
                                                           written itemized statement, signed by Borrower (“Application For Payment”)
                                         9                 setting forth:
                                        10                         1. A description of the work performed, material supplied and/or costs
                                                              incurred or due for which disbursement is requested with respect to any line
                                        11
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                                                              item (“Item”) shown in the Disbursement Budget. Notwithstanding the
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                                                              amount of any line item shown in the Disbursement Budget, Borrower may
                                        12                    reallocate amounts among the line items by allocating cost savings in any
                                                              line item to Contingency, and amounts from the Contingency to any line
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                                        13                    item with a cost overrun; provided, however, that the aggregate amount of
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                                                              all disbursements under the Loan shall not exceed the Loan amount; and
                                        14
                                                                  2. The total amount incurred, expended and/or due for each requested
                                        15                    Item less prior disbursements.
                                        16                                               *       *       *
                                                                  12. In the event any Application for Payment includes the cost of
                                        17                    materials stored at a location other than the Property (“Offsite Materials”),
                                                              each of the following: (a) evidence that the Offsite Materials have been
                                        18                    purchased by Borrower, have been segregated from other materials in the
                                                              facility and have been appropriately marked to indicate Borrower’s
                                        19                    ownership thereof and Lender’s security interest therein; and (b) evidence
                                                              that the Offsite Materials are insured as required by this Agreement.
                                        20
                                                                   13. In the event that any Application for Payment includes the cost of
                                        21                     materials stored on the Property (“Onsite Materials”), each of the following:
                                                               (a) evidence that the Onsite Materials have been purchased for or by
                                        22                     Borrower; (b) evidence that the Onsite Materials are insured as required
                                                               hereunder; and (c) evidence that the Onsite Materials are stored in an area
                                        23                     on the Property for which adequate security is provided against theft and
                                                               vandalism.
                                        24                                                 *       *       *
                                                               D. Partial Disbursements. No disbursement shall be made for a particular
                                        25                 Application for Payment unless all required supporting materials are included
                                                           for Items totaling at least sixty-five percent (65%) of the total amount of funds
                                        26                 requested thereunder.
                                        27           93.      The Construction Loan Agreement states that the $82,500,000 was sufficient to

                                        28 complete construction of the Property:
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                                                              6.9. Loan Proceeds and Adequacy. The undisbursed Loan proceeds, together
                                         1                 with Borrower’s Funds and all other sums, if any, to be provided by Borrower
                                                           as shown in EXHIBIT C, are sufficient to construct the Improvements in
                                         2                 accordance with the terms and conditions of this Agreement.
                                         3           94.      As set forth in paragraph 29, Yogi Securities’ $30,188,235 Promissory Note

                                         4 (Exhibit “H” hereto) was executed on October 16, 2018, before Hankey’s Construction Loan

                                         5 Agreement (Exhibit “S” hereto) was executed on October 25, 2018, and Yogi Securities’ Deed Of

                                         6 Trust And Assignment Of Rents was recorded on November 7, 2018 (Exhibit “T” hereto), one day

                                         7 after Hankey’s Construction Deed Of Trust, Security Agreement And Fixture Filing With

                                         8 Assignment Of Rents was recorded on November 6, 2018 (Exhibit “X” hereto). Yogi Securities

                                         9 recorded its Deed Of Trust And Assignment Of Rents on November 7, 2018, on the bases that:

                                        10 (1) Hankey knew that Yogi Securities was making a loan to Crestlloyd; (2) Hankey’s loan to

                                        11 Crestlloyd was to be used for construction of improvements to the Property; (3) Hankey knew that
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                                        12 Yogi Securities would record its lien after Hankey recorded its lien only on condition that Hankey’s
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                                        13 loan to Crestlloyd would be used to construct improvements to the Property; and (4) Hankey would
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                                        14 control disbursements to pay for construction of improvements to the Property.

                                        15           95.      Yogi Securities is informed and believes that Hankey was actively engaged in funds

                                        16 control in regard to disbursements to Crestlloyd for construction of improvements to the Property,

                                        17 but failed to monitor and/or control all disbursements such that not all funds disbursed to Crestlloyd

                                        18 were used for construction of improvements to the Property.

                                        19           96.      Attached hereto and incorporated herein as Exhibit “KK” is a chart itemizing

                                        20 disbursements to Crestlloyd that were not, or may not have been, used for construction of

                                        21 improvements to the Property. Exhibit “KK” is based on a “Client Trust Ledger,” which is attached

                                        22 hereto and incorporated herein as Exhibit “LL,” which was prepared by Hankey regarding

                                        23 disbursements to Crestlloyd in connection with the Hankey Construction Loan Agreement

                                        24 (Exhibit “S,” hereto).

                                        25           97.      At least the following amounts appear not to be for construction of improvements

                                        26 to the Property:

                                        27                          An EFI loan fee on November 5, 2018, totaling $1,200,000.

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                                         1                         A payment of $74,389.56 on November 14, 2018, for “Nile Travel”

                                         2                          referencing “Miscellaneous.”

                                         3                         A payment of $25,000 on December 19, 2019 for “Sales Office/Supplies/

                                         4                          Furnishings.”

                                         5                         Multiple payments totaling $5,918,013.46 for furniture.

                                         6           98.     In addition, further information is needed as to the legitimacy of the following

                                         7 amounts:

                                         8                         Payments totaling $482,810 to Skyline for “Overhead/Payroll.”

                                         9                         Payments totaling $640,021.44 to Skyline for “Project Management Fees.”

                                        10                         Payments totaling $710,583.20 to Skyline for “Other Labor.”

                                        11           99.     In addition, further information is needed as to whether all of Hankey’s disburse-
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                                        12 ments to Crestlloyd were used for construction of improvements to the Property, including, but not
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                                        13 limited to, disbursements totaling $5,671,406.88 for audio-visual and $1,020,000 for electrical, the
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                                        14 foregoing items not being an exhaustive list (with additional items to be potentially revealed

                                        15 through discovery).

                                        16           100.    None of the “Plans And Specifications,” the “Applications For Payment,” the

                                        17 “Disbursement Budget(s)” and/or “copies of all agreements which were material to completion of

                                        18 the Improvements,” or other documents related to disbursements from Hankey to Crestlloyd, have

                                        19 been provided to Yogi Securities by either Crestlloyd and/or Hankey to confirm that the

                                        20 disbursements were used for construction of improvements to the Property.

                                        21           101.    Crestlloyd and Hankey should be required to provide an accounting of the

                                        22 disbursements made by Hankey to Crestlloyd, with supporting documentation, including the “Plans

                                        23 And Specifications,” the “Applications For Payment,” the “Disbursement Budget(s)” and “copies

                                        24 of all agreements which were material to completion of the Improvements,” as those terms are used

                                        25 in the Construction Loan Agreement and Exhibit D to the Construction Loan Agreement and an

                                        26 accounting as to the amount allegedly due from Crestlloyd to Hankey.

                                        27

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                                         1                                   EIGHTH CLAIM FOR RELIEF

                                         2            CROSSCLAIM AGAINST HANKEY FOR DECLARATORY RELIEF TO THE
                                                       EFFECT THAT A PORTION OF HANKEY’S PURPORTED LIEN SHOULD
                                         3                   BE SUBORDINATED TO THE LIEN OF YOGI SECURITIES
                                                      [By Reason Of And To The Extent That Hankey’s Alleged Loans Were Not Used
                                         4                        For Construction Of Improvements To The Property]
                                         5           102.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49,

                                         6 62-69 and 89-99 of this Counterclaim and Crossclaim and incorporates them as though set forth in

                                         7 full herein.

                                         8           103.    This claim for relief in this adversary proceeding seeks to obtain a Declaratory

                                         9 Judgment in accordance with Rule 7001(9), seeking a determination as to the validity, priority and/

                                        10 or extent of liens and/or the extent of secured interests in property in accordance with Rule 7001(2).

                                        11           104.    Under California Code of Civil Procedure § 106, et seq., 28 U.S.C. 2201 and
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                                        12 Rule 7001(2) and (9), the Court can and should determine the validity, priority and extent of the
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                                        13 liens and/or the extent of the parties’ secured interest in the Property involved in this Eighth Claim
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                                        14 For Relief.

                                        15           105.    An actual controversy now exists between Yogi Securities and Hankey, in that to

                                        16 the extent funds advanced by Hankey to Crestlloyd were not used for construction of improvements

                                        17 to the Property, Yogi Securities asserts that the total of those amounts should be subordinated to

                                        18 the amount due Yogi Securities. Hankey disputes these contentions and contends to the contrary,

                                        19 that the entirety of Hankey’s secured debt, regardless of whether Hankey’s alleged loan was used

                                        20 to fund construction of improvements to the Property, retains a priority higher than the secured debt

                                        21 of Yogi Securities. A declaration from the Court is necessary to determine the rights and

                                        22 responsibilities of the parties, as to the propriety, priority and amount of lien between Yogi

                                        23 Securities and Hankey, including the subordination of Hankey’s purported lien to Yogi Securities’

                                        24 lien to the extent that Hankey’s construction loan was not used for construction of improvements

                                        25 to the Property.

                                        26           106.    Yogi Securities seeks a declaration from the Court to the effect that, to the extent

                                        27 Hankey’s purported loan was not used for construction of improvements to the Property, such

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                                         1 amounts of Hankey’s purported lien and any interest related thereto are subordinated to Yogi

                                         2 Securities’ lien.

                                         3                                    NINTH CLAIM FOR RELIEF

                                         4             CROSSCLAIM AGAINST HANKEY FOR EQUITABLE SUBORDINATION
                                                        OF HANKEY’S CLAIM TO THE CLAIM OF YOGI SECURITIES TO THE
                                         5                 EXTENT HANKEY’S PURPORTED LOAN WAS NOT USED FOR
                                                             CONSTRUCTION OF IMPROVEMENTS TO THE PROPERTY
                                         6              [By Reason Of Sections 510(c)(1), 502(a) And 105 Of The Bankruptcy Code]
                                         7           107.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49,

                                         8 74-78 and 89-99 of this Counterclaim and Crossclaim and incorporates them as though set forth in

                                         9 full herein.

                                        10           108.    That portion of Hankey’s Proof of Claim consisting of amounts that Hankey

                                        11 supposedly lent to Crestlloyd that were not used for construction of improvements to the Property,
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                                        12 should be equitably subordinated to Yogi Securities’ Proof of Claim in accordance with
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                                        13 sections 510(c)(1), 502(a) and 105 of the Bankruptcy Code.
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                                        14                                    TENTH CLAIM FOR RELIEF

                                        15            CROSSCLAIM AGAINST HANKEY FOR DECLARATORY RELIEF TO THE
                                                         EFFECT THAT INTEREST CHARGED ON INTEREST INCLUDED IN
                                        16           HANKEY’S PURPORTED LIEN SHOULD BE SUBORDINATED TO THE LIEN
                                                                               OF YOGI SECURITIES
                                        17           [By Reason Of And To The Extent Hankey Charged And/Or Is Charging Interest
                                                          On Interest Payments Timely Disbursed To Or Retained By Hankey]
                                        18

                                        19           109.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 of

                                        20 this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                        21           110.    This claim for relief in this adversary proceeding seeks to obtain a Declaratory

                                        22 Judgment in accordance with Rule 7001(9), seeking a determination as to the validity, priority and/

                                        23 or extent of liens and/or the extent of secured interests in property in accordance with Rule 7001(2).

                                        24           111.    In connection with Hankey’s disbursements on its loan to Crestlloyd,

                                        25 $18,280,231.87 was disbursed to and/or retained by Hankey to pay interest to Hankey in connection

                                        26 with its supposed loan, including the two modifications thereto, which amounts Yogi Securities is

                                        27 informed and believes were received or credited timely.

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                                         1           112.    Upon default of the supposed loan, Hankey improperly charged interest, including

                                         2 default interest, on the interest payments timely disbursed to or retained by Hankey. This served to

                                         3 inflate the amount purportedly due and owing to Hankey to the detriment of Yogi Securities.

                                         4           113.    Under California Code of Civil Procedure § 106, et seq., 28 U.S.C. 2201 and

                                         5 Rule 7001(2) and (9), the Court can and should determine the validity, priority and extent of the

                                         6 liens and/or the extent of the parties’ secured interest in the Property involved in this Tenth Claim

                                         7 For Relief.

                                         8           114.    An actual controversy now exists between Yogi Securities and Hankey, in that to

                                         9 the extent Hankey has charged Crestlloyd interest, including default interest, on the interest

                                        10 payments timely disbursed to or retained by Hankey, Yogi Securities asserts that the amount of

                                        11 Hankey’s purported lien should be subordinated to the lien of Yogi Securities. Hankey disputes
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                                        12 these contentions and contends to the contrary, that the amount of Hankey’s purported lien should
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                                        13 include the interest on the interest, including default interest, sought by Hankey, and that the
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                                        14 entirety of Hankey’s alleged secured debt retains a priority higher than the secured debt of Yogi

                                        15 Securities. A declaration from the Court is necessary to determine the rights and responsibilities of

                                        16 the parties, as to the propriety, priority and the amount due Hankey in regard to the interest and

                                        17 default interest charged on timely received or credited interest payments.

                                        18           115.    Yogi Securities seeks a declaration from the Court to the effect that Hankey’s lien

                                        19 should be subordinated to the lien of Yogi Securities by the amount of interest and default interest

                                        20 charged by Hankey on timely received or credited interest payments.

                                        21                                 ELEVENTH CLAIM FOR RELIEF

                                        22           CROSSCLAIM AGAINST HANKEY FOR EQUITABLE SUBORDINATION OF
                                                     HANKEY’S PROOF OF CLAIM TO YOGI SECURITIES’ PROOF OF CLAIM
                                        23            TO THE EXTENT THAT HANKEY’S CLAIM INCLUDES INTEREST AND
                                                       DEFAULT INTEREST CHARGED ON INTEREST PAYMENTS TIMELY
                                        24                         DISBURSED TO OR RECEIVED BY HANKEY
                                                       [By Reason of Sections 510(c)(1), 502(a) And 105 Of The Bankruptcy Code]
                                        25

                                        26           116.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49,

                                        27 74-78 and 111-112 of this Counterclaim and Crossclaim and incorporates them as though set forth

                                        28 in full herein.
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                                         1            117.    That portion of Hankey’s Proof of Claim consisting of amounts representing interest

                                         2 and default interest charged by Hankey on payments timely disbursed to and/or timely received by

                                         3 Hankey, should be equitably subordinated to Yogi Securities’ Proof of Claim in accordance with

                                         4 sections 510(c)(1), 502(a) and 105 of the Bankruptcy Code.

                                         5                                   TWELFTH CLAIM FOR RELIEF

                                         6       CROSSCLAIM AGAINST HANKEY FOR DISALLOWANCE OF HANKEY’S ALLEGED
                                                   SECURED CLAIMS ARISING FROM PROFIT PARTICIPATION AGREEMENTS
                                         7                 [By Reason Of The Fact The Amounts Due Are Not Secured]
                                         8            118.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 of

                                         9 this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                        10            119.    As set forth in Paragraphs 28, 34 and 39 above, Hankey entered into three profit

                                        11 participation agreements: the October 2018-PP Agreement (Exhibit T hereto), the December 2019-
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                                        12 PP Agreement (Exhibit AA hereto) and the August 2020-PP Agreement (Exhibit EE hereto).
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                                        13            120.    The profit participation agreements provide that Hankey would receive a percentage
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                                        14 of the amount for which the Property was sold, regardless of the status of Crestlloyd’s repayment

                                        15 to Hankey of Hankey’s supposed loans to Crestlloyd and regardless of a reconveyance of Hankey’s

                                        16 deeds of trust to Crestlloyd.

                                        17            121.    Neither Claim 17 nor Claim 18 is a secured claim because neither the 2018

                                        18 Memorandum Of Agreement, the 2020 Memorandum Of Agreement, nor the underlying October

                                        19 2018-PP Agreement, nor the August 2020-PP Agreement , created a security interest or perfected

                                        20 a lien against the Property or otherwise.

                                        21            122.    Yogi Securities requests that Hankey’s Claim 18 -- and to the extent Hankey is still

                                        22 asserting it -- Claim 173 be disallowed as secured claims.

                                        23

                                        24

                                        25

                                        26

                                        27

                                        28   3
                                                 Yogi Securities is not aware that Claim No. 17 has been withdrawn.
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                                         1                                 THIRTEENTH CLAIM FOR RELIEF

                                         2      CROSSCLAIM AGAINST HANKEY FOR RECHARACTERIZATION OF HANKEY’S
                                                                    PROOF OF CLAIM FROM DEBT TO EQUITY
                                         3   [Recharacterization By Reason of Sections 510(c)(1), 502(a) And 105 Of The Bankruptcy Code]
                                         4           123.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49,

                                         5 62-69, 89-99 and 111-112 of this Counterclaim and Crossclaim and incorporates them as though

                                         6 set forth in full herein.

                                         7           124.    As set forth above, the nature and terms of the documents and instruments

                                         8 referenced above to which Hankey is a party or which Crestlloyd executed and delivered to Hankey

                                         9 indicate Hankey’s and Crestlloyd’s intent that all or a portion of the purported secured debt of

                                        10 Hankey constitute, instead, contributions to equity (to the extent of any Hankey stake in Crestlloyd

                                        11 or against the Property).
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                                        12           125.    Among other grounds, as set forth above, Hankey’s three profit participation
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                                        13 agreements described above (and other related documentation described above) and the terms
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                                        14 thereof and the status of such supposed entitlements to recovery by Hankey, as compared to other

                                        15 stakeholders, demonstrate Hankey’s and Crestlloyd’s intent that Hankey not be considered a debt

                                        16 holder, but instead have status wholly or partially as equity (to the extent of any stake in Crestlloyd

                                        17 or against the Property).

                                        18           126.    As set forth above, Hankey’s omission of informing Yogi Securities (or, upon

                                        19 information and belief, any other creditors of Crestlloyd) of substantial increases of Hankey’s

                                        20 funding of Crestlloyd in 2019 and 2020 further demonstrate Hankey’s intent that its lending be

                                        21 considered wholly or partially as contributions to equity of Crestlloyd, not secured debt.

                                        22           127.    In addition, as construction of improvements to the Property continued, Hankey

                                        23 failed to timely make construction loan disbursements to Crestlloyd, which slowed construction to

                                        24 the detriment of Crestlloyd being able to complete construction, sell the Property and pay off

                                        25 Hankey. The result of Hankey’s failure, coupled with Hankey twice increasing its loan to Crestlloyd

                                        26 -- Hankey also having intentionally failed to notify Yogi Securities of the two increases -- is that

                                        27 Crestlloyd became over-leveraged, Hankey declared a default, Hankey commenced a foreclosure,

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                                         1 a receiver was appointed, Crestlloyd filed this bankruptcy and the Property was sold for below what

                                         2 was perceived to be the Property’s value.

                                         3           128.    Hankey’s failure to follow and comply with the requirements for construction

                                         4 funding advances, as described above, and charging interest and default interest on interest

                                         5 payments timely received by Hankey, and other evidence regarding the acts, omissions and intent

                                         6 of Hankey (including to be revealed by discovery) demonstrate or will demonstrate Hankey’s intent

                                         7 that its lending be considered wholly or partially as contributions to equity of Crestlloyd, not

                                         8 secured debt.

                                         9           129.    Yogi Securities therefore requests that, based on the grounds described above

                                        10 herein, Hankey’s Claim 20 be recharacterized wholly or partially as equity and disallowed wholly

                                        11 or partially as secured debt.
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                                        12                                 FOURTEENTH CLAIM FOR RELIEF
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                                        13    CROSSCLAIM AGAINST INFERNO FOR RECHARACTERIZATION OF THE CLAIM OF
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                                                                        INFERNO FROM DEBT TO EQUITY
                                        14   [Recharacterization By Reason of Sections 510(c)(1), 502(a) And 105 Of The Bankruptcy Code]
                                        15           130.    Yogi Securities repeats and realleges the allegations set forth in Paragraphs 1-49 of

                                        16 this Counterclaim and Crossclaim and incorporates them as though set forth in full herein.

                                        17           131.    As set forth above, the nature and terms of the documents and instruments

                                        18 referenced above to which Inferno and Crestlloyd are a party indicate Inferno and Crestlloyd’s

                                        19 intent that all or a portion of the purported secured debt of Inferno constitutes contribution to equity

                                        20 (to the extent of any Inferno stake in Crestlloyd or against the Property).

                                        21           132.    Inferno’s agreement in the First Inferno Note (Exhibit “A,” hereto), the

                                        22 Memorandum (Exhibit “F,” hereto), and the terms thereof, the status of the supposed entitlements

                                        23 to recovery by Inferno, and Inferno’s apparent entitlement to profits as set forth in the First Inferno

                                        24 Note and the Memorandum, as compared to other stakeholders, demonstrate Inferno and

                                        25 Crestlloyd’s intent that Inferno not be considered a debt holder, but instead have status wholly or

                                        26 partially as equity (to the extent of any stake in Crestlloyd or against the Property).

                                        27           133.    There was no maturity date on any loan from Inferno to Crestlloyd.

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                                         1           134.    As to the First Inferno Note: the $14,040,000 balance due and owing Crestlloyd was

                                         2 reduced by over 50% to $7,000,000 “as an accommodation, to debtor, and without receiving

                                         3 consideration.”

                                         4           135.    As to the Memorandum:

                                         5                      In the Memorandum’s recitals, the Memorandum sets forth the “respective

                                         6                       rights” of Crestlloyd and Inferno, “with regard to distributions of proceeds at

                                         7                       such time as the residence [i.e., the Property] being constructed by Crestlloyd…

                                         8                       is sold.”

                                         9                      The Memorandum provides in paragraph 2 that profits realized by selling the

                                        10                       Property may be divided among Inferno and Crestlloyd, and sets no particular

                                        11                       maturity date or repayment schedule.
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                                        12                      The Memorandum states that Crestlloyd and Inferno are to be paid from the sale
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                                        13                       of the Property on or after repayment of loans obtained from banks or third
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                                        14                       parties, excluding Crestlloyd and Inferno, recognizing that other lenders would

                                        15                       have to be paid ahead of Inferno.

                                        16                      Inferno was able to realize gains far higher than any set “rate of interest” on any

                                        17                       note, due to the ability to divide profits and losses under the Memorandum.

                                        18           136.    Inferno’s substantial delay of two-and-one-half years for any attempt to record a lien

                                        19 related to the First Inferno Note and other evidence regarding the acts, omissions and intent of

                                        20 Inferno (including to be revealed by discovery) demonstrate or will demonstrate Inferno’s intent

                                        21 that its purported lending be considered wholly or partially as contributions to equity of Crestlloyd,

                                        22 not secured debt.

                                        23           137.    Yogi Securities is informed and believes and based thereon alleges there are many

                                        24 parts of the relationship between Inferno and Crestlloyd, as set forth hereinabove, which merit

                                        25 categorizing Inferno's interest as equity.

                                        26           138.    Yogi Securities therefore requests that, based on the grounds described above

                                        27 herein, Inferno’s Claim 11 be recharacterized wholly or partially as equity and disallowed wholly

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                                         1 or partially as secured debt in accordance with sections 510(c)(1), 502(a) and 105 of the Bankruptcy

                                         2 Code.

                                         3                                 FIFTEENTH CLAIM FOR RELIEF
                                         4   CROSSCLAIM AGAINST CRESTLLOYD FOR DECLARATORY RELIEF TO THE EFFECT
                                                 THAT THE REBATE AND THE DIP LOAN PROCEEDS ARE ENCUMBERED
                                         5                       [By Reason Of Yogi Securities’ Lien]
                                         6           139.    Yogi Securities repeats and realleges the allegations contained in Paragraphs 1-49

                                         7 of this Counterclaim and Crossclaim, and incorporates them as though set full herein.

                                         8           140.    This claim for relief in this adversary proceeding seeks to obtain a Declaratory

                                         9 Judgment in accordance with Rule 7001(9), seeking a determination as to the validity, priority and/

                                        10 or extent of liens and/or the extent of secured interests in property in accordance with Rule 7001(2).

                                        11           141.    The Court authorized the Debtor to borrow up to $12,000,000 by way of the DIP
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                                        12 Loan from Hankey to the Debtor, that Hankey secured with a first priority lien against the Property.
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                                        13 Upon Court approval, the Debtor immediately drew down the entire $12,000,000 loan. Yogi
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                                        14 Securities is informed and believes that the Debtor did not spend the full $12,000,000.

                                        15           142.    In connection with the sale of the Property, Yogi Securities is informed and believes

                                        16 that the Debtor repaid $12,084,999.98 to Hankey in regard to the DIP Financing from the proceeds

                                        17 from the sale of the Property instead of returning the unused DIP loan proceeds (“Unused DIP Loan

                                        18 Proceeds”) and paying the difference from the sale proceeds. Yogi Securities is informed and

                                        19 believes and on that basis alleges that the Debtor is holding approximately $3,600,000 in Unused

                                        20 DIP Loan Proceeds, less professional fees recently authorized to be paid. Yogi Securities is

                                        21 informed and believes that the Debtor asserts the Unused DIP Loan Proceeds are unencumbered.

                                        22 Yogi Securities asserts that the Unused DIP Loan Proceeds are security for the secured obligations

                                        23 of Yogi Securities and any other lienholders as may be determined by the Court to exist. The Court

                                        24 has not made a determination as to whether the Unused DIP Loan Proceeds are encumbered or

                                        25 unencumbered.

                                        26           143.    Further, in connection with the employment of Concierge Auctions, Debtor

                                        27 negotiated for Concierge to rebate to the estate 9.5% of the 12% buyer’s premium to which

                                        28 Concierge was otherwise entitled. Yogi Securities is informed and believes that the Debtor asserts
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                                         1 the Rebate is unencumbered. Yogi Securities asserts that the Rebate is security for the secured

                                         2 obligations of Yogi Securities and any other lienholders as may be determined by the Court to exist.

                                         3 The Court has not made a determination about whether the Rebate is encumbered or unencumbered.

                                         4           144.    Under California Code of Civil Procedure § 106, et seq., 28 U.S.C. 2201 and Rule

                                         5 7001(2) and (9) of the Federal Rules of Bankruptcy Procedure, the Court can and should determine

                                         6 the validity, priority and extent of the liens and/or the extent of the parties’ secured interest in the

                                         7 Property involved in this Fifteenth Claim For Relief.

                                         8           145.    An actual controversy now exists between Yogi Securities and any other lienholders

                                         9 as may be determined by the Court to exist, and the Debtor about whether the Rebate and Unused

                                        10 DIP Loan Proceeds are secured for the obligations due to Yogi Securities and such other

                                        11 lienholders. A declaration from the Court is necessary to determine the rights and responsibilities
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                                        12 of the parties, as to whether the Rebate and the Unused DIP Loan Proceeds are encumbered or
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                                        13 unencumbered.
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                                        14           146.    Yogi Securities seeks a declaration that the Rebate and the Unused DIP Loan

                                        15 Proceeds are not unencumbered and cannot be used to pay unsecured claims unless and until all

                                        16 parties with liens against the Property, including Yogi Securities, are paid in full.

                                        17                                        PRAYER FOR RELIEF

                                        18           Wherefore, Yogi Securities prays for judgment as follows:

                                        19           As to the First Claim For Relief:

                                        20           1.      For a judicial determination that the entirety of the secured debt allegedly due

                                        21 Inferno is subordinate to the entirety of the secured debt of Yogi Securities in its entirety based on

                                        22 the Memorandum of Agreement, and therefore Yogi Securities’ debt has priority and should be

                                        23 paid first from the proceeds of the sale of the Property prior to any payment to Inferno.

                                        24           As to the Second Claim For Relief:

                                        25           2.      For an accounting from and by Inferno and Crestlloyd as to all disbursements from

                                        26 Inferno to Crestlloyd and an accounting at to the amount allegedly due Inferno.

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                                         1           As to the Third Claim For Relief:

                                         2           3.      For a judicial determination that the entirety of the lien asserted by Hankey is

                                         3 subordinated to the entirety of Yogi Securities’ lien, and that Yogi Securities’ lien has priority and

                                         4 should be paid from proceeds of the sale of the Property prior to any payment to Hankey.

                                         5           As to the Fourth Claim For Relief:

                                         6           4.      For a judicial determination that the entirety of the Proof of Claim asserted by

                                         7 Hankey is subordinated to the entirety of Yogi Securities’ Proof of Claim, and that Yogi Securities’

                                         8 Proof of Claim has priority and should be paid from proceeds of the sale of the Property prior to

                                         9 any payment to Hankey.

                                        10           As to the Fifth Claim For Relief:

                                        11           5.      For a judicial determination that to the extent that Hankey’s purported lien includes
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                                        12 principal and interest, fees and costs, attributable to Hankey’s modifications of December 10, 2019
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                                        13 and August 20, 2020, Hankey’s purported lien is in any case subordinate to Yogi Securities’ lien,
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                                        14 and that Yogi Securities’ lien has priority and should be paid from proceeds of the sale of the

                                        15 Property prior to payment to Hankey of such principal and interest, fees and costs.

                                        16           As to the Sixth Claim For Relief:

                                        17           6.      For a judicial determination that to the extent that Hankey’s Proof of Claim includes

                                        18 principal and interest, fees and costs, attributable to Hankey’s modifications of December 10, 2019

                                        19 and August 20, 2020, Hankey’s Proof of Claim is subordinate to Yogi Securities’ Proof of Claim,

                                        20 and that Yogi Securities’ Proof of Claim has priority and should be paid from proceeds of the sale

                                        21 of the Property prior to payment to Hankey of such principal and interest, fees and costs.

                                        22           As to the Seventh Claim For Relief:

                                        23           7.      For an accounting from and by Hankey and Crestlloyd as to all disbursements made

                                        24 by Hankey to Crestlloyd, with supporting documentation, including the “Plans and Specifications,”

                                        25 the “Applications for Payment,” the “Disbursement Budget(s)” and “copies of all agreements which

                                        26 were material to completion of the Improvements,” as those terms are used in the Construction

                                        27 Loan Agreement and Exhibit D to the Construction Loan Agreement, and an accounting as to the

                                        28 amount allegedly due Hankey.
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                                         1           As to the Eighth Claim For Relief:

                                         2           8.      For a judicial determination that to the extent Hankey’s purported loan was not used

                                         3 for construction of improvements to the Property, Hankey’s purported lien is subordinate to Yogi

                                         4 Securities’ lien, and that Yogi Securities’ lien has priority and should be paid from proceeds of the

                                         5 sale of the Property prior to payment to Hankey.

                                         6           As to the Ninth Claim For Relief:

                                         7           9.      For a judicial determination that to the extent Hankey’s purported loan was not used

                                         8 for construction of improvements to the Property, Hankey’s Proof of Claim is subordinate to Yogi

                                         9 Securities’ Proof of Claim, and that Yogi Securities’ Proof of Claim has priority and should be paid

                                        10 from proceeds of the sale of the Property prior to payment to Hankey on Hankey’s Proof of Claim.

                                        11           As to the Tenth Claim For Relief:
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                                        12           10.     For a judicial determination that to the extent Hankey’s purported loan was used to
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                                        13 pay interest or default interest on interest payments timely disbursed or paid to Hankey, Hankey’s
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                                        14 purported lien is subordinate to Yogi Securities’ lien, and that Yogi Securities’ lien has priority and

                                        15 should be paid from proceeds of the sale of the Property prior to payment to Hankey of such interest

                                        16 or default interest.

                                        17           As to the Eleventh Claim For Relief:

                                        18           11.     For a judicial determination that to the extent Hankey’s purported loan was used to

                                        19 pay interest or default interest on interest payments timely disbursed or paid to Hankey, Hankey’s

                                        20 Proof of Claim is subordinate to Yogi Securities’ Proof of Claim, and that Yogi Securities’ Proof

                                        21 of Claim has priority and should be paid from proceeds of the sale of the Property prior to payment

                                        22 to Hankey of such interest or default interest.

                                        23           As to the Twelfth Claim For Relief:

                                        24           12.     For an order disallowing Hankey’s Proofs of Claim 17 and 18 as secured claims in

                                        25 their entirety.

                                        26           As to the Thirteenth Claim for Relief.

                                        27           13.     For an order recharacterizing wholly or partially Hankey’s Proofs of Claim 17, 18

                                        28 and 20 as an equity contribution.
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                                         1           As to the Fourteenth Claim for Relief.

                                         2           14.     For an order recharacterizing wholly or partially Inferno’s Proof of Claim 11 as an

                                         3 equity contribution.

                                         4           As to the Fifteenth Claim For Relief:

                                         5           15.     For a judicial determination that the remaining DIP Loan Proceeds and Rebate are

                                         6 encumbered and are security for the secured obligations due the lienholders, including Yogi

                                         7 Securities.

                                         8           As to All Claims For Relief:

                                         9           1.      There has been no trustee appointed in this case.

                                        10           2.      There has been no creditors’ committee appointed in this case.

                                        11           3.      Yogi Securities has a sufficient interest and stake in obtaining the relief requested
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                                        12 in each of the counts herein, and has standing to do so, because, inter alia, Yogi Securities has an
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                                        13 interest in such relief, and each element of it as requested, which interest is separate and apart from
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                                        14 the interests of the Debtor’s estate as a whole.

                                        15           4.      To the extent of any distribution or other payment at any time to or for the benefit

                                        16 of Hankey or Inferno which was improper or otherwise inconsistent with any of the above-asserted

                                        17 rights, claims, lien and priority of Yogi Securities, recovery of all such amounts, to and for the

                                        18 benefit of and payment to Yogi Securities, and a judgment in favor of Yogi Securities as against

                                        19 Hankey and/or Inferno consistent therewith.

                                        20           5.      Payment to Yogi Securities of all such funds held by Crestlloyd as is consistent with

                                        21 or required by the above-asserted rights, claims, lien and priority of Yogi Securities, and a judgment

                                        22 in favor of Yogi Securities consistent therewith.

                                        23           6.      For costs of suit herein.

                                        24           7.      For attorney’s fees, to the extent allowed by law, incurred in connection with this

                                        25 action.

                                        26           8.      For such other and further relief as this Court deems just and proper.

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                                              Dated: September 21, 2022               DENTONS US LLP
                                         1                                            ROBERT F. SCOULAR
                                                                                      JOHN A. MOE, II
                                         2                                            NORMAN M. ASPIS
                                         3                                            By:    /s/John A. Moe, II
                                                                                             JOHN A. MOE, II
                                         4
                                                                                      Attorneys for Defendant, Crossclaimant and
                                         5                                            Counterclaimant
                                                                                      YOGI SECURITIES HOLDINGS, LLC
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                                         1                                           EXHIBIT LIST
                                         2           A.    Promissory Note Secured By Deed Of Trust, dated March 13, 2013, executed by
                                             Crestlloyd, LLC (“Crestlloyd”) in favor of Inferno Investment, Inc., in the amount of $3,925,545.
                                         3
                                                   B.     Deed Of Trust And Assignment Of Rents, recorded March 13, 2013, executed by
                                         4 Crestlloyd in favor of Inferno Realty, L.P., and Maybach Corporation Holdings, Inc., recorded on
                                           March 13, 2013, as instrument number 2013-0384037.
                                         5
                                                   C.     Assignments Of Notes And Deeds Of Trust/Mortgage, executed by Crestlloyd in
                                         6 favor of Inferno Investment, Inc., recorded November 10, 2016, as instrument number 2015-
                                           1375606 and 2015-1375607.
                                         7
                                                   D.     Modified Promissory Note Secured By Deed Of Trust, dated March 13, 2013,
                                         8 executed by Crestlloyd in favor of Inferno Realty, L.P., in “the principal sum of” $14,040,000.

                                         9           E.     Modification And Supplement To Deed Of Trust, executed by Crestlloyd in favor
                                             of Inferno Investments, Inc., recorded November 10, 2015, as instrument number 2015-1375608.
                                        10
                                                 F.      Memorandum Of Agreement, executed by Inferno Investment, Inc., and Crestlloyd
                                        11 made and entered as of January 1, 2016.

                                        12      G.     Amendment No. 1 To Memorandum Of Agreement, undated; Amendment No. 2 To
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                                           Memorandum Of Agreement entered into as of September 27, 2016; Revised Amendment No. 2
                                        13 To Memorandum Of Agreement entered into as of September 28, 2016; Amendment No. 3 To
                                           Memorandum Of Agreement entered into as of March 29, 2018; and Revised Amendment No. 3
                                        14 To Memorandum Of Agreement entered into as of May 16, 2018.
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                                        15         H.     $30,188,235 Promissory Note, executed by Crestlloyd in favor of Yogi Securities
                                             Holdings, LLC (“Yogi Securities”) dated October 16, 2018.
                                        16
                                                   I.     Deed Of Trust And Assignment Of Rents, executed by Crestlloyd in favor of Yogi
                                        17 Securities, executed on October 16, 2022, and recorded November 7, 2018, as instrument number
                                           2018-1126580.
                                        18
                                                   J.     Deed Of Trust And Assignment Of Rents (the “Hillcrest Deed Of Trust”) executed
                                        19 by Crestlloyd dated October 16, 2018, securing the obligation with real property located at 1175
                                           North Hillcrest Road, Beverly Hills, CA 90210 (the “Hillcrest Property”); a Deed Of Trust And
                                        20 Assignment Of Rents (the “Bellagio Deed Of Trust”) executed by 10701 Bellagio Road, LLC
                                           (“Bellagio”), dated October 16, 2018, securing the obligation with real property located at
                                        21 10701 Bellagio Road, Los Angeles, CA 90077 (the “Bellagio Property”); Deed Of Trust And
                                           Assignment Of Rents (the “Carcassonne Deed Of Trust”) executed by Carcassonne Fine Homes,
                                        22 LLC (“Carcassonne”), dated October 16, 2018, securing the obligation with real property located
                                           at 627 North Carcassonne Road, Los Angeles, CA 90077 (the “Carcassonne Property”); Deed Of
                                        23 Trust And Assignment Of Rents (the “Marbella Deed Of Trust”) executed by Marbella
                                           Construction, Inc. (“Marbella”), dated October 16, 2018, securing the obligation with real property
                                        24 located at 3381 Stone Ridge Road, Los Angeles, CA 90077 (the “Stone Ridge Property”); and Deed
                                           Of Trust And Assignment Of Rents (the “Londonderry Deed Of Trust”) executed by Londonderry
                                        25 Estate, LLC (“Londonderry”), dated October 16 2018, securing the obligation with real property
                                           located at 1369 Londonderry Place, Los Angeles, CA 90069 (the “Londonderry Property”). Each
                                        26 of these documents was recorded: the Hillcrest Deed Of Trust on October 19, 2018, as instrument
                                           number 2018-1065783; the Bellagio Deed Of Trust on October 19, 2018, as instrument number
                                        27 2018-1065788; the Carcassonne Deed Of Trust on October 19, 2018 as instrument number 2018-
                                           1065789; the Marbella Deed Of Trust on October 19, 2018 as instrument number 2018-1065790;
                                        28 and the Londonderry Deed Of Trust on October 19, 2018 as instrument number 2018-1065787.
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                                         1           K.      Amendment Of Note And Deeds Of Trust, executed by Crestlloyd, in favor of Yogi
                                             Securities, recorded August 30, 2019, as instrument number 2019-0889046.
                                         2
                                                   L.     Second Amendment Of Note And Deeds Of Trust, executed by Crestlloyd, Bellagio,
                                         3 Carcassonne, Marbella, and Londonderry in favor of Yogi Securities, recorded September 5, 2019,
                                           as instrument number 2019-0907091, securing the obligation with the Property, the Bellagio
                                         4 Property, the Carcassonne Property, the Stone Ridge Property and the Londonderry Property.

                                         5           M.      $5,200,000 Secured Promissory Note in favor of Yogi Securities, executed April 20,
                                             2018.
                                         6
                                                  N.     Deeds Of Trust And Assignments Of Rents, executed by Londonderry and Marbella,
                                         7 in connection with the $5,200,000 Secured Promissory Note, recorded on April 23, 2018 as
                                           instrument numbers 2018-08389829 and 2018-0389830, securing the obligation with the
                                         8 Londonderry Property and the Stone Ridge Property.

                                         9         O.      Fourth Amendment Of Note And Deed Of Trust executed by Crestlloyd, Marbella
                                           and Londonderry, relating to the $5,200,000 Secured Promissory Note, recorded on September 23,
                                        10 2019, as instrument number 2019-0989745, securing the obligation with the Property, the Stone
                                           Ridge Property and the Londonderry Property.
                                        11
                                                   P.      Deed Of Trust And Assignment Of Rents, executed by Crestlloyd in favor of Yogi
                                        12 Securities, relating to the $5,200,000 Secured Promissory Note, recorded on September 23, 2019,
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                                           as instrument number 2019-0989746, securing the obligation with the Property.
                                        13
                                                   Q.      Fifth Amendment Of Note And Deed Of Trust executed by Crestlloyd, Marbella,
                                        14 Londonderry, Carcassonne and Bellagio, in favor of Yogi Securities, relating to the $5,200,000
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                                           Secured Promissory Note, recorded on October 28, 2019 as instrument number 2019-1154393,
                                        15 securing the obligation with the Property, the Stone Ridge Property, the Londonderry Property, the
                                           Carcassonne Property and the Bellagio Property.
                                        16
                                                   R.      Deed Of Trust And Assignments Of Rent executed by Carcassonne and Bellagio, in
                                        17 favor of Yogi Securities, relating to the $5,200,000 Promissory Note, recorded October 28, 2019
                                           as instrument numbers 2019-1154392 and 2019-1154391, securing the obligation with the
                                        18 Carcassonne Property and the Bellagio Property.

                                        19           S.     Construction Loan Agreement, executed as of October 25, 2018, by and between
                                             Crestlloyd and Hankey Capital, LLC (“Hankey Capital”).
                                        20
                                                  T.     $82,500,000 Promissory Note dated October 25, 2018, executed by Crestlloyd in
                                        21 favor of Hankey Capital.

                                        22         U.      Security Agreement (Personal Property) made as of October 25, 2018, by and
                                             between Crestlloyd and Hankey Capital.
                                        23
                                                  V.     October 2018 Profit Participation Agreement [attached as Exhibit “A” to the
                                        24 “Security Agreement (Personal Property)”].

                                        25        W.      Memorandum Of Agreement on 2018 Profit Participation Agreement, recorded
                                             November 6, 2018, as instrument number 2018-1122919.
                                        26
                                                  X.      Construction Deed Of Trust, Security Agreement And Fixture Filing With
                                        27 Assignment Of Rents, executed by Crestlloyd in favor of Hankey Capital recorded November 6,
                                           2018, as instrument number 2018-1122917.
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                                         1          Y.      Subordination Agreement, executed by Inferno Investment in favor of Hankey
                                             Capital recorded November 6, 2018, as instrument number 2018-1122920.
                                         2
                                                   Z.     Amended And Restated Promissory Note dated December 10, 2019, executed by
                                         3 Crestlloyd in favor of Hankey Capital increasing loan to $91,000,000.

                                         4           AA. First Modification Of Deed Of Construction Loan, executed by and between
                                             Crestlloyd and Hankey Capital entered on December 10, 2019.
                                         5
                                                  BB. Modification Of Deed Of Trust, made as of December 10, 2019, by Crestlloyd in
                                         6 favor of Hankey Capital not recorded.

                                         7         CC. December 2019 Profit Participation Agreement, executed by Crestlloyd in favor of
                                             Hankey Capital.
                                         8
                                                   DD. Amended And Restated Promissory Note, dated August 20, 2018, executed by
                                         9 Crestlloyd in favor of Hankey Capital increasing Loan to $106,000,000.

                                        10          EE.     Second Modification Of Construction Loan Agreement, entered into as of August
                                             20, 2020, by and between Crestlloyd and Hankey Capital.
                                        11
                                                  FF.     [Second] Modification Of Deed Of Trust executed by Crestlloyd in favor of Hankey
                                        12 Capital recorded August 31, 2020, as instrument number 2020-1030024.
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                                        13         GG. August 2020 Profit Participation Agreement, executed by Crestlloyd in favor of
                                             Hankey Capital.
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                                                  HH. Memorandum Of Agreement on August 2020 Profit Participating Agreement,
                                        15 recorded August 31, 2020, as instrument number 2020-1030294.

                                        16        II.     Deed Of Trust, Assignment Of Rents, Security Agreement And Fixture Filing,
                                           executed in favor of Hilldun Corporation, recorded September 4, 2020, as instrument number 2020-
                                        17 1058770.

                                        18        JJ.     Substitutions Of Trustee And Deed of Full Reconveyance affecting the Property,
                                           the Carcassone Property, the Londonderry Property, the Stone Ridge Property and the Bellagio
                                        19 Property, recorded on January 14, 2021, as instrument numbers 2021-0076458, 2021-0076455,
                                           2021-0076456, 2021-0076457, and 2021-0076459.
                                        20
                                                  KK. Chart summarizing specific categories of disbursements.
                                        21
                                                  LL.     “Client Trust Ledger” prepared by Hankey Capital, LLC.
                                        22

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                                                                           PromfssoryNote-3.9M




                                                   PROMISSORY NOTE
                                               SECURED BY DEED OF TRUST

         $3,925,545.00                           LOS ANGELES, CALIFORNIA                March 13, 2013



                FOR VALUE RECEIVED, the undersigned, ("Borrower") promises to pay to
         INFERNO INVESTMENT INC., ("Lender") at 85 St. Paul Street West, Suite 500, Montreal,
         Quebec, CANADA H2Y3V4, or at such other place as the holder hereof may designate,
         in lawful money of the United States of America, the principal sum of Three Million Nine
         Hundred Twenty-Five Thousand Five Hundred Forty-Five and no/100th Dollars
         ($3,925,545.00), together with interest on the outstanding principal balance until paid in full
         in accordance with the terms, conditions and provisions set forth in this Promissory Note
         (the "Note").

              INTEREST RATE. Interest on the outstanding principal balance of this Note shall
        be compounded annually and shall accrue at the per annum rate (the "Note Rate") of eight
        percent (8%) from the date of each disbursement of funds.

               ADDITIONAL CONSIDERATION. Due to the fact that the security for this Note is
        a deed of trust third in priority to a first and second deed of trust on the Property, thereby
        making this loan a "high risk loan", Borrower agrees to pay Lender additional consideration
        and not as additional interest as follows: Fifty percent (50%) of the net profits derived from
        the sale of each of the residences located at 271 S. Mapleton Drive, Los Angeles, CA and
        1175 Hillcrest, Beverly Hills, CA and Fifteen percent (15%) of the net profits derived from
        the sale of the residence at 944 Airole, Los Angeles, CA

                      The additional consideration shall be due and payable, without interest, on
        the Maturity Date.

               PRINCIPAL AND INTEREST PAYMENTS. Principal and interest shall be payable
        on the Maturity Date.

                      All payments due hereunder, including payments of principal and/or Interest,
        shall be made to Lender in United States Dollars and shall be in the form of immediately
        available funds.

               MATURITY DATE. The entire unpaid principal balance, all unpaid accrued interest
        thereon. and all other amounts due hereunder shall be due end payable without demand
        and/or notice on the date of the sale of the property located at 944 Airole, Los Angeles,
        California (the "Property"), which is the security for the amount due under this Note.

               PREPAYMENT. The principal amount of this Note may be prepaid in whole or in
        part, without any premium and/or penalty, at any time.

              LATE CHARGES. Time is of the essence for all payments and other obligations
        due under this Note. Borrower acknowledges that if any payment of principal and interest
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         required under this Note is not received by Lender within seven (7) days after the same
         becomes due and payable, Lender will incur extra administrative expenses (i.e., in addition
         to expenses incident to receipt of timely payment) and the loss of the use of funds in
         connection with the delinquenny in payment. Because the actual damages suffered by
         Lender by reason of such administrative expenses and loss of use of funds would be
         impracticable or extremely difficult to ascertain, Borrower agrees that one percent (1%)
         of the amount of the delinquent payment per month, or portion of a month during which the
         breach is not cured, shall be the amount of damages which Lender is entitled to receive
         upon such breach, in compensation therefore.

                 INSURANCE. Insurance against loss or damage to the Property by fire, windstorm,
         lightning, tornado and hail and against loss and damage by such other, additional risks as
         may be now or hereafter embraced by an "all-risk" or "special form" insurance policy shall
        be maintained by Borrower until amounts due hereunder have been paid in full. The
        amount of such insurance shall be one hundred percent (100%) of the full replacement
        cost (insurable value) of the improvements, without reduction for depreciation. The
        determination of the replacement cost amount shall be adjusted annually to comply with
        the requirements of the insurer issuing such coverage. Absent such annual adjustment,
        each policy shall contain inflation guard coverage. Full replacement costs, as used herein,
        means, with respect to the improvements, the cost of replacing the improvements without
        regard to deduction for depreciation, exclusive of the cost of excavations, foundations and
        footings. Each policy shall contain a replacement cost endorsement and either an agreed
        amount endorsement (to avoid the operation of any co-insurance provisions) or a waiver
        of co-insurance provisions, all subject to Lender's approval. The maximum deductible shall
        be Twenty-Five Thousand Dollars ($25,000.00).

                       All such insurance shall (i) be with insurers fully licensed and authorized to
        do business in California and which have and maintain a claims paying ability rating of "B+"
        or better by Standard & Poor's (or equivalent rating agency) or an "8+ VIIi" or better from
        A.M. Best, (ii) contain the complete addresses of the Property (or a complete legal
        description), (iii) be for terms of at least one year, with premium prepaid, and (iv) include
        a standard, non-contributory, beneficiary clause naming the payees of this Note, its
        successor and assigns, as the first beneficiary.

                      Borrower shall, as of the date hereof, deliver to Lender evidence that said
        Insurance policy has been prepaid as required above with an original certificate signed by
        an authorized agent of the insurance company evidencing such insurance satisfactory to
        beneficiary. Borrower shall renew all such insurance and deliver to Lender a certificate
        evidencing such renewal at least thirty (30) days before any such insurance shall expire.
        Borrower further agrees that each such insurance policy: (i) shall provide for at least thirty
        (30) days notice to Lender prior to any policy reduction or cancellation due to non-payment
        of premium; (ii) shall contain an endorsement or agreement by the insurer that any loss
        shall be payable to Lender in accordance with the terms of such policy notwithstanding any
        act or negligence of Borrower or any other person which might otherwise result in forfeiture
        of such insurance; and (iii) in the event that the Property or the improvements constitutes
        a legal non-conforming use under applicable building, zoning or land use laws or
        ordinances, shall include an ordinance and law coverage endorsement which will contain
        Coverage A: "Loss Due to Operation of Law" (with a minimum liability limit equal to

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         Replacement Cost With Agreed Value Endorsement), Coverage 8: "Demolition Cost" and
         Coverage C: "Increased Cost of Construction" coverages. in the event Borrower fails to
         provide, maintain, keep in force or deliver and furnish to Lender the policy of insurance
         required by this Note or evidence of its replacement or renewal as required herein, Lender
         may, but shall not be obligated to, procure such insurance and Borrower shall pay all
         amounts advanced by Lender therefor, together with interest thereon at the Note Rate from
         and after the date advanced by Lender until actually repaid by Borrower, promptly upon
         demand by Lender,

                 WAIVERS. Borrower hereby waives grace, diligence, presentment, demand, notice
         of demand, dishonor, notice of dishonor, protest, notice of protest, any and all exemption
         rights against the indebtedness evidenced by this Note and the right to plead any statute
         of limitations as a defense to the repayment of all or any portion of this Note, and interest
         thereon, to the fullest extent allowed by law. No delay, omission and/or failure on the part
         of the Lender in exercising any right and/or remedy hereunder shall operate as a waiver
         of such right and/or remedy or any other right and/or remedy of Lender.

                AUTHORITY. Borrower hereby represents and warrants to Lender that, by her
         execution below, Borrower has the full power, authority and legal right to execute and
         deliver this Note and that the indebtedness evidenced hereby constitutes a valid and
         binding obligation of Borrower.

                 ACCELERATION, In the event that all or any part of the Property which is security
         for this Note shall be sold, assigned, mortgaged, hypothecated, or otherwise transferred,
         the holder of this Note, shall have the right to declare the entire unpaid balance of principal
         and interest to be immediately due and payable.

                ATTORNEY'S FEES. If legal action be instituted to enforce collection of amounts
         due hereunder, Borrower agrees to pay reasonable attorney's fees and costs incurred by
         the holder of this Note.

               IN WITNESS WHEREOF, Borrower has executed this Note on the day and year first
         above written.

                                                                   BORROWER:

                                                                   CRESTLLOYD, LLC, a California
                                                                   Limited Liability Company




                                                                           e Niami, M


        THIS NOTE IS SECURED BY A DEE' •F                                               OR OF CHICAGO TITLE
        COMPANY.



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             EXHIBIT 13
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             RECORDING REQUESTED ITY

             AND WHEN RECORDED MAIL TO

  +Ism   Moybacb Corporation Holdings, Inc.
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                              DEED OF TRUST WITH ASSIGNMENT OF RENTS
           This DEED OF TRUST, made March 13, 2013, between Crestlioyd LLC, a California limited liability company herein
  called TRUSTOR, whose address is 10342 Valleyspring Lane, Toluca Lake, CA 91602
                        (Number and Street)                     (City)                 (State)              (Zip)

 First American Title Insurance Company, a California Corporation, herein called TRUSTEE, and Inferno Realty, LP, as to an
 undivided $7,040,000.00 interest and Maybach Corporation Holdings, inc, as to an undivided S7,000,000.00 Interest, as
 tenants in common, herein called BENEFICIARY,
 Truster irrevocably grants, transfers and assigns to Trustee in Trust, with Power of Sale, that property in City of Los Angeles, County
 of LOS ANGELES, California, described as:

 See Exhibit "A" attached hereto and made a pert hereof for Legal Description




'Together with the rents, issues and profits thereof, subject, however, to the right, power and authority hereinafter given to and
conferred upon Beneficiary to collect and apply such rents, issues and profits.
For the Purpose of Securing (I) payment of the sum of $14,040,000.00 with interest thereon according to the terms of a promissory
note or notes of even dale herewith made by Truster, payable to order of Beneficiary, and extensions or renewals thereof; (2) the
performance of each agreement of Truster incorporated by reference or contained herein or reciting it is so secured; (3) Payment of
additional sums and interest thereon which may hereafter be loaned to Truster, or his successors or assigns, when evidenced by a
promissory note or notes reciting that they are secured by this Deed of Trust.

To protect the security of this Deed of Trust, and with respect to the property above described, Truster expressly makes each and all
of the agreements, and adopts and agrees to perform and be bound by each and all of the terms and provisions set forth in subdivision
A of that certain Fictitious Deed of Trust referenced herein, mid it is mutually agreed that all of the provisions set forth
in subdivision B of that certain Fictitious Deed of trust recorded in the hook and page of Official Records in the office of the county
recorder of the county whore said property is located, noted below opposite the name ofsuch county, namely:
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COUNTY            BOOK    PAGE        COUNTY          BOOK       PAGE     COUNTY               BOOK           PAGE              COUNTY       BOOK    PAGE
 Alameda           1288     S56       Kings             858        713    Placer                 1028           379             Sierra          38     187
Alpine                3   130-31      Lake              437        110    Plumes                  166          1307             Sisklyou       506     762
Amador              133     438       Lassa)             192       367    Riven:4de              3788           347             Solano        1287     621
Dune               1330     SD        Los Angeles     T-3878       874    Sacramento         71-10-26           615             S000ma        2067     427
Calavenui           IRS     338       Madera             911       136    San Benito              300           405             Slanirlaus    1970      56
Colusa              323     391       Marin             1849       122    San Bernardino        6213            768             Sutter         655     585
Conan Costa        4684        1      Mariposa            90       453    San Francisco        A-804            596             Talmo          457     183
Del Noctc           101     549       Mendocino          667        99    Son Joaquin           2855            283             Trinity        108     595
131 Dorado          704     635       Merced            1660       753    San        Lids        13)1           137             Tulare        2530     108
                                                                          Obispo
Fresno             5052     623       Moduc             191        93     San Mateo            47118       175                  Tualwanc       177    160
(31cnn              469      76       Mono               69       302     Santa Barbara        2065        881                  Yemeni        2607    237
Humboldt            80/      83       Monterey          357       239     Santa Clara          6626        664                  Yob)           769     16
Imperial           1189     70)       Napa              704       742     Santa Cruz           1638        607                  Yuba           398    693
Ingo                165     672       Nevado            363        94     Si131111              800        633
Kern               3756     690       Orange           7182        18     San Diego SERIES 5 'Book 1964, Page 149774



Said agreements, terms and provisions contained in said subdivision A and 13, (identical in al) counties are printed on the reverse side
                                                                                            of
hereof) are by the within reference thereto, incorporated herein and made a part this Deed of Trust for all purposes as fully as if sot
forth at length herein, and Beneficiary may charge for a statement regarding the obligation secured hereby, provided the charge
therefor does not exceed the maximum allowed by laws.

The foregoing assignment ofrents is absolute unless initialed hero, in which ease, the assignment serves as additional security.

The undersigned Truslor, requests that a copy of any notice of default and any notice of sale hereunder be mailed to him at this
address hereinbefore sot forth.


  Dated: Koh 13, 2012

  C
  STATE OF0MIN1/)1                 6c.,                                              Creselloyd, 1                 Cgufo nal limited liability
     NTY                                                                      S.S.   ce Parte:
  Oa          jv.ti                2031             before mc,
                                                                                            Niami, Manager


  a Notary Public in and for said County and State, personally appeared

           1 tl   IL SI    6- 0M,
                                                                                        r        Air " '`.-..- • ^ "%are "` "
                                                                                                 •       •          NIGEL GUMS
                                                                                                              Commission # 1990441
who preyed to mo on the bests of satisfactory evidence to be the                                         IN   Notary Public • California
person(s) whose name(s) is/nro subscribed to the within instrument and'                                ,pj      Los Angeles County
acknowledged to me that he/she/they executed the same in his/her/their.                                     M Cumin, Ex acs Oct 4 2016
authorized capacity(ies), and that by his/her/their signstwo(s) on the
instrument the person(s) of the entity upon behalf of which the person
acted, executed the instrument.

I certify ender PENALTY OP PURVEY under the laws of the State of
California that the foregoing paragraph is true and correct.

WITNESS my hand and effl

  Signature




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                                                                 (DO NOT RECORD)

  The following is a copy of Subdivision A and B of the fictitious Deed of Trust recorded in arch county in California as stated in the foregoing Deed
  of Trial and incorporated by reference is said Deed of Trust as being a part thereof as if act forth at length therein,

  A. To prolect the security of this Deed of Trust, Trustor agrees:
      (1) To keep said property in good condition and repair not to remove or demolish any building thereon; to complete or restore promptly and in
  good and workmanlike manner any building which may be constructed, damaged or destroyed thereon and to pay when due all claims for labor
  performed and materials furnished therefor; to comply with all laws affecting said property or requiring any alterations or improvements to be made
  thereon, not to commit or permit waste thereon not to commit, suffer or permit any act upon said property in violation of law; to cultivate, irrigate,
  fertilize, fbmignm, prune and do all other acts which from the character or use of said property may be reasonably necessary, the specific
  enumerations herein not excluding the general.
     (2) To provide, maintain and deliver to Beneficiary fire insurance satisfactory to and with loss payable to Beneficiary. The tunount collected
 under ony fire or other insurance policy may be applied by Beneficiary upon any indebtedness secured hereby and in such order as Beneficiary may
 determine, or at option of Beneficiary she entire amount so collected or any part thereof may be released to Trustor. Such application or release shall
 not cure or waive any default or notice of default hereunder or invalidate any act done pursuant to such notice,
    (3) To appear in and defend any action or proceeding purporting to affect the security hereof or the rights or powers of Beneficiary or Trustee,
 and to pay all costs and expenses, including cost of evidence of title and attorney's fees in a reasonable sum, in any such action or proceeding in
 which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary to foreclose this Deed,
      (4) To pay: at least ten days before delinquency all taxes and assessments affecting said property, including assessments on appurtenant water
 stock; when due, all encumbrances, charges and liens, with interest, on said property or any part thereof, which appear to be prior or superior hereto;
 all costa, fees and expenses of this Trust.
     Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or Trustee, but without obligation so to do and
 without notice to or demand upon Trustor and without releasing 'rotator from any obligation hereof, may: make or do the same in such manner and
 to such extent as either may doom necessary to protein the security hereof, Beneficiary or Trustee being authorized to enter upon said property for
 such purposes; appear in and defend any action or proceeding purporting to affect the security hereof or the rights or powers of Beneficiary or
 Thaler, pay, purchase, contest or compromise any encumbrance, charge or lien which in tho judgment of either appears to bo prior or superior
 hereto; and, in exercising any such powers, pay necessary expenses, employ counsel and pay his reasonable fees.
     (5) To pay immediately and without demand all sums so expended by Beneficiary or Trustee, with interest from date of expenditure at the
 amount allowed by law in effect at the date hereof; and to pay for any statement provided for by law in effect at the date hereof regarding the
 obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum allowed by low at the time when said statement is
 demanded,
B,      It is mutually agreed;
    (I) Thnt any award of damages in connection with any condemnstion for public use of or injury to said property or any part thereof is hereby
resigned and shall be paid to Beneficiary who may apply or release such moneys received by him in the same manner and with the same effect as
above provided for disposition of proceeds of fire or other insurance.
    (2) That by accepting payment of any sum secured hereby after its due date, Beneficialy does not waive his right either to inquire prompt
payment when due of all other sums so secured or to declare default for failure so to pay.
    (3) That at any time or from time to time, without liability therefor and without notice, upon written request of Beneficiary and presentation of
this Deed and said note for endorsement, and without affecting the personal liability of any person for payment of the indebtedness secured hereby,
Trustee may: nroonvey any pan of said property; consent to the making of any map or plate theme, join in granting any easement thereon; or join in
any extension agreement or any agreement subordinating the lien or charge hereof
     (4) That upon written request of beneficiary stating that all sums secured hereby have boon paid, and upon surrender of this Deed and said note
 to Trustee for cancellation and retention or other disposition as Trustee in its sole discretion may choose and upon payment of its fees, Trustee shall
reeonvey, without warranty, the property then hereunder, The recitals in such roconveyance of any matter or facts shall bo conclusive proof of the
mithlidness thereof. The Grantee in such reoetwoyence may be described as "the person or person. legally entitled thereto,"
     (5) That as additional security, Truster hereby gives to and confers upon Beneficiary the right, power and authority, during the continuances of
these Trusts, to collect the rents, issues and profits of said property, reserving unto Truster the right, prior to any default by Truster in payment of
any indebtedness secured hereby or in performance of any agreement hereunder, to collect mid retain such rents, issues and profits ax they become
due and payable, Upon any such default, Beneficiary may at any time without notice, either in person, by agent, or by a receiver to be appointed by
a court, and without regard to the adequnoy of any security for the indebtedness hereby secured, enter upon and take possession of said property or
any part thereof, in his own name sue for or otherwise collect such nmts, issues, and profits, including those past due and unpaid, and apply the
same, less costs and expenses of operation and collection, including reasonable attorney's fees, upon any indebtedness secured hereby, and in such
order as Beneficiary may detennine. The entering upon and taking possession of said property, the collection of such rents, issues and profits end
the application thereof as aforesaid, shall not cure or waive any default or notice of default hereunder or invalidate any not done pursuant to such
notice.
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     (6) That upon default by Trustor in payment of any indebtedness secured hereby or in performance of any agreement hereunder, Beneficiary
  may declare all scone secured hereby immediately due and payable by delivery to Trustee of written declaration of default and demand for sale and
  of written notice of default and of election to cause to be sold said property, which notice Trustee shall cause to be filed for record. Beneficiary also
  shall deposit with Trustee this Deed, said note and all documents evidencing expenditures scoured hereby.
     After the lapse of such time as may then be required by law following the recordation of said notice of default, and notice of sale having been
 given as then requited by law, Trustee, without demand on Trustor, shall soli said property at the time and place fitted by it in said notice of sale,
 either as a whole or in separate parcels, and in such order as it may determine, at public auction to the highest bidder fur cash in lawful money of the
 United Slates, payable at time of sale, Trustee may postpone sale of all or any portion of said properly by public announcement at such time and
 place of sale, and from time to time thereafter may postpone such sale by public announcement at the time fixed by the preceding postponement.
 Trustee shall deliver to such purchaser its deed conveying the property so sold, but without any covenant or warranty, express or implied. 'ftc
 recitels in such deed of any manors or facts shall be conclusive proof of the truthAtiness thereof, Any person, including Trustor, Trustee, or
 Beneficiary as hereinafter defined, may purchase in such sale.
     After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of evidence of title in connection with sale, Trustee shall
 apply the proceeds of trate to payment of all sums expended under the terms hereof, not then repaid, with accrued interest at the amount allowed by
law in effect at the date hereof; all other sums then secured hereby; and the remainder, if any, to the persons legally entitled thereto.
    (7) Beneficiary, or any successor in ownership of any indebtedness secured hereby, may from time to lime, by instrument in writing, substitute
a successor or successors to any Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and duly acknowledged
and recorded in the office of the recorder of the county or counties whore said property is situated, shall be conclusive proof of proper substitution of
such successor Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all its title, estate, rights, powers end
duties, Said instrument must contain the name of the original Truster, Trustee and Beneficiary hereunder, the book and page where this Dowd is
recorded and the name and address of the stew Trustee.
    (8) That this Deed applies to, insures to the benefit of, and binds all panics hereto, their heirs, legatees, devisees, administrators, executors,
successors and assigns. The term Beneficiary shall mean the owner and holder, including pledges, of the note secured hereby, whether or not named
as Beneficiary herein. In this Deed, whenever the context so requires, the masculine gender includes the feminine and/or neuter, end the singular
number includes the plural.
    (9) That Trustee accepts this Trust when this Deed, duly executed and acknowledged, is made a public record as provided by law. 'trustee is
not obligated to notify any party hereto of pending sale under any other Deed of Trust or of any action or proceeding in which Truster, 'Beneficiary
or Trustee shall be a party unless brought by Trustee.

Rio NOT RECORD
                                                      REQUEST FOR FULL RECONVEYANCIE

TO First American Title insurance Company, a California Corporation, TRUSTEE:

        The undersigned is the legal owner and holder of the note or notes, and of all other indebtedness secured by the foregoing Deed of Tntst.
Said note or notes, together with all other indebtedness secured by said Deed of Trust, have been hilly paid and satisfied; and you arc hereby
requested and directed, on payment to you of any sums owing to you under the tenni of said Deed of Trust, to cancel said note or notes above
mentioned, and all other evidences of indebtedness secured by said Deed of Trust delivered to you herewith, together with the said Deed of Trust,
and to revonvey, without warnmry, to the parties designated by the terms of said Deed of Trust, all the estate now held by you under the sonic

Dated




Please mail Deed ofTrust,
Note and Reeonveyaricc to
                                                                                                                 for
L;to not lose or destroy this Deed of Trust OR TifE,NOTE which It menus.. Botjunaust he ddivgred tu. the Trustee
cancellation before revauvevance will howdy,




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                                             EXHIBIT "A"
      PARCEL 1:
      LOTS 1AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
      STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 823 PAGES 01 TO 83 INCLUSIVE, OF
      MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

      EXCEPTING THAT PORTION OF SAID LOTS LYING WESTERLY OF THE FOLLOWING DESCRIBED
     LINE:
     BEGINNING AT A POINT IN NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE, AS
     SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" WEST 2.06 FEET FROM THE MOST
     NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE CONCAVE
     WESTERLY, HAVING A RADIUS OF 361.97 FEET, AND CONCENTRIC WITH THAT CERTAIN CURVE IN
     THE WESTERLY LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY
     22.89 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE BEGINNING
     OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING A RADIUS OF 175.68 FEET;
     THENCE NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF
     39° 06' 62"; THENCE NORTH 56° 38' 22" WEST 7.97 FEET TO THE BEGINNING OF A CURVE
     CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY
     71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44° 66' 04"; THENCE NORTH 11•
     41' 18" WEST 208.55 FEET TO THE BEGINNING OF A CURVE CONCAVE EASTERLY AND HAVING A
     RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET ALONG SAID CURVE THROUGH A
     CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° 51' 16" EAST 42.37 FEET TO THE CURVED
     SOUTHEASTERLY LINE OF STRADELLA ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.
    PARCEL 2:
    THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9746, IN THE CITY OF LOS ANGELES. COUNTY
    OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141 PAGES 93 TO 96
    INCLUSIVE, OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, LYING
    NORTHERLY OF THE FOLLOWING DESCRIBED LINE:
    BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON SOUTH 13° 13'
    20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN SAID
    EASTERLY LINE SHOWN ON SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13' 20"
    WEST 108.38 FEET; THENCE NORTH 89° 27' 20" WEST 214.07 FEET. MORE OR LESS, TO A POINT IN
    THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 64.93 FEET FROM THE
    NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE HAVING A LENGTH OF
    178.83 FEET.

                                ""END OF   LEGAL DESCRIPTION"'
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              EXHIBIT C
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                  RECORDING REQUESTED BY AND
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                  \JAME     INFERNO INVESTMENT INC.

                  NAILING   4.95 Kandahar
                            Mont Tremblant
                            Quebec J8E1E2
                            CANADA



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                              ASSIGNMENT OF NOTE AND DEED OF TRUST/MORTGAGE




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                 NAME             INFERNO INVESTMENT INC.

                 MAILING          4-95 Kandahar
                                  Mont Tremblant
                                  Quebec J8E1E2
                                  Canada


                                  ASSIGNMENT OF NOTE AND DEED OF TRUST/MORTGAGE


                       The undersigned, INFERNO REALTY, LP, a California Limited Partnership
                ("Assignor"),for value received, hereby grants, conveys, assigns and transfers to
                INFERNO INVESTMENT INC., ("Assignee") all of Its beneficial interest under the Deed of
                Trust with Assignment of Rents dated the 13th day of March, 2013, between
                CRESTLLOYD LLC, a California Limited Liability Company, as Trustor; CHICAGO TITLE
                COMPANY, as Trustee; and Maybach Corporation (erroneously named in the deed of trust
                as Maybach Holdings Corporation) and INFERNO REALTY LP as Beneficiary recorded
                on March 13, 2013 under Document No, 20130384037; records of Los Angeles County,
                State of California, together with the promissory not therein described (the "Note"), the
                money due and to become due thereon, with interest, and all rights accrued or to accrue
                under said Deed of Trust.

                       Assignee is not assuming any obligations or liabilities to the maker under the Note
                or Deed of Trust described herein and shall not be deemed to have assumed any such
                obligations or liabilities except that Assignee agrees that, at such time as the maker has
                duly paid and performed all obligations set forth in the Note and Deed of Trust described
                herein, Assignee will deliver to the maker a full reconveyance under the Deed of Trust.

                Dated:                    ,2015
                                                                                INFERNO REALTY, LP, a California
                                                                                Limited Partnership
                                                                                By: 8393095 Canada, Inc., a Canadian
                                                                                       Corporation, General Partner




                                                                                By
                                                                                           Julien emillard, Director




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                 notary public, personally appeared Tit ii•en geoLiiltird             , who proved to me on
                 the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to
                 the within instrument and acknowledged to me that he/she/they executed the same in
                 his/her/their capacity(les), and that by his/her/their signature(s) on the instrument the
                 person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

                        I certify under PENALTY OF PERJURY under the laws of the State of &gust-lurk
                 that the foregoing paragraph is true and correct.

                         WITNESS my hand and official seal.




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                                     CANADA



                                     ASSIGNMENT OF NOTE AND DEED OF TRUST/MORTGAGE


                           The undersigned, MAYBACH CORPORATION, a Canadian Corporation
                   (erroneously named In the Deed of Trust hereafter referred to as "Maybach Holdings
                   Corporation, Inc.") ("Assignor"),for value received, hereby grants, conveys, assigns and
                   transfers to INFERNO REALTY, LP, a California Limited Liability Company ("Assignee") all
                   of its beneficial interest under the Deed of Trust with Assignment of Rents dated the 131°
                   day of March, 2013 between CRESTLLOYD LLC, a California Limited Liability Company,
                   as Trustor; FIRST AMERICAN TITLE INSURANCE COMPANY, a California Corporation,
                   as Trustee; and Assignor and INFERNO REALTY LP as Beneficiaries, recorded on March
                   13, 2013, under Document No. 20130384037, records of Los Angeles County, State of
                   California, together with the promissory note therein described (the "Note"), the money
                   due and to become due thereon, with interest, and all rights accrued or to accrue under
                   said Deed of Trust,

                          Assignee is not assuming any obligations or liabilities to the maker under the Note
                   or Deed of Trust described herein and shall not be deemed to have assumed any such
                   obligations or liabilities except that Assignee agrees that, at such time as the maker has
                   duly paid and performed all obligations set forth in the Note and Deed of Trust described .
                   herein, Assignee will deliver to the maker a full reconveyance under the Deed of Trust.
                   Dated: June 2, 2014
                                                                           MAYBACH CORPORATION, a Canadian
                                                                           Corporation



                                                                           By




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                notary public, personally appeared -.1141i•en.                 e.e4t;
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                basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
                within instrument and acknowledged to me that he/she/they executed the , same In
                his/her/their capacity(ies), and that by his/her/their sIgnature(s) on the Instrument the
                person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

                        I certify under PENALTY OF PERJURY under the laws of the State of it ,it qu-k-
                 that the foregoing paragraph Is true and correct.

                        WITNESS my hand and official seal.




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                                                                             PromNote-InfernoMaybach14M



                                                    MODIFIED
                                                PROMISSORY NOTE
                                            SECURED BY DEED OF TRUST

          $14,040,000.00                      LOS ANGELES, CALIFORNIA                 March 13, 2013



                 FOR VALUE RECEIVED, the undersigned, ("Borrower") promises to pay to
          INFERNO REALTY, LP as to an undivided Seven Million Forty Thousand Dollars
          ($7,040,000.00) and MAYBACH HOLDINGS CORPORATION, INC., as to an undivided
          Seven Million Dollars ($7,000,000.00) interest (collectively, "Lender") at 85 St. Paul Street
          West, Suite 500, Montreal, Quebec, CANADA H2Y3V4, or at such other place as the
          holder hereof may designate, in lawful money of the United States of America, the principal
          sum of Fourteen Million Forty Thousand Dollars ($14,040,000.00), together with interest
          on the outstanding principal balance until paid in full in accordance with the terms,
          conditions and provisions set forth in this Promissory Note (the "Note).

                  INTEREST RATE. Simple interest shall accrue on the outstanding principal balance
          of this Note at the rate of eight percent (8%) per annum.

                 PRINCIPAL AND INTEREST PAYMENTS. Principal and interest shall be payable
          on the Maturity Date.

                        All payments due hereunder, including payments of principal and/or interest,
          shall be made to Lender in United States Dollars and shall be in the form of immediately
          available funds.

                MATURITY DATE. The entire unpaid principal balance, all unpaid accrued interest
         thereon, and all other amounts due hereunder shall be due and payable without demand
         and/or noticeon the date of the close of escrow for the sale of the single family residence
         being constructed by Borrower on the real property located at 944 Airole Way, Los
         Angeles, California (the "Property").

                PREPAYMENT. The principal amount of this Note may be prepaid in whole or in
         part, without any premium and/or penalty, at any time.

                 INSURANCE. Insurance against loss or damage to the Property by fire, windstorm,
         lightning, tornado and hail and against loss and damage by such other, additional risks as
         may be now or hereafter embraced by an "all-risk" or "special form" Insurance policy shall
         be maintained by Borrower until amounts due hereunder have been paid in full. The
         amount of such insurance shall be one hundred percent (100%) of the full replacement
         cost (insurable value) of the improvements, without reduction for depreciation. The
         determination of the replacement cost amount shall be adjusted annually to comply with
         the requirements of the insurer issuing such coverage. Absent such annual adjustment,
         each policy shall contain inflation guard coverage. Full replacement costs, as used herein,
         means, with respect to the improvements, the cost of replacing the improvements without
         regard to deduction for depreciation, exclusive of the cost of excavations, foundations and
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          footings. Each policy shall contain a replacement cost endorsement and either an agreed
          amount endorsement (to avoid the operation of any co-insurance provisions) or a waiver
          of co-insurance provisions, all subject to Lender's approval. The maximum deductible shall
          he Ten Thousand Dollars ($10,000.00).

                         All such insurance shall (i) be with insurers fully licensed and authorized to
          do business in California and which have and maintain a claims paying ability rating of "B+"
          or better by Standard & Poor's (or equivalent rating agency) or an "B+ VIII" or better from
          A.M. Best, (ii) contain the complete addresses of the Property (or a complete legal
          description), (iii) be for terms of at least one year, with premium prepaid, and (iv) include
          a standard, non-contributory, beneficiary clause naming the payees of this Note, its
          successor and assigns, as the first beneficiary.

                         Borrower shall, as of the date hereof, deliver to Lender evidence that said
           insurance policy has been prepaid as required above with an original certificate signed by
           an authorized agent of the insurance company evidencing such insurance satisfactory to
           beneficiary. Borrower shall renew all such insurance and deliver to Lender a certificate
           evidencing such renewal at least thirty (30) days before any such insurance shall expire.
          Borrower further agrees that each such insurance policy: (i) shall provide for at least thirty
          (30) days notice to Lender prior to any policy reduction or cancellation due to non-payment
           of premium; (ii) shall contain an endorsement or agreement by the insurer that any loss
          shall be payable to Lender in accordance with the terms of such policy notwithstanding any
          act or negligence of Borrower or any other person which might otherwise result in forfeiture
          of such insurance; and (iii) in the event that the Property or the improvements constitutes
          a legal non-conforming use under applicable building, zoning or land use laws or
          ordinances, shall include an ordinance and law coverage endorsement which will contain
          Coverage A: "Loss Due to Operation of Law" (with a minimum liability limit equal to
          Replacement Cost With Agreed Value Endorsement), Coverage B: "Demolition Cost" and
          Coverage C: "Increased Cost of Construction" coverages. In the event Borrower fails to
          provide, maintain, keep in force or deliver and furnish to Lender the policy of insurance
          required by this Note or evidence of its replacement or renewal as required herein, Lender
          may, but shall not be obligated to, procure such insurance and Borrower shall pay all
          amounts advanced by Lender therefor, together with interest thereon at the Note Rate from
          and after the date advanced by Lender until actually repaid by Borrower, promptly upon
          demand by Lender,

                 WAIVERS. Borrower hereby waives grace, diligence, presentment, demand, notice
         of demand, dishonor, notice of dishonor, protest, notice of protest, any and all exemption
         rights against the indebtedness evidenced by this Note and the right to plead any statute
         of limitations as a defense to the repayment of all or any portion of this Note, and interest
         thereon, to the fullest extent allowed by law. No delay, omission and/or failure on the part
         of the Lender in exercising any right and/or remedy hereunder shall operate as a waiver
         of such right and/or remedy or any other right and/or remedy of Lender.

                AUTHORITY. Borrower hereby represents and warrants to Lender that, by its
         execution below, Borrower has the full power, authority and legal right to execute and
         deliver this Note and that the indebtedness evidenced hereby constitutes a valid and
         binding obligation of Borrower.

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                   ACCELERATION, In the event that all or any part of the Property which is security
           for this Note shall be sold, assigned, mortgaged, hypothecated, or otherwise transferred,
           the holder of this Note, shall have the right to declare the entire unpaid balance of principal
           and interest to be immediately due and payable.

                 ATTORNEY'S FEES. If legal action be instituted to enforce collection of amounts
          due hereunder, Borrower agrees to pay reasonable attorney's fees and costs incurred by
          the holder of this Note.

                IN WITNESS WHEREOF, Borrower has executed this Note on the day and year first
          above written.

                                                                BORROWER:

                                                                Crestlloyd, LLC, a California Limited
                                                                Liability Company



                                                                By




          THIS NOTE IS SECURED BY A DEED OF TRUST IN FAVOR OF STFWART TITLE OF
          CALIFORNIA, INC. AS TRUSTEE.




                                                        MODIFICATION

          THE ABOVE PROMISSORY NOTE IS AMENDED TO PROVIDE THAT THE FACE
          AMOUNT OF THE NOTE IS $7,000.000.00 WHICH IS THE PRINCIPAL BALANCE DUE
          AND OWING AS OF THIS DATE.

          DATED. OCTOBER                     , 2015


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             MODIFICATION AND SUPPLEMENT TO DEED OF TRUST
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     NAME                INFERNO INVESTMENT INC.
     ADDRESS             4-95 Kandahar
     CITY                Mont Tremblant
     STATE & ZIP         Quebec J8E1E2, Canada


                        MODIFICATION AND SUPPLEMENT TO DEED OF TRUST


           THIS AGREEMENT, made this                f A--day of October, 2015, by and between
     CRESTLLOYD, LLC., a California Limited Liability Company, hereinafter called Trustor, FIRST
     AMERICAN TITLE INSURANCE COMPANY, hereinafter called Trustee, and INFERNO
     INVESTMENT INC., hereinafter called Beneficiary,

              WHEREAS, on the 13Th day of March, 2013, Trustor did make, execute and deliver to
     Trustee that certain Deed of Trust recorded on March 13, 2013 as Instrument No. 20130384037
     in the office of the County Recorder of Los Angeles County, State of California, securing a
     promissory note dated March 13, 2013 in favor of INFERNO REALTY, L.P. ("INFERNO"), and
     MAYBACH CORPORATION erroneously named as MAYBACH CORPORATION HOLDINGS,
     INC. ("MAYBACH") , as Beneficiary and covering the property described in Exhibit "A" attached
     hereto, and

           WHEREAS, INFERNO INVESTMENT INC. acquired the interest of MAYBACH and
     INFERNO in the promissory note and deed of trust, and

            WHEREAS, the parties desire to modify and supplement said deed of trust in certain
    particulars

          NOW, THEREFORE, for value received the parties hereto do hereby modify and
    supplement said deed of trust as follows:

           This Deed of Trust secures two (2) promissory notes each dated March 13, 2013 one in
    the face amount of $14,040,000,00 modified to $7,000,000.00 and one in the face amount of
    $3,925,545.00. The total amount secured by this Deed of Trust is $10,925,545.00.

            Trustor does hereby grant and convey the subject real property to Trustee under said
    deed of trust, together with power of sale and subject to each and all of the terms and
    conditions of said deed of trust, including this modification and supplement thereto.

           IT IS FURTHER AGREED, by and between the parties hereto that in all other respects
    not inconsistent herewith the terms of said deed of trust which is incorporated herein by
    reference thereto shall remain in full force and effect and be binding hereon. Said deed of trust
    modified and supplemented shall constitute one deed of trust.

           Beneficiary agrees that this Deed of Trust shall automatically be subordinated to a loan
    or loans to be made to Trustor by First Republic Bank in an amount not to exceed Thirty Million
    Dollars ($30,000,000.00) which shall unconditionally be, and remain at all times, a lien or

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             Trustee is hereby authorized and directed to endorse a memorandum hereof upon said
      deed of trust and promissory note.

              This agreement shall inure to and bind the heirs, devisees, successors and assigns of
      the parties hereto.

             IN WITNESS WHEREOF, the parties hereto have executed this agreement on the dates
      set opposite in the attached notaries.

      TRUSTOR                                                           BENEFICIARY

     CRESTLLOYD LLC, a California Limited                               INFERNO INVESTMENT INC.
     Liability Company




          EXECUTED IN COUNTERPART                                                     -A
     By                                                                 By /                                4
                Nile Niami, Manager                                            Julien Remillard, Dire tor




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         A notary public or other officer completing this certificate
         verifies only the identity of the individual who signed the
         document to which this certificate is attached, and not
         the truthfulness, accuracy, or validity of that document.




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                                                                                  (Insert Name of Notary Public and Me)

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     who proved tO me on the basis of satisfactory evidence to be the person(s) whose name(s)
     is/are subscribed to the within instrument and acknowledged to me that he/she/they
     executed the same in his/her/their capacity(ies), and that by his/her/their signature(s) on the
     instrument the person(s), or the entity upon behalf of which the person(s) acted, exe,c ated
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            I certify under PENALTY OF PERJURY under the laws of the State of,Galifornia that
     the foregoing paragraph is true and correct.

              WITNESS my hand and official seal.




    Signature L ,L(/                /LA':                    ,lie                            (Seal)

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      dily ario ail acts that may be required to ensure the priority of the lien of the deed of trust in
      favor of First Republic Bank.

             Trustee is hereby authorized and directed to endorse a memorandum hereof upon said
      deed of trust and promissory note,

              This agreement shall inure to and bind the heirs, devisees, successors and assigns of
      the parties hereto.

            IN WITNESS WHEREOF, the parties hereto have executed this agreement on the dates
     set opposite in the attached notaries.

     TRUSTOR                                                BENEFICIARY

     CRESTLLOYD LLC, a California Limited                   INFERNO INVESTMENT INC.
     Liability Company




                                                                                 1,-
              L41 ei   rr_ILIVIalleger---                          Julien Remillard, Director



                                                               EXECUTED IN COUNTERPART




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   A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
   document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

 State of California                                      )
 County of t 7..)(-)      y A 6CCaLt-:::::S            i )
 On iXTilig61- ‘?ii, i c-2)1S- before me, j\ii (7,-2"-Z     4:,,ig,S       )9\Vt ri,SI
            Date '                                      (:ere Insert Name and Title of he Officer
 personally appeared                        i\ I              ----/
                                                                   Name(s) of Signer(s)


who proved to me on the basis of satisfactory evidence to be t             erson(eYwhose name          are-
subscribed to the within instrument and acknowledged to me that he/ ikertherexecuted the same in
ii*ber/theirauthorized capacity(ies); and that bylliOzeiltheir signatur (stun the instrument the person(0,---
641. the entity upon behalf of which the person(e)—kted, executed the instrument.
                                                              I certify under PENALTY OF PERJURY under the laws
                                                              of the State of California that the foregoing paragraph
                                                              is true and correct.
                            NIGEL GIBBS
                       Commission ;if 1990441                 WITNESS my hand and offici I seal.
      z               Notary Public - Caiifornia
                         Los Angeles County
                    My Comm. Expires Oct 4, 2016              Signatur
                                                                                    Sig E tore of Notary Public



              Place Notary Seal Above
                                               OPTIONAL
   Though this section is optional, completing this information can deter alteration of the document or
                    fraudulent reattachment of this form to an unintended document.
Description of Attached D9cumenlt
Title or Type of Document:    I ? -7(_.4, - I tt         9,„ .           .t7,1414                         fl1
Document Date:       j Cl 2-                                                        Number of Pages:          3
Signer(s) Other Than Named Above:
Capacity(ies) Claimed by Signer(s)
Signer's Name:                                                   Signer's Name:
0 Corporate Officer — Title(s):                                  0 Corporate Officer — Titie(s):
0 Partner — 0 Limited 0 General                                  Li Partner — 0 Limited 0 General
0 Individual      0 Attorney in Fact                                Individual     0 Attorney in Fact
El Trustee        0 Guardian or Conservator                      CJ Trustee        0 Guardian or Conservator
El Other:                                                        0 Other:
Signer Is Representing:                                          Signer Is Representing:


02015 National Notary Association • www.NationalNotaryorg • 1-800-US NOTARY (1-800-876-6827) Item #5907
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                                        MEMORANDUM OF AGREEMENT



        This Memorandum of Agreement is made and entered into this irday of
clanuarti , 2016 by and between CRESTLLOYD, LLC, a California Limited Liability
   Company ("Crestlloyd") and INFERNO INVESTMENTS INC. ("Inferno").

                                                RECITALS

                The parties desire to set forth their respective rights with regard to distribution
   of proceeds at such time as the residence being constructed by Crestlloyd (as successor
   to the Company) at 944 Airole Way, Los Angeles, California (the "Residence") Is sold.

            NOW, THEREFORE, IT IS AGREED AS FOLLOWS:

          1.     Incorporation of Recitals. The above Recital is incorporated herein by this
   reference as though made a part hereof.

         2.     Division of Profits and Losses. Profits and Losses shall be allocated as
  follows: Fifty percent (50%) to Crestlloyd for Developer fee and fifty percent (50%) to
  Crestlloyd and Inferno in proportion 'to the money loaned by each to finance the
  construction of the Residence.

                For Example: Assume Inferno loaned $18,000,000.00 and Crestlloyd loaned
  $41,000,000.00. Inferno's share of the profits and losses is 15,25% ($18,000,000 +
  $59,000,000 = 30.5% multiplied by 50% = 15.26%). Crestlloyd's share of the profits and
  losses is 84.75% ($41,000,000 + $59,000,000 =69.5% multiplied by 50% = 34.75%), plus
  Crestlloyd's Developer fee of 50% = 84.75%.

         3.     Distributions. All proceeds received from a sale, condemnation, financing or
  refinancing of the Residence shall be distributed in the following manner:

               First, to repay the loan(s) obtained from a bank or third parties (excluding
  Crestlloyd and Inferno) and all other unpaid costs of construction of the Residence.

               Second, to Crestlloyd and Inferno, pro rata, in repayment of any loans owing
  them, together with simple interest thereon at the rate of eight percent (8%) per annum.

                Third, to Crestlloyd, the sum of ONE HUNDRED FORTY-FIVE THOUSAND
  DOLLARS ($145,000.00) as compensation for general office overhead and services
  rendered by it in connection with the construction of the Residence.

                 Thereafter, to Crestlloyd and Inferno in accordance with their share of the
  profits and losses determined in the manner set forth in paragraph 2 above,

          IN WITNESS HEREOF, the parties have executed this Memorandum of Agreement,
  effective as of the date set forth above..

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    CRESTLLOYD, LLC, a California                     INFERNO INVESTMENTS INC.
    Limited Liability Company
                                                                       7




    By                                                By         V"-
             bits    iami, Manager                          ulian Remillard, Directior




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                            AMENDMENT NO. 1

                    TO MEMORANDUM OF AGREEMENT
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                                              AMENDMENT NO. 1

                                     TO AMENDMENT OF AGREEMENT



            This Amendment No. 1to Memorandum of Agreement is entered Into this       day
     of July, 2016 by and between CRESTLLOYD, LLC, a California Limited Liability Company
     ("Creatioycl") and INFERNO INVESTMENTS iNC. ("inferno").

                                                RECITALS

          A.      Crestiloyd and inferno previously entered into a Memorandum of Agreement
    dated January 1, 2016 with regard to division of profits and losses on the sale of the real
    property located at 944 Airole Way, Los Angeles, California (the "Residence").

           B.     Deeds of Trust have been recorded against the Residence in favor of inferno
    to secure the loans which it, and its predecessor, previously made to Crestiloyd.

            C.    Crestiloyd previously obtained a loan from First Republic Bank which loan is
    secured by a first Deed of Trust on the Residence. Crestlioyd desires to refinance the
    existing loan with a new loan to be made by First Credit Bank (New Lender). In order to
    refinance the existing loan New Lender requires that Inferno subordinate the Liens of its
    Deeds of Trust on the Residence to the new loan to be obtained by Crestiloyd from New
    Lender in the amount of Forty Million Dollars ($40,000,000.00) which will be wowed by s
    First Trust Deed on the Residence (the "New Loan").

         D.    Inferno is willing to subordinate the Liens of its Deeds of Trust on Me
   Residence to the New Loan for the consideration hereafter set forth.

           NOW, THEREFORE, IT IS HEREBY AGREED AS FOLLOWS:

          1.     Ingorooration of Recitals. Each and all of the above Recitals are incorporated
   herein by this reference as though set forth in full hermit.
                                                                 •
          2.     bbjEaggla. Inferno hereby agrees to subordinate the Liens of its Deeds
   of Trust on the Residence to the Lien of the First Deed of Trust securing the New Loan. In
   connection therewith inferno agrees to execute any and all documents reasonably required
   by New Lender to evidence the subordination.

          3.     Consideration. in consideration of Inferno subordinating the Liens of its
   Deeds of Trust to a first Deed of Trust that will secure the New Low, Crestlloyd agrees that
   the percentage of profits and losses set forth In paragraph 2 of the Memorandum of
   Agreement shell be adjusted to provide for Inferno to be allocated an additional one and
   one-half percent (1.B%) of the profits and losses on the sale of the Residence (the
   "Additional Percentage). The Additional Percentage to be allocated to inferno shall be
   deducted from the pe►centage of profits and losses allocated to Crestiloyd.


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                  For Example: Assume that, pursuant to the formula set forth in paragraph 2
    of the Memorandum of Agreement, Crestlloyd is allocated eighty-four and three-quarter
    percent (84.75%) of the profits and losses and Inferno is allocated fifteen and one-quarter
    percent (15.25%) of the profits and losses. The profits and losses will now be adjusted and
    allocated as follows: 83.25% to Crestlloyd and 16.75% to Inferno.
           4.     No Other Chagos. Except as herein expressly provided, all of the terms and
    provisions of the Memorandum of Agreement shall remain in full force and effect.
          Dated the day and year set forth above.
    CRESTU.OYD, LLC, a California                   INFERNO I        TMENTS C.
    Limited Liability Company


                                                    By
              Niami, Manager                                     RemiN    , Dir or
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                                      AMENDMENT NO 2.
                            TO MEMORANDUM OF AGREEMENT


               This Amendment No. 2 to Memorandum of Agreement is entered into this
       27th day of September , 2016 between CRESTLLOYD, LLC, a California Limited
       Liability Company ("Crestiloyd") and INFERNO INVESTMENT, INC. ("Inferno").


                                           RECITALS
            A.      Crestiloyd and Inferno previously entered into a Memorandum of
      Agreement   dated  January 1, 2016, which was amended July            , 2016, with
      regard to division of profits and losses on the sale of the real property located at
      944 Airole Way, Los Angeles, California (the "Residence").
              B.     Deeds of Trust have been recorded against the Residence in favor
      of Inferno to secure the loans which It and its predecessor previously made to
      Crestiloyd.
              C.     Crestiloyd previously obtained a loan with First Credit Bank which
      loan is secured by a first Deed of Trust on the Residence. Crestiloyd desires to
      take on additional loans or refinance the existing loan with a new loan or loans to
      be made by First Credit Bank or another bank or a combination thereof
      (collectively "New Lender"). In order to accomplish same, New Lender requires
      that inferno subordinate the Liens of its Deeds of Trust on the Residence to the
      new loan(s) to be obtained by Crestiloyd ("the New Loan") in an amount which, in
      the aggregate, including existing bank loans, shall not exceed fifty-two million
      dollars ($52 million), which shall be secured by a First Trust Deed on the
      Residence.
            D.    Inferno is willing to subordinate the Liens of its Deeds of Trust on
      the Residence to the New Loan for the consideration hereafter set forth.
             NOW, THEREFORE, IT IS HEREBY AGREED AS FOLLOWS:
            1.     lncorooratlon of Regjtals. Each and all of the above Recitals are
      incorporated herein by this reference as though set forth in full hereat.
             2.     Subordination. Inferno hereby agrees to subordinate the Liens of
      its Deeds of Trust on the Residence to the Lien of the First Deed of Trust
      securing the New Loan. In connection therewith inferno agrees to execute any
      and all documents reasonably required by New Lender to evidence the
      subordination.
              3.    Conskjeration. In consideration of inferno subordinating the Liens
      of its Deeds of Trust to a first Deed of Trust that will secure the New Loan,
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       Crestiloyd shall immediately pre pay two million dollars $2,000,000.00) of loan
       principal ("Principal") owed to Inferno, thereby reducing the total amount of
       Principal to sixteen million dollars ($18,000,000.00). Notwithstanding the
       foregoing, interest due inferno shall continue to accrue from the date hereof on
       the amount of eighteen million dollars ($18,000,000.00).
              4.      interest Bearina Periods. The parties agree that interest shall not
       be payable to either party during periods when the Property is being rented out to
       third parties.
               5.    No Other Chances. Except as herein expressly provided, all of the
       terms and provisions of the Memorandum of Agreement as previously amended
       shall remain in full force and effect.
             Dated the day and year set forth above.


      CRESTLLOYD, LLC, a California                    INFERNO       EST. ENT      C.,
      Limited Liability Company                        a Can

      By
                       , Manager                             Julien Remillard •!rector
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                                   REVISED AMENDMENT NO 2.
                               TO MEMORANDUM OF gkr3REEMENT


                  This Revised Amendment No. 2 to Merhorandum of Agreement is entered
          Into this 280 day of September , 2016 betweell CRESTLLOYD, LLC, a California
          Limited Liability Company eCrestiloyd") and INFERNO INVESTMENT, INC.
          ('inferno").



               A.      Crestlloyd and inferno pre        entered into a Memorandum of
         Agreement dated January 1, 2016, which was               July     , 2016, with
         regard to division of profits and looses on the e of the real property boated at
         944 Airole Way, Los Angeles, California (the "            ).
               B.      A document entitled AmendrnerN No 2 was previously executed
         between the peruse, however that document deemed null and void upon
         execution of this Revised Amendment No. 2.
                 C.     Deeds of Trust have been            against the Residence In favor
         of Inferno to secure the loans which It and its          r previously made to
         CreetNoyd.
                 D.     CrestNoyd previously obtained a n with First Credit Bank which
         loan Is secured by a first Deed of Trust on the              Creathoyd desires to
         take on additional loans or refinance the.xlsth loan with a new loan or loans to
         be made by First Credit Bank or another bank ar a combination thereof
         (collectively "New Lender•'). In order to s000m iisln same, New Lender requires
         that inferno subordinate the Liens of its Deeds of Trust on the Residence to the
         new loan(s) to be obtained by Creedloyd ("the law Loan" in an amount which, In
         the aggregate. including existing bank loans, alit not exceed fifty-two million
         dollars ($62 million), which shall be secured by a First Trust Deed on the
         Residence.
               E.    Inferno is willing to subordinate tt Liens of its Deeds ofTrust on
         the Residence to the New Loan for the considd bon hereafter set forth.
               NOW, THEREFORE, IT IS l*REBY                REED AS FOLLOWS:
               1.     ithglthithildliNISILEISMI Each red Width. above Recitals are
         Incorporated herein by lids reference as thoupl set forth in hill West
                2.    Iiktiggdodgg, Inferno hereby            to subordinate the Llama of
         its Deeds of Trust on the Residence to the Liar of the First Deed of Trust
         securing the New Loan. In connection             Inferno agrees to execute any
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         and aN documents reasonably required by New Lender to evidence the
         subordination.
                 3.    laggnibte, As an incentive for Wein° to subordinate the Liens of its
         Deeds of Trust to a trot Deed of Trust that will - • re the Nov Low, Cresilloyd
         shall Immediately pre pay to Inferno two million oilers $2,000,000.00. It Is
         agreed that this payment shall be made In redu n of the outstanding
         indebtedness owing to Inferno end not as       • oration or Interest.
                4.      interest and interest Bearing] Periods, The parties agree that
         Interest shall not be payable to either party during periods when the Property is
         being rented out to third parties.
                 6.    NO Other Changes. Except as            expressly provided, all of the
         terms and provisions of the Memorandum of Ag          ent as previously amended
         shall remain in full force and effect.
               Dated the day and year set forth above.


         CRESTLLOYD, LLC, a California                                          NT, INC.,
         Limited Liability Company


                                                                Julien R
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                                       AMENDMENT NO 3
                             TO MEMORANDUM OF AGREEMENT


      02      This Amendment No. 3 to Memorandum of Agreement is entered into this
              day of fitar , 2018 between CRESTLLOYD, LLC, a California Limited
       Lability Company ("Creedloyd") and INFERNO INVESTMENT INC. ("Inferno").


                                           RECITALS
             A.      Crestiloyd and inferno previously entered into a Memorandum of
      Agreement dated January 1, 2016, which was amended July               , 2016, and
      Feb      , 2017 with regard to division of profits and losses on the sale of the real
      property located at 944 Airole Way, Los Angeles, California (the "Residence").
      Except as modified by this Amendment No. 3, all previous items agreed to by the
      parties shall be incorporated herein.
             B.      Deeds of Trust have been recorded against the Residence in favor
      of Inferno or its associates to secure the loans which it and its predecessor
      previously made to Crestiloyd. (the Inferno DOW)
               C.     Deeds of Trust shall be recorded against the Residence in favor of
      Crestiloyd, its successor, designee or assigns, to secure the loans which it or its
      affiliated entities have made and may continue to make in order to complete
      construction and pay carrying costs associated with the Residence. (the
      "CrestHoyd DOW).
             D.      CrestHoyd previously obtained loans with First Credit Bank which
      are secured by Deeds of Trust on the Residence. (the "FCB DOTs"). Cresdloyd
      desires to refinance these existing bank loans with a new loan to be made by
      ABP Capital, LLC or its affiliate, C3 Capital, LLC (hereafter "New Lender"). In
      order to accomplish same, New Lender requires that inferno subordinate the
      Liens of the Inferno DOTs to the new loan(s) to be obtained by Crest$oyd ("the
      New Loan") in an amount which, in the aggregate, (including existing First Credit
      Bank loans), shall not exceed eighty-five miNion dollars ($85 million), and which
      shall be secured by a new First Trust Deed on the Residence. (the "ABP DOT").
            E.      New Lender also requires that Crestlioyd subordinate the Liens of
      the CrestIlloyd DOTs to the New Loan.
            F.     Crest Loyd and Inferno are wiling to subordinate the Lions of their
      respective Deeds of Trust on the Residence to the New Loan for the
      consideration hereafter set forth.
            NOW, THEREFORE, IT IS HEREBY AGREED AS FOLLOWS:
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             1.     incorporation of Recitals. Each and all of the above Recitals are
       Incorporated herein by this reference as though set forth in full hereat.
              2.     Subordination. Inferno hereby agrees (on a pari-passu basis with
       Crestiloyd) to subordinate the Liens of the inferno DOTs to the MP DOT. In
       connection therewith, inferno agrees to execute any and all documents
       reasonably required by New Lender to evidence the subordination. Crestlloyd
       hereby agrees to subordinate the Liens of the Crestiloyd DOTs to the ABP DOT.
       In connection therewith Crestiloyd agrees to execute any and all documents
       reasonably required by New Lender to evidence the subordination.
              3.     Consideration due,nffrt►o. in consideration of Inferno
       subordinating the Liens of the Inferno DOTs to the ABP DOT, Inferno shall
       receive from the first draw proceeds of the New Loan the sum of Five Million
       Four Hundred Fifty-Two Thousand One Hundred And Seventy-Four Dollars
       $5,452,174.00 ("Consideration"). This Consideration shall pay down
       $5,452,174.00 of loan principal owed to Inferno ("Inferno Principal"). Because an
       additional Two Million Dollars ($2,000,000.00) of inferno Principal was previously
       paid down on October 3, 2016, the revised amount of inferno Prindpal owing
       once this Consideration has been paid shall be Six Million Five Hundred Eighty-
       Seven Thousand Eight Hundred Twenty-Six Dollars ($6,587,826), (hereafter
      "Revised Inferno Principal"). Notwithstanding the foregoing, the Revised Inferno
      Principal amount is for Inferno internal accounting purposes only; Interest due
      Inferno shall continue to accrue from the date hereof on the full amount of
      Eighteen Million Dollars ($18,000,000.00). The amount of Seven Million Four
      Hundred Fifty-Two Thousand One Hundred and Seventy-Four Dollars
      ($7,452,174.00) shall be deducted from inferno's Share of Net Profits as defined
      in Section 5 below.
              4.      Consideration due Creatiov4. In consideration of Crestiloyd
       subordinating the Liens of the Crestiloyd DOTs to the ABP DOT, and only In the
       event the New Loan has not been otherwise paid in full by the maturity date
       thereof, Inferno shall use its beat efforts to loan or cause to be loaned to
      Crestiloyd, its designee, successor or assigns, the sum of at least Eighty-Five
      Million Dollars ($85,000,000.00) (the "Future Inferno-Arranged Loan") with terms
      mutually agreed to between the parties.: The maturity date of the Future Inferno
      Loan shall be the date escrow doses upon the sale of the Residence ("Maturity
      Date"). The Future Inferno-Arranged Loan shall be secured by the lien of a new
      First Trust Deed to which the Inferno DOTS and Crestiloyd DOTs shall
      subordinate. It is understood and agreed between the parties that the budget
      reflecting the Residence's construction and carrying costs shall be raised as
      necessary to accommodate the interest, points and/or fees required by the
      Future Inferno-Arranged Loan.
            5.     Distribution of Net Pres. All consideration paid to purchase the
     Residence shall be paid into escrow by the buyer. "Gross Receipts" shall be
     defined as all monies so received by escrow. "Net Receipts" shall be defined as
     that amount remaining after the deduction from Gross Receipts of the following:
                                                                                        2
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      a) all dosing costs including but not limited to taxes, commissions, escrow fees,
      title fees, legal costs and fees, accounting fees, etc., b) that amount required to
      reconvey any First Trust Deeds from third-party lenders, it being agreed that the
      Inferno DOTs and the Crestlloyd DOTs shall NOT be considered as being from
      third-party lenders, however the Future Inferno-Arranged Loan SHALL be
      considered a third-party lender; and c) the sum of One Hundred And Forty Five
      Thousand Dollars $145,000, which shall be paid to Skyline Development or its
      designee as reimbursement for overhead expenses. Net Receipts shall be
      disbursed in the following order: on a pro-rata, pad passu basis, to Inferno and
      Crestlloyd or their designees, successors or assigns, the amounts required to
      reconvey fully their respective DOTs. The amount remaining, if any, shall be
      defined as "Net Profits". Net Profits shall be disbursed as follows: Twenty-Four
      Per Cent (24%) to Inferno ("Inferno Share of Net Profits") and Seventy-Six Per
      Cent (76%) to Crestlloyd ("Crestlloyd Share of Net Profits"). Notwithstanding the
      aforesaid, the Inferno Share of Net Profits shall be decreased by the amount of
      $7,452,174.00, and this amount shall be paid instead to Crestlloyd.
              5.    No Other Changes. Except as herein expressly provided, all of the
      terms and provisions of the Memorandum of Agreement as previously amended
      shall remain in full force and effect.
            Dated the day and year set forth above.


      CRESTLLOYD, LLC, a California                    INFERN IN          MENT INC.,
      Limited Liability Company                        a Ca = =n q •      =tio

                                                      By
                    mi, Manager                                        mill rd, Director
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                                  REVISED AMENDMENT NO 3
                              TO MEMORANDUM OF AGREEMENT


                 This Amendment No. 3 to Memorandum of Agreement is entered into this
         16th day of May, 2018 between CRESTLLOYD LLC, a California Limited
         Liability Company ("Crestloyd") and INFERNO NVESTMENT INC. rinfamo").


                                           RECITALS
                A.     Crestloyd and Inferno previously entered Into a Memorandum of
         Agreement dated January 1, 2018, which was mended July           , 2016, and
         September 28.2018 with regard to division of        and knees on the sale of
         the real property located at 944 Mole Way,     Angeles, California (the
         'Residence"). Except as modified by this         Amendment No. 3, all previous
         items agreed to by the parties shall bet           herein.
               B.   A previous document entitled AM           ENT NO 3 TO
         MEMORANDUM OF AGREEMENT was                        by the parties on the 29* of
         March 2018
               NOW, THEREFORE, IT IS HEREBY                EED AS FOLLOWS:
               1.     ksiggIggeggsaggpali. Each            all of the above Recitals are
         incorporated herein by this reference as though     forth in to harlot.
             2.  The aforementioned AMENDMENi NO 3 TO MEMORANDUM OF
         AGREEMENT shall be deemed null and void *en never existed.
               5.     tiaLlibigrigharati Except as          expressly provided, all of the
        towns and provisions of the Memorandum of           meet as previously amended
        shall remain In Id force and effect.
               Dated the day end year set forth above.


        CRESTLLOYD, LLC, a California
        Limited Liability Company


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                                   SECURED PROMISSORY NOTE

    $30,188,235.00                                                               Los Angeles, California
                                                                                      October 1 , 2018

             FOR VALUE RECEIVED, Crestlloyd, LLC, a California limited liability company
    ("Borrower"), promises to pay to the order of YOGI Securities Holdings, LLC, a Nevada limited
    liability company ("Lender"), the principal sum of up to $30,188,235.00 (the "Loan Amount),
    plus interest on the unpaid principal balance thereof as detailed below.

           1.      Interest Rate; Maturity Date; Repayment.

                  a.    The outstanding principal amount of the loan evidenced by this Note (the
   "Loan") shall accrue interest at the rate of 3.975% per annum (the "Note Rate").
   Notwithstanding the previous sentence, the Note Rate shall be calculated on the entire Loan
   Amount, regardless of whether any portion of the Loan Amount has not been advanced pursuant
   to Section 2 below.

                  b.      The outstanding principal balance owing under this Note as well as
  interest thereon shall be due and payable in MI on the earlier of (i) the sale of either the Hillcrest
  Property or the Airole Property (as each such term is defined in Section 3 below) such that the
  entire Loan Amount shall be repaid from proceeds of such sale, or (ii) June 1S' 2019 (the
  "Maturity Date"). Additionally: (i) upon the sale of the Londonderry Property (as defined in
  Section 3 below) $10,000,000.00 shall be due and payable, (ii) upon the sale of the Bellagio
  Property (as defined in Section 3 below) $10,000,000.00 shall be due and payable, (iii) upon the
  sale of the Carcassonne Property (as defined in Section 3 below) $15,000,000.00 shall be due
  and payable and (iv) upon the sale of the Stone Ridge Property (as such defined in Section 3
  below) $5,000,000.00 shall be due and payable.

                 c. • This Note may be prepaid in whole or in part; however the $800,000.00 of
  prepaid interest is guaranteed and no portion shall be refunded upon any principal. payments
  made prior to the Maturity Date whether obligatory under the terms of this Note or made at
  Borrower'soption.

         2.      Advances under the Note.

         2.1 • Timing. Advances of Loan proceeds under this Note will be disbursed as follows:

                 a.     Lender shall retain $800,000.00 as prepaid interest, calculated at the Note
  Rate on the entire Loan Amount.

               b.     Lender has already advanced $17,499,900.00 under a Promissory Note
  dated May 22, 2018 and $2,188,235.00 under a Promissory Note dated August 9, 2017 as
  amended previously executed by Borrower in favor of Lender (together, the "Prior Notes").

               c.      Lender shall advance an amount equal to $4,500,100.00 of the Loan
 Amount, to be disbursed in connection with the closing of the Loan contemplated under this
 Note upon receipt of confirmation of recording of the Deeds of Trust.
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                   d.      So long as there is no uncured breach by Borrower of any of the covenants
    or obligations of Borrower under any of the documents executed by Borrower in connection with
    the Loan (collectively, "Loan Documents"), Lender shall advance up to the remaining available
    Loan Amount, in the amount of $S,200,000.00, to Borrower within five (5) business days after
    Lender's receipt of a written request from Borrower.

                    2.2. Title Endorsements. As a condition to each advance, at Lender's sole and
    absolute discretion Lender may require Borrower to obtain, in connection with any or all
    requested disbursements, at Borrower's sole cost and expense, title endorsements satisfactory to
    Lender to protect Lender against mechanic's liens, to be attached to and be a part of Lender's
    title policies.

                  2.3. Insurance. Borrower shall furnish to Lender evidence of builders risk
   insurance for the Property (as defined below) in amounts and with an insurance company
   satisfactory to Lender and with a standard mortgagee's endorsement naming Lender as first
   mortgagee.

                   2.4. jnspectiort. Lender and its agents shall, at all times until the Note is fully
    repaid, have the right of entry and free access to the Property and the right to inspect all work
   done, labor performed and materials furnished in and about the Property and to inspect all books,
   subcontracts and records of Borrower concerning the Property. It is expressly understood and
   agreed that Lender is not under any duty to supervise or to inspect the work or construction or
   examine any books and records, and that any such inspection or examination is for the sole
   purpose of protecting the security of Lender and preserving Lender's rights hereunder. Failure to
   inspect the work or any part thereof shall not constitute a waiver of any rights of Lender; and
   inspection not followed by notice of default shall not constitute a waiver of any default then
   existing. In no event shall any inspection by Lender constitute a representation that there has
   been or will be compliance with the plans and specifications or that the construction is free from
   defective materials or workmanship.

                  2.5.   Zteulpatory Provisions. Borrower acknowledges, understands and agrees
  as follows:
                          2.5.1 Lender neither undertakes nor assumes any responsibility or duty
   to Borrower to select, review, inspect, supervise, pass judgment upon or inform Borrower of the
  quality, adequacy or suitability of the following: (a) the plans and specifications or amendments,
  alterations and additions thereto; (b) architects, contractors, subcontractors, and materialmen
  employed or utilized in the construction, or workmanship of or the materials used by any of
  them; or (c) the progress or course of construction and its conformance or nonconformance with
  the plans and specifications or amendments, alterations and changes thereto.

                         2.5.2 Lender owes no duty of care to protect Borrower against negligent,
  faulty, inadequate or defective building or construction.

                         2.5.3 The consent or approval by Lender to or of any act by Borrower
  requiring further consent or approval shall not be deemed to waive or render unnecessary the
  consent or approval to or of any subsequent similar act.



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                        • 2.5.4 By accepting or approving anything required to be observed,
    performed or fulfilled, or to be given to Lender pursuant hereto or pursuant to the loan
    documents, Lender shall not be deemed to have warranted or represented the sufficiency,
    legality, effectiveness or legal effect of the same, or of any term, provision or condition thereof,
    and such acceptance or approval thereof shall not be or constitute any warranty or representation
    to anyone with respect thereto by Lender.

                         2.5.5 Lender shall in no way be liable for any acts or omissions of the
    Borrower, agent, contractor or any person furnishing labor and/or materials used in relation to
    the Property.

                    2.6. Protection, Against Liens. Borrower agrees to fully pay and discharge all
    claims for labor done, material and services furnished in connection with the Property, to
    diligently file or procure the filing of a valid notice of completion upon completion of
    construction, to diligently file or procure the filing of a notice of cessation upon the event of a
   cessation of labor on the work of improvement for a continuous period of thirty (30) days or
   more, and to take all other reasonable steps to forestall the assertion of claims of lien against the
   Property or any part thereof and/or claims againgt Lender. Borrower irrevocably appoints,
   designates and authorizes Lender as its agent (said agency being coupled with an interest) with
   the authority, but without any obligation, to file for record any notice of completion, cessation of
   labor, or any other notice that Lender deems necessary or desirable to protect its interests under
  the Note or the Loan Documents. Nothing herein contained shall require Borrower to pay any
  claims for labor, materials, or services which Borrower in good faith disputes and which
  Borrower, at its own expense, is currently and diligently contesting; provided that Borrower
  shall, within ten (10) days after filing of any claim of lien, record in the Office of the County
  Recorder where the Property is located, obtain a surety bond sufficient to release said claim of
  lien or post such other security or make such other arrangements as Lender may approve in
  writing.

                  2.7. Books. Records and Plans. Borrower shall maintain full and complete
  books of account and other records concerning the Property, and shall famish to Lender, at any
  time and from time to time, such financial data, plans and specifications as Lender shall
  reasonably request relating to the Property. Borrower shall maintain at all times a full and
  current set of working drawings on the site of the Property and available for inspection by
  Lender or its representatives.

                 2.8. jtelatiopship. Nothing contained herein shall be deemed or construed by
  the parties hereto or any third person to create a partnership or joint venture or any association
  between the parties other than the relationship of lender and borrower.

        3.     Security. This Note is secured by: (i) a Deed of Trust dated of even date
 herewith (the "Hillcrest Deed of Trust"), executed by Borrower, as "Trustor," in favor of
 Lender, as "Beneficiary," with respect to certain real property located at 1175 North Hillcrest
 Road, Beverly Hills, California 90210 (the "lillkrest Property"), (ii) a Deed of Trust dated of
 even date herewith (the "Airole Deed of Trust"), executed by Borrower, as "Trustor," in favor of
 Lender, as "Beneficiary," with respect to certain real property located at 944 Airole Way, Los
 Angeles, California 90077 (the "Airole Property"), (iii) a Deed of Trust dated of even date


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    herewith (the "BeBiagio Deed of Trust"), executed by 10701 Bellagio Road, LLC, as "Truster,"
     in favor of Lender, as "Beneficiary," with respect to certain real property located at 10701
    Bellagio Road, Los Angeles, California (the "BeMagi° Property"); (iv) a Deed of Trust dated of
    even date herewith (the "Carcassonne Deed of Trust"), executed by Carcassonne Fine Homes,
    LLC, as "Truster," in favor of Lender, as "Beneficiary," with respect to certain real property
    located at 627 North Carcassonne Road, Los Angeles, California (the "Carcassonne Property"),
    (v) a Deed of Trust dated of even date herewith (the "Stone Ridge Deed of Trust"), executed by
    Marbella Construction, Inc., as "Trustor," in favor of Lender, as "Beneficiary," with respect to
    certain real property located at 3381 Stone Ridge Lane, Los Angeles, California (the "Stone
   Ridge Property") and (vi) a Deed of Trust dated of even date herewith (the "Londonderry Deed
   of Trust"), executed by 1369 Londonderry Estate, LLC, as "Truster," in favor of Lender, as
   "Beneficiary," with respect to certain real property located at 1369 Londonderry Place, Los
   Angeles, California (the "Londonderry
                               "Lou          Properly"). The Hillcrest Deed of Trust, the Airole
   Deed of Trust, the Bellagio Deed of Trust, the Carcassonne Deed of Trust, the Stone Ridge
   Deed of Trust and the Londonderry Deed of Trust are collectively referred to herein as the
   "Deeds of Trust". The Hillcrest Property, the Airole Property, Bellagio Property, the
   Carcassonne Property, the Stone Ridge Property and the Londonderry Property are collectively
   referred to herein as the "Property".

          4.      Application of Payments. All payments on this Note shall, at the option of the
  holder hereof, be applied first to the payment of accrued and unpaid interest, and after all such
  interest has been paid, any remainder shall be applied to reduction of the principal balance.

         5.     Address for Payments. All payments on this Note are to be made or given to the
  holder hereof whose address for this purpose is 9701 West Pico Boulevard, Suite 201A, Los
  Angeles, California 90035, or to such other person or at such other place as the holder hereof
  may from time to time direct by written notice to Borrower.

          6.     No Offset; Holder in Due Course. Borrower waives any right of offset it now
  has or may hereafter have against the holder hereof and its successors and assigns, and agrees to
  make the payments called for hereunder in accordance with the terms hereof. The holder hereof
  and all successors thereof shall have all the rights of a holder in due course as provided in the
  California Uniform Commercial Code and other laws of the State of California.

         7.       Waivers. Borrower and any endorsers, guarantors or sureties hereof severally
 waive presentment and demand for payment, notice of intent to accelerate maturity, protest or
 notice of protest or non-payment, bringing of suit and diligence in taking any action to collect
 any sums owing hereunder or in proceeding against any of the rights and properties securing
 payment hereunder; expressly agree that this Note, or any payment hereunder, may be extended
 from time to time; and consent to the acceptance of further security or the release of any security
 for this Note, all without in any way affecting the liability of Borrower and any endorsers or
 guarantors hereof. No extension of time for the payment of this Note, or any installment hereof,
 made by agreement by the holder hereof with any person now or hereafter liable for the payment
 of this Note, shall affect the original liability under this Note of Borrower, even if Borrower is
 not a party to such agreement.




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           8.     Default Interest; Acceleration. The failure of Borrower to pay or perform as
   required hereunder or a default under the Deed of Trust or any other instrument securing this
   Note or secured by the Deed of Trust shall constitute a default hereunder. Upon the occurrence
   of a default hereunder, at the option of the holder hereof, all amounts then unpaid under this
   Note, the Deed of Trust or any other instrument securing this Note or secured by Deed of Trust
   shall bear interest for the period beginning with the date of occurrence of such default at a
   default rate equal to 10.00% above the rate stated herein, payable monthly on the first day of
  each and every month, and in additional such holder may, at its option, declare immediately due
  and owing the entire unpaid principal sum together with all interest thereon, plus any other sums
  owing at the time of such declaration pursuant to this Note, the Deed of Trust or any other
  instrument securing this Note. The failure to exercise the foregoing option shall not constitute a
  waiver of the right to exercise the same at any subsequent time in respect of the same event or
  any other event. The acceptance by the holder hereof of any payment hereunder which is less
  than payment in full of all amounts due and payable at the time of such payment shall not
  constitute a waiver of the right to exercise any of the foregoing options at that time or at any
  subsequent time or nullify any prior exercise of any such option without the express consent of
  such holder, except as and to the extent otherwise provided by law.

          9.      Lawful Money; Costs of Collection. All amounts payable hereunder are payable
  in lawful money of the United States. Borrower agrees to pay all costs of collection when
  incurred, including reasonable attorneys' fees and costs, whether or not a suit or action is
  instituted to enforce this Note, including but not limited to court costs, appraisal fees, the cost of
  searching records, obtaining title reports and title insurance and trustee's fees, to the extent
  permitted by applicable law.

          10.     Due on Sale and Encumbrance. Borrower acknowledges and agrees that the
  creditworthiness and expertise of Borrower or Trustor in owning, developing and operating the
  Property is the basis upon which holder has determined that it is protected against impairment of
  the security and risk of default and thereby has agreed to lend undersigned the principal sum set
  forth above. In order to insure the continued creditworthiness and expertise of the owner of the
  Property and in order to allow the holder of this Note an opportunity to review and evaluate the
  same, undersigned agrees, for itself and subsequent owners of the Property, that the Property
  shall not be sold, agreed to be sold, conveyed, transferred, assigned, disposed of, or further
  encumbered, whether voluntarily, involuntarily, by operation of law or otherwise, without the
 written consent of the holder hereof being first obtained, which consent may be withheld in
 holder's sole and absolute discretion. Any transaction in violation of the above restrictions shall
 cause the then outstanding principal balance and interest thereon and other sums secured by the
 Deeds of Trust, at the option of said bolder, to immediately become due and payable. If
 Borrower is a corporation, limited liability company or trust, the sale, conveyance, transfer or
 disposition, whether voluntary or involuntary, of 25% or more of the issued and outstanding
 common stock or membership interests of Borrower or Trustor, or of the beneficial interest of
 such trust, or, in the event Borrower or Trustor is a limited or general partnership or a joint
 venture, a change of any general partner or any joint venturer, either voluntarily or involuntarily,
 or the sale, conveyance, transfer, disposition, or encumbrance of any such general partnership or
 joint venture interest shall be deemed to be a transfer of an interest in the Property for purposes
 of this Section. Notwithstanding anything to the contrary in this Section 10 upon the sale of the



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     Londonderry Property, the Bellagio Property, the Carcassonne Property or the Stone Ridge
     Property the amounts set forth in Section 1(b) above shall be payable.

    Borrower agrees, for itself and subsequent owners of the Property, that in the event that the
    improvements on the Property are altered or demolished without the written consent of the
    holder hereof being first obtained, which consent may be withheld in holder's sole and absolute
    discretion then outstanding principal balance and interest thereon and other sums secured by said
    Deeds of Trust, at the option of said holder, shall immediately become due and payable, in whole
    or in part, as the holder so determines.

           11.     Usury Protection. The parties hereto intend to conform strictly to the applicable
    usury laws. In no event, regardless of any provisions contained therein or in any other document
    executed or delivered in connection herewith, shall the holder hereof ever be deemed to have
    contracted for or be entitled to receive, collect or apply as interest on this Note, any amount in
    excess of the maximum amount permitted by applicable law (the "Maximum Rale"). In no
    event, whether by reason of demand for payment, prepayment, acceleration of the maturity
   hereof or otherwise, shall the interest contracted for, charged or received by the holder hereunder
   or otherwise exceed the Maximum Rate. If for any circumstance whatsoever interest would
   otherwise be payable to the holder in excess of the maximum lawful amount, the interest payable
   to the holder shall be reduced automatically to the Maximum Rate and any payment received in
   excess of such amount shall be applied to the outstanding principal balance of the Note.

           12.    Governing Law; Venue; Joint and Several Liability. This Note shall be
  governed by and construed according to the laws of the State of California. The parties agree
  that, at Lender's option, in any action to enforce or interpret this Note, the courts located in Los
  Angeles, California shall have exclusive jurisdiction and be the exclusive venue. Nothing
  contained herein shall affect the rights of Lender to bring a suit, action or proceeding in any other
  appropriate jurisdiction. In the event Borrower is composed of more than one party, the
  obligations, covenants, agreements and warranties contained herein as well as the obligations
  arising therefrom are and shall be joint and several as to each such party.

           13.     Fees and Expenses. Borrower agrees to pay all costs and expenses incurred by
  Lender in connection with the preparation, negotiation and execution of this Note and the other
  Loan Documents and any and all amendments, modifications and supplements thereto, including,
  without limitation, the costs and fees of Lender's legal counsel, any applicable title company
  fees, title insurance premiums, filing fees, escrow fees, reconveyance fees, payoff demands and
  recording costs.

          14.    Commercial Purpose. Borrower agrees that no funds advanced under this Note
  shall be used for personal, family or household purposes, and that all funds advanced hereunder
  shall be used solely for business, commercial, investment or other similar purposes, particularly
  the development of the Property. Borrower does not occupy, and does not intend to occupy, the
  Hillcrest Property, the Airole Property, the Bellagio Property, the Carcassonne Property, the
  Stone Ridge Property and/or the Londonderry Property and no principal or owner of Borrower
  (including but not limited to Nile Niami) occupies or intends to occupy the Hillcrest Property, •
  the Airole Property, the Bellagio Property, the Carcassonne Property, the Stone Ridge Property
  and/or the Londonderry Property.


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             15.    Severability. If a court of competent jurisdiction detennines that any term or
    provision of this Note is illegal, unenforceable or invalid in whole or in part for any reason, such
    illegal, unenforceable, or invalid provisions or part thereof shall be stricken from this Note, and
    such provision shall not affect the legality, enforceability, or validity of the remainder of this
    Note. If any provision or part thereof of this Note is stricken in accordance with the provisions
    of this Section, then this stricken provision shall be replaced, to the extent possible, with a legal,
    enforceable, and valid provision that is as similar in tenor to the stricken provision as is legally
    possible.

           16.   Limits on Senior Loan Balances. Borrower agree that at no time while any
   portion of the Note remains unpaid shall senior indebteness: (i) encumbering the Hillcrest
   Property exceed $28,700,000.00, (ii) encumbering the Airole Property exceed $1]5,000,000.00,
   (iii) encumbering the Londonderry Property exceed $29,000,000.00, (iv) encumbering the
   Bellagio Property exceed $34,000,000.00, (v) encumbering the Carcassonne Property exceed
   $34,000,000.00, or (vi) encumbering the Stone Ridge Property exceed $17,100,000.00.

             17.   Prior Notes. The Prior Notes are hereby cancelled and superseded by this Note.
                                                      Crestlloyd, LLC,
                                                      a California limited liability company



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           RECORDING REQUESTED EY:

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          AND WHEN RECORDED MAIL TO:



             )1.4.1km LA.,
          fry* y IOWA 41* ,/3PFi
            1.11. 04 0 ,4101

                                                         SPACE ABOVE FOR RECORDER'S USE ONLY




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              THIS COVER SHEET AWED TO PROVIDE ADEQUATE SPACE FOR RECORDING INFORMATION
                                  ($3.00 Additional Recording Fee AgpNes)




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                 CHICAGO TITLE COMPANY                                                                                         3
                  COMMERCIAL DIVISION

              RECORDING REQUESTED BY
              AND WHEN RECORDED MAIL TO:
              Steven H. Zidell, Esq.
              Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP
              11400 W. Olympic Blvd.,
              91h Floor
              Los Angeles, California 90064-1582

                                 DEED OF TRUST AND ASSIGNMENT OF RENTS

              TOW Onnan NO. 00094109.997465.1a03                                       APN No. 4369-026-021
                    ThU Deed of Trust, made as of October 11, 2018, between Cresdloyd, LLC, a
             California limited liability company, herein called Trustor, whose address is 8981 West Sunset
             Boulevard, Suite 303, West Hollywood, Califbrnia 90069, Chicago Title Company, herein called
             Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
             Beneficiary,
                    Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
             IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
             California, described as:
                                      SEE EXHIBIT A ATTACHED HERETO,
                     TOGETHER WITH the rents, issues and profits therso4 SUBJECT, HOWEVER, to the
             right, power and authority given to and confireed upon Beneficiary by paragraph (10) of the
             provisions herein to collect and apply such rents, issues and profits.
                     For the Purpose of Smirk's*
                           1.     Performance of each agreement of Trustor incorporated by reference or
             contained herein;
                          2.      Payment of the indebtedness evidenced by one promissory note of even
            date herewith, and any extension or renewal thereof; in the principal sum of $30,188,235.00
            executed by Trustor in favor of Beneficiary or order;
                         3.   Payment of such fiuther sums as the then record owner of said property
            may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
            secured; and
                           4.     Payment of any future advances by Beneficiary regardless of whether such
            advances were contemplated by the parties at the time of the granting of this Deed of Trust,
            whether or not such figure advances are evidenced by any document, or whether or not any such
            document specifics that it Is secured hereby.




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                          To Protect the Security of This Deed of Trust, Truster Agrees:
                     (I)     To keep said property in good condition and repair, not to remove or demolish
             any building thereon, to complete or restore promptly and in good and worloniutlike manner any
             building which may be constructed, damaged or destroyed thereon and to pay when due all
             claims for labor perthrmed and materials furnished therefor, to comply with all laws affecting
           ' said properly or requiring any alterations or improvements to be made thereon, not to commit or
             permit waste thereof, not to commit, suffbr or permit any act upon said property in violation of
             law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
             or use of said property may be reasonably necessary, the specific enumerations herein not
             excluding the general.

                      (2)     To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at. option of Beneficiary the entire amount so collected or any part
              thereof may be released to Trustor, Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3)     To appear in and defend any action or proceeding purporting to &Met the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' foes in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to fbreclose this Deed,
                    (4)     To pay at least 10 days before delinquency all taxes and assessments afflicting
             said property, including assessments on appurtenant water stock, and to pay when due, all
             encumbrances, charges and liens, with interest, on said property or any part thereof, which
             appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Duster fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Duster and
             without releasing Traitor from any obligation hereof, may make or do the same in such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property for such purposes; appear in and defend any
             action or proceeding purporting to sabot the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
             which in the judgment of either appears to be prior or superior hereto, and in exercising any such
             powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                    (5)    To pay immediately and without demand all sums so expended by Beneficiary or
            Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
            hereot and to pay for any statement provided for by law intact at the date hereof regarding the
            obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
            allowed by law at the time when said statement is demanded.




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                         (6)     That any award of damages Is connection with any condemnation for public use
                  of or injury to said property or any part thereof is hereby assigned and shall be paid to
                  Beneficiary who may apply or release such moneys received by him in the same manner and
                  with the same eflbct as above provided for disposition of proceeds of fire or other insurance.
                        (7) That by accepting payment of any sum secured hereby after its due date,
                 Beneficiary does not waive his rights either to require prompt payment when due of ail other
                 sums so secured or to declare default for failure so to pay.
                         ($) That at any time or from time to time, without liability therefor and without
                 notice, upon written request of Beneficiary and presentation of this Deed and said note for
                 endorsement, and without affecting the personal liability of any person for payment of the
                 indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
                 making of any map or plot thereof; join in granting any easement thereon; or join in any
                 extension agreement or any agreement subordinating the lien or charge hereof.
                         (9)   That upon written request of Beneficiary state that an sums secured hereby have
                been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
                retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
                then held hereunder. The recitals in such reconveyanoe of any matters or fiats shall be
                conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
                as "The person or persons legally entitled thereto." Five years after issuance of such MI
                0:conveyance, Trustee may destroy said note and this Deed (unless directed in such request to
                retain them).
                        (10) That as additional security, Motor hereby gives to sad confers upon Beneficiary
                the right, power and authority, during the continuance of these Trusts, to collect the rents. Issues
                and profits of said property, reserving unto Trustor the right, upon any default by Truster in
               payment of any indebtedness secured hereby or in palmitin*e of any agreement hereunder, to
               collect and retain such rents, Issues and profits as they become due and payable. Upon any such
               default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
               to be• appointed by a court, and without regard to the adequacy of any security for the
               indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
               in his own name sue for or otherwise collect such rents, issues and profits, including those past
               due and unpaid, and apply the same, less costs and expenses of operation and collection,
               Including reasonable attorneys' AU. Upon any Indebtedness secured hereby, and in such order
               as Beneficiary may determine. The entering upon and taking possession of said property, the
               collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
               or waive any default or notice of defitult hereunder or Invalidate any act done pursuant to such
               notice,
                      (11) That upon default by Truster in payment of any indebtedness secured hereby or in
              perkrmance of any agreement hereunder. Beneficiary may declare all sums secured hereby
              immediately due and payable by delivery to Trustee of written declaration of default and demand
              for sale and of written notice of default and of election to cause to be sold said property which
              notice Trustee shall cause to be filed for record, Beneficial), also shall deposit with 'Dunn this
              Deed, said note and all documents evidencing expenditures secured hereby.


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                  After the lapse of such time as may then be required by law following the recordation of said
                  notice of default, and notice of sale having been given as then required by law, Trustee, without
                 demand on Truster, shall sell said property at the time and place fixed by it in said notice of sale,
                 either as a whole or in separate parcels, and in such order as it may determine, at public auction
                 to the highest bidder for cash in lawful money of the United States, payable at time of ssie.
                 Trustee may postpone sale of all or any portion of said property by public announcement at such
                 time and place of sale, and from time to time thereafter may postpone such sale by public
                announcement at the time fixed by the preceding postponement Trustee shall deliver to such
                purchaser its deed conveying the property so sold, but without any covenant or warranty, express
                or implied. The recitals in such deed of any matters or fads shall be conclusive proof of the
                truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
                defined, may purchase at such win
                After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
                evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
                all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
                allowed by law ha effect at the date hereof, all other sums then secured hereby, and the
                remainder, if any, to the person or persons legally entitled thereto.
                         (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
                may from time to time, by instrument in writing, substitute a' successor or successors to any
                Trustee named herein or acting hereunder, which inztrwuaat, executed by the Beneficiary and
               duly acknowledged and recorded in the office of the recorder of the county or counties where
               said property is situated, shall be conclusive proof of proper substitution of such successor
               Trustee or Mrustees, who shall, without conveyance from the Trustee predecessor, succeed to all
               its title►estate, rights, powers and duties. Said instrument must contain the name of the original
               Truster, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
               the name and address of the new Trustee.
                       (13) That this Deed applies to, inures to the benefit of, and binds all parties hereto,
               their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
               Beneficiary shell mean the owner and holder, including pledgees, of the note secured hereby
               whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
               masculine gender includes the feminine and/or neuter, and the singular number includes the
               plural.
                     (14) That Trustee accepts this 'Dust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notif► any party hereto of
              pending sate under any other Deed of Trust or of any action or proceeding in which Truster,
              Beneficiary or Trustee shall be a party unless brought by Trustee,
                   The undersigned Truster requests that a copy et any Notice of Default and of any
              Nebo of Sale hereunder be mailed to bbn at bb address bereinbefore set forth.
                               SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                                                                                                                                   7
                           IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above written.
                                                               Crudloyd, LLC,
                                                               a California limited liability company



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                                                   RDUB TO DUD OF TRUST
                  1.      auun.fialuodgaiumbronso, The Note which is secured by this Deed of Trust contains
                  the following "due on sale" and "due on encumbrance" clauses:
                                  "Borrower acknowledges and agrees that the meditwetthinem and expertise
                         of Borrower or Trustor in owning, developing and operating the Property is the
                          basis upon which holder has determined that it is protected against impairment of
                         the security and risk of default and thereby has agreed to lend undersigned the
                         principal sum set forth above. In order to insure the continued creditworthiness
                         and expertise of the owner of the Property and in order to allow the holder of this
                         Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                         and subsequent owners of the Property, that the Property shall not be sold, agreed
                         to be sold, conveyed, transferred, assigned, disposed of, or Rather encumbered,
                         whether voluntarily, involuntarily, by operation of law or otherwise, without the
                        written consent of the holder hereof being first obtained, which consent may be
                        withheld in holder's sole and absolute discretion. Any transaction in violation of
                        the above restrictions shall cause the then outstanding principal balance and
                        interest thereon and other sums secured by the Deeds of Trust, at the option of said
                        holder, to immediately become due and payable. If Borrower Is a corporation,
                        limited liability company or trust, the sale, conveyance, transfer or disposition,
                        whether voluntary or involuntary, of 25% or more of the issued and outstanding
                        00111111011 stock or membership interests of Borrower or Truster, or of the beneficial
                        interest of such husk or, in the event Borrower or Truster is a limited or general
                       partnership or a joint venture, a change of any general partner or any joint
                       venturer, either voluntarily or involuntarily, or the sale, conveyance, trenstbr,
                       disposition, or encumbrance of any such general partnership or joint venture
                       interest shall be deemed to be a transfer of an interest in the Property ter purposes
                       of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                       the sale of the Londonderry Property, the Bellagio Property, the Carcassonne
                       Property or the Stone Ridge Property the amounts set forth in Section 1(b) above
                       shall be payable.
                      Borrower agrees, for itself and subsequent owners of the Property, that in the
                      event that the improvements on the Property are altered or demolished without the
                      written consent of the holder hereof being first obtained, which consent may be
                      withheld in holder's sole and absolute discretion then outstanding principal
                      balance and interest thereon and other sums secured by said Deeds of Trust, at the
                      option of said holder, shall immediately become due and payable, in whole or in
                      pest, as the holder so determines,"
             2.       in1110111011.
                    a.      Liabilimigegreuet Trustor shall, at Trustor's sole expense, obtain and keep in
             force during the tents of this Deed of Trust a policy of combined single limit, bodily injury and
             property damage Insurance insuring Beneficiary end nowt against any liability arising out of
             the ownership, use, occupancy or maintenance of the property upon which this teed of Trust is




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                an encumbrance (the "Propene) and all areas appurtenant thereto. Such insurance shall be a
                combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
                said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
                designated as an additional insured under the liability insurance required under this Deed of
                Trust,
                        b,     Property Insurance. Traitor shall obtain and keep in force during the tent of this
                Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
                amount of the MI replacement value thereof, as the same may exist tient time to time, as
                determined by Beneficiary against all perils included within the classification of fire, extended
               'coverage, vandalism, malicious mischief; and special extended perils ("all risk" as such term is
                used in the insurance industry), Said insurance shall provide for payment of loss thereunder to
                Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
                provision of the policy shall be procured with said insurance, If the Truster shall Aril to procure
               and maintain said insurance the Beneficiary may, but shall not be required to, procure and
               maintain the same, but at the expense of Truster. If such insurance coverage has a deductible
               clause, the deduodble amount shall not exceed $1,000 per occurrence, and the Truster shall be
               liable for such deductible amount.
                      c.      Ingurauggidgjog. Insurance required hereunder shall be in companies holding a
               Ventral Policyholders Rating" of at least A-, V as set forth in the most current issue of "Best's
               Insurance Otdde." The Truster shall deliver to the Beneficiary copies of policies of such
               insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Truster shall, at least 30 days prior to the expiration
              of such policies, flanish Beneficiary with renewals or "binders" thereof, or Beneficiary may
              order such insurance and charge the cost thereof to Truster, which amount shall be payable by
              Truster upon demand. 'Fu ater shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.
               3.      Eunslige.      Beneficiary may noise any right or remedy available under the Note or
               this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the ormunence of an
              event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
               preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
               remedies under this Deed of Th at or under the Note or any other Loan Documents. No act of
              Beneficiary shall be construed as an election to proceed under any particular provision of this
              Deed of 'Dust to the exclusion of any other provision of this Deed of Trust, or as an election of
              remedies to the exclusion of any other remedy that may then or thereafter be available to
              Beneficiary. No delay or failure by Beneficiary to exercise any right or remedy under this Deed
              of Trust shall be construed to be a waiver of that right or remedy or of any defhult by Truster.
              Beneficiary may exercise any one or more of its rights and monodies at its option without regard
              to the adequacy of its security.




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                                                                                                                                      tb
                   4.       Appointment of Receivs.
                         a,      Appointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
                 or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
                 the appointment of a receiver without notice, without regard to the solvency or insolvency of
                 Trustor at the time of application for such receiver, and without regard to the then value of the
                 Property or whether the same shall be then occupied as a homestead or not, and Trustee,
                 Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
                 receiver shall have the power to collect any Rents during the pendency of such fbreclosure suit,
                and also during any Maher times when 'Mater, except fir the intervention of such receiver,
                would be entitled to collect any Rents, and any and all other powers which may be necessary or
                art usual in such cases for the protection, possession, control, management and operation of the
                Property during the whole of said period. The court hem time to time may authorize the receiver
                to apply the net income in its hands, after deducting reasonable compensation for the receiver
               and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
               indebtedness secured hereby, including, without limitation, the tbliowing, in such order of
               application as Trustee or Beneficiary may elect: (I) amounts due upon the Note secured hereby;
               (11) amounts due upon any decree entered in any suit %reclining this Deed of Trust; (iii) costs
               and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
               taxes, special assessments, water charges and interest, penalties and costs in connection with the
               Property; (v) any other lien or charge upon the Property that may be or become superior to the
               lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
               is made prior to threclosuro sale; and (vi) the deficiency in one of a deficiency.

                                 RtiMkiKOSMISILditibteln.
                                     Trustor agrees to promptly reimburse any monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the debt* rate set *nth in the Note. Trustor's obligation to reimburse
              Beneficiary shall be secured by this Deed of Trust.
                             (ii) In the event that Beneficiary advances any monies necessary to preserve
              the smudgy interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay Beneficiary a
              fee in the amount of $15,000. 'Dotes obligation to make such payment shall be secured by this
              Deed of Trust.
                     c.      roggsmionjapplaggLikthusgs, Motor agrees that the receiver or his
              agents shall be entitled to enter upon and take possession of, and operate, manage and control,
              the Property to the same extent and in the same manner as Trustor might lawthily

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                 6.     Conflicts. This Rider shell control in the event of a conflict between the terms hereof and
                 the Deed of Trutt,
                                                                  Crestlloyd, LLC,
                                                                  a California limited liability company


                                                                  By:
                                                                                   •




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                                            A notary public or other officer completing this
                                              certificate verifies only the identity of the
                                          individual who signed the document to which this
                                             certificate is attached, and not truthfillness,
                                               accuracy, or validity of that document.




                 STATE OF CALIFORNIA

                 COUNTY OF LOS ANGELES


                on 0        • tea.f 1b , 2018 before me, Steven H. Zidell, a Notary Public in and for said State,
                personally appeared Nile Nituni, who proved to me on the basis of satisfactory evidence to be the
                pason(s) whose name(s) la/are subscribed to the within instrument and acknowledged to me that
                he/she/they executed the same in his/her/their authorized capacity(ies). and that by his/her/their
                sigttature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
                acted, executed the instrument.
                I certify under PENALTY OF PERJURY under the laws of the State of California that the
                foregoing paragraph is true and correct.
                WITNESS my hand and official seal.


                                  .----
                Signature CArAre-41   rtid 1 2                  (Seal)




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                                                                                                                                      "3
                                             REQUEST FOR FULL RECONVEYANCE
                                             To be used only when note has been paid:

               To f              This], Trustee                                   Dated
                        The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
               Trust. All sums secured by said Deed of Trust have been fully paid and satisfied; and you are hereby
               requested and direoted. on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of Indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
               terms of said Deed of Trust, the estate now held by you under the same.


                                                                        MALL RIXONVEYANCS TO:


              By:
              Name:
              Title:


              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reoonvoyance will be made.




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                                                        EXHIBIT A
                                                  LEGAL DESCRIPTION
                THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN
                THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS
                FOLLOWS:
                PARCEL 1:
               LOTS 1 AND 2 OF TRACT NO, /2727, IN ME CITY OF LOS ANGELES, COUNTY OF
               LOS ANGELES, STATE OP CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 P&GB($) 81
               TO 111 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
               COUNTY.
                EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
                FOLLOWING DESCRIBED LINE:
               BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET
               WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST MI6 FEET
              MOM THE MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS
              ALONG A CURVE CONCAVE WESTERLY, HAVING A RADIUS OF 361.97 FEET AND
              CONCENTRIC WITH THAT CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT 1
              HAVING A RADIUS OP 349.83 FEET; THENCE NORTHERLY 22.69 ner ALONG SAID CURVE
              THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE BEGINNING OP A COMPOUND
              CURVE, CONCAVE SOUTHWESTERLY AND HAVING A RADIUS OF 175.66 FEET; THENCE
              NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 39°
              06' 33"; THENCE NORTH 36° 36' 22" WEST 7,97 FEET TO THE BEGINNING OF A CURVE
              CONCAVE NORTHEASTERLY AND HAVING A RADIUS OP 90.80 FEET; THENCE
              NORTHWESTERLY 71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44°
              55' 04"; THENCE NORTH II° 41' 18" WEST 201.55 FEET TO THE BEGINNING OF A CURVE
              CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90 FEET'; THENCE NORTHERLY 34.44
              FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH
              44° 51' 16" EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA
              ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.
              PARCEL 2:
              THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO.9745. IN THE CITY OP LOS ANGELES,
              COUNTY OP LOS ANGELES, STATE OP CALIFORNIA, AS PER MAP RECORDED IN
              16QES jr4 110 91 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECOVE1
              SAM =TM, LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE:
              BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON
              SOUTH 13' 13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OP THAT CERTAIN
              COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS HAVING A BEARING AND
              LENGTH OF NORTH 13° 13' 20" WEST 106.35 FEET; THENCE NORTH 89° 27 20" WEST 214,07
              FEET, MORE OR LESS, TO A POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT
              SOUTHERLY THEREON 34,93 PEET PROM ME NORTHERLY TERMINUS OF THAT CERTAIN
              CURVE IN SAID WESTERLY LINE HAVING A LENGTH OF 115.83 FEET.
              APN: 4349421-021

             (Property commonly known es: 944 Alrole Wsy, Los Angeles, CA)




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               EXHIBIT J
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                   CHICAGO lira COMPANY
                    COMMERCIAL DIVISION                                                                                    2.
               RECORDING REQUESTED BY
               AND WHEN RECORDED MAIL TO:
               Steven H. Zide11, Esq.
               Wolf, Rifkin, Shapiro, Schulman & Rabic* LLP
               11400 W. Olympic Blvd.,
                                                                              1111.111
               9.1 Floor
               Los Angeles, California 90064.1582

                                  DEED OF TRUST AND ASSIGNMENT OF RENTS

              TITLE ORDER No. 008983368-994-LT2-ED                                      APN ND. 4391-028414
                     This Deed of Trait, made as of October 14_, 2018, between Cresdloyd, LLC, a
              California limited liability company, herein called Trustor, whose address is 8981 West Sunset
              Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called
              Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
              Beneficiary,
                     Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
              IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
              California, described as:
                                      SEE EXHIBIT A ATTACHED HERETO,
                      TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
              right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
              provisions herein to collect and apply such rents, issues and profits.
                      For the Purpose of Securing:
                           1.      Performance of each agreement of Trustor incorporated by reference or
             contained herein;
                           2.      Payment of the indebtedness evidenced by one promissory note of even
             date herewith, and any extension or renewal thereof, in the principal sum of $30,188,235.00
             executed by Trustor in divot of Beneficiary or mkt;
                          3.   Payment of such Mhos sums as the then record owner of said property
             may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
             accrued; and
                            4.     Payment of any figure advances by Beneficiary regardless of whether such
             advances were contemplated by the parties at the time of the granting of this Deed of Trust,
             whether or not such Arturo advances are evidenced by any document, or whether or not any such
             document specifies that it is secured hereby.




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                        To Protect the Security of This Deed of Trust, Truster Agrees:
                      (1)     To keep said property in good condition and repair, not to remove or demolish
              any building thereon, to complete or restore promptly and in good and workmanlike manner any
              building which may be constructed, damaged or destroyed thereon and to pay when due all
              claims for labor performed and materials flunished therefor, to comply with all laws affecting
              said property or requiring any alterations or improvements to be made thereon, not to commit
              permit waste thereo4 not to commit, suffer or permit any act upon said property in violation of
              law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
              or use of said property may be reasonably necessary, the specific enumerations herein not
              excluding the general.
                      (2) To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
              thereof may be released to Truster. Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3)     To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                    (4) To pay at least 10 days before delinquency all taxes and assessments affecting
             said property, including assessments on appurtenant water stock, and to pay when due, all
             encumbrances, charges and liens, with interest, on said property or any part thereof; which
             appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Truster fail to make any payment or to do any act as herein provided, then Beneficiary or
             Motes, but without obligation so to do and without nodes to or demand upon Truster and
             without releasing Truster Atom any obligation hereof; may make or do the same in such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property for such purposes; appear in and defend any
             action or proceeding purporting to affect the security hereof or the risks or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
             which in the judgment of either appears to be prior or superior hereto, and in exercising any such
             poems, pay necessary expenses, employ counsel and pay his reasonable fees.
                     (5) To pay immediately and without demand all sums so expended by Beneficiary or
             Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
             hereof; and to pay for any statement provided for by law in effect at the date hereof regarding the
             obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
             allowed by law at the time when said statement is demanded.




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                      (6)     That any award of damages in connection with any condemnation for public use
               of or injury to said property or any part thereof is hereby assigned and shall be paid to
               Beneficiary who may apply or release such moneys received by him in the same manner and
               with the same effect as above provided for disposition of proceeds of fire or other insurance.
                     (7)    That by accepting payment of any sum secured hereby after its due date,
              Beneficiary does not waive his rights either to require prompt payment when due of all other
              sums so secured or to declare default for failure so to pay.
                      (8)   That at any time or from time to time, without liability therefor and without
              notice, upon written request of Beneficiary and presentation of this Deed and said note fax
              endorsement, and without affecting the personal liability of any person fbr payment of the
              indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
              making of any map or plot thereof join in ranting any easement thereon; or join in any
              extension agreement or any agreement subordinating the lien or charge hereof.
                      (9)    That upon written request of Beneficiary state that all sums secured hereby have
              been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
              retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
              then held hereunder. The recitals in such rcconveyance of any matters or facts shall be
              conclusive proof of the truthfulness thereof The grantee in such rceonveyance may be described
              as "lite person or persons legally entitled thereto." Five years after issuance of such 11111
              reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
              retain them).
                     (10) That as additional security, Tmstor hereby gives to and conks upon Beneficiary
             the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
             and profits of said property, reserving unto Truster the right, upon any ddault by Truator in
             payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
             collect and retain such rents, issues and profits as they become due and payable. Upon any such
             default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
             to be appointed by a court, and without regard to the adequacy of any security for the
             indebtedness hereby secured, enter upon and take possession of said property cc any part thereof
             in his own name sue for cc otherwise collect such rents, issues and profits, including those past
             due and unpaid, and apply the same, less costs and expenses of operation and collection,
             including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
             as Beneficiary may determine. The entering upon and taking possession of said property, the
             collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
             or waive any default or notice of default hereunder or invalidate any act done pursuant to such
             notice.
                     (11) That upon default by Truster in payment of any indebtedness secured hereby or in
             perfbrmance of any agreement hereunder. Beneficiary may declare all sums secured hereby
             immediately due and payable by delivery to Trustee of written declaration of defitult and demand
             for sale and of written notice of delimit and of election to cause to be sold said property which
             notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
             Deed, said note and all documents evidencing expenditures secured hereby.


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              After the lapse of such time as may then be required by law following the recordation of said
              notice of default, and notice of sale having been given as then required by law, Trustee, without
              demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
              either as a whole or in separate parcels, and in such order as it may determine, at public auction
              to the highest bidder for cash in !swill' money of the United States, payable at time of sale.
              Trustee may postpone sale of all or any portion of said property by public announcement at such
              time and place of sale, and from time to time thereafter may postpone such sale by public
              announcement at the time fixed by the preceding postponement Trustee shall deliver to such
              purchaser its deed conveying the property so sold, but without any covenant or warranty, express
              or Implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
              truthiWness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
              defined, may purchase at such sale.
              After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
              evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
              all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
              allowed by law in effect at the date hereof, all other sums then secured hereby, and the
              remainder, if any, to the person or persons legally entitled thereto.
                        (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
              may from time to time, by instrument in writing, substitute a successor or successors to any
              Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
              duly acknowledged and recorded in the office of the recorder of the county or counties where
              said poverty is situated, shall be conclusive proof of proper substitution of such successor
              Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
              its title, estate, rights, powers and duties. Said instrument must contain the name of the original
              Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
              the name and address of the new Trustee.
                      (13) That this Deed applies to, inures to the benefit of; and binds all parties hereto,
              their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
              Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
              whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
              masculine gender includes the femhine and/or neuter, and the singular number includes the
              plural.
                     (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
              pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
              Beneficiary or Trustee shall be a party unless brought by Mute..
                    The undersigned Treater requests that           of any Notice of Default and of any
              Nodes of Sale hereunder be mailed to him at his address bereinbefore set forth.
                              SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                       IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above written.
                                                         Crestiloyd, LLC,
                                                         a California limited liability company

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                                                       RIDER TO DEED OF TRUST
                   1.      Bue on Sale and Encumbrance. The Note which is secured by this Deed of Trust contains
                   the following "due on sale" and "due on encumbrance" clauses:
                                      "Borrower acknowledges and agrees that the creditworthiness and expertise
                             of Borrower or Trustor in owning, developing and operating the Property is the
                              basis upon which holder has determined that it is protected against impairment of
                             the security and risk of default and thereby has agreed to lend undersigned the
                             principal sum set forth above. In order to insure the continued creditworthiness
                             and expertise of the owner of the Property and in order to allow the holder of this
                             Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                             and subsequent owners of the Property, that the Property shall not be sold, agreed
                             to be sold, conveyed, transferred, assigned, disposed of, or further encumbered,
                             whether voluntarily, involuntarily, by operation of law or otherwise, without the
                             written consent of the holder hereof being first obtained, which consent may be
                             withheld in holder's sole and absolute discretion. Any transaction in violation of
                             the above restrictions shall cause the then outstanding principal balance and
                             interest thereon and other sums secured by the Deeds of Trust, at the option of said
                            holder, to immediately become due and payable. If Borrower is a corporation,
                            limited liability company or trust, the sale, conveyance, transfer or disposition,
                            whether voluntary or involuntary, of 25% or more of the issued and outstanding
                            common stook or membership interests of Borrower or Truster, or of the beneficial
                            interest of such trust, or, in the event Borrower or Trustor is a limited or general
                            partnership or a joint venture, a change of any general partner or any joint
                            venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                            disposition, or encumbrance of any such general partnership or joint venture
                            Interest shall be deemed to be a transfer of an interest in the Property for purposes
                            of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                            the sale of the Londonderry Property, the Be llagio Property, the Carcassonne
                            Property or the Stone Ridge Property the amounts set forth in Section 1(b) above
                            shall be payable.
                            Borrower agrees, for itself and subsequent owners of the Property, that in the
                            event that the improvements on the Property are altered or demolished without the
                            written consent of the holder hereof being first obtained, which consent may be
                            withheld in holder's sole and absolute discretion then outstanding principal
                            balance and interest thereon and other sums secured by said Deeds of Trust, at the
                            option of said holder, shall immediately become duo and payable, in whole or in
                            part, as the holder so determines."

                 2.         Imam
                        a.      LiabilityImam Trutt* shall, at Trustor's sole expense, obtain and keep in
                 throe during the term of this Deed of Trust a policy of combined single limit, bodily injury and
                 property damage insurance insuring Beneficiary and Truster against any liability arising out of
                 the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is


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               an encumbrance (the "Nesse) and all areas appurtenant thereto. Such insurance shall be a
               combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
               said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
               designated as an additional insured under the liability insurance required under this Deed of
               Trust.
                        b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
               Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
               amount of the full replacement value thereof; as the same may exist from time to time, as
               determined by Beneficiary against all perils included within the classification of fire, extended
               coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
               used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
               Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
               provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
               and maintain said insurance the Beneficiary may, but shall not be required to, procure and
               maintain the same, but at the expense of Motor. If such insurance coverage has a deductible
               clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
               liable for such deductible amount.
                      c,     insurance Policies. Insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, Vas set forth in the most current issue of "Best's
              Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2, No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Trustee shall, at least 30 days prior to the expiration
              of such policies, ibmish Beneficiary with renewals or "binders" thereof; or Beneficiary may
              order such insurance and charge the cost thereof to Trustor, which amount shell be payable by
              Trustor upon demand. Trustee shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.
              3.      limas&          Beneficiary may exercise any right or remedy available under the Note or
              this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the occurrence of an
              event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
              preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
              remedies under this Deed of Trust or under the Note or any other Loan Doom s. No act of
              Beneficiary shall be construed as an election to proceed under any particular provision of this
              Deed of Trust to the exclusion of any other provision of this Deed of Time, or as an election of
              remedies to the exclusion of any other remedy that may then or thereafter be available to
              Beneficiary. No delay or failure by Beneficiary to exercise any sight or remedy under this Deed
              of Trust shall be construed to be a waiver of that right or remedy or of any default by Truster.
              Beneficiary may exercise any one or more of its rights and remedies at its option without regard
              to the adequacy of its security.




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               4.          Appointment of Receiver.
                       a.      Appointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
               or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
               the appointment of a receiver without notice, without regard to the solvency or insolvency of
               ?rotor at the time of application for such receiver, and without regard to the then value of the
               Property or whether the same shall be then occupied as a homestead or not, and Trustee,
               Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
               receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
              and also during any further times when Truster, except for the intervention of such receiver,
               would be entitled to collect any Rents, and any and all other powers which may be necessary or
              are usual in such cases for the protection, possession, control, management and operation of the
              Property during the whole of said period. The court font time to time may authorize the receiver
              to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the following, in such order of
              application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby;
              (ii) amounts duo upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
              and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs in connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              pen of this Deed of Trust, or of any decree foreclosing the same, provided that such application
              is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                          b. ,   Baimbunansitattisbawas
                             (i)     Truster agrees to promptly reimburse any monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default rate set forth in the Note. Trustees obligation to reimburse
              Beneficiary shall be secured by this Deed of Thug.
                              (ii) In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Truster agrees to pay Beneficiary a
              fee in the amount of $5,000. Trustees obligation to make such payment shall be secured by this
              Deed of Trust.
                     c.      pgsguigiugtangtipagthmedjgg. Truster agrees that the receiver or his
              agents shall be entitled to enter upon and take possession of, and operate, manage and control,
              the Property to the same extent and in the same manner as 'fluster might lawfidly do.




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I                                                                                                                                          to
                   6.     Conflicts. This Rider shall control in the event of a conflict between the tens hereof and
                   the Deed of mist.
                                                                    Crestlloyd, LLC,
                                                                    a California limited liability company


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                                         A notary public or other of        completing this
                                            certificate verifies only the identity ofthe
                                        individual who signed the document to which this
                                           certificate is attached, and not truthfulness,
                                              accuracy, or validity ofthat document.



               STATE OF CALIFORNIA
                                                           )
               COUNTY OF LOS ANGELES

               On 004344r VD , 2018 before me, Steven H. Zidell, a Notary Public in and for said State,
               personally appeared Nile Niami, who proved to me on the basis of satisfactory evidence to be the
               person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
               he/she/they executed the same in his/her/their authorized capacity(ies), and that by ids/lux/their
               signatute(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
               acted, executed the instrumert.
              I certify under PENALTY OF PERJURY under the laws of the State of California that the
              foregoing paragraph is true and correct.
              WITNESS my hand and official seal.


              Signature                      7 -'
                                               VrACIZ (Seal)




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                                                                                                                                      i2
                                            REQUEST FOR FULL RICCONVEYANCE
                                             To be used only when note has been paid:

               To f              Tide), Trustee                                   Dated
                        The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
               Trust. All sums secured by said Deed of Trust have been fidly paid and satisfied; and you are hereby
               requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without womanly, to the parties designated by the
               terms of said Deed of Trust, the estate now held by you under the same.


                                                                        MAIL RECONVEYANCE TO:


               BY:
               Name:
               Tide:


              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyance will be made.




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                                                                                                                                15
                                                          EXHIBIT A

                                                    LEGAL DESCRIPTION

               THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF BEVERLY HILLS,
               IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS
               FOLLOWS:
               LOT 95 OF TRACT NO. 2136Q, IN THE CITY OF BEVERLY HILLS, COUNTY OF LOS ANGELES,
               STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 587, PAGES 59 TO 63 INCLUSIVE
               QEMES, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

               APN: 439142S-014
               (Property commonly known as 1175 North HiIlcrest Road, Beverly Hills, CA)




              32517242



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                   CHICAGO TITLE COMPANY
                    COMMERCIAL DIVISION                                                                                    -
                                                                                                                           7

               RECORDING REQUESTED BY
               AND WHEN RECORDED MAIL TO:
               Steven H. Zidell, Esq.
               Wo14 Rifkin, Shapiro, Schulman & Rabid% LLP
               11400 W. Olympic Blvd.,                                                 VINS10687118*
               9th Floor
               Los Angeles, California 90064-1382

                                   DEED OF TRUST AND ASSIGNMENT OF RENTS

               Tau Otton No. 010983741494-LT24CD                                        APN Na 4362403444
                      This Deed of Trust, made as of October 113_, 2018, between 10101 Bellagio Road,
              LLC, a California limited liability company, herein called Trustor, whose address is 8981 West
              Sunset Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company,
              herein called Trustee, and YOGI Securities Holdings, LW, a Nevada limited liability company,
              herein called Beneficiary,
                     Motor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
              IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
              California, described as:
                                       SEE EXHIBIT A ATTACHED HERETO,
                      TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
              right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
              previsions herein to collect and apply such rents, issues and profits.
                       For the Purpose of Securing:
                            1.      Performance of each agreement of Trustor incorporated by reference or
              contained herein;
                            2.     Payment of the indebtedness evidenced by one promissory note of even
              date herewith, and any extension or renewal thereof, in the principal sum of $30,188,235.00
              executed by Motor in fitvor of Beneficiary or order;
                          3.    Payment of such fiuther sums as the then record owner of said property
             may borrow front Beneficiary, when evidenced by another note (or notes) reciting it is so
             secured; and
                            4.     Payment of any figure advances by Beneficiary regardless of whether such
             advances were contemplated by the parties at the time of the granting of this Deed of Trust,
             whether or not such future advances are evidenced by any document or whether or not any such
             document specifies that it is secured hereby.




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                         To Protect the Security of This Deed of Trust, Truster Agrees:
                      (I) To keep said property in good condition and repair, not to remove or demolish
              any building thereon, to complete or restore promptly and in good and workmanlike manner any
              building which may be constructed, damaged or destroyed thereon and to pay when due all
              claims for labor performed and materials Vanished therefor, to comply with all laws affecting
              said property or requiring any alterations or improvements to be made thereon, not to commit or
              permit waste thereo& not to commit, suffer or permit any act upon said property in violation of
              law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
              or use of said property may be reasonably necessary, the specific enumerations herein not
              excluding the general.
                      (2) To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
              thereof may be released to Traitor. Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3) To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                     (4) To pay at least 10 days before delinquency all taxes and assessments affecting
              said property, including assessments on appurtenant water stock, and to pay when due, all
              encumbrances, charges and liens, with interest, on said property or any part thereof, which
              appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Tauter fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Theta and
             without releasing Trustor front any obligation hereof; may make or do the same in such manner
             and to such extent as either may dean necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property fbr such purposes; appear in and defend any
             action or proceeding purporting to sad the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
             which in the judgment of either appears to be prior or superior hereto, and in exercising any such
             powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                     (5) To pay immediately and without demand all sums so expended by Beneficiary or
             Trustee, with interest from date of expenditure at the amount allowed by law in afflict at the date
             hereof; and to pay foram:lament provided for by law in effect at the date hereof regarding the
             obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
             allowed by law at the time when said statement is demanded.




             3213289.1                                         2


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                     (6)    That any award of damages in connection with any condemnation for public use
              of or injury to said property or any part thereof is hereby assigned and shall be paid to
              Beneficiary who may apply or release such moneys received by him in the same manner and
              with the same effect as above provided for disposition of proceeds of fire or other insurance.
                     (7)    That by accepting payment of any sum secured hereby after its due date,
              Beneficiary does not waive his rights either to require prompt payment when due of all other
              sums so secured or to declare default for failure so to pay.
                      (8)   That at any time or from time to time, without liability therefor and without
              notice, upon written request of Beneficiary and presentation of this Deed and said note for
              endorsement, and without affecting the personal liability of any person for payment of the
              indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
              making of any map or plot thereof; join in granting any easement thereon; or join in any
              extension agreement or any agreement subordinating the lien or charge hereof.
                       (9)   That upon written request of Beneficiary state that all sums secured hereby have
              been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
              retention and upon payment of its fees, Trustee shall rummy, without warranty, the property
              then held hereunder, The recitals in such reconveyance of any matters or facts shall be
              conclusive proof of the truthfidness thereof. The grantee in such reoonveyance may be described
              as "'The person or persons legally entitled thereto." Five years after issuance of such find
              reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
              retain them).
                     (10) That as additional security, Trustor hereby gives to and confers upon Beneficiary
             the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
             and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
             payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
             collect and retain such rents, issues and profits as they become due and payable. Upon any such
             default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
             to be appointed by a court, and without regard to the adequacy of any security fbr the
             indebtedness hereby secured, ester upon and take possession of said property or any part thereof,
             in his own name sue for or otherwise collect such rents, issues and profits, including those past
             due and unpaid, and apply the same, less costs and expenses of operation and collection,
             including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
             as Beneficiary may determine. The entering upon and taking possession of said property, the
             collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
             or waive any default or notice of default hereunder or invalidate any act done pursuant to such
             notice.
                     (11) That upon default by Trustor in payment of any indebtedness secured hereby or in
             performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
             immediately due and payable by delivery to Trustee of written declaration of defkult and demand
             for sale and of written notice of default and of election to cause to be sold said property which
             notice nustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
             Deed, said note and all documents evidencing expenditures secured hereby.


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              After the lapse of such time as may then be required by law following the recordation of said
              notice of default, and notice of sale having been given as then required by law, Trustee, without
              demand on Tmstor, shall sell said property at the time and place fixed by it in said notice of sale,
              either as a whole or in separate parcels, and in such order as it may determine, at public auction
              to the highest bidder for cash in lawild money of the United States, payable at time of sale.
              Trustee may postpone sale of all or any portion of said property by public announcement at such
              time and place of sale, and from time to time thereafter may postpone such sale by public
              announcement at the time fixed by the preceding postponement Trustee shall deliver to such
              purchaser its deed conveying the property so sold, but without any covenant or warranty, express
              or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
              truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
              defined, may purchase at such sale.
              After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
              evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
              all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
              allowed by law in effect at the date hereof, all other sums then secured hereby, and the
              remainder, if any, to the person or persons legally entitled thereto.
                       (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
             may from time to time, by instrument in writing, substitute a successor or successors to any
             Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
             duly acknowledged and recorded in the office of the recorder of the county or counties where
             said property is situated, shall be conclusive proof of proper substitution of such successor
             Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
             its title, estate, rights, powers and duties. Said instrument must contain the name of the original
             Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
             the name and address of the new Trustee.
                     (13) That this Deed applies to, hues to the benefit of, and binds all parties hereto,
             their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
             Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
             whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
             masculine gender includes the feminine and/or neuter, and the singular number includes the
             plural.
                    (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
             is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
             pending sale under any other Deed of Trust cc of any action or proceeding in which Truster,
             Beneficiary or Trustee shall be a party unless brought by Trustee.
                   The undersigned Truster requests that a copy of any Notice of Default and of any
             Nodes of Sale hereunder be maenad to bloa at his address bersimbefere set torte.
                             SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                       IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above written.
                                                          10701 Bellagio Road, LLC,
                                                          a California limited liability company



                                                                        ' Manager




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                                                                                                                                   7
                                                  RIDER TO DEED OF TRUST
              1.      Due on Sale and Encumbrapices. The Note which is secured by this Deed of Trust contains
              the following "due on sale" and "duo on encumbrance" clauses:
                                "Borrower acknowledges and agrees that the creditworthiness and expertise
                        of Borrower or Trustor in owning, developing and operating the Property is the
                        basis upon which holder has determined that it is protected against impainnent of
                        the security and risk of default and thereby has agreed to lend undersigned the
                        principal awn set forth above. In order to insure the continued creditworthiness
                        and expertise of the owner of the Property and in order to allow the holder of this
                        Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                       and subsequent owners of the Property, that the Property shall not be sold, agreed
                       to be sold, conveyed, transferred, assigned, disposed of, or Anther encumbered,
                       whether voluntarily, involuntarily, by operation of law or otherwise, without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion. Any transaction in violation of
                       the above restrictions shall cause the then outstanding principal balance and
                       interest thereon and other sums secured by the Deeds of Trust, at the option of said
                       holder, to immediately become due and payable. If Borrower is a corporation,
                       limited liability company or trust, the sale, conveyance, transfer or disposition,
                       whether voluntary or involuntary, of 25% or more of the issued and outstanding
                       common stock or membership interests of Borrower or Duna., or of the beneficial
                       interest of such trust, or, in the event Borrower or Dustor is a limited or general
                       partnership or a joint venture, a change of any general partner or any joint
                       venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                       disposition, or encumbrance of any such general partner hip or John venture
                       interest shall be deemed to be a transfer of an interest in the Property for purposes
                       of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                       the sale of the Londonderry Property, the Beliaglo Property, the Carcassonne
                       Property or the Stone Ridge Property the amounts set forth in Section 1(b) above
                       shall be payable.
                       Borrower agrees, for itself and subsequent owners of the Property, that in the
                       event that the improvements on the Property are altered or demolished without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion then outstanding principal
                       balance and interest thereon and other sums secured by said Deeds of Trust, at the
                       option of said holder, shall immediately become duo and payable, in whole or in
                       part, as the holder so downtime."

             2.       1111111111M
                    a.      Ljakjjjty Insurance. Truster shall, at Trustoes sole expense, obtain and keep in
             force during the term of this Deed of Trust a policy of combined single limit, bodily injury and
             property (Image insurance insuring Beneficiary and Thrstor against any liability arising out of
             the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is


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              an encumbrance (the "Properly") and all areas appurtenant thereto. Such insurance shall be a
              combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
              said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
              designated as an additional insured under the liability insurance required under this Deed of
              Trust.
                       b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the full replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Truster shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount,
                     a.     Insurance Policies. Insurance required hereunder shall be in companies holding a
             "General Policyholders Rating" of at least A-, Vas set forth in the most current issue of "Best's
             Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
             insurance or certificates evidencing the existence and amounts of such insurance with additional
             insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
             shall be cancelable or subject to reduction of coverage or other modification except after
             30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the expiration
             of such policies, Aguish Beneficiary with renewals or "binders" thereof or Beneficiary may
             order such insurance and charge the cost thereof to Motor, which amount shall be payable by
             Trustor upon demand. Trustor shall not do or permit to be done anything which shall invalidate
             the insurance policies referred to in this Paragraph 2.
             3.      Banda           Beneficiary may exercise any deg or remedy available under the Note or
             lids Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the occurrence of an
             event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
             preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
             remedies under this Deed of Trust or under the Note or any other Loan Documents. No act of
             Beneficiary shall be construed as an election to proceed under any particular provision of this
             Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
             remedies to the exclusion of any other remedy that may then or thereafter be available to
             Beneficiary. No delay or failure by Beneficiary to exercise any right or remedy under this Deed
             of Trwg shall be construed to be a waiver of that right or remedy or of any default by Truster.
             Beneficiary may exercise any one or more of its rights and remedies at its option without regard
             to the adequacy of its security.




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               4.       Antpintment of Receiver.
                       a.     Annointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
               or pert of the Property, or upon any event of defitult, Trustee or Beneficiary shall be entitled to
               the appointment of a receiver without notice, without regard to the solvency or insolvency of
               Trustor at the dme of application for such receiver, and without regard to the then value of the
              Property or whether the same shall be then occupied as a homestead or not, and Trustee,
               Beneficiary hereunder or any holder of the Note may be appointed as such receiver, Such
              receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
              and also during any Anther times when Trustor, except for the intervention of such receiver,
              would be entitled to collect any Rents, and any and all other powers which may be necessary or
              are usual in such cases for the protection, possession, control, management and operation of the
              Property during the whole of said period. The court ftom time to time may authorize the receiver
              to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the following, in such order of
              application as Trustee or Beneficiary may elect: (i) amounts due tqxm the Note secured hereby;
              (11) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
              and expenses of foreclosure and litigation upon the Property, (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs In connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              Hen of this Deed of Trust, or of any decree fbreclosing the same, provided that such application
              is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.

                       b.     BrilliHOSIDIRLdaifi12111M
                             (i)     Truster agrees to promptly reimburse any monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default rate set forth in the Note. Trustor's obligation to reimburse
              Beneficiary shall be secured by this Deed of Trust.
                              (ii) In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Motor agrees to pey Beneficiary a
              fee in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
              Deed of Trust.
                    c.      possession and Operation of Properties. Motor agrees that the receiver or his
             agents shall be entitled to enter upon and take possession of, and operate, manage and control,
             the Property to the same extent and in the same manner as Trustor might lawIldly do.
                       5.    Waiyer by Mutat of Riaht to Require Beneficiary to Proceed Directly Aggigg
             Bannst.
                             5,1    Trustor waives all of the ibllowhtg:




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                                                                                                                                   to
                                   a.        Tnistoes rights of subrogation, reimbursement, indemnification, and
               contribution and any other rights and defenses that are or may become available to a guarantor or
               other surety by reason of Sections 2787 to 2855, inclusive of the California Civil Code, including
               but not limited to any right 'Motor may otherwise have to require Beneficiary to proceed directly
               against Borrower prior to seeking recovery against Property encumbered hereby.

                                 b.        Any rights or defenses Truster may have in respect of his or her
              obligations as a guarantor or other surety by reason of any election of remedies by the creditor.

                                  c.         Any rights or defenses Trustor may have because the principal's
              note or other obligation is secured by real property or an estate for years. These rights or
              defenses Include, but are not limited to, any rights or defenses that are based upon, directly or
              indirectly, the application of Section 580a, 580b, 580d, or 726 of the Code of Civil Procedure to
              the principal's note or other obligation.
                                 5.2        Trustor waives all rights and defenses that Tnutor may have
              because the debtor's debt is secured by real property. This means, among other things:

                                a.        Beneficiary may collect from Trustor without first foreclosing on
              any mal or personal property collateral pledged by the debtor.
                                 b.        If Beneficiary forecloses on any real property collateral pledged by
              the debtor:

                                            (I)       The amount of the debt may be reduced only by the price
              for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
              the sale price.

                                           (ii)    Beneficiary may collect fiom Trustor even if the
              Beneficiary, by foreclosing on the real property collateral, has destroyed any right Trustor may
              have to collect 'tom the debtor.

                        This is en unconditional and irrevocable waiver of any rights and defenses Trustor may
              have because the debtors debt is secured by real property. These rights and defenses include, but
              are not limited to, any rights or defenses based upon Section 580a, 580b, 580d, or 726 of the
              Code of Civil Procedure.

                             5.3 Truster waives all rights and defenses arising out of an election of
              remedies by Beneficiary, even though that election of remedies, such as a non judicial foreclosure
              with respect to security for a guaranteed obligation, has destroyed Trustoes rights of subrogation
              and reimbursement against the principal by the operation of Section 580d of the Code of Civil
              Procedure or otherwise.




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                                                                                                                                 11

               6.     Cam. This Rider shall control in the event of a conflict between the terms hereof and
               the Deed of Trust.
                                                              10701 Bellaglo Road, LLC,
                                                              a California limited liability company




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                                        A notary public or other officer completing this
                                           certificate verifies only the identity of the
                                       individual who signed the document to which this
                                          certificate is attached, and not tenthfidness,
                                            accuracy, or validity of that document.



               STATE OF CALIFORNIA                        )
                                                          )
               COUNTY OF LOS ANGELES

              On     OC.V•Ate  in 1 t , 2018 before me, Steven H. Zidell, a Notary Public in and for said State,
              personally appeared Nile Niami, who proved to me on the basis of satisfactory evidence to be the
              person(s) whose names) Ware subscribed to the within instrument and acknowledged to me that
              he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
              signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
              acted, executed the instrtunent.
              I certify under PENALTY OF PERJURY under the laws of the State of California that the
              foregoing paragraph is true and correct.
               WITNESS my hand and official seal.


              Signature _ScgWA*e./t.-A               dg2)(Seal)




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                                                                                                                                     13
                                            REQUEST FORFULL RECONVEYANCE
                                             To be used only when note has been paid:

               To                Title], Trustee                                  Dated

                       The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
               Trust. All sums secured by said Deed of Trust have been hilly paid and satisfied; and you are hereby
               requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without womanly, to the parties designated by the
               tarns of said Deed of Trust, the estate now held by you under the same.


                                                                        MAIL RECONVEYANCE TO:


              By:
              Name:
              Tide:


              Do not lose or destroy this Deed of Tilsit OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyance will be made.




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                                                        EXHIBIT A

                                                  LEGAL DESCRIPTION
               THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN
               THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS
               FOLLOWS:
               THAT PORTION OF LOTS 9 AND 10 IN BLOCK 6 OF TRACT NO. 7616, IN THE CITY OF LOS
               ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
               ROOK.     PAGES 70 TO 7C INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
                      ER OF SAID COUNTY DESCRIBED AS FOLLOWS:
               PARCEL 1 AS DESCRIBED IN THE CERTIFICATE OF COMPLIANCE RECORDED MAY 9, 2012
               AS INSTRUMENT NUMBER 2012-696733, OF OFFICIAL RECORDS IN THE RECORDER'S
               OFFICE OF THE COUNTY LOS ANGELES, STATE OF CALIFORNIA
               EXCEPTING THAT PORTION LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE
              BEGINNING AT A POINT IN THE SOUTHWESTERLY LINE OF SAID PARCEL 1, DISTANT
              SOUTH 40° 49' 30" EAST 126.00 FEET FROM THE WESTERLY MOST CORNER OF PARCEL 1;
              SAID CORNER BEING ALSO THE WESTERLY MOST CORNER OF LOT 9 IN BLOCK 6 OF
                               IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
              CALIFO       RECORDED IN BOOK 119 PAGES, 70 TQ 76, INCLUSIVE OF MAPS, IN THE
              OFFICE OF      COUNTY RECORDER OF SAID COUNTY; THENCE NORTH 61° 16' 30" EAST
              358.35 FEET TO A POINT IN THE WESTERLY RIGHT OF WAY OF CARCASSONNE ROAD,
              SAID POINT BEING DISTANT 103.50 FEET SOUTHERLY, ALONG SAID RIGHT OF WAY,
              FROM THE INTERSECTION WITH THE EASTERLY PROLONGATION OF THE
              NORTHWESTERLY LINE OF PARCEL 1, HAVING A BEARING OF NORTH 64° 12' 12° EAST.
              SAID LAND IS ALSO SHOWN AS PARCEL 2 IN THE CERTIFICATE OF COMPLIANCE FOR
              LOT LINE ADJUSTMENT RECORDED SEPTEMBER 24, 2015 AS INSTRUMENT NO.
              30151182272, OF OFFICIAL RECORDS.

              APN: 43624/3444
              (Property commonly known u:10701 Bellsgio Road, Los Angeles, CA)




              3212139.1



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                   CHICAGO tau COMPANY
                    COMMERCIAL DIVISION

               RECORDING REQUESTED BY
               AND WHEN RECORDED MAIL TO:
               Steven H. Zidell, Esq.
               Wolf, Rificht, Shapiro, Schulman fit Rabldn, LLP
               11400 W. Olympic Blvd.,
               9* Floor                                                                •2118116675•
               Los Angeles, California 90064-1582

                                   DEED OF TRUST AND ASSIGNMENT OF RENTS

               TITLE ORDER Na 00098371-994-LT2-ED                                        APN No. 4362483443
                       This Deed of Trust, made as of October. IL 2018, between Carcassonne Fine Homes,
               LLC, a California limited liability company, herein called Trustor, whose address is 8981 West
               Sunset Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company,
               herein called Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company,
               herein Gaited Beneficiary,
                     Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
              IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
              Califbmia, described as:
                                        SEE EXHIBIT A ATTACHED HERETO,
                      TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
              right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
              provisions herein to collect and apply such rents, issues and profits.
                       For the Purpose of Securing:
                            1.      Performance of each agreement of Trustor Incorporated by reference or
              contained herein;
                            2.      Payment of the indebtedness evidenced by one promissory note of even
              date herewith, and any extension or renewal therm& in the principal sum of $30,188,23100
              executed by Trustor in favor of Beneficiary or order;
                           3.    Payment of such flirther sums as the then record owner of said property
              may borrow fiver Beneficiary, when evidenced by another note (or notes) reciting it is so
              secured; and
                             4.     Payment of any fare advances by Beneficiary regardless of whether such
              advances were contemplated by the parties at the time of the granting of this Deed of Trust,
              whether or not such future advances are evidenced by any document, or whether or not any such
              document specifies that it is secured hereby.




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                                                                                                                                   3
                         To Protect the Security of This Deed of Trust, Traitor Agrees:
                       (1) To keep said property in good condition and repair, not to remove or demolish
               any building thereon, to complete or restore promptly and in good and workmanlike manner any
               building which may be constructed, damaged or destroyed thereon and to pay when due all
               claims for labor performed and materials finished therefor, to comply with all laws affecting
               said property or requiring any alterations or improvements to be made thereon, not to commit or
               permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
               law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
               or use of said property may be reasonably necessary, the specific enumerations herein not
               excluding the general.
                      (2) To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
              thereof may be released to Trustor. Such application or release shall not cure or waive any
              default cc notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3) To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including coat of evidence of title and attorneys' fees in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                     (4) To pay at least 10 days bekrre delinquency all taxes and assessments affecting
              said property, including assessments on appurtenant water stock, and to pay when due. all
              encumbrances, charges and liens, with interest, on said property or any part thereat which
              appear to be prior or superior hereto, all costs, fees and expenses of this 'Nut
              Should Trustee fail to make any payment or to do any act as herein provided, then Beneficiary or
              Trustee, but without obligation so to do and without notice to or demand upon Trustor and
              without releasing Trustor ftom any obligation hereof, may make or do the same in such manner
              and to such extent as either may deem necessary to protect the security hereof Beneficiary or
              Trustee being authorized to enter upon said property for such purposes; appear in and deihnd any
              action or proceeding purporting to *act the security hereof or the rights or powers of
              Beneficiary or Trustee, pay, preheat, contest or compromise any encumbrance, charge or lien
              which in the judgment of either appears to be prior or superior hereto, and hr exercising any such
              powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                      (5) To pay immediately and without demand all sums so expended by Beneficiary or
              Trustee, wkh interest nom date of expenditure at the amount allowed by law in effect at the date
              hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
              obligation secured hereby any amours demanded by the Beneficiary not to mooed the maximum
              allowed by law at the time when said statement is demanded.




             3211291.1                                          2



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                      (6) That any award of damages in connection with any condemnation for public use
               of or injury to said property or any part thereof is hereby assigned and shall be paid to
               Beneficiary who may apply or release such moneys received by him in the same manner and
               with the same effect as above provided for disposition of proceeds of fire or other insurance.
                      (7)    That by accepting payment of any sum secured hereby after its due date,
               Beneficiary does not waive his rights either to require prompt payment when due of all other
               sums so secured or to declare default for failure so to pay.
                       (8) That at any time or from time to time, without liability therefor and without
               notice, upon written request of Beneficiary and presentation of this Deed and said note for
               endorsement, and without affecting the personal liability of any person for payment of the
               indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
               making of any map or plot thereof; join in granting any easement thereon; or join in any
               extension agreement or any agreement subordinating the lien or charge hereof
                      (9)    That upon written request of Beneficiary state that all sums secured hereby have
              been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
              retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
              then held hereunder. The recitals in such reconveyance of any matters or facts shall be
              conclusive proof of the truthfirlmes thereof. The grantee in such rec.onveyance may be described
              as "The person or persons legally entitled thereto." Five years after issuance of such tall
              recomwance, Trustee may destroy said note and this Deed (unless directed in such request to
              retain them).
                      (10) That as additional security, Trustor hereby gives to and confess upon Beneficiary
              the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
              and profits of said property, reserving unto Trustor the right, upon any defituk by Trusts), in
              payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
              collect and retain such rents, issues and profits as they become due and payable. Upon/mends
              default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
              to be appointed by a court, and without regard to the adequacy of any security for the
              indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
              in his own name sue fix or otherwise collect such rents, issues and profits, including those past
              due and unpaid, and apply the same, less costs and expenses of operation and collection,
              including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
              as Beneficiary may determine. The entering upon and taking possession of said property, the
              collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
              or waive any default or nodce of default hereunder or invalidate any act done pursuant to such
              notion
                      (11) That upon default by Trustor in payment of any indebtedness secured hereby or in
              performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
              immediately due and payabloby delivery to Trustee of written declaration of de findt and demand
              fbr sale and of written notice of delimit and of election to cause to be sold said property which
              notice Trustee shell cause to be filed for record. Beneficiary also shall deposit with Trustee this
              Deed, said note and all documents evidencing expenditures secured hereby.


             320291.1                                          3


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               After the lapse of such time as may then be required by law following the recordation of said
               notice of default, and notice of sale having been given as then required by law, Trustee, without
               demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
               either as a whole or in separate parcels, and in such order as it may determine, at public auction
               to the highest bidder for cash in (twilit money of the United States, payable at time of sale.
               Trustee may postpone sale of all or any portion of said property by public announcement at such
               time and place of sale, and from time to time thereafter may postpone such sale by public
               announcement at the time fixed by the preceding postponement Trustee shall deliver to such
               purchaser its deed conveying the property so sold, but without any covenant or warranty, express
               or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
               truthfulness thereof Any person, including Tmstor, Trustee, or Beneficiary as hereinafter
               defined, may purchase at such sale.
               After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
               evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
               all sums expended under the terms hereof not then repaid, with accrued interest at the amount
               allowed by law in effect at the date hereof, all other sums then secured hereby, and the
               remainder, if any, to the person or persons legally entitled thereto.
                      (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
              may from time to time, by instrument in writing, substitute a successor or successors to any
              Trustee named herein or sating hereunder, which instrument, executed by the Beneficiary and
              duly acknowledged and recorded in the office of the recorder of the county or counties where
              said property is situated, shall be conclusive proof of proper substitution of such successor
              Trustee or Trustees, who shall, without conveyance ftom the Trustee predecessor, succeed to all
              its dd., estate, rights, powers and duties. Said instrument must contain the name of the original
              Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
              the name and address of the new Trustee.
                      (13) That this Deed applies to, ham to the benefit of, and binds all parties hereto,
              their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
              Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
              whether or not named as Beneficiary herein hi this Deed, whenever the context so requires ,the
              masculine gender includes the feminine and/or neuter, and the singular number includes the
              plural.
                     (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
              pending sale under any other Deed of Trust or of any action or proceeding in which Motor,
              Beneficiary or Trustee shall be a party unless brought by Trustee.
                     The undersigned Traitor requests that a copy of any Notice of Default and of any
              Notice of Sale hereunder be maned to bhn at his address berelubefore set forth.
                               SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




              3212291.1                                         4


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                                                                                                                            6
                       IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above mitten.
                                                          Carcassonne Fine Homes, LLC,
                                                          a Califixnia limited liability company


                                                          Hy:




             3283291.1



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                                                                                                                                 7
                                                  RIDER TO DEED OF TRUST
               1.      ilijumaskundEngumbrauge. The Note which is secured by this Deed of Treat contains
               the following "due on sale" and "due on encumbrance" clauses:
                                "Borrower acknowledge* and agrees that the creditworthiness and expertise
                        of Borrower or Trustor in owning, developing and operating the Property is the
                        basis upon which holder has determined that it is protected against impairment of
                        the security and risk of default and thereby has agreed to lend undersigned the
                        principal sum set forth above. In order to insure the continued creditworthiness
                        and expertise of the owner of the Property and in order to allow the holder of this
                        Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                        and subsequent owners of the Property, that the Property shall not be sold, agreed
                        to be sold, conveyed, transferred, assigned, disposed of, or further encumbered,
                        whether voluntarily, involuntarily, by operation of law or otherwise, without the
                        written consent of the holder hereof being first obtained, which consent may be
                        withheld in holder's sole and absolute discretion. Any transaction in violation of
                        the above restrictions shall cause the then outstanding principal balance and
                       interest thereon and other sums secured by the Deeds of Treat, at the option of said
                       holder, to immediately become due and payable. If Borrower is a corporation,
                       limited liability company or trust, the sale, conveyance, transfer or disposition,
                       whether voluntary or involuntary, of 25% or more of the issued and outstanding
                       common stock or membership interests of Borrower or ?orator, or of the beneficial
                       interest of such trust, or, in the event Borrower or Tractor is a limited or general
                       partnership or a joint venture, a change of any general partner or any joint
                       venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                       disposition, or encumbrance of any such general partnership or joint votive
                       interest shall be deemed to be a transfer of an interest in the Property for purposes
                       of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                       the sale of the Londonderry Property, the Bellagio Property, the Carcassonne
                       Property or the Stone Ridge Property the amounts set forth in Section 1(b) above
                       shall be payable,
                       Borrower apses, for itself and subsequent owners of the Property, that in the
                       event that the improvements on the Property am altered or demolished without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion then outstanding principal
                       balance and interest thereon and other sums secured by said Deeds of Trust, at the
                       option of said holder, shall immediately become due and payable, in whole or in
                       part, as the holder so determines."

              2.       ISREIVICt
                             UgailItyjnagansn. ?lunar shall, at Trustee's sole expense, obtain and keep in
              force during the term of this Deed of Trust a policy of combined single limit, bodily injury and
              property damage insurance inswing Beneficiary and Tutor against any liability arising out of
              the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is

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                                                                                                                              a
               an encumbrance (the "Propere) and all areas appurtenant thereto. Such insurance shall be a
               combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
               said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
               designated as an additional insured under the liability insurance required under this Deed of
               Trust.
                       b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the ibli replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief; and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Traitor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Tmator. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.
                      c.     Insurance Policies. Insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, Vas set forth in the most current issue of "Best's
              Insurance Guide." The Traitor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's toss payable endorsemats as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Tnetor shall, at least 30 days prior to the expiration
              of such policies, fiunish Beneficiary with renewals or "binders" thereot or Beneficiary may
              order such insurance and charge the cost thereof to Traitor, which amount shall be payable by
              Trustor upon demand. Traitor shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2,
              3.      Bombs.          Beneficiary may exercise any right or remedy available under the Note or
              this Deed of Trust or at law or in equity. AU of Beneficiary's remedies upon the occurrence of an
              event of delkult are cumulative. Beneficiary's prosecution of any one of these remedies shall not
              preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
              remedies under this Deed of Trust or under the Note or any other Leen Documents. No act of
              Beneficiary shall be construed as an election to proceed under any particular provision of this
              Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
              remedies to the exclusion of any other remedy that may then or thereafter be available to
              Beneficiary, No delay or thilure by Beneficiary to exercise any right or remedy under this Deed
              of Trust shall be construed to be a waiver of that right or remedy or of any delimit by Trustor.
              Beneficiary may exercise any one or more of its rights and remedies at its option without regard
              to the adequacy of its security.




             33$3191.1                                        R-2


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               4.         Appointment of Receiver.
                       a.     Appointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
              or past of  the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
              the appointment of a    receiver without notice, without regard to the solvency or insolvency of
              Trustor at the time of application for such receiver, and without nsgarti to the then value of the
              Property or whether the same shall be then occupied as a homestead or not, and Trustee,
              Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
              receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
              and also during any further times when Truster, except for the intervention of such receiver,
              would be entitled to collect any Rents, and any and all other powers which may be necessary or
              are usual in such cases for the protection, possession, control, management and operation of the
              Property during the whole of said period The court from time to time may authorize the receiver
              to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the knowing, in such order of
              application as Trustee or Beneficiary may elect; (i) amounts due upon the Note secured hereby;
              (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (Hi) costs
              and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs in connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              lien of this Deed of Trust, or of any decree ibreclosing the same, provided that such application
              is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                          b.    BaiMbill3101611AA412111216
                             (i)     Trustor agrees to promptly reimburse toy monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default nee act forth in the Note. Tmstor's obligation to reimburse
              Beneficiary shall be secured by this Deed of Trust.
                              (ii) In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this► Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Truster agrees to pay Beneficiary a
              he in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
              Deed of Trust.
                     dr.     EginakaaJELQUEdliaintalalkt Truster agrees that the receiver or his
              agents shall be entitled to enter upon and take possession of, and operate, manage and control,
              the Property to the same extent and in the same manner as Traitor might lawfully do.
                          5.    Waiver by Mutat of Right to Reerjre Beneficiary jo Proceed Directly Against

                                   5.1 Truster waives all of the following:



              3212291.1                                         R-3


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                                           Trustor's rights of subrogation, reimbursement, indenurification, and
              contribution and any other rights and defenses that are or may become available to a guarantor or
              other surety by reason of Sections 2787 to 2855, inclusive of the California Civil Code, including
              but not limited to any right Trustor may otherwise have to require Beneficiary to proceed directly
              against Borrower prior to seeking recovery against Property encumbered hereby.

                                 b.        Any rights or defenses Trustor may have in respect of his or her
              obligations as a guarantor or other surety by reason of any election of remedies by the creditor.

                                  c.         Any rights or defenses Trustor may have because the principal's
              note or other   obligation  is secured by real property or an estate for years. These rights or
              defenses include, but are not limited to, any rights or defenses that are based upon, directly or
              indirectly, the application of Section 58Oa, 58Ob, 5330d, or 726 of the Code of Civil Procedure to
              the principal's note or other obligation.
                                 5.2        Trustor waives all rights and defenses that Trustor may have
              because the debtor's debt is secured by real property. This means, among other things;

                                 a.        Beneficiary may collect from Trustor without first foreclosing on
              any real or personal property collateral pledged by the debtor.
                                 b.        If Beneficiary forecloses on any real property collateral pledged by
              the debtor:
                                            (i)       The amount of the debt may be reduced only by the price
              for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
              the sale price.
                                           (ii)    Beneficiary may collect from Truster even if the
              Beneficiary, by foreclosing on the real property collateral, has destroyed any digit Truster may
              have to collect from the debtor.

                        This is an unconditional and irrevocable waiver of any rights and defenses Motor may
              have because the debtor's debt is secured by real property. These rights and defenses include, but
              are not limited to, any rights or defenses based upon Section 58Oa, 58Ob, S8Od, or 726 of the
              Code of Civil Procedure.
                            5.3     Trustor waives all rights and defenses arising out of an election of
             remedies by Beneficiary, even though that election of remedies, such as a nonjudicial foreclosure
             with respect to security for a guaranteed obligation, has destroyed Trustoes rights of subrogation
             and reimbursement against the principal by the operation of Section 58Od of the Code of Civil
             Procedure or otherwise.




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                                                                                                                                         I)
                     6,     raglicti. This Rider shall control in the event of a conflict between the terms hereof and
                     the Deed of Trust.
                                                                     Carcassonne Fine Homes, LLC,
                                                                     a California limited liability company


                                                                     By:
                                                                                  rami,




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                                                                                                                                    2.
                                         A notary public or other officer completing this
                                            certificate verifies only the identity of the
                                        individual who signed the document to which this
                                           certificate is attached, and not truthiblness,
                                              accuracy, or validity of that document.



                STATE OF CALIFORNIA
                                                           )
                COUNTY OF LOS ANGELES

               On 0 4.1** be r t i. , 2018 before me, Steven IL Zidell, a Notary Public in and for said State,
               personally appeared Nile Niami, who proved to me on the basis of satisfactory evidence to be the
               person(s) whose natne(s) is/are subscribed to the within instrument and acknowledged to me that
               ha/she/they executed the same in his/her/their authorized capaelty(les), and that by his/her/their
               signature(s) on the Instrument the person(s), or the entity upon behalf of which the person(s)
               acted, executed the instrument.
               I certify under PENALTY OF PERJURY under the laws of the State of California that the
               foregoing paragraph is true and correct.
               WITNESS my hand and official seal.


               Signature S'er     APIA--‘,J.4_74a420ctal)




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                                                                                                                                       )5
                                           REQUEST FOR FULL RECONVEYANCE

                                            To be used only when note has been paid:

               To               Title], Trustee                                  Dated

                       The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
              Trust. AU sums secured by said Deed of Trust have been My paid and satisfied; and you are hereby
              requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
              Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
              together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
              tams of said Deed of Trust, the estate now held by you under the same.


                                                                       MAIL RECONVEYANCE TO:


              By:
              Name:
              Tide:


              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyance will be made.




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                                                     EXHIBIT A

                                               LEGAL DESCRIPTION

              THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN
              THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS
              FOLLOWS:
              THAT PORTION OF LOTS 7 AND 9 IN BLOCK 6 OF TRACT NO. 7616, IN THE CITY OF LOS
              ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
              BOOK 119 PAGES 70 • 76. INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
              RECORDER OF SAM * • UNIT D ' RIBED AS FOLLOWS:
              PARCEL 1 AS DESCRIBED IN THE CERTIFICATE OF COMPLIANCE RECORDED MAY 9, 2012
              AS INSTRUMENT NUMBER 2012-696783. OF OFFICIAL RECORDS IN THE RECORDER'S
              OFFICE OF THE COUNTY LOS ANGELES, STATE OF CALIFORNIA
              EXCEPTING THAT PORTION LYING SOUTHERLY OF THE FOLLOWING DESCRIBED LINE
             BEGINNING AT A POINT IN THE SOUTHWESTERLY LINE OF SAID PARCEL 1, DISTANT
             SOUTH 40° 49' 30" EAST 126.00 FEET FROM THE WESTERLY MOST CORNER OF PARCEL 1;
             SAID CORNER BEING ALSO THE WESTERLY MOST CORNER OF LOT 9 IN BLOCK 6 OF
             illaTaladfi, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
             CALWORNIA, RECORDED IN M' K 119 PAGES 79 TO 76,INCLUSIVE 9F MPS, IN THE
             OFFICE OF THE COUNTY MOWER OF SAID COUNTY; TIIHNOE NORTH 61' A    16' 3W' EAST
             358.35 FEET TO A POINT IN THE WESTERLY RIGHT OF WAY OF CARCASSONNE ROAD,
             SAID POINT BEING DISTANT 103.50 FEET SOUTHERLY, ALONG SAID RIGHT OF WAY,
             FROM THE INTERSECTION WITH THE EASTERLY PROLONGATION OF THE
             NORTHWESTERLY LINE OF PARCEL 1, HAVING A BEARING OF NORTH 64" 12' 12" EAST.
             SAID LAND IS ALSO SHOWN AS PARCEL 1 IN THE CERTIFICATE OF COMPLIANCE FOR LOT
             LINE ADJUSTMENT RECORDED SEPTEMBER 24, 2015 AS INSTRUMENT NO. 20151182271. OP
             OFFICIAL RECORDS,
             APN: 4362463443
             (Property commonly known as: 627 N. Gramonno, Los ARVIDS, CA)




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                 CHICAGO TITLE COMPANY                                                                                    2
                  COMMERCIAL DIVISION
               RECORDING REQUESTED BY
               AND WHEN RECORDED MAIL TO:
              Steven H. Zidell, Esq.                                                  •211510SENO*
              Wolf, Rifidn, Shapiro, SchuInum & Rabldn, LLP
              11400 W. Olympic Blvd.,
              9th Floor
              Los Angeles, California 90064-1582

                                   DEED OF TRUST AND ASSIGNMENT OF RENTS

              Thu ORDER No. $098301-997-1185-K03                                       APN No. 2278432427
                     This Deed of Trust, made as of October Ile, 2018, between Marbella Construction,
              Inc., a California corporation, herein called Trustor, whose address is 8981 West Sunset
              Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called
              Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
              Beneficiary,
                     Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
              IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
              California, described as:
                                       SEE EXHIBIT A ATTACHED HERETO,
                      TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
              right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
              provisions heroin to collect and apply such rents, issues and profits.
                       For the Purpose of Securing;
                            1.      Performance of each apeman of Trustor incorporated by reference or
              contained herein;
                            2.      Payment of the indebtedness evidenced by one promissory note of even
              date herewith, and any extension or renewal thereof in the principal sum of $30,188,235.00
              executed by Trustee in favor of Beneficiary or order;
                           3.   Payment of such further sums as the then record owner of said property
              may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
              secured; and
                            4.      Payment of any flame advances by Beneficiary regardless of whether such
              advances were contemplated by the parties at the time of the granting of this Deed of Trust,
              whether or not such figure advances are evidenced by any document, or whether or not any such
              document specifies that it is secured hereby.




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                        To Protect the Security of This Deed of Trust, Truster Agrees:
                      (1)     To keep said property in good condition and repair, not to remove or demolish
              any building thereon, to complete or restore promptly and in good and workmanlike manner any
              building which may be constructed, damaged or destroyed thereon and to pay when due all
              claims for labor performed and materials furnished therefor, to comply with all laws affecting
              said property or requiring any alterations or improvements to be made thereon, not to commit or
              permit waste thereof', not to commit, suffer or permit any act upon said property in violation of
              law to cultivate, inigate, fertilize, ibmigate, prune and do all other acts which from the character
              or use of said property may be reasonably necessary, the specific enumerations herein not
              excluding the general.
                      (2)     To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may detemine, or at option of Beneficiary the entire amount so collected or any pan
              thereof may be released to Trustor. Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3) To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' fees in a reasonable sun% in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                     (4) To pay at least 10 days before delinquency all taxes and assessments affecting
              said property, including assessments on appurtenant water stook, and to pay when due, all
              encumbrances, charges and liens, with interest, on said property or any part thereof, which
              appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
              Should Manor fail to make any payment or to do any act as herein provided, then Beneficiary or
              Trustee, but without obligation so to do and without notice to or demand upon Trustor and
              without releasing Trainor from any obligation hereof; may make or do the same in such manner
              and to such extent as either may deem necessary to protect the security hereof Beneficiary or
              Trustee being authorized to enter upon said property fbr such purposes; appear in and defbnd any
              action or proceeding purporting to affect the security hereof or the rights or powers of
              Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
              which in the judgment of either appears to be prior or superior hereto, and in exercising any such
              powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                     (5)     To pay immediately and without demand all sums so expended by Beneficiary or
              Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
              hereof; and to pay for any statement provided for by law in effect at the date hereof regarding the
              obligation secured hereby any *mount demanded by the Beneficiary not to exceed the maximum
              allowed by law at the time when said statement is demanded.




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                      (6)     That any award of damages in connection with any condemnation for public use
               of or injury to said property or any part thereof is hereby assigned and shall be paid to
               Beneficiary who may apply or release such moneys received by him in the same manner and
               with the same effect as above provided for disposition of proceeds of fire or other insurance.
                      (7)    That by accepting payment of any sum secured hereby after its due date,
               Beneficiary does not waive his rights either to require prompt payment when due of all other
               sums so secured or to declare default for failure so to pay.
                       (8)   That at any time or from time to time, without liability therefor and without
               notice, upon written request of Beneficiary and presentation of this Deed and said note for
               endorsement, and without affecting the personal liability of any person for payment of the
               indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
               making of any map or plot thereof; join in granting any easement thereon; or join in any
               extension agreement or any agreement subordinating the lien or charge hereof.
                       (9)    That upon written request of Beneficiary state that all sums secured hereby have
               been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
               retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
               then held hereunder. The recitals in such reconveyance of any matters or facts shall be
               conclusive proof of the truthildness thereof. The grantee in such reconveyance may be described
               as "The person or persons legally entitled thereto." Five years after issuance of such find
               reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
               retain them).
                      (10) That as additional security, Trustor hereby gives to and confers upon Beneficiary
              the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
              and profits of said property, reserving unto Trustor the right, upon any default by Motor in
              payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
              collect and retain such rents, issues and profits as they become due and payable. Upon any such
              delimit, Beneficiary may at any time without notice, either in person by agent, or by a receiver
              to be appointed by a court, and without regard to the adequacy of any security for the
              indebtedness hereby secured, enter upon and take possession of said property or any part thereof;
              in his own name sue for or otherwise collect such rents, issues and profits, including those past
              due and unpaid, and apply the same, less costs and expenses of operation and collection,
              including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
              as Beneficiary may determine. The entering upon and taking possession of said property, the
              collection of such rents, issues and profits and the application thereof an aforesaid, shall not we
              or waive any default or notice of default hereunder or invalidate any act done pursuant to such
              notice.
                      (11) That upon defkult by Truster in payment of any indebtedness secured hereby or in
              pertbrmance of any agreement hereunder. Beneficiary may declare all sums secured hereby
              immediately due and payable by delivery to Trustee of written declaration of default and demand
              for sale and of written notice of default and of election to cause to be sold said property which
              notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
              Deed, said note and all documents evidencing expenditures secured hereby.


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              After the lapse of such time as may then be required by law following the recordation of said
              notice of default, and notice of sale having been given as then required by law, Trustee, without
              demand on Truster, shall sell said property at the time and place fixed by it in said notice of sale,
              either as a whole or in separate parcels, and in such order as it may determine, at public auction
              to the highest bidder for cash in lawfid money of the United States, payable at time of sale.
              Trustee may postpone sale of all or any portion of said property by public announcement at such
              time and place of sale, and from time to time thereafter may postpone such sale by public
              announcement at the time fixed by the preceding postponement Trustee shall deliver to such
              purchaser its deed conveying the property so sold, but without any covenant or warranty, express
              or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
              truthfulnem thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
              defined, may purchase at such sale.
              After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
              evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
              all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
              allowed by law in effect at the date hereof; all other sums then secured hereby, and the
              remainder, if any, to the person or persons legally entitled thereto.
                      (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
              may from time to time, by instrument in writing, substitute a successor or successors to any
              Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
              duly acknowledged and recorded in the office of the recorder of the county or counties where
              said property is situated, shall be conclusive proof of proper substitution of such successor
              Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
              its tide, estate, rights, powers and duties. Said instrument must contain the name of the original
              Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
              the name and address of the new Trustee.
                      (13) That this Deed applies to, inures to the benefit of, and binds all parties hereto,
              their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
              Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
              whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
              masculine gender includes the feminine and/or neuter, and the singular number includes the
              plural.
                     (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
              pending sale under any other Deed of Trust or of any action or proceeding in which Minor,
              Beneficiary or Trustee shall be a party unless brought by Trustee.
                  The undersigned Truster requests drat a espy of any Notice of Default sad of any
              Nodose Sale heretutder be tuned Is him at his address kereisbefore set forth,
                              SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                                   IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
                           date first above written.
                                                                      Marbella Construction, Inc.,
                                                                      a California corporation


                                                                      By:
                                                                                 1   , President




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                                                   RIDER TO DEED OF TRUST
              1.      Due oq Sale and Encumbrance, The Note which is secured by this Deed of Trust contains
              the following "due on sale" and "due on encumbrance" clauses:
                                 "Borrower acknowledges and agrees that the creditworthiness and expertise
                         of Borrower or Trustor in owning, developing and operating the Property is the
                         basis upon which holder has determined that it is protected against Impairment of
                         the security and risk of default and thereby has agreed to lend undersigned the
                         principal sum set forth above. In order to insure the continued creditworthiness
                         and expertise of the owner of the Property and in order to allow the holder of this
                         Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                         and subsequent owners of the Property, that the Property shall not be sold, agreed
                        to be sold, conveyed, transferred, assigned, disposed of, or fiwther encumbered,
                        whether voluntarily, involuntarily, by operation of law or otherwise, without the
                        written consent of the holder hereof being first obtained, which consent may be
                        withheld in holder's sole and absolute discretion. Any transaction hi violation of
                        the above restrictions shall cause the then outstanding principal balance and
                        interest thereon and other sums secured by the Deeds of Trust, at the option of said
                        holder, to immediately become due and payable. If Borrower is a corporation,
                        limited liability company or trust, the sale, conveyanoe, transfer or disposition,
                        whether voluntary or involuntary, of 25% or more of the issued and outstanding
                        common stock or membership interests of Borrower or Trustor, or of the beneficial
                        interest of such trust, or, hi the event Borrower or Trustor is a limited or general
                        partnership or a joint venture, a change of any general partner or any joint
                        venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                        disposition, or encumbrance of any such general partnership or joint venture
                        interest shall be deemed to be a transfer of an interest in the Property for purposes
                        of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                        the sate of the Londonderry Property, the Bellagio Property, the Carcassonne
                        Property or the Stone Ridge Property the amounts set Rath in Section 1(b) above
                        shall be payable.
                        Borrower agrees, for itself and subsequent owners of the Property, that in the
                        event that the improvements on the Property are altered or demolished without the
                        written consent of the holder hereof being first obtained, which consent may be
                        withheld in holder's sole and absolute discretion then outstanding principal
                        balance and interest thereon and other sums secured by said Deeds of Trust, at the
                        option of said holder, shall immediately become duo and payable, in whole or in
                        part, as the holder so determines."

             2.         inSUISON.
                    a.      Lasbility Insurance. Trustor shall, at Trustor's sole expense, obtain and keep in
             force during the term of this Deed of Trust a policy of combined single limit, bodily injury and
             property damage insurance insuring Beneficiary and Trustor against any liability arising out of
             the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is


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              an encumbrance (the "Property') and all areas appurtenant thereto. Such insurance shall be a
              combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
              said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
              designated as an additional insured under the liability insurance required under this Deed of
              Trust.
                       b.     Ppperty Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the fill replacement value thereo4 as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischi4 and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.
                      c.     Insurance Policies. Insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, Vas set forth in the most current issue of "Best's
              Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Traitor shall, at least 30 days prior to the expiration
              of such policies, Amish Beneficiary with renewals or grinders" thereof, or Beneficiary may
              order such insurance and charge the cost thereof to Trustor, which amount shall be payable by
              Trustor upon demand. Trustor shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.
             3.      Rondo.          Beneficiary may exercise any right or remedy available under the Note or
             this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the occurrence of an
             event of delimit are cumulative. Beneficiary's prosecution of any one of these remedies shall not
             preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
             remedies under this Deed of Trust or under the Note or any other Loan Documents. No act of
             Beneficiary shall be construed as an election to proceed under any particular provision of this
             Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
             remedies to the exclusion of any other remedy that may then or thereafter be available to
             Beneficiary. No delay or failtue by Beneficiary to exercise any right or remedy under this Deed
             of Trust shall be construed to be a waiver of that right or remedy ar of any default by Truster.
             Beneficiary may exercise any one or more of its rights and remedies at its option without regard
             to the adequacy of its security.




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               4.         Appointment of Receiver.
                       a.     Appointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
              or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
              the appointment of a receiver without notice, without regard to the solvency or insolvency of
              Trustor at the time of application for such receiver, and without regard to the then value of the
              Property or whether the same shall be then occupied as a homestead or not, and Trustee,
              Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
              receiver shall have the power to collect any Rants during the pendency of such foreclosure suit,
              and also during any fa ther times when Trustor, except for the intervention of such receiver,
              would be entitled to collect any Rents, and any and all other powers which may be necessary or
              are usual in such cases for the protection, possession, control, management and operation of the
              Property during the whole of said period. The court from time to time may authorize the receiver
              to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the following, in such order of
              application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby;
              (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
              and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs in connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
              is made prior to fbreclosure sale; and (vi) the deficiency in case of a deficiency.
                          b.    Beillthalleillitllian002.
                             (i)      Trustor agrees to promptly reimburse any monies which Beneficiary
              advances in  connection    with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default rate set forth in the Note. Truseor's obligation to reimburse
              Beneficiary shall be secured  by this Deed of Trust.
                              (ii) In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay Beneficiary a
              he in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
              Deed of Trust.
                     c.      possession and Operation of hopertis Trustor agrees that the receiver or his
              agents shall be entitled to enter upon and take possession of, and operate, manage and control,
              the Property to the same extent and in the same manes as Trustor might lawfblly do.
              5.          802334




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                                                                                                                               ro
               6.     QOM. This Rider shall control in the event of a conflict between the terms hereof and
               the Deed of Trust.
                                                              Marbella Construction, Inc.,
                                                              a Calitbrnia corporation


                                                              By;
                                                                          de lki*                Secretary




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                                                                                                                                    11
                                        A notary public or other officer completing this
                                           certificate verifies only the identity of the
                                       individual who signed the document to which this
                                          certificate is attached, and not truthfulness.
                                            accuracy, or validity of that docwnent.


               STATE OF CALIFORNIA                         )
                                                           )
              COUNTY OF LOS ANGELES

              On OctrAsepr tI , 2018, before me, Steven H. Zidell, a Notary Public in and for said State,
              personally appeared Nile Niami, who proved to me on the basis of satisfactory evidence to be the
              person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
              he/she/they executed the same in his/her/ heir authorized capacity(ies), and that by his/her/their
              signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
              acted, executed the instrument.
              I certify under PENALTY OF PERJURY under the laws of the State of Calitbrnla that the
              foregoing paragraph is true and comet.
              WITNESS my hand and official seal.


              Signature da       ,...tt.4-41      is-C1)       (Seal)




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                                            REQUEST FORFULL RECONVEYANCE
                                             To be used only when note has been paid:

               To                Title], Truster                                  Dated
                        The undersigned is the legal owner and holder of all Indebtedness secured by the within Deed of
               Trust. All sums secured by said Deed of Trust have been Rdly paid and satisfied; and you are hereby
               requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
               terms of said Deed of Trust, the estate now held by you under the same.


                                                                        MAIL RECONVEYANCE TO:


              BY:
              Name:
              Title:


              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyante will be made.




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                                •
                                      •                                                                                           /3
                                                        EXHIBIT A
                                                 LEGAL DESCRIPTION
               THE LAND REFERRED TO HEREIN BELOW IS SITUATED LOS ANGELES, IN THE COUNTY
               OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:
               PARCEL 1:
               LOT 2 OF TRACT 36113A. IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
               STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 1097. PAGES 46 THROUGH 50,
               TP ckusirtQF MAPS, IN THE OFFICE OF THE COUNTY
                siHAT                   SAID         113A DESCRIBED AS FOLLOWS:
              BEGINNING AT THE NORTHWEST CORNER OF SAID LOT 1, THENCE SOUTHERLY ALONG
              ME WESTERLY LINE OF SAID LOT 1, SOUTH 20° 10' 31" WEST, A DISTANCE OF 187.62 FEET
              TO THE SOUTHWESTERLY CORNER THEREOF; THENCE EASTERLY ALONG THE
              SOUTHERLY PROLONGATION BOUNDARY OF SAID LOT 1, SOUTH 79° 07' 05" EAST A
              DISTANCE OF 31.12 FEET; THENCE LEAVING SAID SOUTHERLY LINE, NORTH 10° 3? 45"
              BAST A DISTANCE OF 185.16 FEET TO THE POINT OF BEGINNING OF THIS DESCRIPTION.
              ALSO THAT PORTION OF LOT 12 OF TRACT 361)3A, IN THE CITY OF LOS ANGELES, AS PER
              MAP RECORDED IN BOOK 1097,PAGES 46 THROUGEL 50. INCLUSIVE OF MAP& IN ME
              OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:
              BEGINNING AT THE SOUTHWEST CORNER OF LOT 2 OF SAID                       THENCE
              SOUTHERLY ALONG THE SOUTHERLY PROLONGATION OF THE WESTERLY LINE OF SAID
              LOT 2, SOUTH 14° 49' 48" WEST A DISTANCE OF 21.00 FEET; THENCE SOUTH 58° 03' 38"
              EAST A DISTANCE OF 120.00 FEET; THENCE NORTH 31° 56' 22" EAST A DISTANCE OF 60.00
              FEET; THENCE NORTH 10° 37' 45" EAST A DISTANCE OF 8.011 FEET TO THE SOUTHERLY
              BOUNDARY OF LOTS 1 AND 2 OF SAID TRACT 36113A; THENCE NORTH 79* 0? 05" WEST A
              DISTANCE OF 132.06 Feu TO THE POINT OF BEGINNING.
              PARCEL 2:
              THAT PORTION OF LOT 12 OF immlkuls, IN THE CITY OF LOS ANGELES, AS PER MAP
              RECORDED IN 1300X 1097JAGES 46 THROUGH gituricLuswE 9F MAPS, IN THE OFF=
              OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS FOLLOWS:
              BEGINNING AT THE SOUTHWESTERLY CORNER OF LOT 2 OF SAID wIN LV11114
              THENCE SOUTHERLY ALONG THE SOUTHERLY PROLONGATION OF THE
              OF SAID LOT 2, saint 14* 49' 48" WEST, A DISTANCE OF 21.00 FEET, TO THE TRUE POINT
              OF BEGINNING OF THIS DESCRIPTION; THENCE CONTINUING ALONG SAID
              PROLONGATION, SOUTH 14° 49' 48" WEST, A DISTANCE OF 38.00 FEET; THENCE LEAVING
              SAID PROLONGATION, SOUTH 54° 32' 16" EAST, A DISTANCE 011 77.00 FEET; THENCE
              NORTH 84° sr 37" EAST, A DISTANCE OF 44.00 FEET; THENCE NORTH 3P 56' 22" EAST, A
              DISTANCE OF 17.00 Fast THENCE NORTH 511° 03' 38" WEST, A DISTANCE OF 120.00 FEET
              TO THE TRUE POINT OF BEGINNING OF THIS DESCRIPTION.
              SAID DESCRIPTION IS MADE PURSUANT TO THAT CERTAIN CERTIFICATE OF
              COMPLIANCE FOR LOT-LINE ADJUSTMENT RECORDED MAY 14 1997 AS
              97 73I4?2 OF OFFICIAL RECORDS AND AS 1NSTRLIMENT NO. 47.731473. OF OFFICIAL

             APN: 24711432427

             (Property commonly known as: 3381 Stone Ridge Lane, Los Angeles, CA)

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                   CHICAGO TITLE COMPANY
                    COMMERCIAL DIVISION


               RECORDING REQUESTED BY
               AND WHEN RECORDED MAIL TO:

              Steven H. Zidell, Esq.
              Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP
              11400 W. Olympic Blvd.,
              9th Floor
              Los Angeles, California 90064-1582

                                   DEED OF TRUST AND ASSIGNMENT OF RENTS

              TITLE ORDER No. 00098369-994-LT2-KD                                      APN No. 5559-010.004

                      This Deed of Trust, made as of October 1(0 , 2018, between 1369 Londonderry Estate,
              LLC, a California limited liability company, herein called Trustor, whose address is 8981 West
              Sunset Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company,
              herein called Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company,
              herein called Beneficiary,
                     Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
              IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
              California, described as:

                                       SEE EXHIBIT A ATTACHED HERETO,

                      TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
              right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
              provisions herein to collect and apply such rents, issues and profits.

                       For the Purpose of Securing:
                             1.     Performance of each agreement of Trustor incorporated by reference or
              contained herein;

                            2.      Payment of the indebtedness evidenced by one promissory note of even
              date herewith, and any ex-tension or renewal thereof, in the principal sum of $30,188,235.00
              executed by Trustor in favor of Beneficiary or order;

                           3.   Payment of such further sums as the then record owner of said property
              may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
              secured; and
                             4.     Payment of any future advances by Beneficiary regardless of whether such
              advances were contemplated by the parties at the time of the granting of this Deed of Trust,
              whether or not such future advances are evidenced by any document, or whether or not any such
              document specifies that it is secured hereby.




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                           To Protect the Security of This Deed of Trust, Trustor Agrees:

                        (1)     To keep said property in good condition and repair, not to remove or demolish
                any building thereon, to complete or restore promptly and in good and workmanlike manner any
                building which may be constructed, damaged or destroyed thereon and to pay when due all
                claims for labor performed and materials furnished therefor, to comply with all laws affecting
                said property or requiring any alterations or improvements to be made thereon, not to commit or
                permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
                law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
                or use of said property may be reasonably necessary, the specific enumerations herein not
                excluding the general.

                        (2)     To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
                with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
                may be applied by Beneficiary upon indebtedness secured hereby and in such order as
                Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
                thereof may be released to Trustor. Such application or release shall not cure or waive any
                default or notice of default hereunder or invalidate any act done pursuant to such notice.

                        (3)     To appear in and defend any action or proceeding purporting to affect the security
                hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
                including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
                proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
                to foreclose this Deed.
                       (4)     To pay at least 10 days before delinquency all taxes and assessments affecting
                said property, including assessments on appurtenant water stock, and to pay when due, all
                encumbrances, charges and liens, with interest, on said property or any part thereof, which
                appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
                Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
                Trustee, but without obligation so to do and without notice to or demand upon Trustor and
                without releasing Trustor from any obligation hereof, may make or do the same in such manner
                and to such extent as either may deem necessary to protect the security hereof Beneficiary or
                Trustee being authorized to enter upon said property for such purposes; appear in and defend any
                action or proceeding purporting to affect the security hereof or the rights or powers of
                Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
                which in the judgment of either appears to be prior or superior hereto, and in exercising any such
                powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                        (5)    To pay immediately and without demand all sums so expended by Beneficiary or
                Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
                hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
                obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
                allowed by law at the time when said statement is demanded.




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                       (6)    That any award of damages in connection with any condemnation for public use
                of or injury to said property or any part thereof is hereby assigned and shall be paid to
                Beneficiary who may apply or release such moneys received by him in the same manner and
                with the same effect as above provided for disposition of proceeds of fire or other insurance.

                       (7)    That by accepting payment of any sum secured hereby after its due date,
                Beneficiary does not waive his rights either to require prompt payment when due of all other
                sums so secured or to declare default for failure so to pay.

                        (8)    That at any time or from time to time, without liability therefor and without
                notice, upon written request of Beneficiary and presentation of this Deed and said note for
                endorsement, and without affecting the personal liability of any person for payment of the
                indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
                making of any map or plot thereof; join in granting any easement thereon; or join in any
                extension agreement or any agreement subordinating the lien or charge hereof.

                        (9)    That upon written request of Beneficiary state that all sums secured hereby have
                been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
                retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
                then held hereunder. The recitals in such reconveyance of any matters or facts shall be
                conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
                as "The person or persons legally entitled thereto." Five years after issuance of such full
                reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
                retain them).

                       (10) That as additional security, Trustor hereby gives to and confers upon Beneficiary
               the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
               and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
               payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
               collect and retain such rents, issues and profits as they become due and payable. Upon any such
               default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
               to be appointed by a court, and without regard to the adequacy of any security for the
               indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
               in his own name sue for or otherwise collect such rents, issues and profits, including those past
               due and unpaid, and apply the same, less costs and expenses of operation and collection,
               including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
               as Beneficiary may determine. The entering upon and taking possession of said property, the
               collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
               or waive any default or notice of default hereunder or invalidate any act done pursuant to such
               notice,
                       (11) That upon default by Trustor in payment of any indebtedness secured hereby or in
               performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
               immediately due and payable by delivery to Trustee of written declaration of default and demand
               for sale and of written notice of default and of election to cause to be sold said property which
               notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
               Deed, said note and all documents evidencing expenditures secured hereby.


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                            After the lapse of such time as may then be required by law following the recordation of said
                            notice of default, and notice of sale having been given as then required by law, Trustee, without
                            demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
                            either as a whole or in separate parcels, and in such order as it may determine, at public auction
                            to the highest bidder for cash in lawful money of the United States, payable at time of sale.
                            Trustee may postpone sale of all or any portion of said property by public announcement at such
                            time and place of sale, and from time to time thereafter may postpone such sale by public
                            announcement at the time fixed by the preceding postponement Trustee shall deliver to such
                            purchaser its deed conveying the property so sold, but without any covenant or warranty, express
                            or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
                            truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
                            defined, may purchase at such sale,

                           After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
                           evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
                           all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
                           allowed by law in effect at the date hereof, alt other sums then secured hereby, and the
                           remainder, if any, to the person or persons legally entitled thereto.
                                     (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
                           may from time to time, by instrument in writing, substitute a successor or successors to any
                           Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
                           duty acknowledged and recorded in the office of the recorder of the county or counties where
                           said property is situated, shall be conclusive proof of proper substitution of such successor
                           Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
                           its title, estate, rights, powers and duties. Said instrument must contain the name of the original
                           Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
                           the name and address of the new Trustee.
                                   (13) That this Deed applies to, inures to the benefit of, and binds all parties hereto,
                           their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
                           Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
                           whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
                           masculine gender includes the feminine and/or neuter, and the singular number includes the
                           plural.
                                  (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
                           is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
                           pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
                           Beneficiary or Trustee shall be a party unless brought by Trustee.
                                  The undersigned Trustor requests that a copy of any Notice of Default and of any
                           Notice of Sale hereunder be mailed to him at his address hereinbefore set forth.
                                                SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                       IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above written.

                                                          1369 Londonderry Estate, LLC,
                                                          a California limited liability company


                                                          By:
                                                                           M




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                                                                                                                                     7
                                                     RIDER TO DEED OF TRUST
               1.      Due on Sale and Encumbrance. The Note which is secured by this Deed of Trust contains
               the following "due on sale" and "due on encumbrance" clauses:

                                   "Borrower acknowledges and agrees that the creditworthiness and expertise
                           of Borrower or Trustor in owning, developing and operating the Property is the
                           basis upon which holder has determined that it is protected against impairment of
                           the security and risk of default and thereby has agreed to lend undersigned the
                           principal sum set forth above. In order to insure the continued creditworthiness
                           and expertise of the owner of the Property and in order to allow the holder of this
                          Note an opportunity to review and evaluate the same, undersigned agrees, for itself
                          and subsequent owners of the Property, that the Property shall not be sold, agreed
                           to be sold, conveyed, transferred, assigned, disposed of, or further encumbered,
                          whether voluntarily, involuntarily, by operation of law or otherwise, without the
                          written consent of the holder hereof being first obtained, which consent may be
                          withheld in holder's sole and absolute discretion. Any transaction in violation of
                          the above restrictions shall cause the then outstanding principal balance and
                          interest thereon and other sums secured by the Deeds of Trust, at the option of said
                          holder, to immediately become due and payable. If Borrower is a corporation,
                          limited liability company or trust, the sale, conveyance, transfer or disposition,
                          whether voluntary or involuntary, of 25% or more of the issued and outstanding
                          common stock or membership interests of Borrower or Trustor, or of the beneficial
                          interest of such trust, or, in the event Borrower or Trustor is a limited or general
                          partnership or a joint venture, a change of any general partner or any joint
                          venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                          disposition, or encumbrance of any such general partnership or joint venture
                          interest shall be deemed to be a transfer of an interest in the Property for purposes
                          of this Section. Notwithstanding anything to the contrary in this Section 10 upon
                          the sale of the Londonderry Property, the Bellagio Property, the Carcassonne
                          Property or the Stone Ridge Property the amounts set forth in Section 1(b) above
                          shall be payable.
                          Borrower agrees, for itself and subsequent owners of the Property, that in the
                          event that the improvements on the Property are altered or demolished without the
                          written consent of the holder hereof being first obtained, which consent may be
                          withheld in holder's sole and absolute discretion then outstanding principal
                          balance and interest thereon and other sums secured by said Deeds of Trust, at the
                          option of said holder, shall immediately become due and payable, in whole or in
                          part, as the holder so determines."
              2.          Insurance,
                     a.      Liability Insurance. Trustor shall, at Trustor's sole expense, obtain and keep in
              force during the term of this Deed of Tmst a policy of combined single limit, bodily injury and
              property damage insurance insuring Beneficiary and Trustor against any liability arising out of
              the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is


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              an encumbrance (the "Property") and all areas appurtenant thereto. Such insurance shall be a
              combined single limit policy in an amount not less than $1,000,000 per occurrence, The limits of
              said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be
              designated as an additional insured under the liability insurance required under this Deed of
              Trust.

                       b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the full replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at, the expense of Trustor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.

                      e.     Insurance Policies, insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, V as set forth in the most current issue of "Best's
              Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary, Trustor shall, at least 30 days prior to the expiration
              of such policies, furnish Beneficiary with renewals or "binders" thereof, or Beneficiary may
              order such insurance and charge the cost thereof to Trustor, which amount shall be payable by
              Trustor upon demand. Trustor shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.

              3.      Remedies.       Beneficiary may exercise any right or remedy available under the Note or
              this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the occurrence of an
              event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
              preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
              remedies under this Deed of Trust or under the Note or any other Loan Documents. No act of
              Beneficiary shall be construed as an election to proceed under any particular provision of this
              Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
              remedies to the exclusion of any other remedy that may then or thereafter be available to
              Beneficiary. No delay or failure by Beneficiary to exercise any right or remedy under this Deed
              of Trust shall be construed to be a waiver of that right or remedy or of any default by Trustor.
              Beneficiary may exercise any one or more of its rights and remedies at its option without regard
              to the adequacy of its security,




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               4.         Appointment of Receiver,

                       a.     Appointment of Receiver, In any action to foreclose this Deed of Trust, or sell all
              or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
              the appointment of a receiver without notice, without regard to the solvency or insolvency of
              Trustor at the time of application for such receiver, and without regard to the then value of the
              Property or whether the same shall be then occupied as a homestead or not, and Trustee,
              Beneficiary hereunder or any holder of the Note may be appointed as such receiver, Such
              receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
              and also during any further times when Trustor, except for the intervention of such receiver,
              would be entitled to collect any Rents, and any and all other powers which may be necessary or
              are usual in such cases for the protection, possession, control, management and operation of the
              Property during the whole of said period. The court from time to time may authorize the receiver
              to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the following, in such order of
              application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby;
              (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
              and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs in connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
              is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                          b,    Reimbursement of Advances.
                             (i)     Trustor agrees to promptly reimburse any monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default rate set forth in the Note. Trustor's obligation to reimburse
              Beneficiary shall be secured by this Deed of Trust.
                              (ii)    In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay Beneficiary a
              fee in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
              Deed of Trust.
                     c.      Possession and Operation of Properties. Trustor agrees that the receiver or his
              agents shall be entitled to enter upon and take possession of, and operate, manage and control,
              the Property to the same extent and in the same manner as Trustor might lawfully do.




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                                                                                                                                  ro
                     5.        Waiver by Trustor of Right to Require Beneficiary to Proceed Directly Against
               Borrower,

                                  5.1 Trustor waives all of the following:

                                   a.       Trustor's rights of subrogation, reimbursement, indemnification, and
               contribution and any other rights and defenses that are or may become available to a guarantor or
               other surety by reason of Sections 2787 to 2855, inclusive of the California Civil Code, including
               but not limited to any right Trustor may otherwise have to require Beneficiary to proceed directly
               against Borrower prior to seeking recovery against Property encumbered hereby,

                                  b.        Any rights or defenses Trustor may have in respect of his or her
               obligations as a guarantor or other surety by reason of any election of remedies by the creditor.

                                   c.         Any rights or defenses Trustor may have because the principal's
               note or other obligation is secured by real property or an estate for years. These tights or
               defenses include, but are not limited to, any rights or defenses that are based upon, directly or
               indirectly, the application of Section 580a, 580b, 580d, or 726 of the Code of Civil Procedure to
               the principal's note or other obligation.

                                  S.2        Trustor waives all rights and defenses that Trustor may have
               because the debtor's debt is secured by real property, This means, among other things:

                                  a.        Beneficiary may collect from Trustor without first foreclosing on
               any real or personal property collateral pledged by the debtor.

                                  b.        If Beneficiary forecloses on any real property collateral pledged by
               the debtor:

                                                       The amount of the debt may be reduced only by the price
               for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
               the sale price.

                                            (ii)    Beneficiary may collect from Trustor even if the
               Beneficiary, by foreclosing on the real property collateral, has destroyed any right Trustor may
               have to collect from the debtor,

                        This is an unconditional and irrevocable waiver of any rights and defenses Trustor may
              have because the debtor's debt is secured by real property. These rights and defenses include, but
              are not limited to, any rights or defenses based upon Section 580a, 580b, 580d, or 726 of the
              Code of Civil Procedure.

                             5.3     Trustor waives all rights and defenses arising out of an election of
              remedies by  Beneficiary,  even though that election of remedies, such as a nonjudicial foreclosure
              with respect to security for a guaranteed obligation, has destroyed Trustor's rights of subrogation



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                   and reimbursement against the principal by the operation of Section 580d of the Code of Civil
                   Procedure or otherwise.
                   6.     Conflicts, This Rider shall control in the event of a conflict between the terms hereof and
                   the Deed of Trust,

                                                                    1369 Londonderry Estate, LLC,
                                                                    a California limited liability company



                                                                                     Manage




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                                         A notary public or other officer completing this
                                            certificate verifies only the identity of the
                                        individual who signed the document to which this
                                           certificate is attached, and not truthfulness,
                                              accuracy, or validity of that document,



               STATE OF CALIFORNIA

               COUNTY OF LOS ANGELES

               On Ocztalagec            , 2018 before me, Steven H, Zidell, a Notary Public in and for said State,
               personally appeared Nile Niami, who proved to me on the basis of satisfactory evidence to be the
               person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that
               he/she/they executed the same in his/her/their authorized capacity(ies), and that by his/her/their
               signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s)
               acted, executed the instrument.

               I certify under PENALTY OF PERJURY under the laws of the State of California that the
               foregoing paragraph is true and correct.

               WITNESS my hand and official seal.


              Signature                                         (Seal)




                                                           STEVEN H. 110ELL
                                                        Notary Public • California
                                                           Los Angeles County
                                                         Commission Y 2241601
                                                      My Comm. Expires Jun 6, 2022
                                                                     A law — •




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                                                                                                                                    I3
                                            REQUEST FOR FULL RECONVEYANCE

                                             To be used only when note has been paid:

               To   I            Title], Trustee                                  Dated

                        The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
               Trust, All sums secured by said Deed of Trust have been fully paid and satisfied; and you are hereby
               requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
               terms of said Deed of Trust, the estate now held by you under the same.


                                                                        MAIL RECONVEYANCE TO:


               By:
               Name:
               Title:


              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyance will be made.




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                                                         EXHIBIT A

                                                   LEGAL DESCRIPTION

                   THE LAND REFERRED TO HEREIN BELOW IS SITUATED LOS ANGELES, IN THE COUNTY
                   OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

                   LOT 11 OF TRACT NO. 12360, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
                   STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 239, PAGES 27 AND 28 OF MAPS,
                   IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.


                   APN: 5559-010-004

               (Property commonly known as: 1369 Londonderry Place, Los Angeles, CA)




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              EXHIBIT K
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     CHICAGO TITLE COMPANY
      COMMERCIAL DIVISION
        'nob damsel Ma Or escort**
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        by *Myr Ttils Noumea W
         01im scosunsdiition onkV• Rhos 00
         ku saseolosi to to Its sitscottoti or
                                                               This to to certify that this is a fun, true and correct
         mki elmopenIbe                                        copy of the original recorded in the of of
                                                               County Recorder of LO Maeda*"                     the
                                                                            t           —ft
                                                               as Document No. 24)/f ° "          3914.
        Recording Requested By                                 CHICAGO TITLE
        and When Recorded Moil To:
                                                               By                *e..1 6.21
       WOLF, RIFKIN, SHAPIRO,                                    tilLE OFFICER
       SCHULMAN & RABKIN, LLF.
       11400 West Olympic Blvd., 9* Floor
       Los Angeles, Califbrnia 90064.1582
       Attention: Steven H. Zidell, Esq.

                                                                  Space Above This Line For Recorder's Use


                                     AMENDMENT OF NOTE_AND_DEJDS OF TRUST


               This Amendment ofNote and Deeds of Trust (the "Amendment") is entered into as of June
       18, 2019, by and between Crestiloyd, LLC, a California limited liability company ("Borrower"),
       1070) Bellagio Road, LLC, a California limited liability company, Carcassonne Fine Homes, LLC,
       a California limited liability company, Marbling Construction, Inc., a California corporation, 1369
       Londonderry Woe, LLC, a California limited liability company and YOGI Securities Holdings,
       LLC, a Nevada limited liability company ("Lender"), with refbrence to the fbliowing fiat

                                                       BISIDLI8
               A.     Borrower executed a Deed of Trust dated October 16, 2018 (the "Hilicreat Deed of
       Trust"), in tbvor of Lender, as beneficiary, which Deed of Trust was recorded on October 19,
       2018, as Instrument No. 20181063783, Official Records of Los Angeles County, California
       ("Official Records").

              B.      Borrower executed a Deed of Trust dated October 16, 2018 (the "Airole Deed of
       Trust"), in fhvor of Lender, es beneficiary, which Deed of 'Dust was recorded on November 7,
       2018, as Instrument No. 20181126580, Official Records.

              C.      10701 Magi° Road, LLC, a Califbrnia limited liability company, executed a Deed
       of Trust dated October 16, 2018 (the "Mask Deed of Truer), in favor of Lender, as beneficiary,
       which Deed of Trust was recorded on October 19, 2018, as Instrument No. 2018106.5788, Official
       Records.

             D.      Carcassonne Fine Homes, LLC, a Calltbrnla limited liability company, executed a
       Deed of Trust dated October 16, 2018 (the "Carcassonne Deed of Trust"), in fluor of Lender, as


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         benefioiary, which Deed, of Trust was recorded on October 19, 2018, as Instrument No.
         20181065789, Official Records.

                E      Marbella Construction, Inc., a California corporation, executed a Deed of Most
         dated October 16, 2018 (the "Stone Ridge Deed of Trust"), in favor of Lender, as beneficiary,
         which Deed of Trust was recorded on October 19, 2018, as instrument No. 20181065790, Offioial
         Records,

                F.       1369 Londonderry Estate, LLC, a California limited liability company, executed a
        Deed of Trust dated October 16, 2018 (the "Londonderry Deed of Trust"), in favor of Lender, as
        beneficiary, which Deed of Trust was recorded on October 19, 2018, as Instrument No.
        20181065787, Official Records. The Hiliorest Deed of 'Net, Airole Deed of Trust, Bellagio Deed
        of 'Mat, Carcassonne Deed of Trust, Stone Ridge Deed of Trust and Londonderry Deed of Trust
        are collectively reftsrred to hereinafter as the "Deed of Trust".

                0.    The Deed of Trust secures a loan (the "Loan") to Borrower in the original principal
        amount of Thirty Million One Hundred Eighty Eight Thousand Two Hundred Thirty Five Dollars
        ($30,188,235.00). The Loan is evidenced by a Promissory Note (the "Original Note") in the
        principal amount ofthe Loan, dated October 16, 2018, made by Borrower in favor ofLender.

               H.      Lender is the holder of all beneficial interest under the Loan, the Deed of Trust, the
        Original Note and all other instruments that evidence andfor secure the Loan.

               1,      Borrower and Lender wish to execute and record this Amendment to extend the term
       of the Original Note upon the conditions set Ibrth herein, and to confirm that the Deed of Trust, as
       amended, secures the indebtedness evidenced by the Original Note, and other obligations described
       In the Original Note and Deed of Trust as modified by this Amendment. The Original Note, as
       amended by this Amendment is hereinafter referred to as the "Note", The Loan, the Note, the Deed
       of That, and all other instruments that evidence and/or secure the Loan are collectively referred to
       herein as the "Loan Documents".

               NOW, THEREFORE, in consideration of the fbregoing Recitals, and for other good and
       valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
       hereto agree as Wows:

               I.     Ra         o. Terms which are defined in the Note and Deed of Trust shall have the
       same meanings when used In this Amendment, unless a diffisrent definition is given or referred to
       herein or unless the context requires otherwise.

              2.      MagglixjaMsaltggging. The maturity date of the Note is hereby extended to
       August 17, 2019 (the "Maturity Date"), at which time the outstanding principal balance of the
       Note and all accrued interest shall be due and payable. By agreeing to extend the Maturity Date,
       Lender Is not committing to any fbture modifloadons, extensions, or renewals of any of the Loan
       Documents.


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                 3.      latest Rate; Total Payoff Amount. The parties acknowledge and agree that Lender
         retained Eight Hundred Thousand Dollars ($800,000.00) as prepaid interest pursuant to the terms of
          the Note, and as of the prior maturity date of June 18, 2019, the current balance ofunpaid principal
         due and owing is Thirty Million One Hundred Eighty Eight Thousand Two Hundred Thirty Five
         Dollars ($30,188,235.00). Additionally, the parties acknowledge and agree that the interest rate of
         the Note is being Increased by this Amendment to 4.0% per annum, to begin accruing on the unpaid
         principal balance on June 18, 2019, until the Maturity Date. Additionally, on the date of Lender's
         execution of this Amendment, the parties acknowledge and agree that Lender shall fbnd an
         additional $400,000.00 to Borrower, which shall be added as principal to the current principal
         balance of $30,188,235.00, such that the total unpaid balance of principal shall be Thirty Million
         Five Hundred Eighty Eight Thousand Two Hundred Thirty Five Dollars ($30,588,235.00) ("New
        Principal"), which shall be considered the New Principal as of June 18, 2019. The parties further
        agree that, pursuant to the interest rate established by this Amendment, on the Maturity Date the
        total payoff amount due under the Loan Documents shall be Thirty Million Seven Hundred Eighty
        Nine Thousand Three Hundred Sixty Three and 12/100 Dollars ($30,789,363.12), including the
        New Principal, and Two Hundred One Thousand One Hundred Twenty Eight and 12/100 Dollars
        ($201,128.12) in Interest accrued at 4.0% per annum on the New Principal between June 18, 2019
        and the Maturity Date. Borrower agrees upon demand to pay all costs and expenses incurred by
        Lender in connection with this Amendment, including but not limited to attorneys' fees and costs,
        title company charges and recording fees.
               4.                                                                             As of the
        Date of this Amendment and in consideration fbr the renewal, extension and/or restructure of the
        Note, Borrower hereby agrees as fbIlows:
                            A.      Borrower: (I) ftdly and finally acquits, quitolahns, releases and discharges
                    each of the Released Parties (the term "Released Parties" shall be defined as Lender and its
                    respective officers, directors, shareholders, representatives, employees, agents and attorneys)
                   of and ftom any and all obligations, olahns, liabilities, damages, demands, debts, liens,
                   deficiencies or cause or causes ofaction (Including claims and causes ofaction fur usury) to,
                   ofor fbr the benefit (whether directly or indirectly) ofBorrower, at law or in equity, known
                   or unknown, contingent or otherwise, whether asserted or unasserted, whether now known
                   or hereafter discovered, whether statutory, In contract or in tort, as well as any other kind or
                   character of action now held, owned or possessed (whether directly or indirectly) by
                   Borrower on account of, arising out of, related to or concern               whether directly or
                   Indirectly, proximately or remotely (a) the Note or any of the Loan boatments, or (b) this
                   Amendment; (ii) waives any and all defirnses to payment of the Note fix any reason; and
                   (iii) waives any and all delbnses, counterclaims or offsets to the Loan Documents
                   (collectively, the "Released Claims');

                           Except as hereinabove limited, it is understood and agreed by Borrower that the
                   claims released hereunder include all claims of every nature and kind whatsoever, known or
                   unknown, suspected or unsuspected, arising out of or related to any and all of the matters
                   referred to in the immediately preceding paragraph, notwithstanding the provisions of
                   Section 1542 of the Califbrnia Civil Code, which Section provides as ibilows:

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                           "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                           THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                           KNOW OR SUSPECT TO EXIST iN HIS OR HER FAVOR AT
                           THE TIME OF EXECUTING THE RELEASE AND THAT, iF
                           KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                           AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                           OR. RELEASED PARTY."

                           Borrower acknowledges that It may hereafter discover facts different from, or in
                   addition to, those which it now knows or believes to be true with respect to the claims
                   released hereunder, and agree that the fbregoing release shall be and remain effective in all
                   respects notwithstanding such different or additional !hots or the discovery thereof, and
                   waives application of the provisions of Section 1542 with respect to the claims released
                   hereunder.

                5.       Continuing Security. The Deed of Trust, as modified by this Amendment, shall
        continue to secure the indebtedness evidenced by the Note as amended by this Amendment, and all
        other indebtedness and obligations secured by the Deed of Trust, Except as expressly modified by
        this Amendment, the Deed of Trust shall remain in fell force and effect, and this Amendment shall
        have no effbot on the priority or validity of the lien of the Deed of Trust, which shall continue to
        constitute a lien and charge on the property encumbered by fhe Deed of Trust as follows:

                         A.     The Merest Deed of Trust, as modified by this Amendment, shall continue
        to constitute a seventh position lien end charge on the property encumbered by the Hillorest Deed of
        Trust.

                       B.    The Aimie Deed of Trust, as modified by this Amendment, shall continue to
       constitute a second position lien and charge on the property encumbered by the Alto's Deed of
       Trust,

                        C.     The Ballast° Deed of Trust, as modified by this Amendment, shall continue
       to constitute a tburth position lien and charge on the property encumbered by the Bellagio Deed of
       Trust.

                     D.      The Carcassonne Deed of Trust, as modified by this Amendment, shall
       continue to constitute a fourth position lien and charge on the property encumbered by the
       Carcassonne Deed of Trust.

                      E.      The Stone Ridge Deed of Trust, as modified by this Amendment, shall
       continuo to constitute a fourth position Hen and charge on the property encumbered by the Stone
       Ridge Deed of Trust.




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                     F.       The Londonderry Deed of Trust, as modified by this Amendment, shall
        continue to constitute a filth position Hen and charge on the property encumbered by the
        Londonderry Deed of Trust,

                6,      No Other Modifications, Except as modified expressly or by necessary implication
        hereby and by this Amendment, all of the terms and conditions of the Note and Deed of Trust shall
        remain unchanged and in lbll force and effect, To the extent the provisions of this Amendment are
        inconsistent with the provisions of the Note or Deed of nust, the provisions of this Amendment
        shall control and supersede such inconsistent provisions in the Note and Deed of Trust.

                7.     SuramionjudAglIggl, All of the grants, including the grant of the power of sale,
        obligations, covenants, agreements, terms, provisions and conditions herein shall apply to, bind and
        inure to the benefit of the heirs, administrators, executors, legal representatives, successors and
        assigns ofBorrower and the successors in trust of trustee, and the endorsees, transfbrees, successors
        and assigns ofLender.
                                           [Signatures on/allowingpage)




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                    EXECUTED AND DELIVERED to be effective as of the date But set forth above.

         BORROWER:                                           LENDER:

        CRESTLLOYD, LLC,                                    Y001 SECURITIES HOLDINGS, LLC,
        a California limited liability co                   a Nevada limited liability company

                                                            By: YOGI Management Trust, its manager
        By:
              Nil
                                                               By:
                                                                     Joseph Englanoff, Trustee
        10701 BELLA010 ROAD, LLC,
        a California limited liability compan


       By:
             Nile N


       CARCASSONNE FINE HOMES, LLC,
       a California limited liability corn


       By:
             Nile


      MARBELLA CONSTRUCTION, INC.,
      a California corporation



          Nile Niam

     1369 LONDONDERRY ESTATE, LLC,
     a California limited Habil s.




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                  EXECUTED AND DELIVERED to be effective as of the date first set forth above,

        BORROWER:                                           LENDER:

       CRESTLLOYD, LLC,                                     YOGI SECURITIES HOLDINGS, LLC,
       a California limited liability company               a Nevada limited liability company

                                                            By: YOGI Management Trust, its manager
       By:
             Nile Niami, Manager
                                                               By:
                                                                     JoseOrrtrit   no..ff, Trustee
       10701 BEI..LAGIO ROAD, LLC,
       a California limited liability company


       By:
             Nile Niami, Manager


      CARCASSONNE FINE HOMES, LLC,
      a California limited liability company


      By:
            Nile Niami, Manager


     MARBBILA CONSTRUCTION, INC.,
     a California corporation


      By:
            Nile Niami, Manager

     1369 LONDONDERRY ESTATE, LLC,
     a California limited liability company


     By:
            Nile Niami, Manager




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      CALIFORNIA ACKNOWLIDGMENT                                                                             CIVIL CODER 1189
                                                                                         wroureweirmumerossumairuerelemeamievere
        A notatypubk or other officer completing this certificate verifies only the Identity of the Individual who signed the document
        to which this certificate Is attached, and not the truthfulness, accuracy, or validity of that document.

      State of California
      County of L-C-r.           Al...,:iCi vi.E.1,,Cj
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                  Date             .
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                                                                                      Nam, and Title of th Officer
      personally appeared                                              I..
                                                                     Name(s) of Signerfs)

     who proved to me on the basis of satisfactory evidonce to be the person(s) whose name(s) is/are subscribed
     to the within Instrument and acknowledged to me that he/she/they executed the same In his/her/their
     authorized capacItyfies). and that by his/her/their sIgnature(s) on the instrument the person(s), or the entity
     upon behalf of which the persons) acted, executed the Instrument,


                                                                      I certify under PENALTY OF PERJURY under the
                                                                      laws of the State of California that the foregoing
                             Ran Glitell
                        Notary Peelle • Calibrate                     paragraph is true and correct.
                          Los Aegerss County
                        Commission • 21.41311                          WITNESS my hand and official seal.
                     ra Comm 5 N Oat I,


                                                                      Signature                         V..14             1
            Place Notary Seal and/or Stamp Above                                              V             Nota Public
                                                      OPTIONAL
                           Completing this information can deter alteration of the document or
                            fraudulent reattachment of this form to an unintended document.
       Description of Attached Do ment
       Title or Type of Document
       Document Date'                                                                          Number ofPages:
       SIgner(s) Other Then Named Above.
      Caplecky(les) Claimed by Signer(*)
      Signer's Name:                                                   Signer's Name;
      O Corporate Officer —                                            n Corporate OfRcer Title(sk
      O Partner — 0 Limited 0 General                                  0 Partner — O Limited C General
      0 Individual            0 Attorney In Fact                       0 Individual            0 Attorney In Fact
      0 Trustee               0 Guardian or Conservator                0 Trustee               o Guardian or Conservator
      CI Other:                                                        0 Other:
      Signer is Representing:                                          Signer is Representing'

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       STATE OF CALIFORNIA

       COUNTY OF LOS ANGELES


      On 110        PO         , before me,
      for said tate, personally appeared      0.5e.
                                                            0../110,Afr/Z,
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                                                                                  , a Notary Public in and
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      basis of satisfactory evidence to be the pers n(st) ose name is/are subscribed to the within
      instrument and acknowledged to me that ke/ehethey executed thee same in his/her/their
      authorized capaoity(ies), and that by his/her/their signature(*) on the instrument the person(a), or
      the entity upon behalf of which the person4 acted, executed the instrument.

      I certify under PENALTY OF PERJURY under the laws of the State of Califbmia that the
      foregoing paragraph is true and correct,

      W11NESS my hand and official



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                   MACAW:ME COMPANY
                    COMMERCIAL DIVISION
                   L12434-994-L12


                 Recording Requested By
                 and When Recorded Mail To:

                 WOLF, RIFKIN, SHAPIRO,
                 SCHULMAN & RABKIN, LLP
                 11400 West Olympic Blvd., 9th Floor
                 Los Angeles, California 90064.1582
                 Attention: Steven H. Zidell, Esq.

                                                                          Space Above This Line For Recorder's Use


                               SECOND AMENDMENT OF NOTE AND DEEDS OF TRUST


                         This Second Amendment of Note and Deeds of Trust (the "Second Amendment") is
                entered Into as of August 17, 2019, by sod between Crestlloyd, LLC, a California limited liability
                company ("Borrower"), 10701 Bella& Road, LLC, a California limited liability company,
                Carcassonne Fine Homes, LLC, a California Unshed liability company, Madrona Construction, Inc.,
                a California corporation, 1369 Londonderry Estate, LLC, a California limited liability =way and
                YOGI Securities Holdings, LLC, a Nevada limited liability company ("Lender"), with reformat to
                the following Alas:

                                                             Balkh
                      A.      Borrower executed a Deed of Trust dated October 16, 2018 (the "Hl erest Deed of
               Trust"), in fiwor of Lender, as beneficiary, which Deed of 'hunt was recorded on October 19,
               2018, as Instnunent No. 20181065783, Official Records of Los Angeles County, California
               ("Official Records").

                      B.      Borrower executed a Deed of Trust dated October 16, 2018 (the "Mini. Deed of
               Trust"), in hour of Lender, as beneficiary, which Deed of Trust was recorded on November 7,
               2018, as Instrument No. 201S1126580. Official Records.

                      C.      10701 13diagio Road, LLC, a California Ihnhed liability company, executed a Deed
               of Trust dated October 16, 2018 (the "Bellaapo Deed of Trost"), in flwor of Lender, en beneficiary,
               which Deed of Trust was recorded on October 19, 2018, as Instmment No. 20181065788, Official
               Records.
                     D.      CM80111110111141 Fine Homes, LLC, a California limited liability company, executed a
               Deed of Trust dated October 16, 2018 (the "Coarsens. Deed of Trust", in favor of Lender, as

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                 beneficiary, which Deed of Trust was recorded on October 19, 2018, as Instrument No.
                 20181065789, Official Records.

                        E.     Mariana Construction, Inc, a California comonnion, executed a Deed of Trust
                 dated October 16, 2018 (the "Stone Ridge Deed of Trust"), in ftvor of Lender, as beneficiary,
                 which Deed of 'Dust was recorded on October 19, 2018, as Instrument No, 20181065790, Official
                 Records.
                         P.      1369 Londonderry Estate, LLC, a California limited liability company, executed a
                Deed of nust dated October 16, 2018 (the "Londonderry Deed Obese), in Thvor of Lender, as
                beneficiary, which Deed of Trust was recorded on October 19, 2018, as Instrument No.
                20181065187, OfEcial Records. The Hillcrest Deed of That, Airole Deed of Trust, Bellagio Deed
                of Trust, Carcases= Deed of Trust, Stone Ridge Deed of Trust and Londondeny Deed of Trust
                                                                                                                                     ig
                are collectively referred to hereinafter as the "Deed of Trust",
                        G.    The Deed of Trust scums a loan (the "Lean") to Borrower in the original principal
                amount of Thirty Million One Hundred Eighty Bight Thousand Two Hundred Thirty Five Dollars
                ($30,188,235,00). The Loan is evidenced by a Promissory Note (the "Original Note") in the
                principal amount of the Loan, dated October 16, 2018, made by Borrower in favor of Lender.
                        H.      Borrower and Lender executed an Amendment of Note and Deed of Trust dated
                lute 18, 2019 (the "First Anteadasent"), which extended the term of the Original Note upon the
                conditions set forth therein, and established a new principal balance of Thirty Million Five Hundred
                Eighty Eight Thousand Two Hundred Thirty Five Dollars ($30,588,23100).
                               Lender is the holder of all beneficial Wadi! under the Loan, the Deed of Trust, the
                Original Note and all other instruments that evidence and/or secure the Lasnt.
                       L       Borrower and Leader wish to execute and record this Second Amendment to !tints.
               extend the term of the Original Note upon the conditions set firth herein, and to confirm that the
               Deed of Trust, as amended, secures the Indebtedness evidenced by the Original Note, and other
               obligations described in the Original Note and Deed of Trust as modified by the First Amendment
               and this Second Amendment, The Original Note, as amended by the First Amendment and this
               Second Amendment is hereinafter refined to as the "Note". The Loan, the Note, the Deed of Trust,
               and all other instruments that evidence and/or secure the Loan are collectively Mined to herein as
               the "Loan Decussate.

I                      NOW, THEREFORE, In consideration of the foregoing Recta's, and for other good and
               valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
               hereto agree as Mown
                     1.      =Om Terms which are defined in the Note and Deed of Trust shall have the
               wane meanings when used in this Second Amendment, unless a different definition is given or
               ranted to herein or unless the context requires otherwise.

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                                                                                                                                           m
                      2.      Matudiy_Datelattnits The maturity date of the Note is hereby extended to
               October 16, 2019 (the "Maturity Date"), at which time the outstanding principal balance of the                              O
               Note and all accrued interest shall be duo and payable. By agreeing to extend the Maturity Date,
               Lender is not committing to any &tura modifications, extensions, or renewals of any of the Loan
               Documents.

                        3.     Wiliest Rater Total Payoff Amoutg. The parties acknowledge and agree that Lender
                retained Eight Hundred Thousand Dollars ($800,000.00) as prepaid Interest pursuant to the tams of
                the Original Note. The parties acknowledge and agree that pursuant to the terms of the First
                Amendment, Lander funded an additional $400,000.00 to Borrower, adding such amount to the
                unpaid principal balance, and increased the Interest rate of the Original Note to 4.0% per mum.
               The parties acknowledge and agree that as of the prior maturity date of August 17, 2019, the =rent
               balance of unpaid principal and interest due and owing is Tirty Million Seven Htuiched Eighty
               Nine Thousand Three Hundred Sixty Three and 12/100 Dollars 030,789,361121 which includes
               (1) the principal amount established by the First Amendment of $30,588,235.00 ("First
               Amendment Principal"), and (ii) interest of $201,128.12 accrued at a rate of 4.0% per annum
               between June 18, 2019, and August 17, 2019. The parties hither acknowledge and agree that on
               August 17, 2019, the unpaid interest of $201,128.12 shall be added as principal to the First
               Amendment Principal balance of $30,588,235.00. Additionally, on the date of Lender's execution
               of this Amendment, the parties acknowledge and agree that Lender shall had an additional
               $739,000.00 to Borrower, which shall also be added as principal to the First Amendment Principal
               balance of $30,588,235.00. Accordingly, the total updated unpaid principal balance shall include (i)
               the First Amendment Principal balance of $30,5$5,235.00, (ii) the unpaid interest of $201,128.12,
               and (ill) Leader's additional fu nding of $739,000.00 to Borrower, for a total updated principal
               below of Thirty One Million Five Hundred Twenty Bight Thousand Three Hundred Sixty Three                                    1
               and 12/100 Dollars ($31,321,363.12) ("New Principal Balance"), which shall be considered the
              New Principal Balance as of August 17, 2019. The parties hrther acknowledge and awn that
              pursuant to the interest rate established by the First Amendment and maintained in this Second
              Amendment, on the Maturity Date the total payoff amount due wider the Loan Documents shall be
              Thirty One Million Seven Hundred Thiny Five Thousand Six Hundred Seventy Two and 72/100
              Dollars ($31,735,672.72), including the New Principal Balance, and Two Hundred Seven Thousand
              Thine Hundred Nine and 6W100 Dollars ($207,309.60) in interest accrued at 4.0% per annum on
              the New Principal Balance between August 17, 2019 and the Maturity Date. Become agrees upon
              demand to pay all costs and expenses incurred by Lender in connection with this Second
              Amendment, including but not limited to attorneys' fees and costs, title company charges and
              recording fees. Lender may, at its sole option, pay fix such attorneys' this and costs, title company
              charges and recording hes out of the proceeds adz additional hnding of $739,000.00,
                     4.     Beleeses-Sorents Not tit iltlitahLiallogsallusaitkolliAmike. As of the
              Date of this Amendment and in consideration for the renewal, concision and/or restructure of the
              Note, Borrow hereby awes as ibllows;
                                 A.      Borrows: (1) belly and finally acquits, quitclaims, releases and discharges
                         each of the Released Pardee (the term "Released Parties" shall be defined as Lender and Its
                         respective officers, directors, shareholders, representatives, employees, agents and attorneys)
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                            of and from any and all obligations, claims, liabilities, damages, demands, debts, liens,
                            deficiencies or cause or causes of action (including claims and causes of action for usury) to,
                            of or for the benefit (whether directly or indirectly) of Borrower, at law or in equity, known.
                           or unknown, contingent or otherwise, whether asserted or unasserted, whether now known
                           or hereafter discovered, whether statutory, in contract or in tort, as well as any other kind or
                           character of action now held, owned or possessed (whether directly or indirectly) by
                           Borrower on account of, arising out of, related to or concerning, whether directly or
                           indirectly, proximately or remotely (a) the Note or any of the Loan Documents, or (b) this
                           Second Amendment; (ii) waives any and all defisnses to payment of the Note for any reason;
                           and (ill) waives any and all defenses, counterclaims or offsets to the Loan Documents
                           (collectively, the "Released Clabns");
                                 Except as hereinabove limited, it Is understood and agreed by Borrower that the
                         claims released hereunder Include all claims of every nature and kind whatsoever, known or
                         unknown, suspected or unsuspected, arising out of or related to any and all of the matters
                         referred to in the immediately preceding paragraph, notwithstanding the provisions of
                         Section 1542 ofthe Califbmia Civil Code, which Section provides m follows:
                                  "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                                  THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                                  KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                                  THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                                  KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                                  AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                                  OR RELEASED PARTY."
                                 Borrower acknowledges that it may hereafter discover facts different from, or in
                         addition to, those which it now knows or believes to be true with taped to the claims
                         released hereunder, and agree that the foregoing release shall be and remain effective in all
                         respects notwithstanding such daunt or additional Sots or the discovery thereof, and
                         waives application of the provisions of Section 1542 with respect to the claims released
                         hereunder.
                       S.     Cgitingagjggarikk The Deed of Trust, as modified by the First Amendment and
               this Second Amendment, shall continue to secure the indebtedness evidenced by the Note as
               amended by the First Amendment and this Second Amendment, and all other indebtedness and
               obligations secured by the Deed of Trust. Except as expressly modified by the Pint Amendment
               and this Second Amendment, the Deed of Trust shall remain in bit fine and enact and this
               Second Amendment shall have no effect on the priority or validity of the lien of the Deed of Trust,
               which shall continue to constitute a lien and charge on the property encumbered by the Deed of
               Trust as fbllows:
                               A.     The Hilkrest Deed of Trust, as modified by this Amendment, shall continue
              to constitute a seventh position lien and charge on the property encumbered by the Hillcrest Deed of
              'Mot
              37/14701




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                                 B.    The Aimie Deed of Trust, as modified by this Amendment, shall continue to
                 constitute a second position lien and charge on the property encumbered by the Mole Deed of
                 Trust.

                                C.      The adagio Deed of Trust, as modified by this Amendment, shall continue
                to constitute a fourth position lien and charge on the property encumbered by the Bellagio Deed of
                Trust.                                                   •

                              D.      The Carcassonne Deed of Trust, as modified by this Amendment, shall
                continue to constitute a fourth position lien and charge on the property encumbered by the
                Carcassonne Deed of Trust.
                               E       The Stone Ridge Deed of Trust, as modified by this Amendment, shall
                continue to constitute a fourth position lien and charge on the property encumbered by the Stone
                Ridge Deed of Thist,
                              F.      The Londonderry Deed of Trust, as modified by this Amendment, shall
                continue to constitute a fifth position lien and charge on the property encumbered by the
                Londonderry Deed of Trust.
                        6.     NIDtherilimbiggrigng Except as modified expressly or by necessary implication
                hereby and by this Second Amendment, all of the tonne and conditions of the Note and Deed of
                Trust shall remain unchanged and in fbil force and effect. To the extent the provisions of this
                Second Amendment are inconsistent with the provisions of the Note or Deed of Trust, the
                provisions of this Second Amendment shall control and supersede such inconsistent provisions in
                the Note and Deed of Tnnt.
                       7.      figggognigniaggigns. All of the grants, including the grant of the pow of sale,
               obligations, covenants, agreements, terms, provisions and conditions herein shall apply to, bind and
               inure to the benefit of the heirs, administrators, executors, legal representatives, successors and
               assigns reBorrower and the memo in trust of trustee, and the endorsees, Intasferees, successors
               and assigns of Lender.

                                                 [Signatures onfollen*WP4881




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                             EXECUTED AND DELIVERED to be effective as of the date first set forth above.

                    BORROWER                                           LENDER:

                    CRESTLLOYD, LLC,                                   YOGI SECURITIES HOLDINGS, LLC,
                    a Califonsia limited liability company             *Nevada limited liability company

                                                                       By: YOGI Management             a manager
                    By:

                                                                          By:
                                                                                Joseph
                    10701 BELLA010 ROAD, LLC,
                    a Califomia limited liabili                                                                                        1
                By:


                CARCASSONNE FINE HOMES. LLC,
                 Catitbrnia lindted liability

                By:


                MARBELLA CONSTRUCTION, INC.,
                a WIWI) oceporadon


                BY:
                      Nils

               1369 LONDONDERRY ESTATE, LLC,
               a California limited liability company




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                                                  who signed the document to which this certificate is
                                                 attached, and not imthfbiness, accuracy, or validity of
                                                                      that document.


                    STATE OF CALIFORNIA

                   COUNTY OF LOS ANGELES                           )

                   On Set te..4.4.t. ,,, tat% before me, Stay vn ii, 2 : Alai                 , a Notary Public in and
                   for said State, personally appeared                                    who proved to me on the
                   basis of satisfactory evidence to be the person(s). se name(s) is/are subscribed to the within
                   instrument and acknowledged to me that he/she/they executed the same in hitvher/their
                   authorized capacity(ies), and that by his/her/their sipature(s) on the instrument the person(s), or
                   the entity upon behalf of which the person(s) acted, executed the instrument.
                   I certify under PENALTY OF PERJURY under the laws of the State of California that the
                   foregoing paragraph is true and correct.

                   WITNESS my hand and official seal,


                   Signature                      ll. .44642,0010                                        VIVO KIM
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                                                  certificate verifies only the identity of the Individual
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                                                 attached, and not truthlninass, accuracy, or validity of
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                   STATE OF CALIFORNIA
                   COUNTY OF LOS AMBLES

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                   fbr said State, personally appeared it P_         i 4 kii
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                                                                                               a Notary Public in and
                                                                                        , who proved to me on the
                   basis of satishctory evidence to be the person(*) whose name(s) is/are subscribed to the within
                   instrument and acknowledged to me that he/she/they exeouted the same in his/her/their
                   authorized ospacity(les), and that by ids/her/their signatum(s) on the Instrument the person(s), or
                   the entity upon bebsif of which the person(*) acted, executed the instrument.
                  I certify under PENALTY OP PERJURY under the laws of the State of California that the
                  tbregoing paragraph is two and correct.
                   WITNESS my hand and official seal.


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                               SECURED PROMISSORY NOTE

 $5,200,000.00                                                            Los Angeles, California
                                                                                  April 20, 2018

         FOR VALUE RECEIVED, Marbella Construction, Inc., a California corporation
 ("Marbella"), and 1369 Londonderry Estate, LLC, a California limited liability company
 ("Londonderry" and together with Marbella, "Borrower"), promises to pay to the order of YOGI
 Securities Holdings, LLC, a Nevada limited liability company ("Lender") the principal sum of
 $5,200,000.00, plus interest on the unpaid principal balance thereof at the rate set forth below.

        1.       Interest Rate; Maturity Date; Prepayment.

                a.    The outstanding balance owing under this Note shall accrue interest at a
 rate of 4.750% per annum until November 20, 2018. From and after November 20, 2018, the
 outstanding balance owing under this Note shall accrue interest at a rate of 9.750% per annum.

                b.     The outstanding balance owing under this Note as well as interest thereon-
 shall be due and payable in full on January 20, 2019 (the "Maturity Date").

                 c.    This Note may be prepaid in whole or in part without penalty or premium
at any time.

        2.     Security. This Note is secured by (i) a Deed of Trust dated as of April 1, 2018
(the "Londonderry Deed of Trust"), executed by Londonderry, as "Trustor," in favor of Lender,
as "Beneficiary," with respect to certain real property located at 1369 Londonderry Place, Los
Angeles, California 90069 (the "Londonderry Property"), and (ii) a Deed of Trust dated as of
April 1, 2018 (the "Stoneridge Deed of Trust" and, together with the Londonderry Deed of
Trust, the "Deed of Trust"), executed by Marbella, as "Trustor," in favor of Lender, as
"Beneficiary," with respect to certain real property located at 3381 Stoneridge Lane, Los
Angeles, California 90077 (the "Stoneridge Property" and, together with the Londonderry
Property, the "Property").

        3.      Application of Payments. All payments on this Note shall, at the option of the
holder hereof, be applied first to the payment of accrued and unpaid interest, and after all such
interest has been paid, any remainder shall be applied to reduction of the principal balance.

       4.      Late Charge. Borrower acknowledges that if any payment required under this
Note is not paid within 10 days after the same becomes due and payable, the holder hereof will
incur extra administrative expenses, in addition to expenses incident to receipt of timely
payment, and the loss of the use of funds in connection with the delinquency in payment.
Because, from the nature of the case, the actual damages suffered by the holder hereto by reason
of such extra administrative expenses and loss of use of funds would be impracticable or
extremely difficult to ascertain, Borrower agrees that a late charge of 10% of the amount of the
delinquent payment and the imposition of the default interest rate provided for below shall be the
amount of damages to which such holder is entitled, upon such breach, in compensation therefor
(provided that no such late charge shall be payable with respect to any balloon payment due on
the Maturity Date). Borrower shall, therefore, in such event, without further notice, pay to the
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  holder hereof as such holder's sole monetary recovery to cover such extra administrative
  expenses and loss of use of funds, liquidated damages in the amount of 10% of the amount of
 such delinquent payment and any additional interest owed as a result of the imposition of the
 default interest rate as provided below. The provisions of this paragraph are intended to govern
 only the determination of damages in the event of a breach in the performance of the obligation
 of Borrower to make timely payments hereunder. Nothing in this Note shall be construed as an
 express or implied agreement by the holder hereof to forbear in the collection of any delinquent
 payment, or be construed as in any way giving Borrower the right, express or implied, to fail to
 make timely payments hereunder, whether upon payment of such damages or otherwise. The
 right of the holder hereto to receive payment of such liquidated and actual damages, and receipt
 thereof, are without prejudice to the right of such holder to collect such delinquent payments and
 any other amounts provided to be paid hereunder or under any security for this Note or to declare
 a default hereunder or under any security for this Note.

        5.     Address for Payments. All payments on this Note are to be made or given to the
 holder hereof whose address for this purpose is 9701 West Pico Boulevard, Suite 201A, Los
 Angeles, California 90035, or to such other person or at such other place as the holder hereof
 may from time to time direct by written notice to Borrower.

         6.     No Offset; Holder in Due Course. Borrower waives any right of offset it now
 has or may hereafter have against the holder hereof and its successors and assigns, and agrees to
 make the payments called for hereunder in accordance with the terms hereof. The holder hereof
 and all successors thereof shall have all the rights of a holder in due course as provided in the
 California Uniform Commercial Code and other laws of the State of California.

         7.      Waivers. Borrower and any endorsers, guarantors or sureties hereof severally
 waive presentment and demand for payment, notice of intent to accelerate maturity, protest or
 notice of protest or non-payment, bringing of suit and diligence in taking any action to collect
 any sums owing hereunder or in proceeding against any of the rights and properties securing
 payment hereunder; expressly agree that this Note, or any payment hereunder, may be extended
 from time to time; and consent to the acceptance of further security or the release of any security
 for this Note, all without in any way affecting the liability of Borrower and any endorsers or
 guarantors hereof No extension of time for the payment of this Note, or any installment hereof,
 made by agreement by the holder hereof with any person now or hereafter liable for the payment
 of this Note, shall affect the original liability under this Note of Borrower, even if Borrower is
 not a party to such agreement.

         8.     Default Interest; Acceleration. The failure of Borrower to pay or perform as
 required hereunder or a default under the Deed of Trust or any other instrument securing this
 Note or secured by the Deed of Trust shall constitute a default hereunder. Upon the occurrence
 of a default hereunder, at the option of the holder hereof, all amounts then unpaid under this
 Note, the Deed of Trust or any other instrument securing this Note or secured by Deed of Trust
 shall bear interest for the period beginning with the date of occurrence of such default at a
 default rate equal to 10%, payable monthly on the first day of each and every month, and in
 additional such holder may, at its option, declare immediately due and owing the entire unpaid
 principal sum together with all interest thereon, plus any other sums owing at the time of such
 declaration pursuant to this Note, the Deed of Trust or any other instrument securing this Note.


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 The failure to exercise the foregoing option shall not constitute a waiver of the right to exercise
 the same at any subsequent time in respect of the same event or any other event. The acceptance
 by the holder hereof of any payment hereunder which is less than payment in full of all amounts
 due and payable at the time of such payment shall not constitute a waiver of the right to exercise
 any of the foregoing options at that time or at any subsequent time or nullify any prior exercise
 of any such option without the express consent of such holder, except as and to the extent
 otherwise provided by law.

          9.     Lawful Money; Costs of Collection. All amounts payable hereunder are payable
 in lawful money of the United States. Borrower agrees to pay all costs of collection when
 incurred, including reasonable attorneys' fees and costs, whether or not a suit or action is
 instituted to enforce this Note, including but not limited to court costs, appraisal fees, the cost of
 searching records, obtaining title reports and title insurance and trustee's fees, to the extent
 permitted by applicable law.

         10.    Due on Sale and Encumbrance. Borrower acknowledges and agrees that the
 creditworthiness and expertise of undersigned in owning, developing and operating the Property
 is the basis upon which holder has determined that it is protected against impairment of the
security and risk of default and thereby has agreed to lend undersigned the principal sum set
 forth above. In order to insure the continued creditworthiness and expertise of the owner of the
Property and in order to allow the holder of this Note an opportunity to review and evaluate the
same, undersigned agrees, for itself and subsequent owners of the Property, that the Property
shall not be sold, agreed to be sold, conveyed, transferred, assigned, disposed of, or further
encumbered, whether voluntarily, involuntarily, by operation of law or otherwise, without the
written consent of the holder hereof being first obtained, which consent may be withheld in
holder's sole and absolute discretion. Any transaction in violation of the above restrictions shall
cause the then outstanding principal balance and interest thereon and other sums secured by said
Deed of Trust, at the option of said holder, to immediately become due and payable. If Borrower
is a corporation, limited liability company or trust, the sale, conveyance, transfer or disposition,
whether voluntary or involuntary, of 25% or more of the issued and outstanding common stock
or membership interests of Borrower, or of the beneficial interest of such trust, or, in the event
Borrower is a limited or general partnership or a joint venture, a change of any general partner or
any joint venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
disposition, or encumbrance of any such general partnership or joint venture interest shall be
deemed to be a transfer of an interest in the Property for purposes of this section.

Borrower agrees, for itself and subsequent owners of the Property, that in the event that
the improvements on the Property are altered or demolished without the written consent of
the holder hereof being first obtained, which consent may be withheld in holder's sole and
absolute discretion then outstanding principal balance and interest thereon and other sums
secured by said Deed of Trust, at the option of said holder, shall immediately become due
and payable, in whole or in part, as the holder so determines.

       11.     Usury Protection. The parties hereto intend to conform strictly to the applicable
usury laws. In no event, regardless of any provisions contained therein or in any other document
executed or delivered in connection herewith, shall the holder hereof ever be deemed to have
contracted for or be entitled to receive, collect or apply as interest on this Note, any amount in


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  excess of the maximum amount permitted by applicable law (the "Maximum Rate"). In no
  event, whether by reason of demand for payment, prepayment, acceleration of the maturity
  hereof or otherwise, shall the interest contracted for, charged or received by the holder hereunder
  or otherwise exceed the Maximum Rate. If for any circumstance whatsoever interest would
  otherwise be payable to the holder in excess of the maximum lawful amount, the interest payable
  to the holder shall be reduced automatically to the Maximum Rate and any payment received in
  excess of such amount shall be applied to the outstanding principal balance of the Note.

           12.    Governing Law; Venue; Joint and Several Liability. This Note shall be
  governed by and construed according to the laws of the State of California. The parties agree
  that, at Lender's option, in any action to enforce or interpret this Note, the courts located in Los
  Angeles, California shall have exclusive jurisdiction and be the exclusive venue. Nothing
  contained herein shall affect the rights of Lender to bring a suit, action or proceeding in any other
  appropriate jurisdiction. In the event Borrower is composed of more than one party, the
  obligations, covenants, agreements and warranties contained herein as well as the obligations
  arising therefrom are and shall be joint and several as to each such party.

        13.    Fees and Expenses. Borrower agrees to pay all costs and expenses incurred by
 Lender in connection with the preparation, negotiation and execution of this Note and the other
 loan documents executed pursuant hereto and any and all amendments, modifications and
 supplements thereto, including, without limitation, the costs and fees of Lender's legal counsel,
 any applicable title company fees, title insurance premiums, filing fees, escrow fees,
 reconveyance fees, payoff demands and recording costs.

        14.    Commercial Purpose. Borrower agrees that no funds advanced under this
 Note shall be used for personal, family or household purposes, and that all funds advanced
 hereunder shall be used solely for business, commercial, investment or other similar
 purposes. Borrower does not occupy, and does not intend to occupy, the Property, and no
 principal or owner of Borrower occupies or intends to occupy the Property.

          15.    Severability. If a court of competent jurisdiction determines that any term or
 provision of this Note is illegal, unenforceable or invalid in whole or in part for any reason, such
 illegal, unenforceable, or invalid provisions or part thereof shall be stricken from this Note, and
 such provision shall not affect the legality, enforceability, or validity of the remainder of this
 Note. If any provision or part thereof of this Note is stricken in accordance with the provisions
 of this section, then this stricken provision shall be replaced, to the extent possible, with a legal,
 enforceable, and valid provision that is as similar in tenor to the stricken provision as is legally
 possible.

 1369 LONDONDERRY ESTATE, LLC,                       MARBELLA CONSTRUCTION, INC.,
 a California limited liability company              a California corporation


 By:                                                 By:
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 Title:                                                  e:
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                                                                                                                                   ti
                        CHICAGO TITLE COMPANY
                         COMMERCIAL DIVISION
              RECORDING REQUESTED BY
              AND WHEN RECORDED MAIL TO:
              Daniel Wiese', Esq.
              Wolf, Rifkin, Shapiro, Schulman Alt Rabkin, LLP
              11400 W. Olympic Blvd.,
              9th Floor
              Los Angeles, California 90064.1582

                                  DEED OF TRUST AND ASSIGNMENT OF RENTS

              TITLE ORDER NO. ihriA1.401/.1r2ESCROw NO. PM 2. JPJ                         APNN0.                  -        • IMP

                      This Deed of Trust, made as of April 1, 2018, between 1369 Londonderry Estate, LLC,
              a California limited liability company, herein called Trustor, whose address is 8981 West Sunset
              Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called
              Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
              Beneficiary,
                    Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
             IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
             California, described as:
                                       SEE EXHIBIT A ATTACHED HERETO,
                     TOGETHER WITH the rents, issues and profits thereof; SUBJECT, HOWEVER, to the
             right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
             provisions herein to collect and apply such rents, issues and profits.
                      For the Purpose of Securing:
                           1.      Performance of each agreement of Trustor incorporated by reference or
             contained herein;
                            2.     Payment of the indebtedness evidenced by one promissory note of even
             date herewith,  and any extension or renewal thereof; in the principal sum of $5,200,000.00
             executed by  Trustor  and Marbella Construction, Inc., a California corporation, in favor of
             Beneficiary or order;
                          3.   Payment of such further sums as the then record owner of said property
             may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
             secured; and
                           4.      Payment of any future advances by Beneficiary regardless of whether such
             advances were contemplated by the parties at the time of the granting of this Deed of Trust,
             whether or not such future advances are evidenced by any document, or whether or not any such
             document specifies that it is secured hereby.




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                        To Protect the Security of This Deed of Trust, Trustor Agrees;
                      (1)     To keep said property in good condition and repair, not to remove or demolish
              any building thereon, to complete or restore promptly and in good and workmanlike manner any
              building which may be constructed, damaged or destroyed thereon and to pay when due all
              claims for labor performed and materials furnished therefor, to comply with all laws affecting
              said property or requiring any alterations or improvements to be made thereon, not to commit or
              permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
              law to cultivate, irrigate, fertilize, thmigate, prune and do all other acts which from the character
              or use of said property may be reasonably necessary, the specific enumerations herein not
              excluding the general.
                      (2)     To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
              thereof may be released to Trustor. Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3)     To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                    (4)     To pay at least 10 days beibre delinquency all taxes and assessments affecting
             said property,  including assessments on appurtenant water stock, and to pay when due, all
             encumbrances, charges and liens, with interest, on said property or any part thereof, whit►
             appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Trustor and
             without releasing Trustor from any obligation hereof, may make or do the same in such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property fbr such purposes; appear in and defend any
             action or proceeding purporting to affect the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
             which in the judgment of either appears to be prior or superior hereto, and in exercising any such
             powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                     (5)    To pay immediately and without demand all sums so expended by Beneficiary or
             Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
             hereof and to pay for any statement provided for by law in effect at the date hereof regarding the
             obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
             allowed by law at the time when said statement is demanded.




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                       (6)    That any award of damages in connection with any condemnation for public use
               of or  injury to said property or any part thereof is hereby assigned and shall be paid to
               Beneficiary who may apply or release such moneys received by him in the same manner and
               with the same effect as above provided for disposition of proceeds of fire or other insurance.
                     (7)    That by accepting payment of any sum secured hereby after its due date,
              Beneficiary does not waive his rights either to require prompt payment when due of all other
              sums so secured or to declare default for failure so to pay.
                      (8)    That at any time or from time to time, without liability therefor and without
              notice, upon written request of Beneficiary and presentation of this Deed and said note for
              endorsement, and without affecting the personal liability of any person for payment of the
              indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
              making of any map or plot thereof, join in granting any easement thereon; or join in any
              extension agreement or any agreement subordinating the lien or charge hereof.
                       (9)   That upon written request of Beneficiary state that all sums secured hereby have
              been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
              retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
              then held hereunder. The recitals in such reconveyance of any matters or facts shall be
              conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
              as "The person or persons legally entitled thereto." Five years after issuance of such
              reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
              retain them).
                      (10) That as additional security, Trustor hereby gives to and confers upon Beneficiary
              the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
             and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
             payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
             collect and retain such rents, issues and profits as they become due and payable. Upon any such
             default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
             to be appointed by a court, and without regard to the adequacy of any security for the
             indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
             in his own name sue for or otherwise collect such rents, issues and profits, including those past
             due and unpaid, and apply the same, less costs and expenses of operation and collection,
             including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
             as Beneficiary may determine. The entering upon and taking possession of said property, the
             collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
             or waive any default or notice of default hereunder or invalidate any act done pursuant to such
             notice.
                     (11) That upon default by Trustor in payment of any indebtedness secured hereby or in
             performance of any agreement hereunder. Beneficiary may declare all sums secumd hereby
             immediately due and payable by delivery to Trustee of written declaration of default and demand
             fbr sale and of written notice of default and of election to cause to be sold said property which
             notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
             Deed, said note and all documents evidencing expenditures secured hereby.


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               After the lapse of such time as may then be required by law following the recordation of said
               notice of default, and notice of sale having been given as then required by law, Trustee, without
              demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
              either as a whole or in separate parcels, and in such order as it may determine, at public auction
              to the highest bidder for cash in lawful money of the United States, payable at time of sale.
              Trustee may postpone sale of all or any portion of said property by public announcement at such
              time and place of sale, and from time to time thereafter may postpone such sale by public
              announcement at the time fixed by the preceding postponement Trustee shall deliver to such
              purchaser its deed conveying the property so sold, but without any covenant or warranty, express
              or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
              truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
              defined, may purchase at such sale.
              After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
              evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
              all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
              allowed by law in effect at the date hereof, all other sums then secured hereby, and the
              remainder, if any, to the person or persons legally entitled thereto.
                        (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
              may from time to time, by instrument in writing, substitute a successor or successors to any
              Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
              duly acknowledged and recorded in the office of the recorder of the county or counties where
              said property is situated, shall be conclusive proof of proper substitution of such successor
              Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
              its title, estate, rights, powers and duties. Said instrument must contain the name of the original
              Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
              the name and address of the new Trustee.
                     (13) That this Deed applies to, inures to the benefit of; and binds all parties hereto,
             their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
             Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
             whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
             masculine gender includes the feminine and/or neuter, and the singular number includes the
             plural.
                    (14) That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
             is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
             pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
             Beneficiary or Trustee shall be a party unless brought by Trustee.
                    The undersigned Trustor requests that a copy of any Notice of Default and of any
             Notice of Sale hereunder be mailed to him at his address hereinbefore set forth.
                              SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




             30515$1.3                                        4


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                       IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
               date first above written.
                                                         1369 LONDONDERRY ESTATE, LLC,
                                                         a California limited liability company




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                                                          RIDER TO DEED OF TRUST

                       I.      Due on Sale and Encumbrance. The Note which is secured by this Deed of Trust contains
                       the following "due on sale" and "due on encumbrance" clauses:
                                 "[Trustor] acknowledges and agrees that the creditworthiness and expertise of
                                 undersigned in owning, developing and operating the Property is the basis upon
                                 which holder has determined that it is protected against impairment of the security
    1                           and risk of default and thereby has agreed to lend undersigned the principal sum
                                set forth above. In order to insure the continued creditworthiness and expertise of
                                the owner of the Property and in order to allow the holder of this Note an
                                opportunity to review and evaluate the same, undersigned agrees, for itself and
                                subsequent owners of the Property, that the Property shall not be sold, agreed to
                                be sold, conveyed, transferred, assigned, disposed of, or further encumbered,
                                whether voluntarily, involuntarily, by operation of law or otherwise, without the
                                written consent of the holder hereof being first obtained, which consent may be
                                withheld in holder's sole and absolute discretion. Any transaction in violation of
                                the above restrictions shall cause the then outstanding principal balance and
                               interest thereon and other sums secured by said Deed of Trust, at the option of
                               said holder, to immediately become due and payable. If [Trustor] is a
                               corporation, limited liability company or trust, the sale, conveyance, transfer or
                               disposition, whether voluntary or involuntary, of 25% or more of the issued and
                               outstanding common stock or membership interests of rFrustori, or of the
                               beneficial interest of such trust, or, in the event [Trustor] is a limited or general
                               partnership or a joint venture, a change of any general partner or any joint
                               venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                               disposition, or encumbrance of any such general partnership or joint venture
                               interest shall be deemed to be a transfer of an interest in the Property for purposes
                               of this section.
                              [Trustor] agrees, for itself and subsequent owners of the Property, that in the
                              event that the improvements on the Property are altered or demolished without the
                              written consent of the holder hereof being first obtained, which consent may be
                              withheld in holder's sole and absolute discretion then outstanding principal
                              balance and interest thereon and other sums secured by said Deed of Trust, at the
                              option of said holder, shall immediately become due and payable, in whole or in
                              part, as the holder so determines.

                     2.       IMAM.
                             a.     Liglalyjnemancs. Trustor shall, at Trustor's sole expense, obtain and keep in
                     force during the term of this Deed of Trust a policy of combined single limit, bodily injury and
                     property damage insurance insuring Beneficiary and 'Frusta against any liability arising out of
                     the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is
                     an encumbrance (the "Property") and all areas appurtenant thereto. Such insurance shall be a
                     combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
                     said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be




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              designated as an additional insured under the liability insurance required under this Deed of
              Trust
                       b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the full replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance, if the Trustor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Motor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.
                      c.     instgiutcc Policies. Insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, Vas set forth in the most current issue of "Best's
              Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the expiration
              of such policies, furnish Beneficiary with renewals or "binders" thereof, or Beneficiary may
              order such insurance and charge the cost thereof to Trustor, which amount shall be payable by
              Trustor upon demand. Trustor shall not do or permit to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.
             3.      Remedies.       Beneficiary may exercise any right or remedy available under the Note or
             this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the occurrence of an
             event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
             preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
             remedies under this Deed of Trust or under the Note or any other Loan Documents. No act of
             Beneficiary shall be construed as an election to proceed under any particular provision of this
             Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
             remedies to the exclusion of any other remedy that may then or thereafter be available to
             Beneficiary. No delay or failure by Beneficiary to exercise any right or remedy under this Deed
             of Trust shall be construed to be a waiver of that right or remedy or of any default by Trustor.
             Beneficiary may exercise any one or more of its rights and remedies at its option without regard
             to the adequacy of its security.
             4.       Anointment of Receiver.
                     a.      Anpointment of Receiver. In any action to foreclose this Deed of Dust, or sell all
             or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
             the appointment of a receiver without notice, without regard to the solvency or insolvency of
             Trustor at the time of application for such receiver, and without regard to the then value of the


                                                              R-2


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              Property or whether the same shall be then occupied as a homestead or not, and Trustee,
              Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
             receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
             and also during any further times when Trustor, except for the intervention of such receiver,
             would be entitled to collect any Rents, and any and all other powers which may be necessary or
             are usual in such cases for the protection, possession, control, management and operation of the
             Property during the whole of said period. The court from time to time may authorize the receiver
             to apply the net income in its hands, after deducting reasonable compensation for the receiver
             and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
             indebtedness secured hereby, including, without limitation, the following, in such order of
             application as Trustee or Beneficiary may elect; (i) amounts due upon the Note secured hereby;
             (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
             and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
             taxes, special assessments, water charges and interest, penalties and costs in connection with the
             Property; (v) any other lien or charge upon the Property that may be or become superior to the
             lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
             is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                      b,    Reimbursanart of Advances.
                            (i)     Trustor agrees to promptly reimburse any monies which Beneficiary
             advances in connection with the appointment of a receiver or the receiver's operation of the
             Property, plus interest at the default rate set forth in the Note. Trustor's obligation to reimburse
             Beneficiary shall be secured by this Deed of Trust.
                             (ii)    In the event that Beneficiary advances any monies necessary to preserve
             the security interest granted by this Deed of Trust arising from a default in any loan secured by
             the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay Beneficiary a
             fee in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
             Deed of Trust.
                    o.      Possession and Operation of Properties. Trustor agrees that the receiver or his
             agents shall be entitled to enter upon and take possession of, and operate, manage and control,
             the Property to the same extent and in the same manner as Trustor might lawfully do.

             5.
             6.     Conflicts. This Rider shall control in the event of a conflict between the terms hereof and
             the Deed of Trust.
                                                              1369 LONDONDERRY ESTATE, LW,
                                                              a California limited liability company




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                                          A notary public or other officer completing this
                                             certificate verifies only the identity of the
                                         individual who signed the document to which this
                                            certificate is attached, and not truthfulness,
                                               accuracy, or validity of that document.

              STATE OF CALIFORNIA

              COUNTY OF LOS ANGELES

              On      q-zo-Zort       , before me, Jesse (At* terhia-daem                 , a Notary Public,
              personally appeared       NI le itheol 16                who proved to me on the basis of
              satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
              instrument and acknowledged to me that he/she/they executed the same in his/her/their
              authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
              the entity upon behalf of which the person(s) acted, executed the instrument.
              I certify under PENALTY OF PERJURY under the laws of the State of California that the
              foregoing paragraph is true and correct.
              WITNESS my hand and official seal.

              Signature


                                                                                                 ACK RIOOLE
                                                                                                COI .522
                                                                                         NOVAYPVINJO •CmilKom
                                                                                             1.0E MOMS COUNTY
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                                           REQUEST FOR FULL RECONVEYANCE

                                            To be used only when note has been paid:

              To r              Title], Trustee                                  Dated

                       The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
              Trust. All sums secured by said Deed of Trust have been fully paid and satisfied; and you are hereby
              requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
              Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
              together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
              terms of said Deed of Trust, the estate now held by you under the same.


                                                                       MAIL RECONVEYANCE TO:


              By:
              Name:
              Title:


             Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
             Trustee for cancellation before reoonveyance will be made.




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          PRELIMINARY REPORT                                                         Chicago Title Company
          YOUR REFERENCE: Escrow 5402-Wi                                  ORDER NO.: 00088802494-LT2-M

                                                   EXHIBIT "A"

                                               LEGAL DESCRIPTION
          THE LAND REFERRED TO HEREIN BELOW IS SITUATED LOS ANGELES, IN THE COUNTY OF LOS ANGELES,
          STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

         LOT 11 OF TRACT NO. 12360, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
         CALIFORNIA, AS PER MAP RECORDED IN BOOK 239, PAGES 27 AND 28 OF MAPS, IN THE OFFICE OF THE
         COUNTY RECORDER OF SAID COUNTY.


         APN: 5559410-004




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 .        t1
                   CHICAGO TITLE COMPANY
                    COMMERCIAL DIVISION

                RECORDING REQUESTED BY
                AND WHEN RECORDED MAIL TO:
                Daniel Wiese', Esq,
                Wolf, Rifkin, Shapiro, Schulman & Rabldn, LLP
                11400 W. Olympic Blvd.,
                9th Floor
                Los Angeles, California 90064-1582

                                   DEED OF TRUST AND ASSIGNMENT OF RENTS

               TrTLE ORDER No. flar-1944 1-ri ESCROW No. .51*3             I              APN No. 221f . .ra. -037
                      This Deed of Trust, made as of April 1, 2018, between Marbella Construction, Inc., a
               California corporation, herein called Trustor, whose address is 8981 West Sunset Boulevard,
               Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called Trustee,
               and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
               Beneficiary,
                      Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
               IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
               California, described as:
                                         SEE EXHIBIT A ATTACHED HERETO,
                       TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
               right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
               provisions herein to collect and apply such rents, issues and profits.
                       For the Purpose of Securing:
                             1.      Performance of each agreement of Trustor incorporated by reference or
               contained herein;
                              2.      Payment of the indebtedness evidenced by one promissory note of even
               date herewith, and any extension or renewal thereof, in the principal sum of $5,200,000.00
               executed by Trustor and 1369 Londonderry Estate, LLC, a California limited liability company,
               in favor of Beneficiary or order;
                            3.   Payment of such further sums as the then record owner of said property
               may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
               secured; and
                             4.      Payment of any future advances by Beneficiary regardless of whether such
               advances were contemplated by the parties at the time of the granting of this Deed of Trust,
               whether or not such future advances are evidenced by any document, or whether or not any such
               document specifies that it is secured hereby.




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                                                                                                                                  1
                         To Protect the Security of This Deed of Trust, Truster Agrees:
                       (1)     To keep said property in good condition and repair, not to remove or demolish
               any building thereon, to complete or restore promptly and in good and workmanlike manner any
               building which may be constructed, damaged or destroyed thereon and to pay when due all
               claims for labor performed and materials furnished therefor, to comply with all laws affecting
               said property or requiring any alterations or improvements to be made thereon, not to commit or
               permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
               law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
               or use of said property may be reasonably necessary, the specific enumerations herein not
               excluding the general.
                      (2)     To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
              with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
              may be applied by Beneficiary upon indebtedness secured hereby and in such order as
              Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
              thereof may be released to Trustor. Such application or release shall not cure or waive any
              default or notice of default hereunder or invalidate any act done pursuant to such notice.
                      (3)     To appear in and defend any action or proceeding purporting to affect the security
              hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
              including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
              proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
              to foreclose this Deed.
                     (4)     To pay at least 10 days before delinquency all taxes and assessments affecting
              said property, including assessments on appurtenant water stock, and to pay when due, all
              encumbrances, charges and liens, with interest, on said property or any part thereof, which
              appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Trustor and
             without releasing Trustor from any obligation hereof, may make or do the same in such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property for such purposes; appear in and defend any
             action or proceeding purporting to affect the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
             which in the judgment of either appears to be prior or superior hereto, and in exercising any such
             powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                     (5)    To pay immediately and without demand all sums so expended by Beneficiary or
             Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
             hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
             obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
             allowed by law at the time when said statement is demanded.




             3051592.3                                         2


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                      (6)     That any award of damages in connection with any condemnation for public use
               of or injury to said property or any part thereof is hereby assigned and shall be paid to
               Beneficiary who may apply or release such moneys received by him in the same manner and
               with the same effect as above provided for disposition of proceeds of fire or other insurance.
                      (7)    That by accepting payment of any sum secured hereby after its due date,
               Beneficiary does not waive his rights either to require prompt payment when due of all other
               sums so secured or to declare default for failure so to pay.
                       (8)    That at any time or from time to time, without liability therefor and without
               notice, upon written request of Beneficiary and presentation of this Deed and said note for
               endorsement, and without affecting the personal liability of any person for payment of the
               indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
               making of any map or plot thereof; join in granting any easement thereon; or join in any
               extension agreement or any agreement subordinating the lien or charge hereof
                       (9)   That upon written request of Beneficiary state that all sums secured hereby have
              been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
              retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
              then held hereunder. The recitals in such reconveyance of any matters or facts shall be
              conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
              as "The person or persons legally entitled thereto." Five years after issuance of such full
              reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
              retain them).
                      (10) That as additional security, Trustor hereby gives to and confers upon Beneficiary
              the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
              and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
              payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
              collect and retain such rents, issues and profits as they become due and payable. Upon any such
              default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
              to be appointed by a court, and without regard to the adequacy of any security for the
              indebtedness hereby secured, enter upon and take possession of said property or any part thereof;
              in his own name sue for or otherwise collect such rents, issues and profits, including those past
              due and unpaid, and apply the same, less costs and expenses of operation and collection,
              including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
              as Beneficiary may detamine. The entering upon and taking possession of said property, the
              collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
              or waive any default or notice of default hereunder or invalidate any act done pursuant to such
              notice.
                     (11) That upon default by 'Motor in payment of any indebtedness secured hereby or in
             performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
             immediately due and payable by delivery to Trustee of written declaration of default and demand
             for sale and of written notice of default and of election to cause to be sold said property which
             notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
             Deed, said note and all documents evidencing expenditures secured hereby.


             3051592.3                                         3


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              After the lapse of such time as may then be required by law following the recordation of said
              notice of default, and notice of sale having been given as then required by law, Trustee, without
              demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
              either as a whole or in separate parcels, and in such order as it may determine, at public auction
              to the highest bidder for cash in lawful money of the United States, payable at time of sale.
              Trustee may postpone sale of all or any portion of said property by public announcement at such
              time and place of sale, and from time to time thereafter may postpone such sale by public
              announcement at the time fixed by the preceding postponement Trustee shall deliver to such
              purchaser its deed conveying the property so sold, but without any covenant or warranty, express
              or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
              truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
              defined, may purchase at such sale.
              After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
              evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
              all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
              allowed by law in effect at the date hereof, all other sums then secured hereby, and the
              remainder, if any, to the person or persons legally entitled thereto.
                       (12) Beneficiary, or any successor in ownership of any indebtedness secured hereby,
             may from time to time, by instrument in writing, substitute a successor or successors to any
             Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary end
             duly acknowledged and recorded in the office of the recorder of the county or counties where
             said property is situated, shall be conclusive proof of proper substitution of such successor
             Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
             its title, estate, rights, powers and duties. Said instrument must contain the name of the original
             Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
             the name and address of the new Trustee.
                     (13) That this Deed applies to, inures to the benefit of and binds all parties hereto,
             their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
             Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
             whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
             masculine gender includes the feminine and/or neuter, and the singular number includes the
             plural.
                    (14) That Trustee accepts this Trust when this Deed, duly executed and aclmowledged,
             is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
             pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
             Beneficiary or Trustee shall be a party unless brought by Trustee.
                    The undersigned Traitor requests that a copy of any Notice of Default and of any
             Notice of Sale hereunder be mailed to hiss at his address hereinbefore set forth.
                             SEE RIDER TO DEED OF TRUST ATTACHED HERETO.




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                                                                                                                                  cip
                               IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
                       date first above written.
                                                                 MARBELLA CONSTRUCTION, INC.,
                                                                 a California corporation • so



                                                                 By:
                                                                 Name:
                                                                 Title:




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                                                  RIDER TO DEED OF TRUST
               1.      Due on Sale and Encumbrance. The Note which is secured by this Deed of Trust contains
               the following "due on sale" and "due on encumbrance" clauses:
                        "[Trustorj acknowledges and agrees that the creditworthiness and expertise of
                         undersigned in owning, developing and operating the Property is the basis upon
                         which holder has determined that it is protected against impairment of the security
                        and risk of default and thereby has agreed to lend undersigned the principal sum
                        set forth above. In order to insure the continued creditworthiness and expertise of
                        the owner of the Property and in order to allow the holder of this Note an
                        opportunity to review and evaluate the same, undersigned agrees, for itself and
                        subsequent owners of the Property, that the Property shall not be sold, agreed to
                        be sold, conveyed, transferred, assigned, disposed of; or fu Cher encumbered,
                        whether voluntarily, involuntarily, by operation of law or otherwise, without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion. Any transaction in violation of
                        the above restrictions shall cause the then outstanding principal balance and
                       interest thereon and other sums secured by said Deed of Trust at the option of
                       said holder, to immediately become due and payable. If [Trustor] is a
                       corporation, limited liability company or trust, the sale, conveyance, transfer or
                       disposition, whether voluntary or involuntary, of 25% or more of the issued and
                       outstanding common stock or membership interests of [Trustor], or of the
                       beneficial interest of such trust, or, in the event [Trustor] is a limited or general
                       partnership or a joint venture, a change of any general partner or any joint
                       venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                       disposition, or encumbrance of any such general partnership or joint venture
                       interest shall be deemed to be a transfer of an interest in the Property for purposes
                       of this section.
                      [Trustor] agrees, for itself and subsequent owners of the Property, that in the
                      event that the improvements on the Property are altered or demolished without the
                      written consent of the holder hereof being first obtained, which consent may be
                      withheld in holder's sole and absolute discretion then outstanding principal
                      balance and interest thereon and other awns secured by said Deed of Trust, at the
                      option of said holder, shall immediately become due and payable, in whole or in
                      part, as the holder so determines.

             2.       t$.      s•
                     a.     kjebility Insurance. Trustor shall, at Trustor's sole expense, obtain and keep in
             force during the term of this Deed of Trust a policy of combined single limit, bodily injury and
             property damage insurance insuring Beneficiary and Trustor against any liability arising out of
             the ownership, use, occupancy or maintenance of the property upon which this Deed of Trust is
             an encumbrance (the "Property") and all areas appurtenant thereto. Such insurance shall be a
             combined single limit policy in an amount not less than $1,000,000 per occurrence. The limits of
             said insurance shall not, however, limit the liability of Trustor hereunder. Beneficiary shall be




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                                                                                                                                    Q



               designated as an additional insured under the liability insurance required under this Deed of
               Trust.
                       b.     Property Insurance. Trustor shall obtain and keep in force during the term of this
              Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in the
              amount of the till replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief, and special extended pails ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.
                      c.                 Policies. Insurance required hereunder shall be in companies holding a
              "General Policyholders Rating" of at least A-, V as set forth in the most current issue of "Best's
              Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of such
              insurance or certificates evidencing the existence and amounts of such insurance with additional
              insured and lender's loss payable endorsements as required by this Paragraph 2. No such policy
              shall be cancelable or subject to reduction of coverage or other modification except after
              30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the expiration
              of such policies, furnish Beneficiary with renewals or "binders" thereof, or Beneficiary may
              order such insurance and charge the cost thereof to Trustor, which amount shall be payable by
              Trustor upon demand. Trustor shall not do or pan* to be done anything which shall invalidate
              the insurance policies referred to in this Paragraph 2.
             3.      Imam            Beneficiary may exercise any right or remedy available under the Note or
             this Deed of Trust or at law or in equity. MI of Beneficiary's remedies upon the occurrence of an
             event of default are cumulative. Beneficiary's prosecution of any one of these remedies shall not
             preclude Beneficiary from simultaneously or subsequently prosecuting any other remedy or
             remedies under this Deed of Trust or under the Note or any other Loan Documents. No act of
             Beneficiary shall be construed as an election to proceed under any particular provision of this
             Deed of Trust to the exclusion of any other provision of this Deed of Trust, or as an election of
             remedies to the exclusion of any other remedy that may then or thereafter be available to
             Beneficiary. No delay or failure by Beneficiary to exercise any right or remedy under this Deed
             of Trust shall be construed to be a waiver of that right or remedy or of any default by Trustor.
             Beneficiary may exercise any one or more of its rights and remedies at its option without regard
             to the adequacy of its security.
             4.       Appointment of Receiver,
                     a.     Appointment of Receiver. In any action to foreclose this Deed of Trust, or sell all
             or part of the Property, or upon any event of default, Trustee or Beneficiary shall be entitled to
             the appointment of a receiver without notice, without regard to the solvency or insolvency of
             Trustor at the time of application for such receiver, and without regard to the then value of the


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               Property or whether the same shall be then occupied as a homestead or not, and Trustee,
               Beneficiary hereunder or any holder of the Note may be appointed as such receiver. Such
               receiver shall have the power to collect any Rents during the pendency of such foreclosure suit,
               and also during any further times when Trustor, except for the intervention of such receiver,
               would be entitled to collect any Rents, and any and all other powers which may be necessary or
               arc usual in such cases for the protection, possession, control, management and operation of the
               Property during the whole of said period. The court from time to time may authorize the receiver
               to apply the net income in its hands, after deducting reasonable compensation for the receiver
              and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
              indebtedness secured hereby, including, without limitation, the following, in such order of
              application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby;
              (11) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
              and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
              taxes, special assessments, water charges and interest, penalties and costs in connection with the
              Property; (v) any other lien or charge upon the Property that may be or become superior to the
              lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
              is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                       b.    gehnbursement of Advances,
                             (i)     Trustor agrees to promptly reimburse any monies which Beneficiary
              advances in connection with the appointment of a receiver or the receiver's operation of the
              Property, plus interest at the default rate set forth in the Note. 'Motor's obligation to reimburse
              Beneficiary shall be secured by this Deed of Trust.
                              (ii)    In the event that Beneficiary advances any monies necessary to preserve
              the security interest granted by this Deed of Trust arising from a default in any loan secured by
              the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay Beneficiary a
              fee in the amount of $5,000. Trustor's obligation to make such payment shall be secured by this
              Deed of Trust.
                    c.      Possession and Operation of Pronexties. Truster agrees that the receiver or his
             agents shall be entitled to enter upon and take possession of, and operate, manage and conttol,
             the Property to the same extent and in the same manner as Trustor might lawfWly do.
             5.       Reserved.
             6.     Conflicts. This Rider shall control in the event of a conflict between the terms hereof and
             the Deed of Trust.
                                                               MARBELLA CONST                         INC.,
                                                               a California co



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                                         A notary public or other officer completing this
                                            certificate verifies only the identity of the
                                        individual who signed the document to which this
                                           certificate is attached, and not truthfulness,
                                             accuracy, or validity of that document.

              STATE OF CALIFORNIA
                                                            )
              COUNTY OF LOS ANGELES

              on q-en. Za t4          , before me, Jew. 4/4.4 ta/4,41114,4                , a Notary Public,
              personally appeared       ,ride Nue w ;                , who proved to me on the basis of
              satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
              instrument and acknowledged to me that he/she/they executed the same in his/her/their
              authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
              the entity upon behalf of which the person(s) acted, executed the instrument.
              I certify under PENALTY OF PERJURY under the laws of the State of California that the
              foregoing paragraph is true and correct.
              WITNESS my hand and official seal.

              Signature




                                                                                  SSE JACK
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                                                                                   LOSANNUM COUNTY
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                                           REQUEST FOR FULL RECONVEYANCE

                                            To be used only when note has been paid;

              To [              Title], Trustee                                  Dated

                       The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
              Trust. All sums secured by said Deed of Trust have been frilly paid and satisfied; and you are hereby
              requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
              Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
              together with said Deed of Trust, and to =convey, without warranty, to the parties designated by the
              terms of said Deed of Trust, the estate now held by you under the same.


                                                                      MAIL RECONVEYANCE TO:


              By:
              Name:
              Title:


             Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
             Trustee for cancellation before reconveyance will be made.




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             PRELIMINARY REPORT                                                                Chicago Title Company
             YOUR REFERENCE: Escrow 54034F1                                        ORDER NO.: 00088603.991-LT1-KD3

                                                       EXHIBIT "A"

                                                  LEGAL DESCRIPTION
              THE LAND REFERRED TO HEREIN BELOW IS SITUATED LOS ANGELES, IN THE COUNTY OF LOS ANGELES,
              STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

              PARCEL 1:

              LOT 2 OF TRACT 36113A, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
              CALIFORNIA, AS PER MAP RECORDED IN BOOK 1097 PAGES 46 THROUGH 50 INCLUSIVE OF MAPS, IN THE
              OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, AND THAT PORTION OF LOT 1 OF SAID TRACT
              361I3A, DESCRIBED AS FOLLOWS:

              BEGINNING AT THE NORTHWEST CORNER OF SAID LOT I, THENCE SOUTHERLY ALONG THE WESTERLY
              LINE OF SAID LOT 1, SOUTH 20° 10' 31" WEST, A DISTANCE OF 187.62 FEET TO THE SOUTHWESTERLY
              CORNER THEREOF; THENCE EASTERLY ALONG THE SOUTHERLY PROLONGATION BOUNDARY OF SAID
              LOT 1, SOUTH 79° 07' 05" EAST A DISTANCE OF 31.12 FEET; THENCE LEAVING SAID SOUTHERLY LINE,
              NORTH 10° 37' 45" EAST A DISTANCE OF 185.16 FEET TO THE POINT OF BEGINNING OF THIS DESCRIPTION.

             ALSO THAT PORTION OF LOT 12 OF TRACT 36113A, IN THE CITY OF LOS ANGELES, AS PER MAP RECORDED
             IN BOOK 1097 PAGES 46 THROUGH 50 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF
             SAID COUNTY, DESCRIBED AS FOLLOWS:

             BEGINNING AT THE SOUTHWEST CORNER OF LOT 2 OF SAID TRACT 36113A, THENCE SOUTHERLY ALONG
             THE SOUTHERLY PROLONGATION OF THE WESTERLY LINE OF SAID LOT 2, SOUTH 14° 49' 48" WEST A
             DISTANCE OF 21.00 FEET; THENCE SOUTH 58° 03' 38" EAST A DISTANCE OF 120.00 FEET; THENCE NORTH 31°
             56' 32" EAST A DISTANCE OF 60.00 FEET; THENCE NORTH 10° 37" 45" EAST A DISTANCE OF 8.01 FEET TO
             THE SOUTHERLY BOUNDARY OF LOTS 1 AND 2 OF SAID TRACT 36113A; THENCE NORTH 79° OT 05" WEST A
             DISTANCE OF 132.06 FEET TO THE POINT OF BEGINNING.

             PARCEL 2:

             THAT PORTION OF LOT 12 OF TRACT 36113A, IN THE CITY OF LOS ANGELES, AS PER MAP RECORDED IN
             BOOK 1097 PAGES 46 THROUGH 50 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF
             SAID COUNTY, DESCRIBED AS FOLLOWS:
             BEGINNING AT THE SOUTHWESTERLY CORNER OF LOT 2 OF SAID TRACT 36113A; THENCE SOUTHERLY
             ALONG THE SOUTHERLY PROLONGATION OF THE WESTERLY LINE OF SAID LOT 2, 5017111 14° 49' 48"
             WEST, A DISTANCE OF 21.00 FEET, TO TIM TRUE POINT OF BEGINNING OF THIS DESCRIPTION; THENCE
             CONTINUING ALONG SAID PROLONGATION, SOUTH 14" 49' 48" WEST, A DISTANCE OF 38.00 FEET; THENCE
             LEAVING SAID PROLONGATION, SOUTH 54° 32' 16" BAST, A DISTANCE OF 77.00 FEET; THENCE NORTH SP
             sr 37" EAST, A DISTANCE OF 40.00 FEET; THENCE NORTH 31° 56' 22" EAST, A DISTANCE OF 17.00 FEET;
             THENCE NORTH 58° 03' 38" WEST, A DISTANCE OF 120.00 FEET TO THE TRUE POINT OF BEGINNING OF THIS
             DESCRIPTION.

            SAID DESCRIPTION IS MADE PURSUANT TO THAT CERTAIN CERTIFICATE OF COMPLIANCE FOR LOT-LINE
            ADJUSTMENT RECORDED MAY 14, 1997 AS INSTRUMENT NO. 9'7 731472 , OF OFFICIAL RECORDS AND AS
            INSTRUMENT NO. 97 731473, OF OFFICIAL RECORDS.


            APN: 2278-032-027




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           CHICAGO TITLE COMPANY                                                                                                       me 0
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            WOLF, RIFKIN, SHAPIRO,
            SCHULMAN & RABKIN, LLP
            11400 West Olympic Blvd., 9th Floor
            Los Angeles, California 90064-1582
            Attention: Steven H. Zidell, Esq.

                                                                     Space Above This Line For 14corder's Use


                                FOURTH AMENDMENT OF NOTE AND DEED QF TRUST

                                                                                                                                             rn
                   This Fourth Amendment of Note and Deed of Trust (the "Fourth Amendment") is entered
            into as of September IL 2019, by and between Marbella Construction, Inc., a California
            corporation ("Marbella"), and 1369 Londondeny Estate, LLC, a California limited liability
            company ("Londonderry") (together, "Borrower"), eresdloyd, LLC, a California limited liability
            company ("Crestiloyd"), and YOGI Securities Holdings, LLC, a Nevada limited liability company
            ("Lender"), with reference to the following facts:

                                                         Bash*
               A. Marbella executed a Deed of Trust dated April 1, 2018 (the "Marbella Deed of Trust"), in
            favor of Lender, as beneficiary, which Deed of Trust was recorded on April 23, 2018, as Instrument
            No. 201130389830, Official Records of Los Angeles County, California ("Official Records").
               B. Londonderry executed a Deed of Trust dated April 1, 2018 (the "Londonderry Deed of
            Trust"), in favor of Lender, as beneficiary, which Deed of Trust was recorded on April 23, 2018,
            as Instrument No. 20180389829, Official Records. The Marbella Deed of Trust and the
            Londonderry Deed of Trust are collectively referred to hereinafter as the "Deed of Trust".
                C. The Deed of Trust secures a loan (the "Lou") to Borrower in the original principal amount
            of Five Million Two Hundred Thousand Dollars ($5,200,000.00). The Loan is evidenced by a
            Secured Promissory Note (the "Original Note") in the principal amount of the Loan, dated April
            20, 2018, made by Borrower in favor of Lender.
                D. Borrower and Lender executed an Amendment of Note and Deed of Trust dated January 20,
            2019 (the "First Amendment"), which extended the term of the Original Note upon the conditions
            set forth therein, and established a new principal balance of Five Million Four Hundred Twenty
            Nine Thousand Five Hundred Forty Seven and 38/100 Dollars ($5,429,547.38).
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                       E. Borrower and Lender executed a Second Amendment of Note and Deed of Trust dated
                   March 20, 2019 (the "Second Amendment"), which extended the term of the Original Note upon
                   the conditions set forth therein, and established a new principal balance of Five Million Nine
                   Hundred Sixty Four Thousand Four Hundred Seventeen and 52/100 Dollars ($5,704,417.52).
                      F. Borrower and Lender executed a Third Amendment of Note and Deed of Trust dated June
                  13, 2019 (the "Third Amendment"), which extended the term of the Original Note upon the
                  conditions set forth therein, and established a new principal balance of Five Million Nine Hundred
                  Sixty Four Thousand Two Hundred Two and 59/100 Dollars ($5,964,202.59).
                      G. Lender is the holder of all beneficial interest under the Loan, the Deed of Trust, the Original
                  Note, the First Amendment, the Second Amendment and all other instruments that evidence and/or
                  secure the Loan.
                       H. Borrower and Lender wish to execute and record this Fourth Amendment to extend the term
                  of the Original Note upon the conditions set forth herein, and to confirm that the Deed of Trust, as
                  amended, secures the indebtedness evidenced by the Original Note, as amended, and other
                  obligations described in the Original Note and Deed of Trust as modified by the First Amendment,
                  the Second Amendment, the Third Amendment, and this Fourth Amendment. The Original Note,
                  as amended by the First Amendment, the Second Amendment, the Third Amendment, and this
                  Fourth Amendment, is hereinafter referred to as the "Note". The Loan, the Note, the Deed of Trust,
                  and all other instruments that evidence and/or secure the Loan are collectively referred to herein as
                  the "Loan Documents".
                          NOW, THEREFORE, in consideration of the foregoing Recitals, and for other good and
                  valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
                  hereto agree as follows:
                          1.      mo tions. Terms which are defined in the Note and Deed of Trust shall have
                  the same meanings when used in this Fourth Amendment, unless a different definition is given or
                  referred to herein or unless the context requires otherwise.
                         2.     Maturity Date Extension. The maturity date of the Note is hereby extended to
                  November 20, 2019 (the "Maturity Date"), at which time the outstanding principal balance of
                  the Note and all accrued interest shall be due and payable. By agreeing to extend the Maturity
                  Date, Lender is not committing to any future modifications, extensions, or renewals of any of the
                  Loan Documents.
                          3.       Interest: Total Payoff Amount. The parties acknowledge and agree that as of the
                 prior maturity date of September 20, 2019, the current balance of unpaid principal and interest
                 due and owing is Six Million One Hundred Twelve Thousand Eight Hundred Ten and 64/100
                 Dollars ($6,112,810.64), which includes (i) the principal amount of $5,964,202.59, and
                 (ii) interest of $148,608.05 accrued at a rate of 9.75036 per annum between June 20, 2019, and
                 September 20, 2019. On September 20, 2019, the parties acknowledge and agree that the unpaid
O                interest of $148,608.05 shall be added as principal to the current principal balance of
                 $5,964,202.59. Additionally, on September 20, 2019, the parties acknowledge and agree that
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                    Lender shall fund an additional $84,000.00 to Borrower, which shall be added as principal to the
                    current principal balance of $5,964,202.59. After adding the unpaid interest of $148,608.05 and
                    Lender's additional funding of $84,000.00 as principal, then the total unpaid balance of principal
                    as of September 20, 2019, shall be Six Million One Hundred Ninety Six Thousand Eight
                    Hundred Ten and 64/100 Dollars ($6,196,810.64) ("New Principal"). The Note shall continue to
                    accrue interest at the rate of 9.750% per annum, as stated in the Note, on such New Principal,
                    until the Maturity Date. Accordingly, the parties acknowledge and agree that the total unpaid
                    balance of principal and interest due on the Maturity Date (i.e., the payoff amount) under the
                    Loan Documents shall then be Six Million Two Hundred Ninety Seven Thousand Five Hundred
                    Eight and 17/100 Dollars ($6,297,508.17), which shall include the New Principal and interest of
                    $100,698.17 accrued at 9.75% per annum between September 20, 2019 and the Maturity Date.
                    Borrower agrees upon demand to pay all costs and expenses incurred by Lender in connection
                    with this Fourth Amendment, including but not limited to attorneys' fees and costs, title                                      C
                    company charges and recording fees. Lender may, at its sole option, pay for such attorneys' fees
                    and costs, title company charges and recording fees out of the proceeds of the additional funding
                    of $84,000.00.
                            4.      geleases. Covenants Not to Litigate. Assignments and Indemnificatiqn. As of the
                    Date of this Fourth Amendment and in consideration for the renewal, extension and/or
                    restructure of the Note, Borrower hereby agrees as follows:
                                    4.1     Borrower: (i) fully and finally acquits, quitclaims, releases and discharges
                    each of the Released Parties (the term "Released Parties" shall be defined as Lender and its
                    respective members, managers, officers, directors, shareholders, representatives, employees,
                    agents and attorneys) of and from any and all obligations, claims, liabilities, damages, demands,
  cc                debts, liens, deficiencies or cause or causes of action (including claims and causes of action for
                    usury) to, of or for the benefit (whether directly or indirectly) of Borrower, at law or in equity,
 2                  known or unknown, contingent or otherwise, whether asserted or unasserted, whether now
                    known or hereafter discovered, whether statutory, in contract or in tort, as well as any other kind
                    or character of action now held, owned or possessed (whether directly or indirectly) by Borrower
                    on account of, arising out of; related to or concerning, whether directly or indirectly, proximately
                    or remotely (a) the Note or any of the Loan Documents, or (b) this Fourth Amendment (ii)
 0                  waives any and all defenses to payment of the Note for any reason; and (iii) waives any and all
                    defenses, counterclaims or offsets to the Loan Documents (collectively, the "Released Claims");
                                   Except as hereinabove limited, it is understood and agreed by Borrower that the
                   claims released hereunder include all claims of every nature and kind whatsoever, known or
                   unknown, suspected or unsuspected, arising out of or related to any and all of the matters
                   referred to in the immediately preceding paragraph, notwithstanding the provisions of Section
                   1542 of the California Civil Code, which Section provides as follows:
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..rr Non-Order Search                                                 Page 4 of 9            Requested By: choffrnan, Printed: 9/28/201910:11 AM
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                                 "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                                                                                                                                               O
                                 THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                                 KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                                 THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                                 KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                                 AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                                 OR RELEASED PARTY."
                                  Borrower acknowledges that it may hereafter discover facts different from, or in
                  addition to, those which it now knows or believes to be true with respect to the claims released
                  hereunder, and agree that the foregoing release shall be and remain effective in all respects
                  notwithstanding such different or additional facts or the discovery thereof, and waives
                  application of the provisions of Section 1542 with respect to the claims released hereunder.
                                                                                                                                               0
                          5.     Continuing Security. The Marbella Deed of Trust, as modified by the First
                  Amendment, the Second Amendment the Third Amendment, and this Forth Amendment, shall
                  continue to secure the indebtedness evidenced by the Note as amended by this Fourth
                  Amendment, and all other indebtedness and obligations secured by the Marbella Deed of. Trust.
                  Except as expressly modified by the First Amendment, the Second Amendment, the Third
                  Amendment, and this Fourth Amendment, the Marbella Deed of Trust shall remain in full force
                  and effect, and this Fourth Amendment shall have no effect on the priority or validity of the lien
                  of the Marbella Deed of Trust, which shall continue to constitute a third position lien and charge
                  on the property encumbered by the Marbella Deed of Trust. The Londonderry Deed of Trust, as
                  modified by the First Amendment, the Second Amendment, the Third Amendment, and this
                  Fourth Amendment, shall continue to secure the indebtedness evidenced by the Note as amended
                  by this Fourth Amendment, and all other indebtedness and obligations secured by the
5                 Londonderry Deed of Trust. Except as expressly modified by the First Amendment, the Second
                  Amendment, the Third Amendment, and this Fourth Amendment, the Londonderry Deed of
                  Trust shall remain in full force and effect, and this Fourth Amendment shall have no effect on the
                  priority or validity of the lien of the Londonderry Deed of Trust, which shall continue to
                  constitute a fourth position lien and charge on the property encumbered by the Londonderry
                  Deed of Trust.

1                         6.     Additional Securitt. As additional security for the Note, concurrently herewith,
                  Crestiloyd agrees to execute and acknowledge a Deed of Trust and Assignment of Rents, in a
                  form satisfactory to Lender in Lender's sole and absolute discretion, encumbering certain
                  property located in the City of Los Angeles, commonly known as 944 Airok Way, Los Angeles,
                  CA 90077, as more particularly described therein (the "Creadloyd Deed of Trust"). Upon
                  execution of this Fourth Amendment, the term Deed of Trust shall also include the Crestiloyd
                  Deed of Trust.
                        7.      No Other Iviodjficatim. Except as modified expressly or by necessary
                 implication hereby and bY this Fourth Amendment, all of the terms and conditions of the Note
O                and Deed of Trust shall remain unchanged and in full force and effect. To the extent the
                 provisions of this Fourth Amendment are inconsistent with the provisions of the Note or Deed of
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re Non-Order Search                                               Page 5 of 9            Requested By: choffman, Printed: 9/28/2019 10:11 AM
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             Trust, the provisions of this Fourth Amendment shall control and supersede such inconsistent
             provisions in the Note and Deed of Trust.
                     8.      successors and Assign& All of the grants, including the grant of the power of
             sale, obligations, covenants, agreements, terms, provisions and conditions herein shall apply to,
             bind and inure to the benefit of the heirs, administrators, executors, legal representatives,
             successors and assigns of Borrower and the successors in trust of trustee, and the endorsees,
             transferees, successors and assigns of Lender.
                                            [Signatures on thefollowingpage]




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                              EXECUTED AND DELIVERED to be effective as of the date first set forth above.

                  BORROWER:                                              LENDER:

                  1369 LONDONDERRY ESTATE, LLC,                          YOGI SECURITIES HOLDINGS, LLC,
                  a California limited liability company                 a Nevada limited liability company

                                                                         By: YOGI Management Trust, its manager

                  By:
                        N.       ami
                                                                             By:
                                                                                   Joseph I C"glanoff, Trustee
                  MARBELLA CONSTRUCTION, INC.,
                  a California corporation



                 By:
                                   1, Pr


                 CRESTLLOYD:

                 CRESTLLOYD, LLC,
                 a California limited liability company



                 By:




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                   A notary public or other officer completing this                                                                               O
                   certificate verifies only the identity of the individual
                   who signed the document to which this certificate is
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                   State of California

                   County of Los Angeles


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                                                                      , who proved to me on the basis of satisfactory
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                   evidence to be the person(s) whose name(s) is/are subscribed to the within instrument, and
                   acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
                   and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
                   which the person(s) acted, executed the instrument.
                   I certify under PENALTY OF PERJURY under the laws of the State of California that the
                   foregoing paragraph is true and correct.
                   WITNESS my hand and official seal.                                           NI091. 01084
                                                                                          Notary Public • California
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                   A notary public or other officer completing this                                                                            O
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                   validity of that document.                                                                                                  -0
                   State of California

                   County of Los Angeles
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                                                                      ,                , a Notary Public, personally
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                  evidence to be the person(e) whose name(4) is/are subscribed to the within instrument, and
                  acknowledged to me that he/elle/they executed the same in histitet/theit authorized capacity(ies),
                  and that by his/her/    signature(*) on the instrument the person(, or the entity upon behalf of
                  which the person(*) acted, executed the instrument.

                  I certify under PENALTY OF PERJURY under the laws of the State of California that the                                        rn
                  foregoing paragraph is true and correct,
                  WITNESS my hand and official seal.
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                   CHICAGO TITLE COMPANY
                    COMMERCIAL DIVISION


                    RECORDING REQUESTED BY
                    AND WHEN RECORDED MAIL TO:
                    Steven Zidell, Esq.
                    Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP
                    11400 W. Olympic Blvd.,
                    cob Floor
                    Los Angeles, California 90064.1582

                                         DEED OF TRUST AND ASSIGNMENT OF RENTS

                    TITLE ORDER No.117408-994                                                    APN NO. 4369-026-021
                          This Deed of Trust, made as of September 18, 2019, between Crestlloyd, LLC, a
                   California limited liability company, herein called Trustor, whose address is 8981 West Sunset
                   Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called
                   Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
                   Beneficiary,
                          Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
                   IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
                   California, commonly known as 944 Airole Way, Los Angeles, CA 90077, as more particularly
                   described as:
                                              SEE EXHIBIT A ATTACHED HERETO,
                          TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
                  right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
                  provisions herein to collect and apply such rents, issues and profits.
                             For the Purpose of Securing:
                                1.        Pert3rmance of each agreement of Trustor incorporated by reference or
                  contained herein;
                                 2.      Payment of the indebtedness evidenced by one promissory note executed
                  by 1369 Londonderry Estate, LLC, a California limited liability company, and Mattel's
                  Construction, Inc., a California corporation, in favor of Beneficiary or order, as amended by that
                  certain Amendment of Note and Deed of Trust executed as of January 20, 2019, that certain
                  Second Amendment of Note and Deed of Trust executed as of March 20, 2019, and that certain
                  Third Amendment of Note and Deed of Trust executed as of June 13, 2019, and as further
                  amended as of even date herewith, and any extension or renewal thereof, in the principal sum of
                  $6,196,810.64 (as amended, the "Note");
                                3.    Payment of such further sums as the then record owner of said property
                  may  borrow  from Beneficiary, when evidenced by another note (or notes) reciting it is so
                  secured; and

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                                  4.     Payment of any future advances by Beneficiary regardless of whether such
                   advances were contemplated by the parties at the time of the granting of this Deed of Trust,
                   whether or not such future advances are evidenced by any document, or whether or not any such
                   document specifies that it is secured hereby.
                             To Protect the Security of This Deed of Trust, Trustor Agrees:

                          I.      To keep said property in good condition and repair, not to remove or demolish
                  any building thereon, to complete or restore promptly and in good and workmanlike manner any
                  building which may be constructed, damaged or destroyed thereon and to pay when due all
                  claims for labor performed and materials fUrnished therefor, to comply with all laws affecting
                  said property or requiring any alterations or improvements to be made thereon, not to commit or
                  permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
                  law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
                  or use of said property may be reasonably necessary, the specific enumerations herein not
                  excluding the general.
                          2.      To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
                  with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
                  may be applied by Beneficiary upon indebtedness secured hereby and in such order as                                            c.
                  Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
                  thereof may be released to Trustor. Such application or release shall not cure or waive any
                  default or notice of default hereunder or invalidate any act done pursuant to such notice.
                          3.      To appear in and defend any action or proceeding purporting to affect the security
                  hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
                  including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
                  proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
                  to foreclose this Deed.
                         4.      To pay at least 10 days before delinquency all taxes and assessments affecting
                  said property, including assessments on appurtenant water stock, and to pay when due, all
                  encumbrances, charges and liens, with interest, on said property or any part thereof, which
                  appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
                 Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
                 Trustee, but without obligation so to do and without notice to or demand upon Trustor and
                 without releasing Trustor from any obligation hereof, may make or do the same in such manner
                 and to such extent as either may deem necessary to protect the security hereof Beneficiary or
                 Trustee being authorized to enter upon said property for such purposes; appear in and defend any
                 action or proceeding purporting to affect the security hereof or the rights or powers of
                 Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien
                 which in the judgment of either appears to be prior or superior hereto, and in exercising any such
                 powers, pay necessary expenses, employ counsel and pay his reasonable fees.



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                            5.      To pay immediately and without demand all sums so expended by Beneficiary or
                    Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
                    hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
                    obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
                    allowed by law at the time when said statement is demanded.

                           6.      That any award of damages in connection with any condemnation for public use
                    of or injury to said property or any part thereof is hereby assigned and shall be paid to
                    Beneficiary who may apply or release such moneys received by him in the same manner and
                    with the same effect as above provided for disposition of proceeds of fire or other insurance.
                           7.     That by accepting payment of any sum secured hereby after its due date,
                    Beneficiary does not waive his rights either to require prompt payment when due of all other
                    sums so secured or to declare default for failure so to pay.
                           8.     That at any time or from time to time, without liability therefor and without
                   notice, upon written request of Beneficiary and presentation of this Deed and said note for
                   endorsement, and without affecting the personal liability of any person for payment of the
                   indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the                                    a
                   making of any map or plot thereof; join in granting any easement thereon; or join in any
                   extension agreement or any agreement subordinating the lien or charge hereof.
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                           9.    That upon written request of Beneficiary state that all sums secured hereby have
                  been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
                  retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
                  then held hereunder. The recitals in such reconveyance of any matters or facts shall be
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W                 conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
                  as "The person or persons legally entitled thereto." Five years after issuance of such full
                  reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
                  retain them).
                          10.     That as additional security, Trustor hereby gives to and confers upon Beneficiary
                  the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
                  and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
                  payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
                  collect and retain such rents, issues and profits as they become due and payable. Upon any such
                  default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
                  to be appointed by a court, and without regard to the adequacy of any security for the
                  indebtedness hereby scoured, enter upon and take possession of said property or any part thereof
                  in his own name sue for or otherwise collect such rents, issues and profits, including those past
                  due and unpaid, and apply the same, less costs and expenses of operation and collection,
8                 including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
                  as Beneficiary may determine. The entering upon and taking possession of said property, the
                  collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure
to                or waive any default or notice of default hereunder or invalidate any act done pursuant to such
                  notice.
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                             11.    That upon default by Truster in payment of any indebtedness secured hereby or in
                     performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
                     immediately due and payable by delivery to Trustee of written declaration of default and demand
                     for sale and of written notice of default and of election to cause to be sold said property which
                     notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
                     Deed, said note and all documents evidencing expenditures secured hereby.
                     After the lapse of such time as may then be requited by law following the recordation of said
                     notice of default, and notice of sale having been given as then required by law, Trustee, without
                     demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
                    either as a whole or in separate parcels, and in such order as it may determine, at public auction
                    to the highest bidder for cash in lawful money of the United States, payable at time of sale.
                    Trustee may postpone sale of all or any portion of said property by public announcement at such
                    time and place of sale, and from time to time thereafter may postpone such sale by public
                    announcement at the time fixed by the preceding postponement Trustee shall deliver to such
                    purchaser its deed conveying the property so sold, but without any covenant or warranty, express
                    or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
                    truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
                    defined, may purchase at such sale.
                    After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
                    evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
                    all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
                    allowed by law in effect at the date hereof, all other sums then secured hereby, and the
                    remainder, if any, to the person or persons legally entitled thereto.
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 tr                                   Beneficiary, or any successor in ownership of any indebtedness secured hereby,
 =                  may from time to time, by instrument in writing, substitute a successor or successors to any
                    Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
                   duly acknowledged and recorded in the office of the recorder of the county or counties where
                   said property is situated, shall be conclusive proof of proper substitution of such successor
 i                 Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
                   its title, estate, rights, powers and duties. Said instnunent must contain the name of the original
 0                 Truster, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and

 I                 the name and address of the new Trustee.
                           13.    That this Deed applies to, inures to the benefit of, and binds all parties hereto,
                   their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
                   Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
                   whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
                   masculine gender includes the feminine and/or neuter, and the singular number includes the
                   plural.

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                          14.     That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
                   is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
                   pending sale under any other Deed of Trust or of any action or proceeding in which Truster,
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2                  Beneficiary or Trustee shall be a party unless brought by Trustee.
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                            15.   Waiver by Trustor.
                                  15.1    Trustor waives all of the following:
                                     15.1.1 Trustor's rights of subrogation, reimbursement, indemnification,
               and  contribution and  any other rights and defenses that are or may become available to a
               guarantor or other surety by reason of Sections 2787 to 2855, inclusive of the California Civil
               Code, including but not limited to any right Trustor may otherwise have to require Beneficiary to
               proceed directly against Borrower prior to seeking recovery against Property encumbered
               hereby.
                                      15.1.2 Any rights or defenses Trustor may have in respect of his or her
               obligations as a guarantor or other surety by reason of any election of remedies by the creditor.
                                      15.1.3 Any rights or defenses Trustor may have because the principal's
              note or other obligation is secured by real property or an estate for years. These rights or
              defenses include, but are not limited to, any rights or defenses that are based upon, directly or
              indirectly, the application of Section 580a, 580b, 580d, or 726 of the Code of Civil Procedure to
              the principal's note or other obligation.
                              15.2 Trustor waives all rights and defenses that Trustor may have because the
              debtor's debt is secured by real property. This means, among other things:
                                     15.2.1 Beneficiary may collect from Trustor without first foreclosing on
              any real or personal property collateral pledged by the debtor.
                                         15.2.2 If Beneficiary forecloses on any real property collateral pledged by
              the debtor:
                                            (a)     The amount of the debt may be reduced only by the price
             for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
             the sale price.
                                           (b)    Beneficiary may collect from Trustor even if the
             Beneficiary, by foreclosing on the real property collateral, has destroyed any right Trustor may
             have to collect from the debtor.
             This is an unconditional and irrevocable waiver of any rights and defenses Trustor may have
             because the debtor's debt is secured by real property. These rights and defenses include, but are
             not limited to, any rights or defenses based upon Section 580a, 580b, 580d, or 726 of the Code of
             Civil Procedure.
                            15.3 Trustor waives all rights and defenses arising out of an election of
             remedies by Beneficiary, even though that election of remedies, such as a nonjudicial foreclosure
             with respect to security for a guaranteed obligation, has destroyed Trustor's rights of subrogation
             and reimbursement against the principal by the operation of Section 580d of the Code of Civil
             Procedure or otherwise.


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                       16.     Due on Sale and Encumbrance. The Note which is secured by this Deed of Trust
                contains the following "due on sale" and "due on encumbrance" clauses:
                           "Borrower acknowledges and agrees that the creditworthiness and expertise of
                           undersigned in owning, developing and operating the Property is the basis upon
                           which holder has determined that it is protected against impairment of the security
                           and risk of default and thereby has agreed to lend undersigned the principal sum
                           set forth above. In order to insure the continued creditworthiness and expertise of
                           the owner of the Property and in order to allow the holder of this Note an
                           opportunity to review and evaluate the same, undersigned agrees, for itself and
                          subsequent owners of the Property, that the Property shall not be sold, agreed to                                  g,
                          be sold, conveyed, transferred, assigned, disposed of, or further encumbered,
                          whether voluntarily, involuntarily, by operation of law or otherwise, without the
                          written consent of the holder hereof being first obtained, which consent may be                                    0
                          withheld in holder's sole and absolute discretion. Any transaction in violation of
                          the above restrictions shall cause the then outstanding principal balance and
                          interest thereon and other sums secured by said Deed of Trust, at the option of
                          said holder, to immediately become due and payable. If Borrower is a
                         corporation, limited liability company or trust, the sale, conveyance, transfer or
                         disposition, whether voluntary or involuntary, of 25% or more of the issued and
                         outstanding common stock or membership interests of Borrower, or of the
                         beneficial interest of such trust, or, in the event Borrower is a limited or general
                         partnership or a joint venture, a change of any general partner or any joint
                         venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                         disposition, or encumbrance of any such general partnership or joint venture
                         interest shall be deemed to be a transfer of an interest in the Property for purposes
                         of this section.
                         Borrower agrees, for itself and subsequent owners of the Property, that in the
                         event that the improvements on the Property are altered or demolished without the
                         written consent of the holder hereof being first obtained, which consent may be
                         withheld in holder's sole and absolute discretion then outstanding principal
                         balance and interest thereon and other sums secured by said Deed of Trust, at the
                         option of said holder, shall immediately become due and payable, in whole or in
                         part, as the holder so determines."
                         17.    Insurance.
                             17.1 Liability Insurance. Trustor shall, at Trustor's sole expense, obtain and
             keep in force during the term of this Deed of Trust a policy of combined single limit, bodily
             injury and property damage insurance insuring Beneficiary and Trustor against any liability
             arising out of the ownership, use, occupancy or maintenance of the property upon which this
             Deed of Trust is an encumbrance (the "Property") and all areas appurtenant thereto. Such
             insurance shall be a combined single limit policy in an amount not less than $1,000,000 per
             occurrence. The limits of said insurance shall not, however, limit the liability, of Trustor
             hereunder. Beneficiary shall be designated as an additional insured under the liability insurance
             required under this Deed of Trust.

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                                     17.2 Property Insurance. Trustor shall obtain and keep in force during the term
                     of this Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in
                     the amount of the full replacement value thereof, as the same may exist from time to time, as
                     determined by Beneficiary against all perils included within the classification of fire, extended
                     coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
                    used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
                    Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
                    provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
                    and maintain said insurance the Beneficiary may, but shall not be required to, procure and
                    maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
                    clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
                    liable for such deductible amount.
                                     17.3 insurance Policies. Insurance required hereunder shall be in companies
                    holding a "General Policyholders Rating" of at least A-, V as set forth in the most current issue
                    of "Best's Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of
                    such insurance or certificates evidencing the existence and amounts of such insurance with
                    additional insured and lender's loss payable endorsements as required by this Paragraph 17. No
                    such policy shall be cancelable or subject to reduction of coverage or other modification except
                    after 30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the
                    expiration of such policies, furnish Beneficiary with renewals or "binders" thereof, or
                    Beneficiary may order such insurance and charge the cost thereof to Trustor, which amount shall
                    be payable by Trustor upon demand. Trustor shall not do or permit to be done anything which
                    shall invalidate the insurance policies referred to in this Paragraph 17.
                           18,     Remedies. Beneficiary may exercise any right or remedy available under the
                   Note or this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the
                   occurrence of an event of default are cumulative. Beneficiary's prosecution of any one of these
                   remedies shall not preclude Beneficiary from simultaneously or subsequently prosecuting any
                   other remedy or remedies under this Deed of Trust or under the Note or any other Loan
                   Documents, No act of Beneficiary shall be construed as an election to proceed under any
                   particular provision of this Deed of Trust to the exclusion of any other provision of this Deed of
                   Trust, or as an election of remedies to the exclusion of any other remedy that may then or
                   thereafter be available to Beneficiary. No delay or failure by Beneficiary to exercise any right or
                   remedy wider this Deed of Trust shall be construed to be a waiver of that right or remedy or of
                   any default by Trustor. Beneficiary may exercise any one or more of its rights and remedies at its
                   option without regard to the adequacy of its security.
                              19.   Appointment of Receiver.
                                   19.1 Appointment of Receiver. In any action to foreclose this Deed of Trust, or
1                 sell all or part of the Property, or upon any event of default, Trustee or Beneficiary shall be
                  entitled to the appointment of a receiver without notice, without regard to the solvency or
0                 insolvency of Trustor at the time of application for such receiver, and without regard to the then
fti               value of the Property or whether the same shall be then occupied as a homestead or not, and
                  Trustee, Beneficiary hereunder or any holder of the Note may be appointed as such receiver.
M                 Such receiver shall have the power to collect any Rents during the pendency of such foreclosure
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                      suit, and also during any further times when Trustor, except for the intervention of such receiver,
                      would be entitled to collect any Rents, and any and all other powers which may be necessary or
                      are usual in such cases for the protection, possession, control, management and operation of the
                      Property during the whole of said period. The court from time to time may authorize the receiver
                      to apply the net income in its hands, after deducting reasonable compensation for the receiver
                     and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
                     indebtedness secured hereby, including, without limitation, the following, in such order of
                     application as Trustee or Beneficiary may elect: (1) amounts due upon the Note secured hereby;
                     (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
                     and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
                     taxes, special assessments, water charges and interest, penalties and costs in connection with the
                     Property; (v) any other lien or charge upon the Property that may be or become superior to the
                     lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
                     is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                                     19.2    Reim .       ent of Advances.
                                           19.2.1 Trustor agrees to promptly reimburse any monies which
                     Beneficiary advances in connection with the appointment of a receiver or the receiver's                                         CA
                     operation of the Property, plus interest at the default rate set forth in the Note. Trustor's                                   m!27
                     obligation to reimburse Beneficiary shall be secured by this Deed of Trust                                                      O

                                            19.2.2 In the event that Beneficiary advances any monies necessary to
                     preserve the security interest granted by this Deed of Trust arising from a default in any loan
                     secured by the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay
                     Beneficiary a fee in the amount of $5,000. Trustor's obligation to make such payment shall be
  Lu                 secured by this Deed of Trust.

  8                                 19.3 Possession and Operation of Properties. Trustor agrees that the receiver or
                    his agents shall be entitled to enter upon and take possession of, and operate, manage and
                    control, the Property to the same extent and in the same manner as Trustor might lavvftilly do.
                           The undersigned Trustor requests that a copy of any Notice of Default and of any
                    Notice of Sale hereunder be mailed to him at his address hereinbefore set forth.
                            IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
                    date first above written.
                                                                       Crestlioyd, LLC,
                                                                       a California limited liability company

 8                                                                     B

                                                                       Title:         AACO14/

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                    A notary public or other officer completing this
                    certificate verifies only the identity of the individual
                    who signed the document to which this certificate is
                    attached, and not the truthfulness, accuracy, or
                    validity of that document.
                    State of California

                   County of Los Angeles                                   )

                   On               29.1p, befor9..me, dt '         64,415k                                  ,
                                                                                            a Notary Public, personally
                   appeared        Aft (e., wool;                     , who proved to me on the basis of satisfactory
                   evidence to be the person(s) whose name(s) is/are subscribed to the within instrument, and
                   acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
                   and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
                   which the person(s) acted, executed the instrument.
                   I certify under PENALTY OF PERJURY under the laws of the State of California that the
                   foregoing paragraph is true and correct.
                                                                                                                 " •
                                                                                               ...                     NIGEL 01888
                   WITNESS my hand and official seal.                                     :1011.,1,:),s, ,       Notary Public - California
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                                                                                                                                                :0IASIN H30
                                            REQUEST FOR FULL RECONVEYANCE

                                             To be used only when note has been paid:

               To j              Title), Trustee                                  Dated

                        The undersigned is the legal owner and holder of all indebtedness secured by the within Deed of
               Trust. All sums secured by said Deed of Trust have been fully paid and satisfied; and you are hereby
               requested and directed, on payment to you of any sums owing to you under the terms of said Deed of
               Trust, to cancel all evidences of indebtedness, secured by said Deed of Trust, delivered to you herewith
               together with said Deed of Trust, and to reconvey, without warranty, to the parties designated by the
               terms of said Deed of Trust, the estate now held by you under the same.


                                                                       MAIL RBCONVEYANCE TO:


              By:
              Name:
              Title:                                                                                                                            C



              Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be delivered to the
              Trustee for cancellation before reconveyance will be made.




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                                                                                                                                        /V
                                                                                                                                      k
                                                            EXHIBIT A

                                                      LEGAL DESCRIPTION
                   THE LAND REFERRED TO HEREIN IS SITUATED IN THE CITY OF LOS ANGELES, IN THE
                   COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:
                   PARCEL l.:
                   LOTS 1. AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF
                   LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 PAGEM 81,
                   TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
                   COUNTY.
                   EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
                   FOLLOWING DESCRIBED LINE:
                   BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET
                  WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST 2.86 FEET
                  FROM THE MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS
                  ALONG A CURVE CONCAVE WESTERLY, HAVING A RADIUS OF 361.97 FEET AND
                  CONCENTRIC WITH THAT CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT 1
                  HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69 FEET ALONG SAID CURVE
                  THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE BEGINNING OF A COMPOUND
                  CURVE, CONCAVE SOUTHWESTERLY AND HAVING A RADIUS OF 175.66 FEET; THENCE
                  NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 39°
                  06' 53"; THENCE NORTH 56° 36' 22" WEST 7.97 FEET TO THE BEGINNING OF A CURVE
                  CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET; THENCE
                  NORTHWESTERLY 71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44°
                  55' 04"; THENCE NORTH 11° 41' 18" WEST 208.55 FEET TO THE BEGINNING OF A CURVE
 6                CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44
 111
                  FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH
                  44° 51' 16" EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA
                  ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.
                  PARCEL 2:
                  THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES,
                  COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141
                  PAGES 93 10 96 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF
                  SAID COUNTY, LYING NORTHERLY OF DIE FOLLOWING DESCRIBED LINE:
                 BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON
                 SOUTH 13° 13' 20" EAST 34.33 FEET FROM. THE NORTHERLY TERMINUS OF THAT CERTAIN
                 COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS HAVING A BEARING AND
                 LENGTH OF NORTH 13° 13' 20" WEST 10635 FEET; THENCE NORTH 89° 27' 20" WEST 214.07
>-               FEET, MORE OR LESS, TO A POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT
a.               SOUTHERLY THEREON 54.93 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN
8                CURVE IN SAID WESTERLY LINE HAVING A LENGTH OF 115.83 FEET.
                 APN: 4369.026-021
4. )
                 (Property commonly known as: 944 Airole Way, Los Angeles, CA 90077)

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C.)
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             EXHIBIT Q
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                     CHICAGO TITLE COMPANY
                      COMMERCIAL DIVISION
                      117408-994—LT2


                 Recording Requested By
                                                                                       ml     20191154393

                 and When Recorded Mail To:

                WOLF, RIFKIN, SHAPIRO,
                SCHULMAN & RABKIN, LLP
                11400 West Olympic Blvd., 9th Floor
                Los Angeles, California 90064-1582
                Attention: Steven H. Zidell, Esq.                                                                            4

                                                                        Space Above This Line For Recorder's Use         7
                                  FIFTH AMENDMENT OF NOTE AND DEED OF TRUST

                        This Filth Amendment of Note and Deed of Trust (the "Fifth Amendment") is entered into
                as of October 22, 2019, by and between Marbella Construction, Inc., a California corporation
                ("Marbella"), and 1369 Londonderry Estate, LLC, a California limited liability company
                ("Londonderry") (together, "Borrower"), Crestlloyd, LI,C, a California limited liability company
                ("Crestlloyd"), 10701 Bellagio Road, LLC, a California limited liability company ("Bellagio"),
                Carcassonne Fine Homes, LLC, a California limited liability company ("Carcassonne"), and YOGI
                Securities Holdings, LLC, a Nevada limited liability company ("Lender"), with reference to the
                following facts:

                                                            Recitals
                        A.     Marbella executed a Deed of Trust dated April 1, 2018 (the "Marbella Deed of
                Trust"), in favor of Lender, as beneficiary, which Deed of Trust was recorded on April 23, 2018,
                as Instrument No. 20180389830, Official Records of Los Angeles County, California ("Official
                Records").
                      B.      Londonderry executed a Deed of Trust dated April 1, 2018 (the "Londonderry
               Deed of Trust"), in favor of Lender, as beneficiary, which Deed of Trust was recorded on April 23,
               2018, as Instrument No. 20180389829, Official Records.
                      C.      Crestlloyd executed a Deed of Trust dated September 18, 2019 (the "Airole Deed of
               Trust"), in favor of Lender, as beneficiary, which Deed of Trust was recorded on September 22,
               2019 as Instrument No. 20190989746, Official Records. The Marbella Deed of Trust, the
               Londonderry Deed of Trust and the Airole Deed of Trust are collectively referred to hereinafter as
               the "Deed of Trust".
                      D.     The Deed of Trust secures a loan (the "Loan") to Borrower in the original principal
               amount of Five Million Two Hundred Thousand Dollars (5,200,000.00). The Loan is evidenced




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                   by a Secured Promissory Note (the "Original Note") in the principal amount of the Loan, dated
                   April 20, 2018, made by Borrower in favor of Lender.

                          E,      Borrower and Lender executed an Amendment of Note and Deed of Trust dated
                  January 20, 2019 (the "First Amendment"), which extended the term of the Original Note upon the
                  conditions set forth therein, and established a new principal balance of Five Million Four Hundred
                  Twenty Nine Thousand Five Hundred Forty Seven and 38/100 Dollars ($5,429,547.38).

                         F.     Borrower and Lender executed a Second Amendment of Note and Deed of Trust
                  dated March 20, 2019 (the "Second Amendment"), which extended the term of the Original Note
                  upon the conditions set forth therein, and established a new principal balance of Five Million Nine
                  Hundred Sixty Four Thousand Four Hundred Seventeen and 52/100 Dollars ($5,704,417.52).

                          G.      Borrower and Lender executed a Third Amendment of Note and Deed of Trust dated
                  June 13, 2019 (the "Third Amendment"), which extended the term of the Original Note upon the
                  conditions set forth therein, and established a new principal balance of Five Million Nine Hundred
                  Sixty Four Thousand Two Hundred Two and 59/100 Dollars ($5,964,202.59).

                         H.     Borrower and Lender executed a Fourth Amendment of Note and Deed of Trust
                  dated September 18, 2019 (the "Fourth Amendment"), which extended the term of the Original
                  Note upon the conditions set forth therein, and established a new principal balance of Six Million
                  One Hundred Ninety-six Thousand Eight Hundred Ten and 64/100 Dollars ($6,196,810.64).
                         I.      Lender is the holder of all beneficial interest under the Loan, the Deed of Trust, the
                  Original Note, the First Amendment, the Second Amendment, the Third Amendment, the Fourth
                  Amendment and all other instruments that evidence and/or secure the Loan.
                         J.      Borrower and Lender wish to execute and record this Fifth Amendment to add
                 additional collateral to the Loan. The Original Note, as amended by the First Amendment, the
                 Second   Amendment,    the Third Amendment, Fourth Amendment and this Fifth Amendment, is
                 hereinafter referred to as the "Note". The Loan, the Note, the Deed of Trust, and all other
                 instruments that evidence and/or secure the Loan are collectively referred to herein as the "Loan
                 Documents".
                         NOW, THEREFORE, in consideration of the foregoing Recitals, and for other good and
                 valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties
                 hereto agree as follows:
                         1.      pefinitions. Terms which are defined in the Note and Deed of Trust shall have
                 the same meanings when used in this Fifth Amendment, unless a different definition is given or
                 referred to herein or unless the context requires otherwise.
                         2.      Releases. Covenants Not to Litigate. Assignments and Indempificatiog. As of the
                 date of this Fifth Amendment and in consideration for the renewal, extension and/or restructure
                 of the Note, Borrower hereby agrees as follows:



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                                 2.1     Borrower; (1) fully and finally acquits, quitclaims, releases and discharges
                 each of the   Released  Parties (₹he term "Released Parties" shall be defined as Lender and its
                 respective members, managers, officers, directors, shareholders, representatives, employees,
                 agents and attorneys) of and from any and all obligations, claims, liabilities, damages, demands,
                 debts, liens, deficiencies or cause or causes of action (including claims and causes of action for
                 usury) to, of or for the benefit (whether directly or indirectly) of Borrower, at law or in equity,
                 known or unknown, contingent or otherwise, whether asserted or unasserted, whether now
                 known or hereafter discovered, whether statutory, in contract or in tort, as well as any other kind
                 or character of action now held, owned or possessed (whether directly or indirectly) by Borrower
                 on account of, arising out of, related to or concerning, whether directly or indirectly, proximately
                 or remotely (a) the Note or any of the Loan Documents, or (b) this Fifth Amendment; (ii) waives
                 any and all defenses to payment of the Note for any reason; and (iii) waives any and all defenses,
                 counterclaims or offsets to the Loan Documents (collectively, the "Released Claims");
                                Except as hereinabove limited, it is understood and agreed by Borrower that the
                claims released hereunder include all claims of every nature and kind whatsoever, known or
                unknown, suspected or unsuspected, arising out of or related to any and all of the matters
                referred to in the immediately preceding paragraph, notwithstanding the provisions of Section
                1542 of the California Civil Code, which Section provides as follows:
                               "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                               THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                               KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                               THE TIME OF EXECUTING THE RELEASE AND THAT, IF
                               KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
                               AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                               OR RELEASED PARTY."
                                Borrower acknowledges that it may hereafter discover facts different from, or in
                addition to, those which it now knows or believes to be true with respect to the claims released
                hereunder, and agree that the foregoing release shall be and remain effective in all respects
                notwithstanding such different or additional facts or the discovery thereof, and waives
                application of the provisions of Section 1542 with respect to the claims released hereunder.
                        3.      Continuing Security. The Deed of Trust, as modified by the First Amendment,
               the Second Amendment, the Third Amendment, the Fourth Amendment and this Fifth
               Amendment, shall continue to secure the indebtedness evidenced by the Note as amended by this
               Fifth Amendment, and all other indebtedness and obligations secured by the Deed of Trust.
               Except as expressly modified by the First Amendment, the Second Amendment, the Third
               Amendment, the Fourth Amendment and this Fifth Amendment, the Deed of Trust shall remain
               in full force and effect, and this Fifth Amendment shall have no effect on the priority or validity
               of the lien of the Deed of Trust.
                       4.     Additional Security (Bellagio). As additional security for the Note, concurrently
               herewith, Bellagio agrees to execute and acknowledge a Deed of Trust and Assignment of Rents,
               in a form satisfactory to Lender in Lender's sole and absolute discretion, encumbering certain
               property located in the City of Los Angeles, commonly known as 10701 Bellagio Road,
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                  Los Angeles, CA 90077, as more particularly described therein (the "Bellagio Deed of Trust"),
                  Upon execution of this Fifth Amendment, the term Deed of Trust shall also include the Bellagio
                  Deed of Trust.

                          5.     ,Additional Security (Carcassonnel. As additional security for the Note,
                  concurrently herewith, Carcassonne agrees to execute and acknowledge a Deed of Trust and
                  Assignment of Rents, in a form satisfactory to Lender in Lender's sole and absolute discretion,
                  encumbering certain property located in the City of Los Angeles, commonly known as 627 N.
                  Carcassonne, Los Angeles, CA 90077, as more particularly described therein (the "Carcassonne
                  Deed of Trust"). Upon execution of this Fifth Amendment, the term Deed of Trust shall also
                  include the Carcassonne Deed of Trust.

                          6.     No Other Modifications. Except as modified expressly or by necessary
                  implication hereby and by this Fifth Amendment, all of the terms and conditions of the Note and
                  Deed of Trust shall remain unchanged and in full force and effect. To the extent the provisions
                  of this Fifth Amendment are inconsistent with the provisions of the Note or Deed of Trust, the
                  provisions of this Fifth Amendment shall control and supersede such inconsistent provisions in
                  the Note and Deed of Trust.

                         7.      Successors and Assigns. All of the grants, including the grant of the power of
                 sale, obligations, covenants, agreements, terms, provisions and conditions herein shall apply to,
                 bind and inure to the benefit of the heirs, administrators, executors, legal representatives,
                 successors and assigns of Borrower and the successors in trust of trustee, and the endorsees,
                 transferees, successors and assigns of Lender.
                                                 [Signatures an thefollowing page)




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                             EXECUTED AND DELIVERED to be effective as of the date first set forth above.

                  BORROWER:                                             LENDER:
                  1369 LONDONDERRY ESTATE, LLC,                         YOGI SECURITIES HOLDINGS, LLC,
                  a California limited liability company                a Nevada limited liability company

                                                                        By: YOGI Management T         its manager
                  By:
                                  iami, Manager
                                                                            By:
                                                                                          anoff, Trustee
                  MARBELLA CONSTRUCTION, INC.,
                  a California corporation



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                  CRESTLLOYD:
                  CRESTLLOYD, LLC,
                  a California limited liabili


                  By:
                                    1, Manager


                 CARCASSONNE:
                 CARCASSONNE FINE HOMES, LLC,
                 a California limited liability company


                 By:



                 BELLAGIO:
                 10701 BELLAGIO ROAD, LLC,
                 a California limited liability company


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                                           A notary public or other officer completing this certificate
                                           verifies only the identity of the individual who signed the
                                           document to which this certificate is attached, and not the
                                              truthfulness, accuracy, or validity of that document.



                     State of California

                    County of Los Angeles


                    On / 0/ '2-'27
                    Public, personally appeared
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                                                                      i fd cetAi-,s                          ,
                                                                                                          a Notary
                                                                                          , who proved to me on the
                    basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within
                    instrument, and acknowledged to me that he/she/they executed the same in his/her/their
                    authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
                    the entity upon behalf of which the person(s) acted, executed the instrument.
                    I certify under PENALTY OF PERJURY under the laws of the State of California that the
                    foregoing paragraph is true and correct.

                    WITNESS my hand and official seal.                                            NIGEL 01888
                                                                                             Notary Public • California
                                                                                               Los Angeles County
                                                                                             Commission 4f 2184299
                                                                                          Msr Comm. Expires Oct 4, 2020


                                                                                               (seal)




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                                          A notary public or other officer completing this
                                             certificate verifies only the identity of the
                                         individual who signed the document to which this
                                            certificate is attached, and not truthfulness,
                                               accuracy, or validity of that document.




               STATE OF CALIFORNIA

               COUNTY OF         Los A hi G L,eS

               On         c...4"0 6 Q.t.    , 2019 before me,       Sig,vt.v, N . 24                  , a Notary
               Public, personally appeared        3T. .o.S42.9 ti q.vyAist bn o •i4f
               who proved to me on the basis of satisfactory evidelte to be the person(s) whose name(s) is/are
               subscribed to the within instrument and acknowledged to me that he/she/they executed the same
               in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument
               the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

               I certify under PENALTY OF PERJURY under the laws of the State of California that the
               foregoing paragraph is true and correct.

               WITNESS my hand and official seal.


               Signature                                       (Seal)

                                                                               to         STEVEN H. 2100,1.
                                                                                       Notary Public • California
                                                                                          LosMottos County        11
                                                                                        Comnusson # 2241601
                                                                                     My Comm. basis Jun 5, 2022




              FASHAM1s010TARY ACKNOWLEDOMBNI.DOCX




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                 CHICAGO TITLE COMPANY
                  COMMERCIAL DIVISION
                 119418-994-LT2
              RECORDING REQUESTED BY
              AND WHEN RECORDED MAIL TO:
              Steven Zidell, Esq.
              Wolf, Rifkin, Shapiro, Schulman & Rabkin, LLP
              11400 W. Olympic Blvd.,
              9th Floor
              Los Angeles, California 90064-1582

                                  DEED OF TRUST AND ASSIGNMENT OF RENTS

                                                                                          APN Na 4362-003.043

                     Thy Deed of Trust, made as of October 22, 2019, between Carcassonne Fine Homes,
             LLC, a California limited liability company, herein called Trustor, whose address is 8981 West
             Sunset Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company,
             herein called Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company,
             herein called Beneficiary,
                     Trustor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
             IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
             California, commonly known as 627 N. Carcassonne, Los Angeles, CA 90077, as more
             particularly described as:
                                       SEE EXHIBIT A ATTACHED HERETO,
                     TOGETHER WITH the rents, issues and profits thereof, SUBJECT, HOWEVER, to the
             right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
             provisions herein to collect and apply such rents, issues and profits.
                      For the Purpose of Securing:
                            1.      Performance of each agreement of Trustor incorporated by reference or
             contained herein;
                            2.      Payment of the indebtedness evidenced by one promissory note executed
             by 1369 Londonderry Estate, LLC, a California limited liability company, and Marbella
             Construction, Inc., a California corporation, in favor of Beneficiary or order, as amended by that
             certain Amendment of Note and Deed of Trust executed as of January 20, 2019, that certain
             Second Amendment of Note and Deed of Trust executed as of March 20, 2019, that certain Third
             Amendment of Note and Deed of Trust executed as of June 13, 2019, that certain Fourth
             Amendment of Note and Deed of Trust executed as of September 18, 2019, and as further
             amended as of even date herewith, and any extension or renewal there4 in the principal sum of
             $6,196,810.64 (as amended, the "Note");




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                          3.   Payment of such further sums as the then record owner of said property
             may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
             secured; and
                            4.     Payment of any future advances by Beneficiary regardless of whether such
             advances were contemplated by the parties at the time of the granting of this Deed of Trust,
             whether or not such future advances are evidenced by any document, or whether or not any such
             document specifies that it is secured hereby.
                         To Protect the Security of This Deed of Trust, Trustor Agrees:
                     1.     To keep said property in good condition and repair, not to remove or demolish
             any building thereon, to complete or restore promptly and in good and workmanlike manner any
             building which may be constructed, damaged or destroyed thereon and to pay when due all
             claims for labor performed and materials furnished therefor, to comply with all laws affecting
             said property or requiring any alterations or improvements to be made thereon, not to commit or
             permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
             law to cultivate, irrigate, fertilize, flimigate, prune and do all other acts which from the character
             or use of said property may be reasonably necessary, the specific enumerations herein not
             excluding the general.
                     2.      To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
             with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
             may be applied by Beneficiary upon indebtedness secured hereby and in such order as
             Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
             thereof may be released to Trustor. Such application or release shall not cure or waive any
             default or notice of default hereunder or invalidate any act done pursuant to such notice.
                     3.      To appear in and defend any action or proceeding purporting to affect the security
             hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
             including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
             proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
             to foreclose this Deed.
                    4.      To pay at least 10 days before delinquency all taxes and assessments affecting
             said property, including assessments on appurtenant water stock, and to pay when due, all
             encumbrances, charges and liens, with interest, on said property or any part thereof which
             appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Trustor and
             without releasing Trustor from any obligation hereof, may make or do the same hi such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property for such purposes; appear in and defend any
             action or proceeding purporting to affect the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien


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              which in the judgment of either appears to be prior or superior hereto, and in exercising any such
              powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                      5.     To pay immediately and without demand all sums so expended by Beneficiary or
              Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
              hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
              obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
              allowed by law at the time when said statement is demanded.
                     6.      That any award of damages in connection with any condemnation for public use
              of or injury to said property or any part thereof is hereby assigned and shall be paid to
              Beneficiary who may apply or release such moneys received by him in the same manner and
              with the same effect as above provided for disposition of proceeds of fire or other insurance.
                     7.     That by accepting payment of any sum secured hereby after its due date,
              Beneficiary does not waive his rights either to require prompt payment when due of all other
              sums so secured or to declare default for failure so to pay.
                     8.    That at any time or from time to time, without liability therefor and without
             notice, upon written request of Beneficiary and presentation of this Deed and said note for
             endorsement, and without affecting the personal liability of any person for payment of the
             indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
             making of any map or plot thereof join in granting any easement thereon; or join in any
             extension agreement or any agreement subordinating the lien or charge hereof.
                      9.    That upon written request of Beneficiary state that all sums secured hereby have
             been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
             retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
             then held hereunder. The recitals in such reconveyance of any matters or facts shall be
             conclusive proof of the truthfulness thereof. The grantee in such reconveyance may be described
             as "The person or persons legally entitled thereto." Five years after issuance of such fill
             reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
             retain them).
                     10. That as additional security, Trustor hereby gives to and confers upon Beneficiary
             the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
             and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
             payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
             collect and retain such rents, issues and profits as they become due and payable. Upon any such
             default, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
             to be appointed by a court, and without regard to the adequacy of any security for the
             indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
             in his own name sue for or otherwise collect such rents, issues and profits, including those past
             due and unpaid, and apply the same, less costs and expenses of operation and collection,
             including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
             as Beneficiary may determine. The entering upon and taking possession of said property, the
             collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure

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            or waive any default or notice of default hereunder or invalidate any act done pursuant to such
            notice.
                    11.    That upon default by Trustor in payment of any indebtedness secured hereby or in
            performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
            immediately due and payable by delivery to Trustee of written declaration of default and demand
            for sale and of written notice of default and of election to cause to be sold said property which
            notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
            Deed, said note and all documents evidencing expenditures secured hereby.
            After the lapse of such time as may then be required by law following the recordation of said
            notice of default, and notice of sale having been given as then required by law, Trustee, without
            demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
            either as a whole or in separate parcels, and in such order as it may determine, at public auction
            to the highest bidder for cash in lawful money of the United States, payable at time of sale.
            Trustee may postpone sale of all or any portion of said property by public announcement at such
            time and place of sale, and from time to time thereafter may postpone such sale by public
            announcement at the time fixed by the preceding postponement Trustee shall deliver to such
            purchaser its deed conveying the property so sold, but without any covenant or warranty, express
            or implied. The recitals in such deed of any matters or facts shall be conclusive proof of the
            truthfulness thereof Any person, including Trustor, Trustee, or Beneficiary as hereinafter
            defined, may purchase at such sale.
            After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
            evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
            all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
            allowed by law in effect at the date hereof, all other sums then secured hereby, and the
            remainder, if any, to the person or persons legally entitled thereto.
                      12.     Beneficiary, or any successor in ownership of any indebtedness secured hereby,
            may from time to time, by instrument in writing, substitute a successor or successors to any
            Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
            duly acknowledged and recorded in the office of the recorder of the county or counties where
            said property is situated, shall be conclusive proof of proper substitution of such successor
            Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
            its title, estate, rights, powers and duties. Said imminent must contain the name of the original
            Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
            the name and address of the new Trustee.
                    13. That this Deed applies to, inures to the benefit of, and binds all patties hereto,
            their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
            Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
            whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
            masculine gender includes the feminine and/or neuter, and the singular number includes the
            plural.



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                     14. That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
              pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
              Beneficiary or Trustee shall be a party unless brought by Trustee.
                         15.   Waiver by Trustor.
                               15.1   Trustor waives all of the following:
                                   15.1.1 Trustor's rights of subrogation, reimbursement, indemnification,
             and contribution and any other rights and defenses that are or may become available to a
             guarantor or other surety by reason of Sections 2787 to 2855, inclusive of the California Civil
             Code, including but not limited to any right Trustor may otherwise have to require Beneficiary to
             proceed directly against Borrower prior to seeking recovery against Property encumbered
             hereby.
                                    15.1.2 Any rights or defenses Trustor may have in respect of his or her
             obligations as a guarantor or other surety by reason of any election of remedies by the creditor.
                                     15.1.3 Any rights or defenses Trustor may have because the principal's
             note or  other  obligation  is secured by real property or an" estate for years. These rights or
             defenses include, but are not limited to, any rights or defenses that are based upon, directly or
             indirectly, the application of Section 580a, 580b, 580d, or 726 of the Code of Civil Procedure to
             the principal's note or other obligation.
                             15.2 Trustor waives all rights and defenses that Trustor may have because the
             debtor's debt is secured by real property. This means, among other things:
                                    15.2.1 Beneficiary may collect from Trustor without first foreclosing on
             any real or personal property collateral pledged by the debtor.
                                      15.2.2 If Beneficiary forecloses on any real property collateral pledged by
             the debtor:
                                            (a)     The amount of the debt may be reduced only by the price
             for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
             the sale price.
                                           (b)    Beneficiary may collect from Trustor even if the
             Beneficiary, by foreclosing on the real property collateral, has destroyed any tight Trustor may
             have to collect from the debtor.
             This is an unconditional and irrevocable waiver of any rights and defenses Trustor may have
             because the debtor's debt is secured by seal property. These rights and defenses include, but are
             not limited to, any rights or defenses based upon Section 580a, 580b, 580d, or 726 of the Code of
             Civil Procedure.


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                            15.3 Trustor waives all rights and defenses arising out of an election of
             remedies by Beneficiary, even though that election of remedies, such as a nonjudicial foreclosure
             with respect to security for a guaranteed obligation, has destroyed Trustoes rights of subrogation
             and reimbursement against the principal by the operation of Section 580d of the Code of Civil
             Procedure or otherwise.
                    16.     pus on Sale and lipcumbrance. The Note which is secured by this Deed of Trust
             contains the following "due on sale" and "due on encumbrance" clauses:
                       "Borrower acknowledges and agrees that the creditworthiness and expertise of
                       undersigned in owning, developing and operating the Property is the basis upon
                       which holder has determined that it is protected against impairment of the security
                       and risk of default and thereby has agreed to lend undersigned the principal sum
                       set forth above. In order to insure the continued creditworthiness and expertise of
                       the owner of the Property and in order to allow the holder of this Note an
                       opportunity to review and evaluate the same, undersigned agrees, for itself and
                       subsequent owners of the Property, that the Property shall not be sold, agreed to
                       be sold, conveyed, transferred, assigned, disposed ot or further encumbered,
                       whether voluntarily, involuntarily, by operation of law or otherwise, without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion. Any transaction in violation of
                       the above restrictions shall cause the then outstanding principal balance and
                       interest thereon and other sums secured by said Deed of Trust, at the option of
                       said holder, to immediately become due and payable. If Borrower is a
                       corporation, limited liability company or trust, the sale, conveyance, transfer or
                       disposition, whether voluntary or involuntary, of 25% or more of the issued and
                       outstanding common stock or membership interests of Borrower, or of the
                       beneficial interest of such trust, or, in the event Borrower is a limited or general
                       partnership or a joint venture, a change of any general partner or any joint
                       venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                       disposition, or encumbrance of any such general partnership or joint venture
                       interest shall be deemed to be a transfer of an interest in the Property for purposes
                       of this section.
                       Borrower agrees, for itself and subsequent owners of the Property, that in the
                       event that the improvements on the Property are altered or demolished without the
                       written consent of the holder hereof being first obtained, which consent may be
                       withheld in holder's sole and absolute discretion then outstanding principal
                       balance and interest thereon and other sums secured by said Deed of Trust, at the
                       option of said holder, shall immediately become due and payable, in whole or in
                       part, as the holder so determines."

                       17.    issamss.
                              17.1 laskilkylagaugg. Trustor shall, at Tractor's sole expense, obtain and
             keep in force during the term of this Deed of Trust a policy of combined single limit, bodily


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              injury and property damage insurance insuring Beneficiary and Trustor against any liability
              arising out of the ownership, use, occupancy or maintenance of the property upon which this
              Deed of Trust is an encumbrance (the "Property") and all areas appurtenant thereto. Such
              insurance shall be a combined single limit policy in an amount not less than $1,000,000 per
              occurrence. The limits of said insurance shall not, however, limit the liability of Trustor
              hereunder. Beneficiary shall be designated as an additional insured under the liability insurance
              required under this Deed of Trust.
                             17.2 Propqrly Insurance. Trustor shall obtain and keep in force during the term
             of this Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in
             the amount of the full replacement value thereof, as the same may exist from time to time, as
             determined by Beneficiary against all perils included within the classification of fire, extended
             coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
             used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
             Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
             provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
             and maintain said insurance the Beneficiary may, but shall not be required to, procure and
             maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
             clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
             liable for such deductible amount.
                             17.3 Insurance Policies. Insurance required hereunder shall be in companies
             holding a "General Policyholders Rating" of at least A-, V as set forth in the most current issue
             of "Best's Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of
             such insurance or certificates evidencing the existence and amounts of such insurance with
             additional insured and lender's loss payable endorsements as required by this Paragraph 17. No
             such policy shall be cancelable or subject to reduction of coverage or other modification except
             after 30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the
             expiration of such policies, fbrnish Beneficiary with renewals or "binders" thereof, or
             Beneficiary may order such insurance and charge the cost thereof to Trustor, which amount shall
             be payable by Trustor upon demand. Trustor shall not do or permit to be done anything which
             shall invalidate the insurance policies referred to in this Paragraph 17.
                     18. acmudisa. Beneficiary may exercise any right or remedy available under the
             Note or this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the
             occurrence of an event of default are cumulative. Beneficiary's prosecution of any one of these
             remedies shall not preclude Beneficiary firm simultaneously or subsequently prosecuting any
             other remedy or remedies under this Deed of Trust or under the Note or any other Loan
             Documents. No act of Beneficiary shall be construed as an election to proceed under any
             particular provision of this Deed of Trust to the exclusion of any other provision of this Deed of
             Trust, or as an election of remedies to the exclusion of any other remedy that may then or
             thereafter be available to Beneficiary. No delay or failure by Beneficiary to exercise any right or
             remedy under this Deed of Trust shall be construed to be a waiver of that right or remedy or of
             any default by Truster. Beneficiary may exercise any one or more of its rights and remedies at its
             option without regard to the adequacy of its security.


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                          19.   Appointment of Receiver.
                               19.1 Appointment of Receiver. In any action to foreclose this Deed of Trust, or
              sell all or part of the Property, or upon any event of default, Trustee or Beneficiary shall be
             entitled to the appointment of a receiver without notice, without regard to the solvency or
             insolvency of Trustor at the time of application for such receiver, and without regard to the then
             value of the Property or whether the same shall be then occupied as a homestead or not, and
             Trustee, Beneficiary hereunder or any holder of the Note may be appointed as such receiver.
             Such receiver shall have the power to collect any Rents during the pendency of such foreclosure
             suit, and also during any further times when Trustor, except for the intervention of such receiver,
             would be entitled to collect any Rents, and any and all other powers which may be necessary or
             are usual in such cases for the protection, possession, control, management and operation of the
             Property during the whole of said period. The court from time to time may authorize the receiver
             to apply the net income in its hands, after deducting reasonable compensation for the receiver
             and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
             indebtedness secured hereby, including, without limitation, the following, in such order of
             application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby;
             (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (Hi) costs
             and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
             taxes, special assessments, water charges and interest, penalties and costs in connection with the
             Property; (v) any other lien or charge upon the Property that may be or become superior to the
             lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
             is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                                19.2   Reimbursement of Advances.
                                   19.2.1 Trustor agrees to promptly reimburse any monies which
             Beneficiary advances in connection with the appointment of a receiver or the receiver's
             operation of the Property, plus interest at the default rate set forth in the Note. Trustor's
             obligation to reimburse Beneficiary shall be secured by this Deed of Trust.
                                    19.2.2 In the event that Beneficiary advances any monies necessary to
             preserve the security interest granted by this Deed of Trust arising from a default in any loan
             secured by the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay
             Beneficiary a fee in the amount of $5,000. Trustor's obligation to make such payment shall be
             secured by this Deed of Trust.
                             19.3 possession and Operation of Properties. Trustor agrees that the receiver or
             his agents shall be entitled to enter upon and take possession of, and operate, manage and
             control, the Property to the same extent and in the same manner as Trustor might lawfWly do.
                    The undersigned Trustor requests that a copy of any Notice of Default and of any
             Notice of Sale hereunder be mailed to him at his address hereinbefore set forth.




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                      IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
              date first above written.
                                                         Carcassonne Fine Homes, LLC,
                                                         a California limited liability company


                                                         By:
                                                                          Manager




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              A notary public or other officer completing this
              certificate verifies only the identity of the individual
              who signed the document to which this certificate is
              attached, and not the truthfulness, accuracy, or
              validity of that document.
              State of California

             County of Los Angeles

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             On b           , 2019, before Er,   ple.A    t.ntaDC                   , a Notary Public, personally
             appeared       s IA, 144114‘.4        .4           , who proved to me on the basis of satisfactory
             evidence to be the person(s) whose name(s) is/are subscribed to the within instrument, and
             acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
             and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
             which the person(s) acted, executed the instrument.
             I certify under PENALTY OF PERJURY under the laws of the State of California that the
             foregoing paragraph is true and correct.
             WITNESS my hand and official seal.                                         NIGEL 01608
                                                                                   Notary Publlo • California
                                                                                     Los Anoelos County
                                                                                   Commission IP 2184239
                                                                                 M Comm. Ex fres Oct 4, 2020


                                                                                      (seal)




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                                      REQUEST FOR FULL RECONVEYANCE
                                                                                                                          (11
                                         To be used only when note has been paid:

              To [.           Title], Trustee                               Dated

                     The undersigned is the legal owner and holder of all indebtedness secured by the within
             Deed of Trust. All sums secured by said Deed of Trust have been fldly paid and satisfied; and
             you are hereby requested and directed, on payment to you of any sums owing to you under the
             terms of said Deed of Trust, to cancel all evidences of indebtedness, secured by said Deed of
             Trust, delivered to you herewith together with said Deed of Trust, and to reconvey, without
             warranty, to the parties designated by the terms of said Deed of Trust, the estate now held by you
             under the same.


                                                                   MAIL RECONVEYANCE TO:


             By:
             Name:
             Title:


             Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be
             delivered to the Trustee for cancellation before reconveyance will be made.




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                                                        EXHIBIT A

                                                  LEGAL DESCRIPTION

              THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN
              THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS
              FOLLOWS:
             THAT PORTION OF LOTS 7 AND 9 IN BLOCK 6 OF TRACT NO. 7656, IN THE CITY OF LOS
             ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
             DOOK 119 PAGES 70 TO 76. INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
             RECORDER OF SAID COUNTY DESCRIBED AS FOLLOWS:
             PARCEL 1 AS DESCRIBED IN THE CERTIFICATE OF COMPLIANCE RECORDED MAY 9, 2012
             AS INSTRUMENT NUMBER 2012-696783. OF OFFICIAL RECORDS IN THE RECORDER'S
             OFFICE OF THE COUNTY LOS ANGELES, STATE OF CALIFORNIA
              EXCEPTING THAT PORTION LYING SOUTHERLY OF THE FOLLOWING DESCRIBED LINE
             BEGINNING AT A POINT IN THE SOUTHWESTERLY LINE OF SAID PARCEL 1, DISTANT
             SOUTH 40° 49' 30" EAST 126.00 FEET FROM THE WESTERLY MOST CORNER OF PARCEL 1;
             SAID CORNER BEING ALSO THE WESTERLY MOST CORNER OF LOT 9 IN BLOCK 6 OF
             ntAgr NO. 7656, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
             CALIFORNIA, RECORDED IN BOOK 119 PAGES 70 TO 76. INCLUSIVE QF MAPS, IN THE
             OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE NORTH 61° 16' 30" EAST
             358.35 FEET TO A POINT IN THE WESTERLY RIGHT OF WAY OF CARCASSONNE ROAD,
             SAID POINT BEING DISTANT 103.50 FEET SOUTHERLY, ALONG SAID RIGHT OF WAY,
             FROM THE INTERSECTION WITH THE EASTERLY PROLONGATION OF THE
             NORTHWESTERLY LINE OF PARCEL 1, HAVING A BEARING OF NORTH 64° 12' 12" EAST.
             SAID LAND IS ALSO SHOWN AS PARCEL 1 IN THE CERTIFICATE OF COMPLIANCE FOR LOT
             LINE ADJUSTMENT RECORDED SEPTEMBER 24, 2015 AS INSTRUMENT NQ. 20151182271. OF
             QUICIALBECORIM
             APN: 4362.003-043

             (Propetty commonly known as: 627 N. Carcassame,, Los Angeles, CA)




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                 CHICAGO TITLE COMPANY
                  COMMERCIAL DIVISION
                   108674-994-LT2
              RECORDING REQUESTED BY
              AND WHEN RECORDED MAIL TO:
              Steven Zidell, Esq.
              Wolf, Rificin, Shapiro, Schulman & Rabkin, 1.1.2
              11400 W. Olympic Blvd.,
              9th Floor
              Los Angeles, California 90064-1582                                                                                      3-
                                                                                                                                2 t
                                  DEED OF TRUST AND ASSIGNMENT OF RENTS
                                                                                                                              ( 6'
                                                                                          APN No. 4362-003.044
                    This Deed of Trust, made as of October 22, 2019, between 10701 Bellagio Road, LLC, a
             California limited liability company, herein called Trustor, whose address is 8981 West Sunset
             Boulevard, Suite 303, West Hollywood, California 90069, Chicago Title Company, herein called
             Trustee, and YOGI Securities Holdings, LLC, a Nevada limited liability company, herein called
             Beneficiary,
                    'Motor IRREVOCABLY GRANTS, TRANSFERS AND ASSIGNS TO TRUSTEE
             IN TRUST, WITH POWER OF SALE, that certain property in Los Angeles County,
             California, commonly known as 10701 Bellagio Road, Los Angeles, CA 90077, as more
             particularly described as:
                                       SEE EXHIBIT A ATTACHED HERETO,
                     TOGETHER WITH the rents, issues and profits thereof SUBJECT, HOWEVER, to the
             right, power and authority given to and conferred upon Beneficiary by paragraph (10) of the
             provisions herein to collect and apply such rents, issues and profits.
                      For the Purpose of Securing:
                           1.      Performance of each agreement of Trustee incorporated by reference or
             contained herein;
                            2.      Payment of the indebtedness evidenced by one promissory note executed
             by 1369 Londonderry Estate, LLC, a California limited liability company, and Methane
             Constcuction, Inc., a California corporation, in favor of Beneficiary or order, as amended by that
             certain Amendment of Note and Deed of Trust executed as of January 20, 2019, that certain
             Second Amendment of Note and Deed of Trust executed as of March 20, 2019, that certain Third
             Amendment of Note and Deed of Trust executed as of June 13, 2019, that certain Fourth
             Amendment of Note and Deed of Trust executed as of September 18, 2019 and as Anther
             amended as of even date herewith, and any extension or renewal thereof; in the principal sum of
             $6,196,810.64 (as amended, the "Note");




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                          3.   Payment of such nether sums as the then record owner of said property
             may borrow from Beneficiary, when evidenced by another note (or notes) reciting it is so
             secured; and
                            4.     Payment of any future advances by Beneficiary regardless of whether such
             advances were contemplated by the parties at the time of the granting of this Deed of Trust,
             whether or not such future advances are evidenced by any document, or whether or not any such
             document specifies that it is secured hereby.

                        To Protect the Security of This Deed of Trust, Trustor Agrees:
                     1.     To keep said property in good condition and repair, not to remove or demolish
             any building thereon, to complete or restore promptly and in good and workmanlike manner any
             building which may be constructed, damaged or destroyed thereon and to pay when due all
             claims for labor performed and materials fUrnished therefor, to comply with all laws affecting
             said property or requiring any alterations or improvements to be made thereon, not to commit or
             permit waste thereof, not to commit, suffer or permit any act upon said property in violation of
             law to cultivate, irrigate, fertilize, fumigate, prune and do all other acts which from the character
             or use of said property may be reasonably necessary, the specific enumerations herein not
             excluding the general.
                     2.      To provide maintain and deliver to Beneficiary fire insurance satisfactory to and
             with loss payable to Beneficiary. The amount collected under any fire or other insurance policy
             may be applied by Beneficiary upon indebtedness secured hereby and in such order as
             Beneficiary may determine, or at option of Beneficiary the entire amount so collected or any part
             thereof may be released to Trustor. Such application or release shall not cure or waive any
             default or notice of default hereunder or invalidate any act done pursuant to such notice.
                     3.      To appear in and defend any action or proceeding purporting to affect the security
             hereof or the rights or powers of Beneficiary or Trustee, and to pay all costs and expenses
             including cost of evidence of title and attorneys' fees in a reasonable sum, in any such action or
             proceeding in which Beneficiary or Trustee may appear, and in any suit brought by Beneficiary
             to foreclose this Deed.
                    4.      To pay at least 10 days before delinquency all taxes and assessments affecting
             said property, including assessments on appurtenant water stock, and to pay when due, all
             encumbrances, charges and liens, with interest, on said property or any part thereof which
             appear to be prior or superior hereto, all costs, fees and expenses of this Trust.
             Should Trustor fail to make any payment or to do any act as herein provided, then Beneficiary or
             Trustee, but without obligation so to do and without notice to or demand upon Trustor and
             without releasing Trustor from any obligation hereof, may make or do the same in such manner
             and to such extent as either may deem necessary to protect the security hereof Beneficiary or
             Trustee being authorized to enter upon said property for such purposes; appear in and defend any
             action or proceeding purporting to affect the security hereof or the rights or powers of
             Beneficiary or Trustee, pay, purchase, contest or compromise any encumbrance, charge or lien


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              which in the judgment of either appears to be prior or superior hereto, and in exercising any such
              powers, pay necessary expenses, employ counsel and pay his reasonable fees.
                      5.     To pay immediately and without demand all sums so expended by Beneficiary or
              Trustee, with interest from date of expenditure at the amount allowed by law in effect at the date
              hereof, and to pay for any statement provided for by law in effect at the date hereof regarding the
              obligation secured hereby any amount demanded by the Beneficiary not to exceed the maximum
              allowed by law at the time when said statement is demanded,
                     6.      That any award of damages in connection with any condemnation for public use
              of or injury to said property or any part thereof is hereby assigned and shall be paid to
              Beneficiary who may apply or release such moneys received by him in the same manner and
              with the same effect as above provided for disposition of proceeds of fire or other insurance.
                     7.     That by accepting payment of any sum secured hereby after its due date,
              Beneficiary does not waive his rights either to require prompt payment when due of all other
              sums so secured or to declare default for failure so to pay.
                     8.     That at any time or from time to time, without liability therefor and without
             notice, upon written request of Beneficiary and presentation of this Deed and said note for
             endorsement, and without affecting the personal liability of any person for payment of the
             indebtedness secured hereby, Trustee may reconvey any part of said property, consent to the
             making of any map or plot thereof, join in granting any easement thereon; or join in any
             extension agreement or any agreement subordinating the lien or charge hereof
                      9.    That upon written request of Beneficiary state that all sums secured hereby have
             been paid, and upon surrender of this Deed and said note to Trustee for cancellation and
             retention and upon payment of its fees, Trustee shall reconvey, without warranty, the property
             then held hereunder. The recitals in such reconveyance of any matters or filets shall be
             conclusive proof of the tmthfhlness thereof. The grantee in such reconveyance may be described
             as "The person or persons legally entitled thereto." Five years after issuance of such f il
             reconveyance, Trustee may destroy said note and this Deed (unless directed in such request to
             retain them).
                     10. That as additional security, Trustor hereby gives to and confers upon Beneficiary
             the right, power and authority, during the continuance of these Trusts, to collect the rents, issues
             and profits of said property, reserving unto Trustor the right, upon any default by Trustor in
             payment of any indebtedness secured hereby or in performance of any agreement hereunder, to
             collect and retain such rents, issues and profits as they become due and payable. Upon any such
             delimit, Beneficiary may at any time without notice, either in person , by agent, or by a receiver
             to be appointed by a court, and without regard to the adequacy of any security for the
             indebtedness hereby secured, enter upon and take possession of said property or any part thereof,
             in his own name sue for or otherwise collect such rents, issues and profits, including those past
             due and unpaid, and apply the same, less costs and expenses of operation and collection,
             including reasonable attorneys' fees. Upon any indebtedness secured hereby, and in such order
             as Beneficiary may determine. The entering upon and taking possession of said property, the
             collection of such rents, issues and profits and the application thereof as aforesaid, shall not cure

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              or waive any default or notice of default hereunder or invalidate any act done pursuant to such
              notice.
                      11.    That upon default by Trustor in payment of any indebtedness secured hereby or in
              performance of any agreement hereunder. Beneficiary may declare all sums secured hereby
              immediately due and payable by delivery to Trustee of written declaration of default and demand
              for sale and of written notice of default and of election to cause to be sold said property which
              notice Trustee shall cause to be filed for record. Beneficiary also shall deposit with Trustee this
              Deed, said note and all documents evidencing expenditures secured hereby.
             After the lapse of such time as may then be required by law following the recordation of said
             notice of default, and notice of sale having been given as then required by law, Trustee, without
             demand on Trustor, shall sell said property at the time and place fixed by it in said notice of sale,
             either as a whole or in separate parcels, and in such order as it may determine, at public auction
             to the highest bidder for cash in lawful money of the United States, payable at time of sale.
             Trustee may postpone sale of all or any portion of said property by public announcement at such
             time and place of sale, and from time to time thereafter may postpone such sale by public
             announcement at the time fixed by the preceding postponement Trustee shall deliver to such
             purchaser its deed conveying the property so sold, but without any covenant or warranty, express
             or implied. The recitals in such deed of any matters or bets shall be conclusive proof of the
             truthfulness thereof. Any person, including Trustor, Trustee, or Beneficiary as hereinafter
             defined, may purchase at such sale.
             After deducting all costs, fees and expenses of Trustee and of this Trust, including cost of
             evidence of title in connection with sale, Trustee shall apply the proceeds of sale to payment of
             all sums expended under the terms hereof, not then repaid, with accrued interest at the amount
             allowed by law in effect at the date heret4 all other sums then secured hereby, and the
             remainder, if any, to the person or persons legally entitled thereto.
                       12.     Beneficiary, or any successor in owners* of any indebtedness secured hereby,
             may from time to time, by instrument in writing, substitute a successor or successors to any
             Trustee named herein or acting hereunder, which instrument, executed by the Beneficiary and
             duly acknowledged and recorded in the office of the recorder of the county or counties where
             said property is situated, shall be conclusive proof of proper substitution of such successor
             Trustee or Trustees, who shall, without conveyance from the Trustee predecessor, succeed to all
             its title, estate, rights, powers and duties. Said instrument must contain the name of the original
             Trustor, Trustee and Beneficiary hereunder, the book and page where this Deed is recorded and
             the name and address of the new Trustee.
                     13.    That this Deed applies to, inures to the benefit of, and binds all parties hereto,
             their heirs, legatees, devisees, administrators, executors, successors and assigns. The term
             Beneficiary shall mean the owner and holder, including pledgees, of the note secured hereby
             whether or not named as Beneficiary herein in this Deed, whenever the context so requires ,the
             masculine gender includes the feminine and/or neuter, and the singular number includes the
             plural.



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                     14.     That Trustee accepts this Trust when this Deed, duly executed and acknowledged,
              is made a public record as provided by law. Trustee is not obligated to notify any party hereto of
              pending sale under any other Deed of Trust or of any action or proceeding in which Trustor,
              Beneficiary or Trustee shall be a party unless brought by Trustee.
                         15.   Waiver     Trustot.

                               15.1   Trustor waives all of the following:
                                   15.1.1 Trustor's rights of subrogation, reimbursement, indemnification,
             and contribution and any other rights and defenses that are or may become available to a
             guarantor or other surety by reason of Sections 2787 to 2855, inclusive of the California Civil
             Code, including but not limited to any right Trustor may otherwise have to require Beneficiary to
             proceed directly against Borrower prior to seeking recovery against Property encumbered
             hereby.
                                    15.1.2 Any rights or defenses Trustor may have in respect of his or her
             obligations as a guarantor or other surety by reason of any election of remedies by the creditor.
                                     15.1.3 Any rights or defenses Trustor may have because the principal's
             note or other   obligation  is secured by real property or an estate for years. These rights or
             defenses include, but   are not limited to, any rights or defenses that are based upon, directly or
             indirectly, the application of Section 580a, 580b, 580d, or 726 of the Code of Civil Procedure to
             the principal's note or other obligation.
                             15.2 Trustor waives all rights and defenses that Trustor may have because the
             debtor's debt is secured by real property. This means, among other things;
                                    15.2.1 Beneficiary may collect from Trustor without first foreclosing on
             any real or personal property collateral pledged by the debtor.
                                      15.2.2 If Beneficiary forecloses on any real property collateral pledged by
             the debtor:
                                            (a)     The amount of the debt may be reduced only by the price
             for which that collateral is sold at the foreclosure sale, even if the collateral is worth more than
             the sale price.
                                           (b)    Beneficiary may collect from Trustor even if the
             Beneficiary, by foreclosing on the real property collateral, has destroyed any right Trustor may
             have to collect from the debtor.
             This is an unconditional and irrevocable waiver of any rights and defenses Trustor may have
             because the debtor's debt is secured by real property. These rights and defenses include, but are
             not limited to, any rights or defenses based upon Section 580a, 580b, 580d, or 726 of the Code of
             Civil Procedure.



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                             15.3 Trustor waives all rights and defenses arising out of an election of
              remedies by Beneficiary, even though that election of remedies, such as a nonjudicial foreclosure
              with respect to security for a guaranteed obligation, has destroyed Trustor's rights of subrogation
              and reimbursement against the principal by the operation of Section 5804 of the Code of Civil
              Procedure or otherwise.
                     16.     Due on,SaJe ens! Encumbrance. The Note which is secured by this Deed of Trust
              contains the following "due on sale" and "due on =cumbrance" clauses:
                         "Borrower acknowledges and agrees that the creditworthiness and expertise of
                          undersigned in owning, developing and operating the Property is the basis upon
                          which holder has determined that it is protected against impairment of the security
                         and risk of default and thereby has agreed to lend undersigned the principal sum
                         set forth above. In order to insure the continued creditworthiness and expertise of
                          the owner of the Property and in order to allow the holder of this Note an
                         opportunity to review and evaluate the same, undersigned agrees, for itself and
                         subsequent owners of the Property, that the Property shall not be sold, agreed to
                         be sold, conveyed, transferred, assigned, disposed of or fhrther encumbered,
                         whether voluntarily, involuntarily, by operation of law or otherwise, without the
                         written consent of the holder hereof being first obtained, which consent may be
                         withheld in holder's sole and absolute discretion. Any transaction in violation of
                         the above restrictions shall cause the then outstanding principal balance and
                         interest thereon and other sums secured by said Deed of Trust, at the option of
                         said holder, to immediately become due and payable. If Borrower is a
                         corporation, limited liability company or trust, the sale, conveyance, transfer or
                         disposition, whether voluntary or involuntary, of 25% or more of the issued and
                         outstanding common stock or membership interests of Borrower, or of the
                         beneficial interest of such trust, or, in the event Borrower is a limited or general
                         partnership or a joint venture, a change of any general partner or any joint
                         venturer, either voluntarily or involuntarily, or the sale, conveyance, transfer,
                         disposition, or encumbrance of any such general partnership or joint venture
                         interest shall be deemed to be a transfer of an interest in the Property for purposes
                         of this section.
                         Borrower agrees, for itself and subsequent owners of the Property, that in the
                         event that the improvements on the Property are altered or demolished without the
                         written consent of the holder hereof being first obtained, which consent may be
                         withheld in holder's sole and absolute discretion then outstanding principal
                         balance and interest thereon and other sums secured by said Deed of Trust, at the
                         option of said holder, shall immediately become due and payable, in whole or in
                         part, as the holder so determines."

                         17.
                            17.1 LagbiliV Insurance. Trustor shall, at Trustor's sole expense, obtain and
             keep in fix=  during the term of this Deed of Trust a policy of combined single limit, bodily
             injury and property damage   insurance insuring Beneficiary and Trustor against any liability

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              arising out of the ownership, use, occupancy or maintenance of the property upon which this
              Deed of Trost is an encumbrance (the "Property") and all areas appurtenant thereto. Such
              insurance shall be a combined single limit policy in an amount not less than $1,000,000 per
              occurrence. The limits of said insurance shall not, however, limit the liability of Trustor
              hereunder. Beneficiary shall be designated as an additional insured under the liability insurance
              required under this Deed of Trust.
                              17.2 property Insurance. Trustor shall obtain and keep in force during the term
              of this Deed of Trust a policy or policies of insurance covering loss or damage to the Property, in
              the amount of the Hill replacement value thereof, as the same may exist from time to time, as
              determined by Beneficiary against all perils included within the classification of fire, extended
              coverage, vandalism, malicious mischief, and special extended perils ("all risk" as such term is
              used in the insurance industry). Said insurance shall provide for payment of loss thereunder to
              Beneficiary. A stipulated value or agreed amount endorsement deleting the coinsurance
              provision of the policy shall be procured with said insurance. If the Trustor shall fail to procure
              and maintain said insurance the Beneficiary may, but shall not be required to, procure and
              maintain the same, but at the expense of Trustor. If such insurance coverage has a deductible
              clause, the deductible amount shall not exceed $1,000 per occurrence, and the Trustor shall be
              liable for such deductible amount.
                             17.3 Inpuraace Pollen". Insurance required hereunder shall be in companies
             holding a "General Policyholders Rating" of at least A-, Vas set forth in the most current issue
             of "Best's Insurance Guide." The Trustor shall deliver to the Beneficiary copies of policies of
             such insurance or certificates evidencing the existence and amounts of such insurance with
             additional insured and lender's loss payable endorsements as required by this Paragraph 17. No
             such policy shall be cancelable cc subject to reduction of coverage or other modification except
             after 30 days' prior written notice to Beneficiary. Trustor shall, at least 30 days prior to the
             expiration of such policies, fbrnish Beneficiary with renewals or "binders" thereof, or
             Beneficiary may order such insurance and charge the cost thereof to Trustor, which amount shall
             be payable by Trustor upon demand. Trustor shall not do or permit to be done anything which
             shall invalidate the insurance policies refaced to in this Paragraph 17.
                     18. gingligg. Beneficiary may exercise any right or remedy available under the
             Note or this Deed of Trust or at law or in equity. All of Beneficiary's remedies upon the
             occurrence of an event of default are cumulative. Beneficiary's prosecution of any one of these
             remedies shall not preclude Beneficiary from simultaneously or subsequently prosecuting any
             other remedy or remedies under this Deed of Trust or under the Note or any other Loan
             Documents. No act of Beneficiary shall be construed as an election to proceed under any
             particular provision of this Deed of Trust to the exclusion of any other provision of this Deed of
             Trust, or as an election of remedies to the exclusion of any other remedy that may then or
             thereafter be available to Beneficiary. No delay or failure by Beneficiary to exercise any right or
             remedy under this Deed of Trust shall be construed to be a waiver of that right or remedy or of
             any default by Truster. Beneficiary may exercise any one or more of its rights and remedies at its
             option without regard to the adequacy of its security.




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             3845293.1



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                         19.   • ppointment of Receiver.
                              19.1 Appointment of Receiver. in any action to foreclose this Deed of Trust, or
             sell all or part of the Property, or upon any event of default, Trustee or Beneficiary shall be
             entitled to the appointment of a receiver without notice, without regard to the solvency or
             insolvency of Trustor at the time of application for such receiver, and without regard to the then
             value of the Property or whether the same shall be then occupied as a homestead or not, and
             Trustee, Beneficiary hereunder or any holder of the Note may be appointed as such receiver.
             Such receiver shall have the power to collect any Rents during the pendency of such foreclosure
             suit, and also during any further times when Trustor, except for the intervention of such receiver,
             would be entitled to collect any Rents, and any and all other powers which may be necessary or
             are usual in such cases for the protection, possession, control, management and operation of the
             Property during the whole of said period. The court from time to time may authorize the receiver
             to apply the net income in its hands, after deducting reasonable compensation for the receiver
             and its counsel as allowed by the court, in payment (in whole or in part) of any or all of the
             indebtedness secured hereby, including, without limitation, the following, in such order of
             application as Trustee or Beneficiary may elect: (i) amounts due upon the Note secured hereby,
             (ii) amounts due upon any decree entered in any suit foreclosing this Deed of Trust; (iii) costs
             and expenses of foreclosure and litigation upon the Property; (iv) insurance premiums, repairs,
             taxes, special assessments, water charges and interest, penalties and costs in connection with the
             Property; (v) any other lien or charge upon the Property that may be or become superior to the
             lien of this Deed of Trust, or of any decree foreclosing the same, provided that such application
             is made prior to foreclosure sale; and (vi) the deficiency in case of a deficiency.
                               19.2   Reimbursement of Advances.
                                   19.2.1 Trustor agrees to promptly reimburse any monies which
             Beneficiary advances in connection with the appointment of a receiver or the receiver's
             operation of the Property, plus interest at the default rate set forth in the Note. Trustor's
             obligation to reimburse Beneficiary shall be secured by this Deed of Trust.
                                    19.2.2 In the event that Beneficiary advances any monies necessary to
             preserve the security interest granted by this Deed of Trust arising from a default in any loan
             secured by the Property that is of higher priority that this Deed of Trust, Trustor agrees to pay
             Beneficiary a fee in the amount of $5,000. Trustor's obligation to make such payment shall be
             secured by this Deed of Trust.
                             19.3 Eosisessjsaand Qmistigkoffgazzliga. Motor agrees that the receiver or
             his agents shall be entitled to enter upon and take possession of; and operate, manage and
             control, the Property to the same extent and in the same manner as Trustor might lawfhlly do.


                    The undersigned Truster requests that a copy of any Notice of Default aid of any
             Notice of Sale hereunder be mailed to him at his address herelebdore set forth.



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                                                                                                                      ‘0
                     IN WITNESS WHEREOF, the undersigned has executed this Deed of Trust as of the
             date first above written.
                                                        10701 Bellagio Road, LLC,
                                                        a California limited liability company



                                                                le




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                                    A notary public or other officer completing this certificate
                                    verifies only the identity of the individual who signed the
                                    document to which this certificate is attached, and not the
                                      truthfulness, accuracy, or validity of that document.

              State of California

              County of Los Angeles

              on  10
              appeared
                               2919, fare me, ill
                               tit 114/1 ieLs14.1
                                                       4n    to te.                  , a Notary Public, personally
                                                                 , w' . proved to me on the basis of satisfactory
              evidence to be the person(s) whose name(s) is/are subscribed to the within instrument, and
              acknowledged to me that he/she/they executed the same in his/her/their authorized capacity(ies),
              and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
              which the person(s) acted, executed the instrument.
              I certify under PENALTY OF PERJURY under the laws of the State of California that the
              foregoing paragraph is true and correct.
              WITNESS my hand and official seal.                                            NIGEL 01008
                                                                                      Notary Public • Caillonila
                                                                                        Los Meeks County
                                                                                      Commission 2164239



           ‘/TLA-ceM4                                                               M Comm, Er too Om 4, 2020


                                                                                        (seal)




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                                            REQUEST FOR FULL RECONVEYANCE
                                                                                                                                   0/
                                             To be used only when note has been paid:

                  To I            Title], Trustee                               Dated

                        The undersigned is the legal owner and holder of all indebtedness secured by the within
                 Deed of Trust. All sums secured by said Deed of Trust have been filly paid and satisfied; and
                 you are hereby requested and directed, on payment to you of any sums owing to you under the
                 terms of said Deed of Trust, to cancel all evidences of indebtedness, secured by said Deed of
                 Trust, delivered to you herewith together with said Deed of Trust, and to reconvey, without
                 warranty, to the parties designated by the teams of said Deed of Trust, the estate now held by you
                 under the same.


                                                                       MAIL RECONVEYANCE TO:


                 By:
                 Name:
                 Tide:


                 Do not lose or destroy this Deed of Trust OR THE NOTE which it secures. Both must be
                 delivered to the Trustee for cancellation before reconveyance will be made.




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                                                       EXHIBIT A

                                                 LEGAL DESCRIPTION

              THAT PORTION OF LOTS 9 AND 10 IN BLOCK 6 OF TRACT NO. 7656, IN THB CITY OF LOS
              ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN
              BOOK. 119 PAGES 70 TO 76 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
              RECORDER OF SAID COUNTY DESCRIBED AS FOLLOWS:
              PARCEL 1 AS DESCRIBED IN THE CERTIFICATE OF COMPLIANCE RECORDED MAY 9, 2012
              AS INSTRUMENT NUMBER 2012-696783, OF OFFICIAL RECORDS N THE RECORDER'S
              OFFICE OF THE COUNTY LOS ANGELES, STATE OF CALIFORNIA
              EXCEPTING THAT PORTION LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE
              BEGINNING AT A POINT IN THE SOUTHWESTERLY LINE OF SAID PARCEL 1, DISTANT
              SOUTH 40° 49' 30" EAST 126.00 FEET FROM THE WESTERLY MOST CORNER OF PARCEL 1;
              SAID CORNER BEING ALSO THE WESTERLY MOST CORNER OF LOT 9 IN BLOCK 6 OF
              TRACT NO. 7656, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
              CALIFORNIA, RECORDED IN BOOK 119 PAGES 70 TO 76, INCLUSIVE OF MAPS, IN THE
              OFFICE OF THE COUNTY RECORDER OF SAID COUNTY; THENCE NORTH 61° 16' 30" EAST
              358.35 FEET TO A POINT IN THE WESTERLY RIGHT OF WAY OF CARCASSONNE ROAD,
              SAID POINT BEING DISTANT 103.50 FEET SOUTHERLY, ALONG SAID RIGHT OF WAY,
              FROM THE INTERSECTION WITH THE EASTERLY PROLONGATION OF THE
              NORTHWESTERLY LINE OF PARCEL 1, HAVING A BEARING OF NORTH 64° 12' 12° EAST.
             SAID LAND IS ALSO SHOWN AS PARCEL 2 IN THE CERTIFICATE OF COMPLIANCE FOR
             LOT LINE ADJUSTMENT RECORDED SEPTEMBER 24, 2015 AS INSTRUMENT NO.
             2015).182272, OF OFFICIAL RECORDS.


             APN: 4362-003444

             (Property commonly known as: 10701 Bellagio Road, Los Angeles, CA 90077)




             38452711



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              EXHIBIT S
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                               CONSTRUCTION LOAN AGREEMENT
                                             BETWEEN
                                   CRESTLLOYD, LLC,
                        A CALIFORNIA LIMITED LIABILITY COMPANY,
                                     AS BORROWER
                                                AND

                                 HAMMY CAPITAL, LLC,
                        A CALIFORNIA LIMITED LIABILITY COMPANY,
                                       AS LENDER
                              EXECUTED AS OP OCTOBER 25, 2018

                              CONSTRUCTION LOAN AGREEMENT

             THIS CONSTRUCTION LOAN AGREEMENT ("Agnomen is executed as of
       October 25, 2018 by and between CRESTLLOYD, LW, a California limited liability
       company (the "Borrower"), and HANICEY CAPITAL, LLC, a California limited liability
       away ("Leader").
                                            RECITALS

         A. Borrower over or will own certain real property described in EXHIBIT A hereto
      ("ProPertYl.
          B. Borrower proposes to construct new improvements or renovate existing
      improvements on the Property waded% against* badly toddle" typebar with all
      appurtenances, fixtme, and Went improvements now or hereafter located on the
      Property ("Improvements". The Improvements shall be contracted in accordance with
      plans and specifications which Borrower hes heretofore,, or will hereafter deliver to
      Lender, se amended in order to comply with the terms aid condition, of this Agreement
      ("Plans and Specifications"). Harmer has requested from Lender a loan for the purpose
      of such conetructioa.
         NOW, THEREFORE, Borrower and Leader agree as follows:
                                   ARTICLE 1. DEFINITIONS

          1.1. Defined Terms. The Mowing capitalised tonne gesterally used in this Agreement
      shall have the meanings dated or referenced below. Canis other capitalized terms used
      only in specific sections of this Agreement ere defined in such endow.




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          "Account" - means an account with Bank, account number                 , in the
       name of Borrower or Borrower's &apes Into which Loan proceeds will be deposited.

           "ADA" - means the Americans with Disabilities A*, 42 U.S.C. Section 12101, *seq.
       as now or hereafter amended or modified.
           "Affiliate" - mans, is to any person or entity, any person or entity which, directly or
       indirectly, controls, is controlled by or is under common control with, or which bas the
       power to control the management or operations of, such person or entity.

          "Bank"- means

          "Bankruptcy Code" - means the Bankruptcy Reform Act of 1978 (11 U.S.C. Section
       101-1330) as now or hereafter amended or recodified.

          "Bonded Work" - :ball have the meaning ascribed to such term in Section 8.1.

          "Border Zone Property" - means any property designated as "border zone property"
       under the provisions of California Health and Safety Code, Sections 23220 et seq., or any
       regulation adopted in accordance therewith.
          "Borrower" - means CRESTLLOYD, LLC, a California limited liability company.
           "Borrower's Funds" - means all bads of Borrower deposited with Lender into the
       Borrower's Funds Account'maintained with Bank pursuant to the terms and conditions of
       this Agreement.
          "Borrower's Funds Account" means the.account with Bank into which all Nods
       deposited with Lender pursuant to this Agreement shall be placed.

         "Huskies Day" - means a day of the week (but not a Saturday, Sunday or holiday) oa
      which the offices of Bank are open to the public fir carrying on substantially all of
      Bank's business motions. Unless specifically referenced th this Agrarian as a Badness
      DI% all rsiterases to "days" shall be to calendar days.
          "Certificate of Approval" - means a certificate in the fOrm of EXHIBIT F.
          "Completion Date" - means the date upon which Borrower satisfies the last of the
      conditions fix the Muse of the Retention, n provided In Paragraph C of EXHIBIT D,
      *wen* estimated to be                                     the date by which construction
      of the improvements must be complete, abject to extenska pursuant to change orders
      approved by Lender as provided herein or purnuant to the provisions of Section 4.3.
         "Construction Agreements" - means thus certain agreements to construct the
      Improvements by and between Borrower (in its capacity as the builder) and various
      contractor&


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            "Contractors" - means various contractors which have executed Construction
        Agreements for construction of the Improvements.
                                                                  •
            "Deed of Trust" - Means that certain Deed of Tenet and Fixture Filing with
        Assignment of Leases and Rents, of even date herewith executed by Borrower, as
        Motor, to Chicago Title Company, as Trustee, for the benefit of Lender, as Beneficiary,
        as hereafter amended, supplemented, replaced or modified.

            "Deemed Approval Matter" - means any matter requiring the consent of Lender under
        the Loan Documents including, without limitation, the following: (1) contracts for which
       Lender approval is required hereunder, as contemplated in Sections 4.4 and 4.5, (2) Plans
       and Specifications and changes thereto for which Lender approval is required hereunder,
       as contemplated in Section 44, (3) Borrower's contracting for any materials, flunialinge,
       equipment, finnan or other parts or compensate of the Improvements in which any third
       party will retain any interest for which Lender approval is required hereunder, as
       contemplated in Section 4.8, (4) the inclusion of the Property in any assessment district or
       community facilities district he which Lender approval is required hereunder, as
       contemplated in Section 4.11, (5) formation and authorization documents of Borrower,
       and modifications thereto, fbr which Lender approval is required hereunder, as
       contemplated in Sections 6.3 and 9,10, (6) the issuance early Set Aside Letter hr which
      Lender approval is requited hereunder, as contemplated in Section 8.1; (1) leases and
      leasing parameters hr which Lender approval is required hereunder, as contemplated in
      Section 9.4, ($) any Subdivision Map lbr which Lender approval is required hereunder, as
      contemplated in Section 9.6, (9) sesipment of all or any portion of Borrower's interest
      under the Loan documents or any moneys due or to become due thereunder for which
      Lender approval is required heremder, as contemplated in Section 9.8, and (10)
      agreements providing for the management, leasing or operation of the Property or
      Improvements for which Lender approval is required hereunder, as contemplated in
      Section 9.9.
          "Debult" shall have the meanies ascribed to such term in Section 11.1.

         "Disbursement Budget" - means the design and construction budget for the
      Improvements, as approved by Lender tom time to time.

          "Distribution" - means any transfer of east or other property from Borrower to any
      constituent member or statutory manager thereot whether chareetedeed as a distribution,
      dividend, redemption, he, repayment of a ken or otherwise, but excluding the payment
      of any hes, commissions or expenses pursuant to the Development and Management
      Agreements prior to the date that Lender requires Borrower to terminals the Development
      and Management Agreements under the provisions of Section 11.6 and following the date
      of any mineatenamt of any terminated Development and Management Agreements under
      the provisions of Section 11.6.




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           "Weedy* Date" - means the date the Deed of Trust is recorded in the Office of the
        County Recorder of the county where the Property is located.
           "Environmental Report" • means the reports actually received by Lender as
        contemplated In Section 3.1(d) of this Agreement,
            "Hazardous Materials" - shall have the meaning ascribed to such term in Section
        7.1(a),
          "Hazardous Materials Claims" - shall have the meaning ascribed to such term in
       Section 7.1(c),

          "Hazardous Materials Laws" - sla►ll have the meaning ascribed to such term in
       Section 7.1(b),

           "Improvements" - shall have the meaning ascribed to such term in Recital B.

           "Lender" - means Haulm Capital, LLC, &California limited liability company.
           "Lender Payment Turnaround Period" - means, provided that Borrower delivers the
       applicable application fix payment to Leader under cover of a written notice stating in
       bold, all-capitalized letters what the outside date for such Lender Payment Turnaround
       Period is for that specific application for payment, ten (10) calendar days.
         "Loan"- MOM the principal sum that Lender agrees to land and Borrower agrees to
      *mew pursuant to the terms and conditions dais Agreement EIGHTY TWO
      MILLION, FIVE HUNDRED THOUSAND AND NO/100THS DOLLARS
      ($82,500,000.00).

          "Loan Document" - means those documents, se hereafter amended, supplemented,
      replaced or modified, properly executed and in recordable form, if necessary, listed in
      EXHIBIT B as Loan Documents.

          "Maturity Date"— October 31, 2020.

          "Note" - meow that certain Promissory Note ewer data herewith, in the original
      principal amount of the Loan, executed by Benower and payable to the order of Lender,
      as hereafter amended, supplemented, replaced or modified.
         "Obligee" - shell have the meaning ascribed to such term in Section 8.1.

          "Other Borrower Low Document"- means those documents, as hereafter amended,
      supplemented, replaced or modified from time to time, properly executed and in
      recordable form, if necessary, listed in EXHIBIT B as "Other Borrower Loan
      Documeets"



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            "Other Related Documents" - means those documents, as hereafter amended,
        supplemented, replaced or modified hum time to time, properly executed and in
        recordable form, if necessary, listed in EXHIBIT B as Other Related Documents.

            "Out of Balance Notice" - shall have the meaning ascribed to such term in Section
        3.1(b).

              "Plana and Specifications" - shall have the meaning ascribed to such term in Recital
        B.
              'Principal Subs" - shall have the meaning ascribed to such term in Section 4.7.

          'Project Entitlements" - means the Los Angeles Department of Building and Safety
       Permit Noe.

             "Propel)," - shall have the meaning ascribed to such term in Recital A.


          "Secured Obligations" - shall have the meaning ascribed to such term in the Deed of
       Trust.

             "Set Aside Letter" - shall have the meaning ascribed to such term in Section 8,1.
             "Subdivision Map" - shall have the meaning ascribed to such term in Section 9.6.

             "Surety" shell have the messing ascribed to such tam hr Section 8.1.
          "Title          - means the ALTA Lender's Polley of Title Insurer= as issued by First
      American Title Company, together with such special endosseenents es Leader may
      require thereto, including, without limitation, brute CLTA 100 (milking particular
      reference to any easement or entrenchment listed in the Tide Policy), 116, 116.1
      (snuvey), 102.7 (fousidatics), 103.7 (modified to =we access to a physically open public
      street sufficient to provide vehicular and pedestrian ingress and egress), 111.5 (variable
      interest rate), 129-06 (separate tax parcel), 122.4 (advances), 137.1-06, and such other
      special endorsements as Lender may require.

         "Working Capital" - MUM all proceeds of the Los* disbursed by Lender into the
      Working Capital Reserve Account maintained with Bank pursuant to the terms and
      conditions of this Agreement
          "Working Capital Reserve Account" - maps the account with Bank into which all
      Arad, disbursed as Working Capital by Leader pursuant to this Agreement shall be
      placed.
         1.2. Exhibits Incorporated. EXHIBITS A, B, C, D, B, Fend 0, all attached hereto, are
      hereby incorporated into this Alinement.
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                                           ARTICLE 2. LOAN

            2.1. Loan. By sad subject to the tams of this Agreement, Lender agrees to lend to
        Borrower and Borrower agrees to borrow from Lender the principal sum of EIGHTY-
        TWO MILLION, ME HUNDRED THOUSAND AND. NO/100THS DOLLARS
        (582,500,000.00), said sum to be evidenced by die Note of even date herewith. The Note
        shall be secured, in pair, by the Deed of Trust, of even date herewith, encumbering
        certain real property and improvements as legally defined therein. Amounts disbursed to
        or on behalf of Borrower pursuant to the Note shall be used to purchase and finance the
        construodon of the Property and Improvements and for such other purposes and uses as
        may be permitted under this Agreement and the other Loan Documents.
           2.2. Loan Documents. Borrower shall deliver to Lender concurrently with this
       Agreement each of the documents, properly executed and in recordable fOrm, as
       applicable, described in EXHIBIT B as Loom Documents, together with those documents
       described in EXHIBIT B as Other Related Documents. Notwithstanding anything to the
       contrary contained elsewhere within this Agreement, the lien of the Deed of Trust shall
       not secure any obligation under any of the Loan Documents that are designated co
       EXHIBIT B as not being secured by liens upon real property.
           2.3. Effective Date. The date of the Loan Documents is tbr reference purposes only.
       The Effective Date of delivery and transthr to Lender of the smutty under the Loan
       Documents and of Borrower's and Lender's obligations under the Loan Documents shall
       be the date the Deed of Trust le recorded in the Office of the County Recorder of the
       county where the Property is located.
          2.4. Maturity Date; Prepayment. Upon the Maturity Date, all sums due and owing
      under this Agreement and the other Loan Documents shell be repaid in tell. All
      payments doe to Lender under this Agreement, whether at the Maturity Date or
      otherwise, shall be paid in immediately available shads, Amounts owing under the Note
      may be prepaid by Borrower, in whole or in part, at any thus, without premium or
      penalty.
          2.5. Credit for Principal Payments. Any payment made upon the outstanding principal
      balance ofthe Loan shall be audited as of the Business Day received, provided snob
      payment is received by Lender no far than 11:00 a.m. Punic Time) aid constitutes
      iminedistely available bads. Any principal payment received after said time or which
      does not constitute immediately available dads shall be credited upon such toads having
      become unconditionally and immediately available to Lender.
         2.6. Pull Repayment and Reconveyanoe. Upon receipt of all sums awing and
      outstanding under the Loan Documents, Lender shall issue a NI reconveyanoe of the
      Property and Improvement from the lien alb. Deed of 'hot and otherwise release
      Loden security interest in all other personal property collateral that secure the Loan;
      provided, however, that all of the *Mowing conditions shill be satisfied at the time oC


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         sad with respect to, suck reconveyanorn (a) Lender shall have received all escrow,
         closing and recording costs, the costs of preparing and delivering such monveyance and
         any sums then due and payable under the Loan Documents, and (b) Lender shall have
        received a written release satishotory to Lender of any set aside letter, letter of credit or
        other *cm of undertaking which Lender has issued to any surely, governmental agency
        or any other party in connection with the Loan and/or the Property and Improvements.
        Lender's obligation to make thriller disbursements under the Loan shall terminate as to
        any portico of the Loan undisbureed as of the date of issuance of such MI release or
        reconveyance, and any commitment of Lender to lend any undisbursed portion tithe
        Loan filialt be canceled.

            2.7. Lender Profit Participation. If, at any thee, daring the term of the Loan or
        following repayment of the Loan. the Property is sold for a purchase price in excess of
       $2200,000.000, Lender shrill be entitled to a Lender Profit Participation Payment in the
       amount of $3,500,000. The Lender Profit Participation Payment shall be collected at the
       close of the sale of the Property. Contemporaneous with this Agreement, Borrower and
       Lender shall enter into a Profit Participation Agreement memorializing the parties'
       agreement with respect to the Lander Profit Participation Payment, and upon the closing
       of the Loan, Lender shall record a Memorandum of Agreement in the Official Records of
       the County Recorder of Los Angeles County, California, evidencing the existence of the
       Profit Participation Agreement.

                                     ARTICLE 3. DISBURSEMENT

           3.1. Conditions Precedent Leader% obligation to make any disbursements
       or take any other action under the Loan Documents shell be subject at all times to
       satishotion of earth of the 'Mowing conditions precedent:

                (a) There shall exist no Dethult, as defined in this Agreeman, Wirth as defined
       in any of the other Loan Documents, event, onsimion or Wore ofoondition which wovid
      constitute s De** after notice or lapse of time, or both, or doh* by Borrower
      (fallowing any applicable notice and our period) under auy of the Other Related
      Documents, except to the extent that such event, omission or failure (i) is of a nature that
      it could ripen into a monetary Default, and est event, omission or failure will be cured by
      the requested disbursement or with ilmds that Borrower is then attempting to raise during
      the 60-day' cure period set forth in the provisions of the thud paragraph of Section ILI,
      or (ii) is of a nature that it could ripen into a non-monetary Default, such event, omission
      or Whim is marsh* and Borrower is then diligently promoting snob site to conerlation
      within the applicable cure period; and
              (b) Any undiebersed Loan fonds together with all sums, if any, to be provided by
      Borrower, shall be at all times equal to or ironer than the mum* which Lender from
      time to time reasonably determines necessary to: (i) pay, through completion, all costs of
      renovation, development, consknotion, operation, marketing and sale or leash* of the
      Property and Insptovements in accordance with the Loan Documents; (ii) pay all sums
      which may accrue under the Loan Documents prior to repayment of the Loan; and OD


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        enable Borrower to perform and satisfy all of the covenants of Borrower contained in the
        Loan Documents. If Lender reasonably determines at any time that the undisbursed Loan
        finds are insufficient for said purposes, Lender may deliver to Borrower written notice
        demanding that Borrower then deposit fiends equal to such deficiency in the Borrower's
        Fund, Account (an "Out of Balance Notice"), in which event Borrower shall deposit the
        amount of such deficiency in the Borrower's Funds Account within thirty (30) days after
        the date of delivery of the applicable Out of Balance Notice; and

               (c) Lender shall have received all Lou Documents. other documents,
       instruments, policies, and !terms of evidence or other materials requested by Lender under
       the terms of this Agreement or any of the other Loan Documents. including, without
       limitation, such forms of estoppel certificates and subordination, non-disturbance and
       attornment agreements as Lender may then require from existing tenants of the Property;
       and

                (d) Lender acknowledges that it has received and approved in hem and substance
        satistectory to Lender: (I) a soils report for the Property and Improvement; (ii) an
        environmental quesdolmain, and environmental site auesament with *respect to the
        presence, if any, of Hazardous Materials on the Property and Improvements; (Hi) two sets
       of the Plans and Specifications (or if the Plans and Specifications for
        the entirety of the Improvements are not then complete or some portion of the
       bnprovennote are to be constructed using a design/build process. in either such are
       puneumt to partial Plane and Specifications approved by Lender under the provisions of
       Section 4.6 of this Agreement and for which a valid building permit his been issued, then
       such portion of the Plans and Specificitiess to the extent that payment fix such portion of
       the Improvements is to be covered by a content disbursement request), together with
       evidence, dell necessary or appropriate approvals of governmental agonise; (iv) ogle'
      of all agreements which are material to completion of the Improvonente; (v) copies *fall
      bundles permits and similar permits, licenses, approvals, development agreements and
      other authorizations of govanniental agencies required in contention with the
      development of the Property and Improvement:, or, Wench approvals are to be issued on
      a staged basis, then fOr the current and all prior stapes of development, provided that sack
      staged developmeot has been approved by Lade; as contemplated intention 4.6; and
      (vi) copies of any initial study, negative declaration, mitigated negative declination,
      0411,02103004 impact report, notice of delerminatIon or notice of exemption prepared,
      adopted, certified or filed by any governmental agency in connection with the Property;
      and
             (e) Lender shall have received and approved the Disbursement Budget.
          3.2. MOM*, Pledge and Assignenent, and Disbursement Authorization. The proceeds
      of the Loan and Borrower's Funds, when qualified for disbursement, shall be deposited
      into an account to be designated by Borrower or otherwise disbursed to or for the benefit
      or account of Borrower under the tonne adds Agnomen. Disbursements hereunder may
      be made by Lender upon the written request of emperors who has been authorized by
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        Borrower to request such disbursements until such time as written notice of Hammer's
        revocation ands authority is received by Lender at the Manes shown in EXHIBIT D.
           3.3. Borrower's Funds Account, Pledge and Assignment. Except as otherwise
       provided in this Agreement, all of the Borrower's Funds which are deposited with Lender
       by Sommer as shown in EXHIBIT C, or any other provision of the Loan Documents,
       shall be placed in the Borrower's Funds Account for disbursement under this Agreement.
       As additional security fbr Borrower's performance under the Loon D0011113010, Borrower
       hereby irrevocably pledges and mays to Leader the Borrower's Funds Account and all
       monies at any time deposited in the Borrower's Funds Account.
           3.4. Loan Disbursements. Sulriect to the conditions set forth in Section 3.1(b), the
       proceeds of the Loan and Borrower's Funds shall be disbursed in accordance with the
       tams and conditions of EXHIBIT D. Disbursements made after the deposit of 1301TOWOnl
       Funds shall be made first ftom the Borrower's Funds Account until depleted. Ali
       disbursements shall be held by Borrower in trust and applied by. Borrower solely for the
       purposes for which the funds have been disbursed. Lander has no obligation to monitor or
       determine Borrower's use or spplicadon ofthe disbursements. Partial disbursements shall
       be permitted under the terms and subject to the conditions set forth in EXHIBIT D.
          3.5. Waking Capital. PM tilSO to time, in Borrower's Applications for Payment,
      Borrower may request the disbursement of proceeds of the Loan and Borrower's Funds
      into the Waking Capitol Reserve Amount to maintain the balance of the Working
      Capital Reserve Account at the amount specified in the Disbursement Budget, provided
      that amounts in the Working Capital Reserve Account rosy ady be used*, pay
      reasonable costs of the design or construction of the Improvements, and that Borrower
      shall have delivered the monthly reports with respect to the Worlds& Capital Reserve
      Amount that are required under the provisions of Section 10.1 of this Agreement for all
      prior months. As additional security Sr Borrowees perfume:um under the Loan
      Documents, Borrower hereby irrevocably pledges and amigos to Lender the Working
      Capital Reserve Account and all monies at any time deposited in the Working Capital
      Reserve Account.
          3.6. Interest Reserve. Interest charged on the Loan shall be applied monthly from in
      interest reserve account to be maintained by the Lender, in accordance with the budget
      approved by the Lender. Borrower shall mob timely payments of monthly karat upon
      depletion of the interest reserve maintained by the Lander.
                                  ARTICLE 4. CONSTRUCTION

         4.1. Commencement and Conviction. Borrower shell commence construction ache
      Improvements without delay after recordation of the Deed of 'Dust and shall complete
      construcfion of the Improvements on or balm the Completion Date.
         4.2. Commencement and Completion of Ofitits Improvement Borrower shall
      commence commotion of any ofthite improvements required by any governmental


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        authority to be performed by Borrower under any Project Entitlements in connection with
        the construction of the Improvements without delay after recordation of the Deed of Trust
        and shall complete construction of any such ratite improvements on or heave the due
        required under the applicable Project Entitlements.
            4.3. Pores Ajar.. The time within which construction of the Improvements must be
        completed shall be extended for * period of thus equal to the period of any delay directly
        lamina construction which itemised by fire, earthquake or other acts of pod,
        unexpected inclement weather, utility shortages or interruptions, strike, lockout, sots of
       public enemy, riot, insurrection, or goverment& regulation of the sale or transportation
       of materials, supplies or labor, the !Inure of any governmental authority to issue any
       Project ilatidement for reasons beyond Bonewert reasonable control, the failure of any
       condition of approval on any Project Badmen for any reason beyond Borrower's
       reasonable control, or any moratorium enacted by any governmental authority over
       Borrower's good faith opposition that prohibits, impairs, delays or restricts development
       of the Improvements; provided, however, that Borrower shall punish Lender with written
       notice satisfactory to Lender evidencing any such delay within ten (10) days after the
       occurrence of any such delay. In no event shall the titan the anticipated date far
       completion of the Improvements be extended beyond the Maturity Date or more than one
       himdred tweany (120) days beyond the Completion Date as scheduled prior to such delay,
          4.4. Construcdon Agreements. Borrower and Contractors have entered into various
      Construction Agreements parenant to the berms and conditions of which Contractors ere
      to construct the Improvements. Borrower shall require each Contractor to perform la
      accordance with the mu of the Construction Agreements and shall not amend, modify
      or alter the Construction Agreements without Lender's prior wrftten consent, which
      consent shall not be unreasonably withheld, conditioned or delayed. Borrower shall
      execute, upon Lender's request, an assignment of Borrower's rights under the
      Construction Agreements to Lender as security for Borrower's °Wanking under this
      Agreement and the other Lam Damson and shall cause the Counselors to consent to
      any such assignment
          4.3. (Deleted].
          4.6. Plane and Specifications.

              (a) Changes; Lender Consent. If the Plans and Specifications contemplate staged
      design and ecometion, and if Lender has approved Plans and Specifications that
      contemplate that certain stages will be designed in the Sitars, than any stages death
      Plans and Specifications that have not been approved by Lender as of the date ofthis
      Agreement shall be subject to Lender's prior written approval, which consent shall not be
      unreasonably withheld, conditioned or delayed. Except as otherwise provided in tids
      Agreement, Bonower shall not nada any Amin in the Plans and Specifications or the
      Improvements without Lender's prior written consent if such change, taken together with
      all other channel Oar which Lender's approval was not required hereunder, could
      materially *Moot the overall quality or efficiency of the hoprovennms or the


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        Improvements' exterior, lobbies or building systems. Without limiting the above, Lender
        agrees that Borrower may make minor changes in the Plans and Specifications and
        Improvements without Lender's prior written consent, provided that such changes do not
        violate any of the conditions specified herein. Notwithstanding the foregoing, Leader
       shall not have any approval rights respecting say change in the Plans and Specificadons
       or the Improvements if such change tollowe inevitably born previously approved Plans
       and Specifications or changes thereto. Borrower shall st all times maintain, for inspection
       by Lender, a set ofworking drawings of the Improvements, which, if there is staged
       design that has not yet occurred, if applicable, shall at least cover the portions of the
       Improvesnents completed sad under construction or tally designed at such time.

               (b) Chan" Submission Requirements. Borrower shall submit any proposed
       change in the Plans and Specifications requiring Lender's consent to Leader prior to the
      commencement of construction relating to such proposed change, ai lost ten (10)
      Business Days prior to the commencement of construction. Requests for any change
      which requites consent shall be accompanied by working drawings (or appropriate
      submittals) and a written description of the proposed change, :obtained on a change order
      fbrm acceptable to Lender, signed by Borrower and, ifrequired by Lender, also by the
      Contractors. At its option, Lender may require Borrower to provide: (i) evidence
      satishotory to Lender of the cost and time necessary to complete the proposed change;
      and (ii) a deposit in the amount of any increased costs into Borrower's Funds Account.

              (c) Consent Process. Borrower acknowledges that Lender's review of any changes
      and required consent may result in delays in construction and hereby consent* to any such
      delays. Neverthelers, Lender shall use commercially resecnable fillets to respond to
      requests for approval within the time periods provided in this Agreement Leader shall
      not deplete a Debt* under the terms of the Loon in the event the Default has been
      caused by a delay in Leader's approval.

             (d) Final Plans and Specifications. Upon oanapkdon of the Improvements,
      Borrower shall deliver to Leader within sixty (60) days a set of final, as-built Plans and
      Specifications.
         4.7. Contractor/Construction Infbrmation. Borrower shall deliver to Leader in a hem
     acceptable to Lendec (a) a list detailing the name, address sad phone number deo%
     contractor, subcontractor and material supplier so be employed or used kr oonstrudion of
     the improvements who is under contract or otherwise bee been selected to supply goods
     or services or pertbrna work for the Podect costing in moan of 115.000 in the aggregate
     sad any other person or entity who delivers a Preliminary Notice to Owner or Lender
     under Civil Code Sections 3097 or 3098 (collectively, "Principal Subs") together with the
     dollar amount, including changes, if any, reflected in each contract said subcontract for
     the Principal Subs, and the portion thereof, if any, paid ftou0 the date of such list of
     Principle Subs; (b) copies Ouch contract and subcontract W            d in such list of
     Principal Subs, fte       say changes thereto; (o) a cost breakdown of the projected total
     cost of constructing the Improvements, and that portion, if any, ofeach cost item which
     has bees incurred; and (d) a construction progress schedule detailing the progress of


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       construction and the projected sequencing and completion time for uncompleted work, all
       as of the date of such schedule.

       Borrower agrees that Lender's approval of any contractor, subcontractor or material
       supplier if and to the extent permitted under the terms of this Agreement shall not
       constitute a warranty or representation of qualification by Lender. Lender may contact
       any contractor, subcontractor or material supplier to discuss the course of construction.

          4.8, Prohibited Contracts. Without Lender's prior written consent, Borrower shall not
      contract for any materials, Annishinp, equipment, fixtures or other parts or components
      of the Improvements, if any third party shall retain any ownership interest (other than lien
      rights created by operation of law) in such usurer altos their delivery to the Property and
      Improvements. Borrower shall have twenty (20) days to effect the removal of any such
      retained interest not otherwise permitted above, or, provided that such interest or the
      holder's realization thereon will not jeopardize Borrower's title to or use of the Property,
      Unto& retained interest cannot be reasonably removed in such period, Borrower shell
      have commenced such removal within such time and shall diligently pursue its removal
      until completed.
          4.9. Liens and Stop Notices. Ifs claim of lien is recorded which affects the Property
      or Improvements or a bonded stop notice is served upon Lander, within twenty (20)
      calendar days attar such recording or service or within five (5) Business Days after
      Lender's demand, whichever occurs first, Borrower, at Bowman election, shall do one
      of the thllowiny (a) pay and discharge the claim of lien or bonded stop notice; (b) effect
      the release thereof by month* or delivering to Lender a surety bond in sufficient form
      and amount or (a) provide Lender with other assurances which Leader deems, in its sole
      discredon, to be Midway tbr the payment of such claim of lien or bonded stop notice
      and for the foil and continuous protection of Lender tem the effect clench Una or
      bonded stop notice.

          4.10. Construction Reeponsibilides. Borrower shall construct the Improvements in a
      workmanlike manner substantially in accordance with the Plans and Specifications and
      the recommendadone any soils or engineering report approved by Lender purloin to
      Section 3.1(d) above. Borrower shall substantially comply with all applicable laws,
      ordinances, tubas, regulations, building restrictions, recorded covenants and restrictions,
     and requirements of ail regulatory authorities havingjuriediction over the Property or
     laprovanents. Borrower shell be solely responsible !tor all aspects of Borrower's
     business and conduct in comenion with the Property and Improvements, including,
     without limitation, *elk, quality and suitability of the Plans and Specifications and their
     compliance with all govermnental Impairments, the supervision of the work of
     construction, the qualifications, financial condition and performance of all architects,
     engineers, contactors, material suppliers, consultants and property managers, and the
     accuracy of all applications fix payment and the proper application of all disbursements.
     Lender is not obligated to supervise, inspect or Mem Borrower or any third party of any
     aspect of the construction of the Improvements or swath& matter retkred io above.



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             4.11. Assam:rents and Community Facilities Districts. Without Lendets prior written
        consent, Borrower shall not cause or suffer to become effective or otherwise consent to
        the formation of any assessment district or community hoilidee district which includes
        all or any part of the Property and Improvements pursuant to: (a) the Mello-Roos
        Community Facilities Act of 1982; (b) the Municipal Improvement Act of 1913; or (c)
        any other comparable or similar statute or regulation. Nor shall Borrower cause or
        otherwise consent to the levying of special taxes or assessments against the Property and
        Improvements by any such assessment district or conummity ficilities district.
          4.12. Delay. Borrower shall promptly notify Lender in writing of any event caning
       delay or interruption of construction, or the timely completion of construction. The notice
       shall specify the particular work delayed, and the cause sad period of each delay.

           4.13. Inspections,. Lender shall have the right to enter upon the Property at all
       reasonable times to inspect the Improvements and the construction work to verify
       information disclosed or required pursuant to this Agreement. Any Inspection or review
       of the Improvements by Lender is solely to determine whether Borrower is properly
       discharging its obligations to Lender and may not be relied upon by Borrower or by any
       third party as a representation or warranty of compliance with this Agreement or any
       other agreement. Lender owes no duty of canto Borrower or any third party to poled
       against, or to inform Barron* or any third party of, any negligent, amity, inadequate or
       dell:olive design or construction of the Improvements as determined by Lender.

           4.14. Surveys. Upon Lender's written request, Borrower shall promptly deliver to
      Lenders (a) a outran survey of the Property showing the location of the meats                on
      the Property (as constructed's, of date of such survey), all eseemeets, encroacknents
      sad applicable governmental set bee* and (b) upon completion of the Improvements, an
      as-buik survey acceptable to a title insurer for purposes of kWh* an ALTA policy of
      title 111111,1111000. All such surveys shell be peribrmed and certified by a licensed engineer
      or surveyor acceptable to the title insurer.
                                      ARTICLE 5. INSURANCE

          Borrower shall, while any obligation of Borrower under any Loan Document remains
      outstanding, undoes's' at Borrower's sole expos" with licensed insurers approved by
      Leader, the following policies of insurance in than and substance satiehmary to Lender

          5.1. This Insursoce. A Title Policy insuring Lender, ha the principal amount of the
      Losn, of the validity and the priority of the lien of the Deed of Trost woe the Property
      and Improvements, subject only to matters approved by Lender in writing. During the
      term of the Loan, Borrower shell deliver to Larder, within Eve (5) Business Days after
      Undoes written request, such other endorsement. to the Title Policy as Lender may
      sessonably requite.
          5.2. Property Insurance. A Builders Risk Completed Value Huard Insurance policy,
      including, without limitation, such endorsements as Leader may require, insuring Lender


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        against damage to the Property and hnptovcments in an amount acceptable to Loader.
        Lender shall be named on the policy under * Lender's Loss Payable Endorsement (form
        013111SFU or equivalent),

           5.3. Flood Huard bananas: A policy of flood insurance, as required by applicable
        governmental regulations, ores deemed necessary by Loader,

           5.4. Liability Insurance. A policy of commercial general liability insurance with
       limits as required by Lender, insuring against liability for injury and/or death to any
       person end/or damage to any property occurring on the Property and/or in the
       Improvements from any cause whatsoever.

           5.5. General. Borrower shall provide to Lender the originals of all required insurance
       policies, or other evidence of immune* acceptable to Lender. All insurance policies shall
       provide that the insurance shall not be cancelable or materially changed without ten (10)
       days prior written notice to Lender. Lender shall be named enders/tinder's Lon Payable
       Endorsement (form 0438BFU or equivalent) on all insurance policies which Borrower
       actually maintains with respect to the Property and Improvements. Borrower shall
       provide to Lender evidence of any other hazard insurance Lender may doom necessary at
       any time during the Loan.
                      ARTICLE 6. REPRESENTATIONS AND WARRANTIES

          As a material inducement to Lands% entry into this Averment, Borrower represents
      and warrants to Lewin as of the Motive Date and as of the date each Application for
      Payment is submitted to Leader pursuant to EXHIBIT D (provided, however, that to the
      extent circumstances have changed for reasons beyond the reasonable control of
      Borrower such that Borrower must qualiei such representations and warranties se of the
      date of delivery of any such Application doe Payment, such quelitkation, to the attest it
      renders the applicable representation materially untrue or breaches the applicable
      warranty, shall merely be a thibrc of condition to Lender's obligation to disburse Rode
      under the provisions of EXHIBIT D, as opposed to constituting an Evan of Mink) that:

           6.1. Authority/Enkneability. Borrower is in sauternel compliance with all laws and
      regulations applicable to its origination, existence and emotion oft:wino and bee
      all necessary rights and powers to own, develop and operate the Property and
      improvements as contemplated by** Loan Documents.

          6.2. Binding Obligations. Borrower is authodaed to execute, deliver and poritem its
      obligations under the Loan Documents and such obligations are and shall 00111111110 to be
      valid and binding obligations of Botrower.

         6.3. Intentionally Omitted.
         6.4. No Violation. Borrower's execution, delivery, and performance under the Loan
      Documents do not: (a) require any consent or approval not hentokre obtained under any


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       partnership agreement operating oliteesoont limited liability company alinement.
       ankles of incorporation, bylaws or other document; (b) materially violate any
       governmental requirement applicable to the Property and improvements or any other
       statute, law, regulation or ordinance or any order or ruling of any cowl or governmental
       entity; (o) materially conflict with, or constitute a material breach or dank or prank the
       acceleration of obligations under any averment, contact, lease, or other document by
       which the Borrower is or the Property and Improvements are bound or regulated; or (d)
       materially violate any statute, law, regulation or ordinance, or any order of any court or
       governmental entity.

          6.5. Compliance with Laws. Borrower has, and at all applicable times thallium
      obtained, all permits, licenses, atauptions, and approvals necessary to coast:urn, occupy,
      operate and market the Property and bap:onsets be the applicable stage of
      development and operation, and shall maintain substantial compliance with all
      governmental requirements applicable to the Property and Improvements and all other
      applicable statutes, laws, regulations and ordinances necessary for the transaction of its
      business.
          6,6. Litigation. Except as disclosed to Lender in writing. there are no claims, actions,
      suits, or proceedings pending, or to Borrower's knowledge threatened, against Bonower
      or dhotis* the Property or improvements that are of a =tidal nature and that, if
      successiblly prosecuted against Borrower would crests a material adverse change in the
      financial condition of Borrower.
           6.7. Financial Condition. AU financial at cents and inlbenstion minis* to the
      financial condition of Bonner, the Property, and the Improvements, which have been
      heretobto and hereafter are delivered to Lender by Borrower, fairly end accurately
      represent as of the date end delivery the financial condition of the subject thereof's:Id
      have bees prepared (except u noted therein) in accordance with 'spirally accepted
      MOOOtifill$ peinciples consistently applied. Borrower acknowledges sod agrees that
      Lender stay request and °bean additional hibernation Born third parties remedies any of
      the itline, including, without limitation, credit reports.
         6.8. (Deleted)

         6.9. Loan Proceeds end Adequacy. The undisbursed Loan proceeds, together with
     BOSIOWtel Ponds and all other sums, ifany. to be provided by Borrower as shown is
     157011BIT C, an sudionat to construct the improvements in accordance with the terms
     and condition of this Apeman.
         6.10. Accuracy. All reports, documents, instantiate, information and blue of
     evidence delivered to Lender concerning the Loan or security for the Loan or required by
     the Loan Damsels are somata, correct and sufficiently complete to give Leader true
     and accurate knowledge *flair subject matter, sad do not contain arty material
     misrepreseslation or omission.



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           6.11. Tax Liability. Borrower las filed all required federal, state, county and
       municipal tax returns and has paid all taxes and assessments owed end payable by
       Borrower or with respect to the Property, and Borrower has no knowledge of any basis
       for any additional payment with respect to any such taxes and assessments.
           6.12. Utilities. Subject to the provisions of Section 4.3 of this AWarrnant, all utility
       services, including, without limitation, gas, water, sewage, electrical and telephone,
       necessary for the development and occupancy of the Property and Improvements are
       available at or within the boundaries of the Property, or Borrower has taken all steps
       reasonably necessary to date to assure that all such services will be available upon
       completion of the Improvements.

         6.13. Compliance. Borrower is Walla with and in substantial compliance with all
      governmental requirements for the development of the Property and construction of the
      Improvements and, subject to the provisions of Section 4.3 of this Agreement, will
      substantially conform to and comply with all governmental requirements and the Plans
      and Specifications.
          6.14. (Deleted).

           6.15. Business Loan. The Loan is a business loan transaction in the stated amount
      solely fcr the purpose of carrying on the business of Borrower and none of the proceeds
      of the Loan will be used for the personal, Singly or apiculture) purposes of the Borrower.
      Lender acknowledges that. portion of the Loan, up to Six Million and No/100 Dollars
      06,000,000.001 may be used by Borrower for distributions to members and other
      affiliates of the Borrower.
                              ARTICLE 7. HAZARDOUS MATERIALS

          7.1. Special Repreeentadom sad Warranties. Without in any way limiting
      the other repteeentations and warranties set forth in this Agreement, and after reasonable
      investigation and inquiry, and except as disclosed fn the Environments! Report or
      otherwise disclosed in writing to Lander prior to the date of this Agreement, Borrower
      hereby specially represents and warrants to the beet of Borrowers knowledge as of the
      date adds Agreement as follows:
             (a) Hazardous Materiels. The Property and Improvements see not and have not
     been a site ibr the me, generation, nanothavm, storage, ineassat, reltrare, threatened
     release, discharge, disposal; transportation or presence of any oil, flammable explosives,
     asbestos, Wee lbemaldebyde insulation, radioective materials, hazardous wastes, toxic or
     contaminated substances or similar materials, include& without limitation, any
     substances which are "hazardous substances," "hazardous wastes,"•"hazardous materiels,"
     "toxic substances," "wastes," "reguiseed substances," "industrial solid wastes," or
     *pollutants" under the Hazardous Materials Laws, as described below, and/or other
     applicable environmental laws, ordinances or regulations (collectively, the "Hazardous
     Materiels"). "Hazardous Materials" shall not include commends* reasonable amounts of


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        such materials used in the ordinary course of preparation of the Property for construction,
        construction of the Improvements and operation of the Property which are used and
        stored in accordance with all applicable environmental laws, ordinances and regulations.
               (b) Hazardous Materials Laws. The Property and Improvements are in substantial
        compliance with alibi% ordinances and regulations relating to Hazardous Materials
        ("Hazardous Materials Laws"), including, without limitation: the Clean Air Act, as
        amended, 42 U.S.C. Section 7401 et seq.; the Federal Water Pollution Control Act, as
        amended, 33 U.B.C. Section 1251 et seq.; the Resource Conservation and Recovery Act
       of 1976, as amended, 42 U.S.C. Section 6901 et seq.; the Comprehensive Environment
        Response, Compensation and Liability Act of 1980, as amended (including the Superlisnd
       Amendments and Reauthorization Act of 1986, "CERCLA"), 42 U.S.C. Section 9601 et
       seq.; the Toxic Substances Control Act, as amended, 15 U.S.0 Section 2601 a seq.; the
       Occupational Safety and Health Act, as amended, 29 U.S.C. Section 651, the Emergency
       Planning and Community Right-to-Know Act of 1986, 42 U.B.C. Section 11001 et seq.;
       the Mine Safety and Health Act of 1977, as amended, 30 U.S.C. Sefton 801 et seq.; the
       Safe Drinking Water Act, as amended, 42 U.S.C. Section 300f et seq.; and all comparable
       state and local laws, laws of other applicable jurisdictions or orders and repletion..
               (c) Hazardous Materials Claims. To the actual knowledge of the Borrower, them
       are no claims or actions ("Hazardous Materials Claims") pending or threatened against
       Borrower, the Property or Improvements by any governmental entity or agency or by any
       other person or entity relating to Hazardous Materiels or pursuant to the Hazardous
       Materials Laws.
              (d) Border Zone Property. To the actual knowledge of the Borrower, the Propecty
      has not been designated as Border Zone Property under the provisions of Calithmia
      Health and Balky Code, Sections 25220 et seq. and there has bean no occurarace or
      condition on any real property adjoining or in the vicinity of the Property that could cause
      the Property or any part thereof to be designated as Border Zone Property.
          7.2. Hazardous Materiels Covenants. Sommer agrees as gallows:

              (a) No Hazardous Activities. Except ilk the hiplemeatation of remedied=
      programs or plans required under apeements, ceders or consent decrees rehreneed in the
      Environmental Report, Borrower shall not cause or permit the Property or Improvements
      to be used as a site for the use, poeradon, rnseulischra, storage, inotkort telgaze,
      disobey, disposal. transportation or presence Ow Hazardous Materials.
             (b) Compliance. Except to the extent such compliance is to be the result of the
      implementation of ren3ediadon programs or plans required under agreements, orders or
      consent dunce refeanced in the Envitarmental Report, Borrower shall comply and
      cause the Property end Improvements to comply with all Hazardous Materials laws.

            (c) Nodose. Except far those matters set heft io tbs Environmental Report or
      otherwise disclosed in writing to Lender prior to the date of this Agreement, Borrower


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        shall immediately notify Lender in writing oil (i) the discovery of any Hazardous
        Materials on, under or about the Property and Improvements; (ii) any knowledge by
        Borrow er that the Property and Improvements are not in material compliance with any
        Hazardous Materials Laws; (iii) any Hazardous Materials Claims; and (iv) the discovery
        of any occurrence or condition co any real property adjoining or in the vicinity of the
        Property that could cause the Property or any part thereof to be designated as Bonier
        Zone Property,
                (d) Remedial Action. Except with respect to any Hazardous Materials. violations
       of Hazardous Materials Laws and Hazardous Materials Claims that are to be remedied by
       the implementation of remediatiar programs or plans required under agreements, orders
       or consent decrees referenced in the Environmental Report, in response to the presence of
       any Hazardous Materials on, under or about the Property or Improvements, Borrower
       shall intmedistely take, at Borrower's sole expense, all remedial action required by any
       Hazardous Materials Laws or any judgment, consent decree, settlement or oompromise in
       respect to any Hazardous Materials Claims.

              (e) Inspection By Leader. Upon reasonable prior notice to Borrower, Lender, its
       employees and agents, may from time to time (whether before or alter the
       commencement of a nonjudicial or judicial foreclosure proceeding) enter and inspect the
       Property and Improvements for the purpose of determining the existence, location, nature
       and magnitude of any past or present release or threatened release of any Hazardous
       Materials into, onto, beneath or from the Property and Improvements.
             (f) Hasenious Materials indenmity. BORROWER HEREBY AGREES TO
       DEFEND, INDEMNIFY AND HOLD HARMLESS LENDER, rye DIRECTORS,
       OFFICERS, MEMBERS, MANAGERS, EMPLOYEES, AGENTS. SUCCESSORS
       AND ASSIGNS FROM AND AGAINST ANY AND ALL LOSSES, DAMAGES,
       LIABILITIES. CLAIMS, Amon, JUDGMENTS, COURT COSTS AND LEGAL
      OR OTHER EXPENSES (INCLUDING. WITHOUT MUTATION, ATTORNEYS'
      FEES AND EXPENSES) WHICH LENDER MAY INCUR AS A DIRECT OR
      INDIRECT CONSEQUENCE OF THE USE, GENERATION, MANUFACTURE,
      STORAGE, DISPOSAL, THREATENED DEPOSAL, TRANSPORTATION OR
      PRESENCE OF HAZARDOUS MATERIALS IN, ON, UNDER OR ABOUT THE
      PROPERTY OR IMPROVEMENTS. BORROWER SHALL IMMEDIATELY PAY TO
      LENDER UPON DEMAND ANY AMOUNTS OWING UNDER THIS INDEMNITY,
      TOGETHER WITH INTEREST FROM THE DATE THE INDEBTEDNESS ARISES
      UNTIL PAID AT THE RATE OF INTEREST APPLICABLE TO THE PRINCIPAL
      BALANCE OF THE NOTE. BORROWER'S DUTY AND OBLIGATIONS TO
      DEFEND, INDEMNIFY AND HOLD HARMLESS LENDER SHALL SURVIVE THE
      CANCELLATION OF THE NOTE AND TIE RELEASE, RECONVEYANCE OR
      PARTIAL RECONVEYANCE OF THE DEED OF TRUST.
             (g) Legal Mot of Section. Borrovne and Lender wee that: (a) this Article VII is
      intended as Lender's written request fbr intimation (and Barrowees response)
      concerning the envisumnental condition of the real property security as required by


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      California Code of Civil Procedure Section 726,5; and (b) each provision in this Article
      (together with any indemnity applicable to a breach of any such provision) with raped to
      the environmental condition alto real properly security is intended by Lender and
      Borrower to be an "environmental provision" for purposes of Callibmia Code of Civil
      Procedure Section 736, and as such it is expressly understood that Borrower's duty to
      indemnity Lender hereunder shall survive: (i) any judicial or non-judicial foreclosure
      under the Deed of Trust, or Mode of the Property in lieu thereofi (ii) the release and
      remover:ice or cancellation of the Deed of Trust; and (ill) the elfish:Mon of all of
      Borrower's obligations under the Loan Documents.
                                ARTICLE 8. SET ASIDE LETTERS
           8.1. Set Aside Letters. It, at Borrower's request, Lender issues any letter or Wets
      ("Set Aside Letter") to any governmental agency ("Obligee") or bonding company
      ("Surety") whereby Lender agrees to allocate Loan proceeds for the construction of off-
      site, common area, or other improvements required by any governmental agency or for
      which bonds may be required ("Bonded Work") in connection with the development of
      the Property, Borrower represents, WartillgS, covenants and agrees as follows:

              (a) The sum which Borrower requests Lender to allocate for the Bonded Wink
      shall be sufficient to pay for the construction and completion cost of the Bonded Work is
      accordance with any agreement between Borrower sad Obligee or as may be required
      under the Project Entitlements, and a copy of such agreement shall be fu ubbed to
      Lender by Borrower prior to and as a condition precedent to the issuance by Lender of
      my Set Aside Letter;

             (b) Lemke is irrevocably sod unconditionally authorised to disburse to the
      Obligee or Surety all or any portion of said allocated Loan proceeds upon a demand of
      such Surety or Obligee made in accordance with the teems and conditions of the Set
      Aside Lore;
            (c) Any disbursements or payments which Lender nabs; or may be obligated to
     make under any Set Aside Letter, whether made directly to the Surety, Obliges, or to
     *then for completion of all or part of the Bonded Work, Asti be deemed a disbursement
     undue this Agreement to or fir the benefit or account of Harrower;

          (d) BORROWER SHALL DEFEND, INDEMNIFY AND HOLD HARMLESS
     LENDER PROM ANY CLAIM, DEMAND, CAUSE OF ACTION, DAMAGE, LOSS
     OR LIABILITY, INCLUDING, WITHOUT LIMITATION, ANY COURT COSTS
     AND ATTORNEYS' FEES AND EXPENSES, WHICH LENDER MAY SUFFER OR
     INCUR AS A DIRECT OR INDIRECT CONSEQUENCE OF ITS ISSUANCE OF OR
     COMPLIANCE WITH ANY REQUESTED SET ASIDE LETTER, BORROWER
     SHALL PAY ANY INDEBTEDNESS ARISING UNDER THIS INDEMNITY TO
     LENDER IMMEDIATELY UPON DEMAND OF LENDER. BORROWER'S DUTY
     TO DEPEND, INDEMNIFY AND HOLD HARMLESS LENDER HEREUNDER
     SHALL SURVIVE THE RELEASE AND CANCELLATION OP THE NOTE AND


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       THE FULL OR PARTIAL RELEASE OR RECONVEYANCE OF THE DEED OF
       TRUST OR OTHER LOAN DOCUMENTS;
               (e) Lender shall have no obligation to release any collateral or security under the
       Loan Documents unless and until Lender bee received a Atli and final written release of
       its obligations under each Set Aside Letter; and

              (f) Lender is not obligated to issue any Set Aside Letter and may refine to do so
       in Lender's sole and absolute discretion, excepting only the following Set Aside Letters:
       None.
                            ARTICLE 9. COVENANTS OF BORROWER

           9.1. Expanses. &rimer shall immediately pay Lender upon demand all Lender's
       reasonable out-of-pocket costs and expenses actually incurred by Lender in connection
      with: (a) the preparation of this Agreement, all other Loan Documents and Other Related
       Documents contemplated hereby; (b) the administration of this Agreement, the other
      Loan Documents end Other Related Documents for the term of the Loan; and (o) the
      enforcement or satiefsedon by Lender of any of Borrower's obligations under this
      Agreement, the other Loan Documents or the Other Related Documents. For all purposes
      of this Agreement, Lender's costs and expenses shall include, without limitation, all
      appraisal fees, cost engineering and inspection fees, legal hes and expenses, accounting
      kee, envisonthental consultant fees, auditor fees, and the cost to Lender of any tide
      insurance premiums, tide surveys, reconveyance and notary fees, Borrower recognizes
      and mess that Lender may, at its option, require inspection of the Property and
      improvemenb by an independent.supervising architect and/or cost engineering specialist
      (1) prior to each advance; (0) at least once eedi month ft'* . the comas of contraction
      even though no dbbutsematt is to be made !tar that month; (i0) upon completion of the
      Improvements; and (iv) at least send-annually thereafter dodos the term of the Loam To
      the extent that any of the keeping are pesibnned or lamed by employees of Leader or
      say AfEllas of Lender, ao such costs, many associated travel, lodging, subsistence or
      other expenses fbr such goods and services shall be owed by Borrower.

          9.2. ERISA Cumpllance. Borrower shall et all times comply with the provisions of
      ERMA with respect to elegy retirement or other employee benefit plan to which it is a
      party as employer, sod as soon as possible after Borrower Mos% or hes reason to know,
      that any Reportable Event (as defined in BRIM) with respect to any inch plan of
      Borrower has occurred, it shall finish to Lender a written statement setting Pith details
      as to such Reportable Event and the action, if any, which Borrower proposes to take with
      respect thereto, together with a oopy of the notice of such Reportable Event finished to
      the Pension Benefit Guaranty Corporation.
         9.3. [Deleted]
         9.4. (Deleted]



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           9.5. Revenue to be Applied to Debt Service. Following the occurrence and during the
        combustion of any DehuIt, no Distributions shall be made or distributed to any partner,
        venturer, member or equity investor of Borrower.

             9.6. Subdivision Maps. Prior to recording any final map, p1st, parcel map, lot line
         adjustment or other subdivision map of any kind covering any portion of the Property
         (collectively, "Subdivision Map"), Borrower shall submit such Subdivision Map to
        Lender for Lender's review and approval, which approval shall not be unreasonably
        withheld. Within ten (10) Business Days after Lender's receipt of snob Subdivision Map,
        Leader shall provide Borrower written notice if Lender disapproves of said Subdivision
        Map. Lender shall be deemed to have approved the Subdivision Map if such notice is not
        so provided to Borrower. Within five (5) Business Days after Lender's request, Borrower
        shall execute, acknowledge and deliver to Lender such amendments to the Loan
        Demme:its as Lender may reseonably require to reflect the change in the legal
        description of the Property resulting from the recordadon of any Subdivision Map. In
        connection with and promptly alter the recordation of any amendment or other
       modification to the Deed of Trust recorded in connection with such amendments,
       Borrower shall deliver to Lender, at Borrower's sole expense, a title endorsement to the
       Title Policy in *nu and substance satishctory to Lender insuring the continued first
       priority lien of the Deed of Trust Subject to the execution and delivery by Borrower of
       any documents required under this Section, Lender shall, if required by applicable law,
       sip any Subdivision Map tipptuved, or deemed to be approved, by Lander puissant to
       this Section.

          9.1. Father Assurances. Upon Lender's request and at Borrower's sole OW and
      expense, Borrower shall execute, acknowledge and deliver any other instruments and
      whim any other acts necessary, desirable or proper, as determined by Lender, to cony
      out the purposes of this Agreement and the other Loan Documents or to paint and
      preserve any liens created by the Lean Documents.
           9.5. AllipMent Without the prior written consent of Lender, Borrower shall not
       assign Borrower's interest under say of the Loan Documents, or in any monies due or to
       become due thereunder, and any assignment without such consent shall be void. In this
      regard, Borrower acknowledges that Loader would not make this Loan except in reliance
      on Borrower's *speaks, reputation, prior experience in developing and conskucting
      commercial real property, Lender's knowledge of Borrower, and Lender's understanding;
      that this Agreement is more in the nature of an agreement involving peacoat services
      than a stadesd loan where Lender would rely on security which *heady exists.
         9.9. [Dieted]

          9.10. Gowning Documents. Without the prior written consent of Lender, Borrower
      shall not modify or permit to be modified the donation or organizational doormats of
      the Borrower, or any partners, joint venturers or members thereof.
         9.11. [Deleted]


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                               ARTICLE 10. REPORTING COVENANTS

            10.1. Financial Information. Borrower hereby consents to Leeches obtaining from
        other patties copies away and all reports that Borrower delivers to any party. In addition,
        on or before the tenth (10th) day of each month, Borrower shall deliver to Lender a
        reconolliadon showing the balance of the Working Capital Reserve Account as of the
        beginning of the first day of the preceding calendar month, the balance of the Working
        Capital Remove as of the end of the last day of the preceding calendar month, and a line
        item listing of all expenditures, together with supporting documentation, of amounts
        expended ftom the Warldng Capital Reserve Account during such period.

           To the extent not otherwise obtained as provided above, within thirty (30) days after
       Lender's request Borrower shall also deliver to Lender such quarterly and other financial
       informed= regarding the Property or Borrower. If audited financial information is
       prepared, Borrower shall deliver to Lender copies of that inhumation within fifteen (13)
       days after its final preparation. Except as otherwise agreed to by Lender, *II such
       financial infbrmation shall be prepared in accordance with generally accepted accounting
       principles consistently applied. Upon written request of Lender, Borrower use good thith
       efforts to obtain and deliver to Leader any specific financial reports and information
       pertaining to the members, managers, partners and shareholders of Borrower.

           10.2. Books and Recce*. Borrower shall maintain complete books of account and
       other records ibr the Property and Improvements and for disbursement and use of the
       proceeds of the Loan and Borrower's Funds, and the same shall be available for
       inspection and copying by Lender upon reasonable prior notice.
                            ARTICLE 11. DEFAULTS AND REMEDIES

         11.1. Default. The occurrence of any one or mom of the following shall constitute an
      event of default (hereinafter, "Default') under this Agreement and the other Loan
      DOMINO*
               (a) Monetary. Borrower's fitihtre to pay within ten (10) Business Days following
      the date of delivery amine) notice born Lender to Borrower that such amount was not
      received when due, any sums payable under the Note or any epithet other Loan
      Dogma* or Borrower's Mtn to deposit any Borrower's Finds se and when required
      under this Agreement; provided, however, that if such written notice from Lender is as
      Out of Balance Notice, them, in lieu of such 10-Business Day period, Borrower shall have
      a thirty (30) day period following the date of delivery of such Out of Balance Notice
      before a Default shall occur in which to deposit !bade equal to the amount of the
      applicable deficiency into the &mower's Funds Account, as contempheed by the
      provisions of Section 3.1(b); anther, provided, however, that no such notice or cure
      period shad apply at maturity or upon acceleration; or




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               (b) Poribnnance of Obligations. Borrower's failure to peribrm any obligation in
        addition to those in Section 11.1(a) above under any of the Loan Documents within thirty
        (30) days *diming the dueof delivery of written notice from Leader; provided,
       however, that if a longer or shorter cure period is expressly provided for the remedy of
       any such fellers, Borrower's failure to perform will not constitute a Default until such
       longer or shorter date as the specified cure period expire*: but provided hither, however,
       if such Default is curable, but the nature of such failure is such that it cannot reasonably
       be cured within said thirty (30) days (or longer or shorter specified cure period), then if
       Borrower hill to commence a cure thereof within said time and thereafter fells to
       diligently pursue a cure thereof and f s to complete same within ninety (90) days after
       Lender's written demand; or a default by Borrower (Mowing any applicable notice and
       cure period) under any of the Other Related Documents; or

                (c) Construction; Use. (i) There is any material deviation in the work of
        construction ftom the Plans and Specifications or governmental requirements from that
       required under this Agreement or the appearance or use of defective workmanship or
       materials in constructing the Improvements, and Borrower Ails to remedy the same to
       Lender's satisfaction within ten (10) Business Days after Lender's written demand to do
       so, or if the nature of such deviation or defect is eatable but such that It cannot reasonably
       be cured within said ten (10) Business Days, then if Borrower fails to commence a cure
       thereof within said ten (10) Business Days and thereafter fells to diligently pursue* cure
       thereof and complete same within ninety (90) days efter Lender's written demand; or (ii)
       subject to the provisions of Section 4.3, there is a cessation of contraction of the
       hrenovements prior to completion!bra continuous period of more than fifteen (15) days;
      or (iii) the construction, renovation, isle or laming of any of the Improvements in
      accordance with the Loan Documents is prohibited, enJoined or delayed fora continuous
      period ohnosu than forty-five (45) days; or (iv) subject to the provisions of Section
      4.3, *dais' or other public 114)1MCIS necessary ihr the 6:11 occupancy and utilization of
      the Property and Improvements are curtailed for a continuous period of more than thirty
      (30) &A or
               (d) Liens, Atrechnumt; Condemnation. (i) The recording of any claim of lien
       against the Property or Improvements or the service on Lender of any bonded stop nodal
       relating to the Loan sad the continuance of such claim oiliest or bonded Mop notice for
       twenty (20) days without discherge, satisfaction or provision for payment being made by
      Borrower in a manner 'stifle:tory to Lender, subject to the provisiose of Section 49
      hereof said Section 5.5 attire Deed of Trust; or (ii) the condemns*" seizure or
      appropristion of, of occurrence of an uninsured casualty with inspect to my mattria)
      portion ofthe Property or Improve come that is not otherwiseff* by Bonower's
      deposit of sufficiaot restoration lands (including any, applicable deductible amount under
      any applicable policy oft:mushy insurance) into the Bannver's Funds Amount within
      fmty-five (45) days shot the oconnemo ant& event or (iii) the sequestration or
      attsobsnent of; or any levy or execution upon any of*. Property or Improvements, any
      other collateral provided by Borrower under any of the Loan Documents, any monies in
      lb. Account or in the Borrower's Funds Account, or                    patios of the other
      Wets of Harrower, which sequestration, attecinnent, levy or execution is not released,


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        expunged or dismissed prior to the earlier of fortyfive (45) days or the sale of the assets
        *Meted thereby; or

                 (e) Representations and Warranties. (i) The materiel failure of any representation
        or warranty of Borrower in any of the Loan Documents to be true, correct and complete
        as of the date made, and the continuation of such failure far more than ten (10) Business
        Days after written notice to Borrower from Lender requesting that Borrower cure such
        failure; or

                (f) Voluntaiy Bankruptcy; Insolvency; Dissolution. (i) The filing of a petition by
       Borrower far relief under the Bankruptcy Code, or under any other prow or there state
       or federal law regarding bankruptcy, reorganization or other debtor relief law; (ii) a
       general assignment by Borrower for the benefit of creditors; or (iii) Borrower applying
       far, or the appointment of, a receiver, trustee, custodian or liquidator of Borrower or any
       of its property; or
                 (g) Involuntary Bankruptcy. (1) The filing of any pleading or an answer by
        Borrower in any involuntary proceeding under the Bankruptcy Code or other debtor relief
        law which admits the jurisdiction of the court or the petition's material allegations
        regarding Borrower's insolvency; or (ii) the failure of Borrower to Medellin diandssal
      • of any involuntary petition under the Bankruptcy Cods or under any other debtor relief
        law that is filed against Borrower or in any way fortieths or limits Borrower or Lender
        regarding the Loan, the Property or the Inquovenunte, prior to the earlier of the entry of
        any court order granting relief sought in such involuntary petition, or thrty-five (45) days
        after the date of filing of such hrtahmtary pedtion; or

              (h) (Deleted); or
              (i) Chan. In Management or Control. The 00011V01100 of any material
      manages ent or orminizationot change is Borrower or in the partners, vorthuers or
      members of Borrower, 'naiad*, without lintitetion, my dispute among the constituent
      members or partners of Borrower, and which Leader determines, in its sole sod absolute
      discretion, shell bays a material adverse *that on the Loan, on the Property and
      bnprovements, or on the ability of Borrower or its partner, venturer, or members to
      podium their obligations under the Loan Documents; or
              0) Loss of Priority. The Ware at any time of the Deed of Trust to be a valid that
      lien upon the Property and Improvements or my portion therm& other than as a result of
      any Meese or seconveyanee albs Deed of TRIM with aspect to all or any potties of the
      Property and Improvemems pursuant to the terms and conditions of this Agreement; or
              (k) Hasardous Materials. The dimovery of any significant Hasa Boas Materials in,
      on or about the Property or Improvements eabsequent to the Effective Date (to the extent
      not disclosed in the Environmental Report or otherwise disclosed in writing to Lender
      prior to the date elide Agreement); provided, however, if such Dethult is curable, bat the
      nature of snob Mute is snob that it cannot remonably be cured within thirty (30) days,


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       than if Borrower hits to commence a cure thereof within said time end thereafter fails to
       diligently pursue * cure thereof and fails to complete same within ninety (90) days after
       Lender's written demand. Any such Hazardous Materials shall be "significant" fix this
       purpose if said Hazardous Materials, in headers sole discretion, have a materially
       adverse impact on the value of the Property and Improvements.


           Notwithstanding any of the foregoing or anything to the contrary in this Agreement
       to the extent that any Default can be cured by the payment of money directly to Lender,
       to Borrower's Funds Account or to my hint petty to reimburse same f3r materials or
       services already delivered or pnformed or for the purpose of delivering materials or
       performing services which Mao done would cure said Default, the applicable cute period
       mudded is this Agreement shall be extended by an additional sixty (60) days to allow
       Borrower to undertake say necessary capital cells or to seek or arrange the necessary
       partnership loam.
          11.2. Acceleration Upon Default; Remedies. Upon the occurrence of any Wank
      specified in this Article Xf, Lender may, at its sole option, declare all sums owing to
      Leader under the Note. this Agreement and the other Loan Documents immediately due
      and payable. Upon such acceleration, Lender may, in addition to all other remedies
      permitted under this Agreement and the other Loan Documents and at law or equity,
      apply any sums in the Account and Bon-owes Ponds Account to the sums owing under
      the Loan Documents and any and ell obligations of Lender to &ad Anther disbursements
      under the Loan shall terminate.
          11.3. Disbursements to Thud Parties. Upon the occurrence of a Deb* occasioned by
      Borrower's Mime to pay money to a third party as required by this Agreement, Lender
      may but shall not be obligated to snake such payment from the Lan proceeds, Borrower's
      Fund., or other funds of Lander If ma payment is made fkom proceeds ads Loan or
      !turn Borrower's Ponds, Borrower shall immediately deposit With Lender, upon written
      demand, an amour* equal to such payment. If such payment is made turn hods of
      Lender, Borrower shall immediately repay such fonds upon written demand of Lender. In
      either case, the Delimit with roped to which any such payment has been made by tender
      shall not be deemed cured until such deposit or repayment (as the case may be) has been
      made by BOITOVIllt to Undo:.
           11.4. Lender's Completica of Constnation. Upon the occumece of a Delladt, Lender
      may, upon five (5) Business Days riot written notice to Borrower, and with or without
      lees, process, take pommel= ads* Property and Improvements, remove Borrower end
      all agents, employees and oontradoes of Borrower from the Property and Improvements,
      complete the work of construction and =Most for knee and lam space within the
      Property and/or Improvements. For this purpose, Borrower irrevocably appoints Leader
      as its attorney-fin-fact, which agency is coupled with an interest. As atterney-1nAct,
      Lender may, in Bonowees mime, take or omit to take any action Lender may deem
      appropriate with respect to third pasties, including, without limitation, exercising


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       Borrower's rights under all contracts concerning the Property and/or Improvements, but
       excluding the Loan Documents.

          11.5. Lender's Cessation of Construction. If Lender determines at any thus that the
      Improvements are not being constructed substantially in accordance with the
      requirements under this Agreement, then upon the occurrence of a Default therehr,
      Lender may, upon five (5) Business Days prior written notice to Borrower, immediately
      cause all comsttucdon to cease on any of the improvements afthoted by the condition of
      nonconformance. Borrower shall thereafter not allow any construction work, other than
      corrective work, to be pert:mod on any of the Improveinaos affected by the condition
      of nononsformanos until such time as Leader notifies Borrower in writing that the
      nonconfonnins condition has been corrected.

           11.6. Termination or Contintadon of Development and Management Agreements.
       Upon the occurrence of a Defeat wherein Lender elects to accelerate the Loan end
      math a notice of debult to foreclose the lien of the Deed of Trust, Lender may elect to
      require Borrower to terminate the Development and Management Agreements (and
      Borrower shall immediately do so), without any termination the or penalty, provided that
      all fees and apemen previously accrued thereunder up to the effective date of such
      termination are paid in flit provided however, so long as the Development and
      Management Agreements ire not terminated, the respective party or parties performing
      services thereunder shall be entitled to continue to receive all fees and expenses owed
      such party or parties under the applicable Development and Management Agreements. In
      the event that Borrower reinstates the Lose under California law prior to the fixreclosure
      of the lien of the Deed of Trust, such Dlweloposeat and Management Agreements shall be
      deemed to have been reinstated as of the date of such reinstatement of the Loan.
          11.7. Repayment of Ponds Advanced. Any thuds expended by Leader in the evuothe
      of its rights or remedies under this Agreement and the other Loan Documents shell be
      payable to Lender upon demand, together with interest at the rate applicable to the
      principal balance of the Note tom the date the finds were expended.
          11.8. Rights Cumulative, No Waiver. All Lender's rights and remedies provided in
     this Agreement sad the other Lowe Documents, together with those granted by law or at
     equity, are cumulative and may be exercised by Loader at any time. Lender's exercise of
     any right or remedy shall not molders* a core of any With unites all sums then doe
     and payable to Lender under the Loan Documents are repaid and Boomer has axed all
     other Defaults. No waiver shall be implied from any failure of Leader to take, or any
     delay tsfLeadee in taking, action con cavides say Dethult or tiehire of condition under the
     Lam Dor:tomes% or from any previous waiver of any similar or unrelated Default or
     ileum of condition. Any waiver or approval ender any of the Loan Documents mast be
     in igniting sad shall be limited to its specific tense
                         ARTICLE 12. MISCELLANEOUS PROVISIONS




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           12.1. Indemnity. BORROWER HEREBY AGREES TO DEFEND, INDEMNIFY
         AND HOLD HARMLESS LENDER, ITS DIRECTORS, OFFICERS, MEMBERS,
         MANAGERS, EMPLOYEES, AGENTS, SUCCESSORS AND ASSIGNS FROM AND
         AGAINST ANY AND ALL LOSSES, DAMAGES, LIABILITIES, CLAIMS,
        ACTIONS, JUDGMENTS, COURT COSTS AND LEGAL OR OTHER EXPENSES
        (INCLUDING, WITHOUT LIMITATION, REASONABLE ATTORNEYS' FEES AND
        EXPENSES) WHICH LENDER MAY INCUR AS A DIRECT OR INDIRECT
        CONSEQUENCE OF: (A) THE PURPOSE TO WHIM BORROWER APPLIES THE
        LOAN PROCEEDS; (B) THE FAILURE OF BORROWER TO PERFORM ANY
        OBLIGATIONS AS AND WHEN REQUIRED BY THIS AGREEMENT OR ANY OF
        THE OTHER LOAN DOCUMENTS; (C) ANY FAILURE AT ANY TIME OF ANY OF
        BORROWER'S REPRESENTATIONS OR WARRANTIES TO BE TRUE AND
        CORRECT; OR (D) ANY ACT OR OMISSION BY BORROWER, ANY
        CONSTITUENT PARTNER OR MEMBER OF BORROWER, ANY CONTRACTOR,
        SUBCONTRACTOR OR MATERIAL SUPPLIER, ENGINEER, ARCHITECT OR
        OTHER PERSON OR ENTITY WITH RESPECT TO ANY OF THE PROPERTY OR
       IMPROVEMENTS, EXCEPT TO THE EXTENT CAUSED OR CONTRIBUTED TO
       BY THE BAD PAM, GROSS NEGLIGENCE OR WILLFUL MISCONDUCT OF
       LENDER. BORROWER SHALL IMMEDIATELY PAY TO LENDER UPON
       DEMAND ANY AMOUNTS OWING UNDER MIS INDEMNITY, TOGETHER
       WITH INTEREST FROM THE DATE THE INDEBTEDNESS ARISES UNTIL PAID
       AT THE RATE OF INTEREST APPLICABLE TO THE PRINCIPAL BALANCE OF
       THE NOTE. BORROWER'S DUTY AND OBLIGATIONS TO DEFEND,
       INDEMNIFY AND HOLD HARMLESS LENDER SHALL SURVIVE
       CANCELLATION OF THE NOTE AND THE RELEASE, RECONVEYANCE OR
       PARTIAL RECONVEYANCB OF THE DEED OF TRUST.
          122. Poem of Documents. The fbrm and substance of all documents, meter cents, and
      hone of evidence to be delivered to Lender under the tams of side Agreement and any of
      the other Loan Documents shell be suWect to Lender's approval and shell not be
      modified, superseded or terminated in any respect without Lender's prior whim
      approval, except to the extent otherwise provided in this Agreement.     •

          12.3. No Third Parties Benefited. No person other then Lender and Borrower and
      their permitted successors and anises shail have wriest of action under say of the
      Loan Documents.
          12.4. Notices. MI notices, demands, or other commusicstions under this Apeement
      and the other Loon Documents shall be in wridng and shall be delivered to the
      appropriate party at the address set forth on the signature pegs Odds Agreement and as
      specified In EXHIBIT D (Julien to change from time to time by written notice to all
      other parties to this Agreement). AB communicatirme shall be deemed served upon
      delivery of, or if maned, upon receipt or refection ails, the deposit in the United States
      Postal Service mail, certified postage prepairketurn receipt requested and addressed to
      the address of &cower or Lender at the address specified; provided, however, that non.
      receipt of any cOMMUltiOatiOn se the result of any dewy of address of which the sending


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       party was not notified or as the result of $ reams) to accept delivery shall be deemed
       receipt of such cannsunication,
           12.5. Attorney-in-Pact. Bonnwer hereby Irrevocably appoints and authorizes Lender,
       es Borrowees attornerin-fita, which agency is coupled with an interest, to enceute
       and/or record in Lendees or Borrower's mane any notices, inanimate or documents that
       Lender deems appropriate to protect Lendees interest under any of the Loan Documarn.
          12.6. Action'. Borrower WON that Lender, in exeroisine the rights, duties or
      liabilities of Lender or Borrower under the Loan Documents, may commence, appear in
      or defend any action or proceeding purporting to affect the Property, the Improvements,
      or the Loan Documents and Borrower shall immediately reimburse Lender upon demand
      for all such expenses so incurred or paid by Lander, including, without linsitation,
      attorneys' the. and expenses and court costs.

          12.7. Right of Contest. Borrower may contest in good faith any claim, demand, levy
      or assessment (other than liens and stop notices, subject to the provisions of Section 4.9
      of this Agreement) by any person other then Lender which would constitute a Detain if:
      (a) Borrower pursues the contest diligently, in a Manner which Lender determines is not
      prejudicial to Lender, and does not impair the rights of Lender under any of the Loan
      Documents; and (b) Borrower deposits with Lender any Surds or other fbnns of
      assurenee which Lender in good faith deternioes from that to time appropriate to protect
      Lender from the consequences of the contest being uasuccessild. Borrower's compliance
      with this Section shall operate to prevent such claim, demand, levy or assessment from
      becoming a Default.
          12.8. Relationship *f rail's. The relations* of Borrower and Lender under the
      Loan Documents is, and shall at all times remain, solely that of borrower and lender, and
      Lender neither undertakes nor assumes any maponsibility or duty to Borrower or to any
      third paty with respect to the Property or Improvements, except as expressly provided in
      this Aymara and the other Loan Documents.
          12.9. Delay Outside Lender's Control. Lender shall not be liable in any way to
      Borrower or any third party tier Leader's fauns* to perform or delay in palinodes under
      the Loan Documents 'flinch Mime to pears or delay in perftwaing moults directly or
      indirectly *am, or is based upon, the action, inaction, or purported action, of say
      governmental or local eathodty, or because of war, rebellion, insturection, strike, lock-
      out, boycott or blockade (whether patently in eflict, announced or in the sole judgment
      of Lender deemed probable), or from soy Act of God or other camas or event beyond
      Lender's comrol.
          12.10. Attorneys' Peet and Swum Bosibrcenteot. if any attorney is engaged by
      Lander to *throe or defend any provision of this Agreement, say of the other Lao
      Documents at Other Related Documents, eras a consequence of any Walt seder the
      Loan Documents, with or without the filing aim legal action or proceeding, and
      including, without limitation, any thee and capons incurred in any baolnuptey


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        proceeding of the Deflower, then Borrower shall immediately pay to Lender, upon
        demand, the amount ofell reasonable attorneys' fees and expenses and all costs incurred
        by Lender in connection therewith, together with interest thereon from the date reach
        demand until paid at the rate ofinterest applicable to the principal balance of the Nose as
        specified therein.
            12.11. Immediately AvailableFunds. Unless otherwise expressly provided for in this
        Agreement, all amounts payable by Borrower to Lender shall be payable only inUnited
        States currency, immediately available fends.

            12.12. Lender's Consent. Wherever in this Agreement there is a requirement for
        Lender's consent and/or a document to be provided or an action taken "to the satisfaction
       ofLender", it is understood by such phrase that Lender shall exercise its consent, right or
       judgment ina reasonable manner given the specific facts and circumstance applicable at
       the tone,
           12.13. Signs. Lender may place on the Property reasonable signs standard to
       construction loan transactions stating that 0081111101013 financingis being provided by
       Lender and any other lenders or participants in the Loan, subject to the requirements of
       the Project Entitlements and "pliable law.

           12.14. Leader's Agents. Lender may defteste an agent or independent contractor to
       amiss ay ofLadies rights under this Agreement and any of the other Loan
       Documents. Any reibrence to Lender in any ofthe Loam Documents shalt include
       Lender's agents, employees err independent contracton. Borrower shall pay the costs of
       such *sent or independent contractor either directly to such person or to Lender in
       reimbursemat each costs, as applicable.
          12.15. Tax Service. Lender is authorised to secure, at Borrower's expense, a tax
      service contract with a third petty vendor which shall provide tax inibmation on the
      Property and koprovanents selisfeetory to Leader.

          12.16. WAIVER OF RIGHT TO TRIAL BY JURY. EACH PARTY TO THIS
       AGREEMENT HEREBY EXPRESSLY WAIVES ANY RIGHT TO TRIAL BY JURY
       OF ANY CLAIM, DEMAND, ACTION OR CAUSE OF ACTION (a) ARISING
      UNDER THE LOANDOCUMENTS, INCLUDING, WITHOUT LIMITATION, ANY
       PRESENT OR. FUTURE MODIFICATION THEREOF OR (b) IN ANY WAY
      CONNECTED WITH OR RELATED OR INCIDENTAL TO THE DEALINGS OF
      THEPARTIES HERETO OR ANY OF THEM wriuRESPECT TO THE LOAN
      DOCUMENTS (ASNOW OR HEREAFTER MODIFIED) OR ANY OTHER
      INSTRUMENT, DOCUMENT OR AGREEMENT EXECUTED OR DELIVERED IN
      CONNECTION HEREWITH, OR THE TRANSACTIONS RELATED HERETO OR
      THERETO,INEACH CASE WHETHER SUCH CLAIM, DEMAND, ACTION OR
      CAUSE OF ACTION IS NOW EXISTING ORHEREAFTER ARISING, AND
      WHETHER SOUNDING IN CONTRACT OR TORT OR OTHERWISE; AND EACH
      PARTY HEREBY AGREES AND CONSENTS THAT ANY SUCH CLAIM,


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        DEMAND, ACTION OR CAUSE OF ACTION SHALL BE DECIDED BY COURT
        TRIAL WITHOUT A JURY, AND THAT ANY PARTY TO THIS AGREEMENT
        MAY FILE AN ORIGINAL COUNTERPART OR A COPY OF THIS SECTION WITH
        ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF THE PARTIES
        HERETO TO THE WAIVER OF ANY WORT THEY MIGHT OTHERWISE HAVE
        TO TRIAL BY JURY.

            12.1?. Severability. If any provision or obligation under this Agreement and the other
        Loan Documents shall be determined by a court of competent jurisdiction to be invalid,
       illegal or unenthrosable, that provision shall be deemed severed from the Loan
       Documents and the validity, legality and enforceability of the remaining provisions or
       obligations shall remain in MI force as though the invalid, illegal, or unenforceable
       provision had never been a part of the Loan Documents, provided, however, that if the
       rate of Interest or any other amount payable under the Note or this Agreement or any
       other Lo=o Document, or the right of collectability therefor, are declared to be or become
       invalid, illegal or unenforceable, Undoes obligations to make advances under the Loan
       Documents shall not be enthromble by Borrower.

           12.18. Hass, Successors and Assigns, Except as otherwise expresslyprovided under
       the terms and conditions of this Agreement, the tams of the Loan Documents shall bind
       sad strum to the benefit of the heirs, successors and assigns of the parties.

          12.19. Time. Time is of the essence of each and every term of this Agreement.
          12.20. Headings. All article, section or other bending. appearing in this Agreement
      and any of the other Loan Documents are for convenience of reforms only and shall be
      disregarded in construing this Agreement and any of the other Loam Documents.
          12.21. Governing Law. This Apartment shall be governed by, and construed and
      enforced in accordance with the laws of the Stale of Callings, except to the extent
      preempted by federal laws. Borrower and all persons and entities in any         obligated
      to Lender under the Loan Documents consent to **jurisdiction deny federal or stets
      court within the State of California having proper venue and also consist to SOME* of
      process by soy means authorised by California or Metal law.
          12.22. Integtedoes; Interpretation. The Law Documents contain or expressly
      brocepaate by 01i:rem the entire agreement of the putties with respect to the rotten
      contemplated therein and opened* all rim negotiations or                written oraL
      The Loan Doounuots shall not be modified *erupt by written              executed by all
      parties. Any wham, in any of the Lam Documents to the Property or Improvements
      shall include all or onq pat of the Property or Improvements. Any rethrents to the Loan
      Documents Whisks any amendistents, renewals or extensions now or hereafter approved
      by Lender in writing.        .




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          12.23. Joint and Several Liability. The liability of all persons and entities obligated in
       any manner under this Agreement and any of the Loan Documents shall be Joint and
       several.

           12,24. Counterparts. Tide Agreement, any of the other Loan Documents
       (except for the Note), any Other Related Documents and any subsequent modifications,
       amendments, waivers, comae or supplements thereot if any, may be executed in any
       number of counterparts, each of which when executed and delivered shall be deemed to
       be an original and all such counterparts together, shall consiltute one and the same
       instrument,

          IN WITNESS WHEREOF, Borrower and Leader have executed this Agreement as of
      the date appearing on the first page of this Agreement




                                (SIGNATURE PAGES TO FOLLOW)




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                 Hoary Capital, LLC,
                 a CaMods limited liability company




                     W. Scott Dobbins, President

                Lender's Address:

                4751Wilshire Blvd., Suite 110
                Los Ansel's, CA 90010




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       BORROWER:

       CRESTLLOYD, LI.C,
       a California limited liability company


       By:
         NileNi




       Borrowers Address:

       e/o Skyline Development
       8981 W. Sunset Blvd., Suite 303
       West Hollywood, CA 90069




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     CALMOINNA ACKNOWLEDGMENT                                                                               CIVIL CODE TWO
                            I
       A notary publk or other officer completing this cortifkata verifies ony thisIdentifyofthirInciNklusiwho signed the document
       to whkh this certificate k attached, and not the truthfulness, accuracy, or validity of that document

     State of California
     CM'S*/ of Z•05 .4-46,acie      .1f .
     on0)169. . 3e), 20/e Mora mi. Ail ,                                      C I       tok_,            i cfa             '2) 4 1tC
                    Dote '                                                   Insert Atm arm T            Oftho
                                                                 (
    personally appeared                                  Ai'       e.     t‘ Aati stos /
                                                                   Nom(*) OAF**

    who provod to me on the buts of satisfactory outdone* to be the person(s) whose name(s) Ware subscribed
    to the within Instrument and acknowledged to me that he/she/they executed the same in hls/ber/tholr
    authorized caPadtYkst end that by his/her/their signeture(s) on the Instrument the person(s), or the entity
    upon behalf of which the porson(s) acted, executed the Instrument

            p         Am-   oh"                                    I certify under PENALTY OF PERJURY under the
                                                                   lows of the State of California that the foregoing
                             Navy= • Confer*                       paragraph is true and comet
                               Les Angelis Wm*
                             dammission r 1004181                  WITNESS my hand and oficisi soot
       v.
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      Signoria) Other' Then Noma, Above:
     Copoolly(loo) Claimed by Signorfo)
     Signer's Name:                                                 Signer's Name:
     Q Corporate Officer - TN**                                     C Corporal* Officer - Title(s):
     0 Partner' - o United 0 General                                o Partner - a Limited O General
     0 individual            0 Attorney in Fact                     a individual            0 Attorney in Fact
     a Trysts*               0 Guardian or Con setvetor             0 Trustee               0 Guardia or Consaivater
     O Other                                                        o Other:
     Signer is Representing:                                        Signor is Representing:


   0201E National Notary Association
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                                    EXHIBIT A
                            DESCRIPTION OF PROPERTY


      THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OP LOS
      ANGELES, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND
      IS DESCRIBED AS FOLLOWS:

      PARCEL 1:

      LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY
      OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK
      623 PAGE(S) 81 TO 83 INCLUSIVE OF MAPS, IN TILE OFFICE OF THE COUNTY
      RECORDER OF SAID COUNTY,
      EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY
      OF THE FOLLOWING DESCRIBED LINE:

      BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE
     WAY, 30 FEET WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH
     76° 06' 07" 'WEST 2.86 FEET FROM THE MOST NORTHERLY CORNER
     THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE CONCAVE
     WESTERLY, HAVING A RADIUS OF 361.97 FEET AND CONCENTRIC WITH
     THAT CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT 1 HAVING A
     RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69 FEET ALONG SAID
     CURVE THROUGH A CENTRAL ANGLE OF 03° 33' 48" TO THE BEGINNING OF
     A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING A
     RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG
     SAID CURVE THROUGH A CENTRAL ANGLE OF W 06' 53"; THENCE NORTH
     36° 36' 22" WEST 7.97 FEET TO THE BEGINNING OF A CURVE CONCAVE
     NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET; THENCE
     NORTHWESTERLY 71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL
     ANGLE OF 44° 55' 04"; THENCE NORTH 11° 41' III" WEST 208.55 FEET TO THE
     BEGINNING OF A CURVE CONCAVE EASTERLY AND HAVING A RADIUS OF
     33.90 FEET; THENCE NORTHERLY 34.44 FEET ALONG SAID CURVE THROUGH
     A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° 51' 16" EAST 42.37
     FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA ROAD, 40
     FEET WIDE, AS SHOWN ON SAID MAP.
     PARCEL 2:

     THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF
     LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER
     MAP RECORDED IN BOOK 141 PAGES 93 TO 96 INCLUSIVE OP MAPS, IN THE



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       OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, LYING NORTHERLY
       OF THE FOLLOWING DESCRIBED LINE:
      BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE
      THEREON SOUTH 13° 13' 20° EAST 34.33 FEET FROM THE NORTHERLY
      TERMINUS OF THAT CERTAIN COURSE IN SAID EASTERLY LINE SHOWN ON
      SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13' 20" WEST
      106.35 FEET; THENCE NORTH 89° 27 20" WEST 214.07 FEET, MORE OR LESS,
      TO A POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY
      THEREON 54.93 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN
      CURVE IN SAID WESTERLY LINE HAVING A LENGTH OF 115.83 FEET.

      APN: 430426421




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                                               EXHIBIT B
                                            DOCUMENTS
           A. Loan Documents. The documents listed below, numbered 1 through 7, inclusive,
       and amendments, modification and supplements thereto which have received the prior
       written consent of Lender, together with any documents executed in the future that are
       approved by loader and that recite that they are "Loan Documents" for purposes of this
       Agreement ere collectively referred to herein as the Loan Documents.

           I. This Agreement;
         2. Promissory Note of even date herewith in the original principal amount of the Loan
       made by Borrower payable to the order of Lender;

           3. Deed of Trust, Security Agreement and Fixture Filing With Assignment of Rents
       of even date herewith executed by Borrower, as Trustor, to Chicago This Company, as
       Trustee, fbr the benefit of Lender, as Beneficiary;
          4. Hazardous Menthols Indemnification Agreement of even date herewith mound
       by Borrower.

          5. Assignment of Contracts
          B. Other Related Documents (Which Are Not Loan Documents):

           1. Manager's Comet;

           2. QOM*. Regarding Loan Potpie;
           3. Truth4e-Leading Affidavit;

           4. Summary of Loan Terms and Good Faith Estimate
           5. Profit Participation Agreement




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                                  EXHIBIT C
                        FINANCIAL REQUIREMENT ANALYSIS




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                                                EXHIBIT D
                                        DISBURSEMENT PLAN

            A. Timing of Disbureement. Unless another provision of this Agreement specifies
        otherwise, on or before the fifteenth (15th) day of each month, Borrower shall submit to:

               Henkey Capital, LLC
               cio Scott Dobbins
               4751 Wilshire Blvd., Suite 110
               Los Angeles, California 90010
               Phone : (323) 692-4022
               Facsimile: (323) 692.4122

           with a copy to:
               None)

       a written itemized statement, signed by Borrower ("Application for Payment") setting
       forth:
          1. A description of the work perimmed, material supplied and/or costs incurred or
      due for which disbursement is requested with respect to any line item ("Rem") shown in
      the Disbursement Budget. Notvvithetandine the amount of any line item shown is the
      Disbursement Budget, Borrower may reallocate amounts among the lino items by
      allocating cost savings In any line item to Contineency, and amounts from the
      Contingency to any line item with a cost omen; provided, however, that the swepte
      amount of all disbursements under the Loan shall not exceed the Lose amount; and

          2. The total amount bowed, expended and/or due ihr each requested Item lees prior
      disbursements.

      Each Application for Payment by Borrower than constitute a representation and warranty
      by Borrower that Borrower is in compliance with all the conditions precodest to a
      disbursement specified in this Agreement. With respect to BOttOWleg remaking of the
      representations and warranties set forth in Able 6 adds Agreement on the deo of
      submission of each Application fix Payment, to the extent circumstances have changed
      for lemons beyond the reasonable cootrol of Borrower such that Borrower must qualify
      such representations and warranties as of the date of delivery deny such Application for
      Payment, ouch qualification, to the extent it senders the applicable representatioa
      materially untrue or breach* the              warranty, shell merely be a thilure of
                                          disinnse fends under the provisions of this wausrr
      condition to Lender's obligation toapplicable
      D, as opposed to coastitetki an Event of Dohs*.
         B. Lender's Right to Condition Disinweements. Lender shall have the right to
      condition any disbursement upon Leader's receipt in the appropriate Arm of the


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       following subadesione and Lender's reasonable determination that such submissions
       comply with the requirements set forth below:
           I . The Application for Payment and an itemized requisition fir payment;
          2. Bills, invoice', documents of tide, vouchers, statements, receipts and any other
       documents evidencing the total amount expended, incurred or due for any requested
       Barns;

          3. Evidence of Bonvwee's use of a lien release, joint check and voucher system
      acceptable to Lander fir payments or disbursements to any contractor, subcontractor,
      01140011MOO, supplier or lien claimant;

          4. Architect's, inspector's and/or engineer's periodic certifications of the percentage
      and/or stage of construction that has been completed and its maims= to the Plans and
      Speeificedons and governmental requirements based upon any such awchitecfs,
      inspector's and/or engineseepedothe physical inspections of the Property and
      Improvements; •
          3. Waivers and releases of any mechanics' lien, stop notice claim, equitable lien claim
      or other lien claim rights (conditional for costs to be paid from the current Application for
      Payment, and unconditional ibr all prior costs which have been disbursed by Lender by
      the twenty-fifth (25th) day of the immediately preceding month or were to have been paid
      from Borrower's own thuds under the Disbursement Budget);
          6. Reasonable evident* of Borrower's compliance with the provisions of the Sections
      of this Agreement entitled CONSTRUCTION sod AUTHORITY/ENFORCEABILITY.
      Where this Agreement calls fir the delivery of a certificate as evidence of any action,
      such acetifies* if thothedly mom* shall constitute such ressoneble evidence;

         7. A written release executed by any surety to whom Lauder has issued or will WOO a
     set aside letter and/or any public entity or agency which is a beneficiary under any
     instrument of credit, set-aside letter or standby letter of credit which Lender has homed or
     will Issue with respect to the Loan;
         8. For final payment only with respect ail or any mews% independent portion of the
     bnprzrventets, valid, recorded Notices) of Completion he the Improvements or any
     portions ofthe Improvements Rua which Notice(*) of Completion may be recorded under
     applicable law. end hal payment lien release waives" (conditional with respect to costa
     to be paid from such fltunl payment, and unconditional for all other coats);
         9. Certificate of Substantial Completion from the Architect and Engineer, if any, prior
     to the final retention disbursement;




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            10. Any other document, requirement, evidence or information that Lender may have
        reasonably requested under any provision of the Loan Documents at least thirty (30) days
        prior to the Application for Payment in question; and
            11. Except with respect to items covered under 612 and 913 below, evidence that any
        goods, materials, supplies, fixtures or other work in process for which disbunsemest is
        requested have been incorporated into the Improvements.

           12.1n the event any Application for Payment includes the cost of materials stared at a
       location other than the Property Mate Materials"), each of the blowing: (a) evidence
       that the White Materials have been purchased by Borrower, have been segregated from
       other materials in the facility and have been appropriately marked to indicate Borrower
       ownership thereof end Lender's security interest therein; and (b) evidence that the White
       Materials are insured as required by this Agreement.

           13.1n the event that any Application for Payment includes the coot of materials stored
       on the Property ("Onsite Materials"), each of the following: (a) evidence that the Onsite
       Materials have been purchased for or by Borrower; (b) evidence that the Omit, Materials
       we homed as required hereunder; and (c) evidence that the Omits Materials we stored in
       an area on the Property for which adequate security is provided against theft and
       vandalism.
       Borrower acknowledges that this          process may result in disbursement delays and
       Borrower busby consents to all      delays; provided, however, that Lender shall use
       commercially remanable tads So respond to all requests for approval within the time
       periods designated in tide Averment.
           C. Periodic Disbursement of Construction Coate, Site Work Costs, and Ofhits Costs.
       As construction prognoses, the amour of the retention as provided under say
      oonstmetion contract to which Borrower is a party (the *Retention") shall be disbursed
       into the Account or to or ex the benefit or amount of the Bonower,1Property or
      Improvements upon BOITOW•ei delivery to Leader *f(1) the applicable lies :skew
      specified above in Paragraph Blabs EXHIBIT D, (2) the applicable certificate
      specified above in Paragraph B.9 of this EXIIIBIT D and (3) solely with respect to the
      Construction Contract, &duly issued temporary certificate of occupancy for the
      Improvements and completion of the Improvements in accordance with the Plans and
      Specifications.

          D. Partial Disbursements. No disbursement shall be made for a particular Application
      for Payment unless all Inquired supporting material* are included for Items totaling at
      least sixty-five percent (63%) of the total amount of thuds requested thereunder. Subject
      to the ftregoin& to the extent that as unconditional Ike release and waiver for an Item
      that was included in a prior disbursement is not delivered to Lender prior to the date that
      Lender approves the subsequent disbursement, Lender may withhold from the then
      current approved disbursement an amount equal to one hundred fifty percent (150%) of
      the amount fir the Item(s) which had been previously !boded. Thereafter, such withheld


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       amount shall be disbursed as part of the next ensuing disbursement upon Lender's receipt
       of the missing unconditional Hen release and waiver.
           E. Timing of Disbursements. Leader shall exercise diligent and good Stith efforts to
       disburse hods fbr all approved Items in any Application ibr Payment within the
       applicable Lender Payment Turnaround Period.




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                                 EXHIBIT E

                            LEASING PARAMETERS




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                                  EXHIBIT F

                           CERTIFICATE OF APPROVAL




                   THIS SPACE INTENTIONALLY LEFT BLANK




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                                EXHIBIT 0

                 SCHEDULE OF PRE-CLOSING DISBURSEMENTS




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                                          Hankey Capital
                                         . Caifinvls Mow Lender
                               Dipirterst 41Bagasse Ovestgliaismie NA damn

                                          PROMISSORY NOTE
                                           (VARIABLE RATE)

                       BORROWER'S NAME                                    MATURITY DATE

      CRBSTLLOYD, LLC, a California limited liability                      October 31, 2020
      company (the "Borrower")


              $82,500,000.00                 Los Angeles, California       October 25, 2018

      On or,prior to October 31, 2020 (the "Maturity Date"), for value received, Borrower promises
      to pay to the order of HAMBY CAPITAL, LW, a Callfamia limited liability company
      ("Lender"), at its office at 4751 Wilshire Blvd., Suite 110, Los Angeles, Califon* 90010, Cr
      at such other place as the holder of this Note may from time to time designate in writing, the
      principal sum of Eighty-Two Million Five Hundred Thousand and No/100 Dollen
      ($82,500,000.00), together with Interest from the date hereof computed on the principal
      balance hereof from time to three outstanding, at the rate of four and three-quarters patent
      (4,75%) per annum above the Prime Rate.

      Prime Rate The rate of intered published from time to time by The Wall Strut Journal as
      the "prime rate." In no event shall the htterest rate hereunder be less than 11.0%.

       The interest rate on this Note is subject to change from time to time based on changes in the
       Prime Rate (the "Wee), The Index is not necessarily the lowest site charged by Lender en
       its loam. Hike Index becomes unavailable during the term oft* loan, Lender may
      designate a subedits* Index miter notice to Bonower. Lender will disclose to Barrows the
      cumin Index rate upon Borrower's request. Borrower aciarowledges that Lender may make
      loans based on other rates as well The Index currendy is 5.25% per =OM. Borrower
      hereby waives the right to receive notice of wry hew change(s) in the Index rate. Whenever
      increase occur in the interest rate, Lender, at its option, may do one or mote alb*
      following: (a) Increase Borrower'. payments to emus that the Loan will pay ottby its
      original final maturity date, (b) Inman Borrower's payments to cover month* interest, (o)
      Increase the number ammo% and (d) continue the payments and issues Borrower's
      final payment.

      Commencing on the first fill calendar month following the deb of the initial disbursement,
      and continuing ea the first day each eabsequent calendar month until the Maturity Date,
      Borrower shall make monthly payments of inierestady in wears on the disbursed and


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       unpaid principal balance of this Note. interest shall be computed daily based upon a three
       hundred sixty (360) day year for the actual number of days elapsed. Should interest not be
       paid when due, it shall become part of the principal and thereafter bear interest as herein
       provided.

        Should default be made in the payment of principal or interest when due or in the
        performance or observance when due of any term, covenant or condition of any deed dualist,
       security agreement or other agreement (includine amendments and extensions thereof)
       musing or pertaining to this Note, then, upon Lender's written notice to Borrower of such
       default (sent via certified mail), and upon Borrower's failure to cure such default within thirty
       (30) days from the date of receipt timid notice, at the option of the bolder herso4 the entire
       balance of principal and accrued interest then remaining unpaid shall become immediately
       due and payable and thereafter bear interest, until paid in lb% at the increased rate of five
       percent (5%) per annum over and above the interest rate contracted for herein ash may vary
       from time to time. Borrower acknowledges and agrees that during the time that any payment
       of principal, interest or other amounts due under this Note is delinquent, the holder will incur
      additional coats and expenses attributable to its loss of use of the money due and to the
      adverse impact on the holder's ability to avail itself of other opportunities. Borrower
      acknowledges and agrees that it is extremely difficult and impractical to ascertain the extent
      of such coots and expenses and that proof of actual damages would be costly or inconvenient.
      Borrower duvet= agrees that intermit at the increased rate of five percent (5%) per annum
      over and above the interest rote contracted for is this Note represents a reasonable sum
      considering all the circumstances existing on the date of this Note and swamis a bit and
      reasonable estimate of such cods and expenses. No delay or omission on the pan of the
      holder hereof in exercising may right hereunder, or under say such deed of trust, security
      agreement or other agreement shell operate as a waiver of such right or of say other right
      under this Note or under any such deed emelt, security agreement or other agreement.

      Except with respect to the final monthly payment hereunder and fallowing the Maturity Date,
      item), payment of principal or interest under AM Note shall not be made within five (5)
      calendsr days of the dote due, slate dome alive percent (5%) of the overate amount may
      be charged by the bolder for the pupae of defraying the expenses incident to handliag such
      delinquent payments. Bonower scamowledger and agrees that it is extremely difficult and
      impieties! to *metal* the extent of such expenses and that proof of amid damages would
     be costly or inconvenient. Borrower therefore egress fist such late charge represents a
     reasonable sera considering all of the okaunstances editing on the date of this Note and
     represents a fair and resuratable estimate of the wets that will be sustained by the holder due
     to the failure of Borrower to make timely payments. Such late charge shall be paid without
     proOdiee to the right of the holder to °Wm*say other m000nste provided to be paid or to
     declare a default under this Note or under the Deed of Trust refaced to in this Note or from
     exercising any of the other rights and remedial of the bolder, including, without limitation,
     the right to dealer* the outlay balance of the principal and wonted interest then remaining
     unpaid immedistely due end payable.

     In no event than interest accrue or be payable hereon or under any such deed of trust, security
     agreement or other agreement in mess °fibs maxim= amount of interest permitted on the
     date hereof by the laws at tbe State of California.
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       If this Note is not paid when due, whether at its specified or accelerated maturity date,
       Sommer promises to pay all costs of collection and enforcement of this Note, including, but
       sot limited to, reasonable attorneys' fees and costs, Mooned by the holder hereof on account
       of such collection or enforcement, whether or not suit is filed hereon,

      Principal and interest shall be payable in Wild money of the United States without setoff,
      demand or counterclaim. Borrower waives the defense of the statute of limitations in any
      action on this Note. Presentment, notice of dishonor, mad protest are waived by all makers,
      sureties, guarantors and endorsers of this Note. Such parties expressly consent to any
      extension of the time of payment hereof or any installment hereof, to any renewal, and to the
      release of any or all of the security given for the payment of this Note or the release of any
      peaty liable for this obligation

      This Note shall be gowned and contrived in accordance with the laws of the State of
      California,

      Borrower may prepay this Note in whole °tiepin, at any time. In the event this Note is paid
      in its entirety on or prior to April 30, 2020, a prepayment penalty equal to one percent (1.0%)
      of the then-outstanding principal balance shall be payable hereunder. No partial prepayment
      shall affect the obligation ofBorrower to pay the next subsequent regular installment payable
      hereunder until the entire balance of principal and interest shell have been paid in toll.

      IN WITNESS WHEREOF, the undersigned has executed this Note as of the date first written
      above.

     BORROWER:

     CRESTLLOYD, LLC,
     a California limited liability company




                                                    3
                  This loan is made pursuant to California Flamm Leader's Law,
               Division 9 (commonalty with Section 22000) of the Financial Code.
         For inibrmation contact the Department of Business Oversight, State of California.
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                       UCURITY AGREEMENT (PERSONAL PROPERTY)
     THIS SECURITY AGREEMENT is made this 281* day of October, 2018 by and between
     CRESTLLOYD, LLC, a California limited liability company (hereinafter referred to as
     "Guarantor") and HANKEY CAPITAL, LLC, a California limited liability company
     (hereinafter, "Secured Party"). Guarantor hereby grants to Secured Party a security
    interest in all that certain personal property (hereinafter "Security"), as described herein
    and the proceeds and products thereto:
                        NON


            The above "Security" la collateral/security for the payment to Secured Party of
    any and ell sums under the tens of a certain Promissory Note, of won date herewith,
    executed by Guarantor in favor of Secured Party, in the principal amount of Eighty-Two
    Million Five Hundred Thousand and No/100 Dollars ($82,600,000.00).
           Guarantor shah keep the Security haute place, and shall not use it for any
    unlawful purpose. Guarantor hereby declares and warrants to Secured Party that
   Guarantor le the absolute and sole owner, and is in possession of ail of the Security,
   and that Ms same is free and deer of all liens, encumbrances, adverse claims, end any
   other security Interests. Guarantor shah not sell or offer to sell or otherwise transfer the
   Security or any interest therein without the prior written consent of Secured Party; nor
   shall Guarantor sell, assign or mate or permit to exist any lien on or security interest In
   the Security in favor of anyone other then Secured Party►unless Secured Party
   consents thereto in writing. Guarantor shah, upon Secured Partys request, remove any
   unauthorized lien or security interest on the Security, and defend any claim affecting the
   Security; and Guarantor shall pay all charges against the Security, including but not
   limited to taxes, ispeasments, encumbrances and insurance, and upon Guarantor's
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     failure to do so, Secured Party may pay any such charge as It deems necessary and
     add the amount paid to the indebtedness of Guarantor secured hereunder.
             If Guarantor fails to fulfill any obligations under said indemnification Agreement
     at the time and in the manner therein specified, or if any breach be made of any
     obligation, promise or warranty of Guarantor herein contained, then the whole unpaid
    sums due thereunder shah immediately become due and payable, without notice, at the
    option of Secured Party, and Secured Party, at its option, may: (a) sell or otherwise
    dispose of the Security at public or private sale, unless the Security is perishable and
    threatens to dram speedily in value or is a two customarily sold on a recognized
    motet, Secured Party will give Guarantor at least ten (10) business days prior written
    notice of the time and place of any public side or of the time after which any private sale
    or any other intended disposition may be made; (b) retain the Security in satisfaction of
    the obligations secured hereby, with notice of such retention sent to Guarantor as
    required by law; (0) notify any parties obligated on any of the Security consisting of
   accounts, Instruments, chattel paper, chow in action or the Nke to make payment to
   Secured Party and enforce collection of any of the Security herein; (d) require
   Guarantor to assemble and deliver any of the Security to Secured Party at a reasonably
   convenient place designated by Secured Party; (e) apply ail sums received or coNected
   from or on account of the Security, including the proceeds of any sales thereof, to the
   payment of the costs end expenses incurred in preserving and enforcing the tights of
   Secured Party, including, but not limited to, reasonable attorneys' fees, provided that In
   the event of a bona fide dispute reasonably attorneys' fees shaft be due only to the
   party prevailing in such dispute, and the indebtedness secured hereby In such order
   and manner as Secured PartyIn its sole discretion determines; Secured Party shall

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     account to Guarantor for any surplus remaining thereafter and shall pay such surplus to
     the party entitled thereto, including any second secured party who has made a proper
     demand upon Secured Party and has furnished proof to Secured Party as requested in
     the manner provided by law; in like manner, Guarantor agrees to pay to Secured Party
    without demand any deficiency after any Security has been disposed of and proceeds
    applied as aforesaid Secured Party shall have all the rights and remedies of a secured
    party under the Uniform Commercial Code in California or any jurisdiction whim
    enforcement is sought. Guarantor agrees to pay all costs Incurred by Secured Party in
    enforcing Ns rights under this Security Agreement, including but not limited to
    reasonable attorneys' fees. AN rights, powers and remedies of Secured Party
    hereunder shall be cumulative and not alternative. No delay on the part of Secured
    Party in the exercise of any right or remedy shall constitute a waiver thereof, end no
    exercise by Secured Party of any right or remedy shall preclude the exercise of any
    other right or remedy or further enrolee of the same remedy.
           It * further weed, subject to applicable law, that upon any sale of the Security
   according to law, or under the power herein given, that Secured Party may bid at said
   sale, or purchase the Security, or any part thereof at said sale.
      If more then one Guarantor executes this Security Agreement, the obligations
   hereunder are joint end several. AN words used herein in the singular shall be deemed
   to have been used in the plural when the context and conekvoNon so require. Any
   married person who signs this Security Agreement expressly agrees that recourse may
   be had ageing his/her separate property for all of his/her obligations to Secured Party.
          This Security Agreement *hail Inure to the benefit of and bind Secured Party, Its
   successors and assigns and each of the Secured Party►their respective heirs,

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     executors, administrators and successors In Interest. Upon transfer by Secured Party
     of any part of the obligations secured hereby, Secured Party shall be fully discharged
     from all liability with respect to the Security transferred therewith.
              Whenever possible each provision of this Security Agreement shall be
    interpreted in such manner as to be effective and valid under applicable law, but, if any

    provision of this Security Agreement shall be prohibited or invalid under applicable law,
    such provisions *hall be ineffective only to the extent of such prohibition or Invalidity,
    without invalidating the remainder of such provisions or the remaining provisions of this
    Security Agreement.
       IN WITNESS WHEREOF, Secured Party and Guarantor have executed this

    Instrument, as of the date set forth above.
    "Secured Party"
   HANKEY CAPITAL, LLC
   a California limited liability company


    By:
          W. lricOt        , Orssident
                          alaimmali


   "Guarantor"
   CRESTLLOYD, LLC,
   a California limited liability company



      Nita




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             EXHIBIT V
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                               PROFIT PARTICIPATION AGREEMENT
              This Profit Participation Agreement (this "Agreement, is made as of October 25,
     2018, between CRBSIUOYD, LLC, a California limited liability company (the "Borrower')
     and HANKEY CAPITAL, LLC, a California limited liability company (the "Loader") tbr the
     putpose of memorializing the parties' agreement with respect to that =nein real property
     commonly known as, and located at, 944 Abele Way, Los Angeles, California (the "Property").

           WHEREAS, contemporaneous with this Agreement, the Lender is making a loan to the
     Borrower, fbr completion of construction of improvements on the Property, in the principal
     amount of Eighty-Two Million Five Hundred Thousand Dollars ($82,500,000.00), which loan
     shall be secured by, among other things, a first-priority deed of trust on the Property (the
     "Loan"): and

          WHEREAS, Borrower's execution of this Agreement is a condition of Lender's agreement
     to make the Loan.
         NOW, THEREFORE, for good and valuable comeideration, the receipt and sufficiency of
    which are hereby acknowledged, the parties have agreed as follows:
          1.     LENDER'S RIGHT OF PROFIT PARTICIPATION

           If, at any time, eluting the term of the Loan or *Rowing repayment of the Loan, the
    Property is sold by the Borrower, or by any affiliate of the Borrower, &repurchase price is
    excess of 8200,000,000, Lender shall be entitled to Nab% from the sale proceeds, &Leader
    Profit Participation Payment in the amount of $3,500,000. Bo rows obligation to make the
    Lender Profit Participation Payment shall be evidenced by a Memorandum of Agreement, to be
    recorded in the Official Records of the County Root*: of Los Angeles County, California.

          2.    GENERAL PROVISIONS

                (a) This Agreement shall be governed by the laws of the State ofCalifonda as they
    apply to contracts entered into and wholly to be perfbrmed in such state. This Agreement
    represents the entire agreement between the patties with respect to the profit participation by and
    between Lender and Borrower and may only be modified or amended in writhes signed by both
    parties.
               (b) Any natio., demand or request required or permitted to be given by either the
   Lender cc the Borrower pursuits to the terms of this Agreement shall be in Vain and shall be
   deemed given (i) when delivered personally, (ii) five days of it is deposited in the U.S. mail,
   certifkd with return receipt requested and with postsge prepaid, or (OE) one day afier deposit
   (prepaid) with a nationally recognized overnight courier, and addressed to the party blips
   notified at his or her address specified on the applicable *mature page hereto or each other
   address which the addressee may subsequently notify the other party in writing.
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                 (c) Lender's Adler. to enforce any provision or provisions of this Agreement shaft not
     in any way be construed as a waiver of say such provision or provisions, nor prevent the Lender
     thereafter from enforcing each and every other provision of this Agreement The rights granted
     to lender herein are cumulative and shall not constitute a waiver of Lender's right to assert all
     other legal remedies available to it under the circumstances.
                  (d) The potties acknowledge that money damages may not be an adequate remedy for
     violations of this Agreement and that the Lender may, in its sole discretion, apply to a court of
     compeCentjuristliction for specific perfOrmance or injunctive or such other relief as such court
     may deem just and proper to enforce this Agreement or to prevent say violation hereof end, b
     the extent permitted by applicable law, Borrower waives any objection to the imposition of snob
     relief in appropriate circumstances.
                (a) This Agreement may be executed in any number of counterparts, each of which
    shall be deemed an original, but all of which together shall constitute one and the same
    instrument.
               (f) Borrower represents that it has duly authorized, executed and delivered this
    Agreement and that this Agreement is a valid and binding obligation of the Borrower,
    enforceable against the Borrower in accordance with its terms.


           IN WITNESS WILBREOP, the Borrower has executed this Agreement as of the
    first date above written.


    BORROWER:                                           LENDER:

    CRESTLLOYD, LLC,                                    HANKEY CAPITAL, LLC,
    s Calfibmia limited liability company               a California limited liability company



    By:                                                 By:
                                                          W. Scott Dobbins, President
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  A notary pub%) or other oMow completing this corneal* wellies only the identify of the
  Ind'Mimi who signed Me document to which this certificate Is attached, and not the trudeuinew,
  accuracy, or wiNdity of that document.


State of California

Countyof cps itti4a--cros                      /•      ,
On              Si 0-6 1)e before me. Nivel C4kis                                   a Notary Public, personally
appeared r e A71 ,fp- 4A4                  , who proved to sue on the basis of satisfactory evidence to be the
periwigs) whose names) is/are subscribed to the within instmment and acknowledged to me that he/she/they
executed the same in his/her/their authorized capecity(ies), and that by his/her/their signature® on the
instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the inetatment.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.
                                                                                                 *eh Stes
                                                                                              Now, Pm* 02214011
Signature )    •42..,,r,i7•••1                                       (Seal)                     to Amp* Now
                                                                                              COMMISSION steam
                                                                                                            4 20
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  A notary public or other °flair complains this oertMloste wiles only the Identity of the
  individual who signed the document to which this owtilloate Is attached, and not the truthfulness.
  acouracy.,or validity ofihat document.



State of California

County of 14.15 Antes

On                             be re me,                                       a Notary Public, personally
appeared        .                         , who proved me on the basis of satisfactory evidence to be the
person(S) whose rum              subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in         er/thelr authorized capacity(ipej, and that by       /their signature(*) on the
instrument the persons), or the entity upon behalf of which the persoe(*) a , ecuted the instrument.

1 certify ander PENALTY OF PERJURY Nader the laws of the State of California that the foregoing
paragraph is trio aid correct.

WITNESS my hand and ofllcl1l seal.
                                                                                                      I Dutra
                                                                                                   Arsylivric-cover
                                                                       (Seal)                      cstd=o
Signature                                                                                          COM ONMMItIt Val
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                                       EXHIBIT A
  THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN THE
  COUNTY OP LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:
 PARCEL 1:

 LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
 STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 PAGE(S) 81 TO 83 INCLUSIVE OF
 MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

 EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
 FOLLOWING DESCRIBED LINE:

 BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE,
 AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" "WEST 2.86 FEET FROM THE
MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE
CONCAVE WESTERLY, HAVING A RADIUS OF 361.97 FEET AND CONCENTRIC WITH THAT
CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT 1 HAVING A RADIUS OP 349.83 FEET;
THENCE NORTHERLY 22.69 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35'
48" TO THE BEGINNING OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING A
RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID CURVE
THROUGH A CENTRAL ANGLE OF 39° 06' 53"; THENCE NORTH 56° 36'22" WEST 7.97 FEET10 THE
BEGINNING OF A CURVE CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET;
THENCE NORTHWESTERLY 71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF
44' 55' 04"; THENCE NORTH 11° 41' 18" WEST 208.55 FEET TO THE BEGINNING OF A CURVE
CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET
ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° SI' 16"
EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OP STRADBLLA ROAD, 40 FEET WIDE,
AS SHOWN ON SAID MAP.
PARCEL 2:
THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES,
COUNTY OP LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141
PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY, LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE:
BEGINNING AT A POINT IN THE EASTERLY LINE OP SAID LOT, DISTANCE THEREON SOUTH 13°
13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN SAID
EASTERLY LI•IE SHOWN ON SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13'
20" WEST 106.35 FEET; THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A
POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE HAVING A
LENGTH OF 115.83 PEET.

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           EXHIBIT W
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                                          Main Document    Page 352 of 512




     RECORD/NG REQUESTED BY
     AND WHEN RECORDED MAIL TO:
     Hankey Capital, LLC
     4731 Wilshire Blvd.. Suite 110
     Los Angeles, CA 90010
     Attn.: Engine M. Leydikw


                                                                                  Space Above for Recorder's Use
  Loan No.

                                          MEMORANDUM OF AGRIEMENT

  In connecdon with a certain loan transaction between Hankey Capital, LLC, a California limited liability company
 (the "UMW) and attatiloYd. LLC. a Calitbmis limited liability company (the "Borrower"), the undeseigned
 declare and acknowledge that the Borrower has executed a Profit Participadon Agreement (the "Agreement").
 dated of even date herewith, pertaining to the real property described in Bxhibk A hereof. This instrument is a
 memorandum of the Agmement, and the same is incorporated herein by this reference with the same OW and as
 though est ibrth herein in its entirety.

 LENDER:

HANICEY CAPITAL. LLC
a Califtenia limited liability company


ay:
     W. Scott Dobbins, President



BORROWER:
CRBSTLLOYD, LLC,
a California: limited liability company


Br
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  A notary public or other officer completing this certificate verifies only the identity of the
  individual who signed the document to which this certificate is attached, and not the truthfulness,
  accuracy, or validity of that document.




State of California

County of                  J
                                                 •
On                    ozjk_before me, /44                   ,6Jos                   a Notary Public, personally
appeared it di '                             who   proved  to me  on the basis of satisfactory evidence to be the
person(s) whose  name(s)   is/are subscribed to the  within instrument and  acknowledged    to me that he/she/they
executed the same in his/her/their authorized capacity(les), and that by his/her/their signature(s) on the
instrument the person(s), or the entity upon behalf of which the person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.                                                  r—
                                                                                                            NIGEL G1888
                                                                                       wipo           Notary Public • California
Signature
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                                                                                                        Los Angola County
                                                                                                      Commission in 2164239 5
                                                                                                    My Comm. Expires Oct 4. 20201
                                                                                                                             „




                                                                                                            Exhibit B 11
    Case 2:22-ap-01125-DS                   Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                                       Desc
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  A notary public or other officer completing this certificate verifies only the identity of the
  individual who signed the document to which this certificate is attached, and not the truthfulness,
  accuracy, or validity of that'document,




State of California

County of 14:6 AntrAta

On      t*.:•                   before me,       L                              a Notary Public, personally
appeared                                   , who proved me on the basis of satisfactory evidence to be the
person(') whose name • #2,. re subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in      (  her/their authorized capacity(iosi, and that by           cip
                                                                                her/their signature,e) on the
instrument the personit), or the entity upon behalf of which the personA act. executed  the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.
                                                                                                            T. DOUG(AS
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                                                                                          A    dd      cam oist,1V$4210
Signature                                                               (Seal)                      LV Com EWA.," My 22.2021




                                                                                                           Exhibit 13 - J2
   Case 2:22-ap-01125-DS        Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06            Desc
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                                        EXHIBIT A
THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN THE
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

PARCEL 1:
LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, AS PER MAP RECORDED IN 1300K 623 PAGE(S) 81 TO 83 INCLUSIVE OF
MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.
EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
FOLLOWING DESCRIBED LINE:
BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE,
AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" WEST 2.86 FEET FROM THE
MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE
CONCAVE WESTERLY, HAVING A RADIUS OF 361.97 FEET AND CONCENTRIC WITH THAT
CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT t HAVING A RADIUS OF 349.83 FEET;
THENCE NORTHERLY.22.69 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35'
48" TO THE BEGINNING OF A COMPOUND CU.RVE, CONCAVE SOUTHWESTERLY AND HAVING A
RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID CURVE
THROUGH A CENTRAL ANGLE.OF '39° 06' 53"; THENCE NORTH .56° 36' 22" WEST 7.97 FEET TO THE
BEGINNING OF A CURVE.CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET;
THENCE NORTHWESTERLY 71,18 ma ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF
44° 55' 04"; THENCE NORTH I I° 41' 18" WEST 208.55 FEET TO THE BEGINNING OF A CURVE
CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET
ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° 51' 16"
EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA ROAD, 40 FEET WIDE,
AS SHOWN ON SAID MAP.

PARCEL 2:

THAT PORTION OF LOT 3 IN BLOCK*3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES,
COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141
PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY, LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE:

BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON SOUTH 13°
13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN SAID
EASTERLY LINE SHOWN ON. SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13'
20" WEST 106.35 FEET; THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A
POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE HAVING A
LENGTH OF 115.83 FEET.

APN; 4369-026-021
                                                                          Exhibit B - 13
                                        Page 4 of4
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             EXHIBIT X
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                     HANICBY CAPITAL, LLC
                     4751 Wilshire Blvd., Suite 110
                     Los Angeles, CA 90010
                     Atteatios: Eugene I.eydiker

                          CONSTRUCTION DEED OF TRUST, SECURITY AGREEMENT AND FIXTURE
                                       FILING WITH ASSIGNMENT OF RENTS
                                                 (944 Ahole Way]
                          This CONSTRUCT/ON DEED OF TRUST, SECURITY AGREEMENT AND FIXTURE
                    PILING WTTH ASSJOAMBNT OF MINTS (hereinafter the "Deed of ust" made this 25a day
                    of October, 2018, by CRBS'rELOYD, LLC, &Wilted' limited liability company (hereinafter
                    refined to as Musk" whose address is do Skyline Development, 11981 W. Sweet Blvd.,
                    Suite 303, West Hollywood, California 90069 to CHICAGO TITLE COMPANY, hereinafter
                    coiled "Trustee", for the benefit of HANKEY CAPITAL, =a/Wit:mit limited liability
                    coloPlinN himeinshuf called "Dunofidery", whose address is 4751 Wilshire Blvd., Suite 110, Los
                    Angeles, Califinnia 90010.

                           This Deed of 'nu* ls Sivim tur porpole of seeming the thilowies
                          (1) Perthnnence of all oblige**, of Moor under any agreements of Truster
                    incorporated by relbresce or contained herein.

                        (2) Payment of iadebtedness in the total principal amount of Eighty-Two Million, Five
                    Hundred Thousand and No/100 Dollars M2,500,000.00), together with inbreed thereon, as
                   provided In and evidenced by that certain Promissory Note of eves date herewith executed by
                   'Motor in fiver of Beetefielary (the "Note"), and any sad all modifications, extensions and
                   renewals thereof.

                         (3) Pedormence of such other obligations or payment of such other indebtedness now
                   or beteg* owing to Beneficiary from Theta, when evidenced by a document reciting that it is
                   so secured.



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                               (4) Payment of all sums advanced or paid out by the Beneficiary under any provision
                         of this Deed of Trust or to protect the security of this Deed of Trust.
                              This Deed of mist, and any other insiniments given to evidence or fluter secure the
                         payment and perfbrmance of any obligation secured hereby may hereinafter be mitered to is the
                         "Trust Document?. The payment oblipdons of Truster described in Paragraphs 2, 3, and 4
                         above are hereinafter reibted to as the "Indebtedness".
                              Truster, In consideration of the premiers and the aforessid Indebtedness, and in order to
                        secure its obligations under the Note, according to their tense, has granted, bargained, sold,
                        conveyed, confirmed, transferred and assigned end by these presents does pant, bargain, sell,
                        convey, confirm, transfer mid assign unto Trustee, his mons= and wises, with power desk
                        and right of entry and possession, ittleteS interest in and to that certain property described as
                        Sinews:
                                 (A)       The land described in Exhibit A attached hereto, made a part hued
                                 (B)          buildings mid haproveniams now or hereafter located on said land.
                                 (C)      AU easements, tenements, bereditements and appumensnese theme* belonging or
                                          in anywise appertaining, and the reversion and reversions, ranee sad
                                          remainders, rents, issues and profits of the afbresaid property and all the estate, title
                                          and interest, homestead or other claim or desend, as well in law as in equity,
                                          wIdeir Truster now has or hereafter may moults, of, in or to said properly, or wry
                                          pot thereof; with dm acistartenanoss thereto.
                                 (D)      Ali of Trete% tight, tide and ewe* in, to or under the property described in
                                          Exhibit B attached hereto, made a part hereof and comprising one page.
                             Trustees interest in sad to the land, buildings, improvements and the rights and property
                       described in pears* (A) through (D) above are hereinafter relbfted to collectively as the
                       "Property".
                            TO HAVE AND TO HOLD the same unto Trustee, Tmetee's AMMON sad mei"
                       Truster hereby covenants and agrees as follows:
                                                             ARTICLE I
                                                COVENANTS AND AGREEMENTS OP TRUSTOR
                              Truster hereby covenants and agrees:
                       1.00       loggiutjodditegim Truster will pay the indebtedness hereby secured
                   promptly when and as said ladebtednees becomes due and payable.
                          1.01         Ijog Tailor, sheet the written consent of Beneficiary, will not suffixes,/ lien So


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                  be crested hereafter upon the Property, or any part thereof, prior to the aim of this Deed of Duet,
                  and will not do or sufthr any sot or omission whereby the value of the Property, or lien hereof or
                  of any estate or title covered hereby, may be diminished or impaired in any way.
                         1.02 Milli*O1002.-801111                    0111. Trusior will keep any buildings and
                   improvements constructed on the Property in good condition end repair, will not remove or
                  demolish any buildings or improvements therm, and commit or permit no waste thereon.
                  Should said building or buildings, or say part thereof require inspection, repair or protection
                  other than that given it by 'Motor, then, and in that event, Beneficiary may enter or cause entry
                  to be made upon the Property and into said building or buildings lbr inspection, repair or
                  pulsation thereof and such repair may be made by Beneficiary snd be made or done in such
                  manner as &Hy to protect the immest of Beneficiary in the opinion of Beneficiary, sad any end
                  sil sums expended by Beceficiery in doing or causing to be done say of the things above
                  authorised are scoured by this Deed of Trust and obeli be paid by Truster on deemed. Truster
                  shall comply with all laws, ordinances, governmental regulations, covenants, conditions and
                  restrictions affeetins the Property or requiring any siterMion or improvement thereof and permit
                  no violation, as to the Property, of any such law, ordinance, govt mental repletion, covenant,
                  condition or restrictkm dhotis' the Property.
                       1.03 Tills to Pronertv nustar covenants that Traitor is lawfidly Wald of each and
                 every part and parcel of the Property as demdbed in the venting clauses hereof and has good
                 and indefateible tits to the same; that there are no liens or encumbrances on said property except
                 for such liens and encumbrances that are waved by Brae sty; and 'humor firmer will
                 warrant and dished the *le la the same to the Trustee gab* the Maims and demands of all
                 parsons. lf dudes 010 MMINSMOS of this Deed of Trust there be commenced cc pending any suit or
                 action affecting said property, or any part thereof or the title thereto, or day adverse Maim for
                 or spinat said property, or my pmt thereof be made or asserted, Trustee or Benefiehry may
                 appear in said suit or action and retain counsel thud' and defted the same or otherwise take
                 each action therein as Trustee or Beneficiary may deers adefsebis, sod may aerate or compromise
                 the same or the said adverse deist, and in that behalf and is any of the said mow, may pay
                 and expand snob sums of money es nubs or Benelleisty may deem to be neemesty.
                        1.04 legitigtAgoomeele, Trusser snail pay, seder and discharge at snatority all
                 tetes and assessments and all other chews and timumbromes which now or. or hersafter shall
                 be or sonar to be a lie upon the Pr petty, at any pat thereof or open the debt secured hereby;
                 and in delimit thereof Benefioimy, without amender notice, may ply, satisfy or discharge mid
                 taxes, mentements, dumps or sectonbrances, and pay and expend sack sums of money as
                 Benefielary may deem to be necessity thorax, and shall be the misjudge digs,!spiky or the
                 validity of such tortes, assessments, charges or encembrenees, and the amount necessity to be
                 paid in the astiefaction or discharge thereof,
                      1.05 ibidesiatibistatathausdiammenio. Truster NAN' Neva to deposit
                with Benefleisty within thirty (30) days of BadAmy's request, all receipts or other satisfactory
                evidence of the payment of taxes, assesemems, &ape, dans and Hens of every nature
                (hereinafter oollecdvely roferred tom '"taxes" or "tax") affecting or which may affect the
                Property or say pert thereof Upon the request of Beneficiary, thilowing Trustees failure to

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                  security far the Note secured by this Deed of Trust has bean impaired, Beneficiary shell be
                   entitled to apply the proceeds collected, aver first deducting dterefium all its expense, including
                  attorneys' *es, la collecting said proceeds, to any and all indebtedness secured hereby and
                  thereafter shall pay the balance remaining, if any, to Truster. At its optima, in its own name,
                  Beneficiary shall be entitled to commence, appear in and prosecute any action or proceedings or
                  to nuke any compromise or settlement, in connection with such loss, taking or damage. MI such
                  proceeds and rights of action hasty are assigned to Beneficiary. Notwithstanding the *wing,
                 absent an "Event of Dehule as set fix in Paragraph 4.00 below, in the event of such insurance
                  loss or that only a portion of the Property It taken or damaged by reason of any public
                 improvement or condemnation proceeding, sad restoration is necessary, Beneficiary, site
                 deducting from said proceeds received all its expenses, including attorneys' foes, may release to
                 Truster se restoration progresses, so numb of said amount as equals the costs of restoration
                 effected by Truster, subset to masons* conditions, including the right of Beneficiary to
                 withhold up to tea percent (10%) of said amount until completion and the expiration of the
                 period within which mechanics' or nudnialmen's liens may be tiled and until receipt of
                 satisfactory evidence that no lime exist. Any amount required to complete such restoradoo in
                 excess detach proceeds shall be paid to 'fluster bears such proceeds as used. Truster agrees to
                 execute suck thither assignments of any such proceeds and rights of action as Beeeficiey or
                 Trustee may require.
                       1.0E EfidiNinitahLialLakilitodalM Traitor Precis* and agree so Pubis* all of
                 the obligations in and under the Note, and any other *Immense given now or hereafter as
                 security fbi the lodebtedness secured by this Deed of Trust

                              Ailfild41111013111111111gialdilthalillballifik Meet the prior written mount
                 of Benefleary, Trustor shall sot (a) imam or deliver any pledge, murky simement, mortgage,
                deed of trots or other inetronsent of hypotheostioo, covering aB or     portion of the Property or
                any interest therein; (b) sell, convey, alienate, Muter or otherwise dispose of all or say portion
                of Me Property or any intone therein, whether voluntarily or involunteily, by operation of law
                or et erwhon Minds. event Truster is a corporation or trait or similar entity, sell, convey,
                irmuder or encumber, whether voluntarily, invohnaterily or otherwise, nose than tea percent
                (10%) piths issued and outstanding capital sank of Truster or of the beneficial interest of such
                east or similar entity; or (d) in the mot Minor is a limited or general partnenthip,, or a joint
                Me*"     Map soy constituent pawl portlier or any joint venturer whether vole tartly,
                involuntarily or otherwise, or sell, convey, tranethe, clump or encumber say such postal partner
                or plat mime. intereste.
                       1.10 egtommodaisaaliaga Truster shall keep and mainain the Property in
                compliance with, and shall not come or permit the Property to be in violation of say federal,
                state or load laws, ordinances or repletion, Wades to industrial hygiene or to the
                etrehiattental conditions en, nuke or about the Property including, but not limited to, soil and
                ground water conditions. Tomer Mail not use, gamma* manteeture, store or dispose of on,
                under or about the Property or tampon to or ken the Property any fiemmable explosives,
                radioactive mated* hazaelons wades, torts subeteame or related materials, including, without
                limitation, soy substances defined as or included in the definition of "hazardous subetasees",
                "hazardous wastes", "hazardous mated*" or "tonic substances" undw any applicable Meal or

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                    state laws or regulations (collectively referred to inzeinider es "Hazardous Materiels"), except
                    only those materials and substances which are usually and customarily used in the operation of a
                    residential oonstruction predict so long es the snout of such materials and substances which are
                    used or stored upon the Property shall not exceed the amount reasonably requited Oar the
                    operation dad tastiness in its noun& sad ordinary course.
                          'fluster shall immediately advise &officiary in writing of (I) any and all adbrcement,
                    cleanup, removal or other governmental or regulatory actions instituted, completed or threatened
                   pursuant to any applicable *deal, state or local laws, ordinances, or regulations relating to any
                   Hazardous Materials affecting the Property ("Hazardous Materials Laws"); (ii) all claims made
                   or threatened by any third petty against Trotor or the Property relating to damage, contdbution,
                   cost recovery compessation, loss or Minty resulting glom any Hazardous Materials (the matters
                   set forth in clauses (ft and (11) above ars hereinafter referred to as "Hazardous Materials
                   Claims"); and (Ili) Trustoes discovery of any OCCUMMENI or condition on any real property
                   adjoining or in the vicinity of the Property that could cause the Property or any past thereof to be
                   classified as Nborder-zone property" under the provisions of California Health sod Witty Code,
                   Sadao 25220 et. seq. or any regulation adopted in accordance therewith, or to be otherwise
                   added to any reibied(MMI on the ownership, occupancy, traufbability or use of the Properly
                   under any Hazardous Materials Laws.
                         Beneficiary shall have the right to join and paniolpsts in, as a party, if it so elects, soy
                   legal proceedings or anima initiated in oonneodon with any Hazardous Materials Claims and to
                   have its reasonable attorneys' loves is commotion therewith paid by 'fluster. Truster shall be
                  solely responsible the, sad sisal Wenn* and bold harmless Beaeflokay, its directors, officers,
                  employees, agate, MOCINNION and Helps from sad against say bee, demo, cost, tames or
                  liability directly or indirectly arising out of or attributable to the use, generation, stow, release,
                  threatened illeasee discharge, disposal, or prisms of Hazardous Materiels on, under or about
                  the Property, inoludina, without limitations; (a) al foreseeable amesqueadel damps; (b) the
                  costa of any required or necessary repair, cleanup or detostificadom of the Property, and the
                  preparation and implemeetsdon of say closers, remedial or other required plena end (c) all
                  reasonable costs and expenses ineurred by Beoeficiary is cmonection with clause (a) end (b)
                  baehuling, but not limited to, reasonable attorneys' fees.
                       Without Bensficiary's prior written consent, which shall not be unreasonably withheld,
                 'husk" shell not tats say remedial action in tapas to the prose= of say Hazardous
                 Materials on, under, or about the Property, nor cater into any seaman agnomen, consent
                 decree, or other compromise in respect to any Huardous Material Claim which remedial
                 action, settlemem, consent or compromise might, in Beadolary's reasonable Judgment, kopek
                 the value of the Beneficiary's amity boatload's; provided, however, that Beneficiary's prior
                 consent shall not be necessary in the event that the promisee of Hazardous Materials on, under, or
                 about the Property either poses so immediate threat to the health, safety or welfare of any
                 individual or is ofarch a nature that an immediate remedial response is necessary and it is not
                 possible to obtain Beneficiary's consent before taking such action, provided that la each ova*
                 Truster shall Miry Beneficiary as loos as practicable of any action so taken. Beneficiary agrees
                 not to withhold its consent, where suck consul is rewind hereunder, if either (I) a particular
                 remedial action is ordered by a court of competent i             , or (if) Truster establishes to the


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No*Ordir ilsonh                                                     Pegg? M20                   Requomod eY robtdrali, Pitted: 11/5/2020 911 PM
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                  reasonable earisitction of Beneficiary that there is no reasonable alternative to such remedial
                  action which walkd result in less impahment of Beneficiary's security hereunder.
                        1.11 Ingsmailloaderk Truster hereby agrees to indents* Beneficiary and hold
                  Beneficiary harmless from and against any and all claims, looses, damages, liabilities, fines,
                  penalties, charges, administrative and judicial proceedings and orders, judgments, remedial
                  action requirements, entitlement actions of any kind, and all costs and expenses Inca red in
                  connection there[       (Including, but not limited to, resemble attorneys' fees and expenses)
                  arising directly or indirectly, in whole or in part, out of (I) the presence on or under the Property
                  of any Hazardous Materials (as defined in Paragraph 1.10), or any releases or discharges of any
                 Hazardous Materials on, under or born the Property, or (Ii) any activity ended on or undertaken
                 on or off the Property, whether prior to or during the period during which any indebtedness
                 under the Note is outstanding and whether by Trustor or any predecessor in title or any
                 employees, agora, contractors or abominators of Truster or any predecessor in title, or any
                 third persons at any time occupying or present on the Properly, in connection with the Janda%
                 treatment, removal, storage, decontaminatioe, cleanup, transport or disposal of any Hazardous
                 Materials (as defined in Paragraph 1.10) at any time located or present on or under the Property.
                 The fbregoing indemnity shell thither apply to my Nokiad acumination on or undo the
                 Property, or affecting any natural resources, end to any contamination of wry property or 12Sfefil
                 resources arising in connection with the generation, use, handling, stomp, transport or disposal
                 of any such Hamer ors Malarial, and ineepeetive of whether any of such activities wets or will
                 be undertakes hr accordance with applicable laws, regulations, codes end ordinance*.
                      1.12 byjamagmieUrmident. Truster hereby mintowledges sad apses that the
                provides* of Paragraphs 1.10 end 1.11 hereof are intended to be "enviroomentel provisions"
                defined in Section 736 of the Calihrala Code of Mil Procedure), and that Beneficiary is
                intended to have all of the eights of a mowed lender under Section 736 of the Califorala Code of
                Civil Procedure in respect of such "enviroomental pswvisions." Truster hither acknowledges
                and WOOS that the rights aftbrded to Beneficiary under Section 736 of the California Code of
                Civil Procedure are in addition to all rights, porters and remedies otherwise availeMe to
                Beneficiary under any of the Trust Documents or at law or in equity.
                      1.13 figiggalilimiglagg. Thum shall deliver to Beneficiary a oopy of 'Duster's
                federal end state tax rename, prepared by a certified public accountant, concurrently with
                Truwor's filing ofsaid Mums.
                      1.14 CgyouggrjoAgdaLIMumjimes Until all of the indebtednese secured by the
               Deed of Trust shell have been paid in hit, Moller covenants and agrees that it will immediately
               transfer and assign to Beneficiary any and all other sod prune losses on all or any portion of the
               Property. Assignor briber covenants and area to make, execute sad Mime to Assignee on
               demand, and at any time or times, any and ail written assipmenta and other instruments
               sufficient he this purpose or that Beneficiary may deem advisable for carrying out the woe intent
               of this covenant.
                                                   ARTICL1111
                                     ASSIGNMENT OF MA MUMS AND PROFITS

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                          2.00 Assignmote.otitgotg, Truster hereby assigns to Beneficiary the rents, issues,
                   profits, writ**, and payment payable trader any is... of the Property, or pardon thereof
                   including any oil, ps or mineral lease, or any instalments of money payable pursuant to any
                   agreement or any sale of said property or any part thereof, reserving too Motor the rights prior
                   to default by Manor in payment of the Indebtedness secured hereby or in the performance of any
                  agreement hereunder, to collect and main such rents, issues, profits, royalties, payments and
                   installments of money as they may become due and payable. Upon any such default, Beneficiary,
                  without regard to the adequacy of any security for the Indebtedness hereby secured, shell be
                  entitled to (1) collect such corks, issues, profits, royalties, payments and ketaliments of money
                  and apply the same as more pealed* set forth to this Prograpb, all without taking posttest=
                  of the Property, or (2) enter and take possession of the Property or any part thereof in person by
                  *gent, or by a receiver to be appointed by the court sad to sus for or otherwise collect such rats,
                  lanes, profits, royalties, pay cots and installments of mosey. Beneficiary may apply any such
                  rents, hoes, profits, royalties, payments and histalhaents of money so collected, less costs and
                  expenses of operation and collection, including reasonable snoop' fees, upon soy indebtedness
                  secured hereby, in such order u Beneficiary may determine, and, if such oosts and wanes and
                 attorneys' this shall exceed the amount collected, the excess shall be immediately due sod
                  payable. The collection of such rents, issues, profits, royalties, payments sad installassots of
                 money and the application thereof as aforesaid shall not tare or waive any default or notice of
                 default hereunder or invalidate/mace doe pennant to such notice, except to the extent any
                 such defeat hay le cured. Failure or dimoodnuence of Benetkiery at say time, or from tons to
                 tan*, so collect say each moneys shall not impair in any mamba the subsequent oforeenuat by
                 Benifkiwy of the right, power and authority bask contorted on Beneficiary. Nothing contained
                 herein including the exercise of any right, power or authcaty herein granted to Beneficiary, shall
                 be, or be construed to be an affirmadon by Bandolary of any tesancy, kw or option, or as
                assumption of liability oder, et the subordination tithe lien or charge of this Deed of Trust to
                any such tenancy, lose or option Truster hereby agrees that, in the even Beneficiary aweless.
                 its fishhook this Paragraph provided, Tru*r waives any right to compeasation for the use of
                 Tamer's fruniturs, ftwelibinp or equipment is the Property kr the period smith animas* of
                teats or receivership is in eat*, it being understood that the rads, fuese, profits, royalties,
                payments and instalments of softy thrived flow the use of any such items shall be applied to
                'Murton obligation hereunder as above provided In the avast that moor coormsentty herewith
                or hereafter executes arty separate magnate* of rents or of leases to Boefidary, then to the
                extent of any isconikteney between the proviskos hereof and ay such alignment, the
                provisions of such assigtoneat shall control.
                       2.01 Itutonsogge.onageo, Truster promises and epees to kap, perform sad observe
                all of the lesson covenants, agreements and obligator. seder the tams of all leases now or
                hereafter executed relating to ell or any portion of the Property, to require that lessees under said
                loses keep, patois, mid obeene all of the covenants, agreements sod obligations thereunder on
                their pert to be kept, performed and obweved; not to alter, amend or moat/ ark lessee or any of
                them without the prior written consent of Beneficiary.
                                                 ARTICLE III
                                    SECURITY AGREEMENT MID FIXTURE PILING

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Neo•Onlm. emit                                                   P90999120                   Regamted    raindrak, Mtge* 9/5/2021) 911 PM
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                         3.00 Creamkeilmultriggsid„ This Deed of *Dust is deemed a Security Agreement
                   as defined in the Callfamis Commercial Code, the Motor being the Debtor and the Beneficiary
                   being the Secured Party, and the remedies ibr any violation of the covenants, terms and
                   conditions of the agreements herein contained shall be as proloribed (I) herein, or (0) by general
                   law, or Recto such part of the security which is also reflected in the financing statement
                   which will be filed to peke the senility interest created herein, by the specific statutory
                   consequences now, or hereafter enacted and speckled in the California Commercial Code, all at
                   Beneficley's sale election. Traitor end Beneficiary agree that the filing of a financing statement
                  in the records normally having to do with personal property shall never be construed as hi
                  anywise derogating from or *siring this declaration and the hereby-stated intention of the
                  parties hereto that everything used id connection with the operation or occupancy of the Property
                  is and, at ail thaw and for all mimosa and in all proceeding,. both legal and equitable, shall be
                  regarded as reel property, irrespective of whether (1) any such herd is physically attached to the
                  buildings and improvements, (2) serial magma are used fir the betty identification of certain
                  equipment item capable of being filed by the Beneficiary, or (3) any such item is Wm! to or
                  related in any such financing statement so filed at any time. Such mention in the financing
                  statement is declared to be for the protection of the Beneficiary in the event any court or jut*
                 shall at say time hold that notice of Be efkisty's priority of interest must be filed in the
                 Wiwi* Commercial Code made to be effsotive against a particular class of persons,
                 'whirling, but not 'indeed to, the federal government and any subdivision or entity of** f eal
                 goveinment, fluor novenas sad agrees to reimburse Beneficiary fir any costs bowled in
                 filing such financing statement and say continuation statements.
                   3,01      figkullang, Portions of the Prapetty ere goods which are or are to become
                *Mune nudes to the land, buildings and imptuvensents, and 'Nestor emu* mid epees that
                the recording of this Deed of Trust la the reel estate roads of the County whet the tend is
                located shell also operate from the thin of recording as a Fixture Ming in accordance with
                Section 9313 of the °diem& Uniform Commercial Code.
                                                           men= IV
                           •                     DXFAULTS AND IRIIMIDIES
                     4.00 Ihentittiktimit. Any of the **lowing events shall be deemed an Event of
                Default hereunder, upon tbe exphation orrery applicable pace period
                     (a) Dithult shell be made in the payment of any installment of principal or intent or
                any other sum secured 'hereby when due, whether at maturity or by acceleration or as pert of any
                prepayment or othenvise or
                      (b) HUMP Taster Audi booms insolvent at admit in wdtlas its liability to psy its debts
                se they mature; or make airy assignment for the benefit of creditors; or apply ibr or cement to Om
                appointment °fermate's or trustee for it or for s mbeternia,lpart of its property or business; or
                      (c) If any order, Judgment or decree shall be entered spinet mister decreeing its
                dissolution or diversion; or

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                           (d) If bankruptcy, insolvency, reorganization or liquidation proceedings or other
                    proceedings Ibr relief wider any banlauptcy law or any law fbr the relief of debtors shall be
                    instituted against Truant; or
                         (e) A writ of execution or attain** or any similar promo shall be baud or levied
                   against all or any part of or interest in the Property, or any judgment involving monetary
                   damages shall be entered against 'Duster which shall become a Hen on the Property or any
                   portion thereof or interest therein; or
                         (0     Theo has occurred a breach of or default under any tam, covenant, agreement,
                   condition, provision, representation or warranty contained in he Note or the Note, or any lean
                   application or other agreement related thereto or     other now or hereafter existing averment
                   between Traitor or any affiliate of Truster and
                        4.01 rinenlecalimuipmaidadt,AdditingLanondirn In the event of any such Event of
                   Doha% Beneficiary may declare, by notice gives to Truster, aft indebtekoss secured hereby to
                   be due and payable without any Author presentment demand, protest or police of any kind.
                   Thereafter Beneficiary may
                      - (a) Either in person or by agent, with or without When. nay *Ann or proceeding, or
                   bye receiver appoinild by a omut and without mud in he edition,' of any security kr the
                   bulsbtedoses and               hereby snared, enter upon and take possession of the Property
                   hereby grassed, or my pan thereof in he own name or in the name of*. Trustee, and do any
                   ass which it deems necessary or deskable to passers the rentability or increase the income of
                   such property aromas* the sanity hereof and with or without taking possession of the Property
                   as. 1w or otherwise collect the renta, sauna aid profits daersog including those put doe and
                  unpaid, sad apply the rents, lames and profits collected, lass costs and aptness dalmatian sad
                  collection including reasonable attorneys' dues sad accountants' hes, upon any indebtedness
                  secured hereby, all to such order as Beneficiary may debranina. The entering upon and taking
                  possession of said poverty, the collection of suck rests, issues and profits, or the application
                  thereof as sibresald shall not cure or waive any &halt or notice of default hem& or
                  invalid* any act done pursued to such seen; and notuflbstandke Beneficiary's or Trailed'
                  continuance in possession of the Property or the collection, receipt sad application of reaps,
                  issues or profits, Trustee or Beneficiary shall be entitled to exercise every right provided fl:r in
                  this inehmest or by law upon the occurrence of my defludt including the right to exercise the
                  power aside;
                        (b) COMMON an action to baucloss this Deed of Trust as a mortgage, appoint
                  receiver, or specifically sabres any of the covenants Wang
                       (a)   Deliver to Trustee a written declaration of dchult and demand ** sale, and a
                 written mho otdefault mad election to cams Trusices interest la the Property to be sold, which
                 notice Thane or Beneficiary shag cause to be duly filed for record in the Official Records Odle
                 County in which the Property is located.


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                           4,02 fornolosina byPpwarpflaig, Should Beneficiary elect to foreclose by enemies of
                     the power of ale herein contained, Beneficiary shall notify Trustee and shall deposit with
                     nista this Deed of Trust and the Note, the Note and such receipts with evidence of
                     expenditures made and secured hereby as Trustee may require. Trustee shall then have the
                     following dudes and powea:
                           (a)     Upon receipt of such nod* from Beneficiary, Trustee shall cause to be recorded,
                     published and delivered to Trust* such Nodal of Default and Election to Sell as then required
                    by law and by this Deed of Trust and after lapse cinch time as may then be required by law and
                    after recadation of snob notice of dclhuit, Trustee, without demand on Truster, shall, afite notice
                    dale baying boas given as required by law, sell the Property at the time end place of ode fixed
                    by it in said notice of sale, albs as a whole or in separate panels or items and in such ads a
                    Trustee may determine, at public' auction to the highest bidder for cash in lawfid money of the
                    United Sates payable at the time of sale. Mates obeli deliver to such purchaser its deed
                    conveying the Wordy so sold, but without any COVIIISIlt or warranty, express a implied. Tire
                    recitals in such deed of any nutters or theta shall be mach*, proof of the buthildnese thereof
                    Any pesos, including, without limitation, Truster, Trustee a Benefielary, may purchase at such

                          (b) After deductiag ail oasts, fess and expenses of Thew and of thie trust, including
                    costs of evidence of tide in commotion with ashy Trustee shall apply the proceeds of sale to
                             of all sums due under the Note, other sums then sawed hereby, and the rernabuder,
                             the person or persons legally entitled thereto.
                         (c) Tsetse may postpone the aria of di or any portion of the Property by public
                   WOOSIONAWO at the time and plats fiat Seed for esis and from time to time thee/after may
                   postpooe such sale by public enotoessattent at the time and place fixed by the preceding
                   posposement, end without limber notice snake nob sale d the time fixed by the, last
                   postponement, or may, in its discretion, give new notice of sale.
                          403 eaarianutsmium. If say Event of Debt* desathed in Pategraph 4.00 of
                    this Deed of Trust shall have occurred and be wades*, Beneficiary, as                 of right but
                   with nodes as provided herein to Truster, but without notice to same chlorins under Treater
                   and without regard to the then value of the Property or the intereet of Truster therein, shell have
                   the right to apply to any court havins joriedietion to appoint a receiver or receivers of the
                   Property. Any such receiver or receive(' shall have all the weal powers sad duties of
                   Beneficiery              entry es provided in Parasol' 4.01(a) and shell continue as such and
                   exercise such power until the date of ooh                 of sale of the Property taloa such
                   reeeivenitip is sooner terminated,
                         4.04 Bassfigaseiggisebs, No remedy herein oonthaed upon or reserved to True*.
                   or Beneficiary is Wended to be atehreive of any other remedy bereinds the Trust Documents, or
                   by law provided or permitted, but each shall be distinct and ettamistive and shall be in addition
                   to every other remedy given hereunder, under the That Documents, or sow or haul* existing
                   elm, or in equity or by ststute. Envy power or needy Oat by ids Deed of Trust or by the
                   Milt Documents to Trustee or Beneficiary or to which either of them rosy be otherwise entitled,

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                     may be exercised, concurrently or independently, front time and is often as may be
                     deemed expedient by tunes or Beneficiary and either of them may pursue inconsistent
                     remedies.
                           4.03 figegeeleghona The acceptance by Beneficiary of my sum after the same
                    is due shall not constitute a waiver of the right either to require prompt payment, when due, of all
                    abet sumo secured hereby or so dealers, a default as herein provided and in either event to assess
                    a late charge or penalty. The acceptance by Beneficiary of any sum in an amount less than the
                    sum than due shall be deemed an acceptance on account only and upon the condition that it shall
                    not constitute a waiver of the obligation of tumor to pay the attire sum then due, and Trustees
                    failure to pay sad auks sum then due shall be and continue to be a default notwithstanding such
                    acceptance of such amount on 00001Mg u aforesaid, and Beneficiary or Trustee shall be at all
                    times thereafter and until the endre sum then due shall have been paid, and notwithstandiese the
                    acceptance by Beneficiary thereafter of hake sums on account, or otherwise, =tided to
                    exercise all rights in this Deed of Trust err the other Trust Documents confirmed upon them or
                    either of them upon the occurrence of a default,

                          446 failnliOdlithdlitteltaloLWABIA No Mtn or delay on the Pet of Beneficiary in
                    the exercise of my power, right or privilege hereunder shall operate as a waiver thereat nor shall
                    any single or partial exercise of my such power, right or privilege preclude other or father
                    exercise thereof or of any other power, right or privilege.
                                                            ART1CLB V
                                                          MISCILLANBOUS
                         5.00 QgygaggajAm This Deed of Trust shall be governed by the laws of the State of
                   Callfbmia. In the event that any provision or clause of this Deed of Thast conflicts with
                   applicable laws, snob conflicts thall net affect ado provisioner/tibia Deed of Then which co
                   be given OW without the comet erg provision, and to this end the provisions of this Deed of
                   tun am declared to be severable. Tide Instrument censor be waived, changed, discharged or
                   outlasted orally, but only by an inattnment in writing by the party against whom ententement of
                   any waiver, cause, disallows or sensation is sought.
                         5.01 Al                ,Tr       tutor, upon Mean (15) days' written request shall brash
                   a duly acknowledged written statement setting hob the amount of the debt secured by this Deed
                   of Must and stating either that there are no hewn °Sea Or Ottani exist*apart the debt, or
                   if such known °theft or dehnees are alleged in ex* the nature*mot
                        5.02 lemma In the event that'husor fully satisfies its obligations wader the Note,
                  in hnvfid money of the United States of America, and pays all moneys herein agreed to be paid
                  by Taster, end the interest thereon, and also the reasonable expanse of this nest, so herein
                  specified, thee Trustee at the request and expense of tusks, shell maim to tutor, tuna's
                  sacesesces or assigns, all the estate in the Property panted to touchy this hutment.
                        5.03 fluswiniegaltaiMedigg„ hr the event of the passage after the date of dais Deed
                  of Trutt of any law of the Stale of C.alifemia, deducting front the value of land, for the purpose

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Moe Condor Sem*                                                    Pip 13 of 20                Noqualml By: nivinOrMi,     0/6/2020 0:11 PM
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                      of taxation, any lien thereon, or ohanginn in any way the love now in three for the taxation of
                      deeds of trust or debts secured by deeds of trust for state or local purposes or the mama of the
                      collection of such taxes mato muse the assessment of a tax on Beneficiary or a lien or charge
                      on this Deed of Treat, the entire amount due under said Note, at the option of said Beneficially,
                      without demand or node., forthwith shall become due and payable; provided, however, that such
                      option shall be ineffective if 'buster it penained by law to pay the whole of such tat, in addition
                      to all other payments required hereunder and, if prior to such specified date, Mater does pay
                      such tax and agrees to pay any au& tax whin hereafter levied or assessed against the Property,
                      and such agreement shall constitute a modification of this Deed of Trust,
                            5.04 finbeingiaLdisualL Beneficiary, from time to time, may substitute another
                     Trustee in place of the Trustee named herein, to execute the trusts hereby created; and upon such
                     appointment, and without conveyance to the successor bastes, the successor WIWI shall be
                     vested with all the title, interest, powers, duties and trusts in the Property hereby vested in or
                     cantered upon Trustee heroin named. Bach such appointment and substitution shall be made by
                     wince instrument executed by the Bensfielary eattaining referonoe to this Deed of Trust
                     sufficient to ides* it, which, when recorded in the office of the County Recorder of the county
                     or counties in which the Property is situated, shall be conclusive proof of proper appointment of
                     the successor trustee. The recital or statements in any instrtunent executed by 'Noise, in
                     pursuance of       of said trusts of the due authodxstios of any agent of*. name executing the
                     same, shall for all purposes be conclusive prootof such authorisation
                            SAS LOSAUMIleilinitillafilliteh TWO/ at err 3 tiers, at Tanks% oPekgIt may
                     commence and =Male suit Mamma of compete* jurisdiction and obtain the aid and
                     direction of said cow in the meentiou by it of the tomes or my of item, hauls wormed or
                     contained, nod, in such suit, may obtain Om Wen or decals, interioeutory or Real of sold court
                     direction the execution of said trusts, and confirming and adjapproving Trustee's sets, or my of
                     them, or any sales or conveyance made by Trustee, and udghtn the validity►thereof, and
                     directing that the purchasers of the Property sold and conveyed be let into krmeMa poessesios
                     thereof, and providing the orders of must or ether process widen the Sheriffs of the counties
                     in which the Property is situated to place and mintage said purchasers in quiet and peaceable
                     possession oft* Property so purchased by them, end the whole thereof.

                           5.06 311111211111011113.TIROL Trustee, at my time, upon request of Beneficiary, may
                    reconvey to Taster or Theta sueoeseers or amigos, soy portion of the Prcpirty without
                    sfilsotian the pommel liabilk of any person thr the payment of say of the ladebtedness, or the
                    lien of We Deed of Trust upon the!want* &the Property not rasoosveyed.
                          3.07 No          d- My Mime of Triages or Benefit m to exercise my right or option
                    by this Deed of Trust glven or preseved to Trustee or            hay shall svn stop 'Duke or
                    Beneficiary from exercising any such right or option upon any subeequent delimit of Master.
                          3.01 ludblAunts ift Tremor, forthwith upon request, at any and ell times hereafter,
                    at the expense of Traitor, will muse to be made, executed, acknowledged and delivered so
                    Trustee, any and every deed or assurance in law which TAM* or counsel of Trustee shad advise


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                 or require for the more sure, officinal and estistbototy granting and confirming of the Property
                 unto Dustea

                        5.9    Nonyial                ph Trustee shall not be liable or responsible with respect to
                 its acts or omissions hereunder, except ibr Dusteet own gross negligence or wilifid default, or
                 be liable or responsible for any acts or omissions of any agent, attorneys or employee by it
                 employed hereunder, if selected with reuoneble care.

                      5.10 EfinfiLla.affkilitialdflidlL In the event that any change or chore occur
                in the title to as or any part of the Property, Beneficituy, from time to time, without notice to or
                consent of Truster and without prejudice to any rights which Beneficiary may have against
                Treater, may (a) take, exchange, or release any security gat any of the obligations now or
                hereafter secured hereby; or (b) extend the time for payment of the said obligadons.
                     111 SgagegoimogAulgin,_ This Deed of Trust applies to, inures to the benefit of,
                and binds all parties hereto, their successors and assigns.
                      5.12 raggigggialk This Deed of mist shall be construed so that, wherever applicable
                and with reference to any of the parties hereto, the use of the singular ember shall include the
                plural number, the use of the plural mourner shell include the singular member, the use of one
                gander shall include the neuter, masculine and feminine gender,

                      5.13 Mike& Truster requests that a copy of any notice of default and of any notice of
                sale hereunder shell be mailed In Dustoe at the address est firth above which is Trustost
                addreee.




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             Case 2:22-ap-01125-DS                 Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                                      Desc
                                                  Main Document    Page 372 of 512



                             IN WfTNESS WHEREOF, 'frusta has executed this instilment the day and year that
                        above written.


                        CRESTLLOYD. LLC
                        a California limited liability company



                        B




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•   Min•Order SW*                                                Pegs 16 020          Requested   reMndrolt, Printed: 14/2020 1:11 PM
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          Case 2:22-ap-01125-DS                  Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                                                Desc
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                     A notary public or other officer completing this certificate verifies only the identity of
                     the individual who signed the document to which this certificate is attached, end not the
                     truthAdness, accuracy, or validity of that document


                   State of Calithmla
                   County of lQ S 41-4            (La

                   on  D'1424 4205001irbefore kij
                   personally appeared i h (
                                                                                                   a Notary Public,
                                                                            , who proved to me on the basis of
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                   satishotory evidence to be the perso s) whose name(*) is/an subscribed to the within
                   instnunent and acknowledged to me that ke/shetthey executed the same in his/her/their
                   authorized cepacity(ies), and that by his/her/their sigastum(s) on the instrument the person(s), or
                   the entity upon behalf of which the person(s) acted, executed the instrument.

                  I certify under MALTY OF 'WM under the laws of the State of California that the
                  tangoing paragraph is true and correct.

                  WITNESS my            and *Melia seal.



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                  THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS
                  ANGELES, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS
                  DESCRIBED AS FOLLOWS:

                  PARCEL 1;

                  LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES►COUNTY OF
                  LOS ANGELES►STATE OP CALIFORNIA, AS PER MAP RECORDED IN BOOK 623
                  PAGE(S) 81 TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
                  RECORDER OF SAID COUNTY.

                  EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
                  FOLLOWING DESCRIBED LINE:
                 BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30
                 FEET WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST
                 2.86 FEET FROM THE MOST NORTHERLY CORNER THEREOF; THENCE LEAVING
                 SAM TERMINUS ALONG A CURVE CONCAVE WESTERLY, HAVING A RADIUS OF
                 361.97 FEET AND CONCENTRIC WITH THAT CERTAIN CURVE IN THE WESTERLY
                 LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69
                 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03' 33' 48"TO THE
                 BEGINNING OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING
                 A RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID
                 CURVE THROUGH A CENTRAL ANGLE OF 39' 06' 53"; THENCE NORTH 56' 36' 22"
                 WEST 7.97 FEET TO THE BEGINNING OF A CURVE CONCAVE NORTHEASTERLY
                 AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY 71.15 FEET
                 ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 4e 55' 04"; THENCE NORTH
                 1 I* 41' 18" WEST 208.55 MET TO THE BEGINNING OF A CURVE CONCAVE
                 EASTERLY AND HAVING A RADIUS OF 95.90 FEET; THENCE NORTHERLY 34.44
                 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE
                 NORTH 44° SI' 16" EAST 42.37 PEET TO ME CURVED SOUTHEASTERLY LINE OP
                 SIIIADELLA ROAD, 40 Farr WIDE, AS SHOWN ON SAID MAP.
                 PARCEL 2:
                 THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OP LOS
                 ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP
                 RECORDED IN BOOK 141 PAGES 93110 96 1NCILISNE OF MAPS, IN THE OFFICE OF
                 THE COUNTY RECORDER OF SAID COUNTY, LYING NORTHERLY OF THE
                 FOLLOWING DESCRIBED LINE:



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Non-Ortlir Son*                                          10 or 20        I1pwNsd by: ra*Mrek, Prkted: 0/5/2920 0:11 PM
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                   BEGINNING AT A POINT IN THE EASTERLY UNE OF SAID LOT, DISTANCE
                   THEREON SOUTH 13* 13' 20" EAST 34.33 FEET PROM THE NORTHERLY TERMINUS
                   OP THAT CERTAIN COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS
                   HAVING A BEARING AND LENGTH OF NORTH 136 13' 20" WEST 106.35 FEET;
                   THENCE NORTH 89' 2T 20" WEST 214.07 PEET, MORE OR LESS, TO A POINT IN THE
                   WESTERLY LINE OP SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
                   THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY UNE
                   HAVING A LENGTH OF 115.83 FEET.

                   APN: 430426421




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No" Order Sew*                                        Page 19 of 20         Reqinnind By: nut/keit, P►Rnhd: 6/6/2020 0:11 PM
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                                                            UM=

                        (I) All machinery, equipment, materith (including building materials), appliances, and
                  fixtures now or hereafter knelled or placed on or in said land or buildings and improvements for
                  the generation end distribudon of sir, water, heat, eleetrkity, light, &el or refrigeration or for
                  ventilating or air conditioning purpose, or fir sanitary or drainage purposes or for the exclusion
                 of vermin or insects or the removal of dust, retie or garbage, and all elevators, awnings,
                 window shads, drapery rods and brackets, screens, floor coverings, incinerators, carpeting and
                 all hminue, fixtures, and other property used in the operation or occupancy of said land or
                 buildings and improvements, together with all additions to, substitutions for, changes in or
                 replacements of the whole or any part of any or all of said articles of property, and together with
                 ell property of the same character that Duster may hereafter acquire at any time until the
                 termination of this Deed of Trust and all proceeds received upon the sale, exchange, collection or
                 other disposition ditto fbregoing.
                       (2) All intangible property and rights relating to that land or the operation thereof, or
                 used in connection therewith, Including but not limited to all governmental permits Matins to
                 construction on said land,
                       (3) All raw% deferred payments, deposits, :Ands, oast swings and payments of
                 any kind relating to the construction of any improvanents on aa►id land.
                          (4)   MI water stook Medea to said property.
                      (3) All causes of action, claims, compensation and recoveries he any dams.,
                condsmeation or taking amid property, or fir any conveyance in lien thereof, whether direct or
                consequential, or fir any damage or Wiry to saki property, or hr my lose or diminudos in value
                of said property.
                      (6) All plans sad specific...dons prepared hr etastructiat of buildings sad
                improvements on said land and all studies, data and drawings related thereto; sad elm ell
                contracts and agreements Otte Truant relates to the ahremid plans and specilleadone or to the
                ahreuld studies, data and drawings or to the construction of buildings and improvements on
                mid land.
                      ('7) All monies on deposit ibr the payment areal estate taxes or special saessma►b
                spinet said property or he the payment of premiums on policies of fire and other hand
                insurance covering the properly described herein or said land.



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              EXHIBIT Y
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         CM 1C 0 CiC)
    WHEN RECORDED, RETURN TO;

    Mulkey Capital, LLC
                                                                                            2018




    4751 Wilshire Blvd., Ste 110
    Los Angeles, CA 90010
    Attn: Eugene M. Leydiker

    APN No, 4309-02k-021


                                           SUBORDINATION
                                             AGREEMENT

                                     (Deed of Trust to Deed of Trust)

   NOTICE: THIS SUBORDINATION AGREEMENT RESULTS IN YOUR SECURITY
   INTEREST IN THE PROPERTY BECOMING SUBJECT TO AND OF LOWER PRIORITY
   THAN THE LIEN OF SOME OTHER-OR LATER SECURITY INSTRUMENT.

         11.11S SUBORDINATION AGREEMENT ("Agreement") is entered into as of October 30, 2018,
   by and between CRESTLLOYD, LLC, a California limited liability company ("Owner)); and
   INFERNO INVESTMENT INC. ("Subordinate Lender"); and Mulkey Capital, LLC ("Lender"),
                                                 RECITALS

            A.      Subject to the terms and provisions of that certain Deed of Trust With Assignment of
   Rents dated March 13, 2013, executed by Owner, as Trustor, in favor of INFERNO REALTY, L, P.
   and MAYBACH CORPORATION HOLDINGS, INC., Subordinate Lender's predecessors-in-
   interest, recorded on March 13, 2013, as Document Number 20130384037 in the official records of
   the County of Los Au gel es, State of California ("Official Records") ("Subordinate Lender's Deed
   of Trust"), Owner granted to Subordinate Lender's predecessors-in-interest a security interest in and to
   the property described in Exhibit "A" attached hereto and incorporated herein located at 944 Airole Way,
   Los Angeles, California (which property, together with all improvements now or hereafter located on
   the property, is hereinafter collectively referred to as the "Property") to secure Owner's obligations
   to Subordinate Lender's predecessors-in-interest (the "Subordinated Debt"),
           B.      MAYBACH CORPORATION HOLDINGS, INC. assigned the entirety of its interest in
   the Subordinate Lender's Deed of Trust to INFERNO REALTY, L,P. by moans of that certain
   Assignment of Note and Deed of Trust/Mortgage, dated June 2, 2014 and recorded on November 10,
   2015 in the Official Records as Document Number 20151375606.

          C.      INFERNO REALTY, L.P. assigned the entirety of its interest in the Subordinate
   Lender's Deed of Trust to Subordinate Lender by means of that certain Assignment of Note and Deed of
   Trust/Mortgage, dated October 21, 2015 and recorded on November 10, 2015 in the Official Records as
   Document Number 20151375607.

           D.      Owner has executed or will execute a Deed of Trust, Security Agreement and
   Fixture Filing With Assignment of Rents ("Lender's Deed of Trust") securing, among other things,
   Owner's obligations to Lender as set forth in that certain Promissory Note dated October 25,
   2018, in favor of Lender, in the principal amount of Eighty Two Million Five Hundred Thousand and
   No/100 Dollars ($82,500,000,00) (the "Note"). Lender's Deed of Trust is being recorded in the Official
                                                      1

                                                                     Exempt from fee per GC 27388.1 te)
                                                                     fee cep of $225 reached
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   Records concurrently herewith. The Note and the Lender's Deed of Trust are collectively referred to
   herein as the "Loan Agreement".

           E.      As a condition to Lender making a Loan (the "Loan"), to be secured by,
   among other things, the Lender's Deed of Trust (the "Senior Debt"), Lender
   requires that Lender's Deed of Trust be unconditionally and at all times remain a lien or charge upon
   the Property, prior and superior to all the rights of Subordinate Lender under its deed of bust and
   that Subordinate Lender specifically and unconditionally subordinates its deed of trust to the lien or
   charge of Lender's Deed of Trust.

           F.      Subordinate Lender and Owner agree to the subordination in favor of Lender.

           NOW THEREFORE, for good and valuable consideration and the receipt and adequacy of
   which is hereby acknowledged, and to induce Lender to make the Loan, Owner and Subordinate Lender
   hereby agree for the benefit of fender as follows:

          Section 1.    /Inhardinadgg. Lender's Deed of Trust securing the Note in Aim of Lender,
  shall unconditionally be and at all times remain a lien or charge on the Property prior and superior to
  Subordinate Lender's Deed of Trust.

          Section 2. Fauttsjigummagt. This Agreement shall be the whole agreement with regard to the
  subordination of Subordinate Lender's Deed of Trust to the lien or charge of Lender's Deed of That, and
  shall supersede and cancel, but only insofar as would affect the priority of Lender's Deed of Trust, any
  prior agreements as to such subordination, including, without limitation, those provisions, if any,
  contained in Subordinate Lender's deed of trust which provide for the subordination of the deed of trust to
  a deed or deeds of trust or to a mortgage or mortgages.

           Section 3. Limaishadjudgig, Subordinate Lender intentionally and unconditionally waives,
  relinquishes and subordinates all of Subordinate Lender's right, title and interest in and to the Property
  to the lien or charge of Lender's Deed of Trust, upon the Property and understands that in reliance
  upon, and in consideration of, this waiver, relinquishment and subordination, specific loans and advances
  are being and will be made by Lender and, as pert and parcel thereof, specific monetary and other
  obligations are being and will be entered into which would not be made or entered into but for said reliance
  upon this waiver, relinquishment and subordination.
           Section 4. Righlialagajasithansx. In the event of (1) any insolvency, bankruptcy, receivership,
  liquidation, reorganization, artangement, assignment for the benefit of creditors, or other similar
  proceeding relative to the Owner or its property (as defined in the Loan Agreement), or (2) any proceeding
  for the voluntary or involuntary liquidation, dissolution or other winding up of the Owner whether or
  not involving insolvency or bankruptcy proceedings, then and in any such event:

                 (a) the principal amount of, and all interest on, and all other amounts in respect of, the
         Senior Debt (including interest thereon accruing after the commencement of any such proceeding,
         whether or not such interest shall be allowed in such proceeding) shall be paid in fW1 before any
         payment or distribution of any character, whether in cash, securities or other property, shall be
         made in respect of the Subordinated Debt; and
                 (b) any payment or distribution of any character, whether in cash, securities or other
         property, which would otherwise (but for the terms hereof) be payable or deliverable in respect of
         Subordinated Debt (including any payment or distribution in respect of the Subordinated Debt by
         reason of any other indebtedness of the Owner being subordinated to the Subordinated Debt),
         shall be paid or delivered directly to the Lender, or its representatives, until the principal amount
         of, and all interest and premium on, and all other amounts in respect of, the Senior Debt shall
         have been paid in full and the Subordinate Lender or any other holder of the Subordinated Debt
                                                       2
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           irrevocably authorizes, empowers and directs all receivers, trustees, liquidators, conservators and
           others having authority in the premises to effect all such payments and deliveries.

           Section 5. Primer Ohligatious. Owner agrees that, in the event that any note or other
  obligation of the Owner not evidencing Senior Debt, or any portion thereof, shall become due and payable
  before its expressed maturity for any reason, Owner will give prompt notice, in writing, of such occurrence
  to the Lender.

          Section 6.       Rights of under.

           (a)     Subordinate Lender further declares, agrees and acknowledges for the benefit of the
  Lender, that Lender, in making disbursement pursuant to the Loan Agreement (whether obligatory or
  optional), is under no obligation or duty to, nor has Lender represented that it will, see to the application
  of such proceeds by the person or persons to whom Lender disburses such proceeds, an any application or
  use of such proceeds for purposes other than those provided for in such agreement or agreements shall not
  defeat the subordination herein made in whole or in part.
           (b)     Except as otherwise provided herein, so long as any of the Senior Debt shall remain
  unpaid, Lender may at all times exercise any and all powers and rights which it now has or may hereafter
  acquire with respect to the Loan Agreement, any other security instrument, including, but not limited to
  deed of trust or mortgage, Collateral Security Agreement, or Membership Interest Pledge Agreement
  (collectively, "Security Document"), or any of the collateral subject to the Loan Agreement or any other
  Security Document without having to obtain any consent or approval of the Subordinate Lender and
  without any accountability to the Subordinate Lender, nor shall it have any liability to the Subordinate
  Lender for any action taken or failure to act with respect to this Agreement, the Loan Agreement, any
  other Security Document or the aforesaid collateral.

          Section 7. Constructive Trug. If, notwithstanding the provisions of this Agreement, any
 payment or distribution of any character (whether in cash, securities or other property) shall be received
 by the Subordinate Lender in contravention of the terms of this Agreement, such payment or distribution
 shall not be commingled with any asset of the Subordinate Lender, but shall be held in trust for the benefit
 of, and shall be paid over or delivered and transferred to, the Lender, or Its representatives or agents, for
 application to the payment of all Senior Debt remaining unpaid, until the principal amount of, and all
 interest and premium (including interest thereon accruing after the commencement of any proceedings
 described herein) on, and all other amounts in respect of, the Senior Debt shall have been paid in MI.

        Section it      fiuggsmiustAggigui. This Agreement, without further mfbrenoe, shall pass
 to and may be relied on and enforced by any transferee or subsequent holder of the Senior Debt and the
 Subordinated Debt.

         Section 9, klmlificalLgt. The terms of this Agreement, the subordination effectuated hereby,
 and the rights of the Lender and the obligations of the Subordinate Lender arising hereunder, shall not be
 affected, modified or impaired in any manner or to any extent by: (i) any amendment or modification of or
 supplement to the Loan Agreement, any other Security Document or any other instrument or document
 executed or delivered pursuant thereto.

         Section 10. Masa. All notice, consents, approvals, requests, demands, instruments or other
 communications to be wade, given or furnished musuant to, under or by virtue of their Agreement (each,
 a "Notice") shall be in writing and shall be deemed given or furnished if addressed to the party intended
 to receive the same at the address or such party as set forth below (i) upon receipt when personally
 delivered at such address, or (ii) one (1) business day after the date of delivery of such notice to a
 nationwide, reputable commercial courier service:
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                    Lender:                  HANKEY CAPITAL, LLC
                                             4751 Wilshire Blvd., Suite 11.0
                                             Los Angeles, CA 90010
                                             Attention: Eugene M. Leydiker

                    Subordinate Lender:      INFERNO INVESTMENT INC.
                                             95-4 Chemin de Kandahar
                                             Mont-Tremblant, Quebec J8E 152


                    Owner:                    CRESTLLOYD, LLC
                                              clo Skyline Development
                                              8981 W. Sunset Blvd., Suite 303
                                              West Hollywood, CA 90069
                                              Attn: Nile Niarni
   Any party may change the address to which any notice is to be delivered to any other address within the
   United States of America by furnishing written notice of such change at least fifteen (15) days prior to the
   effective date of such change to the other parties in the manner set forth above, but no such notice of
   change shall be effective unless and until received by such other parties. Notices may be given on behalf
   of any party by its attorneys.

           Section 11,   nagdignsong This Agreement may not be amended or modified orally but may
  be amended or modified only in writing, signed by all parties hereto. No waiver of any term or provision
  of this Agreement shall be effective unless it is in writing, making specific reference to this Agreement
  and signed by the party against whom such waiver is sought to be enforced. This Agreement constitutes
  the entire agreement between the parties hereto with respect to the subject matter hereof. This Agreement
  shall be binding upon the parties hereto and their respective heirs, legal representatives, successors and
  assigns. This Agreement shall be governed by and construed in accordance with the laws of the State of
  California.
          Section 12. Lialinitiona, Terms used in this Agreement and not defined herein shall have the
  respective meanings ascribed to them in the Loan Agreement. The recitals hereto shall be a part of this
  Agreement.

          Section 13. lamination. This Agreement shall terminate upon the final and indefeasible
  payment in full of the principal amount of, and all interest and premium on, and all other amounts in
  respect of, the Senior Debt,

          Section 14. Counterparts. This Agreement may be executed in two (2) or more counterparts,
  each of which shall be deemed an original and all of which together shall constitute and be construed as
  one and the same instrument.

  NOTICE: THIS SUBORDINATION AGREEMENT CONTAINS A PROVISION WHICH ALLOWS
  THE PERSON OBLIGATED ON YOUR REAL PROPERTY SECURITY TO OBTAIN A LOAN A
  PORTION OF WHICH MAY BE EXPENDED FOR OTHER PURPOSES THAN IMPROVEMENT OF
  THE LAND.
  IT IS RECOMMENDED THAT, PRIOR TO THE EXECUTION OF THIS AGREEMENT, THE
  PARTIES CONSULT WITH THEIR ATTORNEYS WITH RESPECT HERETO.
  IN WITNESS WHEREOF, the parties have executed this Agreement as of the date hereof.

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              NOTE: THIS AGREEMENT MAY RE EXECUTED Thl COUNTERPARTS.


                  (SIGNATURES COMMENCE ON THE FOLLOWING PAGE.]




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   OWNER;

   CRESTLLOYD, LLC,
   a California limited liability company



   By:
         Nil




    A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
    document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document,


  State ofCalifornia

  County of 4-05 itit.,) 4.04-4‘‘                  )       ,

  On irk...1-034, 210 130
            Date '
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  Personally Appeared                          )91             t2t".A
                                                               N
                                                  Name(s) of Signer(s)

  who proved to me on the basis of satisfactory evidence to be the person(e) whose name(s) is/are subscribed
  to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
  capaoity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
  which the person(s) acted, executed the instrument,

                                                                       I cortitSt under PENALTY OF PERJURY under the
                                                                       laws of the State of California that the foregoing
                                                                       paragraph is true and correct,
                      NiGEL GIBBS
                 Notary Public • California                            WITNESS my id and °Meisyseal
                   Los Angeles County
                 Commission # 2164239                                  Signs
               My Comm. Ex tree Oct 4, 2020                                                   eture of Note Public




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    SUBORDINATE LENDER:

    INFERNO



   By:
   Name: J n R
   Title: a it tor




     A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
     document to which this oortificato is attached, andnot the truthfulness, accuracy, or validity of that document.


   State ofCalifornia

   County of

   On                                     before me,
           Date                                              Nem Insert Name end 77lie of the Officer
   Personally Appeared
                                                   Name(s) of SOner(s)

   who proved to me on the basis of satisfactory evidence to be the person(e) whose name(s) Ware subscribed
   to the within instrument and aoknowledged to me that he/she/they executed the same in his/her/their authorized
   capacity(ies), and that by his/her/their signature(a) on the instrument the person(s), or the entity upon behalf of
   which the person(s) acted, executed the instrument.

                                                                      I certify under PENALTY OP .PERJURY under the
                                                                      laws orate State of California that the foregoing
                                                                      paragraph is true and correct.
                                                                      WITNESS my hand and official seal.

                                                                      Signature
                                                                                          Signature of Notary Public




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  CALIFORNIA ACKNOWLEDGMENT                                                                                    CIVIL CODE § 1189


    A notary public or other officer completing this certificate verifies only the identity of the Individual who signed the document
    to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.

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                                                                  Name(s) of SIgner(s)

  who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) islare subscribed
  to the within Instrument and acknowledged to me that he/she/they executed the same in his/her/their
  authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
  upon behalf of which the person(s) acted, executed the instrument.
      „.-
                              NIGEL 431696                          I certify under PENALTY OF PERJURY under the '
                        Notary Public • California                  laws of the State of California that the foregoing
                          Los Angeles County                        paragraph is true and correct,
                        Commission * 2164239
                      M Comm. E res Oct 4 2020                      WITNESS my hand and official seal,



                                                                    Signatur
          Place Notary Seal and/or Stomp Above                                Signature of  ary Public
                                                   OPTIONAL
                        Completing this information can deter alteration of the document or
                         fraudulent reattachment of this form to an unintended document.
    Description of Attached Document
    Title or Type of Document:                                                              Pigigr
    Document Date:                                                                            Number of Pages:
    SIgner(s) Other Than Named Above:
   CapecIty(les) Claimed by Signer(s)
   Signers Name:                                                     Signer's Name'
   ❑ Corporate Officer - Title(s):                        •••••      ❑ Corporate Officer - TItle(s):
   ❑ Partner - fa Limited In General                                 ❑ Partner      Limited ci General
     Individual             4 Attorney in Fact                       D Individual            D Attorney in Fact
   D Trustee               p Guardian or Conservator                 ❑ Trustee               ci Guardian or Conservator.
   O Other:                                                          o Other:
   Signer is Representing: _                                         Signer is Representing:


 02018 National Notary Association
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         L8NDER:

        HANKER CAPITAL, LLC



        By:
              W. Scott Dobbins, President




     A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
     document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.


   State of California

   Cou ty of LOb

   On      letri btrif 2A                  before me,                        4S Pt*
           bete                                                                 and Title          Fe Officer
   Personally Appeared                             SOC>e
                                                    Name(s) of Signer(s)

  who proved to me on the basis of satisfitotory evidence to be the personps) whose as             ) r e subscribed
  to the within instrument and acimowledged to me the           she/they executed the same in i ter eir authorized
  capacity(*), and that by        er/their signature(4) on the instrument the person91), or the entity upon behalf of
  which the persorlp) acted, executed the instrument

                                  T. DOUGLAS                          I oertifY under PENALTY OF PERJURY under the
                             Notary        - Work                     laws of the State of California that the foregoing
                               Wahl/01as County                       paragraph is true and correct.
                   441        CosanitcssiOnS 2164270
                            *Caw Expires list 22. 2021                WITNESS my                 fficial seal.

                                                                      Signature
                                                                                          Sign        ofNotary Public




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                                 EXHIBIT "A"

                           PROPERTY DESCRIPTION

 THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS
 ANGELES, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS
 DESCRIBED AS FOLLOWS:

 PARCEL 1:

 LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF
 LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623
 PAGE(S) 81 TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
 RECORDER OF SAID COUNTY.

 EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF
 THE FOLLOWING DESCRIBED LINE

  BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY,
  30 FEET WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07"
 'WEST 2.86 FEET FROM THE MOST NORTHERLY CORNER THEREOF; THENCE
  LEAVING SAID TERMINUS ALONG A CURVE CONCAVE WESTERLY, HAVING A
  RADIUS OF 361.97 FEET AND CONCENTRIC WITH THAT CERTAIN CURVE IN THE
 WESTERLY LINE OF SAID LOT 1 HAVING A RADIUS OF 349,83 FEET; THENCE
 NORTHERLY 22.69 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF
 03° 35! 48" TO THE BEGINNING OF A COMPOUND CURVE, CONCAVE
 SOUTHWESTERLY AND HAVING A RADIUS OF 175.66 FEET; THENCE
 NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL
 ANGLE OF 39° 06' 53"; THENCE NORTH 56° 36' 22" WEST 7.97 FEET TO THE
 BEGINNING OF A CURVE CONCAVE NORTHEASTERLY AND HAVING A RADIUS
 OF 90.80 FEET; THENCE NORTHWESTERLY 71.18 FEET ALONG SAID CURVE
 THROUGH A CENTRAL ANGLE OF 44° 55' 04'; THENCE NORTH 11° 41' 18" WEST
 208.55 FEET TO THE BEGINNING OF A CURVE CONCAVE EASTERLY AND HAVING
 A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET ALONG SAID CURVE
 THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° 51' 16" EAST
 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA ROAD, 40
 FEET WIDE, AS SHOWN ON SAID MAP,

 PARCEL 2:

 THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO, 9745, IN THE CITY OF LOS
 ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP
 RECORDED IN BOOK 141 PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF
 THE COUNTY RECORDER OF SAID COUNTY, LYING NORTHERLY OF THE
 FOLLOWING DESCRIBED LINE:       •


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  BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE
  THEREON SOUTH 13° 13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS
  OF THAT CERTAIN COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS
  HAVING A BEARING AND LENGTH OF NORTH 13° 13' 20" WEST 106.35 FEET;
  THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A POINT IN THE
  WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54,93 FEET
  FROM THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID
  WESTERLY LINE HAVING A LENGTH OF 115.83 FEET.

  APN: 4369426-021




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                                          Hankey Capital
                                          a Cialrarrio Plitorece Leader
                               Deparftiont selestnese Owintliakowa No. 143012

                                     AMENDED AND RESTATED
                                       PROMISSORY NOTE
                                        (VARIABLE RATE)

                       BORROWER'S NAME                                   MATURITY DATE

     CRESTLLOYD, LLe, a California limited liability                       October 31, 2020
     company (the "Borrower")


              $91,000,000.00                Los Angeles, California       December 10, 2019

      On or prior to October 31, 2020 (the "Maturity Date"), for value received, Borrower promises
      to pay to the order of RANKIN CAPITAL, LW, a Califonda limited liability company
      ("Lander'), at its office at 4751 Wilshire Blvd., Suits 110, Los Angeles, California 90019,0_
      at such other place as the holder of this Note may from time to time designate in writing, the '
      principal sum of Ninety-One Million and No/100 Dollars 091,000,000.001 together with
      interest from the date hereof computed on the principal balance hereof from time to time
      outstanding, at the rate of four and three-quarters percent (4.75%) per swum above the Prime
      Rite.

      Prime Rate: The rate of interest published from time to time by The Wall Sheet Journal as
      the "prime rate." In no event shall the interest rate hereunder be less than 11.0%.

      The Internet rate on this Note is subject to change from time to time based on changes in the
      Prime Rate (the "Index"). The Index is not necessarily the lowest rate charged by Lender on
      its loans. If the Index becomes unavailable during the term of this loan, Lender may
      designate * subeduste Index after notice to Borrower. Lender will disclose to Borrower the
     entreat Index rate upon Borrower's request. Borrower acknowledges that Lender may make
     loam based on other rates are well. The Index currently is 4.75% per annum. Borrower
     hereby waives the right to receive notice of any Arturo change(s) in the Index rate. Whenever
     inanities occur in the interest rate, Lender, at its *ion, may do one or more of the
     f011owinv (a) Increase Borrower's payments to emus that the Loan will pay off by its
     original final maturity date, (b) Increase Borrower's payments to cover accruing interest, (o)
     Increase the ntunber of peynxents, and (d) continue the payments end increase Borrower's
     final payment.
                                                             •
     Commencing on the first Sill calendar month following the date of the bidet disbursement,
     and continuing on the first day death subsequent calendar month until the Maturity Date,
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        Borrower shall make monthly payments of interest-only in arrears on the disbursed and
        unpaid principal balance of this Note. Interest payment shall be initially paid from a reserve
        account, maintained by the Lender, in the amount of $4,500,000.00 (the "Reserve").
        Borrower shall make timely payments of interest upon depletion of the Reserve, Interest
        shall be computed daily based upon a throe hundred sixty (360) day year for the actual
        number of day. elapsed. Should interest not be paid when due, it shalt become part of the
        principal and thereafter bear interest as herein provided.

        On or prior to the Maturity Date, should delimit be made in the payment of principal or
        interest when due or in the performance or observance when due of any term, covenant or
        condition of any deed of trust, security agreement or other agreement (including amendments
        and extensions thereof) securing or pertainingto this Note, then, at the option of the holder
        hereof and without notice or demand, the entire balance of principal and accrued interest then
        remaining unpaid shall become immediately due and payable and thereafter beer interest,
        until paid in NI, at the increased ate of five percent (S%) per annum over and above the
       interest rate contracted for heels. Should Borrower ail to pay all outstanding principal and
       accrued interest on or prior to the Maturity Date, then, without notice or demand, the entire
       balance of principal and scorned Interest then remaining unpaid shall thereafter bear interest,
       until paid in &Ile at the increased rate of five percent (5%) per annum over and above the
       interest rate contracted for herein. Borrower acknowledges and agrees that during the time
       that any payment of principal, interest or other amounts due under this Note is delinquent,
       whether behre or after the Maturity Date, the bolder will incur additional costs and expenses
       attribute'e to its loss of use of the money due and to the adverse impact on the holder's
       ability to avail itself of other opportunities. Borrower acknowledges and agrees that it is
       extremely difficult and impractical to ascertain the extent of such costs and expenses and that
      proof of actual damages would be costly or inconvenient. Borrower therefore agrees that
      interest at the increased ate alive percent (5%) per annum over and above the interest rate
      contracted for in this Note represents a reasonable sum considering all the oircumstanoes
      existing on the date of this Note and represents a Air and reasonable estimate of such costs
      and expenses. No delay or omission o► the pert of the bolder hereof in exercising any right
      hereunder, or under any deed of trust, security agreement or other agreement shall operate as
      a waiver of such right or of may other right under this Note or under say such deed of trust,
      security agreement or other agreement.

       Except with respect to the final monthly payment hereunder end following the Maturity Date,
      if any payment of principal or Interest under this Note shall not be made within five (3)
      calendar days of the date due, a late charge of five percent (5%) of the overdue amount may
      be chanted by the bolder for the purpose of defraying the expenses incident to haadling such
      delinquent payments. Harrower acknowledges and agrees that it is extremely diffladt and
      impractical to ascertain the extent of such expenses and that proof of actual daraages would
      be costly or income:Watt Borrower thieekre agrees that such late charge represents a
      reasonable sum considering all of the obetunatimoes existing on the date of this Note and
      repreeents a lair and reasonable estimate of the costs that will be sustained by the bolder due
      to the Attire of Borrower to make timely payments. Such late charge shall be paid without
      prejudice to the right of the holder to collect any other amounts provided to be paid or to
      declare a delimit under this Note or under the Deed anus! referred to in this Note or from
      exercising any of the other rights and remedies of the holder, including, without limitation,
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        the right to declare the entire balance of the principal and accrued interest then remaining
        unpaid immediately due and payable.

       In no event shall interest accrue or be payable hereon or under any such deed of trust, security
       agreement or other agreement in excess of the nuutimum amount of interest permitted on the
       date hereof by the laws of the State of California. If this Note is not paid when due, whether
       at its specified or accelerated maturity date, Borrower promises to pay all costs of collection
       and enforcement of this Note, including, but not limited to, reasonable attorneys' fees and
       costs, incurred by the bolder hereof on account of such collection or enforcement whether or
       not suit is filed hereon.

        Principal and interest shall be payable in lawild money of the United States without setoffs
       demand or counterclaim. Borrower waives the defense of the statute of limitations in any
       action on this Note. Presentment notice of dishonor, and protest are waived by all makers,
       sureties, guarantors and endorsers of this Note. Such parties expressly consent to any
       extension of the time of payment hereof or any installment hereof; to any renewal, and to the
       release of any or all of the security given for the payment of Ibis Note or the release of any
       party liable for this obligation. This Note shall be governed and construed in accordance with
       the laws of the State of California.

       Borrower may prepay this Note in whole or in part, at any time. In the event this Note is paid
       in Its entirety on or prior to April 30, 2020, a prepayment penalty equal to one percent (1.0%)
       of the then-outstanding principal balance shall be payable hereunder. No partial prepayment
       shall affect the obligation of Borrower to pay the next subsequent regular installment payable
       hereunder until the entire balance of principal and interest shall have been paid in fiat This
       Nose replaces and supersedes, ha its entirety, that certain Proraissory Note, executed by
       Borrower in fiver of Lender on October 25, 2018, in the principal amount of $82,300,000.00.
       A loan the in the amount of Eighty-Five Thousand and No/100 Dollars ($115,000.00) shall be
       payable to Lender in connection with this Note.

      IN WITNESS WHEREOF, the undersigned has executed this Note as of the date fiat written
      above.

      BORROWER:

      CRESTLLOYD, LLC,
      a California limited 'labia

      BY:
            Nile N


                                                     3
                     This loan is made pursuant to California Finance Lender's Law,
             •    Division 9 (commencing with Section 22000) of the Finitude] Code.
            For bifbrmetion contact the Department of Business Oversiglt, State of California.
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         EXHIBIT AA
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                                      FIRST MODIFICATION
                                                  OF

                             ingilEICTIQUEMAAGRZLIMIT

       This First Modifioadon to Construction Loan Agreement (the "Modification") is entered
       into on this 10"' day of December 2019 by and between Hankey Capital, LLC, a
       California limited liability company ("Lender"), on the one hand, and CRESTLLOYD,
       LLC, a California limited liability company (referred to herein as "Borrower), on the
       other hand, Dar the purpose of setting tbrth the terms of the parties' agreement with
       respect to a certain secured Promissory Note (the "Original Note'), originally executed
       by Borrower, in favor of Lender, on or about October 25, 2018, and that certain
       Conetruotion Loan Agreement dated October 25, 2018 (the "Loan Agreement").

                                           • RECITALS

      WHEREAS, under the terms of the Original Note, the Loan Agreement and other related
      documents, Borrower borrowed from Lender the amount of $82,500,000.00; and
      WHEREAS, Borrower has requested a $8,500,000.00 berme in the amount of the said
      loan;

      WHEREAS, Lender has agreed to such increase subject to, inter alto, certain changer, to
      the Loan Agreement, as set kith below.
                                           AGREEMENT

      NOW, THEREFORE, for good and valuable considetudon, the sufficiency and receipt of
      which are hereby acknowledged, the porde, hag agreed as ibllows:
      Contensponmeous with the execution of this Modification, Borrower shall execute an
      Amended and Restated Promissory Nate and other documents in Lender's sole discretion,
      of even date herevvith, which Amended and Restated Promissory Note shall replace the
      Original Note.

      Loan Agreement Section 1.1 the definition of"Loan" shall be deleted in its !minty and
      replaced with the tbllowing:
                   "Loan" means theprincipal solo that Lender apses to lend and
                   BOTPOWir agrees to borrowpoem* to tho tsmw.r and condltions
                   ofthb Agreement NINETY-OW MILLIONAND NO/100171S
                   DOLLARS (S91,000,00A00).
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        Loan Agreement Section 1.1 the definition of "Note" shall be deleted in its entirety and
        replaced with the Mowing:
                      "Note" means that certain Amended and Restated Promissory
                      Note, datedDecember 10, 2019, In the MenaiprincOal amount
                      ofthe Loan, executed by Borrower andpayable to the order
                      ofLender, as hereafter amended supplemented, replaced or
                      modified

       The Loan Agreement shall be Anther modified with the addition of a new Section 2.8 as
       Mows:

       2.8. Lender Additional Profit Participation. Ig at any time, during the term of the Loan
       or following repayment of the Loan, the Property is sold for a purchase price in excess of
       $100,000,000, Lender shall be entitled to an Additional Lender Profit Participation
       Payment in the amount which shall be equal to the lesser of (a) five percent (5%) of the
       gross sales price for the Property in excess of $100,000,000, or (b) Five Million and
       No1100 Dollars ($5,000,000.00). The Additional Lender Profit Participation Payment
      shall be collected at the close of the sale of the Property. Contemporaneous with this
      Modification, Borrower and Linda shall enter into a Profit Participation Agreement
      memorializing the parties' agreement with respect to the Additional Lender Profit
      Participation Payment, and Lender shall record a Memorandum of Agreement in the
      Official Records of the County Recorder of Los Angeles County, California, evidencing
      the existence of the said Profit Participation Agreement.
      The Loan Agreement shall be hair modified with the addition of a new Section 2.9 as


      2.9 Funds Control. Until such time as the Loan has been paid in AA Borrower shall
      allow Lender's finds control agent weekly acmes to the Property so as to WOW the
      processing of Loan advances.

      The Loan Agreement shall be Anther modified with the addition of a new Section 2.10 as
      follows:

     2.10 Post-Construction Interest Accrual. Notwithstanding anything to the contrary set
     forth in the Amended and Restated Promissory Note, executed by Borrower in aver of
     Lender as of the date hereof, opal the occurrence of each of the fblioviing, which shall be
     determined by Lender in its sole sod absolute discretion, intend on the Amended and
     Replotted Promissory Note shall no longer be payable monthly, but rather, shall accrue
     and become payable, together with all outstanding principal thereunder, upon the earlier
     of (a) the payoff of all indebtednees evidenced by the Amended and Restated Promissory
     Note, or (b) the Maturity Date set forth in the Amended and Restated Promissory Note, or
     (c) the accelerated Maturity Date, upon the occurrence of an Event of Default, as set forth
     in the Amended and Restated Promissory Note, the Deed of Taut securing said Amended
     Promissory Nose, or any other documents evidencing the Loan:


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              (i)    Any and all nuniture, flunishings and other personal property necessary to
       market the Property for sale has been properly placed and installed at the Property;

              (ii)    Lender has filed a UCC Financing Statement on all such personal
       property, as additional security for the Loan;
              (iii) All grading at the Property has been completed and approved by the City
       of Los Angeles;

              (iv) Borrower has arranged for an appropriate global marketing effort to
       market the Property, which Lender bas approved in its sole and absolute discretion;

               (v)    Any and all applicable permits, with the sole exception of permanent
       electrical power to be provided by the Los Angeles Department of Water and Power
       (LADWP), have been received in order for the Property to obtain a Certificate of
       Occupancy.


      Bach and every term of the Construction Loan Agreement, not otherwise amended by the
      inset* Amendment, shall remain in NS force and effect until the complete satisfaction of
      Borrower's obligations set forth in the Construction Loan Agreement and in all related
      loan documents.
                                [SIGNATURE PAGE TO FOLLOW]




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       IN WITNESS WHEREOF, the parties have executed this Modification as of the date first
       above written.
       BORROWER:
      CRESTLLOYD, LLC,
      a California limited liability company
                                  .....•••....




      B:




      LENDER:

      HAMMY CAPITAL, LLC.
      a California limited liability company



      By:
            W. Scott Dobbins, President




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      Premed by and upon recordation
      please return► to:
      HANKEY CAPITAL, LLC
      Attention: Eugene Leydiker
      4751 Wilshire Blvd., Suite 110
      Los Angeles, CA 90010 '


                                MODIFICATION OF DUD OF TRUST

                      THIS MODIFICATION OF DEED OF TRUST (this "Modification"), is made as
     of the 10th day of December, 2019 by CRBSTLLOYD, LLC, a California limited nobility
     company (the "Truster") in fiwor of HANKEY CAPITAL, LLC, a California limited liability
     company ("Linder"), with reference to that certain Deed of Trust, Security Agreement and
     Fixture Filing With Assignment of Rents ruede as of October 25, 2018 by Tzustor in favor of the
     Landir as Beneficiary securing Timator's °bard**, as described therein, recorded November 6,
     2018 in the Official Records of the County Recorder of Los Angeles County, California as
     Instrument Number 20181122917 (the "Deed of Trust"). Said Deed of Trust 'nowhere, among
     other things, all of those certain lots, pieces or parcels of land described in aidals, annexed
     Mato and made a part hereof; together with the buildings and improvements erected thereon.
      •            WHEREAS, by this Modification, Truster and Lender are modifying the terms of
    the Deed of llust. Capitalised tons used but not defined herein have the meanings given to
    theca in the Deed of Trust.
                   NOW, THEREFORE, for good and valuable consideration, the receipt sod
    sufficiency of which is hereby acknowledged, Lender and Truster agree as !blows:
     1.      The Deed of That is granted by Trusser for the purpose of wing, in mob order of
     priority as                 elect, (1) payment of en indebtedness in the sum of NinetrOne
              and 001100Dollars ($91,000,000.00), evidenced by that certain Amended and Roasted
    Promissory Note of even date herewith executed by Truster to the order of Beneficiary and any
    and all modifications, extortions or renewals thereof (the "Prendesory Note"), whether
    hereafter evidenced by said Promising Note or otherwise; (2) payment of interest on said
    indebtedness according to the terms of said1Promiseory Not.; (3) payment doll other vans, with
    intend as herein provided, becoming due or payable under the provisions hereof to Trustee or
    Beneficiary; (4) due, prompt and complete observance, performance and discharge of each and
    every condition, obligation, covenant and agreement contained herein, at in said note, or in any
    loan agreement relative to any indebtedness evidenced by said Promissory Note or in any
    document or in           evidencing, scouring at pertaining to the indebtedness evidenced by said
    Promissory Note, and all modifications, renewals or totemic= of any of the foregoing; and (5)
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     payment of such additional sums with interest thereon as may be hereafter borrowed from
     Beneficiary, its successors or assigns by Truster or the then record owner or owners of the Trust
     Estate when evidenced by another promissory note or notes or guaranty instrument(s), which are
     by the terms thereof secured by this Deed of Trust.
     2.     The Deed of Trust is hereby Author modified with the addition of a new paragraph
     4.00(g) as follows:
                             (g)      If, without Lender's prior written consent, which may be
                       withheld by Lender in its sole and absolute discretion, (i) any lien is
                       recorded in the County of Los Angeles, State of California, affecting the
                       Property, or (11) any alistlog lien Abating the Property is modified so as
                       to evidence an increase in the Trustor's obligation to such lienholder.
    3.       This Modification may be executed in one or more counterparts, each of which shall be
          deemed an original, but all of which taken together shall conadtute one and the same
          agreement.

    4.      Except as expressly amended by this Modification, the terms and provisions of the Deed
    of Trust are unchanged and hereby ratified and affirmed.


            IN WITNESS WHEREOF, Murtor has caused this Modification to be duly executed as
    of the day and year above first written.
    TRUSTOR:

    CRESTLLOYD. U..C,
    a °Mirada limited liability company



    BY:
          Nile N
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       A notary public or other officer completing this certificate verifies only the identity of
       the individual who signed the document to which this certificate is attached, and not the
       truthfillntes, accuracy, or validity of that document.


     State of California

     County of   Los 4-0c-oLCI
     Oa                             befbre                                             a Notary Public,
     personal app                                               who proved to me on the basis of
     satishotory evidence to be the person(s) whose name(s) • is/are subscribed to the within
     instrument and acknowledged to me that he/she/they executed the same in his/her/their
     authorized capsoity(ies), and that by his/her/their signatunt(s) on the instrument the person(s), or
     the entity upon behalf of which the person(*) acted, executed the instrument.
    I certify Rader PENALTY OF MAIM under the laws of the State of California that the
    brawls' paragraph Is true cad correct.

    WITNESS                   official Ka

    Signs                                                               (Seal)



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                                                                          Nom POP - cowl'
                                                                                inas away
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     IN WITNESS WHEREOF, Lender has caused this Modification to be duly executed as of the
     day and year above first written'.

     HANKEY CAPITAL, LLC,
     a California limited liability company



     By:
           W. Scott Dobbins, President
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       A notary public or other officer completing this certificate verifies only the identity of
       the individual who signed the document to which this certificate is attached, and not the
       truththIness, accuracy, or validity of that document.


     State of Collihrnis

     County of 1.04

     On                      V before me,         T.            4S                  a Notary Public,
     personalty appeared                                    , bo proved to me on the basis of
     satishetory evidence to be the                whose oath*, Stare subscribed to the within
     instrument and acknowledged to me                sholtbey executed the same is cj, /their
     authorized sapacityatia), and that byether       signaturef") on the instrument the 7'-, i 1 • or
     the entity upon behalf of which the persorp) acted, executed the instrument,

     I certify ander PENALTY OF PERJURY under the laws of the State of California that the
     foregoing parapuph Is tree and corm

     wrrNass my hand and official seal.

     Signature                                                         (Seal)




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                                     EXHIBIT A
                                   Legal Description

     THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS
     ANGELES, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS
     DESCRIBED AS FOLLOWS:

     PARCEL 1:

     LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF
     LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623
     PAGES) 81 TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
     RECORDER OF SAID COUNTY.

     EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING. WESTERLY OF THE
     FOLLOWING DESCRIBED LINE:
     BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30
     FEET WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" WEST
     2.86 FEET FROM THE MOST NORTHERLY CORNER THEREOF; THENCE LEAVING
     SAID TERMINUS ALONG A CURVE CONCAVE WESTERLY, HAVING A RADIUS OF
     361.97 FEET AND CONCENTRIC WITH THAT CERTAIN CURVE IN THE WESTERLY
    LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 MET; THENCE NORTHERLY 22.69
    FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE
    BEGINNING OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING
    A RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID
    CURVE THROUGH A CENTRAL ANGLE OF 39° 06' 53"; THENCE NORTH 36° 36' 22"
    WEST 7.97 FEET TO THB BEGINNING OF A CURVE CONCAVE NORTHEASTERLY
    AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY 71.18 FEET
    ALONG SAID CURVE THROUGH A CENTRAL ANGLE OP 44° ST 04"; THENCE NORTH
    11° 41' 18" WEST 20855 FEET TO THE BEGINNING OF A CURVE CONCAVE
    EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44
    FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE
    NORTH 44° 5196" BAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OP
    STRADELLA ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.

    PARCEL 2:
    THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS
    ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP
    RECORDED IN BOOK 141 PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF
    THE COUNTY RECORDER OP SAID COUNTY, LYING NORTHERLY OF THE
    FOLLOWING DESCRIBED LINE:
    BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE
    THEREON SOUTH 13° 13' 20" BAST 34.33 FEET PROM THE NORTHERLY TERMINUS
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     OF THAT CERTAIN COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS
     HAVING A BEARING AND LENGTH OF NORTH 13° 13' 20" WEST 106.35 FEET;
     THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A POINT IN THE
     WESTERLY LINE OP SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
     THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE
     HAVING A LENGTH OF 115.83 FEET.

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                               PROFIT PARTICIPATION AGREEMENT

               This Profit Participation Agreement (this "Agreement") is made as of December 10,
      2019, between CRESTLLOYD, LLC, a California Limited liability company (the "Borrower")
      and HANKEY CAPITAL, LLC, a California limited liability company (the "Lender") for the
      purpose of memorializing the parties' agreement with respect to that certain real property
      commonly known as, and located at, 944 Airole Way, Los Angeles, California (the "Property").

          WHEREAS, on October 25, 2018, Lender made a loan to the Borrower in the principal
     amount of Eighty-Two Million Five Hundred Thousand and No/100 Dollars ($82,500,000.00),
     which loan was secured by, among other things, a fast-priority deed of trust on the Property (the
     "Loan"); and

          WHEREAS, on October 25, 2018, Lender and Borrower entered into a Profit Participation
     Agreement (the "First Profit Participation Agreement"), whereby, in consideration for the Loan,
     Borrower agreed to allow the Lender to participate in the profit from the ultimate sale of the
     Property; and

          WHEREAS, a Memorandum of Agreement, relating to the First Profit Participation
     Agreement, was recorded in the Official Records of the Los Angeles County Recorder's Office
     on November 6, 2018 as Instrument Number 20181122919; and

         WHEREAS, contemporaneous with the execution of this Agreement, Borrower has
    proposed to modify the' oan by increasing the principal balance thereof to Ninety-One Million
    and No/100 Dollars ($91,000,000.00) (the "Loan Modification"); and

         WHEREAS, Lender has agreed to the Loan Modification subject to the parties' execution of
    this Agreement.

         NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
    which are hereby acknowledged, the parties have agreed as follows:

          1.    LENDER'S RIGHT OF PROFIT PARTICIPATION

           lf, at any time, during the term of the Loan or subsequent to Borrower's repayment of the
    Loan, the Property is sold by the Borrower, or by any affiliate of the Borrower, for a purchase
    price in excess of One Hundred Million and No/100 Dollars ($100,000,000), Lender shall be
    entitled to receive, from the sale proceeds, a Lender Profit Participation Payment in the amount
    equal to the lesser of (a) five percent (5.0%) of the gross sales price for the Property which
    exceeds $100,000,000, or (b) Five Million and No/100 Dollars ($5,000,000.00). Borrower's
    obligation to make the Lender Profit Participation Payment shall be evidenced by a
    Memorandum of Agreement, to be recorded in the Official Records of the County Recorder of
    Los Angeles County, California, The parties Anther acknowledge that this Agreement neither
    replaces nor supersedes, but rather supplements, the First Profit Participation Agreement.
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           2.     GENERAL PROVISIONS

                 (a) This Agreement shall be governed by the laws of the State of California as they
     apply to contracts entered into and wholly to be performed in such state. This Agreement
     represents the entire agreement between the parties with respect to the profit participation by and
     between Lender and Borrower and may only be modified or amended in writing signed by both
     parties.

                 (b) Any notice, demand or request required or permitted to be given by either the
     Lender or the Borrower pursuant to the terms of this Agreement shall be in writing and shall be
     deemed given (i) when delivered personally, (ii) five days after it is deposited in the U.S.
     certified with return receipt requested and with postage prepaid, or (iii) one day after deposit
     (prepaid) with a nationally recognized overnight courier, and addressed to the party being
     notified at his or her address specified on the applicable signature page hereto or such other
     address which the addressee may subsequently notify the other party in writing.

                (c) Lender's failure to enforce any provision or provisions of this Agreement shall not
    in any way be construed as a waiver of any such provision or provisions, nor prevent the Lender
    thereafter from enforcing each and every other provision of this Agreement. The rights granted
    to lender herein are cumulative and shall not constitute a waiver of Lender's right to assert all
    other legal remedies available to it under the circumstances.

                (d) The parties acknowledge that money damages may not be an adequate remedy for
    violations of this Agreement and that the Lender may, in its sole discretion, apply to a court of
    competent jurisdiction for specific performance or injunctive or such other relief as such.court
    may deem just and proper to enforce this Agreement or to prevent any violation hereof and, to
    the extent permitted by applicable law, Borrower waives any objection to the imposition of such
    relief in appropriate circumstances.

                (e) This Agreement may be executed in any number of counterparts, each of which
    shall be deemed an original, but all of which together shall constitute one and the same
    instrument,

               (f) Borrower represents that it has duly authorized, executed and delivered this
    Agreement and that this Agreement is a valid and binding obligation of the Borrower,
    enforceable against the Borrower in accordance with its terms.



                                  [SIGNATURE PAGE TO FOLLOW]
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            IN WITNESS WHEREOF, the parties have executed this Agreement as of the
     first date above written.



     BORROWER:                                       LENDER:

     CRESTLLOYD, LLC,                               FIANKEY CAPITAL, LLC,
     a California limited liability company         a California limited liability company



    By:                                             By:
          Nile         anager                         W. Scott Dobbins, President
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                                             MP.
                                         Hankey Capital
                                        a Wanda Flamm Loula
                              Depart/twit aflaalaras OrmighlLk asaNa 60311812

                                    AMENDED AND RESTATED
                                      PROMISSORY NOTE
                                       (VARIABLE RATE)

                      BORROWER'S NAME                                   MATURITY DATE

    CRESTLLOYD, LLC, a California limited liability                       October 31, 2020
    company (the "Borrower")


             $106,000,000.00               Los Angeles, California        August 20, 2020

     On or prior to October 31, 2020 (the "Maturity Date"), for value received, Borrower promises
     to pay to the order of HANKEY CAPITAL, LLC, a California limited liability company
     ("Lender"), at its office at 4751 Wilshire Blvd., Suite 110, Los Angeles, California 90010, or
     at such other place as the holder of this Note may from time to time designate in writing, the
     principal sum of One Hunched Six Million and No/100 Dollars ($106,000,000.00), together
     with interest from the date hereof computed on the principal balance hereof from time to time
     outstanding, at the rate of four and three-quarters percent (4,75%) per annum above the
     Prime Rate.

     Prime Rate: The ate of interest published hem time to time by The Wall Street Journal as
     the "prime rate." In no event shall the Interest rate hereunder be has than 11.0%.

     The interest rate on this Note is subject to change ftom time to time based on changes in the
     Prime Rate (the "Index"). The Index is not necessarily the lowest rate charged by Lender on
     its loans. If the Index becomes unavailable during the term of this loan, Lender may
    designate a substitute Index after notice to Borrower. Lender will disclose to Borrower the
    current Index rate upon Borrower's request. Borrower acknowledges that Lender may make
    loans based on other rates as well. The Index currently is 3.25% per annum. Borrower
    hereby waives the right to receive notice of any flaunt change(s) in the Index rate. Whenever
    increases occur in the interest rate, Lender, at its option, may do one or more of the
    following: (a) Increase Borrower's payments to ensure that the Loan will pay off by its
    original final maturity date, (b) Increase Borrower's payments to cover accruing interest, (c)
    Increase the number of payments, and (d) continue the payments and increase Borrower's
    final payment.
    Commencing on the first Hill calendar month following the date of the initial disbursement,
    and continuing on the first day of each subsequent calendar month until the Maturity Date,
    Borrower shall make monthly payments of interest-only in arrears on the disbursed and
    unpaid principal balance of this Note. Interest payment shall be initially paid from a reserve


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      account, maintained by the Lender, in the amount of S5,700,000.00 (the "Reserve").
    • Borrower shall make timely payments of interest upon depletion of the Reserve. Interest
      shall be computed daily based upon a three hundred sixty (360) day year for the actual
      number of days elapsed. Should interest not be paid when due, it shall become part of the
      principal and thereafter bear interest as herein provided.
       On or prior to the Maturity Date, should default be made in the payment of principal or
       interest when due or in the performance or observance when due of any term, covenant or
       condition of any dead.of trust, security weenie= or other agreement (including amendments •
      and extensions thereet) securing or pertaining td this Note; thin, at the option of the bolder
       hereof and without notice or demand, the entire balance of principal and accrued interest then
       remairdng unpaid shall become immediately due and payable and thereafter bear interest, •
      until paid in fill, at the increased rate of five percent (5%) per win= over and above the
      interest rate contracted for herein. Should Borrower fitii to pay all outstanding principal and
      accrued interest on or prior to the Maturity Date, then, without notice or demand, the entire .
      balance of principal and accrued interest then remaining unpaid shall thereafter bear interest,
      until paid in fidl, at the increased rate of five percent (5%) per annum over and above the
      interest rate contracted for herein. Borrower acknowledges and agrees that during the time •‘;
   • that any payment of principal, interest or other amounts due Lai* this Note is delinquent,
     whether before or after the Maturity Date, the holder will incur additional costs and expenses
     attributable to its loss of use of the money due and to the adverse impact on the holder's
     ability to avail itself of other opportunities. Bonower acknowledges and agrees that it is
     extremely difficult and impractical to ascertain the went of such costs and expenses and that
     proof of actual damages would be costly or inconvenient. Borrower therefore agrees that
     interest at the increased rate of five percent (5%) per annum over and above the interest rate
     contracted for in this Note represents a ressoneble sum considering all the circumstantial
     Wadi* on the date of this Note and represents a fair and reasonable estimate of such costs
     and expenses, No delay or omission on the part of the holder/media exercising any right !.
     hereunder, or under any deed of trust, security agreement or other agreement shall operate as
     a waiver of such right or of any other right under this Note or under any such deed of trust,
    security agreement or other agreement.
      Except with respect to the final monthly payment hereunder and following the Maturity Date,
      if any payment ofprincipal or intend under this Note shall not be made within five (5)
      calendar days of the date due, elate charge of five percent (5%) of the overdue amount may
      be charged by the holder for the purpose of defraying the expenses incident to handling such
     delinquent payments. Borrower acknowledges end agrees that it is extremely difficult and ,
     impractical to ascertain the extent of such expenses and that proof of actual damages would
     be costly or inconvenient. Borrower therefore agrees that such late charge represents a
     reasonable sum considering all of the circumstances sedating on the**. of this Note and          •
     represents a fair and reasonable estimate of the costs that will be sustained by the holder due
     to the Ware of Borrower to make timely payments. Such late chars* shall be paid without
     prejudice to the right of the holder to collect any other amounts provided to be paid or to
     declare a default under this Note or under the Deed of Trust referred to in this Note or from
   . exercising any of the other rights and remedies of the holder, including, without limitation,
     the right to declare the entire balance of the principal and accrued interest then remaining
    'unpaid immediately due and payable.                                                            •
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     In no event shall interest accrue or be payable hereon or under any such deed of trust,
     security agreement or other agreement in excess of the maximum amount of interest
     permitted on the date hereof by the laws of the State of California. If this Note is not paid
     when due, whether at its specified or accelerated maturity date, Borrower promises to pay all
     costs of collection and enforcement of this Note, including, but not limited to, reasonable
     attorneys' fees and costs, incurred by the holder hereof on account of such collection or
     enforcement, whether or not suit is filed hereon.

      Principal and interest shall be payable in lawlid money of the United States without setoff,
     demand or counterclaim. Borrower waives the defense of the statute of limitations in any
     action on this Note. Presentment, notice of dishonor, and protest are waived by all makers,
     sureties, guarantors and endorsers of this Note. Such parties expressly consent to any
     extension of the time of payment hereof or any installment hereof, to any renewal, and to the
     release of any or all of the security given for the payment of this Note or the release of any
     party liable for this obligation. This Note shall be governed and construed in accordance
     with the laws of the State of California.

    Borrower may prepay this Note in whole or in part, at any time, without penalty. No partial
    prepayment shall affect the obligation of Borrower to pay the next subsequent regular
    installment payable hereunder until the entire Wove of principal and interest shall have
    been paid in la This Note replaces and supersedes, in its entirety, that certain Amended
    and Restated Promissory Note, executed by Borrower in fiwor of Lender on December 10,
    2019, in the principal amount of S91,000,000.00.

    A loan fee in the amount of One Million and No/100 Dollars ($1,000,000.00) shall be
    payable to Lender in connection with this Note. Said fee shall be paid from proceeds of the
    Loan upon execution hereof.

    IN WITNESS WHEREOF, the undersigned has executed this Note as of the date first written
    above.

    BORROWER:

    CRESTLLOYD, LLC,
    a California limited liability conwany


    BY:
          NIWNiaroi,




                                                3
                  This loan is made pursuant to California Finance Lender's Law,
                Division 9 (commencing with Section 22000) of the Financial Code.
          For information contact the Department of Business Oversight, State of California.
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                                   SECOND MODIFICATION

                                                OF.

                            CONSTRUCTION LOAN AGREEMENT


      This Second Modification to Construction Loan Agreement (the "Modification") is
      entered into on this 20th day of August 2020 by and between Hankey Capital, LLC, a
      California limited liability company ("Lender"), on the one hand, and CRESTLLOYD,
      LLC, a California limited liability company (referred to herein as "Borrower"), on the
     other hand, for the purpose of setting forth the terms of the parties' agreement with
     respect to a certain secured Promissory Note (the "Original Note"), originally executed
     by Borrower, in favor of Lender, on or about October 25, 2018, as amended and restated
     by that certain Amended and Restated Promissory Note dated December 10, 2019, and
     that certain Construction Loan Agreement dated October 25, 2018, as modified by that
     certain First Modification of Construction Loan Agreement dated December 10, 2019
     (the "Loan Agreement").

                                           RECITALS

     WHEREAS, under the terms of the Original Note, the Loan Agreement and other related
     documents, Borrower borrowed from Lender the amount of $82,500,000.00; and
    WHEREAS, under the.terms of the Amended and Restated Promissory Note dated
    December 10, 2019, executed by Borrow* in Amor of Lender, and the First Modification
    of Construction Loan Agreement dated December 10, 2019, executed by Borrower and
    Lender, the Loan was increased to $91,000,000.00; and

    WHEREAS, Borrower has requested another $15,000,000.00 increase in the amount of
    the Loan;

    WHEREAS, Lender has agreed to such lacunae subject to, inter Ma, certain changes to
    the Loan Agreement, as set forth below.
                                         AGREEMENT

    NOW, THERI3F'ORE, for good and valuable consideration, the sufficiency and receipt of
    which are hereby acknowledged, the parties have agreed as follows:

    Contemporaneous with the execution of this Modification, Borrower shall execute an
    Amended and Restated Promissory Note and other documents in Lender's sole discretion,
    of even date herewith, which Amended and Restated Promissory Note shall replace the
    Amended and Restated Note executed by Borrower in ihvor of Lender on December 10,
    2019.
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      Loan Agreement Section 1.1 — the definition of "Loan" shall be deleted in its entirety and
      replaced with the following:

                    "Loan" means the principal sum that Lender agrees to lend and
                    Borrower agrees to borrow pursuant to the terms and conditions
                    ofthis Agreement ONE HUNDRED SIX.AHLL1ON AND NO/100THS
                    DOLLARS ($106,000,000.00).


     Loan Agreement Section 1.1 — the definition of "Note" shall be deleted in its entirety and
     replaced with the following:

                    "Note" means that certain Amended and Restated Promissory
                    Note, dated May 20, 2020, in the principal amount
                    of the Loan, executed by Borrower and payable to the order
                    ofLender, as hereafter amended supplemented replaced or
                    modified

     Loan Agreement Section 2.8 — the Loan Agreement shall provide for a new Section 2.8
     as follows:

                    2.8 Satisfaction ofDebt, In addition to the Property, Borrower's
            obligations are separately secured by liens on (a) that certain parcel of real
           property located at 301 Copa de Oro Rd., Los Angeles, California 9007Z and (b)
            that certain parcel of realproperty located at 9066 Saint Ms Dr., Los Angeles,
           California 90069 (collectively, the "Additional Properties") in!aim. ofLender.
           Lender shall not have the right toforeclose on either or bothof the Additional
           Properties until such time as Lender hasforeclosed upon the Propero; the
           Property has been sold (Whether at trustee's sale or by Lender thereafter), and
           the sale ofthe Property has resulted in a deficiency in the amount owed to
           Lander. Frio sucludeficiency results upon the sale of the Property, Lender shall,
           promptly, following the sale ofthe Property, rawly*, its interest in the
           Additional Properties.

    Loan Agreement Section 4.9 is hereby deleted in its entirety and replaced with the
    following:

             , AA Liens and Stop Notices fa claim ellen is recorded which affects the
          Property or Improvements or a bondedstop notice is served upon Lender, within
          thirty (SO) calendar daps after such recording or service or within thirty (30)
          calendar days after Lender's demand whichever occursfirst, Borrower, at
          Borrower's election shall* one ofthefollowing: (a) pay and discharge the
          claim (ellen or bonded stop notice; (b) eat the release thereof by recording or
          delivering to Lender a surto, bond in sufficientform and amount; or (c) provide
          Lender with other assurances which Lender deems, in its sole discretion to be
          staisfactoryfirr the payment cinch claim qflien or bondedstop notice andfor


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             thefill and continuous protection qf Lender*from the effect ofsuch lien or bonded
             stop notice.


      Loan Agreement Section 11.1(d) is hereby deleted in its entirety and replaced with the
      following:
                      OD Liens, Attachment, Condemnation (I) The recording ofany claim of
              lien against the Property or Improvements or the service on Lender of any bonded
             stop notice relating to the Loan and the continuance ofsuch claim oflien or
              bonded stop noticefor thirty (30) days without discharge, satisfaction or
            provisionfor payment being made by Borrower in a manner satisfactory to
             Lender, subject to the provisions ofSection 4.9 hem* or (II) the condemnation,
             seizure or appropriation of, or occurrence ofan uninsured casualty with respect
             to any material portion ofthe Property or Improvements that is not otherwise
             qffset by Botrower's deposit ofsecient restorationfunds (including any
            applicable deductible amount under any applicable policy of casualty insurance)
             into the Borrower's Funds Account withinfortyjive (45) days after the
            occurrence ofsuch event; or (iii) the sequestration or attachment of, or any levy
            or execution upon any of the Property or Improvements, any other collateral
            provided by Borrower under any of the Loan Documents, any monies in the
            Account or In the Borrower's Funds Account, or any substantial portion ofthe
            other assets qfBorrower, which sequestration, attachment levy or execution is
            not released expunged or dismissedprior to the earlier offorolive (45) days or
            the sale of the assets affected thereby;


    Loan Agreement Section 11.9 the Loan Agreement shall provide for a new Section 11.9
    as follows:
                   11.9 Notice of Default. Notwithstanding any provision to the contrary set
           forth in the Loan Document% Lender shallprovide no less than ten (10) calendar
            days' prior notice, by electronic mall, of its intent to record a Notice ofDefault
            with the Office tithe County Recorder ofLos Angeles County, California, to the
           following notice recipients:

                                  niletaskvlinedevelopmeninet
                                  yvonneenphilanthropy.com
                                 dougOskylinedevelopmeninet
                                 mrosenbausewrslawysrs.com

    Each and every term of the Construction Loan Agreement, not otherwise amended by the
    instant Amendment, shall remain in Adl force and effect until the complete satisfaction of
    Borrower's obligations set forth in the Construction Loan Agreement and in all related
    loan documents.



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     IN WITNESS WHEREOF, the parties have executed this Modification as of the date first
     above written.

     BORROWER:

     CRESTLLOYD, LLC,
     a California limited liability



     By:
           it   aini,




    LENDER:

    HANKEY CAPITAL, LLC.
    a California limited liability company



    By:
       W. Scott Dobbins, President




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           EXHIBIT FF
           Case 2:22-ap-01125-DS                                    Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                             Desc
                                                                   Main Document    Page 421 of 512




                               Prepared by and upon recordation
                               please return to:
                               HANKEY CAPITAL, LLC
                               Attention: Eugene Leydiker
                               4751 Wilshire Blvd., Suite 110
                               Los Angeles, CA 90010


                                                                  MODIFICATION OF DEED OF TRUST

                                             THIS MODIFICATION OF DEED OF TRUST (this "Modification"), is made as
                             of the 201h day of August, 2020 by CRESTLLOYD, LLC, a California limited liability company
                            (the "Truster") in favor of HANKEY CAPITAL, LLC, a California limited liability company
                            ("Lender"), with reference to that certain Deed of Trust, Security Agreement and Fixture Filing
                            With Assignment of Rents made as of October 25, 2018 by Truster in favor of the Lender as
                            Beneficiary securing Trustor's obligations as described therein, recorded November 6, 2018 in
                            the Official Records of the County Recorder of Los Angeles County, California as Instrument
                            Number 20181122917 (the "Deed of Trust"). Said Deed of Trust encumbers, among other
                            things, all of those certain lots, pieces or parcels of land described in gathibitA annexed hereto
                            and made a part hereof, together with the buildings and improvements erected thereon.
                                          WHEREAS, by this Modification, Truster and Lender are modifying the terms of
                            the Deed of Trust. Capitalized terms used but not defined herein have the meanings given to
                            them in the Deed of Trust.
                                          NOW, THEREFORE, for good and valuable consideration, the receipt and
                           sufficiency of which is hereby acknowledged, Lender and Trustor agree as follows:
                           1.      The Deed of Trust is granted by Truster for the purpose of securing, in such order of
                           priority as Beneficiary may elect, (I) payment of an indebtedness in the sum of One Hundred Six
                          Million and 00/100 Dollars ($106,000,000.00), evidenced by that certain Amended and Restated
                          Promissory Note of even date herewith executed by Truster to the order of Beneficiary and any
                          and all modifications, extensions or renewals thereof (the "Promissory Note"), whether
                          hereafter evidenced by said Promissory Note or, otherwise; (2) payment of interest on said
                          indebtedness according to the tams of said Promissory Note; (3) payment of all other sums, with
                          interest as herein provided, becoming due or payable under the provisions hereof to Trustee or
                          Beneficiary; (4) due, prompt and complete observance, performance and discharge of each and
                          every condition, obligation, covenant and agreement contained herein, or in said note, or in any
                          loan agreement relative to any indebtedness evidenced by said Promissory Note or in any
                          document or instrument evidencing, securing or pertaining to the indebtedness evidenced by said
                          Promissory Note, and all modifications, renewals or extensions of any of the foregoing; and (5)




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           Case 2:22-ap-01125-DS                Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                                         Desc
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                   payment of such additional sums with interest thereon as may be hereafter borrowed from
                   Beneficiary, Its successors or assigns by Truster or the then record owner or owners of the Trust
                   Estate when evidenced by another promissory note or notes or guaranty instniment(s), which are
                   by the terms thereof secured by this Deed of Trust.
                  2.     The Deed of Trust is hereby fkirther modified with the addition of a now paragraph
                  4.00(g) as follows:
                                         (g)     If, without Lender's prior written consent, which may be
                                   withheld by Lender in its sole and absolute discretion, (i) any lien is
                                   recorded in the County of Los Angeles, State of California, affecting the
                                   Property, or (ii) any existing lien affecting the Property is modified so as
                                   to evidence an increase in the Trustor's obligation to such lienholder.
                  3.       This Modification may be executed in one or more counterparts, each of which shall be
                       deemed an original, but all of which taken together shall constitute one and the same
                       agreement.
                  4.      Except as expressly amended by this Modification, the terms and provisions of the Deed
                  of Trust are unchanged and hereby ratified and affirmed.


                         IN WITNESS WHEREOF, Truster has caused this Modification to be duly executed as
                 of the day and year above first written,
                 TRUSTOR;
                 CRESTLLOYD, LLC,
                 a California limited liability company




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                  A notary public or other officer completing this certificate verifies only the identity of
                  the individual who signed the document to which this certificate is attached, and not the
                  truthfulness, accuracy, or validity of that document.


                State of California

                County of 4-DS efijcOle.g)"

                On 4414.1:Ea tebeke                    me, All ifi‘o         4415'                a Notary Public,
                personal appeared           0      id...4st              , who proved to me on the basis of
                satisfactory evidence to be the person(s) whose name(s) Is/are subscribed to the within
                instrument and acknowledged to me that he/she/they executed the same in his/her/their
                authorized capaoity(ies), and that by his/her/their signature(s) on the instrument the person(s), or
                the entity upon behalf of which the person(s) acted, executed the instrument.

                I certify ander PENALTY OF PERJURY under the laws of the State of California that the
                foregoing paragraph is true and correct.

                WITNESS my hand and official seal.


                Signature                                                            (Seal)


                                                                                   Well NMS
                                                                              Notary Public • OsDkortis
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                  IN WITNESS WHEREOF, Lender has unused this Modification to be duly executed as of the
                  day and year above first written.

                  HANKEY CAPITAL, LLC,
                  a California limited liability company



                  By:
                        W. Scott Dobbins, President




Order: 124425                                              Pep 5 of 5        Requested By: mlirechavez, Printed: 10/16/2020 3:35 PM
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          Case 2:22-ap-01125-DS                Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                                      Desc
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                   A notary public or other officer completing this certificate verities only the identity of
                   the individual who signed the document to which this certificate is attached, and not the
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                 State of California

                 County of t^0,

                 On                   ' a before me             T          OS                     a Notary Public,
                 persona appeared                                  4             proved to me on the basis of
                 satisfactory evidence to be the person(t) whose namei4             are  subscribed to the within
                 instrument and acknowledged to me that ashe/they executed the same in or r/their
                 authorized capacity(0), and that byeher/thcir signature(s) on the instrument the person(, or
                 the entity upon behalf of which the person(4) acted, executed the instrument.

                 I certify under PENALTY OF PERJURY under the laws of the State of California that the
                 foregoing paragraph is true and correct.

                 WITNESS my hand and official seal.


                 Signature                                                          (Seal)


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                                                  EXHIBIT A
                                                Legal Description

                  THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OP LOS
                  ANGELES, IN THE COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS
                  DESCRIBED AS FOLLOWS:

                  PARCEL I:

                  LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF
                  LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623
                  PAGE(S) 81 TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY
                  RECORDER OP SAID COUNTY.

                  EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
                  FOLLOWING DESCRIBED LINE:

                 BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30
                 FEET WIDE, AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST
                 2.86 FEET FROM THE MOST NORTHERLY CORNER THEREOF; THENCE LEAVING
                 SAID TERMINUS ALONG A CURVE CONCAVE WESTERLY, HAVING A RADIUS OF
                 361.97 FEET AND CONCENTRIC WITH THAT CERTAIN CURVE IN TILE WESTERLY
                 LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69
                 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35' 48" TO THE
                 BEGINNING OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING
                 A RADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID
                 CURVE THROUGH A CENTRAL ANGLE OF 39° 06' 53"; THENCE NORTH 56° 36' 22"
                 WEST 7.97 FEET TO THE BEGINNING OF A CURVE CONCAVE NORTHEASTERLY
                 AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY 71.18 FEET
                 ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44° 55' 04"; THENCE NORTH
                 11° 41' 18" WEST 208.55 FEET TO THE BEGINNING OF A CURVE CONCAVE
                 EASTERLY AND HAVING A RADIUS OF 33.90 FEET; THENCE NORTHERLY 34.44
                FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE
                NORTH 44° 51' 16" EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF
                STRADELLA ROAD, 40 FEET WIDE, AS SHOWN ON SAID MAP.

                 PARCEL 2:
                THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO, 9745, IN THE CITY OF LOS
                ANGELES, COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AS PER MAP
                RECQRDED IN BOOK 141 PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF
                THE COUNTY RECORDER OF SAID COUNTY, LYING NORTHERLY OF THE
                FOLLOWING DESCRIBED LINE:
                BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE
                THEREON SOUTH 13° 13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS




Order: 124425                                    Palm 7 of a        Requested By: mikechavez, Printed: 10/16/2020 3:35 PM
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                                      Main Document    Page 427 of 512




                OF THAT CERTAIN COURSE IN SAID EASTERLY LINE SHOWN ON SAID MAP AS
                HAVING A BEARING AND LENGTH OP NORTH 13° 13' 20" WEST 106.35 FEET;
                THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A POINT IN THE
                WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
                THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE
                HAVING A LENGTH OF 115,83 F.F.ET,

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                            PROFIT PARTICIPATION AGREEMENT

           This Profit Participation Agreement (this "Agreement") is made as of August 20, 2020,
  between CRESTLLOYD, LLC, a California limited liability company (the "Borrower") and
  HANKEY CAPITAL, LLC, a California limited liability company (the "Lender") for the
  purpose of memorializing the parties' agreement with respect to that certain real property
  commonly known as, and located at, 944 Airole Way, Los Angeles, California (the "Property").

       WHEREAS, on October 25, 2018, Lender made a loan to the Borrower in the principal
  amount of Eighty-Two Million Five Hundred Thousand and No/I 00 Dollars ($82,500,000.00),
  which loan was secured by, among other things, a first-priority deed of trust on the Property (the
  "Loan"); and

       WHEREAS, on October 25, 2018, Lender and Borrower entered into a Profit Participation
  Agreement (the "First Profit Participation Agreement"), whereby, in consideration for the Loan,
  Borrower agreed to allow the Lender to participate in the profit from the ultimate sale of the
  Property; and

      WHEREAS, a Memorandum of Agreement, relating to the First Profit Participation
 Agreement, was recorded in the Official Records of the Los Angeles County Recorder's Office
 on November 6, 2018 as Instrument Number 20181122919; and

       WHEREAS, contemporaneous with the execution of this Agreement, Borrower has
 proposed to modify the Loan by increasing the principal balance thereof to One Hundred Six
 Million and No/100 Dollars ($106,000,000.00) (the "Loan Modification"); and

      WHEREAS, Lender has agreed to the Loan Modification subject to the parties' execution of
 this Agreement.

      NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of
 which are hereby acknowledged, the parties have agreed as follows:

       1.    LENDER'S RIGHT OF PROFIT PARTICIPATION

        If, at any time, during the term of the Loan or subsequent to Borrower's repayment of the
 Loan, the Property is sold by the Borrower, or by any affiliate of the Borrower, for a purchase
 price in excess of One Hundred Million and No/I 00 Dollars ($100,000,000), Lender shall be
 entitled to receive, from the sale proceeds, a Lender Profit Participation Payment in the amount
 equal to the lesser of (a) five percent (5.0%) of the gross sales price for the Property which
 exceeds $100,000,000, or (b) Five Million and No/100 Dollars ($5,000,000.00). Borrower's
 obligation to make the Lender Profit Participation Payment shall be evidenced by a
 Memorandum of Agreement, to be recorded in the Official Records.of the County Recorder of
 Los Angeles County, California. The parties further acknowledge that this Agreement neither
 replaces nor supersedes, but rather supplements, the First Profit Participation Agreement.




                                                                                     Exhibit A - 6
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        2.     GENERAL PROVISIONS

              (a) This Agreement shall be governed by the laws of the State of California as they
  apply to contracts entered into and wholly to be performed in such state. This Agreement
  represents the entire agreement between the parties with respect to the profit participation by and
  between Lender and Borrower and may only be modified or amended in writing signed by both
  parties.

              (b) Any notice, demand or request required or permitted to be given by either the
  Lender or the Borrower pursuant to the terms of this Agreement shall be in writing and shall be
  deemed given (i) when delivered personally, (ii) five days after it is deposited in the U.S. mail,
  certified with return receipt requested and with postage prepaid, or (iii) one day after deposit
  (prepaid) with a nationally recognized overnight courier, and addressed to the party being
  notified at his or her address specified on the applicable signature page hereto or such other
  address which the addressee may subsequently notify the other party in writing.

             (c) Lender's failure to enforce any provision or provisions of this Agreement shall not
 in any way be construed as a waiver of any such provision or provisions, nor prevent the Lender
 thereafter from enforcing each and every other provision of this Agreement. The rights granted
 to lender herein are cumulative and shall not constitute a waiver of Lender's right to assert all
 other legal remedies available to it under the circumstances.

             (d) The parties acknowledge that money damages may not be an adequate remedy for
 violations of this Agreement and that the Lender may, in its sole discretion, apply to a court of
 competent jurisdiction for specific performance or injunctive or such other relief as such court
 may deem just and proper to enforce this Agreement or to prevent any violation hereof and, to
 the extent permitted by applicable law, Borrower waives any objection to the imposition of such
 relief in appropriate circumstances.

             (e) This Agreement may be executed in any number of counterparts, each of which
 shall be deemed an original, but all of which together shall constitute one and the same
 instrument.

            (0 Borrower represents that it has duly authorized, executed and delivered this
 Agreement and that this Agreement is a valid and binding obligation of the Borrower,
 enforceable against the Borrower in accordance with its terms.



                               [SIGNATURE PAGE TO FOLLOW]




                                                                                     Exhibit A - 7
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         IN WITNESS WHEREOF, the parties have executed this Agreement as of the
  first date above written.



  BORROWER:                                       LENDER:

 CRESTLLOYD, LLC,                                HANICEY CAPITAL, LLC,
 a California limited liability company          a California limited liability company



 By:                                             By:
    Nile Niami, M                                  W. Scott Dobbins, President




                                                                              Exhibit A - 8
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         EXHIBIT HH
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   RECORDING REQUESTED BY
   AND WHEN RECORDED MAIL TO:

  Hankey Capital, LLC
  4751 Wilshire Blvd., Suite 110
  Los Angeles, CA 90010
  Attn.: Eugene M. Leydiker


                                                                                 Space Above for liecorder's Use
 Loan No.

                                     MEMORANDUM OF AGREEMENT

In connection with a certain loan transaction between Hankey Capital, LLC, a California limited liability company
(the "Lender") and Crestlloyd, LLC, a California limited liability company (the "Borrower"), the undersigned
declare and acknowledge that the Borrower has executed a Profit Participation Agreement (the "Agreement"),
dated August 20, 2020, pertaining to the real property described in Exhibit A hereof. This instrument is a
memorandum of the Agreement, and the same is incorporated herein by this reference with the same effect and as
  'ugh set forth herein in its entirety.


LENDER:

HANKEY CAPITAL, LLC
a California limited liability company



By:                                                       Dated: August 20, 2020
  W. Scott Dobbins, President



BORROWER:

CRESTLLOYD, LLC,
a California limited liability com



                                                          Dated: August 20, 2020
     lie Ni




                                                                                         Exhibit B - 11
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  accuracy, or validity of that document.



State of California

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person(s) whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they
executed the same in his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
instrument the person(s), or the entity upon behalf of which die person(s) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.


Signature                                                               (Seal)



                                                                       NOEL MSS
                                                                  Notary Public • CaMornis
                                                                    Los Angelis County
                                                                  Commission # 2104239
                                                                M Comm. Esphes Oct.4, 2020




                                                                                                  Exhibit B - 12
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  individual who signed the document to which this certificate is attached, and not the truthfulness,
  accuracy, or validity of that document.



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County of    IAC:.•       VS

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personJ) whose namer,$) are subscribed to the within instrument and acknowledged to me tha               she/they
executed the same in          cr/their authorized capacityGet), and that by €cr/their signature on the
instrument the personC4), or the entity upon behalf of which the person(g) acted, executed the instrument.

I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing
paragraph is true and correct.

WITNESS my hand and official seal.


Signature                                                                (Seal)


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                                       EXHIBIT A

 THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, IN THE
 COUNTY OF LOS ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

 PARCEL 1:

 LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES,
 STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 PAGE(S) 8110 83 INCLUSIVE OF
 MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

 EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE
 FOLLOWING DESCRIBED LINE:

 BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE,
AS SHOWN ON SAID MAP, DISTANT THEREON SOUTH 76° 06' 07" 'WEST 2,86 FEET FROM THE
MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE
CONCAVE WESTERLY, HAVING A RADIUS OF 361.97 FEET AND CONCENTRIC WITH THAT
CERTAIN CURVE IN THE WESTERLY LINE OF SAID LOT 1 HAVING A RADIUS OF 349.83 FEET;
THENCE NORTHERLY 22.69 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 03° 35'
 ml" TO THE BEGINNING OF A COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING A
  ADIUS OF 175.66 FEET; THENCE NORTHWESTERLY 119.88 FEET ALONG SAID CURVE
THROUGH A CENTRAL ANGLE OF 39° 06' 53"; THENCE NORTH 56° 36' 22" WEST 7.97 FEET TO THE
BEGINNING OF A CURVE CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET;
THENCE NORTHWESTERLY 71.18 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF
44° 55' 04"; THENCE NORTH 11° 41' 18" WEST 208,55 FEET TO THE BEGINNING OF A CURVE
CONCAVE EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET
ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 56° 32' 34"; THENCE NORTH 44° 51' 16"
EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELLA ROAD, 40 FEET WIDE,
AS SHOWN ON SAID MAP.

PARCEL 2:

THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES,
COUNTY OF I.OS ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141
PAGES 93 TO 96 INCLUSIVE OF MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID
COUNTY, LYING NORTHERLY OF THE FOLLOWING DESCRIBED LINE:

BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON SOUTH 13°
13' 20" EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN SAID
EASTERLY LINE SHOWN ON SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13° 13'
20" WEST 106.35 FEET; THENCE NORTH 89° 27' 20" WEST 214.07 FEET, MORE OR LESS, TO A
POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY THEREON 54.93 FEET FROM
THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE HAVING A
 'NGTH OF I 15.83 FEET.

APN: 4369-026-021


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             EXHIBIT II
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  RECORDING REQUESTED BY
  AND WHEN RECORDED MAIL TO:

  Racey Cohn, Esq.
  Brutzkus Gubner Rozansky Seror Weber LLP
  21650 Oxnard Street, Suite 500
  Woodland Hills, California 91367

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                             DEED OF TRUST, ASSIGNMENT OF RENTS,
                           SECURITY AGREEMENT AND FIXTURE FILING

 This Deed of Trust, Assignment of Rents, Security Agreement and Fixture Filing (this ("Deed of Trust")
 is made as of February         n            ,
                                          2020, by CRESTLLOYD, LLC, a California limited liability
 company with offices at 8981 W. Sunset Blvd, Suite 303, West Hollywood, California 90069, as tnistor
 ("Trustor"), to PACIFIC COAST TITLE COMPANY, as trustee ("Trustee"), for the benefit of
 HILLDUN CORPORATION, a New York corporation with offices at 225 West 35th St, New York, New
 York 10001, as beneficiary ("Beneficiary").

 I. GRANT IN TRUST.

          1.1 The Property. For the purpose of securing payment and performance of the Secured
 Obligations defined in Section 2 below, Trustor hereby irrevocably and unconditionally grants, conveys,
 transfers and assigns to Trustee, in trust for the benefit of Beneficiary, with power of sale and right of
 entry and possession, all estate, right, title and interest which Trustor now has or may later acquire in the
 following property (all or any part of such property, or any interest in all or any part of it, together with
 the Personalty, as hereinafter defined, being hereinafter collectively refhired to as the "Property"):

                 (a) The real property located in the County of Los Angeles, State of California, as
         described in Exhibit A hereto, with a street address of 944 Airole Way, Los Angeles, California
         90077 (the "Real Property");

                 (b) All buildings, structures, improvements, fixtures and appurtenances now or hereafter
         located at or placed on, in or under or comprising a part of the Real Property, including but not
        limited to any houses, docks, wharves, ramps or moorings, and all apparatus and equipment now
        or hereafter attached in any manner to the Real Property or any building on comprising a part of
        the Real Property, including alt pumping plants, engines, pipes, ditches and flumes, and also all
        gas, electric, cooking, heating, cooling, air conditioning, lighting, refrigeration and plumbing
        fixtures and equipment (collectively, the "Improvemen");

                 (c) All casements and rights of way appurtenant to the Real Property; all crops growing
        or to be grown on the Real Property (including all such crops following severance from the Real
        Property); all standing timber upon the Real Property (including all such timber following
        severance from the Real Property); all development rights or credits and air rights; all water and
        water rights (whether riparian, appropriative, or otherwise, and whether or not appurtenant to the
        Real Property) and shares of stock pertaining to such water or water rights, ownership of which
        affect the Real Property; all minerals, oil, gas, and other hydrocarbon substances and rights
        thereto in, on, under, or upon the Real Property;

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                 (d) All existing and future leases, subleases, subtenancies, licenses, occupancy
         agreements and concessions relating to the use and enjoyment of all or any part of the Real
         Property or the Improvements, and any and all guaranties and other agreements relating to or
         made in connection with any of the foregoing;

                  (e) All proceeds, including all claims to and demands for them, of the voluntary or
         involuntary conversion of any of the Real Property, Improvements, or the other property
         described above into cash or liquidated claims, including proceeds of all present and future fire,
         hazard or casualty insurance policies, whether or not such policies are required by Beneficiary,
         and all condemnation awards or payments now or later to be made by any public body or decree
         by any court of competent jurisdiction for any taking or in connection with any condemnation or
         eminent domain proceeding, and all causes of action and their proceeds for any breach of
         warranty, misrepresentation, damage or injury to, or defect in, the Real Property, Improvements,
         or the other property described above or any part of them; and

                (0 All proceeds of, additions and accretions to, -substitutions and replacements for, and
         changes in any of the property described above.
         1.2 Fixture Filing. This Deed of Trust is intended to be and constitutes a financing statement
filed as a fixture filing under Section 9502(c) of the California Uniform Commercial Code, as amended or
modified from time to time, covering any Property which now is or later may become a fixture attached
to the Real Property or any building located thereon.
2. THE SECURED OBLIGATIONS,

         2.1 Purpose of Samba. Motor makes the grant, conveyance, transfbr and assignment set forth
in Section 1, makes the irrevocable and absolute assignment set forth in Section 3, and grants the security
interest set forth in Section 4, all for the purpose of securing the following obligations (the "Bond
Obligations") in any order of priority that Beneficiary may choose:

                 (a) Payment of all obligations of Trustor to Beneficiary now or hereafter arising under
        that cprtain Guaranty executed by Trusterfor the benefit of Beneficiary dated February
            1 I , 2020 which is limited to Five Million Dollars (S5,000.000) Plus the costs and
        expenses referenced in Section 5.8 of this Deed of Trust (as amended, supplemented, or modified
       *am time to time, the "Guaranty") with respect to the payment and performance of all debts,
       liabilities, obligations and duties of N:PHILAN1HROPY LLC, a California limited liability
       company ("Moe), to Beneficiary under that certain Discount Factoring Agreement entered
       into between Obligor and Beneficiary dated April 13, 2017 (as supplemented and/or amended
       ftom time to time, the "EgiggiagAgEgagar) and/or under any other related instruments,
       documents and agreements between Beneficiary and Obligor (together with the Factoring
       Agreement, all as amended from time to time, collectively, the "Zackdgraticwasta"),
       whether such debts, liabilities, obligations and duties of Obligor are by acceleration or otherwise,
       are now or hereafter owing, are direct or indirect, fixed or contingent, are now due or hereafter
       arising, or are matured and not yet matured, (the "thil(garliklatio"). This Deed of Trust also
       secures all obligations of Trustor under any amendments to the Guaranty or any successor
       agreement or instrument which restates or supersedes the Guaranty in its entirety;
               (b) Payment and performance of all obligations of Motor under this Deed of Trust; and
               (c) Payment and performance of all Arturo advances and other obligations that Trustor
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          (or any successor in interest to Trustor) may agree to pay and/or perform (whether as principal,
          surety or guarantor) to or for the benefit of Beneficiary.

           2.2 Terms of Secured Obligations. All persons who may have or acquire an interest in all or any
  part of the Property will be considered to have notice of, and will be bound by, the terms of the Guaranty
  described in Paragraph 2.1(a) and each other agreement or instrument made or entered into in connection
  with each of the Seemed Obligations.
 3. ASSIGNMENT OF RENTS.

          3.1 Aniguithmt. Trustor hereby irrevocably, absolutely, presently and unconditionally assigns to
 Beneficiary all rents, royalties, issues, profits, revenue, income and proceeds of the Property, whether
 now due, past due or to become due, including all prepaid rents and security deposits (collectively, the
 liegta"), and confers upon Beneficiary the right to collect such Rents with or without taking possession
 of the Property. In the event that anyone establishes and exercises any right to develop, bore for or mine
 for any water, gas, oil or mineral on or under the surface of the Property, any sums that may become due
 and payable to Trustor as bonus or royalty payments, and any damages or other compensation payable to
 Treater in connection with the exercise of any such rights, shall also be considered Rents assigned under
 this Paragraph. THIS IS AN ABSOLUTE ASSIGNMENT, NOT AN ASSIGNMENT FOR SECURITY
 ONLY.

         3.2 ergasiliggagg. Notwithstanding the provisions of Paragraph 3.1, Beneficiary hereby
 confers upon Trustor a license (Uwe) to collect and retain the Rents as they become due and
 payable, so long as no Event of Delimit, as defined in Paragraph 6.2, shall exist and be continuing. If an
 Event of Default has occurred and is continuing, Beneficiary shall have the right, which it may choose to
 exercise hr its sole discretion, to turnings this License without notice to or demand upon Truster, and
 without regard to the adequacy of the security for the Secured Obligations.

4. GRANT OF SECURITY INTEREST.
         4.1 Gov of Security bunt Trustor grants to Beneficiary a security interest in, and pledges
and assigns to Beneficiary, all of Trustor's right, title and interest now or hereafter aquited in and to all
of the following described personal property (collectively, the "joarsonaltvw):

                 (a) All tangible personal property of every kind and description, whether stored on the
        Property or elsewhere, including, without limitation, all goods, materials, supplies, tools, books,
        records, chattels, furniture, fixtures, equipment, and machinery, and which in all cases is (i) used
        or useful or acquired in connection with any construe ion undertaken on the Property or the
        maintenance of the Property and the Improvements, or (ii) affixed or installed, or to be affixed or
        installed, in any manner on the Real Property or the hnpovements;

                 (b) All crops growing or to be grown on the Property (including all such crops following
        severance from the Property); all standing timber upon the Property (including all such timber
        following severance hers the Property); all water and water rights (whether riparian,
        appropriative, or otherwise, and whether or not appurtenant to the Property) and shares of stock
        pertaining to such water or water rights, ownership of which Abet the Property; and all
        architectural and engineering plans, specifications and drawings, and as-built drawings which
        arise from or relate to the Real Property or the Improvements;
                 (c) All general intangibles and rights relating to the Property, including, without
        limitation, all permits, licenses and claims to or demands for the voluntary or involuntary
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         conversion of any of the Property into cash or liquidated claims, proceeds of all present and
         future fire, hazard or casualty insurance policies, whether or not such policies are required by
         Beneficiary, and all condemnation awards or payments now or later to be made by any public
         body or decree by any court of competent jurisdiction for any taking or in connection with any
         condemnation or eminent domain proceeding, and all causes of action and their proceeds for any
         breach of warranty, misrepresentation, damage or injury to, or defect in, the Property or any part
         of it;
                 (d) All deposit accounts from which Trustor may from time to time authorize
         Beneficiary to debit payments due on the Secured Obligations;

                  (e) All substitutions, replacements, additions, accessions and proceeds for or to any of
         the foregoing, and all books, records and files relating to any of the foregoing, including, without
         limitation, computer readable memory and data and any computer software or hardware
         reasonably necessary to access and process such memory and data.
 5. RIGHTS AND DUTIES OF THE PARTIES.

        5.1 Representations. Warranties. Acknowledgments and Coveaanta. Trustor represents and
warrants that Trustor lawfully possesses and holds fee simple title to the Property. Trustor further
represents that no third party has any rights to own, occupy, acquire or use the Property. Trustor
acknowledges that the following tovenants; Nos. 1, 2, 3, 4, 5, 6, 7, 8 and 9 of NRS 107.030 ate hereby
adopted and made a part of this Deed of Trust.

         5.2 lazaLAsissmossaimiumianunkraus, Thaw' shall pay prior to delinquency all
taxes, levies, charges and assessments, including assessments on appurtenant water stock, imposed by any
public or quasi-public authority or utility company which arc (or if not paid, may become) a lien on all or
part of the Property or any interest in it, or which may cause any decrease in the value of the Property or
any part of it. Trustor shall immediately discharge any lien on the Property which Beneficiary has not
consented to in writing or which was not a lien of public record prior to the date hereof, and shall also pay
when due each obligation secured by or reducible to a lien, charge or encumbrance which now or
hereafter encumbers or appears to encumber all or part of the Property, whether the lien, charge or
encumbrance is or would be senior or subordinate to this Deed of Trust.

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                (a) Trustor hereby absolutely and irrevocably assigns to Beneficiary, and authorizes the
        payor to pay to Beneficiary, the following claims, causes of action, awards, payments and rights
        to payment (collectively, the Udall:
                         (i) all awarde of damages and all other compensation payable directly or
                indirectly because of a condemnation, proposed condemnation or taking for public or
                private use which affects all or part of the Property or any interest in it;

                         (ii) all other awards, claims and causes of action, arising out of any breach of
                warranty or misrepresentation affecting all or any part of the Property, or for damage or
                injury to, or defect in, or decrease in value of all or part of the Property or any interest in
                it;
                       (iii) all proceeds of any insurance policies payable because of loss sustained to all
                or part of the Property, whether or not such insurance policies are required by
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                  Beneficiary; and
                           (iv) all interest which may accrue on any of the foregoing.

                  (b) Trustor shall immediately notify Beneficiary in writing if

                          (i) any damage occurs or any injury or loss is sustained to all or part of the
                  Property, or any action or proceeding relating to any such damage, injury or loss is
                  commenced; or

                          (ii) any offer is made, or any action or proceeding is commenced, which relates
                  to any actual or proposed condemnation or taking of all or part of the Property.

                 If Beneficiary chooses to do so, it may in its own name appear in or prosecute any action
         or proceeding to enfbrce any cause of action based on breach of warranty or misrepresentation, or
         for damage or injury to, defect in, or decrease in value of all or part of the Property, and it may
         make any compromise or settlement of the action or proceeding. Beneficiary, if it so chooses,
         may participate in any action or proceeding relating to condemnation or taking of all or part of the
         Property, and may join Trustor in adjusting any loss covered by insurance,

                  (c) All proceeds of the Claims assigned to Beneficiary under this Paragraph shall be paid
         to Beneficiary. In each instance, Beneficiary shall apply those proceeds first toward
         reimbursement of all of Beneficiary's costs and expenses of recovering the proceeds, including
         attorneys' fees. Maxtor thither authorizes Beneficiary, at Beneficiary's option and in Beneficiary's
         sole discretion, and regardless of whether there is any impairment of the Property, (i) to apply the
         balance of such proceeds, or any portion of them, to pay or prepay some or all of the Secured
         Obligations in such order or proportion as Beneficiary may determine, or (ii) to hold the balance
        of such proceeds, or any portion of them, in an interest-bearing account to be used for the cost of
        reconstruction, repair or alteration of the Property, or (iii) to release the balance of such proceeds,
        or any portion of them, to 'Motor. If any proceeds are released to Trustor, neither Beneficiary
        nor Trustee shall be obligated to see to, approve or supervise the proper application of such
        proceeds. If the proceeds are held by Beneficiary to be used to reimburse Truster for the costs of
        restoration and repair of the Property, the Property shall be restored to the equivalent of its
        original condition, or such other condition as Beneficiary may approve in writing. Beneficiary
        may, at Beneficiary's option, condition disbursement of the proceeds on Beneficiary's approval of
        such plans and specifications prepared by an architect satisfirctory to Beneficiary, contractor's
        coat estimates, architect's certificates, waivers of liens, sworn statements of mechanics and
        materialmen, and such other evidence of costs, percentage of completion of construction,
        application of payments, and satisfaction of liens as Beneficiary may reasonably require.

         5.4 bums& Trustor shall provide and maintain in force at all times all risk property damage
insurance (including without limitation flood coverage, windstorm coverage and hurricane coverage as
applicable) on the Property and such other type of insurance on the Property as may be required by
Beneficiary in its reasonable judgment. At Beneficiary's request, Truster shall provide Beneficiary with a
counterpart original of any policy, together with a certificate of insurance setting forth the coverage, the
limits of liability, the carrier, the policy number and the expiation date. Bach such policy of insurance
shall be in an amount, for a term, and in form and content satisfactory to Beneficiary, and shall be written
only by companies approved by Beneficiary. In addition, each policy of hazard insurance shall include a
Form 438BFU or equivalent loss payable endorsement in favor of Beneficiary.

        5.5 MilinbalkOn and Preservatign of Property.
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                    (a) Trustor shall keep the Property in good condition and repair and shall not commit or
          allow waste of the Property. Trustor shall not remove or demolish the Property or any part of it,
          or alter, restore or add to the Property, or initiate or allow any change in any zoning or other Real
          Property use classification which affects the Property or any part of it, except with Beneficiary's
          express prior written consent in each instance.

                 (b) If all or part of the Property becomes damaged or destroyed, Trustor shall promptly
         and completely repair and/or restore the Property in a good and workmanlike manner in
         accordance with sound building practices, regardless of whether or not Beneficiary agrees to
         disburse insurance proceeds or other sums to pay costs of the work of repair or reconstruction
         under Paragraph 5.3.

                  (c) Trustor shall not commit or allow any act upon or use of the Property which would
         violate any applicable law or order of any governmental authority, whether now existing or later
         to be enacted and whether foreseen or unforeseen, or any public or private covenant, condition,
         restriction or equitable servitude affecting the Property. Dilator shall not bring or keep any
         article on the Property or cause or allow any condition to exist on it, if that could invalidate or
         would be prohibited by any insurance coverage required to be maintained by Trustor on the
         Property or any part of it under this Deed of Trust.
                 (d) If Trustora interest in the Property is a leasehold interest, Trustor shall observe and
        perform all obligations of Trustor under any lease or leases and shall refrain from taking any
        actions prohibited by any lease or losses. Trustor shall preserve and protect the leasehold estate
        and its value.

                (o) If the Property is a condominium, Trustor shall observe and perform all obligations of
        'Motor under the recorded covenants, conditions, and restrictions applicable to the Property, and
        under the bylaws of the condominium association and any rules or regulations thereunder. As
        appropriate, the requirements under this Deed of Trust relating to maintenance of insurance and
        the preservation and maintenance of the Property may be performed by the condominium
        association on behalf of Trustor.

                 (f) If the Property is agricultural, Trustor shall farm the Property in a good and
        husbandlthe manner. Trustor shall keep all trees, vines and crops on the Property properly
        cultivated, irrigated, firrtilized, sprayed and fumigated, and shall replace all dead or unproductive
        trees or vines with new ones. Trustor shall prepare for harvest, harvest, remove and sell any
        crops growing on the Property. Trustor shall keep all buildings, fences, ditches, canals, wells and
        other firming improvements on the Property in first class condition, order and repair.

               (g) Trustor shall perform all other acts which from the character or use of the Property
        may be reasonably necessary to maintain and preserve its value.

          5.6 Rithkelti        nliaildifilgtiktilLtillgAddiRROALStititilkl. Without affecting the personal
liability of any person, including Trustor, fbr the payment of the Secured Obligations or the lien of this
Deed of Trust on the remainder of the Property for the unpaid amount of the Secured Obligations,
Beneficiary and Treece are respectively empowered as follows:
                (a) Beneficiary may from time to time and without notice:
                        (i) release any person liable for payment of any Secured Obligations;
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                          (ii) extend the time for payment, or otherwise alter the terms of payment, of any
                   Secured Obligations;

                          (iii) accept additional real or personal property of any kind as security for any
                   Secured Obligations, whether evidenced by deeds of trust, mortgages, security
                   agreements or any other instnunents of security; or

                           (iv) alter, substitute or release any property securing the Secured Obligations.

                 (b) Trustee may perform any of the following acts when requested to do so by
          Beneficiary in writing:

                          (i) consent to the making of any plat or map of the Property or any part of it;

                         (ii) join in granting any easement or creating any restriction affecting the
                  Property;
                           (iii) join in any subordination or other agreement affecting this Deed of Trust or
                  the lien of it; or

                          (iv) reconvey the Property or any part of it without any warranty.

          5.7 Bleguyagno. Upon full and final payment and performance of alt Obligor Liabilities to
 Beneficiary where any applicable preference or similar period has passed and termination of the Guaranty
 in accordance with its terms, Trustee shall reconvey the Property, or so much of it as is then held under
 this Deed of Trust, without warranty to the person or persons legally entitled to it. In the reconveyance,
 the grantee may be described as "the person or persons legally entitled thereto," and the recitals of any
 matter's or hots shall be conclusive proof of their truthfulness. Neither Beneficiary nor Trustee shall have
 any duty to determine the rights of persona claiming to be rightful grantees of any reconveyance.

         5.8

                (a) Trustor agrees to pay fees in the maximum amounts legally permitted, or reasonable
        fees as may be charged by Beneficiary and Trustee when the law provides no maximum limit, for
        any services that Beneficiary or Trustee may render in connection with this Deed of Trust,
        including Beneficiary's providing a statement of the Secured Obligations or Trustee's rendering of
        services in connection with a reconveyance. Trustor shall also pay or reimburse all of
        Beneficiary's and Trustee's costs and expenses which may be incurred in rendering any such
        services.

                (b) Trustor Anther agrees to pay or reimburse Beneficiary for all costs, expenses and
        other advances which may be incurred or made by Beneficiary or Trustee to protect or preserve
        the Property or to enfbree any terms of this Deed of Trust, including the exercise of any rights or
        remedies afforded to Beneficiary or Triune or both of them under Paragraph 6.3, whether any
        lawsuit is filed or not, or hr deftedins any action or proceeding arising under or relating to this
        Deed of Trust, including attorneys' fees and other legal costs, costs of any sale of the Property and
        any cost of evidence of tide.
              (c) Truster shall pay all obligations arising under this Paragraph inunediately upon
        demand by Trustee or Beneficiary. Each such obligation shall be added to, and considered to be
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      part of, the principal of the Secured Obligations, and shalt bear interest from the date the
      obligation arises at the rate provided in any instrument or agreement evidencing the Secured
      Obligations. If more than ono rate of interest is applicable to the Secured Obligations, the highest
      rate shall be used for purposes hereof.

     3.9 Eauinaticaanginilemnification.

              (a) Beneficiary and its affiliates, shareholders, directors, officers, employees, attorneys
     and agents (collectively, the "Beneficiary Parties') shall not be directly or indirectly liable to
     Traitor or any other person as a consequence of any of the following by any of the Beneficiary
     Parties:

                      (i) exercise of or failure to exercise any rights, remedies or powers granted to
              any of the Beneficiary Parties in this Deed of Trust;
                     (ii) failure or miksal to perform or discharge any obligation or liability of
             Trustor under any agreement related to the Property or under this Deed of Trust;

                            hilure to produce Rents from the Property or to perform any of the
             obligations of the lessor under any lease covering the Property;

                    (iv) any waste committed by lessees of the Property or any other parties, or any
             dangerous or defective condition of the Property; or

                      (v) any loss sustained by Trustor or any third party resulting from any act or
             omission of any of the Beneficiary Parties in operating or managing the Property upon
             exercise of the rights or remedies afforded under Paragraph 6.3, unless the loss is caused
             by the gross negligence or willibl misconduct and bed thith of any of the Beneficiary
             Parties.

              Traitor hereby expressly waives and releases all liability of the types described above,
     and agrees that no such liability shall be asserted against or imposed upon any of the Beneficiary
     Parties. Trustor hereto expressly waives any rights or benefits available under Section 1542 of the
     Civil Code of the State of California which provides as follows :
              "A general release does not extend to claims which the creditor does not know or suspect
              to exist in his or her fitvor at the time of executing the release, which if known by him or
              her must have materially affected his or her settlement with the debtor."
              (b) Traitor agrees to indemnify Trustee and the Beneficiary Parties against and hold
     them harmless from all losses, damages, liabilities, claims, causes of action, judgments, court
     costs, attorneys' kes and other legal expenses, cost of evidence drills, cost of evidence of value,
     and other costs and expenses which any of them may suffer or incur in perfuming any act
     required or permitted by this Deed of Trust or by law or because of any hilure of Tractor to
     perform any of its obligations or because the execution of this Deed of Trust by Motor for the
     benefit of Beneficiary causes or creates a breach, delimit, event of defeult or acceleration of
     Traitor's obligations under any other deed of trust, note, security instrument or agreement, or
     financing or loan agreement. This agreement by Trustor to indemnify Trustee and the Beneficiary
     Parties shall survive the release and cancellation of any or all of the Secured Obligations and the
     full or partial release and/or reconveyance of this Deed of Trust.
     5.10 Mame and Notice of Claims and Marna At Trustorh sole expense, Motor shall protect,
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  preserve and defend the Property and tide to and right of possession of the Property, and the security of
  this Deed of Trust and the rights and powers of Beneficiary and Trustee created under it, against all
  adverse claims. Truster shall give Beneficiary and Trustee prompt notice in writing if any claim Is
  asserted which does or could afftict any of these matters, or if any action or proceeding is commenced
  which alleges or relates to any such claim.
          5.11 Substitution of Trustee. Prom time to time, Beneficiary may substitute a successor to any
  Trustee mined in or acting under this Deed of Trust in any manner now or later to be provided at law, or
  by a written instrument executed and acknowledged by Beneficiary and recroded in the office of the
  recorder of the county whore the Property is situated. Any such instrument shall be conclusive proof of
  the proper substitution of the successor Trustee, who shall automatically upon recordation of the
  instrument succeed to all estate, title, rights, powers and duties of the predecessor Trustee, without
  conveyance from it.

            5.12 BailISIMaiidl111                       021,111OrdiaLiadenirt Wore signing this Deed
  of Trust, Trustor researched and inquired into the previous uses and ownership of the Property. Based on
  that due diligence, Trustor represents and warrants that to the best of its knowledge, no Hazardous
  Substance has been disposed of or released or otherwise exists in, on, under or onto the Property, except
  as Trustor has disclosed to Beneficiary in writing, including, without limitation, petroleum and natural gas
  in compliance with all applicable laws. Tnistor further represents and warrants that Trustor has complied,
  and will comply and cause all occupants of the Property to comply, with all current and blare laws,
  regulations and ordinances or other requirements of any governmental authority relating to or imposing
  liability or standards of conduct concerning protection of health or the environment or Hazardous
 Substances ("igutgusegialieza"). Trustor shall promptly, at Trustor's sole cost and expense, take all
 reasonable actions with respect to any Hazardous Substances or other environmental condition at, on, or
 under the Property necessary to (i) comply with all applicable Environmental Laws; (ii) allow continued
 use, occupation or operation of the Property; or (iii) maintain the fair market value of the Property.
 Motor acknowledges that Hazardous Substances may permanently and materially impair the value and
 use of the Property. "Wardens Substance" means any substance, material or waste that is or becomes
 designated or regulated as lode.; "hazardous," "pollutant," or "contaminant" or a similar designation or
 regulation under any current or Arturo Mend, state or local law (whether under common law, statute,
 regulation or otherwise) or judicial or administrative interpretation of such, including without limitation
 petroleum or natural gas.

          5.13 fib Visits. Observation and Aging. Beneficiary and its agents and reprosentatives shall
 have the right at any reasonable time, after giving reasonable notice to Trustor, to enter and visit the
 Property fur the purposes of performing appraisals, observing the Property, taking and removing
environmental samples, and conducting tests on any part of the Property. Truster shall reimburse
Beneficiary on demand for the costs of any such enviromnental investigation and testing. Beneficiary
will make reasonable efforts during any site visit, observation or testing conducted pursuant. this
Paragraph to avoid intedining with Trustor's use of the Property. Beneficiary is under no duty, however,
to visit or observe the Property or to conduct tests, and any such acts by Beneficiary will be solely for the
purposes of protecting Beneficiary's security and preserving Beneficiary's rights under this Deed of
Trust. No site visit, observation or testing or any report or findings made as a result thereof
("ibuitgastattiasaur) wiU result in a waiver of any default of Trustor; (ii) impose any liability
on Beneficiary; or (iii) be a representation or warranty of any kind regarding the Property (including its
condition or value or compliance with any laws) or the Environmental Report (including its accuracy or
completeness). In the event Beneficiary has a duty or obligation under applicable laws, regulations or
other requirements to disclose an Environmental Report to Trustor or any other party, TIUSSOf authorizes
Beneficiary to make such a disclosure. Beneficiary may also disclose an Environmental Report to any
regulatory authority, and to any other parties as necessary or appropriate in Beneficiary's judgment.
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 Trustor ftwther understands and agrees that any Environmental Report or other information regarding a
 site visit, observation or testing that is disclosed to Trustor by Beneficiary or its agents and
 representatives is to be evaluated (including any reporting or other disclosure obligations of Trustor) by
 Tremor without advice or assistance from Beneficiary.

 6. ACCELERATING TRANSFERS. DEFAULT AND REMEDIES.

         6.1 hierakatinglanan.
                 (a) "Accelerating Transfer" means any sale, contract to sell, conveyance, encumbrance,
        or other transfer, whether voluntary, involuntary, by operation of law or otherwise, of all or any
         material part of the Property or any interest in it, including any transfer or exercise of any right to
        drill for or to extract any water (other than► for Motor's own use), oil, gas or other hydrocarbon
        substances or any mineral of any kind on or under the surface of the Property. If Trustor is a
        corporation, "Accelerating Transfer" also means any transfer or transfers of shares possessing, in
        the aggregate, more than fifty percent (50%) of the voting power. If Trustor is a partnership,
        "Accelerating Transfer' also means withdrawal or removal of any general partner, dissolution of
        the partnership under applicable law, or any transfer or transfers of, in the aggregate, more than
        fifty percent (50%) of the partnership interests. If Tremor is a limited liability company,
        "Accelerating Transfer" also means withdrawal or removal of any managing member, termination
        of the limited liability company or any transftm or transfers of, in the aggregate, more than fifty
        percent (50%) of the voting power or in the aggregate more than fifty percent of the ownership of
        the economic interest in the Trustor. If Trustor is a joint tenancy, 'Accelerating Transfer* also
        means the death of either joint tenant or a sale, pledge, encumbrance, conveyance or transfer
        (voluntary or involuntary) of either joint tenancy interest or any interest therein or portion thereof.

                (b) Trustor agrees that Trustor shall not make any Accelerating Transfer, unless the
        transfer is preceded by Beneficiary's express written consent to the particular transaction and
        transferee. Beneficiary may withhold such consent in its sole discretion. If any Accelerating
        Transfer occurs, Beneficiary in its sole discretion may declare all of the Secured Obligations to be
        immediately due and payable, and Beneficiary and Trustee may invoke any rights and remedies
        provided by Paragraph 6.3 of this Deed of Trust,
       6.2 &ems of Default. The occurrence of any one or mom of the following events, at the option
of Beneficiary, shall constitute an event of default ("Zzardleiggr) under this Deed of Trust.

                (a) Trustor fitils to make any payment, when due, under the Guaranty (after giving effect
        to any applicable grace period) or any other delimit occurs under the Guaranty or in any other
        instrument or agreement evidencing any of the Secured Obligations and such default continues
        beyond any applicable cure period;

                (b) Any default or event of defitult occurs with respect to the Obligor Liabilities;

              (c) Trustor fails to make any payment or perform any obligation which arises under this
       Deed of Trust;
              (d) Trustor makes or permits the occurrence of an Accelerating Transfer in violation of
       Paragraph 6.1;
              (e) Any representation or warranty made in connection with this Deed of Trust or the
       Secured Obligations proves to have been Mee or misleading in any material respect when made;
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         Or

                (f) Any default occurs under any other deed of trust on all or any part of the Property, or
         under any obligation secured by such deed of trust, whether such deed of trust is prior to or
         subordinate to this Deed of Trust.

         6.3 $amedjea. At any time after the occurrence of an Event of Default, Beneficiary and Trustee
 shall be entitled to invoke any and all of the rights and remedies described below, as well as any other
 rights and remedies authorized by law. All of such rights and remedies shall be cumulative, and the
 exercise of any one or more of them shall not constitute an election of remedies.

              (a) Beneficiary may declare any or all of the Secured Obligations to be due and payable
        immediately.

               (b) Beneficiary may apply to any court of competent jurisdiction for, and obtain
        appointment of, a receiver for the Property.

         .       (c) Beneficiary, in pawn, by agent or by court-appointed receiver, may enter, take
        possession of, manage and operate all or any part of the Property, and in its own name or in the
        name of Trustor sue for or otherwise collect any and all Rents, including those that are past due,
        and may also do any and all other things in connection with those actions that Beneficiary may in
        its sole discretion consider necessary and appropriate to protect the security of this Deed of Trust.
        Such other things may include: entering into, enforcing, modifying, or canceling leases on such
       terms and conditions as Beneficiary may consider proper, obtaining and evicting tenants; fixing
       or modifying Rents; completing any unfinished construction; contracting for and malting repairs
       and alterations; peribrming such acts of cultivation or irrigation as necessary to conserve the
       value of the Property; and preparing for harvest, harvesting and selling any crops that may be
       growing on the property. Trustor hereby irrevocably constitutes and appoints Beneficiary as its
       attorney-in-fact to perform such acts and execute such documents as Beneficiary in its sole
       discretion may consider to be appropriate in connection with taking these measures, including
       endorsement of Tmstoes name on any instruments. Trustor agrees to deliver to Beneficiary all
       books and records pertaining to the Property, including computer-readable memory and any
       computer hardware or software necessary to access or process arch memory, as may reasonably
       be requested by Beneficiary in order to enable Beneficiary to exercise its rights under this
       Paraital01.
                (d) Either Beneficiary or Trustee may cure any breach or default of Trustor, and if it
       chooses to do so in connection with any such cure, Beneficiary or Trustee may also enter the
       Property and/or do any and all other things which it may in its sole discretion consider necessary
       and appropriate to protect the security of this Deed of not. Such other things may include:
       appearing in and/or defending any action or proceeding which purports to affect the security of,
       or the rights or powers of Beneficiary or Marble under, this Deed of Trust; paying, purchasing
       contesting or compromising any encumbrance, charge, lien or claim of lien which in Beneficiary's
       or Trustee's sole judgment is or may be senior in priority to this Deed of Treat, such judgment of
       Beneficiary or Trustee to be conclusive as among the parties to this Deed of Trust; obtaining
       insurance and/or paying any premiums or charges for ill111111111C0 required to be carried under this
       Deed of Trust; otherwise caring for and protecting any and all of the Property; and/or employing
       counsel, accountants, contractors and other appropriate persons to assist Beneficiary or Trustee.
       Beneficiary and Trustee may take any of the actions permitted hereunder either with or without
       giving notice to any person.

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                (e) Beneficiary may bring an action in any court of competent jurisdiction to foreclose
       this instrument or to obtain specific enforcement of any of the covenants or agreements of this
       Deed of Trust.
                (f) Beneficiary may cause the Property which consists solely of real property to be sold
       by Trustee as pennitted by applicable law. Before any such trustee's sale, Beneficiary or Trustee
       shall give such notice of default and election to sell as may then be required by law. When all
       time periods then legally mandated have expired, and after such notice of sale as may then be
       legally required has been given, Trustee shall sell the Property, either as a whole or in separate
       parcels, and in such order as Trustee may determine, at a public auction to be held at the time and
       place specified in the notice of sale. Neither Trustee nor Beneficiary shall have any obligation to
      make demand on Trustor before any trustee's sale. Prom time to time . in accordance with then
      applicable law, Trustee may, and in any event at Beneficiary's inquest shall, postpone any
      trustee's sale by public announcement at the time and place noticed for that sale. At any trustee's
      sale, Trustee shall sell to the highest bidder at public auction for cash in lawftd money of the
      United States. Any person, including Trustor, Trustee or Beneficiary, may purchase at the
      trustee's sale. Trustee shall execute and deliver to the pumhaser(s) a deed or deeds conveying the
      property being sold without any covenant or warranty whatsoever, express or implied. The
      recitals in any such deed of any matters or facts, including any facts bearing upon the regularity
      or validity of any trustee's sale, shall be conclusive proof of their nuthfidness. Any such deed
      shall be conclusive against all persons as to the facts recited in it.
        .     (g) Beneficiary may proceed under the Uniform Commercial Code as to all or any part of
      the Personalty, and in conjunction therewith may oxen*e all of the rights, remedies and powers
      of a secured creditor under the Uniform Commercial Code. When all time periods then legally
      mandated have expired, and after such notice of sale as may then be legally requited has been
     given, Trustee may sell the Personalty at a public sale to be held at the time and place specified in
     the notice of sale. It shall be deemed commercially reasonable for the Trustee to dispose of the
     Personalty without giving any warranties as to the Personalty and specifically disclaiming all
     disposition warranties. Alternatively, Beneficiary may choose to dispose of some or all of the
     Property, in any combination consisting of both personal property and real property, in one sale to
     be held in accordance with the law and procedures applicable to real property, u permitted by
     Article 9 of the Uniform Commercial Code. Trustor agrees that such a sale of personal property
     together with real property constitutes a commercially reasonable sale of the personal property.

     6.4 APRfiCilleftftES111112192916k1/21260.
              (a) Beneficiary and Trustee shall apply the proceeds of any sale of the Property in the
     following mamma: first, to pay the portion of the Secured Obligations attributable to the costs,
     fees and expenses of the sale, including costs of evidence of title in connection with the sale; and,
     second, to pay all other Secured Obligations in any order and proportions as Beneficiary in its
     sole discretion may choose. The remainder, if any, shall be remitted to the person or persons
     entitled thereto.
              (b) Beneficiary shall apply any and all Rants collected by it, and any and all sums other
     than proceeds of any sale of the Property which Beneficiary may receive or collect under
     Paragraph 6.3, in the &Bowing manner first, to pay the portion of the Secured Obligations
     attributable to the costs and expenses of operation and collection that may be incurred by Trustee,
     Beneficiary or any receiver; and, second, to pay all other Secured Obligations in any order and
     proportions as Beneficiary in its sole discretion may choose. The remainder, if any, shall be
     remitted to the person or persons entitled thereto. Beneficiary shall have no liability for any
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      thrids which it does not actually receive.
7. MISCELLANEOUS PROVISIONS

      7.1 No Waiver or Cure.

             (a) Each waiver by Beneficiary or Trustee must be in writing, and no waiver shall be
     construed as a continuing waiver. No waiver shall be implied from any delay or failure by
     Beneficiary or Trustee to take action on account of any default of Trustor. Consent by
     Beneficiary or Trustee to any act or omission by Trustor shall not be construed as a consent to
     any other or subsequent act or omission or to waive the requirement for Beneficiary's or Trustee's
     consent to be obtained in any future or other instance.

             (b) If any of the events described below occurs, that event alone shall not cure or waive
     any breach, Event of Default or notice of default under this Deed of Trust or invalidate any act
     performed pursuant to any such default or notice; or nullify the effect of any notice of default or
     sale (unless all Secured Obligations then due have been paid and perfomied); or impair the
     security of this Deed of Trust; or prejudice Beneficiary, Trustee or any receiver in the exercise of
     any right or remedy afforded any of them under this Deed of Trust; or be construed as an
     affirmation by Beneficiary of any tenancy, lease or option, or a subordination of the lien of this
     Deed of Trust:

                     (i) Beneficiary, its agent or a receiver takes possession of all or any part of the
             Property;

                     (ii) Beneficiary collects and applies Rents, either with or without taking
             possession of all or any part ofthe Property;
                     (iii) Beneficiary receives and applies to any Secured Obligation proceeds of any
             Property, including any proceeds of insurance policies, condemnation awards, or other
             claims, property or rights assigned to Beneficiary under this Deed of Trust;

                 • (iv) Beneficiary makes a site visit, observes the Property and/or conducts tests
             thereon;

                     (v) Beneficiary receives any sums under this Deed of Trust or any proceeds of
             any collateral held for any of the Secured Obligations, and applies them to one or more
             Secured Obligations;

                    (vi) Beneficiary, Trustee or any receiver performs any act which it is empowered
             or authorized to perform under this Deed of Trust or invokes any right or remedy
             provided under this Deed of Trust.
     7.2 Powers of &flamer' y and Trustee.

            (a) Trustee shall have no obligation to perform any act which Trustee is empowered to
     perform under this Deed of Trust unless Trustee is requested to do so in writing and is reasonably
     indemnified against loss, cost, liability and expense.
             (b) Beneficiary may take any of the actions permitted under Paragraphs 6.3(b) and/or
     6.3(e) regardless of the adequacy of the security for the Secured Obligations, or whether any or
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      all of the Secured Obligations have been declared to be immediately due and payable, or whether
      notice of default and election to sell has been given under this Deed of Trust.

               (c) From time to time, Beneficiary or Trustee may apply to any court of competent
      jurisdiction for aid and direction in executing and enforcing the rights and remedies created under
      this Deed of Trust. Beneficiary or Trustee may from time to time obtain orders or decrees
      directing, confirming or approving acts in executing this trust and enforcing these rights and
      remedies.



              (a) Trustor authorizes Beneficiary to perform any of the following acts at any time, all
      without notice to Trustor and without affecting Beneficiary's rights or Trusto?a obligations under
      this Deed of Trust
                       (i) Beneficiary may alter any terms of the Obligor Liabilities or any part of them,
              including renewing, compromising, extending or accelerating, or otherwise changing the
              time for payment of, or increasing or decreasing the rate of interest on, the Obligor
              Liabilities or any part of them;

                     (ii) Beneficiary may take and hold security for the Obligor Liabilities, accept
             additional or substituted security for the Obligor Liabilities, and subordinate, exchange,
             enforce, waive; release, compromise, fail to perfect, sell or otherwise dispose of any such
             security;

                      (iii) Beneficiary may apply any security now or later held for the Obligor
             Liabilities in any order that Beneficiary in its sole discretion may choose, and may direct
             the order and manner of any sale of all or any part of such security and bid at any such
             sale;
                     (iv) Beneficiary may release Obligor of its liability under the Obligor Liabilities
             or any part of them;

                    (v) Beneficiary may substitute, add or release any one or more guarantors or
             endorsers of the Obligor Liabilities; and
                     (vi) Beneficiary may extend other credit to Obligor, and may take and hold
             security for the credit so extended.

             (b) nustor waives:

                    (i) Any right Minor may have to require Beneficiary to proceed against
             Obligor, proceed against or exhaust any security held from Obligor, or pursue any other
             remedy in Beneficiary's power to pursue;

                     (ii) Any debase based on any legal disability of Obligor, any discharge or
            limitation of the liability of Obligor to Beneficiary, whether consensual or arising by
            operation of law or any bankruptcy, reorganization, receivership, insolvency, or
            debtorielief proceeding, or fVom any other cause, or any claim that Trustoes obligations
            exceed or are more burdensome than those of Obligor;

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                      (iii) All presentments, demands for performance, notices of nonperformance,
              protests, notices of protest, notices of dishonor, notices of acceptance of this Deed of
              Trust and of the existence, creation, or incurring of new or additional indebtedness of
              Obligor, and demands and notices of every kind;

                     (iv) Any defense based on or arising out of any defense that Obligor may have to
              the payment or performance of the Obligor Liabilities or any part of them; and
                       (v) Until the Secured Obligations have been paid and performed in full, ail rights
             of subrogation, reimbursement, indemnification and contribution (contractual, statutory
             or otherwise), including any claim or right of subrogation under the Bankruptcy Code
             (Title I I of the U.S. Code) or any successor data*, all rights to enforce any remedy that
             the Beneficiary may have against Obligor, and all rights to participate in any security
             now or later to be held by Beneficiary for the Secured Obligations.

              (c) Trustor waives any rights or defenses that are or may become available to Trustor by
      reason of Sections 2787 to 2855, inclusive, of the California Civil Code.

              (c1) Trustor waives all rights and defenses that Ttustor may have because the Obligor
     Liabilities may be secured by real property other than the Property hereby encumbered. This
     means, among other things: (i) Beneficiary may collect from Trustor (including enforcing this
     Deed of Trust against Trustor) without first foreclosing on any real or personal property collateral
     securing the Obligor Liabilities; and (ii) if Beneficiary forecloses on any real property collateral
     securing the Obligor Liabilities: (A) the amount duo under the Obligor Liabilities and the
     Guaranty may be reduced only by the price fbr which that collateral is sold at the foreclosure sale,
     even if the collateral is worth more than the sale price, and (B) Beneficiary may collect from
     Trustor (including enforcing this Deed of Must against Truster) even if Beneficiary, by
     foreclosing on the real property collateral, has destroyed any right Motor may have to collect
     ftom Obligor. This is an unconditional and irrevocable waiver of any rights and defenses Trustor
     may have because the Obligor Liabilities may be secured by real property other than the Property
     hereby encumbered. These rights and defenses include, but are not limited to, any rights or
     defenses based upon Sections 5110a, 580b, 5800, 5130d, 580e and/or 7'26 of the California Code of
     Civil Procedure.

             (e) Trustor waives any right or defense Minor may have at law or equity, including
     California Code of Civil Procedure Section 5110a, to a Sir market value hearing or action to
     determine a defidency judgment after a foreclosure of any real property other than the Property
     hereby encumbered.
             (f) Trustor assumes fell responsibility for keeping informed of financial condition of
     Obligor and business operations and all other circumstances affecting the ability of Obligor to pay
     and perform its obligations to Beneficiary, and agrees that Beneficiary shall have no duty to
     disclose to Trustor any information which Beneficiary may receive about the financial condition
     or business operations of Obligor, or any other circumstances bearing on the ability of Obligor to
     perfbnn.
             (g) No provision or waiver in this Deed of Trust shall be construed as limiting the
     generality of any other provision or waiver contained in this Deed of Trust.

            (h) For purposes of this Paragraph 7.3, all references to the Obligor Liabilities or the
     Guaranty shall also include any instrument or agreement executed by Obligor or Trustor
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          subsequent to the date of this Deed of Trust which is secured by this Deed of Trust in accordance
          with the provisions of Paragraphs 2.1(b) and 2.1(c).

         7.4 Mar. No merger shall occur as a result of Beneficiary's acquiring any other estate in or
 any other lien on the Property unless Beneficiary consents to a merger in writing.

          7.5 Joint and Several Liability. If Trustor consists of more than one person, each shall be jointly
 and severally liable for the faithlW perfonmusce of all of Motor's obligations under this Deed of Trust,
 and each representation 9r warranty made by Trustor hereunder shall be deemed to have been made
 jointly and severally by each such person.

         7.6 Applicable Law. This Deed of Trust shall be governed by California law,

          7.7 Successors in Interest. The terms, covenants and conditions of this Deed of Dust shall be
 binding upon and inure to the benefit of the heirs, legal representatives, successors and assigns of the
 parties. However, this Paragraph does not waive the provisions of Paragraph 6.1.

      7.8 Waiver of Jury Trial. TRUSTOR AGREES AND DOES HEREBY WAIVE TRIAL BY
JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT AGAINST
TRUSTOR ON ANY MATTERS WHATSOEVER ARISING OUT OF OR IN ANY WAY
CONNECTED WITH THIS DEED OF TRUST, AND TRUSTOR HEREBY CONSENTS TO THE
JURISDICTION OF THE STATE COURTS LOCATED IN THE COUNTY OF LOS ANGELES,
STATE OF CALIFORNIA, FOR A DETERMINATION OF ANY DISPUTE AS TO ANY SUCH
MATTERS AND AUTHORIZES THE SERVICE OF PROCESS ON THE TRUSTOR BY
REGISTERED MAIL SENT TO TRUSTOR AT THE ADDRESS OF THE TRUSTOR SET
FORTH IN PARAGRAPH 7.12 BELOW.

           (a)   TRUSTOR AND BENEFICIARY (COLLECTIVELY, "THE PARTIES")
PREFER THAT ANY DISPUTE BETWEEN THEM BE RESOLVED IN LITIGATION
SUBJECT TO A JURY TRIAL WAIVER AS SET FORTH IN WITH THIS DEED OF TRUST,
BUT THE CALIFORNIA SUPREME COURT HAS HELD THAT PRE•DISPUTE JURY TRIAL
WAIVERS NOT AUTHORIZED BY STATUTE ARE UNENFORCEABLE. THIS REFERENCE
PROVISION WILL BE APPLICABLE UNTIL: (I) THE CALIFORNIA SUPREME COURT
HOLDS THAT A PRE-DISPUTE JURY TRIAL WAIVER PROVISION SIMILAR TO THAT
CONTAINED IN THIS DEED OF TRUST IS VALID OR ENFORCEABLE; OR (II) THE
CALIFORNIA LEGISLATURE ENACTS A STATUTE WHICH BECOMES LAW,
AUTHORIZING PRE-DISPUTE JURY TRIAL WAIVERS OF THE TYPE IN THIS DEED OF
TRUST AND, AS A RESULT, SUCH WAIVERS BECOME ENFORCEABLE. IN ADDITION,
THIS REFERENCE PROVISION, IF NOT ALREADY APPLICABLE AS OTHERWISE
PROVIDED HEREIN, WILL BECOME APPLICABLE, IF A COURT, CONTRARY TO A
CHOICE OF LAW PROVISION CONTAINED IN THIS DEED OF TRUST, HOLDS THAT THE
LAWS OF THE STATE OF CALIFORNIA APPLY TO THIS DEED OF TRUST.
            (b)  OTHER THAN (i) NONJUDICIAL FORECLOSURE OF SECURITY
INTERESTS IN REAL OR PERSONAL PROPERTY, (10 THE APPOINTMENT OF A
RECEIVER OR (Hi) THE EXERCISE OF OTHER PROVISIONAL REMEDIES (ANY OF
WHICH MAY BE INITIATED PURSUANT TO APPLICABLE LAW), ANY CONTROVERSY,
DISPUTE OR CLAIM (EACH, A "CLAIM") BETWEEN THE PARTIES ARISING OUT OF OR
RELATING TO THIS DEED OF TRUST, WILL BE RESOLVED BY A REFERENCE
PROCEEDING IN CALIFORNIA IN ACCORDANCE WITH THE PROVISIONS OF SECTION
638 ET SEQ. OF THE CALIFORNIA CODE OF CIVIL PROCEDURE ("CCP"), OR THEIR
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 SUCCESSOR SECTIONS, WHICH SHALL CONSTITUTE THE EXCLUSIVE REMEDY FOR
 THE RESOLUTION OF ANY CLAIM, INCLUDING WHETHER THE CLAIM IS SUBJECT TO
 THE REFERENCE PROCEEDING. EXCEPT AS OTHERWISE PROVIDED IN THIS DEED
 OF TRUST, VENUE FOR THE REFERENCE PROCEEDING WILL BE IN THE SUPERIOR
 COURT OR FEDERAL DISTRICT COURT IN THE COUNTY OR DISTRICT WHERE THE
 REAL PROPERTY, IF ANY, IS LOCATED OR IN A COUNTY OR DISTRICT WHERE VENUE
 IS OTHERWISE APPROPRIATE UNDER APPLICABLE LAW (THE "COURT").
            (c)   THE REFEREE SHALL BE A RETIRED JUDGE OR JUSTICE
 SELECTED BY MUTUAL WRITTEN AGREEMENT OF THE PARTIES. IF THE PARTIES
 DO NOT AGREE, THE REFEREE SHALL BE SELECTED BY THE PRESIDING JUDGE OF
 THE COURT (OR HIS OR HER REPRESENTATIVE). A REQUEST FOR APPOINTMENT OF
 A REFEREE MAY BE HEARD ON AN EX PARTE OR EXPEDITED BASIS, AND THE
 PARTIES AGREE THAT IRREPARABLE HARM WOULD RESULT IF EX PARTE RELIEF IS
 NOT GRANTED. THE REFEREE SHALL BE APPOINTED TO SIT WITH ALL THE POWERS
 PROVIDED BY LAW. PENDING APPOINTMENT OF THE REFEREE, THE COURT HAS
 POWER TO ISSUE TEMPORARY OR PROVISIONAL REMEDIES.
           (d)   THE PARTIES AGREE THAT TIME IS OF THE ESSENCE IN
CONDUCTING THE REFERENCE PROCEEDINGS. ACCORDINGLY, THE REFEREE
SHALL BE REQUESTED, SUBJECT TO CHANGE IN THE TIME PERIODS SPECIFIED
HEREIN FOR GOOD CAUSE SHOWN, TO (A) SET THE MATTER FOR A STATUS AND
TRIAL-SETTING CONFERENCE WITHIN FIFTEEN (15) DAYS AFTER THE DATE OF
SELECTION OF THE REFEREE, (B) IF PRACTICABLE, TRY ALL ISSUES OF LAW OR
FACT WITHIN NINETY (90) DAYS AFTER THE DATE OF THE CONFERENCE AND
(C) REPORT A STATEMENT OF DECISION WITHIN TWENTY (20) DAYS AFTER THE
MATTER HAS BEEN SUBMITTED FOR DECISION.
            (a)  THE REFEREE WILL HAVE POWER TO EXPAND OR LIMIT THE
AMOUNT AND DURATION OF DISCOVERY. THE REFEREE MAY SET OR EXTEND
DISCOVERY DEADLINES OR CUTOFFS FOR GOOD CAUSE, INCLUDING TRUSTOR'S OR
BENEFICIARY'S FAILURE TO PROVIDE REQUESTED DISCOVERY FOR ANY REASON
WHATSOEVER. UNLESS OTHERWISE ORDERED BASED UPON GOOD CAUSE SHOWN,
NEITHER TRUSTOR NOR BENEFICIARY SHALL BE ENTITLED TO "PRIORITY" IN
CONDUCTING DISCOVERY, DEPOSITIONS MAY BE TAKEN BY EITHER TRUSTOR OR
BENEFICIARY UPON SEVEN (7) DAYS WRITTEN NOTICE, AND ALL OTHER DISCOVERY
SHALL BE RESPONDED TO WITHIN FIFTEEN (15) DAYS AFTER SERVICE. ALL
DISPUTES RELATING TO DISCOVERY WHICH CANNOT BE RESOLVED BY THE
PARTIES SHALL BE SUBMITTED TO THE REFEREE WHOSE DECISION SHALL BE
FINAL AND BINDING.
           (f)   EXCEPT AS EXPRESSLY SET FORTH IN THIS AGREEMENT, THE
REFEREE SHALL DETERMINE THE MANNER IN WHICH THE REFERENCE
PROCEEDING IS CONDUCTED INCLUDING THE TIME AND PLACE OF HEARINGS, THE
ORDER OF PRESENTATION OF EVIDENCE, AND ALL OTHER QUESTIONS THAT ARISE
WITH RESPECT TO THE COURSE OF THE REFERENCE PROCEEDING. ALL
PROCEEDINGS AND HEARINGS CONDUCTED BEFORE THE REFEREE, EXCEPT FOR
TRIAL, SHALL BE CONDUCTED WITHOUT A COURT REPORTER, EXCEPT THAT WHEN
EITHER TRUSTOR OR BENEFICIARY SO REQUESTS, A COURT REPORTER WILL BE
USED AT ANY HEARING CONDUCTED BEFORE THE REFEREE, AND THE REFEREE
WILL BE PROVIDED A COURTESY COPY OF THE TRANSCRIPT. THE PARTY MAKING

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                                   Main Document    Page 458 of 512




 SUCH A REQUEST SHALL HAVE THE OBLIGATION TO ARRANGE FOR AND PAY THE
 COURT REPORTER. SUBJECT TO THE REFEREE'S POWER TO AWARD COSTS TO THE
 PREVAILING PARTY, THE PARTIES WILL EQUALLY SHARE THE COST OF THE
 REFEREE AND THE COURT REPORTER AT TRIAL.
            (g)  THE REFEREE SHALL BE REQUIRED TO DETERMINE ALL ISSUES
IN ACCORDANCE WITH EXISTING CASE LAW AND THE STATUTORY LAWS OF THE
STATE OF CALIFORNIA. THE RULES OF EVIDENCE APPLICABLE TO PROCEEDINGS
AT LAW IN THE STATE OF CALIFORNIA WILL BE APPLICABLE TO THE REFERENCE
PROCEEDING. THE REFEREE SHALL BE EMPOWERED TO ENTER EQUITABLE AS
WELL AS LEGAL RELIEF, PROVIDE ALL TEMPORARY OR PROVISIONAL REMEDIES,
ENTER EQUITABLE ORDERS THAT WILL BE BINDING ON THE PARTIES AND RULE ON
ANY MOTION WHICH WOULD BE AUTHORIZED IN A TRIAL, INCLUDING WITHOUT
LIMITATION MOTIONS FOR SUMMARY JUDGMENT OR SUMMARY ADJUDICATION.
THE REFEREE SHALL ISSUE A DECISION AND PURSUANT TO CCP 044 THE
REFEREE'S DECISION SHALL BE ENTERED BY THE COURT AS A JUDGMENT OR AN
ORDER IN THE SAME MANNER AS IF THE ACTION HAD BEEN TRIED BY THE COURT.
THE FINAL JUDGMENT OR ORDER OR FROM ANY APPEALABLE DECISION OR ORDER
ENTERED BY THE REFEREE SHALL BE FULLY APPEALABLE AS PROVIDED BY LAW.
THE PARTIES RESERVE THE RIGHT TO FINDINGS OF FACT, CONCLUSIONS OF LAWS,
A WRITTEN STATEMENT OF DECISION, AND THE RIGHT TO MOVE FOR A NEW TRIAL
OR A DIFFERENT JUDGMENT, WHICH NEW TRIAL, IF GRANTED, IS ALSO TO BE A
REFERENCE PROCEEDING UNDER THIS PROVISION.
            (h)  IF THE ENABLING LEGISLATION WHICH PROVIDES FOR
 APPOINTMENT OF A REFEREE IS REPEALED (AND NO SUCCESSOR STATUTE IS
 ENACTED), ANY DISPUTE BETWEEN THE PARTIES THAT WOULD OTHERWISE BE
DETERMINED BY REFERENCE PROCEDURE WILL BE RESOLVED AND DETERMINED
BY ARBITRATION. THE ARBITRATION WILL BE CONDUCTED BY A RETIRED JUDGE
OR JUSTICE, IN ACCORDANCE WITH THE CALIFORNIA ARBITRATION ACT #1280
THROUGH §1294.2 OF THE CCP AS AMENDED FROM TIME TO TIME. THE
'IMITATIONS WITH RESPECT TO DISCOVERY SET FORTH ABOVE SHALL APPLY TO
ANY SUCH ARBITRATION PROCEEDING.
           (i)    THE PARTIES RECOGNIZE AND AGREE THAT ALL DISPUTES
RESOLVED UNDER THIS REFERENCE PROVISION WILL BE DECIDED BY A •REFEREE
AND NOT BY A JURY. AFTER CONSULTING (OR HAVING HAD THE OPPORTUNITY TO
CONSULT) WITH COUNSEL. OF THEIR OWN CHOICE, EACH OF THE PARTIES
KNOWINGLY AND VOLUNTARILY AND FOR THEIR MUTUAL BENEFIT AGREES THAT
THIS REFERENCE PROVISION WILL APPLY TO ANY DISPUTE BETWEEN THEM WHICH
ARISES OUT OF OR IS RELATED TO THIS DEED OF TRUST.
        7.9 joggintion. Whenever the context requires, the word "it" shall include the word "they" or
"them", the word "its" shall include the word "their", all words used in the singular will be construed to
have been used in the plural, and vice versa, and each gender will include any other gender. The captions
of the sections of this Deed of Trust am for convenience only and do not define or limit any terms or
provisions. The word "include(s)" means "include(s), without limitation," and the word "including"
means "including but not limited to." The word "obligations" is used in its broadest and most
comprehensive sense, and includes all primary, secondary, direct, indirect, fixed and contingent
obligations. It Anther includes all principal, interest, prepayment charges, late charges, loan fees and any
other fees and charges accruing or assessed at any time, as well as all obligations to perform acts or

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 satisfy conditions. No listing of specific instances, items or matters in any way limits the scope or
 generality of any language of this Deed of Trust. The Exhibit(s) to this Deed of Trust are hereby
 incorporated in this Deed of Trust.

          7.10 Counsel Fees. Whenever Trustor is obligated to pay or reimburse Beneficiary or Trustee for
 any attorneys' fees, those fees shall include the allocated costs for services of counsel,

           7.11 Wail'Or of Marshaling. Tnistor waives a1.1 rights, legal and equitable, Trustor may now or
 hereafter have to require marshaling of assets or to direct the order in which any of the Property will be
 sold in the event of any sale under this Deed of Trust, including any rights provided by California Civil
 Code Sections 2899 and 3433, as such Sections may be amended from time to time. Each successor and
 assign of Trustor, including any holder of a lien subordinate to this Deed of Trust, by acceptance of its
 interest or lien agrees that it shall be bound by the above waiver, as if it had given the waiver itself

         7.12 Notices. Trustor hereby requests that a copy of notice of default and notice of sale be
mailed to Trustor at the address set forth below. `That address is also the mailing address of Trustor as
debtor under the Uniform Commercial Code. Beneficiary's address given below is the address for
Beneficiary as secured party under the Uniform Commercial Code. Any such notice shall be deemed
received two (2) business days after the date of deposit if deposited in the United States mail, first class,
certified or registered, with postage prepaid, and addressed to such party's mailing address as set forth
above, or as may be changed in a written notice sent in such manner.

Addresses for Notices to Trustor:       CRESTLLOYD, LLC
                                        8981 W. Sunset Blvd, Suite 303
                                        West Hollywood, California 90069
                                        Attn: Nile Niami and Yvonne Niami

Address for Notices to Beneficiary:     HILLDUN CORPORATION
                                        225 West 35th St.
                                        New York, New York 10001
                                        Attu: Joshua W. Kapelman

        7.13 Severability. If any provision of this Deed of Trust. should be held unenforceable or void,
that provision shall be deemed severable from the remaining provisions and in no way affect the validity
of this Deed of Trust except that if such provision relates to the payment of any monetary sum, then
Beneficiary may, at its option, declare all Secured Obligations immediately due ai    a

IN WITNESS WHEREOF, Trustor has executed this            ed of        s of the date first above written..

                                        CRE      LOYD, L


                                        Name: Nile Niami
                                        Title: M nager

                                       By;
                                       Name•. vonne Ni
                                       Title: Mana




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Case 2:22-ap-01125-DS         Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                  Desc
                             Main Document    Page 460 of 512




                                  ACKNOWLEDGMENT
   A notary public or other officer
   completing this certificate verifies only
   the identity of the individual who signed
   the document to which this certificate is
   attached, and not the truthfulness,
   accuracy, or validity of that document.

  State of California
  County of Ltf,L.)          6 =L -z

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  personally appeared       /     Al 119/14        , who proved to me on the basis of
   satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in
  his/her/their authorized capacity(les), and that by his/her/their signature(s) on the
  instrument the person(s), or the entity upon behalf of which the person(s) acted,
  executed the instrument.

  I certify under PENALTY OF PERJURY under the laws of the State of California that
  the foregoing paragraph is true and correct.                        ,t.dts..4
                                                                        NIGEL GIBBS
                                                                  Notary Public - California
                                                                     Los Angeles Coultly
  WITNESS my/ Ipand and officialleal.                              Commission # 2154230
                                                                My Comm. EYoiros Oct 4, 2020
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  Signature                                      (Seal)




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Case 2:22-ap-01125-DS         Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                  Desc
                             Main Document    Page 461 of 512




                                  ACKNOWLEDGMENT
    A notary public or other officer
    completing this certificate verifies only
    the identity of the individual who signed
    The document to which this certificate is
    attached, and not the truthfulness,
    accuracy, or validity of that document.

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   satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the
  within instrument and acknowledged to me that he/she/they executed the same in
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  instrument the person(s), or the entity upon behalf of which the person(s) acted,
  executed the instrument.

  I certify under PENALTY OF PERJURY under the laws of the State of California that
  the foregoing paragraph is true and correct.
                                                                              9.-
                                                                        NIGEL GIBIlb
                                                                  Notary Public - California
  WITNESS i/y hand an• official seal,                                Los Angeles County
                                                                   Commission # 2164239
                                                                My Comm. Expires Oct 4, 2020

  Signatur                                        (Seal)




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Case 2:22-ap-01125-DS           Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                   Desc
                               Main Document    Page 462 of 512




                                     LEGAL DESCRIPTION
                                          EXHIBIT A
 THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE CITY OF LOS ANGELES, COUNTY OF LOS
 ANGELES, STATE OF CALIFORNIA, AND IS DESCRIBED AS FOLLOWS:

 PARCEL 1:

 LOTS 1 AND 2 OF TRACT NO. 22727, IN THE CITY OF LOS ANGELES, COUNTY OF LOS ANGELES, STATE OF
 CALIFORNIA, AS PER MAP RECORDED IN BOOK 623 PAGES 81 TO 83 INCLUSIVE OF MAPS, IN THE OFFICE OF
 THE COUNTY RECORDER OF SAID COUNTY.
 EXCEPTING THEREFROM THAT PORTION OF SAID LOTS LYING WESTERLY OF THE FOLLOWING DESCRIBED
 LINE:

 BEGINNING AT A POINT IN THE NORTHWESTERLY TERMINUS OF AIROLE WAY, 30 FEET WIDE, AS SHOWN ON
SAID MAP, DISTANT THEREON SOUTH 76 DEGREES 06 MINUTES 07 MINUTES WEST 2.86 FEET FROM THE
MOST NORTHERLY CORNER THEREOF; THENCE LEAVING SAID TERMINUS ALONG A CURVE CONCAVE
WESTERLY, HAVING A RADIUS OF 361.97 FEET, AND CONCENTRIC WITH THAT CERTAIN CURVE IN THE
WESTERLY LINE OF SAID LOT 1HAVING A RADIUS OF 349.83 FEET; THENCE NORTHERLY 22.69 FEET ALONG
SAID CURVE THROUGH A CENTRAL ANGLE OF 03 DEGREES 35 MINUTES 48 SECONDS TO THE BEGINNING OF A
COMPOUND CURVE, CONCAVE SOUTHWESTERLY AND HAVING A RADIUS OF 175.66 FEET; THEM
NORTHWESTERLY 119.88 FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 39 DEGREES 06 MINUTES
52 SECONDS; THENCE NORTH 56 DEGREES 36 MINUTES 22 SECONDS WEST 7.97 FEET TO THE BEGINNING OF
A CURVE CONCAVE NORTHEASTERLY AND HAVING A RADIUS OF 90.80 FEET; THENCE NORTHWESTERLY 71.18
FEET ALONG SAID CURVE THROUGH A CENTRAL ANGLE OF 44 DEGREES 55 MINUTES 04 SECONDS; THENCE
NORTH 11 DEGREES 41 MINUTES 18 SECONDS WEST 208.55 FEET TO THE BEGINNING OF A CURVE CONCAVE
EASTERLY AND HAVING A RADIUS OF 35.90 FEET; THENCE NORTHERLY 34.44 FEET ALONG SAID CURVE
THROUGH A CENTRAL ANGLE OF 56 DEGREES 32 MINUTES 34 SECONDS; THENCE NORTH 44 DEGREES 51
MINUTES 16 SECONDS EAST 42.37 FEET TO THE CURVED SOUTHEASTERLY LINE OF STRADELIA ROAD, 40
FEET WIDE, AS SHOWN ON SAID MAP.
PARCEL 2:

THAT PORTION OF LOT 3 IN BLOCK 3 OF TRACT NO. 9745, IN THE CITY OF LOS ANGELES, COUNTY OF LOS
ANGELES, STATE OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 141 PAGES 93 TO 96 INCLUSIVE, OF
MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, LYING NORTHERLY OF THE FOU.OWING
DESCRIBED UNE:
BEGINNING AT A POINT IN THE EASTERLY LINE OF SAID LOT, DISTANCE THEREON SOUTH 13 DEGREES 13
MINUTES 20 SECONDS EAST 34.33 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN COURSE IN
SAID EASTERLY LINE SHOWN ON SAID MAP AS HAVING A BEARING AND LENGTH OF NORTH 13 DEGREES 13
MINUTES 20 SECONDS WEST 106.35 FEET; THENCE NORTH 89 DEGREES 27 MINUTES 20 SECONDS WEST
214.07 FEET, MORE OR LESS, TO A POINT IN THE WESTERLY LINE OF SAID LOT, DISTANT SOUTHERLY
THEREON 54.93 FEET FROM THE NORTHERLY TERMINUS OF THAT CERTAIN CURVE IN SAID WESTERLY LINE
HAVING A LENGTH OF 115.83 FEET.
APN: 4369-026-021
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             EXHIBIT JJ
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Case 2:22-ap-01125-DS             Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                            Desc
                                 Main Document    Page 465 of 512




  RECORDING REQUESTED BY AND
  WHEN RECORDED RETURN TO:

  Wolf, Rifkin, Shapiro, Schulman &
  Rabkin, LLP
  11400 W. Olympic Blvd., 9th Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.


                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                               TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                WHEREAS, the note secured by that certain Deed of Trust, recorded September 23,
 2019 as Instrument No. 20190989746 in the Official Records in the Office of the County Recorder
 of Los Angeles County, State of California, executed by Crestlloyd, LLC, a California limited
 liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities Holdings,
 LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid
 and satisfied;

                   NOW, TI-IEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein,
               IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
executed as of December 24, 2020.

YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff; Trustee of
            Yogi Management Trust




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                                 Main Document    Page 466 of 512




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   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                WHEREAS, the note secured by that certain Deed of Trust, recorded September 23,
 2019 as Instrument No. 20190989746 in the Official Records in the Office of the County Recorder
 of Los Angeles County, State of California, executed by Crestiloyd, LLC, a California limited
 liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities Holdings,
 LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid
 and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein.

                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
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YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

 By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust




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                            A notary public or other officer completing this
                               certificate verifies only the identity of the
                           individual who signed the document to which this
                              certificate is attached, and not truthfulness,
                                 accuracy, or validity of that document.



 STATE OF CALIFORNIA

 COUNTY OF LOS ANGELES



 On Decemb                      , before me, Fa/Art.14(X. Rottizactell                            ,a
 Notary Public, personally appeared Joseph Englanoff, who proved to me on the basis of
 satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
 and acknowledged to me that he/she/they executed the same in his/her/their authorized
 capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
 upon behalf of which the person(s) acted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.

 WITNESS MY HAND AND OFFICI •              SEAL.
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  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.


                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                                TITLE(S)
   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE
                WHEREAS, the note secured by that certain Deed of Trust, recorded October 28,
 2019 as Instrument No. 20191154392 in the Official Records in the Office of the County Recorder
 of Los Angeles County, State of California, executed by Carcassonne, LLC, a California limited
 liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities Holdings,
 LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid
 and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein.

                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
 executed as of December 24, 2020.

 YOGI SECURITIES HOLDINGS, LLC,
 a Nevada limited liability company

By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust




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  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.


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   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


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 of Los Angeles County, State of California, executed by Carcassonne, LLC, a California limited
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 LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid
 and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
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 therein.
                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
 executed as of December 24, 2020.

 YOGI SECURITIES HOLDINGS, LLC,
 a Nevada limited liability company

 By: YOGI Management Trust, its manager

    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust




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                            A notary public or other officer completing this
                               certificate verifies only the identity of the
                           individual who signed the document to which this
                              certificate is attached, and not truthfulness,
                                 accuracy, or validity of that document.



 STATE OF CALIFORNIA

 COUNTY OF LOS ANGELES



 On 1I€a», Le( agi 2-0.2.10 , before me, Feteli out             ctip stei42,11                    ,a
 Notary Public, personally appeared Joseph Englanoff, who proved to me on the basis of
 satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
 and acknowledged to me that he/she/they executed the same in his/her/their authorized
 capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
 upon behalf of which the person(s) acted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.

 WITNESS MY HAND AND OFFICIAL SEAL.

                                                                        FARAMANZ RARIMINNI
                                                                      NOTARY PUBUC - CALIFORNIA
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  11400 W. Olympic Blvd., 9'' Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.



                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                                TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                  WHEREAS, the note secured by that certain Deed of Trust, recorded April 23, 2018
 as Instrument No. 20180389829 in the Official Records in the Office of the County Recorder of
 Los Angeles County, State of California, executed by 1369 Londonderry Estate, LLC, a California
 limited liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities
 Holdings, LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been
 fully paid and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it. as trustee under the Deed of Trust, to the property described
 therein.

               IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
executed as of December 24, 2020.

YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

By: YOGI Management Trust, its manager


     By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust



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Case 2:22-ap-01125-DS             Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                            Desc
                                 Main Document    Page 474 of 512




  RECORDING REQUESTED BY AND
  WHEN RECORDED RETURN TO:

  Wolf, Rifkin, Shapiro, Schulman &
  Rabkin, LLP
  11400 W. Olympic Blvd., 9'h Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.



                                                             SPACE ABOVE THIS LINE POR RECORDER'S USE ONLY




                                                TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                  WHEREAS, the note secured by that certain Deed of Trust, recorded April 23, 2018
 as Instrument No. 20180389829 in the Official Records in the Office of the County Recorder of
 Los Angeles County, State of California, executed by 1369 Londonderry Estate, LLC, a California
 limited liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities
 Holdings, LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been
 fully paid and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein.

                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
 executed as of December 24, 2020.

YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust



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Case 2:22-ap-01125-DS            Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                        Desc
                                Main Document    Page 475 of 512




                             A notary public or other officer completing this
                                ceiiificate verifies only the identity of the
                            individual who signed the document to which this
                               certificate is attached, and not truthfulness,
                                 accuracy, or validity of that document.




 STATE OF CALIFORNIA

 COUNTY OF LOS ANGELES



 On .bexemi          21, 262v , before me, FortativA ti-X. (aja k‘ztt                               a
 Notary Public, personally appeared Joseph Englanoft, who proved to me on the basis • of
 satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
 and acknowledged to me that he/she/they executed the same in his/her/their authorized
 capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
 upon behalf of which the person(s) acted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.

 WITNESS MY HAND AND OFFICIAL SEAL.

                                                                           FARAMARZ RASIZADIN
                                                                        NOTARY PUBLIC • CALIFORNIA
                                                                          COMMISSION 0 210•02
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Notary      ic in and for   d State




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Case 2:22-ap-01125-DS             Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                            Desc
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  RECORDING REQUESTED BY AND
  WHEN RECORDED RETURN TO:

  Wolf, Rifkin, Shapiro, Schulman &
  Rabkin, LLP
  11400 W. Olympic Blvd., 9th Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. 7.idell, Esq.



                                                             SPACE ABOVE THIS UNE FOR RECORDER'S USE ONLY




                                                TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                 WHEREAS, the note secured by that certain Deed of Trust, recorded April 23, 2018
 as Instrument No. 20180389830 in the Official Records in the Office of the County Recorder of
 Los Angeles County, State of California, executed by Marbella Construction, Inc., a California
 corporation, as trustor, to Chicago Title Company as trustee, for YOGI Securities Holdings, LLC, a
 Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid and
 satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein.
                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
 executed as of December 24, 2020.

YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust




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Case 2:22-ap-01125-DS             Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                           Desc
                                 Main Document    Page 478 of 512




   RECORDING REQUESTED BY AND
   WHEN RECORDED RETURN TO:

  Wolf, Rifkin, Shapiro, Schulman &
  Rabkin, LLP
  11400 W. Olympic Blvd., 9th Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.


                                                            SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                               TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                 WHEREAS, the note secured by that certain Deed of Trust, recorded April 23, 2018
 as Instrument No. 20180389830 in the Official Records in the Office of the County Recorder of
 Los Angeles County, State of California, executed by Marbella Construction, Inc., a California
 corporation, as trustor, to Chicago Title Company as trustee, for YOGI Securities Holdings, LLC, a
 Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been fully paid and
 satisfied;

                  NOW, THEREFORE, the undersigned, being the present legal owner and holder of
the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
therein.
               IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
executed as of December 24, 2020.

YOGI SECURITIES HOLDINGS, LLC,
a Nevada limited liability company

By: YOGI Management Trust, its manager


    By:
            Joseph Englanoff, Trustee of
            Yogi Management Trust




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Case 2:22-ap-01125-DS           Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                         Desc
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                            A notary public or other officer completing this
                               certificate verifies only the identity of the
                           individual who signed the document to which this
                              certificate is attached, and not truthfulness,
                                accuracy, or validity of that document.



 STATE OF CALIFORNIA

 COUNTY OF LOS ANGELES



 On per e_vri L.e(.2.41 / 2r)20, before me, ra tra vvicitrX RotbiZa                               ,a
 Notary Public, personally appeared Joseph Englanoff, who proved to me on the basis of
 satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
 and acknowledged to me that he/she/they executed the same in his/her/their authorized
 capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
 upon behalf of which the person(s) acted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.

 WITNESS MY HAND AND OFFICIAL SEAL.

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   RECORDING REQUESTED BY AND           )
   WHEN RECORDED RETURN TO:             )

  Wolf, Rifkin, Shapiro, Schulman &     )
  Rabkin, LLP                           )
  11400 W. Olympic Blvd., 9k" Floor     )
  Los Angeles, CA 90064-1582            )
  Attn: Steven H. Zidell, Esq.
                                        )
                                        )
                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                                TITLE(S)


    SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE

                  WHEREAS, the note secured by that certain Deed of Trust, recorded October 28,
 2019 as Instrument No. 20191154391 in the Official Records in the Office of the County Recorder
 of Los Angeles County, State of California, executed by 10701 Bellagio Road, LLC, a California
 limited liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities
 Holdings, LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been
 fully paid and satisfied;

                   NOW, THEREFORE, the undersigned, being the present legal owner and holder of
 the note secured by the Deed of Trust, does hereby substitute and appoint itself as successor trustee,
 and as trustee does hereby reconvey, without warranty, to the person or persons entitled thereto, all
 the estate, title, and interest held by it, as trustee under the Deed of Trust, to the property described
 therein.
                IN WITNESS WHEREOF, the undersigned has caused this reconveyance to be
 executed as of December 24, 2020.

 YOGI SECURITIES HOLDINGS, LLC,
 a Nevada limited liability company

 By: YOGI Management Trust, its manager


     By:
             Joseph Englanoff, Trustee of
             Yogi Management Trust




 4411655.1
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   RECORDING REQUESTED BY AND
   WHEN RECORDED RETURN TO:

  Wolf, Rifkin, Shapiro, Schulman &
  Rabkin, LLP
  11400 W. Olympic Blvd., 9th Floor
  Los Angeles, CA 90064-1582
  Attn: Steven H. Zidell, Esq.


                                                             SPACE ABOVE THIS LINE FOR RECORDER'S USE ONLY




                                                TITLE(S)


   SUBSTITUTION OF TRUSTEE AND DEED OF FULL RECONVEYANCE


                  WHEREAS, the note secured by that certain Deed of Trust, recorded October 28,
 2019 as Instrument No. 20191154391 in the Official Records in the Office of the County Recorder
 of Los Angeles County, State of California, executed by 10701 Bellagio Road, LLC, a California
 limited liability company, as trustor, to Chicago Title Company as trustee, for YOGI Securities
 Holdings, LLC, a Nevada limited liability company, as beneficiary (the "Deed of Trust"), has been
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 YOGI SECURITIES HOLDINGS, LLC,
 a Nevada limited liability company

 By: YOGI Management Trust, its manager


     By:
            Joseph England& Trustee of
            Yogi Management Trust




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                            A notary public or other officer completing this
                               certificate verifies only the identity of the
                           individual who signed the document to which this
                              certificate is attached, and not truthfulness,
                                accuracy, or validity of that document.



 STATE OF CALIFORNIA

 COUNTY OF LOS ANGELES



 On Dece.112.er 2B, 2020, before me, Fctiatvy cork lakto                                          ,a
 Notary Public, personally appeared Joseph Englanoff, who proved to me on the basis of
 satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the within instrument
 and acknowledged to me that he/she/they executed the same in his/her/their authorized
 capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity
 upon behalf of which the person(s) acted, executed the instrument.

 I certify under PENALTY OF PERJURY under the laws of the State of California that the
 foregoing paragraph is true and correct.

 WITNESS MY HAND AND OFFICIAL SEAL.

                                                                           FARANAMIASIZADEM
                                                                        NOTARY mow - OALWOONIA
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                                                                           LOS Mean COUNTY
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Date of      EFI Loan      Furniture        Sales         Skyline/      Nile     interest         Skyline -      Property        Centurion      Electric         Skyline/
Payment      Fees                           Office/       Overhead      Travel   Payments         Project        Taxes           AV                              Other
                                            Supplies/     Payroll                                 Management                                                     Labor
                                            Furnishing
                                                                                                  Fees

8/1/19                                                                             $695,044.29

5/15/19                                                                                                                                             $65,000.00

9/1/19                                                                             5703,993.75

10/1/19                                                                            5689,623.27

10/3/19                                                                                                           $123,001.04

10/10/19                    $1,500,000.00                                                           $30,000.00                                                    $45,000.00

10/21/19                                                                                                                          $500,000.00     $150,000.00

11/1/19                                                                            $736,649.19

12/1/19                                                                               $306.91
                                                                                   $734,421.79

12/12/19                                     $25,000.00

12/31/19                                                                                                           $600,335.06

1/1/20                                                                             $561,146.01

1/2/20                                                                             $208,557.12

1/3/20                                                     $72,780.00                               $30,906.00

1/28/20                                                    $34,495.00                               $32,702.94

2/1/20                                                                              $785,339.87

2/3/20                                                                                                                                              $25.000.00




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Date of      EFI lean      Furniture    Sales        Skyline/      Nile     Interest         Skyline        Property        Centurion      : Electric        Skillful
Payment      Fees                       Office/      Overhead      Travel   Payments         Project        faxes           AN'                              Other
                                        Supplies/    Payroll                                 Management                                                      Labor
                                        Furnishing
                                                                                             Fees
                                              —........
2/12/20                                                                                                                      $750,000.00

2/14/20                                               $50,000.00                               $28,479.80                                                     $33,060.00

3/1/20                                                                        $750,504.24

3/5/20                                                                                         $13,692.30                                                     $22,820.20

3/16/20                                                                                        $13,742.30                                                     $20,375.00

3/30/20                                                                                        $13,717.30                                                     $27,935.00

4/1/20                                                                        $818,492.10

4/6/20                                                                                                                                          $75,000.00    $33,418.38

4/7/20                                                                                                        $545,759.14

4/10/20                                                                                        $16,252.15                                                     $27,996.97

4/21/22                                                                                         $9,058.95                                                     $14,932.00

4/28/20                                                                                         $9,058.95                                                     $14,692.00

5/1/20                                                                         $809,716.55

5/5/20                                                                                          $9,058.95                                                      $16,373.00

5/11/20                                                                                         $8,077.38                                                      $14,687.00

5/19/20                                                                                         $7,058.95                                                      $13,687.00

5/26/20                                                                                         $7,233.57                                                      $12,412.00
                                       ,--
6/3/20                                                                                          $7,058.00                                                      $10,886.00




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                                            —                           —
Date of      EFI Loan        Furniture          Sales        Skyline/       Nile     Interest         Skyline         Property   Centurion                       Skyline/
Payment      Fees                               Office/      Overhead       Travel   Payments         Project         Tales      A%                              Other
                                                Supplies/    Payroll                                  Management                                                 I .atror
                                                Furnishing
                                                                                                      Fees



6/10/20         $85,000.00                                                             $362,012.29       $7,058.95                                  $50,000.00    $10,512.00

8/25/20                                                                                 $405,569.94
                                                                                      $1,210,156.30
                                                                                      $1,253,956.73
                                                                                     $1,000,000.00*
                                                                                        $873,642.46
8/27/20                       $317,000.00                                                                                         $655,000.00       $50,000.00
                               $30,000.00
9/1/20                                                                                   $85,000.00

9/3/20                                                                                                  $77,648.45                                                $37,690.00

9/17/20                        $158,000.00                                                              $21,184,22                                                $14,177.65
                               $317,000.00
9/21/20                         $57,000.00

10/1/20                                                                                 $899,661.63

10/2/20                            $61,250.00                   $535.00                                 $14,132.63                                                $15,645.00

10/6/20                                                                                                  $9,500.00

10/19/20                           $36,610.00                                                           $14,810.20                                                $17,855.00

10/29/20                           $75,000.00

11/1/20                                                                                 $949,015.81

11/5/20                                                                                                 $14,810.20                                  $50,000.00     $18,630.00
                                                                                                         $9,500.00
11/19/20                       $316,000.00          $59.82                                              $14,810.20                                                 $18,199.00
                                $25,000.00
                                $25,000.00
12/7/20                                                                                                   $9,500.00                                                $21,080.00
                                                                                                         $22,21530




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     Date of      EFI Loan            Furniture       Sales         Skyline/      Nile         Interest         Skyline                  Property    ' 7
                                                                                                                                                       Centurion         Electric        Skyline/
     Payment      Fees                                Office/       Overhead      Travel       Payments         Project                  Taxes         AV                                Other
                                                      Supplies/     Payroll                                     Management                                                               Labor
                                                      Furnishing
                                                                                                                Fees
1.                                —         —                  —                                           ....re.......-         ...:
     12/23/20                                                                                                                                            $480,500.00

     12/24/20                                                                                                        $22,215.30                                                           $22,785.00

     12/31/20                                                                                                        $14,810.20                                             $30,000.00    $11,200.00

     1/4/21          $15,500.00

     1/22/21                                                                                                         $15,984.60                                                           $12,470.00

     2/2/21          $15,500.00

     2/12/21                                                                                                         $24,043.32                             $7,406.88                     $22,125.00

     2/16/21                             $13,500.00
                                         $50,000.00
     2/26/21                                                                                                                                              $131,000.00

     3/3/21          $15,500.00                                                                                                                           $118,500.00

     6/3/21                              $27,000.00                                                                  $20,192.25                                                           $19,940.00

     6/17/21                                                                                                            $2,692.30                         $150,000.00

     7/6/21          $21,000.00

     TOTAL         $1,352,500.00      $5,918,013.46    $25,259.82   $482,810.00   $74,389.56   $18,280,031.87       $640,021.44          $2,356,354.24   $5,671,406.88   $1,020,000.00   $710,583.20




                                                                                  Grand total: $36,531,370.47

      *Points paid




              US Active\121678987W-1
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            EXHIBIT LL
         Case 2:22-ap-01125-DS             Doc 55 Filed 09/21/22 Entered 09/21/22 16:30:06                Desc
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                                              CLIENT TRUST LEDGER
                                       HANKEY INVESTMENT COMPANY, LP
                                    H11344-000-CRESTLLOYD, LLC (BORROWER)
  Date                     VENDOR                  From Whom Received / Paid                 Memo            Payment




11/05/2018    CLOSING FUND                     HANKEY CAP                      ER Doc Fee                            $15,000.00
11/05/2018    HANKEY CAP                       HANKEY CAP                      Deposit                               -$5,000.00
11/05/2018    HANKEY CAP                       HANKEY CAP                      ER Loan Fee                        $1,200,000.00
11/05/2018    HANKEY CAP                       ESCROW                          Hard Cost Contingency                $273,549.67
11/05/2018    ESCROW                           HANKEY CAP                      ER Doc Fee                             $7,500.00
11/05/2018    ESCROW                           ESCROW                          Land/Lot Purchase                 $45,343,950.33
11/05/2018    ESCROW                           ESCROW                          Title and Recording Fees              $82,500.00



11/13/2018    CGS                               CRESTLLOYD                     Doors and Windows                   $261,916.00
11/13/2018    SKYLINE                           CRESTLLOYD                     Other-Labor                           $30,000.00
11/13/2018    SCP POOL JABS FLEX!               CRESTLLOYD                     Swimming Pool                       $145,752.34
11/13/2018    SCP POOL JABS FLEX!               CRESTLLOYD                     Swimming Pool                          $8,580.00
11/13/2018    WEST COAST GATE                   CRESTLLOYD                     Garage Doors                        $100,000.00
11/13'2018    CENTURION                         CRESTLLOYD                     A/V                                $1,900,000.00
11/13/2018    NILE ILG                          CRESTLLOYD                     Furniture                          $1,500,000 00
11/13/2018    AMERICAN RENTALS                  CRESTLLOYD                     Rentals                               $41,845.60
11/13/2018    POWERTEK                          CRESTLLOYD                     Electrical                           $300,000.00
11/13/2018    PUBLIC INSURANCE                  CRESTLLOYD                     Permits and Fees                        $1,263.00
11/13/2018    BMC                               CRESTLLOYD                     Decks                                   $8,855.32
11/13/2018    INDIGO                            CRESTLLOYD                     Foundation                            $30,707.94
11/13/2018    ASS DESIGN                        CRESTLLOYD                     Exterior Painting                     $45,000.00
 11/13/2018   INVESTOR PAYOUT                   CRESTLLOYD                     Lot Payoff                         $6,000,000.00
 11/13/2018   CAD STONE                         CRESTLLOYD                     CAD AND WIN SPLIT                    $225,160.00
 11/13/2018    BMC                              CRESTLLOYD                     Decks                                 $52,651.24
 11/13/2018    SYNDER DIAMON                    CRESTLLOYD                     Finish Plumbing                      $652,590.13
 11/13/2018    MISC                             CRESTLLOYD                     Utilities                              $11,319.44
 11/13/2018    J&E TEXTURE                      CRESTLLOYD                      Drywall                               $30,200.00
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   Date                     VENDOR               From Whom Received / Paid                  Memo          Payment
11/13/2018     ALLIANCE PREM FINANCE          CRESTLLOYD                     Insurance                        $161,546.52
11/13/2018     WEST COAST GATE                CRESTLLOYD                     Finish Carpentry (Sub)           $100,000.00
11/13/2018     ADVANCED CONCRETE CUTTING      CRESTLLOYD                     Foundation                           $475.00
11/13/2018     DAIKIN MANUFA / NSWC           CRESTLLOYD                     HVAC                             $118,380.99
11/13/2018     CREST REAL ESTATE              CRESTLLOYD                     Permits and Fees                  $20,243.51
11/13/2018     LANDSCAPE DEV                  CRESTLLOYD                      Landscaping                     $211,725.88
11/13/2018     PORTNOY                        CRESTLLOYD                      Water Hookup/Tank/Well          $110,200.00
11/13/2018     KENNCO                         CRESTLLOYD                      Plumbing                         545,396.75
11/13/2018     KN COATING                     CRESTLLOYD                      Waterproofing                    548,675.00

11/14/2018     SKYLINE                        CRESTLLOYD                     Overhead/Payroll                  $50,000.00
11/14/2018     PORTNOY                        CRESTLLOYD                     Water Hookup/Tank/Well           $103,900.00
11/14/2018     CGS                            CRESTLLOYD                     Doors and Windows                $318,661.00
11/14/2018     WEST VALLEY GREEN              CRESTLLOYD                     Landscaping                      $105,000.00
11/14/2018     NILE TRAVEL                    CRESTLLOYD                     Miscellaneous                     $74.389.56
11/14/2018     WEST COAST GATE                CRESTLLOYD                     Finish Carpentry (Sub)           $125,000.00
11/14/2018     WEST COAST GATE                CRESTLLOYD                     Garage Doors                      $75,000.00
11/14/2018     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                 $50,000.00

11/20/2018     PLUS DEV                       PLUS DEV                       Soft Cost Contingency               $5,000.00

12/01/2018     HANKEY CAP                     HANKEY CAP                     Interest payment                  $444,329 13

12/05/2018     PROP TAXES                      PROP TAXES                     Property Taxes                   5543.629.50

 01/01/2019    HANKEY CAP                      CRESTLLOYD                     Interest payment                 $576,903.41



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 01/11/2019     NILE FIJI SCULPTURE            CRESTLLOYD                     Furniture                         $20,000.00
 01/11/2019     SNYDER DIAMON                  CRESTLLOYD                     Finish Plumbing                  $463,639.19
 01/11/2019     WEST VALLEY GREEN              CRESTLLOYD                     Landscaping                      $208,365.00
 01/11/2019     SKYLINE                        CRESTLLOYD                     Overhead/Payroll                 $100,000.00
 01/11/2019     JF BUILDERS                    CRESTLLOYD                     Foundation                        $62,682.00
 01/11/2019     KENNCO                         CRESTLLOYD                     Plumbing                          $38,693.75
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01/11/2019    YX CABINETS                 CRESTLLOYD                     Finish Carpentry (Sub)          $125,000.00
01/11/2019    POWERTEK                    CRESTLLOYD                     Electrical                      $100,000.00



01/30/2019    MONKEY TRUCKING             CRESTLLOYD                     Finish Grading                   $19,100.00
01/30/2019    CAD STONE                   CRESTLLOYD                     Stone                           $121,660.00
01/30/2019    PORTNOY                     CRESTLLOYD                     Water Hookup/Tank/Well          $138,224.00
01/30/2019    ALLIANCE PREM FINANCE       CRESTLLOYD                     insurance                        $80,773.26
01/30/2019    NILE I LG                   CRESTLLOYD                     Furniture                       $826,646.00
01/30/2019    JASS DESIGN                 CRESTLLOYD                     Exterior Painting                $25,000.00
01/30/2019    SYNDER DIAMOND              CRESTLLOYD                     Finish Plumbing                 $125,000.00
01/30/2019    BARAZANI                    CRESTLLOYD                     Foundation                       $50,170.00
01/30/2019    AMERICAN RENTALS            CRESTLLOYD                     Rentals                          $15,841.52
01/30/2019    RSD                         CRESTLLOYD                      HVAC                            $43,095.60
01/30/2019    SCP POOL JABS FLEX!         CRESTLLOYD                      Swimming Pool                    $2,850.00
01/30/2019    DWP                         CRESTLLOYD                      Rough Electrical                 $8,997.00
 01/30/2019    KN COATING                 CRESTLLOYD                      Waterproofing                   $17,100.00
 01/30/2019   PACIFICO STRUCTURE          CRESTLLOYD                      Shoring Bracing                 $30,135.00
 01/30/2019    METRO DISPOSAL              CRESTLLOYD                     Clean up                          $7,781.60


02/01/2019    0119                         CRESTLLOYD                     Soft Cost Contingency            $12,000.00
02/01/2019    HANKEY CAP                   HANKEY CAP                     Interest payment                $590.753.13



 02/12/2019    CGS                         CRESTLLOYD                     Doors and Windows               $172,280.00

 03/01/2019    HANKEY CAP                  HANKEY CAP                     Interest payment                $555,883.87
 03/01/2019    ALLIANCE PREM FINANCE       ALLIANCE PREM                  Insurance                        $80,773.26

 03/27/2019    ROLLS SCAFFOLD              CRESTLLOYD                     Piaster, Stucco                   $5,536.56
 03/27/2019    SCP POOL JABS FLEXI         CRESTLLOYD                     Swimming Pool                   $145,752.34
 03/27(2019    CARAVAN RUGS                CRESTLLOYD                     Furniture                        $85,990.00
 03/27/2019    GOLDEN STATE ROOF           CRESTLLOYD                     Roofing                          $10,000.00
 03/27/2019    CREST REAL ESTATE           CRESTLLOYD                     Permits and Fees                  $7,516.48
 03/27/2019    J&E TEXTURE                 CRESTLLOYD                     Drywall                          $69,917.50
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03/27/2019   COAST FIREPLACE              CRESTLLOYD                     Fireplaces/Chimneys               $16,055.00
03/27/2019   DESIGN SHOP DELIVERED        CRESTLLOYD                     Decorator Walls                  5151,123.00
03/27/2019   SKYLINE                      CRESTLLOYD                     Other-Labor                       $40,000.00
03/27/2019   JASS DESIGN                  CRESTLLOYD                     Exterior Painting                 $50,000.00
03/27/2019   KN COATING                   CRESTLLOYD                     Waterproofing                     $28,625.00
03/27/2019   BARCA IRON WORKS             CRESTLLOYD                     Stairs and Rails                  $22,700.00
03/27/2019   OSARIO CONSTRUCTION          CRESTLLOYD                     Decks                             $87,513.39
03/27/2019   POWERTEK                     CREST LLOYD                    Electrical                       5150,000.00
03/27/2019   FEFFER GEO                   CRESTLLOYD                     Soils Report/Tests                $20,412.95
03/27/2019   ALLIANCE PREM FINANCE        CRESTLLOYD                     Insurance                         $80,773.26
03/27/2019   NILE SKYLINE                 CRESTLLOYD                     Overhead/Payroll                 S150,000.0C
03/27/2019   KENNCO                       CRESTLLOYD                     Plumbing                          $42,818.10
03/27/2019   Wolf. Rifkin, & Shapiro      CRESTLLOYD                     Legal Services                    542,738.87
03/27/2019   ALLSTATE                     CRESTLLOYD                      Landscaping                       $30,837.00
03/27/2019   PARQUET BY DAN               CRESTLLOYD                      Flooring                          $40,925.00
03/27/2019   BARAZANI                     CRESTLLOYD                      Foundation                        $23,200.00
03/27/2019   SKYLINE                       CRESTLLOYD                     P-oject Mgmt Fees                 $30,000.00



04/01/2019   HANKEY CAP                   CRESTLLOYD                     Interest payment                  $624,088.46
04/01/2019   PROP TAX                     CRESTLLOYD                     Property Taxes                    5543,529.50

04/16/2019   ALLIANCE PREM FINANCE        CRESTLLOYD                      Insurance                         $75,037.29

04/18/2019    RICHEE                       CRESTLLOYD                     Lighting Fixtures                 $29,565.52
04/18/2019    AMERICAN RENTALS             CRESTLLOYD                     Rentals                           $39,183.65
04/18/2019    SCP POOL JABS FLEXI          CRESTLLOYD                     Swimming Pool                     $10,000.00
04/18/2019    WEST COAST GATE              CRESTLLOYD                     Finish Carpentry (Sub)            $75,000.00
04/18/2019    HENANDEZ CARPET              CRESTLLOYD                     Carpet                           5108,742.81
04/18/2019    CENTURION                    CRESTLLOYD                     A/V                              5979,000.00
04/18/2019    NEWBURY CONCRETE             CRESTLLOYD                     Plaster, Stucco                   $67,600.00
04/18/2019    CAD STONE                    CRESTLLOYD                     CAD AND CREATIVE SPLIT           $272,330.60
04/18/2019    WEST VALLEY GREEN            CRESTLLOYD                     Landscaping                      $150,000.00
04/18/2019    METRO DISP                   CRESTLLOYD                     House Cleaning                     $7,725.80
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05/01/2019    HANKEY CAP                      CRESTLLOYD                     Interest payment                $632,229 27

06/01/2019    HANKEY CAP                      CRESTLLOYD                     interest payment                $668,982.63

06/07/2019     ALLIANCE PREM FINANCE          CRESTLLOYD                     Insurance                        $48,601.81

06/10/2019     SKYLINE                        CRESTLLOYD                     Overhead/Payroll                 $25,000.00




07/01/2019     ALLIANCE PREM FINANCE          CRESTLLOYD                     Insurance                        $58,833.32
07/01/2019     HANKEY CAP                     CRESTLLOYD                     Interest payment                $654,051.72
07/01/2019     HANKEY CAP                     CRESTLLOYD                     WIRE FEE                             $12.00



07/12/2019     PLUS DEV                       CRESTLLOYD                     Soft Cost Contingency              $7,000.00
07/19/2019     KENNCO                         CRESTLLOYD                     Plumbing                         $38,114.53
07/19/2019     WEST COAST GATE                CRESTLLOYD                     Ornamental Iron                   $19,308.00
07/19/2019     MUSE WALL                      CRESTLLOYD                     Decorator Walls                   $75,125.00
07/19/2019     RESIDENTIAL ELEVATOR           CRESTLLOYD                     Elevator/Dumbwaiter               $70,215.50
07/19/2019     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                 530,000.00
07/19/2019     CGS                            CRESTLLOYD                     Doors and Windows                 $50,000.00
07/19/2019     DRS ENGINEER                   CRESTLLOYD                     Soils Report/Tests                  $2,375.00
07/19/2019     NILE OFFICE                    CRESTLLOYD                     Land/Lot Purchase                 $50,000.00
07/19/2019     SKYLINE                        CRESTLLOYD                     Other-Labor                       $90,000.00
07/19/2019     NORTHSTAR FREIGHT              CRESTLLOYD                     Water Hookup/Tank/Weil            $34,548.59
07/19/2019     CREST REAL ESTATE              CRESTLLOYD                     Permits and Fees                    $3,646.55
07/19/2019     TECHNOGYM                      CRESTLLOYD                     Gym                               $16,053.40
07/19/2019     LADWP                          CRESTLLOYD                     Utilities                           $8,604.73
07/19/2019      AZ FIRE SPRINKLERS            CRESTLLOYD                     Fire Sprinklers                     $7,450.00
 07/19/2019     CARAVAN RUGS RESTORATION HW   CRESTLLOYD                     Furniture                        $563,007.46
 07/19/2019    !ASS DESIGN                     CRESTLLOYD                    Exterior Painting                  $20,000.00
 07/19/2019     AMERICAN RENTALS               CRESTLLOYD                     Rentals                           $33,271.33
 07/19/2019     ALLSTATE LANDSCAPING           CRESTLLOYD                     Landscaping                       $16,215.00
 07/19/2019     KN COASTING                    CRESTLLOYD                     Waterproofing                     $23,750.00
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07/19/2019   SCHMIDT METAL                CRESTLLOYD                     Gazebo                         $139,700.00

08%01/2019   HANKEY CAP                   HANKEY CAP                     Interest payment               $695,044.29

08/06/2019   ALLIANCE PREM FINANCE        CRESTLLOYD                     Insurance                        543,973.07
08/15/2019   BARAZANI / INDIGO            CRESTLLOYD                     Foundation                       $59,217.53
08/15/2019   .IMS AIR                     CRESTLLOYD                     HVAC                             $45,000.00
08/15/2019   CAD STONE                    CRESTLLOYD                     Stone                           $100,000.00
08/15/2019   POWERTEK                     CRESTLLOYD                     Electrical                       565,000 00
08/15/2019    WEST VALLEY GREEN           CRESTLLOYD                      Landscaping                     $75,000.00
08/15/2019    GB DRAPERY                  CRESTLLOYD                      Decorator Wails                 $59,302.18



08/20/2019   PLUS DEV                     PLUS DEV                       Soft Cost Contingency             $5,500.00

09/01/2019   HANKEY CAP                   HANKEY CAP                     Interest payment                $703,993.75

10/01/2019   HANKEY CAP                   HANKEY CAP                     interest payment                $689,623.27

10/03/2019   PROP TAX                      PROP TAX                      Property Taxes                  $123,001 04

10/10/2019   INDIGO CONST                  CRESTLLOYD                    Foundation                        $36,017.53
10/10/2019   AZ FIRE SPRINKLERS            CRESTLLOYD                    Fire Sprinklers                    $4,600.00
10/10/2019   NILE ILG                      CRESTLLOYD                    Furniture                      $1,500,000.00
10/10/2019   SKYLINE                       CRESTLLOYD                    Project Mgmt Fees                 $30,000.00
10/10/2019   AMERICAN RENTALS              CRESTLLOYD                    Rentals                           $32,909.39
10/10/2019   KENNCO                        CRESTLLOYD                    Plumbing                           $9,606.70
10/10/2019   WEST COAST GATE               CRESTLLOYD                    Ornamental Iron                   $45,052.00
10/10/2019    LADWP/SPECTRUM/VERIZON       CRESTLLOYD                    Utilities                          $9,768.81
10/10/2019    SCP POOL JABS FLEX!          CRESTLLOYD                    Swimming Pool                     $74,045.00
10/10/2019    CGS                          CRESTLLOYD                    Doors and Windows                 $51,151.80
10/10/2019    NILE OFFICE                  CRESTLLOYD                    Overhead/Payroll                 S100,000.00
10/10/2019    JASS DESIGN                  CRESTLLOYD                    Exterior Painting                 $30,000.00
10/10/2019    SKYLINE                      CRESTLLOYD                    Other-Labor                       $45,000.00
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10116/2019     POWERTEK                   POWERTEK                       Electrical                                 $150,000.00

10/21/2019     CENTURION                  CENTURION                      A/V                                        $500,000.00

10/25/2019     DAKOTA DRILL               DAKOTA DRILL                   Foundation                                 $360,961.00

10/28/2019     CAD STONE                  CAD STONE                      Stone                                      $251,108.37

11/01/2019     HANKEY CAP                 HANKEY CAP                     Interest payment                           $736,649.19

11/08/2019     CAP PREMIUM                CAP PREMIUM                    Insurance                                   $50,698.08

11/15/2019     EP KRANITZ                 EP KRANITZ CUT CHECK           Legal Services                              $49,387.88

11/25/2019     NILE OFFICE & PAYROLL      CRESTLLOYD                     Overhead/Payroll                           $210,508.00

12/01/2019     HANKEY CAP                 CRESTLLOYD                     Interest payment                                $306.91
12/01/2019     HANKEY CAP                 CRESTLLOYD                     Interest payment                            $734,421.79

12/04/2019     CAP PREMIUM                CAP PREMIUM                    Insurance                                    547,159.80

12/09/2019     PLUS DEV                   PLUS DEV                        Miscellaneous                                $5,500.00



12/12/2019     NILE TRAVEL                 CRESTLLOYD                     Sales Office/Supplies/Furnishing            $25,000.00
12/12/2019     WEST VALLEY GREEN           WEST VALLEY GREEN              Landscaping                                $150,000.00

 12/17/2019    CAP PREMIUM                 CAP PREMIUM                    insurance                                    $3,715.19

 12/19/2019    CAP PREMIUM                 CAP PREMIUM                    Insurance                                   $47,159.80
 12/19/2019    CAP PREMIUM                 CAP PREMIUM                    Insurance                                    $3,538.28

 12/31/2019     PROP TAX                   PROP TAX                       Property Taxes                             $600,335.06

 01/01/2020     HANKEY CAP                 HANKEY CAP                     Interest payment PARTIAL                   $561,146.01
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01/02/2020     HANKEY CAP                 HANKEY CAP                     Interest payment PARTIAL              $208,557.12
01/03/2020     SKYLINE                    CRESTLLOYD                     Project Mgmt Fees                      $30,906.00
01/03/2020     SKYLINE                    CRESTLLOYD                     Overhead/Payroll                       $72,780.00



01/06/2020     KN COATING                 KN COATING                     Waterproofing                          $32,675.00


01/07/2020     CAD STONE                  CRESTLLOYD                     Stone                                  $56,355.93

01/15/2020     SKYLINE                    CRESTLLOYD                     Rentals                                $16,653.54
01/15/2020     SKYLINE                    CRESTLLOYD                     Utilities                              $13,222.20


01/22/2020     CAP PREMIUM                                               Insurance                              $50,698.08


01/28/2020     SKYLINE                    CRESTLLOYD                     Project Mgmt Fees                      $32,702.94
01/28/2020     SKYLINE                    CRESTLLOYD                     Overhead/Payroll                       $34,495.00


02/01/2020     HANKEY CAP                 HANKEY CAP                     interest payment                      $785,339.87


02/03/2020     KENNCO                     KENNCO                         Plumbing                               $23,363.15
02/03/2020     WEST ELEC / RICHEE         WEST ELEC I RICHEE             Lighting Fixtures                     $115,725.12
02/03/2020     EA GUZMAN                  EA GUZMAN                      Piaster, Stucco                        $40,241.65
02/03/2020     BURSWICK BOWL              BURSWICK BOWL                  Bowling Alley                          $45,000.00
02/03/2020     POWERTEK                   POWERTEK                       Electrical                             575,000.00



02/12/2020     CENTURION                   CENTURION                                                           $750,000.00
02/12/2020     PLUS DEV                    PLUS DEV                      Miscellaneous                           $4,000.00


 02/14/2020     SKYLINE                    CRESTLLOYD                     Project Mgmt Fees                      $28,479.80
 02/14/2020     NILE OFFICE                CRESTLLOYD                     Overhead/Payroll                       550,000.00
 02/14/2020     SKYLINE                    CRESTLLOYD                     Other -Labor                           $33,050.00
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02/24/2020     FEFFER GEO                 FEFFER GEO                     Soils Report/Tests                $20,000.00
02/24/2020     CREST REAL ESTATE          CREST REAL                     Permits and Fees                  $13,768.13
02/24/2020     AMERICAN TRUCK             AMERICAN TRUCK                 Rentals                           $14,689.35
02/24/2020     WEST COAST GATE            WEST COAST GATE                Garage Doors                     $116,865.00
02/24/2020     KN COAT                    KN COAT                        Waterproo₹ing                     $33,975.00
02/24/2020     INDIGO                     INDIGO                         Foundation                        $12,000.00

02/26/2020     CAP PREMIUM                CAP PREMIUM                    Insurance                           $538.28
02/26/2020     CAP PREMIUM                CAP PREMIUM                    Insurance                         $69,496.61
02/26/2020     CAP PREMIUM                CAP PREMIUM                    Insurance                          $3,000.00

0i/01'2020     HANKEY CAP                 HANKEY CAP                     Interest payment                 $750.504.24

03/02/2020     DAKOTA DRILL               DAKOTA DRILL                   Foundation                       $145,413.65
03/02/2020     METRO DISP                 METRO DISP                     House Cleaning                     $5,507.15

03/05/2020     SKYLINE                    CRESTLLOYD                     Project Mgmt Fees                 $13,692.30
03/05/2020     SKYLINE                    CRESTLLOYD                     Other-Labor                       $22,280.2.0

03/12/2020     KN COAT                    KN COAT                        Waterproofing                     $28,850.00
03/12/2020     RESIDENTIAL ELEVATOR       CRESTLLOYD                     Elevator/Dumbwaiter               $14,274.00
03/12/2020     SKYLINE                    CRESTLLOYD                     Exterior Painting                  $1,562.76
03/12/2020     CAD STONE                  CAD STONE                      Stone                             $52,115.43
03/12/2020     SKYLINE                    CRESTLLOYD                     Landscaping                        $1,000.00
03/12/2020     BOOTH GRADING              BOOTH GRADING                  Finish Grading                    $59,246.00
03/12/2020     SKYLINE                    CRESTLLOYD                     House Cleaning                     $1,400.00
03/12/2020     SCHMIDT METAL              SCHMIDT METAL                  Gazebo                            $19,800.00
03/12/2020     SKYLINE                    CRESTLLOYD                     Rentals                            $6,708.59
03/12/2020     KR WELDING                 KR WELDING                     Stairs and Rails                  $15,000.00

 03/13/2020     PLUS DEV                   PLUS DEV                       Miscellaneous                      $9,500.00

 03/16/2020     TONY REIMBURSE             CRESTLLOYD                     Clean up                            $872.50
 03/16/2020     MUSE WALL                  MUSE WALL COVER                Decorator Walls                   $16,940.00
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03/16/2020    SKYLINE                    CRESTLLOYD                      Project Mgmt Fees                $13,742.30
03/16/2020    FEFFER GEO                 FEFFER GEO                      Soils Report/Tests               $11,188.00
03/16/2020    SKYLINE                    CRESTLLOYD                      Other-Labor                      520,375.00
03/16/2020    GIROUX GLASS               GIROUX GLASS                    Doors and Windows                 $31,079.70
03/16/2020    TOP BUILD SUPPORT          TOP BUILD SUPPORT               Waterproofing                      $7,200.00
03/16/2020    PRO PEST                   PRO PEST                        Landscaping                        $7,800.00

03/30/2020     TONY HOME DEPOT           CRESTLLOYD                      Drywall                           $10,164.52
03/30/2020     SKYLINE                   CRESTLLOYD                      Project Mgmt Fees                 S13,717.30
03/30/2020     SKYLINE                   CRESTLLOYD                      Other-Labor                       $27,935.00
03/30/2020     TONY GENERATOR            CRESTLLOYD                      Rentals                            $4,994.80
03/30/2020     CAP PREMIUM               CAP PREMIUM                     Insurance                         $52,617.94

04/01/2020     HANKEY CAP                HANKEY CAP                      Interest payment                 $818.492.10

04/02/2020     WEST ELEC                 WEST ELEC                       Electrical                         $5,487.13
04/02/2020     DAKOTA DRILL              DAKOTA                          Foundation                       $159,832.40
04/02/2020     KN COAT                   KN COAT                         Waterproofing                     $27,775.00

04/06/2020     SCP POOL JABS FLEXI       JABS POOL                       Swimming Pool                      $13,450.00
04/06/2020     SKYLINE                   CRESTLLOYD                      Permits and Fees                    $1,507.28
34/06/2020     QUINOX (PYRL TAX          QUINOX (PYRL TAX                Other-Labor                        533,418.38
04/06/2020     JMS AIR                   JMS AIR                         HVAC                               $45,000.00
04/06/2020     POWERTEK                  POWERTEK                        Electrical                         $75,000.00

 04/07/2020    PROP TAXES                 PROP TAXES                      Property Taxes                   $545.759.14

 04/08/2020    DIAMOND                    DIAMOND                         Utilities                          $3,995.35

 04/10/2020    SKYLINE                    CRESTLLOYD                      Project Mgmt Fees                 $16,252.15
 04/10/2020    WOOD OIL                   WOOD OIL                        Utilities                         $14,287.39
 04/10/2020    SKYLINE                    CRESTLLOYD                      Other-Labor                       $27,996.97

 04/21/2020    SKYLINE                    CRESTLLOYD                      Project Mgmt Fees                  $9,058.95
 04/21/2020    SKYLINE                    CRESTLLOYD                      Other-Labor                       $14,932.00
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04/21/2020    PLUS DEV                  PLUS DEV                       Miscellaneous                        $9,500.00
04/21/2020    CAP PREMIUM               CAP PREMIUM                    Insurance                           $49,079.66

04/24/2020    TOAL                      TOAL                           Soft Cost Contingency                 $2,074.29
04/24/2020    WEST ELEC                 WEST ELEC                      Other-Electrical                      $2,491.13

04/27/2020    WEST VALLEY GREEN         WEST VALLEY GREEN              Landscaping                         $150,000.00

04/28/2020    SKYLINE                   CRESTLLOYD                     Project Mgmt Fees                     $9,058.95
04/28/2020    SKYLINE                   CRESTLLOYD                     Other-Labor                          $14.692.00
04/28/2020    GIROUX                    GIROUX                         Doors and Windows                    $11,505.30

04/29/2020    SYNDER DIAMOND            CRESTLLOYD                     Finish Plumbing                      $81,314.88

05/01/2020    HANKEY CAP                CRESTLLOYD                     Interest payment                    $809,716.55

05/05/2020    SKYLINE                   CRESTLLOYD                     Project Mgmt Fees                     59.058.95
05/05/2020    SKYLINE                   CRESTLLOYD                     Other-Labor                          $16,373.00

05/11/2020    METRO DISP                 METRO DISP                    Clean up                              $1,280.15
05/11/2020    REIMBUSE TONY PAINT        CRESTLLOYD                    Exterior Painting                     $1,382.58
05/11/2020    CREST REAL ESTATE          CREST CUT CHECK               Permits and Fees                      $6,464.26
05/11/2020    ANAWALT                    ANAWALT CUT CHECK             Finish Carpentry (Sub)                $2,767.11
05/11/2020    KN COAT                    KN COAT                       Waterproofing                        $30,875.00
05/11/2020    CAD STONE                  CAD STONE                     Stone                                $53,900.00
05/11/2020    DAKOTA DRILL               DAKOTA DRILL                  Foundation                          $314,713.92
05/11/2020    PRO PEST / SKYLINE         PROPEST                       Landscaping                           $5,108.78
05/11/2020    TOAL                       TOAL                          Soils Report/Tests                    $1,500.00
05/11/2020    FISHER INSPECT             FISHER INSPECT CUT CHECK      Soils Report/Tests                    $3,784.00
05/11/2020    SKYLINE                    CRESTLLOYD                    Project Mgmt Fees                     $8.077.38
05/11/2020    JMBM DEP ACCT              JMBM DEP ACCT                 Legal Services                        $1,750.00
05/11/2020    HOME DEPOT DENNIS          CRESTLLOYD                    Rentals                               $4,925.00
05/11/2020    PLUS                       PLUS                          Miscellaneous                         $4,000.00
05/11/2020    SKYLINE                    CRESTLLOYD                    Other-Labor                          514,.687.00
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05/19/2020     SKYLINE                        CRESTLLOYD                     Other-Labor                     $13,687.00
05/19/2020     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                $7,058.95

05/26/2020     SKYLINE                        CRESTLLOYD                     Other-Labor                      $12,412.00
05/26/2020     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                 $7,233.57



06/01/2020     PUBLIC INSURANCE               PUBLIC INSURANCE               Insurance                        $20,921.00
06/01/2020     CAP PREMIUM                    CAP PREMIUM                    Insurance                        $49,079.66

06/03/2020     SKYLINE                        CRESTLLOYD                     Other-Labor                      $10,886.00
06/03/2020     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                 $7,058.00




06/10/2020     HANKEY CAP                     HANKEY CAP                     Interest payment                $362,012.29
06/10/2020     FEFFER GEO                     FEFFER GEO                     Soils Report/Tests               $29,900.00
06/10/2020     PLUS                           PLUS                           Land/Lot Purchase                 $9,500.00
06/10/2020     UNITED RENTAL TONY             CRESTLLOYD                     Rentals                           $4,775.80
06/10/2020     ANAWALT / TONY                 ANAWALT CHECK                  Clean up                          $3,326.75
06/10/2020     SKYLINE                        CRESTLLOYD                     Project Mgmt Fees                 S7,058.95
06/10/2020     SKYLINE                        CRESTLLOYD                      Other-Labor                     $10,512.00
06/10/2020     PROPEST                        PROPEST                        Landscaping                         $400.00
06/10/2020     DAKOTA DRILL                   DAKOTA DRILL                    Foundation                     $156,004.03
06/10/2020     CAD STONE                      CAD STONE                      Stone                            $34,235.72
06/10/2020     KN COATING                     KN COATING                      Waterproofing                   $29,775.00
06/10/2020     AZ FIRE                        AZ FIRE CUT CHECK               Fire Sprinklers                  $1,300.00
06/10/2020     ADVANCED CONCRETE CUTTING      ADVANCE CONCRETE                Swimming Pool                    $6,470.00
06/10/2020     POWERTEK                       POWERTEK                        Electrical                      $50,000.00
06/10/2020      HANKEY CAP                     HANKEY CAP                     EFI Loan Fee                    $85,000.00

 07/28/2020     CAP PREMIUM                    CRESTLLOYD                    •Insurance                       $100,663.29

 08/25/2020     HANKEY CAP                     CRESTLLOYD                     INTERST MAY INT                $405,569.94
 08/25/2020     HANKEY CAP                     CRESTLLOYD                     INTEREST JUNE INT             $1,210,156.30
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08/25/2020    HANKEY CAP                     CRESTLLOYD                     INTEREST JULY iNT               $1,253,956.73
08/25/2020    HANKEY CAP                     CRESTLLOYD                     RENEWAL POINT                   $1,000,000.00
08/27/2020    HANKEY CAP                     CRESTLLOYD                     AUG INTEREST                      $873,642.46

08/27/2020  BEN REZNIK                       BEN REZNIK                     Legal Services                       $7,979.40
08/27/2020  CREST REAL ESTATE                CREST REAL ESTATE              Permits and Fees                     $3,968.41
08/27/2020  KENNCO                           KENCO PLUMBING                 Plumbing                           $16,727.00
08/27/2020  FISHER INSPECTIONS               FISHER INSPECTIONS             Soils Report/Tests                   $4,904.00
08/27/2020  POWERTEK                         POWERTEK                       Electrical                         $50.000.00
08/27/2020  WEST VALLEY GREEN                PROPEST                        Landscaping                          $1,200.00
08/27/2020  TONY CREDIT CARD                 UNITED AND DIAMOND             Rentals                              $9,492.96
08/27/2020  CAD STONE                        CAD STONE                      Stone                              $44,495.00
08/27/2020  VESTA                                                           Furniture                         $317.000.00
08/27/2020  PEP                              PEP                            Swimming Pool                     $168,342.24
08/27/2020  JABS POOLS                       JABS POOLS                     Swimming Pool                       $37,550.00
08;27/2020  KFR DESIGN                       KFR DESIGN                     Furniture                           $30.000.00
08/27/2020  METROPOLIS DISPOSAL              METROPOLIS DISPOSAL            House Cleaning                        $3,216.60
08/27/2020  CGS                              CGS                            Doors and Windows                   $56,119.00
 08/27/2020  KN COATING                      KN COATING                      Waterproofing                      $24,600.00
 08/27/2020  WEST VALLEY GREEN               WEST VALLEY GREEN               Landscaping                      $107,425.00
 08/27;2020  CENTURION                       CENTURION                       A/V                              $655,000.00
 08/27/2020  JASS DESIGN                     JASS DESIGN                     Exterior Painting                  $20,000.00
 08/27/2020  EA GUZMAN                       EA GUZMAN                       Plaster, Stucco                    $40,000.00
 08/27/2020  ADVANCED CONCRETE CUTTING       ADVANCED CONCRETE CUTTING       Foundation                           $3,920.00
 09/01/2020  HANKEY CAP                       HANKEY CAP                     REMAINDER MAY INTE                 $85,000.00
 09/03/2020  PLUS DEV                         PLUS DEV                       PLUS DEV (3 MONTHS)                $19,000.00
 09/03/2020  CRESTLLOYD                       CRESTLLOYD                     Other-Labor                        $37,690.00
 09/03/2020  CRESTLLOYD                       CRESTLLOYD                     Project Mgmt Fees                  $77,648.45
 09/17/2020  ILG                              ILG                            Furniture                         $158,000.00
 09/17/2020  FEFFER GEO                       FEFFER GEO                     Soils Report/Tests                 $38,190.00
 09/17/2020  TOP BUILD SUPPORT SERVICES       TRU TEAM                       Waterproofing                       $14,331.00
 09/17/2020  TECHNOGYM                        TECHNOGYM                      Gym                                 $64,824.10
 09/17/2020   ELEGANT POOL                    ELEGANT POOL                   Swimming Pool                       $55,200.00
 09/17/2020   SCHMIDT METAL                   SCHMIDT METAL                  Gazebo                              $19,800.00
 09/17/2020   BMC                              BMC                            Decks                              $13,198.70
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09/17/2020  KR WELD                          KR WELD                          Stairs and Rails                     $15,000.00
09/17/2020  VESTA                              Es-, A                         Furniture                           $317,000.00
09/17/2020  PARQUET BY DAN                   PARQUEST BY DAN                  Flooring                             $12,583.00
09/17/2020  MARCO BARRIENTOS                 MARCO BARRIENTOS                 Carpet                                 $9,306.00
09/17/2020  WESTERN ELEC                     WESTERN ELEC                     Electrical                             $7,101.04
09/17/2020  AZ FIRE                          AZ FIRE                          Fire Sprinklers                        $5,900.00
09/17/2020  NOTARY                           NOTARY                           Miscellaneous                             $535.00
09/17/2020  BRADFORD SHEET                   BRADFORD SHEET                   Roofing                                $2,800.00
09/17/2020  YK CABINETS                      YK CABINETS                      Finish Carpentry {Sub)                $50,000.00
09/17/2020  ANAWALT                          ANAWALT                          Finish Carpentry (Sub)                  $4,046.13
09/17/2020  WEST COAST GATE                  WEST COAST GATE                  Ornamental Iron                       $43,750.00
09/17/2020  GYPSY PALACE                     GYPSY PALACE                     Decorator Walls                       $42,581.50
09/17/2020  MUSE                             MUSE                             Decorator Walls                       $10,292.00
09/17/2020  STONE CARE PRO                   STONE CARE PRO                   Foundation                            $17,430.00
09/17/2020  DAKOTA DRILL                     DAKOTA DRILL                     Foundation                            $40,975.00
09/17/2020   SKYLINE                          SKYLINE                          Other-Labor                          $14,177.65
C9/1712.020  SKYLINE                          SKYLINE                          Project Mgrnt Fees                   $21.184.22
09/17/2020   WOOD OIL                         WOOD OIL                         Clean up                             $10,666.16
09/17/2020   HERNANDEZ CARPET                 HERNANDEZ CARPET                 Carpet                                 $5,578.35
09/2d/2020   ILG                                                               Furniture                            $57,000.00
09/30/2020   PUBLIC INSURANCE                PUBUC INSURANCE                   Insurance                           $165,545.57
10/01'2020   HANKEY CAP                      HANKEY CAP                        interest payment                    $899,661.63
10/01/2020   TITLE FEE                       HANKEY CAP                        MOD FEE                                  $690.00
10/02/2020   KFR DESIGN                      KFR DESIGN                        Furniture                             $61,250.00
10/02/2020    ADVANCED CONCRETE CUTTING      ADVANCED CONCRETE CUTTING         Foundation                              $7,000.00
 10/02/2020  CAD STONE                       CAD STONE                         Stone                                 $12,458.50
 10/02/2020   CGS                            CGS                               Doors and Windows                     $29,858.80
 10/02/2020   GENERAL PLATING                GENERAL PLATING                    Finish Plumbing                        $1,800.00
 10/02/2020   TARGET                         CRESTLLOYD                         Carpet                                    $65.69
 10/02/2020   MARCO BARRIENTOS               MARCO BARRIENTOS                   Carpet                                 $3,200.00
 10/02/2020   JASS DESIGN                    JASS DESIGN                        Exterior Painting                    $45,000.00
 10/02/2020   EA GUZMAN                      EA GUZMAN                          Piaster, Stucco                      $46,280.00
 10/02/2020   LIGHTING                       CRESTLLOYD                         Landscaping                            $6,772.84
 10/02/2020   JABS POOLS                     JABS POOLS                         Sauna, Hot Tub                       $20,000.00
 10/02/2020   HOME DEPOT                     CRESTLLOYD                         Swimming Pool                            $657.62
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10/02/2020    PARQUEST BY DAN             PARQUEST BY DAN                Flooring                            $15,474.00
10/02/2020    CRESTLLOYD                  CRESTLLOYD                     Other-Labor                         512,645.00
10/02/2020    CRESTLLOYD                  CRESTLLOYD                     Project Mgmt Fees                    $14,132.53
10/02/2020    NOTARY                      CRESTLLOYD                     Overhead/Payroll                        $535.00
10/02/2020    MISC                        CRESTLLOYD                     Utilities                              $913.71
10/02/2020    FEFFER GEO                  FEFFER GEO                     Soils Report/Tests                    $4,149.17
10/02/2020    COAST FIREPLACE             COAST FIREPLACE                Fireplaces/Chimneys                  $14,725.00
              Pi its riRA„                    S r EV                     Project Mgmt Fees                     89.500.00
10/19/2020    KN COATING                  KN COATING                     Waterproofing                        $19,750.00
10/19/2020    CRESTLLOYD                  SYNDER DIAMOND                 Finish Plumbing                       $7,522.46
10/19/2020    PARQUEST BY DAN             PARQUEST BY DAN                Flooring                              $3,606.00
10/19/2020    EA GUZMAN                   EA GUZMAN                      Plaster, Stucco                      $31,280.00
    9'2020    CARAVAN FiLiGS              CARAVAN RUGS                                                        $89.610.00
10/19/2020    SCHMIDT METAL               SCHMIDT METAL                  Gazebo                               $24,250.00
10/19/2020    TONY AMEX                   TONY AMEX                      Swimming Pool                           $946.76
10/19/2020    CREST REAL ESTATE           CREST REAL ESTATE              Permits and Fees                      $2,542.95
10/19/2020    METROPOLIS DISPOSAL         METROPOLIS DISPOSAL            House Cleaning                        $4,318.30
10/19/2020    GRES I-LLOYD                CRESTLLOYD                     Project rvlgmt Fees                  514.810.20
10/19/2020    CRESTLLOYD                  CRESTLLOYD                     Other-Labor                          517,855.00
10/19/2020    DIRECT TO VENDOR            ADVANCED CONCRETE CUTTING      Foundation                           $39,850.77
10/19/2020    CRESTLLOYD                  SALON DESIGNERS                Sauna, Hot Tub                        $6,482.77

   10/23/2020 CAP PREMUM                  CAP PREMUM                     Insurance                            $54,391.65
   10/23/2020 JABS                        JABS                           Swimming Pool                        $19,475.00


10/29/2020    ILG                          ILG                           Furniture                            575,000.00
11/01/2020    HANKEY CAPITAL               HANKEY CAP                    Interest payment                    5949.015.81
11/05/2020    Barazani Outdoors Inc.       CHECK TO BARAZANI             Foundation                           $33,825.00
11/05/2020    LA DWP                       CHECK TO DWP                  Utilities                            $42,104.37
11/05/2020    TECHNO GYM                   CRESTLLOYD                    Gym                                   $6,157.06
11/05/2020    JABS POOL                    JABS POOL                     Swimming Pool                        $30,000.00
11/05/2020    WHOLESALE POOL MART          CRESTLLOYD                    Swimming Pool                           $582.63
11/05/2020     HABITAT HORTICULTURE        CHECK TO HABITAT              Sauna, Hot Tub                       $28,010.10
11/05/2020     MAILBOX DOC                  CRESTLLOYD                   Furniture                               $566.45
11/05/2020     MARCO BARRIENTOS             MARCO BARRIENTOS              Carpet                                 $500.00
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11/05/2020    DRAKEN SECURITY                 DRAKEN SECURITY                 Security System                       $6,160.00
11/05/2020    1MS                             JMS                             HVAC                                  $20,000.00
11/05/2020    PARKER RESNIK                   CHECK TO PARKER RESNIK          Structural                             $1,350.00
11/05/2020    GYPSY PALACE                    GYPSY PALACE                    Decorator Walls                       $43,350.40
11/05/2020    ROLLS SCAFFOLD                  ROLLS SCAFFOLD                  Rentals                               $14,000.00
11/05/2020    BOOTH GRADING                   BOOTH GRADING                   Foundation                            $34,214.94
11/05/2020    ADVANCE CONCRETE CUTTING        ADVANCE CONCRETE CUTTING        Foundation                            $17,700.00
11/05/2020    PROPEST                         PROPEST                         Landscaping                            $1,200.00
11/05/2020    KENNCO                          KENNCO                          Plumbing                              $48,404.75
11/05/2020    LABOR                           CRESTLLOYD                      Other-Labor                           S18,630.00
11/05/2020    POWERTEK                        POWERTEK                        Electrical                            $50„000.00
11/05/2020    PROJECT MANAGEMENT               CRESTLLOYD                     Project Mgmt Fees                     S14,810.20
11/0512020    PLUS                            PLUS                            Project Mgmt Fees                      $9.500.00
11/05/2020    PUBLIC INSURANC                 PUBLIC INSURANCE                Insurance                              $1,263.00
11/05/2020    METROPOLIS DISP                 METROPOLIS DISP                 House Cleaning                           $689.70
11/05/2020    DIAMOND                         CRESTLLOYD                      Rentals                                $1,061.94
11/05/2020    CAD STONE                       CAD STONE                       Stone                                 $33,470.00
11/05/2020    ADJ HH                          HANKEY CAP                      Sauna, Hot Tub                             $0.42


   11/19/2020 CGS                             CGS                             Doors and Windows                     $49,985.00
   11/19/2020 CRESTLLOYD                      CRESTLLOYD                      Swimming Pool                           $2,369.67
   11/19/2020 SALON DESIGN                    CRESTLLOYD                      Sauna, Hot Tub                          $6,482.77
   11/19/2020 SCHMIDT                         SCHMIDT                         Gazebo                                $34,875.00
   11/19/2020 VESTA                           VESTA                           Furniture                            $315.000.00
   11/19/2020 VESTA                           VESTA                           Furniture                             525.000.00
   11'19/2020 CREST LLOYD                     CRESTLLOYD                      Other-Labor                           S18.199.00
   11/19/2020 APROPOS FLORA                   APROPOS FLORA                    Furniture                            .525.000.00
   11/19/2020 DRAKEN                          DRAKEN                           Security System                        $3,520.00
   11/19/2020 RICHEE LUMENS WESTERN ELEC      RICHEE LUMENS WESTERN ELEC       Lighting Fixtures                    $14,007.68
   11/19/2020 SYNDER                          CRESTLLOYD                       Finish Plumbing                        $2,995.11
   11/19/2020 HOME DEPOT VIA TONY             CRESTLLOYD                       Swimming Pool                          $2,311.24
   11/19/2020 YK CABINENTS                    CHECK TO YK                      Finish Carpentry (Sub)                $19,500.00
   11/19/2020 BRADFORD SHEET                  BRADFORD SHEET                   Structural                             $2,800.00
   11/19/2020 CAD STONE                       CAD STONE                        Stone                                 $22,907.73
   11/19/2020 ANAWALT VIA TONY                CRESTLLOYD                       Foundation                               $234.53
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 11/19/2020 ANAWALT                       CHECK TO ANAWALT                Foundation                                      $8,168.34
 11/19/2020 STONE CARE PLUS               STONE CARE PLUS                 Foundation                                      $4,680.00
 11/19/2020 FEFFER GEO                    FEFFER GEO                      Soils Report/Tests                              $2,255.45
 11/19/2020, CRESTLLOYD                   CRESTLLOYD                      Saies Office/Supplies/Furnishing                   $59.82
 11/19/2020 CRESTI.LOYD                   CRESTLLOYD                      Project Mgmt Fees THRU 11/23 WEEK              $14,810.20
 11/19/2020 CAPITAL PRMEM                 CAPITAL PREMIUM                 Insurance                                      $54,391.65
 11/19/2020 CAL GROVE AND METRO           CAL GROVE AND METRO             House Cleaning                                  $9,476.65
 11/19/2020 CRESTLLOYD                    CRESTLLOYD                      Utilities                                          $69.99
 11/19/2020 WEST VALLEY GREEN             WEST VALLEY GREEN               Landscaping                                    $50,000.00

  12/7/2020 MUSE WALLCOVERING             MUSE WALLCOVERING               Decorator Wails                                $11,866.00
  12/7/2020 CREST                         CREST                           Permits and Fees                                  $215.00
  12/7/2020 FRONTIER VIA CRESTLLOYD       CRESTLLOYD                      Utilities                                         $832.36
  12/7/2020 CAL GROVE RENTAL              CAL GROVE RENTAL                Rentals                                          $5,434.05
  12/7/2020 METROPOLIS                    METROPOLIS                      House Cleaning                                     $913.40
  12/ 7/202C PLUS DEV                     PLUS DEV                        Project Mgmt Fees                                59.500.00
  12/7/2020 PM VIA CRESTLLOYD             CRESTLLOYD                      Project Mgmt Fees                              S22,215.30
  12/7/2020 LABOR VIA CRESTLLOYD          CRESTLLOYD.                     Other-Labor                                    $21.080.00
  12/7/2020 Rene Vizcaino (plumber)       CRESTLLOYD                      Plumbing                                           $800.00
  12/7/2020 Advance Concrete Cutting      Advance Concrete Cutting        Foundation                                       $4,200.00
  12/7/2020 Midland Contractors           Midland Contractors             Foundation                                     $15,000.00
  12/7/2020 CAD STONE                     CAD STONE                       Stone                                          $26,260.00
  12/7/2020 Joe Greco Cabinets            Joe Greco Cabinets              Finish Carpentry (Sub)                         $16,850.00
  12/7/2020 KN COATING                    KN COATING                      Waterproofing                                  $23,600.00
  12/7/2020 DRAKEN                        DRAKEN                          Security System                                  $2,800.00
  12/7/2020 JASS STUDIO                   JASS STUDIO                     Exterior Painting                              $40,000.00
  12/7/2020 Parquet by Dian               Parquet by Dian                 Flooring                                         $5,600.00
  12/7/2020 KFR DESIGN                    KFR DESIGN                      Furniture                                       $42,104.28
   12/7/2020 JABS POOL                    JABS POOL                       Swimming Pool                                   $20,000.00
   12/7/2020 CARTURNER                    CARTURNER                       Car Turntables                                  $26,109.75
   12/7/2020 STONE CARE PROS              STONE CARE PROS                 Foundation                                      $16,226.27

12/23/2020    CENTURION                    CENTURION                                                                      S480,500.00

12/24/2020    NEWMARK AMEX                 CRESTLLOYD                      Finish Grading                                   $3,591.95
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12/24/2020     SCP AMEX                       CRESTLLOYD                      Swimming Pool                        $1,844.10
12/24/2020     WHOLESALE POOL AMEX            CRESTLLOYD                      Swimming Pool                          $163.92
12/24/2020     WHOLESALE POOL AMEX            CRESTLLOYD                      Swimming Pool                        $1,905.30
12/24/2020     FENCE FACTORY                  CHECK TO FENCE FACTORY          Swimming Pool                      $26,380.00
12/24/2020     KR WELDING                     CHECK TO KR WELDING             Furniture                           $10,000.00
12/24/2020     EA GUZMAN                      EA GUZMAN                       Plaster, Stucco                     $15,000.00
12/24/2020     ANAWALT AMEX                   CRESTLLOYD                      Flooring                               $310.16
12/24/2020     DRAKEN                         DRAKEN                          Security System                      $2,900.00
12/24/2020     CGS                            CGS                             Doors and Windows                   $12,612.00
12/24/2020     KN COATING                     KN COATING                      Waterproofing                       $26,875.00
12/24/2020     CAD STONE                      CAD STONE                       Stone                               $18,200.00
12/24/2020     Advanced Concrete Cutting      Advanced Concrete Cutting       Foundation                            $1,000.00
12/24/2020     Crest Real Estate              Crest Real Estate               Permits and Fees                      $1,072.00
12/24/2020     DIETZ AMEX                     CRESTLLOYD                      Landscaping                           $6,518.00
12/24/2020      LABOR                          CRESTLLOYD                     Other-Labor                         522,785.00
 12/24/2020     PM                            CRESTLLOYD                      Project Mgmt Fees                   522 215.30
 12/24/2020     SPECTRUM AMEX                  CRESTLLOYD                     Utilities                                $74.99
 12/24/2020     FRONTIER AMEX                  CRESTLLOYD                      Utilities                              $419.51
 12/24/2020     AMEX CREDIT ANAWALT            CRESTLLOYD                      Landscaping                         -$2,311.24

12/31/2020     Biabani & Associates           Biabani & Associates            Hard Cost Contingency                 $5,920.00
12/31/2020     Draken Security                Draken Security                 Security System                       $1,400.00
12/31/2020     Labor                          CRESTLLOYD                      Other-lab/1-                         $11,200.00
12/31/2020     Powertek                       Powertek                        Electrica                            $30.000.00
12/31/2020     Diamond                        Diamond                         Temporary Building                      $315.94
12/31/2020     Project Mgmt                   CREST LLOYD                     Project Tv7g,mT_ Fees                514.320.20
12/31/2020     Metropolis                     Metropolis                      House Cleaning                        $1,693.25

 01/04/2021     PLUS DEV                       PLUS DEV                        EFI Loan Fee                        $15,500.00
 6i/657202f DEC AND1AN INSURANCE               CAPITAL PREMIUM                 Insurance                          $108,783.30
 01/06/2021     CITY OF LADBS                  LADBS                           Permits and Fees                       $635.86
 01/22/2021     CRESTU OYD                     CRESTLLOYC                      Other-Labor                         512,470.00
 01/22/2021     DRAKEN                         DRAKEN                          Security System                      $7,200.00
 01/22/2021     KN COATING                     KN COATING                      Waterproofing                       $33,775.00
 01/22/2021     CRESTLLOYD                     CRESTLLOYD                      Swimming Pool                          $580.24
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01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Foundation                             $8,081.37
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Swimming Pool                          $6,192.89
01/22/2021     KENNCO                      KENNCO                          Plumbing                             $25,115.25
01/22/2021     CAD STONE                   CAD STONE                       Stone                                $17,550.00
01/22/2021     ALLSTATE LANDSCAPE          ALLSTATE LANDSCAPE              Landscaping                          $16,215.00
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Project Mgmt Fees                     $15,984.60
01/22/2021     METROPOLIS DISP             METROPOLIS DISP                 House Cleaning                           $857.85
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Temporary Building                       $617.86
01/22/2021     CUT CHECK DRS ENGINEER      CUT CHECK DRS ENGINEER          Structural                             $3,725.00
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Exterior Painting                        $223.78
01/22/2021     VESTA                       VESTA                           Furniture                             $14,100.88
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Fire Sprinklers                        $1,510.73
01/22/2021     GEOBRUGG                    GEOBRUGG                        Structural                            $22,628.69
01/22/2021     CRESTLLOYD                  CRESTLLOYD                      Foundation                               $800.00
 01/22/2021    RICHEE AND CRESTLLOYD       RICHEE & CRESTLLOYD             Lighting Fixtures                       $4,335.24
 01/22/2021    CUT CHECK ANAWALT            CHECK ANAWALT                   Drywall                                $2,048.35
 01/22/2021     CAL GROVE                   CAL GROVE                       Rentals                                $4,164.46
 01/22/2021     CUT CHECK LADWP             CHECK DWP                       Sewer and Storm Drains               $17,807.83

02/02/2021     PLUS DEV                    PLUS                            EFI Loan Fee                           $15,500.00
02/12/2021     SPECTRUM                    CRESTLLOYD                      Miscellaneous                              $74.99
02/12/2021     PM                          CRESTLLOYD                      Project Mgrnt Fees                     $24,043.32
02/12/2021     DIAMOND                     CRESTLLOYD                      Temporary Building                        $308.93
02/12/2021     BAUCO FERG AND FRS          CRESTLLOYD                      Fire Sprinklers                         $3,233.27
02/12/2021     SNYDER DIAMOND              CRESTLLOYD                      Finish Plumbing                         $1,965.40
02/12/2021     ARC                         CRESTLLOYD                      Permits and Fees                          $102.00
02/12/2021     CENTURION                   CENTURION                                                               S7.406.88
02/12/2021     WAYFAIR                     CRESTLLOYD                       Plumbing                               $1,292.08
02/12/2021     KITCHEN POP UP              CRESTLLOYD                       Furniture                                $783.15
02/12/2021     LABOR                       CRESTLLOYD                       Other-Labor                           $22,125.00
02/12/2021     DUNN EDWARDS                CRESTLLOYD                       Exterior Painting                        $566.45
02/12/2021     WEST VALLEY                 CRESTLLOYD                       Landscaping                           $44,600.00
02/12/2021     MIDLAND                     MIDLAND                          Foundation                             $3,200.00
02/16/2021     MARCO BARRIENTOS            MARCO BARRIENTOS                 Carpet                                 $8,275.00
02/16/2021     VESTA                       VESTA                            Furniture                             $13,500.00
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   Date                    VENDOR                  From Whom Received / Paid                   Memo               Payment
02/16/2021    KN COATING                       KN COATING                      Waterproofing                          $23,950.00
02/16/2021    JASS                             JASS                            Exterior Painting                        $7,500.00
02/16/2021    CHECK ANAWALT AND BMC            CHECK ANAWALT AND BMC           Finish Plumbing                          $6,500.43
02/16/2021    CREST                            CREST                           Permits and Fees                         $1,956.50
02/16/2021    PROPEST                          PROPEST                         Temporary Building                       $7,450.00
02/16/2021    CAL GROVE                        CAL GROVE                       Rentals                                  $3,059.55
02/16/2021    FIBERGLASS ENG                   HANKEY CAPITAL                  Landscaping                             $10,000.00
02/16/2021     LG                              ILG                             Furniture                               51;0,000.00
02/16/2021    PUBLIC                           PUBLIC                          Insurance                                $2,600.00
02/16/2021    FENCE FACTORY CHECK              FENCE FACTORY CHECK             Foundation                              $18,810.00
02/16/2021    CAD STONE                        CAD STONE                       Stone                                   $14,550.00
02/16/2021     METROPOLIS DISP                 METROPOLIS DISP                 House Cleaning                           $2,413.00

02/26/2021    CENTURION                         CENTURION                      A/V                                     5131,000.00
03/02/2021    CAPITAL PREMIUM                   CAPITAL PREMIUM                Insurance                                $54,391.65
03/03/2021    CENTURION                         CENTURION                      A/V                                      -118,500.00
03/03/2021    PLUS DEV                          PLUS                           ER Loan Fee                              $15,500.00
03/04/2021    HANKEY CAPITAL                    LEGAL COST DIRECT TO TITLE     FORECLOSURE FEE                          $73,301.00

   5/21/2021 ADVANCE TO YVONNE NIAMI             HOLDING COMPANY BEV HILLS     LEGAL AND TRUST                        $500,000.00
    6/3/2021 CREST                               CREST                         Permits and Fees                        $13,794.57
    6/3/2021 LABOR JESUS (SECURITY LIVE IN MAINTECRESTLLOYD                    Other-Labor                             519.940.00
    6/3/2021 MIDLAND                             MIDLAND                       Foundation                              $60,000.00
    6/3/2021 VESTA                               VESTA                         Furniture                               527,000.00
    6/3/2021 BIABANI                              BIABANI                      Electrical                               $8,800.00
    6/3/2021 CHRISTOPER                           CHRISTOPER TOERRY            Project Mgmt Fees                       $20,192.25
    6/3/2021 WEST  VALLEY GREEN                   WEST VALLEY GREEN            Landscaping                             $20,000.00
    6/4/2021 HANKEY CAP                           LEGAL COST DIRECT TO TITLE   FORECLOSURE FEE                            $155.00
   6/14/2021 HANKEY CAP                           LEGAL COST DIRECT TO TITLE   FORECLOSURE FEE                         $15,646.00

    6/17/2021 CENTURION                          CENTURION                      A/V                                   S150.000.00
    6/17/2021 CHRISTOPER                         CHRISTOPER TOERRY              Project Mgmt Fees                       52,692.30
    6/17/2021 LABOR CHECKS                       MELCHOR, JESUS, YALY, LUIS     POOL, CLEANING, SECURITY                $4,280.00

   07/06/2021 PLUS                               PLUS                           ER Loan Fee                             521,000.00
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Date                   VENDOR         From Whom Received / Paid                  Memo          Payment
07/06/2021 DRAKEN                  DRAKEN INC $10K RETAINER       Security System                  $24,867.51

  8/2/2021 BUCHALTER               BUCHALTER                      Legal July 2021                  $112,797.50
  9/9/2021 BUCHALTER               BUCHALTER                      Legal Aug 2021                    $87,800.44



                                                                  TOTAL                        $105,691,720.39
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is Suite
2500, 601 South Figueroa Street, Los Angeles, California 90017-5704.

A true and correct copy of the foregoing document entitled (specify): FIRST AMENDED COUNTERCLAIM AND CROSS-
CLAIM OF YOGI SECURITIES HOLDINGS, LLC, FOR DECLARATORY RELIEF, AN ACCOUNTING, EQUITABLE
SUBORDINATION, DISALLOWANCE OF CLAIMS AND RECHARACTERIZATION OF CLAIMS, will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below.

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 21, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 David B. Golubchik                                                             Counsel for Crestlloyd, LLC
 Joseph M. Rothberg                                                             T: 310 229 1234 / F: 310 229 1244
 Levene Neale Bender Yoo & Golubchik LLP                                        E: dbg/jmr@lnbyg.com
 2818 La Cienega Avenue
 Los Angeles, CA 90034

 Howard J. Steinberg                                                            Counsel for Hankey Capital, LLC
 Greenberg Traurig LLP                                                          T: 310 586 7702 / F: 310 586 0227
 1840 Century Park East, Suite 1900                                             E: steinbergh@gtlaw.com
 Los Angeles, CA 90067-2121

 Ryan Coy                                                                       Counsel for Hilldun Corp.
 BG Law LLP                                                                     T: 517 376 0350
 21650 Oxnard Street, Suite 500                                                 E: rcoy@bg.law
 Woodland Hills, CA 91367

 Kyra E. Andrassy                                                               Counsel for Inferno Investment, Inc.
 Smiley Wang-Ekvall, LLP                                                        T: 714 445 1000 / F: 714 445 1002
 3200 Park Center Drive, Suite 250                                              E: kandrassy@swelawfirm.com
 Costa Mesa, CA 92626

 Paul Sorrell                                                                   Counsel for Inferno Investment, Inc.
 Martin D. Singer                                                               T: 310 556 3501 / F: 310 556 3615
 Lavely & Singer PC                                                             E: psorrell@lavelysinger.com
 2049 Century Park East, Suite 2400
 Los Angeles, CA 90067-2906

 United States Trustee (LA)                                                     U.S. Trustee
 915 Wilshire Blvd, Suite 1850                                                  T: 213 894 6811
 Los Angeles, CA 90017                                                          E: ustpregion16.la.ecf@usdoj.gov

 Courtesy NEFs:




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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 Todd M. Arnold                                                                  T: 310-229-1234
 Jonathan Gottlieb                                                               E: tma/jdg@lnbyg.com
 Levene Neale Bender Yoo & Golubchik LLP
 2818 La Cienega Avenue
 Los Angeles, CA 90034

 Thomas M. Geher                                                                 T: 310-203-8080
 Jeffer Mangels Butler & Mitchell LLP                                            E: tmg@jmbm.com
 1900 Avenue of the Stars, 7th Floor
 Los Angeles, CA 90067

2. SERVED BY UNITED STATES MAIL: On (date) September 21, 2022, I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 21, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than the next business day after the
document is filed.

 Honorable Deborah J. Saltzman                                                   No judge’s copy of any document is required unless a
 U.S. Bankruptcy Court, Central District of California                            copy is requested by chambers. If chambers calls to
 E.R. Roybal Federal Building & U.S. Courthouse                                   request a judge’s copy, it must be provided by means
 255 East Temple Street, Suite 1634 / Courtroom 1639                              such that it is received in chambers within two business
 Los Angeles, CA 90012                                                            days (by  messenger or
                                                                                 By Next Business Day [Trkg#________________]
                                                                                 By Facsimile to ____________
                                                                                 Proposed Order via Lodged Order Upload

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


September 21, 2022             Frederick Kalve
 Date                          Printed Name                                  Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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